Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 1 of 566 PageID 71




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

 SPEECH FIRST, INC.,
                               Plaintiff,
                                            Case No. 6:21-cv-00313
 v.

 ALEXANDER CARTWRIGHT, in
 his official capacity as President of
 the University of Central Florida; et
 al.,
                            Defendants.

                    DECLARATION OF DANIEL SHAPIRO

       1.     I am an attorney at the law firm Consovoy McCarthy PLLC and

 counsel for plaintiff Speech First, Inc.

       2.    I am over the age of eighteen and under no mental disability or

 impairment. I have personal knowledge of the following facts and, if called as

 a witness, I would competently testify to them.

       3.    The following materials attached as exhibits are true and accurate

 copies of pages from public websites that were downloaded as PDF files

 between February 17, 2021, and February 21, 2021.

             a.     Exhibit   A   is   UCF    Policy   2-004.2,   “Prohibition   of

                    Discrimination, Harassment and Related Interpersonal

                    Violence,” effective on October 14, 2020 and accessed on
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 2 of 566 PageID 72




                  February 17, 2021 at https://policies.ucf.edu/documents/2-

                  004.pdf.

            b.    Exhibit B is UCF Policy 3.0134, “Complaints and Grievances

                  Alleging Discrimination, Discriminatory Harassment or

                  Retaliation,” effective October 22, 2020 and accessed on

                  February 17, 2021 at https://www.eeo.ucf.edu/documents/

                  GrievancesAllegingDiscrimination.pdf.

            c.    Exhibit C is the University’s student handbook for the 2020-

                  2021 academic year (the “Golden Rule Student Handbook”),

                  accessed       on        February       17,      2021       at

                  https:// goldenrule.sdes.ucf.edu/ wp- content/ uploads/ sites/

                  64/ 2020/08/2020-2021-Golden-Rule.pdf.

            d.    Exhibit D is UCF Policy 5.008, “Rules of Conduct,” effective

                  December 3, 2020 and accessed on February 17, 2021 at

                  https://regulations.ucf.edu/chapter5/documents/5.008Ruleso

                  fConductFINALJuly19.pdf.

            e.    Exhibit E is a tweet from UCF Knight News containing a

                  video of President Cartwright speaking to UCF students,

                  published    on     June   14,   2020    and    accessed    at

                  https://twitter.com/UCFKnightNews/status/1272310037617

                  291264 on February 17, 2021.


                                       2
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 3 of 566 PageID 73




            f.    Exhibit F is a tweet from UCF Knight News containing a

                  video of Interim Provost Michael Johnson speaking to UCF

                  students, published on June 14, 2020 and accessed at

                  https://twitter.com/UCFKnightNews/status/1272292827997

                  835266 on February 17, 2021.

            g.    Exhibit G is a tweet from the University’s official account

                  containing a video of Interim Chief of Equity, Inclusion and

                  Diversity Kent Butler speaking to students, published at

                  https://twitter.com/UCF/status/1268646860937482247        on

                  June 4, 2020 and accessed on February 17, 2021.

            h.    Exhibit H is a letter sent by then-Interim Dean of the

                  University College of Sciences Tosha Dupras entitled “Notice

                  of Intent to Terminate,” sent on January 13, 2021 and

                  accessed    on     February     17,    2021    at    https://

                  legalinsurrection.com/wp-content/uploads/2021/01/UCF-

                  Negy-2021-01-13-notice_of_Intent_C_Negy_Final_copy.pdf.

            i.    Exhibit I is the University Office of Information Technology

                  “ResNet User Agreement,” accessed on February 17, 2021 at

                  https://it.ucf.edu/resnet/user-agreement/.

            j.    Exhibit J is UCF Policy 4-002.2, “Use of Information

                  Technologies and Resources,” effective on September 1, 2016


                                       3
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 4 of 566 PageID 74




                  and   accessed    on       February   17,   2021   at   https://

                  policies.ucf.edu/documents/4-002.pdf.

            k.    Exhibit K is a tweet from University President Cartwright,

                  published on June 1, 2020 and accessed on February 17 at

                  https://twitter.com/UCFCartwright/status/12675017331876

                  41344?s=20.

            l.    Exhibit L is the “About” page from the JKRT’s website,

                  accessed on February 17, 2021 at https://jkrt.sdes.ucf.edu/

                  about/.

            m.    Exhibit M is the “Contact the Team” page from the JKRT’s

                  website, accessed on February 17, 2021 at https://

                  jkrt.sdes.ucf.edu/contact/.

            n.    Exhibit N is the “Bias-Related Incidents” page from the

                  JKRT’s website, accessed on February 17, 2021 at https://

                  jkrt.sdes.ucf.edu/bias/.

            o.    Exhibit O is the “JKRT Intake Form” from the JKRT’s

                  website, accessed on February 17, 2021 at https://

                  cm.maxient.com/reportingform.php?UnivofCentralFlorida&

                  layout_id=40.

            p.    Exhibit P is the “Home” page from the JKRT’s website,

                  accessed on February 17, 2021 at https://jkrt.sdes.ucf.edu.


                                         4
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 5 of 566 PageID 75




            q.    Exhibit Q is an article from UCF Today entitled “Our Future

                  Is Inclusion,” published by President Cartwright on June 2,

                  2020    and   accessed    on     February   17,      2021   at

                  https://www.ucf.edu/news/our-future-is-inclusion/.

            r.    Exhibit R is an email from then-Interim Dean of the

                  University College of Sciences Tosha Dupras, published on

                  June 3, 2020 and accessed on February 17, 2021 at https://

                  knightnews.com/wp-content/uploads/2020/06/Messagefrom

                  InterimDean.pdf

            s.    Exhibit S is a tweet from the University Multicultural

                  Student Center, published on June 6, 2020 and accessed on

                  February 17, 2021 at https://twitter.com/MSC_UCF/status/

                  1269302463292674048.

            t.    Exhibit T is a document published by the Clemson

                  University Office of Teaching Effectiveness and Innovation

                  entitled “Diversity and Inclusion Syllabus Statements,”

                  accessed on February 17, 2021 at https://www.clemson.edu/

                  otei/documents/Teaching%20Review%20Resources/Diversit

                  y_InclusionSyllabiSamples.pdf.




                                      5
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 6 of 566 PageID 76




            u.    Exhibit U is a Spring 2019 syllabus for a University course

                  entitled “Health and Wellness for the Performing Artist,”

                  accessed on February 17, 2021 at https://webcourses.ucf.edu/

                  courses/1315810/assignments/syllabus.

            v.    Exhibit V is a tweet from JKRT Member Michael Preston,

                  published on April 2, 2019 and accessed on February 17,

                  2021 at https://twitter.com/MPrestonEdD/status/11130380

                  15797096448.

            w.    Exhibit W is a University Office of Institutional Equity

                  report entitled “In re: OE Case No. 2019.01225,” issued on

                  January 13, 2021 and accessed on February 17, 2021 at

                  https://legalinsurrection.com/wp-content/uploads/2021/01

                  /UCF-Negy-OIE-Investigative-Report-Case-2019-01255-

                  FINAL.pdf

            x.    Exhibit X is a tweet from JKRT member Michael Preston,

                  published on April 6, 2019 and accessed on February 17,

                  2021      at    https://twitter.com/MPrestonEdD/status/11

                  14622182590750721.

            y.    Exhibit Y is the “Bias Response Team Report 2017”

                  published by the Foundation for Individual Rights in

                  Education (FIRE), accessed at https://www.thefire.org


                                      6
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 7 of 566 PageID 77




                  /presentation/wp-content/uploads/2017/03/01012623/2017-

                  brt-report-corrected.pdf on January 4, 2020.

            z.    Exhibit Z is an article from the Iowa City Press-Citizen

                  entitled “University of Iowa changing course on bias

                  response team,” published on August 18, 2016 and accessed

                  on February 17, 2021 at https://www.press-citizen.com /story

                  /news/education/university-of-iowa/2016/08/18/university-

                  iowa-changing-course-bias-response-team/88962048/.

            aa.   Exhibit AA is the “Key Findings” summary of the

                  University’s 2020 Campus Climate Survey, published in

                  June 2020 and accessed on February 20, 2021 at https://

                  diversity.ucf.edu/wpcontent/uploads/sites/4/2020/08/2020_C

                  limate-Survey-Student-FINAL.pdf.

            bb.   Exhibit BB is the “Bias-Related Incident Report” page of the

                  JKRT    website,    accessed   on    February   20,   2021   at

                  https://jkrt.sdes.ucf.edu/report/.

            cc.   Exhibit CC is an article from the New Republic entitled “The

                  Rise of ‘Bias Response Teams’ on Campus,” published on

                  March 30, 2016 and accessed on February 17, 2021 at

                  https://newrepublic.com/article/132195/rise-bias-response-

                  teams-campus.


                                        7
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 8 of 566 PageID 78




       Pursuant to 28 U.S.C. §1746, I declare under penalty of perjury that the

 foregoing is true and correct to the best of my knowledge.



       Executed on February 22, 2021.


                                            _/s/ Daniel Shapiro_____
                                            Daniel Shapiro




                                        8
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 9 of 566 PageID 79




                        EXHIBIT A
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 10 of 566 PageID 80




 Office of the President


  SUBJECT:                                                          Effective Date:       Policy Number
  Prohibition of Discrimination, Harassment                             10/14/2020              2-004.2
  and Related Interpersonal Violence



                                                                    Supersedes:               Page   Of
                                                                          2-004.1               1    30
                                                                    Responsible Authority:
                                                                    Director, Institutional Equity

 TABLE OF CONTENTS

 I.       APPLICABILITY/ACCOUNTABILITY
 II.      DEFINITIONS
 III.     POLICY STATEMENT
 IV.      PROHIBITED CONDUCT UNDER THIS POLICY
          A.    DISCRIMINATION
          B.    DISCRIMINATORY HARASSMENT
          C.    SEXUAL, GENDER-BASED, OR TITLE IX SEXUAL HARASSMENT
          D.    SEXUAL ASSAULT
          E.    SEXUAL EXPLOITATION
          F.    RELATIONSHIP VIOLENCE
          G.    STALKING
          H.    RETALIATION
          I.    COMPLICITY
 V.       UNDERSTANDING THE DIFFERENCE BETWEEN PRIVACY AND CONFIDENTIALITY
 VI.      EMPLOYEE REPORTING RESPONSIBILITIES
          A.    TITLE IX REPORTING OBLIGATIONS (RESPONSIBLE EMPLOYEES)
          B.    DEAN, DIRECTOR, DEPARTMENT HEAD, AND SUPERVISOR REPORTING
                OBLIGATIONS
          C.    CLERY REPORTING OBLIGATIONS (CAMPUS SECURITY AUTHORITY
                EMPLOYEES)
          D.    CHILD ABUSE REPORTING OBLIGATIONS (ALL EMPLOYEES)
 VII.     COMPLAINANT OPTIONS FOR REPORTING PROHIBITED CONDUCT
          A.    REPORTING TO LAW ENFORCEMENT


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Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 11 of 566 PageID 81




          B.    REPORTING TO THE UNIVERSITY
 VIII.    ACCESSING CAMPUS AND COMMUNITY RESOURCES & SUPPORTIVE MEASURES
          A.    REMEDIAL AND PROTECTIVE MEASURES
          B.    INTERIM ACTIONS
 IX.      INAPPROPRIATE AMOROUS RELATIONSHIPS
          A.    STUDENT CONTEXT
          B.    EMPLOYMENT CONTEXT
 X.       PREVENTION, AWARENESS AND TRAINING PROGRAMS
 XI.      OBLIGATION TO PROVIDE TRUTHFUL INFORMATION
 XII.     PROCEDURES
          A.    WHERE THE RESPONDENT IS A STUDENT OR REGISTERED STUDENT
                ORGANIZATION
          B.    WHERE THE RESPONDENT IS AN EMPLOYEE OR A DIRECT SUPPORT
                ORGANIZATION EMPLOYEE
          C.    WHERE THE RESPONDENT IS BOTH A STUDENT AND AN EMPLOYEE
          D.    WHERE THE RESPONDENT IS A THIRD-PARTY
 XIII.    RELATED INFORMATION
          A.    STUDENTS AS RESPONDENTS
          B.    EMPLOYEE AND THIRD PARTIES AS RESPONDENTS
          C.    STATE AND FEDERAL LAW
 XIV.     CONTACTS: TITLE IX COORDINATOR
 XV.      INITIATING AUTHORITY


 I.       APPLICABILITY/ACCOUNTABILITY

 This policy applies to the university community, which includes all students, employees,
 registered student organizations; direct support organizations’ non-student employees
 (DSOs), and third parties. The university prohibits discrimination, as well as discriminatory
 harassment, sexual assault, sexual exploitation, relationship violence, stalking, sexual,
 gender-based, or Title IX sexual harassment, complicity in the commission of any act
 prohibited by this policy, retaliation against a person for reporting, in good faith, any of
 these forms of conduct or participating in or being a party to any investigation or
 proceeding under this policy (collectively, “Prohibited Conduct”). Definitions for all forms
 of prohibited conduct can be found in Section IV of this policy. This policy pertains to acts
 of prohibited conduct committed by or against students, university and DSO employees and
 volunteers, registered student organizations, and third parties when:

          1.     the conduct occurs on campus or other property owned by, controlled by, or
                 affiliated with the university;
          2.     the conduct occurs in the context of a university employment or education
                 program or activity, including, but not limited to, university-sponsored study
                 abroad, research, on-line, or internship programs; or
          3.     the conduct occurs outside the context of a university employment or
                 education program or activity, but has continuing adverse effects on or
                 creates a hostile environment for students, university and DSO employees


         2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 2
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 12 of 566 PageID 82




               and volunteers, or third-parties while on campus or other property owned
               by, controlled by or affiliated with the university or in any university
               employment or education program or activity. This means that the
               university may take action against students, registered student
               organizations, DSOs, and third-parties for off-campus conduct if the conduct
               is specifically prohibited by law or university policies and regulations; may
               take action against university employees or volunteers for activities which
               fall outside the scope of employment but adversely affect the legitimate
               interests of the university; and may take action against students, university
               and DSO employees and volunteers, registered student organizations, and
               third-parties if the conduct poses (or demonstrates that the student’s,
               employee’s or third-party’s continued presence on university premises
               poses) a danger to the health, safety or welfare of the university community;
               or if the conduct is disruptive to the orderly processes and functions of the
               university.


 II.    DEFINITIONS

 Campus Security Authority (CSA). Individuals who are members of the campus police
 department; any individual who has responsibility for campus security but who does not
 constitute a member of the campus police department; any individual or organization
 specified in the university’s statement of campus security policy as an individual or
 organization to which students and employees should report criminal offenses; and any
 employee of the university who has significant responsibility for student and campus
 activities, including but not limited to, student housing, student discipline and campus
 judicial proceedings. CSAs at UCF include but are not limited to members of the campus
 police department, Student Affairs officials, Housing and Residence Life officials, Fraternity
 and Sorority Life professional staff (or related positions), athletic administrators (including
 Director, Assistant Directors, Coaches, and Trainers), Student Conduct officials, Office of
 Institutional Equity professional staff, faculty and staff advisors to registered student
 organizations, administrators at any UCF campus and instructional site, any individual who
 has the authority and the duty to take action or respond to particular issues on behalf of the
 university, and any individual who has significant responsibility for students and campus
 activities. .

 Coercion. An unreasonable pressure for sexual activity. Coercion is more than an effort to
 persuade, entice, or attract another person to have sex. Conduct does not constitute
 coercion unless it impairs an individual’s freedom of will to choose whether to participate
 in the sexual activity.

 Complainant. An individual who discloses having been subjected to any prohibited
 conduct under this policy, regardless of whether that person makes a report or seeks action
 under this policy. The university recognizes that an individual may choose to self-identify
 as a victim or a survivor. For consistency in this policy, the university uses the term
 complainant to maintain the neutrality of the policy and procedures.


       2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 3
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 13 of 566 PageID 83




 Confidential Employee. Any employee who is entitled under state law to have privileged
 communications. Confidential employees will not disclose information about prohibited
 conduct to the university without the permission of the student or employee (subject to the
 exceptions set forth in the confidentiality section of this policy). Confidential employees
 and resources at the University of Central Florida are the following:
    • Health Services employees
    • Counseling and Mental Health Services employees
    • Employee Assistance Program employees
    • Ombuds Office employees
    • Victim Services employees
    • Student Legal Services employees
    • Volunteer chaplains

 Consent. An understandable exchange of affirmative words or actions, which indicate a
 willingness to participate in mutually agreed upon sexual activity. Consent must be
 informed, freely and actively given. It is the responsibility of the initiator to obtain clear
 and affirmative responses at each stage of sexual involvement. Consent to one form of
 sexual activity does not imply consent to other forms of sexual activity. The lack of a
 negative response, lack of resistance or protest, and silence are not consent. An individual
 who is incapacitated such as by alcohol and/or other drugs both voluntarily or
 involuntarily consumed may not give consent. Past consent to sexual activity does not
 imply ongoing future consent.
            a. Responsibility: It is the responsibility of the initiator of the sexual activity to
                obtain clear and affirmative responses of a willingness to participate at each
                stage of sexual involvement.
            b. Incapacitation: a state where an individual cannot make rational, reasonable
                decisions because of age, mental or physical helplessness, sleep,
                unconsciousness, or lack of awareness that sexual activity is taking place. A
                person may be incapacitated due to the consumption of alcohol or other
                drugs, or due to a temporary or permanent physical or mental health
                condition. A person who is incapacitated lacks the capacity to give consent
                because they cannot understand the facts, nature, or extent of the sexual
                interaction. An individual may be incapacitated by force, threat, coercion,
                manipulation, reasonable fear of injury, intimidation, use of position of
                influence, or through the use of one’s mental or physical helplessness or
                incapacity. Factors used to evaluate consent are found in this policy.
            c. Standard: A determination of whether consent exists will be based on the
                information the initiator of the sexual act knew or should have known as a
                sober, reasonable person. Being impaired by alcohol or other drugs does not
                relieve an initiator of a sexual act from obtaining consent.

 Course of conduct. Two or more acts, including but not limited to acts in which a person
 directly, indirectly, or through third-parties, by any action, method, device, or means,
 follows, monitors, observes, surveils, threatens, or communicates to or about another


       2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 4
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 14 of 566 PageID 84




 person, or interferes with another person’s property.

 Direct Support Organization. An organization that is a subsidiary corporation of the
 university and is certified by the University of Central Florida Board of Trustees per Florida
 Statute 1004.28 to support the mission and goals of the university and the best interest of
 the state of Florida.

 Employee. Any individual employed by the University of Central Florida, including all full-
 time and part-time faculty, employees classified as Administrative and Professional (A&P),
 employees classified as University Support Personnel System (USPS), post-doctoral
 employees, resident assistants, graduate students with classroom responsibilities,
 professional research assistants, and OPS non-student employees.

 Force. The use of physical violence and/or imposing on someone physically to gain sexual
 access. Force also includes threats, intimidation (implied threats) and/or coercion that
 overcome resistance.

 Hostile Environment Harassment: Discriminatory harassment that is so severe or
 pervasive that it unreasonably interferes with, limits, deprives, or alters the terms or
 conditions of education (e.g., admission, academic standing, grades, assignment);
 employment (e.g., hiring, advancement, assignment); or participation in a university
 program or activity (e.g., campus housing), when viewed from both a subjective and
 objective perspective.

 In evaluating whether a hostile environment exists, the university will consider the totality
 of known circumstances, including, but not limited to:

    •    The frequency, nature and severity of the conduct;
    •    Whether the conduct was physically threatening;
    •    The effect of the conduct on the complainant’s mental or emotional state;
    •    Whether the conduct was directed at more than one person;
    •    Whether the conduct arose in the context of other discriminatory conduct or other
         misconduct;
    •    Whether the conduct unreasonably interfered with the complainant’s educational or
         work performance and/or university programs or activities; and
    •    Whether the conduct implicates concerns related to academic freedom or protected
         speech.

 A hostile environment can be created by pervasive conduct or by a single or isolated
 incident, if sufficiently severe. The more severe the conduct, the less need there is to show a
 repetitive series of incidents to prove a hostile environment, particularly if the conduct is
 physical. However, an isolated incident, unless sufficiently serious, does not amount to
 Hostile Environment Harassment.




        2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 5
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 15 of 566 PageID 85




 Privileged Communication. A private statement that must be kept in confidence by the
 recipient for the benefit of the communicator. Some examples of a privileged
 communication are statements made between an attorney and a client, a doctor and a
 patient, and a priest and a penitent.

 Prohibited Conduct. For purposes of this policy, prohibited conduct refers to
 discrimination, as well as discriminatory harassment, sexual assault, sexual exploitation,
 relationship violence, stalking, sexual, gender-based, or Title IX sexual harassment,
 complicity in the commission of any act prohibited by this policy, retaliation against a
 person for reporting, in good faith, any of these forms of conduct or participating in or
 being a party to any investigation or proceeding under this policy.

 Quid Pro Quo Harassment: Discriminatory harassment where submission to or rejection
 of unwelcome conduct is used, explicitly or implicitly, as the basis for decisions affecting an
 individual’s education (e.g., admission, academic standing, grades, assignment);
 employment (e.g., hiring, advancement, assignment); or participation in a university
 program or activity (e.g., campus housing).

 Respondent. Any individual or group who has been accused of violating this policy.

 Responsible Employee. Any university or DSO employee who is not a confidential
 employee. Responsible employees include but are not limited to faculty (full-time and part-
 time), staff (full-time and part-time), resident assistants, and graduate students with
 classroom responsibilities. Responsible employees also include all those employees
 identified as Campus Security Authorities (CSAs). The university reserves the right to
 designate other individuals involved in university-sponsored/related activities as
 responsible employees on a case-by-case basis.

 Student. Any individual defined as a student in the University of Central Florida’s
 Regulation UCF-5.006(3) and The Golden Rule Student Handbook.

 Substantial Emotional Distress. Significant mental suffering or anguish that may, but
 does not necessarily, require medical or other professional treatment or counseling.

 Third-Party. Any contractor, vendor, visitor, applicant or other non-student or non-
 employee/volunteer affiliated with the university.


 III.    POLICY STATEMENT

 The University of Central Florida is committed to maintaining a safe and non-
 discriminatory learning, living and working environment for all students, university and
 DSO employees and volunteers, registered student organizations, and third parties.
 Academic and professional excellence can exist only when each member of our community
 is assured an atmosphere of safety and mutual respect. All members of the university
 community are responsible for the maintenance of an environment in which people are


        2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 6
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 16 of 566 PageID 86




 free to learn and work without fear of discrimination, discriminatory harassment, or
 interpersonal violence. Discrimination diminishes individual dignity and impedes equal
 employment and educational opportunities.

 The university does not unlawfully discriminate in any of its education or employment
 programs and activities on the basis of an individual’s race, color, ethnicity, national origin,
 religion, or non-religion, age, genetic information, sex (including pregnancy and parental
 status, gender identity or expression, or sexual orientation), marital status, physical or
 mental disability (including learning disabilities, intellectual disabilities, and past or
 present history of mental illness), political affiliations, veteran’s status (as protected under
 the Vietnam Era Veterans’ Readjustment Assistant Act), or membership in any other
 protected classes as set forth in state or federal law. To that end, this policy against
 Discrimination, Harassment and Related Interpersonal Violence (the “Policy”) prohibits
 specific forms of behavior that violate state and federal laws, including but not limited to
 Title VII of the Civil Rights Act of 1964 (“Title VII”), Title IX of the Education Amendments
 of 1972 (“Title IX”), the Violence Against Women Reauthorization Act of 2013 (“VAWA”),
 Florida’s Civil Rights Act (Sections 760.10 and 110.1221) and related state and federal anti-
 discrimination laws. Such behavior may also require the university to fulfill certain
 reporting obligations under the Jeanne Clery Disclosure of Campus Security Policy and
 Campus Crime Statistics Act (the “Clery Act”), as amended by VAWA, and Florida state law
 regarding reporting suspected child abuse and neglect.

 The university prohibits discrimination, as well as discriminatory harassment, sexual
 assault, sexual exploitation, relationship violence, stalking, sexual, gender-based , or Title IX
 sexual harassment, complicity in the commission of any act prohibited by this Policy,
 retaliation against a person for reporting, in good faith, any of these forms of conduct or
 participating in or being a party to any investigation or proceeding under this Policy
 (collectively, “Prohibited Conduct”). Religious discrimination includes failing to reasonably
 accommodate an employee’s or student’s religious practices where the accommodation
 does not impose an undue hardship. Disability discrimination includes not making
 reasonable accommodations to the known physical or mental limitations of an otherwise
 qualified individual with a disability where the accommodations do not impose an undue
 hardship. These forms of Prohibited Conduct are unlawful and undermine the mission and
 values of our academic community. In addition, inappropriate amorous relationships with
 employees in positions of authority can undermine the university’s mission when those in
 positions of authority abuse or appear to abuse their authority.

 The university adopts this Policy with a commitment to: (1) eliminating, preventing, and
 addressing the effects of Prohibited Conduct; (2) fostering a safe and respectful university
 community; (3) cultivating a climate where all individuals are well-informed and
 supported in reporting Prohibited Conduct; (4) providing a fair and impartial process for
 all parties in the investigation and resolution of such reports; and (5) identifying the
 standards by which violations of this Policy will be evaluated and disciplinary action may
 be imposed. In addition, the university conducts ongoing prevention, awareness, and
 training programs for employees and students to facilitate the goals of this Policy.



       2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 7
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 17 of 566 PageID 87




 A student, employee, or registered student organization determined by the university to
 have committed an act of Prohibited Conduct is subject to disciplinary action, up to and
 including permanent separation from the university. Third-parties or DSOs who commit
 acts of Prohibited Conduct may have their relationships with the university terminated
 and/or their privileges of being on university premises withdrawn.

 It is the responsibility of every member of the university community to foster an
 environment free of Prohibited Conduct. All members of the university community are
 encouraged to take reasonable and prudent actions to prevent or stop an act of Prohibited
 Conduct. The university will support and assist community members who take such
 actions. Also, many university employees must report Prohibited Conduct to the university
 (see Section IX below).

 Retaliation against any individual who, in good faith, reports or participates in the
 reporting, investigation, or adjudication of and/or is a party to an investigation related to
 Prohibited Conduct is impermissible, unlawful and will not be tolerated by the university.

 This policy applies to all reports of Prohibited Conduct occurring on or after the effective
 date of this Policy. Where the date of the Prohibited Conduct precedes the effective date of
 this Policy, the definitions of misconduct in effect at the time of the alleged incident(s) will
 be applied. The procedures under this Policy, however, will be used to investigate and
 resolve all reports made on or after the effective date of this Policy, regardless of when the
 incident(s) occurred.


 IV.    PROHIBITED CONDUCT UNDER THIS POLICY

 Conduct under this Policy is prohibited regardless of the sex, sexual orientation and/or
 gender identity/expression of the complainant or respondent. Prohibited Conduct includes
 the following specifically defined forms of behavior: discrimination, discriminatory
 harassment, sexual, gender-based or Title IX sexual harassment, sexual assault, sexual
 exploitation, relationship violence, stalking, complicity, and retaliation. These definitions
 may overlap with Florida criminal statutes in some cases and provide greater protection in
 other instances.

        A.     DISCRIMINATION

               Discrimination is any unlawful distinction, preference, or detriment to an
               individual that is based upon an individual’s race, color, ethnicity, national
               origin, religion, non-religion, age, genetic information, sex (including
               pregnancy and parental status, gender identity or expression, or sexual
               orientation), marital status, physical or mental disability (including learning
               disabilities, intellectual disabilities, and past or present history of mental
               illness), political affiliations, veteran’s status (as protected under the Vietnam
               Era Veterans’ Readjustment Assistant Act), or membership in other
               protected classes set forth in state or federal law and that: (1) excludes an


       2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 8
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 18 of 566 PageID 88




              individual from participation in; (2) denies the individual the benefits of; (3)
              treats the individual differently with regard to; or (4) otherwise adversely
              affects a term or condition of an individual’s employment, education, living
              environment or participation in a university program or activity.

              Discrimination includes failing to provide a reasonable accommodation,
              consistent with state and federal law, to persons with disabilities. The
              University of Central Florida is committed to achieving equal educational and
              employment opportunity and full participation for persons with disabilities.
              Also, discrimination includes failing to reasonably accommodate an
              employee’s or student’s religious practices where the accommodation does
              not impose an undue hardship. For more information regarding
              discrimination, please visit www.oie.ucf.edu.

       B.     DISCRIMINATORY HARASSMENT

              Discriminatory harassment consists of verbal, physical, electronic or other
              conduct based upon an individual’s race, color, ethnicity, national origin,
              religion, non-religion, age, genetic information, sex (including pregnancy and
              parental status, gender identity or expression, or sexual orientation), marital
              status, physical or mental disability (including learning disabilities,
              intellectual disabilities, and past or present history of mental illness),
              political affiliations, veteran’s status (as protected under the Vietnam Era
              Veterans’ Readjustment Assistant Act), or membership in other protected
              classes set forth in state or federal law that interferes with that individual’s
              educational or employment opportunities, participation in a university
              program or activity, or receipt of legitimately-requested services meeting the
              description of either Hostile Environment Harassment or Quid Pro Quo
              Harassment, as defined above.

              Discriminatory harassment may take many forms, including verbal acts,
              name-calling, graphic or written statements (via the use of cell phones or the
              Internet), or other conduct that may be humiliating or physically threatening.

       C.     SEXUAL, GENDER-BASED, OR TITLE IX SEXUAL HARASSMENT

              Sexual harassment is any unwelcome sexual advance, request for sexual
              favors, or other unwanted conduct of a sexual nature, whether verbal, non-
              verbal, graphic, physical, or otherwise, when the conditions for Hostile
              Environment Harassment or Quid Pro Quo Harassment are present.

              Sexual harassment also may include inappropriate touching, acts of sexual
              violence, suggestive comments and public display of pornographic or
              suggestive calendars, posters, or signs where such images are not connected
              to any academic purpose. A single incident of sexual assault (as defined
              below) may be sufficiently severe to constitute a hostile environment.


      2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 9
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 19 of 566 PageID 89




               Gender-based harassment includes harassment based on gender, sexual
               orientation, gender identity, or gender expression, which may include acts of
               aggression, intimidation, or hostility, whether verbal or non-verbal, graphic,
               physical, or otherwise, even if the acts do not involve conduct of a sexual
               nature, when the conditions for Hostile Environment Harassment or Quid Pro
               Quo Harassment are present.

               University investigations of incidents that meet the Title IX Sexual
               Harassment definition will be investigated pursuant to UCF Policy 2-012 Title
               IX Grievance Policy. Title IX Sexual Harassment includes conduct that occurs
               on the basis of sex in a university education program or activity in the United
               States that satisfies one or more of the following:
                   • An employee conditioning the provision of an aid, benefit, or service
                       on an individual’s participation in unwelcome sexual conduct (i.e.,
                       Quid Pro Quo);
                   • Unwelcome conduct determined by a reasonable person to be so
                       severe, pervasive, and objectively offensive that it effectively denies a
                       person equal access to an education program or activity (i.e., hostile
                       environment); or
                   • Sexual assault (as defined by the Clery Act), or “dating violence,”
                       “domestic violence,” and “stalking” (as defined by the VAWA).
               And also meets the following criteria: The conduct is alleged to have
               occurred:
                    a. On or after August 14, 2020;
                    b. Against a person located in the United States; and,
                    c. In or as part of the university’s activity or program.

        D.     SEXUAL ASSAULT

               Sexual assault consists of sexual contact that occurs without consent. Sexual
               contact includes but is not limited to the following behaviors:
                  1. touching, kissing, fondling (whether over or under clothing) of an
                      individual for the purpose of sexual gratification; and/or
                  2. contact, however slight, between the mouth, anus, or sex organ of one
                      individual with either the anus or sex organ of another individual;
                      and/or
                  3. contact, however slight, between the anus or sex organ of one
                      individual and any other object.

 The university offers the following guidance on consent and assessing
 incapacitation:

 A person who wants to engage in a specific sexual activity is responsible for obtaining
 consent for that activity. The lack of a negative response or protest does not constitute



     2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 10
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 20 of 566 PageID 90




 consent. Lack of resistance does not constitute consent. Silence and/or passivity also do not
 constitute consent. Relying solely on non-verbal communication before or during sexual
 activity can lead to a misunderstanding and may result in a violation of this Policy. It is
 important not to make assumptions about whether a potential partner is consenting. In
 order to avoid confusion or ambiguity, participants are encouraged to talk with one
 another before engaging in sexual activity. If confusion or ambiguity arises during sexual
 activity, participants are encouraged to stop and clarify a mutual willingness to continue
 that activity.

 Consent to one form of sexual activity does not, by itself, constitute consent to another form
 of sexual activity. For example, one should not presume that consent to oral-genital contact
 constitutes consent to vaginal or anal penetration. Consent to sexual activity on a prior
 occasion does not, by itself, constitute consent to future sexual activity. In cases of prior
 relationships, the manner and nature of prior communications between the parties and the
 context of the relationship may have a bearing on the presence of consent.

 Once consent has been given to a particular sexual activity, it may be withdrawn at any
 time. An individual who seeks to withdraw consent must communicate, through clear
 words or actions, a decision to cease the sexual activity. Once consent is withdrawn, the
 sexual activity must cease immediately.

 In evaluating consent in cases of alleged incapacitation, the university asks two questions:
 (1) Did the person initiating sexual activity know that the other party was incapacitated?
 and if not, (2) Should a sober, reasonable person in the same situation have known that the
 other party was incapacitated? If the answer to either of these questions is “YES,” consent
 was absent, and the conduct is likely a violation of this Policy.

 A person may or may not be incapacitated as a result of drinking or using drugs. Alcohol-
 related or recreational drug-related incapacity results from a level of alcohol/drug
 ingestion that is more severe than minor impairment, being under the influence,
 drunkenness, or intoxication. A person could be incapacitated due to other reasons which
 may include: sleep, prescribed or over the counter medication, and/or mental, or physical
 disability. The impact of alcohol and drugs varies from person to person.

 A person seeking to initiate sexual activity is not expected to be a medical expert in
 assessing incapacitation. The potential initiator must look for the common and obvious
 warning signs that show that a person may be incapacitated or approaching incapacitation.
 Although every individual may manifest signs of incapacitation differently, evidence of
 incapacity may be detected from context clues, such as:
    • Slurred or incomprehensible speech;
    • Bloodshot eyes;
    • The smell of alcohol on their breath;
    • Shaky equilibrium or unsteady gait;
    • Vomiting;
    • Incontinence;


     2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 11
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 21 of 566 PageID 91




    •   Combativeness or emotional volatility;
    •   Unusual behavior; and/or
    •   Unconsciousness.

 Context clues are important in helping to determine incapacitation. These signs alone do
 not necessarily indicate incapacitation. A person who is incapacitated may not be able to
 understand some or all of the following questions:
    • “Do you know where you are?”
    • “Do you know how you got here?”
    • “Do you know what is happening?”
    • “Do you know who is here with you?”

 One should be cautious before engaging in sexual contact when either party has been
 drinking alcohol or using other drugs. The introduction of alcohol or other drugs may
 create ambiguity for either party as to whether consent has been sought or given. If one has
 doubt about either party’s level of intoxication, the safe thing to do is to abstain from all
 sexual activity.

 Being impaired by alcohol or other drugs is no defense to any violation of this Policy.

        E.     SEXUAL EXPLOITATION

               Sexual exploitation is purposely or knowingly doing or attempting to do any
               of the following:
                   • Exposing of one’s body in such a manner that another party
                       reasonably could be offended or to display sexual behavior which
                       another person reasonably finds offensive;
                   • Voyeurism, including trespassing, spying, or eavesdropping for the
                       purpose of sexual gratification;
                   • Soliciting sex acts from a minor by oral, written, or electronic means;
                   • Possessing, producing, or disseminating child pornography;
                   • Recording or photographing private sexual activity and/or a person’s
                       intimate parts (including genitalia, groin, breasts or buttocks) without
                       consent;
                   • Disseminating or posting images of private sexual activity and/or a
                       person’s intimate parts (including genitalia, groin, breasts, or
                       buttocks) without consent;
                   • Allowing third parties to observe private sexual activity from a hidden
                       location (e.g., closet) or through electronic means (e.g., Skype or
                       livestreaming of images);
                   • Subjecting another person to human trafficking; or
                   • Exposing another person to a sexually transmitted infection or virus
                       without the other’s knowledge.




     2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 12
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 22 of 566 PageID 92




       F.     RELATIONSHIP VIOLENCE

              Relationship violence includes any act of violence or threatened act of
              violence that occurs between individuals who are involved or have been
              involved in a sexual, dating, spousal, domestic, or other intimate relationship.
              Relationship violence includes “dating violence” and “domestic violence,” as
              defined by VAWA. Consistent with VAWA, the university will evaluate the
              existence of an intimate relationship based upon the complainant’s
              statement and taking into consideration the length of the relationship, the
              type of relationship, and the frequency of interaction between the persons
              involved in the relationship. Relationship violence may also include any form
              of Prohibited Conduct under this Policy, including sexual assault, stalking,
              and physical assault. Relationship violence may involve a pattern of behavior
              used to establish power and control over another person through fear and
              intimidation or may involve one-time conduct. A pattern of behavior is
              typically determined based on the repeated use of words and/or actions and
              inactions in order to demean, intimidate, and/or control another person. This
              behavior can be verbal, emotional, and/or physical and may be directed
              towards the former partner, their property, or other individuals. Examples of
              relationship violence may include, but are not limited to:
                  • Slapping;
                  • Pulling hair;
                  • Punching;
                  • Damaging another person’s property;
                  • Driving recklessly to scare someone;
                  • Name calling;
                  • Humiliating another person in public;
                  • Harassment directed toward a current or former partner or spouse;
                     and/or
                  • Threats of abuse such as threatening to hit, harm, or use a weapon on
                     another (whether the complainant or acquaintance, friend, or family
                     member of the complainant), or other forms of verbal threats.

              Harmful behavior that includes, but is not limited to, the true threat of or
              actual physical assault or abuse and/or harassment, is prohibited pursuant
              to The Golden Rule. Harmful behavior will be addressed under this Policy if it
              involves discriminatory harassment, sexual, gender-based, or Title IX sexual
              harassment, relationship violence, or is part of a course of conduct under the
              stalking definition.

       G.     STALKING

              Stalking occurs when a person engages in a course of conduct directed at a
              specific person under circumstances that would cause a reasonable person to
              fear for the person’s safety or the safety of others, or to experience


     2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 13
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 23 of 566 PageID 93




              substantial emotional distress. Stalking includes “cyber-stalking,” a
              particular form of stalking in which a person uses electronic media, such as
              the internet, social networks, blogs, phones, texts, or other similar devices or
              forms of contact.

              Stalking may include, but is not limited to:
                  • Non-consensual communications (face-to-face, telephone, email);
                  • Threatening or obscene gestures;
                  • Surveillance/following/pursuit;
                  • Showing up outside the targeted individual’s classroom or workplace;
                  • Sending gifts and/or notes (romantic, bizarre, sinister, or perverted);
                     and/or
                  • Making threats.

       H.     RETALIATION

              Retaliation means any adverse action taken against a person for making a
              good faith report of Prohibited Conduct or participating in or being a party to
              any proceeding under this policy, including requesting supportive measures
              (remedial and/or protective) for the purpose of interfering with any right or
              privilege secured by this Policy. Retaliation includes threatening,
              intimidating, discriminating, harassing, coercing and any other conduct that
              would discourage a reasonable person from engaging in activity protected
              under this policy. Retaliation may be present even where there is a finding of
              “no responsibility” on the allegations of Prohibited Conduct. Also, an
              individual may be found to have engaged in retaliation when they were not a
              party to the initial report of discrimination. Retaliation does not include good
              faith actions lawfully pursued in response to a report of Prohibited Conduct.
              In determining whether an act constitutes retaliation, the full context of the
              conduct will be considered, including the individual right to freedom of
              speech.

              Retaliation can include, but is not limited to, actions taken by the university,
              actions taken by one student against another student, actions taken by an
              employee against another employee or student, or actions taken by a third-
              party against a student or employee. See UCF Policy 2-700 Reporting
              Misconduct and Protection from Retaliation for additional information on
              prohibited retaliation.

       I.     COMPLICITY

              Complicity is any act taken with the purpose of aiding, facilitating, promoting
              or encouraging the commission of an act of Prohibited Conduct by another
              person.




     2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 14
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 24 of 566 PageID 94




 V.     UNDERSTANDING THE DIFFERENCE BETWEEN PRIVACY AND
        CONFIDENTIALITY

 The university is committed to protecting the privacy of all individuals involved in the
 investigation and resolution of a report under this policy. The university also is committed
 to providing assistance to help students, university and DSO employees and volunteers,
 and third parties make informed choices. With respect to any report under this policy, the
 university will take reasonable efforts to protect the privacy of participants, in accordance
 with applicable state and federal law, while balancing the need to gather information to
 assess the report and to take steps to eliminate Prohibited Conduct, prevent its recurrence,
 and remedy its effects. Privacy and confidentiality have distinct meanings under this
 Policy.

        Privacy: Privacy means that information related to a report of Prohibited Conduct
        will be shared with a limited number of university employees who “need to know”
        in order to assist in support of the complainant and in the assessment, investigation,
        and resolution of the report. All employees who are involved in the university’s
        response to reports of Prohibited Conduct receive specific training and guidance
        about sharing and safeguarding private information in accordance with state and
        federal law.

        The privacy of student education records will be protected in accordance with the
        Family Educational Rights and Privacy Act (“FERPA”), as outlined at
        http://registrar.ucf.edu/ferpa. The privacy of an individual’s medical and related
        records generally is protected by the Health Insurance Portability and
        Accountability Act (“HIPAA”) and/or state laws governing protection of medical
        records. Access to an employee’s personnel records may be restricted in accordance
        with Florida law and applicable collective bargaining agreements.

        Confidentiality: Confidentiality exists in the context of laws that protect certain
        relationships, including with medical and clinical care providers (and those who
        provide administrative services related to the provision of medical and clinical
        care), mental health providers, counselors, victim advocates, and ordained clergy, all
        of whom may engage in confidential communications under Florida law. Under
        Florida law, these confidential employees must report to authorities if an individual
        discloses they are a minor (under 18), a judge subpoenas the university to release
        information to the court, an individual expresses homicidal or suicidal intent, or the
        confidential employee receives knowledge that a minor (under 18), elder, or person
        with an intellectual disability is at risk for abuse. The university has designated
        individuals who have the ability to have privileged communications as confidential
        employees. When information is shared by an individual with a confidential
        employee or a community professional with the same legal protections, the
        confidential employee (and/or such community professional) cannot reveal any
        information that could identify the individual to any third-party except where
        required or permitted by law. For example, information may be disclosed when: (i)
        the individual gives written consent for its disclosure; (ii) there is a concern that the


      2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 15
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 25 of 566 PageID 95




         individual will likely cause serious physical harm to self or others; or (iii) the
         information concerns conduct involving suspected abuse, neglect, or exploitation of
         a minor under the age of 18 or a vulnerable adult (as defined in Florida Statutes
         Section 415).

 VI.     EMPLOYEE REPORTING RESPONSIBILITIES

         A.     RESPONSIBLE EMPLOYEE REPORTING OBLIGATIONS

                An employee’s responsibility to report under this Policy is governed by the
                employee’s role at the university. Confidential employees are not required to
                report Prohibited Conduct to the university when the disclosure is made
                while serving in the role that entitles them under state law to have privileged
                communications. Responsible employees are required to immediately report
                to the university’s Office of Institutional Equity all relevant details (obtained
                directly or indirectly) about an incident of sex/gender-based discrimination
                or harassment, sexual harassment, Title IX sexual harassment, sexual assault,
                sexual exploitation, relationship violence, and/or stalking (as defined herein)
                that involves any student as a complainant, respondent, and/or witness,
                including dates, times, locations, and names of parties and witnesses. 1
                Reporting is required when the responsible employee knows (by reason of a
                direct or indirect disclosure) or should have known of such sex/gender-
                based discrimination or harassment, sexual harassment, Title IX sexual
                harassment, sexual assault, sexual exploitation, relationship violence, and/or
                stalking. Responsible employees include but are not limited to faculty (full-
                time and part-time), staff (full-time and part-time), resident assistants,
                graduate students with classroom responsibilities, CSAs, and DSOs. This
                manner of reporting may help inform the university of the general extent and
                nature of Prohibited Conduct on and off campus so the university can track
                patterns, evaluate the scope of the problem, and formulate appropriate
                campus-wide responses. If a responsible employee is uncertain if specific
                conduct constitutes conduct that must be reported, the responsible employee
                should contact the Office of Institutional Equity for assistance with making
                this determination.

                Responsible employees are not required to report information disclosed (1)
                at public awareness events (e.g., “Light Up the Night,” Clothesline Project,
                candlelight vigils, protests, “survivor speak-outs” or other public forums in
                which students may disclose incidents of Prohibited Conduct; collectively,
                “Public Awareness Events”); (2) during a student’s participation as a subject
                in an Institutional Review Board-approved human subjects research protocol
                (“IRB Research”); or (3) as part of coursework submitted to an instructor in
                connection with a course assignment. Even in the absence of such obligation,
                all employees are encouraged to contact the Title IX coordinator if they




       2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 16
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 26 of 566 PageID 96




              become aware of information that suggests a safety risk to the university
              community or any member thereof. The university may provide information
              about students’ Title IX and/or other civil rights and about available
              university and community resources and support at Public Awareness
              Events. Also, Institutional Review Boards may, in appropriate cases, require
              researchers to provide such information to all student subjects of IRB
              Research.

       B.     DEAN, DIRECTOR, DEPARTMENT HEAD, AND SUPERVISOR REPORTING
              OBLIGATIONS

              Under this Policy, deans, directors, department heads, and supervisors are
              required to report to the Office of Institutional Equity all relevant details
              about an incident of Prohibited Conduct where either the complainant or the
              respondent is an university or DSO employee or volunteer. Reporting is
              required when such deans, directors, department heads and supervisors
              know (by reason of direct or indirect disclosure) or should have known of
              such Prohibited Conduct. If a dean, director, department head or supervisor
              is uncertain if specific conduct constitutes conduct that must be reported, the
              Office of Institutional Equity should nevertheless be contacted for assistance
              with making this determination.

              All university and DSO employees and volunteers are strongly encouraged to
              report to law enforcement any conduct that could potentially present a
              danger to the community or may be a crime under Florida law.

       C.     CLERY REPORTING OBLIGATIONS

              Under the Clery Act, certain university employees are designated as CSAs.
              The function of a CSA is to report to the UCF Police Department those
              allegations of Clery Act and/or VAWA crimes that they receive and believe
              were made in good faith. This includes crimes where the victim chooses to
              remain anonymous. Based on information reported to CSAs, the university
              includes statistics about certain criminal offenses in its annual security
              report and provides those statistics to the United States Department of
              Education in a manner that does not include any personally identifying
              information about individuals involved in an incident. The Clery Act also
              requires the university to issue emergency notifications and timely warnings
              to the university community about certain reported crimes that may pose a
              serious or continuing threat to the campus community. Consistent with the
              Clery Act and UCF Policy 3-116 Emergency Notification (UCF Alert) System,
              the university will never include a complainant’s personal identifying
              information when issuing an emergency notification and/or timely warning
              to the university community. Pastoral counselors and professional
              counselors are exempt from reporting when a crime is reported to them and
              they are functioning within the scope of that recognition or licensure, unless


     2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 17
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 27 of 566 PageID 97




                 required by law.

          D.     CHILD ABUSE REPORTING OBLIGATIONS

                 All university and DSO employees and volunteers are mandated reporters of
                 child abuse, neglect or abandonment as defined by Chapter 39 of the Florida
                 Statutes and must comply with Florida’s mandated reporting laws. See
                 Florida Statutes Sections 39.201 to 39.205 and UCF Policy 2-005 Youth
                 Protection for additional information on reporting of child abuse. These laws
                 and university policy require any person who knows, or has reasonable
                 cause to suspect, that a child is abused, abandoned, or neglected to report
                 such knowledge or suspicion to the Florida Department of Children and
                 Families (DCF), regardless of where it occurs. For purposes of this section,
                 the age of the person at the time of the incident of child abuse, neglect, or
                 abandonment (not the time when the employee is made aware or has
                 reasonable cause to suspect the abuse) triggers the reporting duty. In
                 addition, Florida Statutes and Board of Governors Regulation require the UCF
                 Police Department and certain administrators (president, provost,
                 senior/executive vice presidents, vice presidents, associate vice presidents,
                 associate/vice provosts, deans, chief of police, equal opportunity programs
                 director, intercollegiate athletics director, internal audit director, Title IX
                 coordinator, and university compliance officer) upon receiving information
                 from faculty, staff, or other institutional employees of known or suspected
                 child abuse, abandonment, or neglect committed on university property, or
                 during a university-sponsored event or function to report such knowledge or
                 suspicion to the DCF. The law further prohibits UCF administrators from
                 knowingly and willfully preventing another person from reporting such
                 activity. Reports can be made to the DCF by:
                     • Fax: 1-800-914-0004 (Form available at
                     • https://www.myflfamilies.com/service-programs/abuse-
                         hotline/docs/faxreport.pdf)
                     • Web: https://reportabuse.dcf.state.fl.us/
                     • Florida Abuse Hotline: 1-800-96ABUSE (1-800-962-2873) (Or TDD: 1-
                         800-453-5145)

                 If a child is in imminent danger, dial 911 first and then report to DCF.

 VII.     COMPLAINANT OPTIONS FOR REPORTING PROHIBITED CONDUCT

 There are two channels for reporting Prohibited Conduct – to the university and/or to law
 enforcement. A complainant may choose to report through either channel or to both as
 these reporting options are not mutually exclusive. Therefore, complainants may choose to
 pursue both the university process and the criminal process concurrently. The university
 will support complainants in understanding, assessing, and pursuing these options.




        2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 18
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 28 of 566 PageID 98




 The first priority for any individual should be personal safety and well-being. In addition to
 seeking immediate medical care, the university encourages all individuals to seek
 immediate assistance from 911, UCF Police, and/or local law enforcement. This is the best
 option to ensure preservation of evidence. The university also strongly urges that law
 enforcement be notified immediately in situations that may present imminent or ongoing
 danger.

        A.     REPORTING TO LAW ENFORCEMENT

               Conduct that violates this Policy may also constitute a crime under the laws
               of the jurisdiction in which the incident occurred. For example, the State of
               Florida criminalizes and punishes some forms of sexual assault, relationship
               violence, sexual exploitation, stalking, and physical assault. See Chapters 741,
               784, and 794 of the Florida statutes. Whether or not any specific incident of
               Prohibited Conduct may constitute a crime is a decision made solely by law
               enforcement. Similarly, the decision to arrest any individual for engaging in
               any incident of Prohibited Conduct is determined solely by the law
               enforcement agency responsible for investigating the incident. Such
               decisions are based on a number of factors, including availability of
               admissible evidence.

               Complainants have the right to notify or decline to notify law enforcement. In
               keeping with its commitment to take all appropriate steps to eliminate,
               prevent, and remedy all Prohibited Conduct, the university urges
               complainants (or others who become aware of potential criminal conduct) to
               report Prohibited Conduct immediately to local law enforcement by
               contacting:

                  i.   911 (for emergencies)
                 ii.   University Police (for non-emergencies): (407) 823-5555
                       24/7 Emergency Abroad Hotline: (407) 823-0595
                iii.   State Police (for conduct occurring off campus) (850) 410-7000
                 iv.   Orange County Sheriff’s Office: (407) 254-7000
                  v.   Seminole County Sheriff’s Office: (407) 665-6600
                 vi.   City of Orlando Police Department: (407) 246-2470
                vii.   Brevard County Sheriff’s Office: (321) 264-5201
               viii.   Osceola County Sheriff’s Office: (407) 348-1100
                 ix.   Volusia County Sheriff’s Office: (386) 943-7866
                  x.   Lake County Sheriff’s Office: (352) 343-2101
                 xi.   Marion County Sheriff's Office: (352) 402-6000

               Police have unique legal authority, including the power to seek and execute
               search warrants, collect forensic evidence, make arrests, and assist in seeking
               an injunction. Although a police report may be made at any time,
               complainants should be aware that delayed reporting may diminish law
               enforcement’s ability to take certain actions, including collecting forensic


     2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 19
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 29 of 566 PageID 99




                  evidence and making arrests. The university will assist complainants in
                  notifying law enforcement if they choose to do so. Under limited
                  circumstances posing a threat to the health or safety of any university
                  community member, the university may independently notify law
                  enforcement.

           B.     REPORTING TO THE UNIVERSITY

                  Complainants (or others who become aware of an incident of Prohibited
                  Conduct) are encouraged to report the incident to the university by
                  contacting the Office of Institutional Equity by telephone, email, or in person
                  during regular office hours (8am-5pm, M-F):

                         Office of Institutional Equity
                         12701 Scholarship Drive, Suite 101
                         Orlando, FL 32816-0030
                         (407) 823-1336
                         oie@ucf.edu; https://oie.ucf.edu https://letsbeclear.ucf.edu

                  There is no time limit for a complainant to report Prohibited Conduct to the
                  university under this Policy; however, the university’s ability to respond may
                  diminish over time, as evidence may erode, memories may fade, and
                  respondents may no longer be affiliated with the university. This statement
                  does not relieve responsible employees of their obligation to report
                  sex/gender-based discrimination or harassment, sexual harassment, Title IX
                  sexual harassment, sexual assault, relationship violence, sexual exploitation
                  and/or stalking involving a student immediately to the Office of Institutional
                  Equity. If the respondent is no longer a student, or university or DSO
                  employee or volunteer, the university will provide reasonably appropriate
                  remedial measures, assist the complainant in identifying external reporting
                  options, and take reasonable steps to eliminate Prohibited Conduct, prevent
                  its recurrence, and remedy its effects.

                  To encourage reporting, any individual (including a bystander or third-party)
                  who makes a good faith report of Prohibited Conduct will not be subject to
                  disciplinary action by the university for the reporter’s own personal use of
                  alcohol or drugs at or near the time of the incident provided any such
                  violations did not harm or place the health or safety of any other person at
                  risk. The university may offer support, resources, and educational
                  counseling to such an individual.

 VIII.     ACCESSING CAMPUS AND COMMUNITY RESOURCES AND SUPPORTIVE
           MEASURES

 The university offers a wide range of resources for all students and employees to provide



         2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 20
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 30 of 566 PageID 100




  support and guidance in response to any incident of Prohibited Conduct. Comprehensive
  information on accessing university and community resources is contained online at the
  following sites:

     •   UCF Let’s Be Clear: https://letsbeclear.ucf.edu
     •   Discrimination and discriminatory harassment where the respondent is a university
         or DSO employee or volunteer, or third-party: https://oie.ucf.edu
     •   Related student code violations where the respondent is a student:
         https://oie.ucf.edu/ or http://osrr.sdes.ucf.edu/
     •   Office of Student Rights and Responsibilities: http://osrr.sdes.ucf.edu
     •   Student Conduct and Academic Integrity: https://scai.sdes.ucf.edu/
     •   Victim Services: http://victimservices.ucf.edu
     •   Student Care Services: http://scs.sdes.ucf.edu

  Available resources include but are not limited to: emergency and ongoing assistance;
  health, mental health, and victim-advocacy services; options for reporting Prohibited
  Conduct to the university and/or law enforcement; and available support with academics,
  housing, and employment. For more information about resources and supportive
  measures, please visit https://letsbeclear.ucf.edu/.

         A.    REMEDIAL, SUPPORTIVE AND PROTECTIVE MEASURES

               The university offers a wide range of resources for students, and university
               and DSO employees and volunteers whether as complainants, witnesses, or
               respondents, to provide support and guidance throughout the initiation,
               investigation, and resolution of a report of Prohibited Conduct. The
               university will offer reasonable and appropriate measures to protect a
               complainant and respondent, and facilitate the complainant’s continued
               access to university employment or education programs and activities. These
               measures may be both remedial (designed to address a complainant’s safety
               and well-being and continued access to educational opportunities) or
               protective (designed to reduce the risk of harm to an individual or
               community). Remedial and protective measures, which may be temporary or
               permanent, may include no-contact directives, residence modifications,
               academic modifications and support, work schedule modifications,
               suspension from employment, and pre-disciplinary leave from employment
               (with or without pay). Remedial and protective measures are available
               regardless of whether a complainant pursues a complaint or investigation
               under this Policy. Also, remedial measures may be taken before the
               university’s determination of whether the Prohibited Conduct occurred, as
               well as when the respondent is not affiliated with the university.

               The university will maintain the privacy of any remedial and protective
               measures provided under this Policy to the extent practicable and will
               promptly address any violation of the remedial and protective measures. The


      2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 21
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 31 of 566 PageID 101




                 university has the discretion to impose and/or modify any remedial or
                 protective measure based on all available information, and is available to
                 meet with a complainant or respondent to address any concerns about the
                 provision of remedial or protective measures.

                 The university will provide reasonable remedial and protective measures to
                 third parties as appropriate and available, taking into account the role of the
                 third-party and the nature of any contractual relationship with the
                 university.

          B.     INTERIM ACTIONS

                 In addition to remedial and protective measures, an interim action may be
                 imposed on a student or student organization in accordance with The Golden
                 Rule prior to the resolution of an investigation. Also, an employee may be
                 placed on paid or unpaid administrative leave prior to the resolution of an
                 investigation. Such actions may be taken when, in the professional judgment
                 of a university official, a threat of imminent harm to persons or property
                 exists. Interim administrative action is not a sanction. It is taken in an effort
                 to protect the safety and well-being of the complainant and/or respondent, of
                 others, of the university, or of property. Interim administrative action is
                 preliminary in nature; it is in effect only until there is a resolution of the
                 student or employee conduct matter.

                 With regard to a student or student organization, university officials
                 designated to impose an interim action through The Golden Rule include, but
                 are not limited to, the vice president of Student Development and Enrollment
                 Services (SDES) or designee, and the director of the Office of Student Conduct
                 and Academic Integrity or designee, upon notifying the vice president of
                 SDES. With regard to an employee, the provost or designee and/or the
                 employee’s supervisor will impose an interim action.

  IX.     INAPPROPRIATE AMOROUS RELATIONSHIPS

  For the purposes of this Policy, “amorous relationships” are defined as intimate, sexual,
  and/or any other type of amorous encounter or relationship, whether casual or serious,
  short-term or long-term.

          A.     STUDENT CONTEXT

  All faculty and staff must be aware that amorous relationships with students are likely to
  lead to difficulties and have the potential to place faculty and staff members at great
  personal and professional risk. The power difference inherent in the faculty-student or
  staff-student relationship means that any amorous relationship between a faculty or staff
  member and a student is potentially exploitative or could at any time be perceived as
  exploitative and should be avoided. Faculty and staff members engaged in such


        2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 22
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 32 of 566 PageID 102




  relationships should be sensitive to the continuous possibility that they may unexpectedly
  be placed in a position of responsibility for the student’s instruction or evaluation. In the
  event of a charge of sexual harassment arising from such circumstances, the university will
  in general be unsympathetic to a defense based upon consent when the facts establish that
  a faculty-student or staff-student power differential existed within the relationship.

                1.     Undergraduate Students

  Subject to the limited exceptions herein, all university and DSO employees and volunteers
  are prohibited from pursuing or engaging in an amorous relationship with any
  undergraduate student.

                2.     Graduate Students

  With respect to graduate students (defined as any student enrolled at the university for
  post-baccalaureate education in any discipline or professional program), all university and
  DSO employees and volunteers are prohibited from pursuing or engaging in an amorous
  relationship with a graduate student under that individual’s authority. Situations of
  authority include, but are not limited to: teaching; formal mentoring or advising;
  supervision of research; employment of a student as a research or teaching assistant;
  exercising substantial responsibility for grades, honors, or degrees; and involvement in
  disciplinary action related to the student.

  Students and university and DSO employees and volunteers alike should be aware that
  pursuing or engaging in an amorous relationship with any graduate student will limit the
  employees’ or volunteers’ ability to teach, mentor, advise, direct work, employ, and
  promote the career of the student involved.

                3.     Graduate Students in Positions of Authority

  Like faculty and staff members, graduate students may themselves be in a position of
  authority over other students; for example, when serving as a teaching assistant in a course
  or when serving as a research assistant and supervising other students in research. The
  power difference inherent in such relationships means that any amorous relationship
  between a graduate student and another student over whom they have authority is
  potentially exploitative and should be avoided. All graduate students currently or
  previously engaged in an amorous relationship with another student are prohibited from
  serving in a position of authority over that student. Graduate students also should be
  sensitive to the continuous possibility that they may unexpectedly be placed in a position of
  responsibility for another student’s instruction or evaluation.

                4.     Pre-existing Relationships with Any Student

  The university recognizes that an amorous relationship with a university or DSO employee
  or volunteer may exist prior to the time that an undergraduate student enrolls at the
  university or may have existed and terminated prior to the undergraduate student’s


      2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 23
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 33 of 566 PageID 103




  enrollment. Similarly, the university recognizes that with graduate students, an amorous
  relationship with a university or DSO employee or volunteer may exist (or have previously
  existed and terminated) prior to the time the employee or volunteer is placed in a position
  of authority over the graduate student. A “position of authority” includes teaching; formal
  mentoring or advising; supervising research; exercising responsibility for grades, honors,
  or degrees; considering disciplinary action involving the student; or employing the student
  in any capacity – including but not limited to student employment and internships, work
  study, or as a research or teaching assistant. Where there is a pre-existing amorous
  relationship that relationship must be disclosed to the Office of Institutional Equity, which
  may alert other offices as appropriate (i.e., Human Resources or the Office of the Provost).
  This disclosure must be made by the employee in a position of authority immediately if the
  student is an undergraduate, and prior to accepting a supervisory role of any type over any
  graduate student.

  Unless effective steps have been taken in conjunction with Human Resources and/or the
  applicable dean or vice president to eliminate any potential conflict of interest in
  accordance with this Policy, all university and DSO employees and volunteers currently or
  previously engaged in an amorous relationship with a student are prohibited from being in
  a position of authority over that student.

  Similarly, all graduate students currently or previously engaged in an amorous relationship
  with another student are prohibited from serving in a position of authority over that
  student.

  Following disclosure of an existing amorous relationship to the university, if the amorous
  relationship ends, the employee in a position of authority must immediately advise the
  Office of Institutional Equity and relevant dean or vice president.

                5.     If an Amorous Relationship Occurs with Any Student

  If, despite these warnings, a university or DSO employee, or graduate student becomes
  involved in an amorous relationship with a student in violation of this Policy, the employee
  or graduate student must disclose the relationship immediately to the Office of Institutional
  Equity, which may alert other offices as appropriate (i.e., Human Resources or the Office of
  the Provost). Absent an extraordinary circumstance, no relationships in violation of this
  Policy will be permitted while the student is enrolled, or the faculty or staff member is
  employed by the university. In most cases, it will be unlikely that an acceptable resolution
  to the conflict of interest will be possible, and the employees’ employment standing or the
  graduate student’s position of authority may need to be adjusted until there is no longer a
  supervisory or other authority relationship over the student.

  In addition to the amorous relationship itself, a university or DSO employee or graduate
  student’s failure to report the existence of an amorous relationship that is prohibited by
  this Policy is also a violation of this Policy and may be cause for separation from the
  university. The university encourages immediate self-reporting, and will consider this
  factor in the context of any resolution that may be able to be reached.


      2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 24
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 34 of 566 PageID 104




  Following disclosure of an existing amorous relationship to the university, if the amorous
  relationship ends, the employee in a position of authority must immediately advise the
  Office of Institutional Equity and relevant dean or vice president.

         B.     EMPLOYMENT CONTEXT

  Amorous relationships between supervisors and their subordinate employees or
  volunteers often adversely affect decisions, distort judgment, and undermine workplace
  morale for all persons, including those not directly engaged in the relationship. Any
  university employee who participates in supervisory or administrative decisions
  concerning an employee or volunteer with whom that individual has or has had an
  amorous relationship has a conflict of interest in those situations. These types of
  relationships, specifically those involving spouses and/or individuals who reside together,
  also may violate the State Code of Ethics for Public Officials as well as UCF Policy3-008
  Employment of Relatives.

  Accordingly, the university prohibits all university and DSO employees from pursuing or
  engaging in amorous relationships with employees whom they supervise. No supervisor
  shall initiate or participate in institutional decisions involving a direct benefit or penalty
  (employment, retention, promotion, tenure, salary, leave of absence, etc.) to a person with
  whom that individual has or has had an amorous relationship. The individual in a position
  of authority can be held accountable for creating a sexually hostile environment or failing
  to address a sexually hostile environment and thus should avoid creating or failing to
  address a situation that adversely impacts the working environment of others.


                1.      Pre-existing Amorous Relationships Between Supervisors and
                        Subordinate Employees or Volunteers

  The university recognizes that an amorous relationship may exist prior to the time an
  individual is assigned to a supervisor. Supervisory, decision-making, oversight, evaluative
  or advisory relationships for someone with whom there exists or previously has existed an
  amorous relationship is unacceptable unless effective steps have been taken to eliminate
  any potential conflict of interest in accordance with this Policy. The current or prior
  existence of such a relationship must be disclosed by the employee in a position of
  authority prior to accepting supervision of the subordinate employee or volunteer to the
  Office of Institutional Equity (OIE), which may alert other offices as appropriate (i.e.,
  Human Resources or the Office of the Provost).

  Once OIE, Human Resources or Office of the Provost has determined that the disclosed
  relationship constitutes a conflict of interest, in consultation with the appropriate
  university administrators, the relevant dean or vice president will determine, at their sole
  discretion, whether and how the conflict of interest can be eliminated through termination
  of the situation of authority.



      2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 25
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 35 of 566 PageID 105




  Following disclosure of an existing amorous relationship to the university, if the amorous
  relationship ends, the employee in a position of authority must immediately advise the
  Office of Institutional Equity and relevant dean or vice president.

                2.     If an Amorous Relationship Occurs or has Occurred between a
                       Supervisor and her/his Subordinate Employee or Volunteer

  If, despite these warnings, an employee or DSO enters into an amorous relationship with
  someone over whom that individual has supervisory, decision-making, oversight,
  evaluative, or advisory responsibilities in violation of this Policy, then that employee must
  disclose the existence of the relationship immediately to the Office of Institutional Equity,
  which may alert other offices as appropriate (i.e. Human Resources or the Office of the
  Provost). Once OIE, Human Resources, or the Office of the Provost has determined that the
  disclosed relationship constitutes a conflict of interest, in consultation with appropriate
  university administrators, the relevant dean or vice president will determine, at their sole
  discretion, whether and how the conflict of interest can be eliminated through termination
  of the situation of authority. An acceptable resolution to the conflict of interest may not be
  possible. If the conflict of interest cannot be eliminated, the supervisor’s employment
  standing may need to be adjusted. In addition to the amorous relationship itself, a
  supervisor’s failure to report the existence of the relationship with a subordinate employee
  is also a violation of this Policy. The university encourages immediate self-reporting, and
  will consider this factor in the context of any resolution that may be able to be reached.

  Following disclosure of an existing amorous relationship to the university, if the amorous
  relationship ends, the employee in a position of authority must immediately advise the
  Office of Institutional Equity and relevant dean or vice president.

  X.     PREVENTION, AWARENESS AND TRAINING PROGRAMS

  The university is committed to the prevention of Prohibited Conduct through regular and
  ongoing education and awareness programs. Incoming students and new employees
  receive mandatory primary prevention and awareness programming as part of their
  orientation, and returning students and current employees receive ongoing training and
  related education and awareness programs. The university provides training, education
  and awareness programs to students, employees, registered student organizations, and
  DSOs to ensure a broad understanding of this Policy and the topics and issues related to
  maintaining an education and employment environment free from harassment and
  discrimination. Accordingly, students and employees are expected to attend the ongoing
  training and awareness programs and review this Policy so that they can contribute to the
  commitment of maintaining a safe and non-discriminatory learning, living and working
  environment for all members of the university.

  For a description of the university’s Prohibited Conduct prevention and awareness
  programs, including programs on minimizing the risk of incidents of Prohibited Conduct
  and bystander intervention, see the university’s annual security reports found online at:
  https://police.ucf.edu/crime-statistics.


       2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 26
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 36 of 566 PageID 106




  XI.      OBLIGATION TO PROVIDE TRUTHFUL INFORMATION

  All university community members are expected to provide truthful information in any
  report, investigation, or proceeding under this Policy. Submitting or providing false or
  misleading information in bad faith or with a view to personal gain or intentional harm to
  another in connection with an incident of Prohibited Conduct is prohibited and subject to
  disciplinary sanctions under The Golden Rule Student Handbook (for students or student
  organizations), and any other applicable and appropriate university policy and regulations
  (for employees). This provision does not apply to reports made or information provided in
  good faith, even if the facts alleged in the report are not later substantiated.

  XII.     PROCEDURES

  The specific procedures for reporting, investigating, and resolving Prohibited Conduct are
  based upon the nature of the respondent’s relationship to the university (student,
  employee, registered student organization, DSO, or third party). Each set of procedures
  referenced below is guided by the same principles of fairness and respect for complainants
  and respondents. The procedures referenced below provide for a prompt and equitable
  response to reports of Prohibited Conduct. The procedures designate specific timeframes
  for major stages of the process, provide for thorough and impartial investigations that
  afford the complainant and respondent notice and an opportunity to present witnesses and
  evidence, and assure equal and timely access to the information that will be used in
  determining whether a Policy violation has occurred. The university applies the
  preponderance of the evidence standard when determining whether this Policy has been
  violated. “Preponderance of the Evidence” means that it is more likely than not that a Policy
  violation occurred.

           A.     WHERE THE RESPONDENT IS A STUDENT OR REGISTERED STUDENT
                  ORGANIZATION
                  The procedures for responding to reports of Title IX Sexual Harassment and
                  Prohibited Conduct committed by students and registered student
                  organizations are detailed in UCF Policy 2-012 Title IX Grievance Policy and
                  UCF’s The Golden Rule Student Handbook (http://goldenrule.sdes.ucf.edu/).

           B.     WHERE THE RESPONDENT IS A UNIVERSITY OR DSO EMPLOYEE
                  The procedures for responding to reports of Title IX Sexual Harassment and
                  Prohibited Conduct committed by employees and DSOs are detailed in UCF
                  Policy 2-012 Title IX Grievance Policy and UCF’s Office of Institutional Equity’s
                  Discrimination Grievance Investigation Process.
                  https://oie.ucf.edu/documents/OIEInvestigationProcedures.pdf

           C.     WHERE THE RESPONDENT IS BOTH A STUDENT AND AN EMPLOYEE

                  •     The student-respondent procedures will apply if the respondent’s
                  primary status is as a student.

         2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 27
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 37 of 566 PageID 107




                   •     The employee-respondent procedures will apply if the respondent’s
                   primary status is as an employee.

                   •       If there is a question as to the predominant role of the respondent, the
                   university will determine which of the procedures applies based on the facts
                   and circumstances (such as which role predominates in the context of the
                   Title IX Sexual Harassment or Prohibited Conduct). The student-respondent
                   procedures typically will apply to graduate students except in those cases
                   where the graduate student’s assistantship role predominated in the context
                   of the Title IX Sexual Harassment or Prohibited Conduct. Further, where a
                   respondent is both a student and an employee (including but not limited to
                   graduate students), the respondent may be subject to any of the sanctions
                   applicable to students or employees.

            D.     WHERE THE RESPONDENT IS A THIRD-PARTY

                   The university’s ability to take appropriate corrective action against a third-
                   party will be determined by the nature of the relationship of the third-party
                   to the university. The university will determine the appropriate manner of
                   resolution consistent with the university’s commitment to a prompt and
                   equitable process under federal law, federal guidance, and this Policy.


  XIII.     RELATED INFORMATION

            A.     STUDENTS AS RESPONDENTS

                   The Golden Rule: http://goldenrule.sdes.ucf.edu/

                   UCF Policy 2-012 Title IX Grievance Policy

            B.     EMPLOYEES AND THIRD PARTIES AS RESPONDENTS

                   Regulation UCF-3.001 Non-Discrimination; Affirmative Action Programs
                   http://regulations.ucf.edu/docs/notices/3.001Non-
                   DiscrimAffirmActionsPrograms_Nov10.pdf

                   Regulation UCF-3.0134 Grievances Alleging Discrimination
                   http://regulations.ucf.edu/docs/notices/3.0134GrievancesAllegingDiscrimin
                   ation_finalMay09_000.pdf

                   UCF Policy 2-012 Title IX Grievance Policy

                   UCF Policy 2-700 Reporting Misconduct and Protection from Retaliation




          2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 28
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 38 of 566 PageID 108




           C.     STATE AND FEDERAL LAWS

                  Florida Civil Rights Act of 1992
                  http://www.leg.state.fl.us/Statutes/index.cfm?App_mode=Display_Statute&S
                  earch_String=&URL=0700-0799/0760/0760PARTIContentsIndex.html

                  Florida Statute 39.201 Mandatory reports of child abuse, abandonment, or
                  neglect; mandatory reports of death; central abuse hotline.
                  http://www.leg.state.fl.us/statutes/index.cfm?App_mode=Display_Statute&S
                  earch_String=&URL=0000-0099/0039/Sections/0039.201.html

                  Title VI of the Civil Rights Act of 1964
                  https://www.gpo.gov/fdsys/pkg/USCODE-2010-title42/pdf/USCODE-2010-
                  title42-chap21-subchapV.pdf

                  Title VII of the Civil Rights Act of 1964
                  https://www.eeoc.gov/laws/statutes/titlevii.cfm

                  Title IX of the Education Amendments of 1972
                  https://www.gpo.gov/fdsys/pkg/USCODE-2013-title20/pdf/USCODE-2013-
                  title20-chap38.pdf

                  Section 504 of the Rehabilitation Act of 1973
                  https://www.dol.gov/agencies/oasam/centers-offices/civil-rights-
                  center/statutes/section-504-rehabilitation-act-of-1973

                  The Age Discrimination in Employment Act of 1967
                  https://www.eeoc.gov/laws/statutes/adea.cfm

                  The Genetic Information Nondiscrimination Act of 2008
                  https://www.eeoc.gov/laws/statutes/gina.cfm

                  The Equal Pay Act of 1963
                  https://www.eeoc.gov/laws/statutes/epa.cfm


  XIV.     CONTACTS

  The Title IX coordinator is charged with monitoring the university’s compliance with Title
  IX, ensuring appropriate education and training, coordinating the university’s
  investigation, response, and resolution of all reports under this Policy and ensuring
  appropriate actions to eliminate Prohibited Conduct, prevent its recurrence, and remedy its
  effects. UCF’s Office of Institutional Equity oversees reports involving students, employees,
  registered student organizations, DSOs, and third parties. The university also has
  designated deputy Title IX coordinators who may assist the Title IX coordinator in the
  discharge of these responsibilities. The Title IX coordinator and deputy Title IX


         2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 29
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 39 of 566 PageID 109




  coordinators receive ongoing appropriate training to discharge their responsibilities.
  Concerns about the university’s application of Title IX may be addressed to the Title IX
  coordinator. Additionally, concerns about the university’s application of Title VII and/or
  other federal and state anti-discrimination laws may be addressed to the Office of
  Institutional Equity. The Title IX coordinator and Office of Institutional Equity can be
  contacted by telephone, email, or in person during regular office hours as follows: 12701
  Scholarship Drive, Suite 101, Orlando, FL 32816-0030; Phone: 407-823-1336; Email:
  oie@ucf.edu. The identities and contact information for the Title IX coordinator and
  Deputy Title IX Coordinators can be found at https://letsbeclear.ucf.edu

  External reporting options include the United States Department of Education, Clery Act
  Compliance Team (at clery@ed.gov); the United States Department of Education, Office for
  Civil Rights (at OCR@ed.gov or 800-421-3481); the Equal Employment Opportunity
  Commission (at info@eeoc.gov or 800-669-4000); and/or the Florida Commission on
  Human Relations (800-342-8170).


  XV.     INITIATING AUTHORITY

  President




  History 2-004 6/9/2017; 2-004.1 11/30/2017; EP-20-4 8/13/2020




        2-004.2 Prohibition of Discrimination, Harassment and Related Interpersonal Violence 30
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 40 of 566 PageID 110




                         EXHIBIT B
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 41 of 566 PageID 111




      UCF-3.0134 Complaints and Grievances Alleging Discrimination, Discriminatory
  Harassment or Retaliation.

  (1) This regulation outlines the procedures to be used for processing complaints/grievances

  alleging unlawful discrimination, discriminatory harassment, sexual harassment, Title IX Sexual

  Harassment, or retaliation. Federal and state laws protect employees, students, and other members

  of the University community against discrimination, discriminatory harassment, sexual

  harassment, Title IX Sexual Harassment and retaliation. University policies have been developed

  to explain that protection and to offer solutions when discrimination is alleged on the basis of an

  individual’s race, color, ethnicity, national origin, religion, non-religion, age, genetic information,

  sex (including pregnancy, parental status, gender identity or expression, and sexual orientation),

  marital status, physical or mental disability (including learning disabilities, intellectual disabilities,

  and past or present history of mental illness), political affiliations, veteran status (as protected

  under the Vietnam Era Veterans’ Readjustment Assistance Act), or membership in any other

  protected classes as set forth in state or federal law.

  (2) The Office of Institutional Equity’s Investigation Procedures are the university’s procedures

  for addressing allegations that an employee or third party engaged in discrimination,

  discriminatory harassment, sexual harassment or retaliation against an individual for reporting, in

  good faith, any discrimination or discriminatory harassment or participating in or being a party to

  any investigation or proceeding related to the University’s Prohibition of Discrimination,

  Harassment and Related Interpersonal Violence Policy, No. 2-004. The University’s Title IX

  Grievance Policy, UCF Policy 2-012, sets forth the university’s procedures for addressing

  allegations that an employee or third party engaged in Title IX Sexual Harassment. Reports in

  which a student is alleged to have engaged in discrimination, discriminatory harassment, sexual

  harassment, Title IX Sexual Harassment or retaliation are governed by Student Conduct rules and

  procedures set out in the Golden Rule Student Handbook and the University’s Title IX Grievance
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 42 of 566 PageID 112




  Policy, UCF Policy 2-012. These procedures respond to the University’s obligations under various

  laws to provide equal opportunity in employment and educational programs, and to provide access.

  A list of statutory and regulatory authorities is maintained on the Office of Institutional Equity’s

  homepage.

  (3) Processing Complaints/Grievances Alleging Discrimination.

         (a)     When an allegation of unlawful discrimination, discriminatory harassment, sexual

                 harassment, Title IX Sexual Harassment or retaliation is involved, the individual

                 may elect to submit a written complaint/grievance under this procedure. Unless

                 specifically prohibited by the terms of an applicable collective bargaining

                 agreement, the complainant/grievant may submit a complaint/grievance directly to

                 the university’s Office of Institutional Equity. A representative of that office will

                 communicate with those involved in the complaint/grievance.

         (b)     An employee complaint/grievance submitted through other grievance procedures,

                 but which alleges discrimination, discriminatory harassment, sexual harassment,

                 Title IX Sexual Harassment, or retaliation will be submitted to the Office of

                 Institutional Equity.

         (c)     Where a complaint/grievance is submitted to the Office of Institutional Equity

                 alleging discrimination, discriminatory harassment, or sexual harassment, the

                 complainant will be notified in writing of the findings of the investigation. Where

                 a complaint/grievance is submitted to the Office of Institutional Equity alleging

                 Title IX Sexual Harassment, the grievance will be handled through the procedures

                 described in the University’s Title IX Grievance Policy, UCF Policy 2-012.

                 Findings from this procedure may be considered in an employee grievance initiated
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 43 of 566 PageID 113




                 under other procedures, but no grievance will be processed through more than one

                 university administrative forum.

  (4) Unlawful Retaliation. Federal and state laws protect every individual who makes a good faith

  report of discrimination, discriminatory harassment, sexual harassment, or Title IX Sexual

  Harassment, or participates in or is a party to any investigation or proceeding regarding

  discrimination or discriminatory harassment from acts of retaliation. Retaliation is defined as any

  adverse action taken against a person for making a good faith report of discrimination,

  discriminatory harassment, sexual harassment, or Title IX Sexual Harassment, or participating in

  any proceeding related to such a report. Retaliation includes threatening, intimidating, harassing,

  coercing or any other conduct that would discourage a reasonable person from engaging in the

  protected activity.

  (5) Substantiated discrimination, discriminatory harassment, sexual harassment, Title IX Sexual

  Harassment, and retaliation complaints/ grievances will be addressed with appropriate corrective

  action. The Office of Institutional Equity will inform the President, Provost, or appropriate Vice

  President when an investigation concludes with findings of unlawful discrimination,

  discriminatory harassment, sexual harassment or retaliation, and in the case of substantiated Title

  IX Sexual Harassment, when the decision-maker finds, following the live hearing, that Title IX

  Sexual Harassment has occurred. The President, Provost, or appropriate Vice President will take

  steps to implement actions that will correct the conduct. These include but are not limited to

  changes in regulations, policies, or procedures; discipline administered through standard

  procedures; changes in the complainant’s status to achieve a non-discriminatory environment; or

  other remedies deemed appropriate.



  Authority: BOG Regulation 1.001. History–New 12-27-83, Formerly 6C7-3.134, Amended 1-6-93,
  4-23-03; Formerly 6C7-3.0134, Amended 5-18-09, 10-27-17, 10-22-20.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 44 of 566 PageID 114




                         EXHIBIT C
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 45 of 566 PageID 115




   THE GOLDEN RULE
  STUDENT HANDBOOK

                           2020-2021
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 46 of 566 PageID 116



                                    CONTENTS
  Introduction                                                                   3

  Golden Rule Review Committee                                                   4

  Student Rights and Responsibilities                                            7

  Scope, Authority, and Student Conduct Records                                 21

  Rules of Conduct                                                              24

  Student Conduct Review Process; Sanctions                                     33

  Student Conduct Appeals                                                       41

  Scope; Authority; Principles of Group Responsibility;
  Violations of Law and Rule of Conduct Violations;
  Registered Student Organizational Conduct Record                              45

  Organizational Rules of Conduct                                               48

  Organization Conduct Review Process; Sanctions; Appeals                       54

  Procedures for Academic Misconduct; Student Academic Behavior Standards       63

  Student Academic Appeals                                                      69

  Appeals of Graduate Program Actions for Decisions                             74

  University Registrar                                                          78

  Student Health Services                                                       81

  Office of Student Involvement                                                 84

  Student Union                                                                 92




                                                                            2|Page
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 47 of 566 PageID 117



  To All University of Central Florida Community Members:

  The University of Central Florida is a community brought together by the tenets of the UCF Creed:
  Integrity, Scholarship, Community, Creativity, and Excellence. These are the values that guide our
  conduct, performance, and decisions. To be successful at UCF, there is an expectation that you embrace
  and promote these core values in everything you do as a sign of your membership in the UCF community.

  Whether you are a new or continuing undergraduate, graduate or professional student at UCF, there are
  certain responsibilities that you must uphold as a member of our community. The Golden Rule is a
  compilation of policies and procedures from different university areas intended to define your rights and
  responsibilities as a student and provide you with a better understanding of your role as a member of the
  UCF community.

  The Golden Rule is published once a year but can be revised at any time to reflect new and modified
  information deemed critical by the University. Changes will be communicated through online resources
  and other means, at which time the revisions will supersede published information.

  The Office of Student Rights and Responsibilities (OSRR) within the Division of Student Development
  and Enrollment Services (SDES) is delegated the responsibility for reviewing, assembling, and
  communicating information included in The Golden Rule. Students are given the opportunity to
  influence the rules that they are expected to adhere through the Golden Rule Review Committee.

  UCF values diversity and inclusion of all in our community. Accordingly, the University prohibits
  discrimination on the basis of race, color, ethnicity, national origin, religion, non-religion, age, genetic
  information, sex (including pregnancy and parental status), gender identity or expression, sexual
  orientation, marital status, physical or mental ability (including learning disabilities, intellectual
  disabilities), political affiliations, veteran’s status or membership in any other protected classes as set
  forth in state or federal law.

  For more information or further clarification, please contact OSSR at 407-823-4638, visit their website,
  http://osrr.sdes.ucf.edu for the most current version of The Golden Rule or email them at osrr@ucf.edu.

  Go Knights! Charge ON!



  Maribeth Ehasz, Ph.D.
  Vice President
  Student Development and Enrollment Services




                                                                                                      3|Page
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 48 of 566 PageID 118



  The Golden Rule Review Committee (GRRC)
  This committee shall be established for the purpose of responding to the changing needs of the
  student body with regard to the Golden Rule. It is intended to give the students a voice in
  determining the rules to which they shall adhere.
         a. Membership
                1.       Membership to the committee shall consist of 7 students, 4 of which shall
                         be appointed by the Student Body President and 3 shall be selected by the
                         Vice President for Student Development and Enrollment Services.
                2.       There shall be an application and selection process established by the
                         Office of Student Rights and Responsibilities.
                3.       An eighth (8th) member of the Golden Rule Review Committee shall be
                         appointed by the Vice President for Student Development and Enrollment
                         Services. This member shall act as an alternate and shall reserve voting
                         privileges in absence of a voting committee member.
                4.       It is suggested that the Judicial Advisor of the Student Government
                         Association be considered for appointment to the committee.
                         (i)      If the committee is already full, the Judicial Advisor may be
                                  included as an additional non-voting member.
         b. Ex-Officio
                1.       Any student enrolled at the University shall be permitted to attend GRRC
                         meetings.
                         (i)      These students shall be considered ex-officio.
                         (ii)     They also shall have the right to debate on any proposal but shall
                                  not have the power to vote.
                2.       No faculty, staff, and/or administrator shall be considered ex-officio.
         c. Advisors
                1.       At least one representative from the OSRR shall maintain an advisory role
                         in the Committee and shall advise the members of the Committee as well
                         as any student in attendance.
                2.       Staff members with expertise regarding particular sections of the Golden
                         Rule should make themselves available to advise the members upon the
                         Committee’s request.
         d. Notification
                The existence of the committee shall be publicized to the student body.
                1.       At the beginning of each semester, a message shall be sent through
                         appropriate distribution channels inviting all students to attend committee
                         meetings.
                2.       The committee shall maintain a webpage which shall contain information
                         on the meeting times, location, proposals under review and voting records
                         and which shall be clearly linked from the online version of the Golden
                         Rule and Responsibilities. The proposal shall then be sent to all members
                         of the Committee via e-mail within 48 hours of receiving the proposal.
         e. Powers of the Proposal Process
                1.       The Committee shall recommend changes to the Golden Rule to the
                         appropriate administrative body.
                2.       Any student may make a proposal to the Committee.

                                                                                          4|Page
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 49 of 566 PageID 119



              3.     All proposals made by faculty, staff, administration, or members of the
                     committee shall be submitted to the representative for Student Rights and
                     Responsibilities.
              4.     All proposals which are approved by a majority vote of the student
                     members of the committee shall be submitted by the committee in writing
                     to the Vice President for Student Development and Enrollment Services or
                     designee.
                     (i)     The Vice President for Student Development and Enrollment
                             Services or designee shall notify the committee in writing of the
                             decision regarding the proposal.
                     (ii)    If the Vice President for Student Development and Enrollment
                             Services or designee chooses not to incorporate the proposal into
                             the Golden Rule, he/she shall outline the reasons for choosing not
                             to do so in memorandum.
              5.     When reviewing sections of the Golden Rule for which the content is
                     mandated by another University document, the Committee may propose
                     changes to sections in such a document which are reflected in the Golden
                     Rule through the appropriate administrative channels.
       f. Presence
             1.    The Committee shall meet at least once each month during the fall and
                   spring semesters
                   (i)     All members of the committee shall be notified of the time and
                           place of each meeting.
                   (ii)    The Committee shall propose no changes to this section of the
                           Golden Rule which can be construed to eliminate the mandate for
                           the Committee to exist.
             2.    Quorum shall be defined as the presiding officer, being the Chair or Vice
                   Chair, and at least two additional voting members of the committee.

       g. Attendance Policy
             At the first meeting of each semester, the committee shall establish its own
             attendance policy.
       h. Transition Policy
             At the conclusion of the Spring Semester, the Chair of the Golden Rule Review
             Committee, or designee, shall create a transition packet for the subsequent Chair.
             1.      The transition packet shall be provided to the current Golden Rule Review
                     Committee Advisor in both electronic and hard copy form. It is the
                     responsibility of the Advisor to provide this packet to the new Chair upon
                     selection.
             2.      The transition information should include the following:
                     (i)     Leadership Positions of the current committee
                     (ii)    Accomplishments
                     (iii) Recommendations
                     (iv)    Attendance Policy
                     (v)     Sample Meeting Agenda and Minutes



                                                                                     5|Page
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 50 of 566 PageID 120



  UCF-5.006 Student Rights and Responsibilities
  (1) Student Rights. Upon enrollment, students are entitled to the following freedoms and
  rights, provided the exercise thereof is accomplished in accordance with University procedures
  and does not result in disruption or disturbance as elsewhere described in the Regulations.
          (a)    Participation in Student Government Association and its elective process.
          (b)    Membership in Registered Student Organizations.
          (c)    Freedom of expression. The basic freedoms of students to hear, write, distribute,
                 and act upon a variety of thoughts and beliefs are guaranteed. Freedom of
                 expression carries with it the responsibility for seeing that the essential order of
                 the University is preserved.
          (d)    Freedom to hold public forums. The University desires to create a spirit of free
                 inquiry and to promote the timely discussion of a wide variety of issues, provided
                 the views expressed are stated openly and are subject to critical evaluation.
                 Restraints on free inquiry are held to a minimum and are consistent with
                 preserving an organized society in which peaceful, democratic means for change
                 are available. Guest lecturers or off-campus speakers sponsored by student groups
                 may appear on the UCF campus following arrangements with the designated
                 University authority for such appearances.
          (e)    Freedom to hear, write, distribute, and act upon a variety of thoughts and beliefs.
                 This freedom is subject to the following:
                 1.      Written materials identified by authorship and sponsorship may be sold or
                         distributed on campus within the guidelines of propriety and responsible
                         journalism. The distribution of such material, as is arranged by the
                         Director of Office of Student Involvement, is permissible for registered
                         student organizations provided steps have been taken to preserve the
                         orderliness of the campus.
                 2.      Solicitation, whether printed materials or otherwise, on campus is
                         prohibited except as provided in University Regulation UCF-4.010.
                 3.      The distribution of materials or circulation of petitions to captive
                         audiences such as those in classrooms, at registration, in study areas or in
                         residential units is not allowed without prior permission. Such permission
                         may be requested from the appropriate university official.
          (f)    Peaceful assembly. Student gatherings must neither disrupt or interfere with the
                 orderly educational operation of the institution, nor violate state or local laws, or
                 University regulations.
          (g)    Fair and impartial proceeding. These matters shall include, but not be limited to:
                 1.      Disciplinary proceedings involving an alleged violation of academic and
                         nonacademic rules.
                 2.      Refunds and charges. The status of a student charged with a violation of
                         University rules shall not be affected pending final disposition of the
                         charges except in the case of administrative action (also known as an
                         interim action). For specific procedures and rights of students during the
                         Student Conduct Review Process, see later section entitled “Student
                         Conduct Review Process.”
          (h)    Confidentiality of student records. Each University office and agency which
                 generates, collects, and disseminates information on students must follow the


                                                                                           6|Page
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 51 of 566 PageID 121



                  guidelines for confidentiality of those records in their possession. For further
                  information see “Student Record Guidelines.”
  (2) Student Responsibilities. A student at the University is deemed to have given his or her
  consent to the policies of the University and the Florida Board of Governors and to the laws of
  the State of Florida. Each student is responsible for reviewing the rules and regulations of the
  University and for abiding by them.
  (3) Definitions.
          (a)     The term “Academic Integrity Panel” is comprised of one faculty and one
                  staff/faculty member and two students selected from the Student Conduct Board.
          (b)     The term “Advisor” or “Support Person” refers to any individual who provides
                  support, guidance or advice to a party involved in a Student Conduct Review
                  Process. The Advisor or Support Person of the involved party’s choice may assist
                  and/or accompany the party throughout the Student Conduct Review Process.
                  This person shall not speak for, or present the information on behalf of the party
                  who requested the Advisor or Support Person’s attendance. As used in this
                  regulation and in Regulation UCF-5.009, the term ‘Advisor’ does not include an
                  advisor as defined under 34 CFR 106.45; refer to University Policy 2-012 for
                  information about ‘Advisor’ under the University’s Title IX Grievance Policy.
           (c)    The term “Clery Act” refers to the Jeanne Clery Disclosure of Campus Security
                  Policy and Campus Crime Statistics Act. The Clery Act is a federal law that
                  requires institutions of higher education to provide current and prospective
                  students and employees, the public, and the federal government with crime
                  statistics and information about campus crime prevention programs and policies.
                  Among other crimes, the Clery Act requires that colleges and universities report
                  forcible sex offenses including sexual assault and rape. The Clery Act was
                  amended by the Violence Against Women Reauthorization Act of 2013.
          (d)     The term “Community ReEngagement and Educational Development (CREED)
                  Program” is a committee composed of an equal number of faculty/staff and
                  students appointed by the Director of Student Conduct and Academic Integrity
                  (SCAI) or designee to review the disciplinary status of a student, or the removal
                  of a “Z Designation” on a student’s transcript.
          (e)     The term “Complainant” refers to anyone who discloses having been subjected to
                  sex discrimination, which includes sexual assault/misconduct, sexual exploitation,
                  relationship violence, stalking, sexual or gender-based harassment, retaliation, or
                  complicity in the commission of any act prohibited by the Rules of Conduct
                  section UCF-5.008(5) or the Organizational Rules of Conduct section UCF-
                  5.012(5), regardless of whether that person makes a report or seeks action under
                  that policy.
          (f)     The term “Consent” means an understandable exchange of affirmative words or
                  actions, which indicate a willingness to participate in mutually agreed upon sexual
                  activity. Consent cannot be obtained by force, threat, coercion, manipulation,
                  reasonable fear of injury, intimidation, use of position of influence, or through the
                  use of one’s mental or physical helplessness or incapacity. The lack of a negative
                  response, lack of protest or resistance, silence and passivity are not consent.
                  Consent to one form of sexual activity does not imply consent to other forms of
                  sexual activity. Past consent to sexual activity does not imply ongoing future
                  consent.

                                                                                            7|Page
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 52 of 566 PageID 122



                 1.  Responsibilities - It is the responsibility of the initiator to obtain clear and
                     affirmative responses at each stage of sexual involvement.
                  2. Standard - A determination of whether consent exists will be based on the
                     information the initiator of the sexual act knew or should have known as a
                     sober, reasonable person. Being impaired by alcohol or other drugs does
                     not relieve an initiator of a sexual act from obtaining consent.
                  3. Incapacitation – Incapacitation is a state where an individual cannot make
                     rational, reasonable decisions because of age, mental or physical
                     helplessness, sleep, unconsciousness, or lack of awareness that sexual
                     activity is taking place. A person may be incapacitated due to the
                     consumption of alcohol or other drugs, or due to a temporary or permanent
                     physical or mental health condition. A person who is incapacitated lacks
                     the capacity to give consent because they cannot understand the facts,
                     nature, or extent of the sexual interaction.
                  4. Duration of Consent - Consent must be ongoing throughout sexual
                     activity, for each sexual act, and can be withdrawn at any time.
                  5. Within each sexual encounter, there may be separate individual sexual acts
                     involved. Consent to one act by itself does not constitute consent to
                     another act. If verbal consent is not given, ongoing active participation is
                     required for consent.
                  6. The existence of a dating or sexual relationship between the persons
                     involved, or the fact of past sexual relations have occurred between the
                     parties, is not an indicator of consent for any current or future sexual
                     encounter.
                  7. An individual who seeks to withdraw consent must communicate, through
                     clear words or actions, a decision to cease the sexual activity. Once
                     consent is withdrawn, the sexual activity must cease immediately.
                  8. Scope of Consent - Consent to engage in sexual activity with one person
                     does not imply consent to engage in sexual activity with another.
       (g)   The term “Continuously Enrolled” is defined as being enrolled in classes without
             a break of two or more consecutive regular semesters/terms (i.e., Fall and Spring,
             or Spring, Summer, and Fall).
       (h)   The term "Deputy Title IX Coordinator" is defined as a university employee who
             is responsible for assisting with the coordination of the University’s efforts to
             comply with and carry out its responsibilities under Title IX. UCF’s Deputy Title
             IX Coordinators are Dana Juntunen, Brandi Stuart, and Abigail Malick.
       (i)   The term “Director of SCAI” refers to the Director of Student Conduct and
             Academic Integrity.
       (j)   The term “Hold” refers to a service indicator placed on a student’s record that
             includes but is not limited to: prevent modification to registration; access to
             transcripts; and re-enrollment following a separation from the University
       (k)   The term “mandated assessment” refers to a process which is used to evaluate the
             student’s risk of harm to self or others, and to take appropriate actions to ensure
             the safety of the student or others if risk is present, completed by a licensed
             mental health professional or other appropriate licensed medical provider.
       (l)   The term “Off Campus” refers to any location not defined as University premises.
       (m)   The term “Overlay” refers to a notification on a student’s university transcript that
             states the student is not in good standing.
                                                                                          8|Page
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 53 of 566 PageID 123



       (n)   The term “Preponderance of Evidence” means that evidence, considered as a
             whole, shows that the fact sought to be proved is more probable than not. This is
             the standard used in adjudicating all disciplinary cases within the Student Conduct
             Review Process.
       (o)   The term “Record Sealing” refers to when a student’s disciplinary record cannot
             be examined except by a court order or designated officials.
       (p)   The term “Relevant Information” means information that has been shown to
             directly support the position of a party throughout the University’s investigative
             process or Student Conduct Review Process.
       (q)   The term “Respondent” refers to any student or registered student organization
             who has been accused of sex discrimination, which includes sexual
             assault/misconduct, sexual exploitation, relationship violence, stalking, sexual or
             gender-based harassment, retaliation, or complicity as defined in Rules of
             Conduct section UCF-5.008(5) or the Organizational Rules of Conduct section
             UCF-5.012(5).
       (r)   The term “Responsible Employee” is defined as any employee, and Direct
             Support Organization non-student employee, who is not a confidential employee
             as defined in the University’s Prohibition of Discrimination, Harassment and
             Related Interpersonal Violence Policy. Responsible Employees include (but are
             not necessarily limited to) Faculty (full-time and part-time), Staff (full-time and
             part-time), Resident Assistants, and graduate students with classroom
             responsibilities. Responsible employees also include those employees identified
             as Campus Security Authorities (CSAs). The University reserves the right to
             designate other individuals involved in university-sponsored/related activities as
             Responsible Employees on a case-by-case basis.
       (s)   The term “Sanction” refers to outcome(s) imposed on students and registered
             student organizations found in violation of any Rules of Conduct or
             Organizational Rules of Conduct.
       (t)   The term “Sex Discrimination” refers to any unlawful distinction, preference or
             detriment to an individual that is based upon an individual’s sex that: (1) excludes
             an individual from participation in; (2) denies the individual the benefits of; (3)
             treats the individual differently with regards to; or (4) otherwise adversely affects
             a term or condition of an individual’s employment, education, living environment,
             or participation in a university program or activity. Sex discrimination includes
             sexual assault/misconduct, sexual exploitation, relationship violence, stalking,
             sexual or gender-based harassment, retaliation, or complicity.
       (u)   The term “Sexual Contact” means physical contact of a sexual nature between
             individuals and includes but is not limited to: (i) touching, kissing, fondling
             (whether over or under clothing) of an individual for the purpose of sexual
             gratification; and/or (ii) contact, however slight, between the mouth, anus or sex
             organ of one individual with either the anus or sex organ of another individual;
             and/or (iii) contact, however slight, between the anus or sex organ of one
             individual and any other object.
       (v)   The term “Student” means any person enrolled in one or more classes at the
             University, either full time or part time, study abroad student, online students,
             continuing education students, students pursuing undergraduate, graduate or
             professional studies, either degree seeking or non-degree seeking. Persons who
             withdraw after allegedly violating the Rules of Conduct, or who are not officially
                                                                                       9|Page
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 54 of 566 PageID 124



                 enrolled for a particular academic term but who have a continuing relationship
                 with the University are also “students.” Individuals who have been accepted for
                 admission and have paid an enrollment deposit are considered “students” for
                 limited purposes (including the Student Conduct Review Process).
           (w)   The term “Student Conduct Board” means any person or persons authorized by
                 the Director of SCAI or designee to gather information and make proposed
                 findings regarding whether a student or registered student organization has
                 violated the Rules of Conduct or Organizational Rules of Conduct and to propose
                 sanctions that may be imposed.
           (x)   The term “Title IX” refers to the Title IX of the Education Amendments of 1972
                 which is a federal law that protects people from discrimination based on sex in
                 education programs or activities which receive Federal financial assistance. Title
                 IX states that: “No person in the United States shall, on the basis of sex, be
                 excluded from participation in, be denied the benefits of, or be subjected to
                 discrimination under any education program or activity receiving Federal
                 financial assistance”. Additionally, Title IX prohibits discrimination on the basis
                 of pregnancy as well as Title IX sexual harassment (defined in UCF-5.006(12)).
           (y)   The “Title IX Coordinator” is defined as a university employee who is responsible
                 for coordinating the University’s efforts to comply with and carry out its
                 responsibilities under Title IX. UCF’s Title IX Coordinator is Matt Ricke.
           (z)   The term “University” means the University of Central Florida.
           (aa) The term “University Community” refers, collectively and individually, to
                 students, University officials, Trustees, and all visitors, contractors, and guests to
                 the University or any of its campuses, facilities or events.
           (bb) The term “University Official” includes any person employed by the University
                 (i.e. faculty, staff, administration, and residence hall staff) acting within the scope
                 of their job duties.
           (cc) The term “University Premises” includes all land, buildings, facilities, and other
                 properties in the possession of or owned, used, controlled by the University, or its
                 direct support organizations.
           (dd) The term “VAWA” refers to the Violence Against Women Reauthorization Act of
                 2013, which amended the Violence Against Women Act and the Clery Act to
                 provide new requirements for schools to prevent and respond to sexual violence,
                 relationship violence and stalking. Some of these requirements include providing
                 primary prevention education and awareness programs for all incoming students
                 and employees; collecting statistics on relationship violence and stalking, in
                 addition to current requirements to collect sexual assault statistics; issuing
                 Complainants a written notice of their rights; and adopting grievance policies that
                 are prompt, fair, and impartial as well as administered by trained officials.
           (ee) The term “VP of SDES” refers to the Vice President of Student Development and
                 Enrollment Services.
           (ff)  The term “Witness” refers to any person who directly observed an incident or has
                 direct or indirect knowledge related to an incident
  (4) Smoking. While on UCF property, students will uphold the smoke-free campus policy
  (http://smokefree.sdes.ucf.edu/) to ensure a healthy and clean environment for everyone.
  Smoking of any kind is prohibited in all facilities and areas of the UCF campus.
  (5) Medical Emergencies. The University of Central Florida highly encourages students and
  registered student organizations to call for medical assistance whenever an individual
                                                                                            10 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 55 of 566 PageID 125



  experiences severe intoxication/impairment or serious injury after consuming alcohol and/or
  drugs. Students and registered student organizations may be reluctant to call for help for
  themselves or others due to potential involvement from law enforcement officials or SCAI. Due
  to the serious or life-threatening nature of these medical emergencies, the University of Central
  Florida urges students to contact emergency medical services or the law enforcement officials if
  alcohol-related and/or drug-related medical emergencies arise. The university’s primary goal is
  to create a safe environment for its students. Procedures and expectations regarding these
  incidents have been outlined in the SCAI Rules of Conduct Controlled Substance and Drug
  Violations and Alcoholic Beverages section and the Organizational Rules of Conduct section.
  (6) Student Care Services. To provide comprehensive and consistent care for students
  experiencing academic, financial or personal challenges, Student Care Services (SCS), under
  Student Rights and Responsibilities provides support to students identified as needing additional
  on-campus or off-campus resources. Student Care Services staff review referrals from students,
  faculty, staff and/or other parties who are concerned about behavior exhibited by a student. The
  goal of Student Care Services is to intervene and support the student before a situation reaches
  crisis level. Student Care Services staff will reach out to the student to assess what resources
  would be beneficial and collaboratively develop an action plan to reduce obstacles affecting
  success at UCF. Student Care Services staff will assist the student in coordinating with campus
  resources currently being utilized and will work with the student to monitor progress. Depending
  upon the circumstances, the referring person may receive feedback about the student’s action
  plan. Students have the right to inspect and review all information submitted to Student Care
  Services.
  (7) Student of Concern Team. In order to support student success, the University may utilize
  additional campus resources to assist the student. This may include collaboration with the
  Student of Concern Team (SOCT), a multidisciplinary group that reviews potential concerns
  presented by the UCF community regarding student behavior. The SOCT offers additional
  knowledge of university resources and procedures and may make further recommendations
  regarding action plan items for student success. Students of concern are presented to the team at
  the discretion of the Office of Student Rights and Responsibilities and/or Student Care Services.
           (a)     The team may enlist the services of various campus units on an as needed basis,
                   including but not limited to Counseling and Psychological Services, Student
                   Health Services, Academic Services, Housing and Residence Life, First Year
                   Advising and Exploration, Student Conduct, and the University of Central Florida
                   Police Department.
           (b)     The role of Student Health Services and Counseling and Psychological Services
                   on the Student of Concern Team will be consultative in nature. When the involved
                   student has been a patient or client of either agency, the staff representative will
                   maintain the confidentiality of the student’s clinical information and will make
                   recommendations for action based solely upon the information provided in the
                   meeting or as guided by clinical and licensure best practices.
           (c)     Student Care Services staff has additional campus support systems in place to
                   assess students engaging in behavior that may pose a risk to themselves or others.
                   This includes but is not limited to the University Crisis Team, Mandated
                   Assessment Procedure, and Involuntary Withdrawal Procedure.
  (8) University Crisis Team. The University may refer students who are viewed to be engaging
  in behavior(s) that pose risks to themselves or others to the University Crisis Team for possible
  action. Such behaviors include, but are not limited to: suicidal behavior, self-injury, threats to
  harm others, disruptive behavior, disordered eating, and endangerment to the community.
                                                                                           11 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 56 of 566 PageID 126



         (a)       The Assistant Dean of Students or designee will convene the team members in
                   order to review each case and decide on the best course of action. The team is
                   comprised of the following persons and/or their designee(s): Student Health
                   Services Executive Director, Counseling and Psychological Services Director,
                   UCF Police Department Chief, Student Care Services Associate Director, Student
                   Conduct and Academic Integrity Director, Associate Dean for Academic
                   Services, Housing and Residence Life Director, Deputy General Counsel,
                   Assistant Dean of Students and Student Development and Enrollment Services
                   Associate VP and Dean of Students.
          (b)      Various campus units may enlist the services of the team. These include but are
                   not limited to Student Accessibility Services, Recreation and Wellness Center,
                   Wellness and Health Promotion Services, Office of Fraternity and Sorority Life,
                   Athletics, Alcohol and Other Drug Intervention Services, Undergraduate Studies,
                   and Graduate Studies.
          (c)      The role of Student Health Services and Counseling and Psychological Services
                   representatives on the Crisis Team will be consultative in nature. When possible,
                   Student Health Services and Counseling and Psychological Services
                   representatives will not confer on a case for which they are (or have been) serving
                   in a direct provider relationship with the involved student. When the involved
                   student has been a client at UCF Counseling and Psychological Services, the
                   Counseling and Psychological Services representatives or designee will maintain
                   the confidentiality of the student’s clinical information and will make
                   recommendations for action based solely upon the information provided in the
                   meeting or as guided by clinical and licensure best practices.
  (9) Mandated Assessment Procedure. This University procedure is established for behaviors
  or actions that result in hospitalization from imminent danger to self or others via the Baker Act
  (F.S. 394.463) or Marchman Act (Chapter 397, Florida Statutes), significant acts or threats of
  violence to others, chronic eating disorders, dramatic and/or expansive displays of self-
  mutilation, behaviors that are significantly disruptive to the UCF community and /or diminish the
  ability of a student to care for oneself. Whenever the UCF Police provide transportation of a
  UCF student to the hospital for involuntary examination, the police will file a report with the
  OSRR. In addition, anyone may also file reports about students of concern with Student Care
  Services.
          (a)      Once a report is received regarding a UCF student hospitalization via the Baker
                   Act or the Marchman Act, Student Care Services may utilize the mandated
                   assessment session(s) to evaluate a student’s risk of harm to self or others, and to
                   take appropriate actions to ensure the safety of the student or others if risk is
                   present. In addition, the mandated assessment session(s) are designed to assist
                   students in developing a safety and/or well-being plan and provide students with
                   educational resources. A member of Student Care Services will contact the
                   student in a timely manner and require an initial meeting between a Student Care
                   Services staff member and the student to inform the student of their rights and
                   responsibilities regarding the incident.
          (b)      All students identified as threatening self-harm or having attempted suicide must
                   complete a mandated assessment with a licensed mental health professional
                   and/or a physical assessment with a licensed medical provider. Examples of a
                   licensed mental health professional include a Student Health Services psychiatrist,
                   a Counseling and Psychological Services clinician, or a community based
                                                                                           12 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 57 of 566 PageID 127



               licensed mental health professional or licensed psychiatrist of the student’s
               choice. Student Care Services will require proof of participation for the mandated
               assessment with a licensed mental health professional and/or proof of a physical
               assessment with an appropriate medical provider. The student must meet with
               Student Care Services within ten (10) business days following release to complete
               a follow up appointment. Student must provide proof of assessment within twenty
               (20) business days following release or prior to return to the university (in the
               event a student withdraws for the remainder of the semester or is placed on
               Medical Withdrawal). Failure to comply may result in disciplinary action or the
               convening of the University Crisis Team.
        (c)    In cases where more protective action is needed based on more severe
               behavior/conduct (e.g., behavior endangering others, threats to harm others,
               behavior significantly disruptive to the UCF community), the Assistant Dean of
               Students or designee may initiate one or both of the following:
               1.      Interim Suspension followed by initiating the Student Conduct Review
                       Process;
               2.      Convening of the University Crisis Team to consider the initiation of the
                       Involuntary Withdrawal Procedure.
  (10) Involuntary Withdrawal Procedure.
        (a)    Introduction.
               1.      The University of Central Florida is committed to ensuring equality of
                       educational opportunity while cultivating an environment that is safe for
                       the campus community and supportive of student learning. The University
                       will seek to intervene where a student’s behavior interferes with the rights
                       of others within the University community or where the student presents a
                       significant risk of harm to the health, safety, well-being and/or property
                       rights of others. In such situations, safety and security concerns are
                       paramount, and the University must react as promptly as feasible under the
                       circumstances. University officials may consider a number of reasonable
                       security and health and safety measures, including, but not limited to,
                       requesting emergency assistance and seeking psychiatric evaluation,
                       hospitalization, and treatment for mental illness as appropriate under the
                       law. Additionally, the University may determine that it is necessary for
                       the student to be involuntarily withdrawn from the University for the
                       protection of others. This section outlines the procedures to be used by the
                       University in making an involuntary withdrawal decision.
               2.      This involuntary Withdrawal Procedure will be applied in a
                       nondiscriminatory manner, and decisions will be based on consideration of
                       the student’s conduct, actions, and statements and not on knowledge or
                       belief that the student has a disability.
               3.      The purpose of the Involuntary Withdrawal Procedure is for the University
                       to be able to take urgent action when circumstances present a Significant
                       Risk based on reasonably available information at the time. It will be
                       necessary for the University to act promptly and for the benefit of the
                       community as a whole, even if that means that, in consideration of later-
                       presented information, the procedure ultimately concludes in favor of the
                       student’s continued enrollment (with or without conditions). Where the
                       involuntary withdrawal procedure is invoked but the student is permitted
                                                                                       13 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 58 of 566 PageID 128



                     to continue enrollment with no conditions, the University will take
                     reasonable steps to assist the student in resuming their academic endeavors
                     with as little disruption as feasible under the circumstances.
       (b)   Direct Threat. When a student’s behavior is deemed to pose a direct threat risk to
             the health and safety of the community, the Associate Vice President and Dean of
             Students (“Dean of Students”) or their designee may initiate an involuntary
             withdrawal of the student on behalf of the university. The Dean of Students or
             designee will consult with the University Crisis Team before a final decision is
             made on the involuntary withdrawal of the student. A student poses a Direct
             Threat when the student’s behavior poses a “Significant Risk” to the health or
             safety of the student or others, or of significant property damage, or of substantial
             disruption to the lawful activities of others or the educational process or orderly
             operation of the University, and reasonable modifications of policies, practices, or
             procedures will not sufficiently mitigate the risk. Significant Risk is defined as
             the high probability of harm, threats of harm, or disruption and not just a slightly
             increased, speculative, or remote risk of such. Significant Risk is identified based
             on information that is reasonably available at the time of consideration.
             Information may be provided to the University through different means, including
             an incident report to Office of Student Rights and Responsibilities (OSRR), a
             police report, information provided following a hospitalization, or any other
             reliable source.
       (c)   Interim Involuntary Withdrawal.
             1.      A student may be involuntarily withdrawn from the University on an
                     interim basis (“Interim Involuntary Withdrawal”) if the Assistant Dean of
                     Students or designee determines, based upon information reasonably
                     available at the time, that the student poses a Direct Threat as defined
                     above. A student will remain on Interim Involuntary Withdrawal pending
                     the outcome of the Interim Involuntary Withdrawal Review. An Interim
                     Involuntary Withdrawal may be imposed prior to a meeting of the
                     University Crisis Team.
             2.      A student will be notified of Interim Involuntary Withdrawal through a
                     written notice outlining the Interim Involuntary Withdrawal procedure,
                     including the time, date, and location of the Interim Involuntary
                     Withdrawal Review.
             3.      A student under Interim Involuntary Withdrawal shall be given an
                     opportunity to present information to the University Crisis Team within
                     three (3) business days from the effective date of the Interim Involuntary
                     Withdrawal, to review the following issues only:
                     a. The reliability of the information concerning the student’s behavior
                          and,
                     b. Whether or not the student’s behavior poses a Direct Threat, as
                          defined above.
             4.      If upon conclusion of the Interim Involuntary Withdrawal review, the
                     University Crisis Team determines the student will remain on Interim
                     Involuntary Withdrawal based on the above defined issues, the University
                     Crisis Team will proceed with the Involuntary Withdrawal procedures as
                     outlined below.

                                                                                      14 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 59 of 566 PageID 129



       (d)   Involuntary Withdrawal – Notice to Student. A student subject to Involuntary
             Withdrawal is entitled to the following:
             1.       Notice of intent to remove the student pursuant to this policy stating the
                      reasons for the proposed action.
             2.       The opportunity to examine the psychiatric or other evaluations provided
                      to the University Crisis Team and to discuss them.
             3.       The opportunity to present relevant information for consideration of
                      his/her case personally, or by a licensed mental health professional
                      working with that student, if the student is not capable of self-
                      representation.
             4.       The opportunity to have an advisor of the student’s own choice
                      accompany the student to any meetings or proceedings described in this
                      procedure. The advisor may not present on behalf of the student or
                      otherwise participate in the meeting or proceeding.
             5.       The right to appeal.
       (e)   Involuntary Withdrawal – Meeting of the University Crisis Team. The Assistant
             Dean of Students or designee will call a meeting of the University Crisis Team no
             earlier than five (5) business days after notifying the student of the proposed
             Involuntary Withdrawal. The student will be notified of the time, date, and
             location of the University Crisis Team meeting. The student may be present at
             this meeting and may present information in support of him/herself. Following the
             student’s presentation, the team shall meet in a confidential deliberation. At the
             conclusion of this confidential deliberation, the team shall make a
             recommendation to the Dean of Students or designee, based upon the Team’s
             review of all available information at the time of the meeting, as to whether the
             University should:
             1.       involuntary withdraw the student due to Direct Threat;
             2.       make no changes to the student’s status;
             3.       allow continued enrollment with conditions; or
             4.       if the student is on Interim Involuntary Withdrawal at the time, reinstate
                      the student with or without conditions.
       (f)   Involuntary Withdrawal – Notifying Student of Recommendation and Decision.
             The Dean of Students or designee will make a final decision regarding the
             student’s enrollment status based on the totality of information available to the
             University and considering both the University Crisis Team’s recommendation
             and any information presented by the student. The Dean of Students or designee
             will notify the student in writing within two business days of the final decision
             regarding the student’s enrollment status.
       (g)   Involuntary Withdrawal – Appeal. In the event a student disagrees with the
             decision of the Dean of Students or designee, the student may appeal the decision.
             The appeal must be made in writing to the Vice President for SDES, or designee,
             within three (3) business days after the date of the notification to the student of
             the decision. A student may appeal the decision based on one or more of the
             following criteria:
             1.       Irregularities in fairness and stated procedures that could have affected the
                      outcome of the decision.


                                                                                       15 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 60 of 566 PageID 130



             2.      Discovery of new and significant information that could have affected the
                     outcome and that was not known or could not reasonably have been
                     discovered and/or presented at the time of the meeting.
             3.      The outcome is extraordinarily disproportionate to the reported behavior.
             The Vice President of SDES or designee, shall, within three (3) business days,
             sustain the initial decision or return the case to the University Crisis Team for re-
             consideration. The Vice President’s decision to sustain the initial decision is final
             action. If the matter is returned for re-consideration, the process will resume at
             the step outlined in subsection (e), above.
       (h)   Upon being involuntarily withdrawn, the student may no longer enroll in classes,
             may not be an active member of a registered student organization, may no longer
             use University facilities, must vacate University owned housing, may no longer
             be permitted on University property, and may not be employed by UCF.
             Additionally, an involuntarily withdrawn student may be entitled to whatever
             refunds of tuition, fees, and room and board charges as would be appropriate
             given the timing of the withdrawal.
       (i)   Students who are involuntarily withdrawn from the University shall have a hold
             placed on their records, which will prevent them from being readmitted or
             reenrolled at the institution except as stated in this paragraph. A student may
             request readmission or reenrollment at the University and provide the Dean or
             Students or designee with documentation from an appropriate healthcare provider
             of their choice who has conducted a proper assessment of the student and
             concluded that the student is ready and able to safely return to the University and
             does not pose a Direct Threat as defined above. . In cases where the Dean of
             Students or designee has imposed other conditions for readmission, it is the
             responsibility of the student to provide documentation of compliance with such
             conditions.
       (j)   A student who is considered for but ultimately not subject to Involuntary
             Withdrawal may be subject to conditions on continued enrollment at the
             University. In such cases, the student will be provided with a written summary of
             any such conditions and must meet all conditions in order to maintain student
             status. A student who fails to meet such conditions may be later subject to
             involuntary withdrawal by the Dean of Students or designee or may be subject to
             charges through the University’s Student Conduct Review Process for failure to
             comply.
       (k)   The current voluntary medical withdrawal process should not be used to handle
             withdrawals where a Direct Threat is evident or where a violation of the Rules of
             Conduct has allegedly occurred. Information for students seeking a medical
             withdrawal is available in the Catalog.
       (l)   As a general principle, the University prefers to use the Student Conduct Review
             Process in instances of misconduct, without regard to whether the student has a
             physical or mental condition that might be contributing to the misconduct. The
             Involuntary Withdrawal Procedure is to be employed in those situations in which
             the regular Student Conduct Review Process is not applicable or, due to safety
             concerns, cannot be applied in a sufficiently timely fashion.



                                                                                      16 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 61 of 566 PageID 131



  (11) Student Conduct Procedures for Sex-Based Misconduct (Non-Title IX Sexual
  Harassment).
        (a)    These procedures apply to alleged violations of UCF Regulation 5.008(5) and
               5.012(5), but do not apply to 5.008(6) Title IX Sexual Harassment (see paragraph
               (12) below).
        (b)    The University of Central Florida is committed to fostering an environment in
               which all members of our campus community are safe, secure, and free from sex
               discrimination, including sexual misconduct, stalking, and relationship violence,
               listed and defined in the Rules of Conduct (UCF-5.008) and Organizational Rules
               of Conduct (UCF-5.012).Our community expects that all interpersonal
               relationships and interactions – especially those of an intimate nature – be
               grounded upon mutual respect and open communication. When learning of
               conduct or behavior that may not meet these standards, community members are
               expected take an active role in promoting the inherent dignity of all individuals.
               For a more exhaustive list of the community’s rights and expectations as it relates
               to Title IX Policy and Procedures, please reference University Policy 2-004.1
               Prohibition of Discrimination, Harassment and Related Interpersonal Violence.
               Allegations of Title IX Sexual Harassment (as defined in the University's Title IX
               Grievance Policy, UCF Policy 2-012) are governed by paragraph (12) below.
         (c)   The university encourages any faculty, staff, student or non-student who thinks
               that he or she has been subjected to sex discrimination or retaliation by another
               student, member of the faculty or staff, or third party affiliated with the University
               to immediately report the incident to the Office of Institutional Equity. Reports
               may be filed at https://letsbeclear.ucf.edu.
        (d)    The University strives to promote the safety and well-being of all students and
               employees. This information is applicable to students and employees regardless of
               their sex, gender, sexual orientation, gender identity, or gender expression.
        (e)    Rights of the Complainant and the Respondent. Any individual (“Complainant”)
               who discloses having been subjected to sex discrimination, including sexual
               assault/misconduct, sexual exploitation, relationship violence, stalking, sexual or
               gender-based harassment, retaliation, or complicity, and any individual or
               registered student organization (“Respondent”) who has been accused of sex
               discrimination, including sexual assault/misconduct, sexual exploitation,
               relationship violence, stalking, sexual or gender-based harassment, retaliation, or
               complicity, are afforded the following rights throughout the university’s
               investigative process and the student conduct review process (except in cases
               involving alleged Title IX Sexual Harassment as defined in the University’s Title
               IX Grievance Policy, UCF Policy 2-012, see paragraph (12) below). These rights
               provide a fair process for both parties. These rights are in addition to the rights
               afforded in the student conduct review procedures outlined in University Policy 2-
               004.1 Prohibition of Discrimination, Harassment and Related Interpersonal
               Violence, and referenced in UCF-5.009 (students) and UCF-5.013 (student
               organizations) of the University Regulations. Complainant and Respondent rights
               include the following:
               1.      Both the Complainant and Respondent are permitted to have an advisor or
                       support person accompany them throughout the university’s investigative
                       process and student conduct review process. This person will not
                       represent the Complainant or Respondent, address witnesses,
                                                                                         17 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 62 of 566 PageID 132



                   investigator(s), the hearing body, any other party, or otherwise directly
                   participate throughout the university’s investigative process and/or student
                   conduct review process. In addition, if the selected person is a witness,
                   the person cannot be an advisor or support person.
             2.    Both the Complainant and the Respondent have the right to remedial and
                   protective measures and shall be notified of available assistance at the
                   University.
             3.    Both the Complainant and Respondent will have equal opportunity to
                   present relevant witnesses and other information during the investigative
                   process and during a formal hearing. Prior to the initiation of the student
                   conduct review process, the investigator has the discretion to determine
                   the relevance of any proffered evidence and to include or exclude certain
                   types of evidence. In general, the investigator will not consider statements
                   of personal opinion, rather than direct observations or reasonable inference
                   from the facts, or statements as to any party’s general reputation for any
                   character trait.
             4.    If the investigative process results in a recommendation to initiate the
                   student conduct review process, both the Complainant and Respondent
                   will receive notice to attend a preliminary conference meeting with SCAI
                   and be informed of the available resolution options in the student conduct
                   review process.
             5.    During the Student Conduct Review Process, both the Complainant and
                   Respondent shall be informed of the Administrative Hearing Officer
                   assigned to the case and shall have the opportunity to challenge the
                   impartiality of the individual within three (3) business days of notification.
             6.    Both the Complainant and Respondent will be afforded similar and timely
                   access to any information made available through the investigative process
                   and/or that will be used during the student conduct review process.
             7.    If the matter proceeds to a formal hearing, both the Complainant and
                   Respondent may submit a list of proposed questions related to the alleged
                   incident to be asked during the formal hearing. The relevancy of proposed
                   questions will be determined by the hearing officer. During a formal
                   hearing, all questions shall be asked through the hearing officer. Both
                   Complainant and Respondent should not be questioned directly by one
                   another nor by either’s advisor; instead, questions for each shall be asked
                   by the hearing officer based on proposed questions submitted by the other
                   party.
             8.    Both the Complainant and Respondent will have equal opportunity to
                   present relevant witnesses and other information during the investigative
                   process. Such evidence, as deemed relevant to the investigation and used
                   in authoring the investigative findings report, shall be presented during the
                   student conduct review process. Relevancy and timeliness will be
                   determined by the investigator(s). All evidence and witnesses must be
                   submitted by the Complainant and Respondent no later than the
                   conclusion of the investigative findings report review period prior to the
                   report being sent to OSRR. If OSRR determines that there is “cause,” then
                   OSRR will make a written recommendation, including a copy of OIE’s
                   investigative report and all other supporting information, to SCAI. A
                                                                                     18 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 63 of 566 PageID 133



                        finding of “cause” at this stage is not a finding of a violation. SCAI will
                         charge the student and/or registered student organization through the
                         Student Conduct Review Process when there is evidence of facts which
                         reasonably allow the university to conclude that a violation of 5.008(5) or
                         5.012(5) may have occurred.
                 9.      Both the Complainant and Respondent will have equal opportunity to
                         present relevant witnesses and other information during a formal hearing
                         review process. Neither the Complainant nor Respondent will have
                         irrelevant past conduct, including sexual history, discussed during the
                         formal hearing. The issue of relevancy shall be determined by the hearing
                         officer.
                 10.     Both the Complainant and the Respondent will be provided access to
                         participate, during the entire formal hearing in person, via
                         videoconference, by telephone, or by other means available.
                 11.     At least five (5) business days before the formal hearing, the Complainant
                         may submit a written statement describing the impact of the Prohibited
                         Conduct on the Complainant and expressing a preference about the
                         sanction(s) to be imposed. At least five (5) business days before the formal
                         hearing, the Respondent may submit a written statement explaining any
                         factors that the Respondent believes should mitigate or otherwise be
                         considered in determining the sanction(s) imposed. SCAI will ensure that
                         the Complainant and the Respondent each have an opportunity to review
                         any statement submitted by the other party before the start of the formal
                         hearing. The purpose of the statement(s) is to assist the hearing officer in
                         proposing a sanction. Therefore, the statement(s) will be given to the
                         hearing body for consideration only if the hearing officer makes a
                         proposed finding of in violation on one or more allegations of sex-based
                         misconduct (other than Title IX sexual harassment) addressed in the
                         formal hearing.
                 12.     Both the Complainant and Respondent will be informed, concurrently and
                         in writing, of the outcome of the investigative process, the Student
                         Conduct Review Process, and the outcome of the appeal process
                 13.     Both the Complainant and the Respondent have the right to appeal the
                         outcome of the Student Conduct Review Process on the basis outlined in
                         the applicable Student Conduct Appeals section UCF-5.010 (individual
                         student) or UCF-5.013 (registered student organizations).
                 14.     Both the Complainant and Respondent will be given periodic status
                         updates throughout the investigative process and the Student Conduct
                         Review Process.
         (g)     Administrative hearing officers who hear cases of sex-based misconduct (other
                 than Title IX sexual harassment) receive annual training on how to conduct fair
                 and impartial hearings for these types of cases.
  (12) Title IX Sexual Harassment Procedures for Student Conduct Review Process.
          (a)    Federal law, specifically Title IX of the Education Amendments of 1972 (Title
                 IX), prohibits discrimination on the basis of sex in education programs or
                 activities. Part of Title IX’s prohibition regarding sex discrimination includes acts
                 of Title IX Sexual Harassment as defined in the University’s Title IX Grievance
                                                                                          19 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 64 of 566 PageID 134



             Policy, UCF Policy 2-012. Title IX also prohibits retaliation for making a good
             faith report of Title IX Sexual Harassment or participating in or being a party to
             any proceeding involving allegations of Title IX Sexual Harassment.
       (b)   Rights of the Complainant and the Respondent. The rights of the Complainant and
             Respondent in a Title IX Sexual Harassment matter are explained in the
             University’s Title IX Grievance Policy, UCF Policy 2-012.
       (c)   Procedures Governing Title IX Sexual Harassment Allegations. The policy and
             procedures which govern the investigation and live hearing process for allegations
             of Title IX Sexual Harassment are found in the University’s Title IX Grievance
             Policy, UCF Policy 2-012.
       (d)   Administrative hearing officers who hear cases of Title IX Sexual Harassment
             receive annual training on how to conduct fair and impartial hearings for these
             types of cases.




                                                                                   20 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 65 of 566 PageID 135



  UCF-5.007
  Student Conduct and Academic Integrity; Scope; Student Conduct Records; Medical
  Emergencies (Alcohol & Drug)

  (1) Scope
         (a)     The Rules of Conduct shall apply to all undergraduate students, graduate students
                 and students pursuing professional studies, including those attending its regional
                 campuses and/or off campus instructional sites. The Rules of Conduct shall be
                 deemed a part of the terms and conditions of admission and enrollment of all
                 students. The right of all students to seek knowledge, debate ideas, form opinions,
                 and freely express their ideas is fully recognized by the University of Central
                 Florida. The Rules of Conduct apply to student conduct and will not be used to
                 impose discipline for the lawful expression of ideas. Specific restrictions on time
                 and place of meetings and assemblies are found in other University regulations or
                 policies.
          (b) These Rules of Conduct apply to all student conduct that occurs on University
                 premises or online, or at activities officially approved by the University of Central
                 Florida or which are sponsored or conducted by University groups and
                 organizations, regardless of location.
          (c) Off-Campus Conduct. The University may take action against a student for off-
                 campus conduct if the conduct is specifically prohibited by law or the Rules of
                 Conduct; or if the conduct poses (or demonstrates that the student’s continued
                 presence on University premises poses) a danger to the health, safety or welfare of
                 the University community; or if the conduct is disruptive to the orderly processes
                 and functions of the University.
          (d) Failure to comply with duly established laws or University regulations may subject
                 violator(s) to appropriate civil authorities.
  (2) Authority
          (a) The Florida Board of Governors Regulation 6.0105 requires each university to
                 establish a Student Disciplinary System, including a code of conduct, to apply to
                 student disciplinary proceedings.
          (b) These regulations are designed to ensure fairness and due process in student
                 disciplinary proceedings.
          (c) Generally, authority necessary to enforce the student conduct regulations is vested
                 in the Vice President for Student Development and Enrollment Services or
                 designee. Selected functions of this authority are shared with faculty, staff and
                 students. Some functions of student conduct administration are assisted through
                 review boards or committees.
  (3) Violations of Law and Rule of Conduct Violations. A student who commits offenses
  against the laws of municipalities, states, or the United States, is subject to prosecution by those
  authorities and may be subject to disciplinary action under University rules when the conduct
  violates institutional standards. Student shall not be forced to present self-incriminating
  evidence; however, the University is not required to postpone disciplinary proceedings pending
  the outcome of any civil or criminal case. The student conduct review process is not a criminal
  or judicial proceeding and is designed to address student behavior; therefore, alleged violations
  of the Rules of Conduct will be addressed independently of any penalty imposed by the courts
  for the criminal offense.
                                                                                           21 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 66 of 566 PageID 136



  (4) Student Conduct Records
          (a) Maintenance of Records. A student’s conduct case record will be maintained in
                 Student Conduct and Academic Integrity (SCAI) and if applicable, the Office of
                 Institutional Equity. The case record of a student found responsible for charge(s)
                 against them, with sanctions less than disciplinary suspension, dismissal and/or
                 expulsion, will generally be maintained in SCAI (and, if applicable, the Office of
                 Institutional Equity) for seven years from the calendar year of record, after which
                 they are destroyed. The case record of a student who has been placed on
                 disciplinary suspension, dismissal and/or expulsion will be permanently maintained
                 as official records by SCAI.
          (b) Release of Records. The release of student disciplinary records will be governed
                 by applicable federal and state laws regarding the privacy of educational records.
          (c) Sealing of Records: For information regarding sealing of records, please see UCF-
                 5.010(4).
  (5) Evaluation of Student Conduct Review Process. The Student Conduct Review Process
  will be evaluated periodically by the Golden Rule Review Committee. All proposed changes
  shall be evaluated for approval by the appropriate administrative body.
  (6) Medical Emergencies. The University of Central Florida highly encourages students to call
  for medical assistance whenever an individual experiences severe intoxication or serious injury
  after consuming alcohol and/or other drugs. Students may be reluctant to call for help for
  themselves or others due to potential involvement from law enforcement officials or SCAI. Due
  to the serious or life-threatening nature of these medical emergencies, the University of Central
  Florida urges students to contact emergency medical services or law enforcement officials if
  alcohol-related and/or drug-related medical emergencies arise. The university’s primary goal is
  to create a safe environment for its students.
          (a) University of Central Florida students who receive medical attention due to drug
                 and/or alcohol related emergencies may be exempted from disciplinary action by
                 the Director of SCAI following the Director’s review of the circumstances.
                 Students exempted by the Director from disciplinary action in this manner will be
                 referred for assessment and follow-up services in lieu of the student conduct review
                 process.
          (b) Students who receive medical assistance for drugs and/or alcohol emergencies may
                 receive exemption for violations of the Rules of Conduct Section 10(a)-10(d)
                 and/or 11(a)-11(c); however, exemption for other Rules of Conduct violations may
                 not be granted. The Director of SCAI or designee reserves the right to review each
                 incident individually to determine whether the student will be exempt from
                 disciplinary action. The Director of SCAI or designee maintains the right to
                 recommend additional requirements for students who are referred for assessment
                 and fail to meet the requirements of their assessment. For subsequent incidents,
                 appropriate interventions will be handled on a case by case basis.
          (c) Students who seek medical assistance on behalf of another student impaired by
                 drugs and/or alcohol may be exempted by the Director of SCAI from disciplinary
                 action for violations of the Rules of Conduct Section 10(a)-10(d) and/or 11(a)-
                 11(c). However, exemption for other violations of the Rules of Conduct will not be
                 granted.
          (d) For parental notification regarding alcohol and/or other drug-related incidents, refer
                 to the Parental Notification Policy on SCAI website: https://scai.sdes.ucf.edu/parental-
                notification/.
                                                                                             22 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 67 of 566 PageID 137



       (e)   Additional information regarding alcohol and/or other drug-related emergencies can
             be found on the SCAI website at https://scai.sdes.ucf.edu/medicalemergencies/.




                                                                                    23 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 68 of 566 PageID 138



  UCF-5.008 Rules of Conduct
  The following defined and described actions include, but are not limited to, conduct for which
  disciplinary action may be taken at the University of Central Florida. Students are responsible
  for the observation of all University policies and regulations. Each student is expected to abide
  by these rules of conduct, and administrators are expected to enforce them. These Rules of
  Conduct should be read broadly and are not designed to define prohibited conduct in exhaustive
  terms. Additional rules and regulations may be revised during the year; announcements will be
  made on adoption of the changes or additions. The right of all students to seek knowledge,
  debate ideas, form opinions, and freely express their ideas is fully recognized by the University
  of Central Florida. The Rules of Conduct apply to student conduct and will not be used to impose
  discipline for the lawful expression of ideas. Students are prohibited from engaging in:

  (1) Academic Misconduct
         (a)    Unauthorized assistance: Using or attempting to use unauthorized materials,
                information or study aids in any academic exercise unless specifically authorized
                by the instructor of record. The unauthorized possession of examination or course
                related material also constitutes cheating.
         (b)    Communication to another through written, visual, electronic, or oral means. The
                presentation of material which has not been studied or learned, but rather was
                obtained through someone else’s efforts and used as part of an examination,
                course assignment or project.
         (c)    Commercial Use of Academic Material: Selling of course material to another
                person, student, and/or uploading course material to a third party vendor without
                authorization or without the express written permission of the University and the
                Instructor. Course materials include but not limited to class notes, Instructor’s
                power points, tests, quizzes, labs, instruction sheets, homework, study guides, and
                handouts.
         (d)    Falsifying or misrepresenting the student’s own academic work.
         (e)    Plagiarism: Whereby another’s work is used or appropriated without any
                indication of the source, thereby attempting to convey the impression that such
                work is the student’s own.
         (f)    Multiple Submissions: Submitting the same academic work for credit more than
                once without the express written permission of the instructor.
         (g)    Any student who knowingly helps another violate academic behavior standards is
                also in violation of the standards.
         (h)    Soliciting assistance with academic coursework and/or degree requirements. The
                solicitation of assistance with an assignment, lab, quiz, test, paper, etc., without
                authorization of the instructor of record or designee is prohibited. This includes
                but is not limited to asking for answers to a quiz, trading answers, or offering to
                pay another to complete an assignment. It is considered Academic Misconduct to
                solicit assistance with academic coursework and/or degree requirements, even if
                the solicitation did not yield actual assistance (for example, if there was no
                response to the solicitation).
  (2) Possessing and/or Providing False and Misleading Information and/or Falsification of
  University Records



                                                                                        24 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 69 of 566 PageID 139



         (a)   Withholding related information, or furnishing false or misleading information
               (oral or written) to University officials, university and non-university law
               enforcement officers, faculty or staff.
        (b)    Possession, use or attempted use of any form of fraudulent identification.
        (c)    Forgery, alteration or misuse of any University document, material, file, record or
               instrument of identification.
        (d)    Deliberately and purposefully providing false or misleading verbal or written
               information about another person.
        (e)    Falsification, distortion, or misrepresentation of information during an
               investigation, the Student Conduct Review Process, including knowingly
               initiating a false complaint.
  (3) Disruptive Conduct
        (a)    Any act that impairs, interferes with, or obstructs the orderly conduct, processes,
               and functions of the University or any part thereof or the rights of one or more
               individuals.
        (b)    Any act which deliberately impedes or interferes with the normal flow of
               pedestrian and vehicular traffic.
        (c)    Any act which intentionally interferes with the election processes of any
               University registered student organization or sponsored student group.
        (d)    Misuse of any University safety equipment, firefighting equipment, or fire alarms.
        (e)    A false report of an explosive or incendiary device, which constitutes a threat or
               bomb scare.
        (f)    Breach of peace: an act, which aids, abets, or procures another person to breach
               the peace on the University premises or at University sponsored/related functions.
        (g)    Failure to comply with oral or written instruction from duly authorized University
               officials (i.e. faculty, staff, administration, residence hall staff) acting within the
               scope of their job duties or law enforcement officers acting in the performance of
               their duties, including failure to identify oneself to these persons when requested
               to do so.
        (h)    Failure to produce identification upon request by a University official (i.e. faculty,
               staff, administration, residence hall staff), acting within the scope of their job
               duties or law enforcement officers acting in the performance of their duties.
        (i)    Hindering or interfering with the student conduct review process by failing to
               obey the notice from a university official to appear for a student conduct meeting
               or hearing; and/or attempting to discourage an individual’s proper participating in,
               or use of, the student conduct review process.
        (j)    Violation of any other University regulation or policy as described in the UCF
               Regulations, UCF Policies and Procedures, or University department publicized
               policy.
        (k)    Failure to comply with applicable law and University regulations and procedures
               for solicitation and fundraising activities on campus.
  (4) Harmful Behavior
        (a)    Physical harm or threat of physical harm to any person. This harmful behavior
               policy may not apply in those instances where it is found that a student is acting in
               self-defense.
        (b)    Verbal, digital, or written abuse, threats, intimidation, coercion and/or other
               conduct that endangers the health, safety, or wellbeing of others, or which would
               place a reasonable person in fear of bodily injury or death. This definition,
                                                                                          25 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 70 of 566 PageID 140



              however, shall not be interpreted to abridge the rights of the University
              community to freedom of expression protected by the First Amendment of the
              United States Constitution and any other applicable law.
        (c)   Discriminatory Harassment: Discriminatory harassment consists of verbal,
              physical, electronic or other conduct based upon a protected class as defined in
              University Policy 2-004, or membership in other protected classes set forth in
              state or federal law that interferes with that individual’s educational or
              employment opportunities, participation in a university program or activity, or
              receipt of legitimately-requested services meeting 194 the description of either
              Hostile Environment Harassment or Quid Pro Quo Harassment, as defined in
              University Policy 2-004.1 Prohibition of Discrimination, Harassment, and Related
              Interpersonal Violence.
        (d)   Bullying: Defined as behavior of any sort (including communicative behavior)
              directed at another, that is severe, pervasive, or persistent, and is of a nature that
              would cause a reasonable person or group in the target’s position substantial
              emotional distress and undermine his or her ability to work, study, or participate
              in University life or regular activities, or which would place a reasonable person
              in fear of injury or death.
        (e)   Stalking: defined as conduct not of a sexual nature that is repeated, unwanted
              conduct toward or contact with another person that would cause a reasonable
              person to fear for the person’s safety or the safety of others, or to experience
              substantial emotional distress. Such conduct is direct, indirect, or through a third
              party using any type of action, method, or means. Cyber stalking is also included
              in this definition.
        (f)   Invasion of Privacy and Unauthorized Recording.
              1.       Making, using, disclosing or distributing a recording of a person in a
                       location or situation in which that person has a reasonable expectation of
                       privacy and is unaware of the recording or does not consent to it; and any
                       other conduct that constitutes an invasion of the privacy of another person
                       under applicable laws and regulations. Such conduct includes, without
                       limitation, unauthorized recording of personal conversations, images,
                       meetings or activities.
              2.       Unauthorized recording of a class or of organizational or University
                       meetings, where there exists a legal expectation of privacy, and any use,
                       disclosure, or distribution of any such recording.
              3.       Engaging in acts of voyeurism, including but not limited to peeping or
                       surreptitiously recording another when there is a reasonable expectation of
                       privacy.
              4.       Any notice, consent or other requirement under applicable laws and
                       regulations must be fulfilled in connection with authorizing, making,
                       using, disclosing or distributing any recording, where there is a legal
                       expectation of privacy.
        (g)   Retaliation against or harassment of complainant(s), other person(s) alleging
              misconduct, or anyone who participates in an investigation.
        (h)   Condoning or encouraging acts of harmful behavior as defined above or failing to
              intervene during an act of harmful behavior while it is occurring.
  (5) Sex-Based Misconduct (Non-Title IX Sexual Harassment)
        (a)   Sexual Assault. Sexual assault means sexual contact without consent.
                                                                                        26 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 71 of 566 PageID 141



       (b)   Sexual Harassment. Sexual harassment means any unwelcome sexual advance,
             request for sexual favors, or other unwanted conduct of a sexual nature, whether
             verbal, non-verbal, graphic, physical, or otherwise, when the conditions for
             Discriminatory Harassment as defined in UCF Policy 2-004 are present. Sexual
             Harassment may include inappropriate touching, acts of sexual violence,
             suggestive comments and public display of pornographic or suggestive calendars,
             posters, or signs where such images are not connected to any academic purpose.
             A single incident of sexual contact without consent may be sufficiently severe to
             constitute sexual harassment.
       (c)   Gender-Based Harassment: Gender-based harassment is discriminatory
             harassment that is based on gender, sexual orientation, gender identity, or gender
             expression, which may include acts of aggression, intimidation, or hostility,
             whether verbal or non-verbal, graphic, physical, or otherwise, even if the acts do
             not involve conduct of a sexual nature, when the conditions for Discriminatory
             Harassment as defined in UCF Policy 2-004 are present.
       (d)   Obscene or Indecent Behavior: Exposure of one’s body in such a manner that
             another party reasonably could be offended or to display sexual behavior which
             another person reasonably finds offensive.
       (e)   Voyeurism: Trespass, spying, or eavesdropping for the purpose of sexual
             gratification.
       (f)   Solicitation of a Minor: soliciting sexual acts from a minor by oral, written, or
             electronic means.
       (g)   Child Pornography: possessing, producing or the dissemination of child
             pornography
       (h)   Relationship Violence: Relationship Violence includes any act of violence or
             threatened act of violence that occurs between individuals who are involved or
             have been involved in a sexual, dating, spousal, domestic, or other intimate
             relationship. Relationship Violence may include sexual assault, stalking, and
             physical assault. Relationship Violence may involve a pattern of behavior used to
             establish power and control over another person through fear and intimidation or
             may involve one-time conduct. A pattern of behavior is typically determined
             based on the repeated use of words and/or actions and inactions in order to
             demean, intimidate, and/or control another person. This behavior can be verbal,
             emotional, and/or physical and may be directed towards the former partner, their
             property, or other individuals. Examples of Relationship Violence may include,
             but are not limited to: slapping; pulling hair; punching; damaging another
             person’s property; driving recklessly to scare someone; name calling; humiliating
             another person in public; harassment directed toward a current or former partner
             or spouse; and/or threats of abuse, such as threatening to hit, harm, or use a
             weapon on another (whether Complainant or acquaintance, friend, or family
             member of the Complainant), or other forms of verbal threats.
       (i)   Stalking: Stalking under this provision occurs where a person engages in a course
             of conduct of a sexual nature that is directed at a specific person under
             circumstances that would cause a reasonable person to fear for the person’s safety
             or the safety of others, or to experience substantial emotional distress. A “course
             of conduct” is two or more acts, including but not limited to acts in which a
             person directly, indirectly, or through third parties, by any action, method, device,
             or means, follows, monitors, observes, surveils, threatens, or communicates to or
                                                                                      27 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 72 of 566 PageID 142



                 about another person, or interferes with another person’s property. Stalking
                 includes “cyber-stalking,” a particular form of stalking in which a person uses
                 electronic media, such as the internet, social networks, blogs, phones, texts, or
                 other similar devices or forms of contact. Stalking may include, but is not limited
                 to: non-consensual communications (face to face, telephone, e-mail); threatening
                 or obscene gestures; surveillance/following/pursuit; showing up outside the
                 targeted individual’s classroom or workplace; sending gifts and/or notes
                 (romantic, bizarre, sinister, or perverted); and/or making threats.
         (j)     Sexual Exploitation: Sexual Exploitation is purposely or knowingly doing or
                 attempting to do any of the following:
                 1.      Recording or photographing private sexual activity and/or a person’s
                         intimate parts (including genitalia, groin, breasts or buttocks) without
                         consent;
                 2.      Disseminating or posting images of private sexual activity and/or a
                         person’s intimate parts (including genitalia, groin, breasts or buttocks)
                         without consent;
                 3.      Allowing third parties to observe private sexual activity from a hidden
                         location (e.g., closet) or through electronic means (e.g., Skype or
                         livestreaming of images);
                 4.      Subjecting another person to human trafficking; or
                 5.      Exposing another person to a sexually transmitted infection or virus
                         without the other’s knowledge.
         (k)     Any attempted acts of sex-based misconduct are also violations of this policy.
  (6) Title IX Sexual Harassment
         (a)Title IX Sexual Harassment is defined as any conduct on the basis of sex which occurs
                 (i) on or after August 14, 2020; (ii) against a person located in the United States;
                 and (iii) in or as part of the University’s education program or
                 activity, which satisfies one or more of the following:
                 1. Unwelcome conduct that a reasonable person would determine is so severe,
                         pervasive, and objectively offensive that it effectively denies a person
                         equal access to the University’s education program or activity;
                 2. Sexual assault (as defined in the Clery Act), which includes any sexual contact
                         that occurs without consent;
                 3. Dating violence (as defined in the Violence Against Women Act (VAWA)
                         amendments to the Clery Act), which includes any act of violence or
                         threatened act of violence committed by a person: (A) who is or has been
                         in a social relationship of a romantic or intimate nature with the victim;
                         and (B) where the existence of such a relationship shall be determined
                         based on a consideration of the length of the relationship; the type of
                         relationship; and the frequency of interaction between the persons
                         involved in the relationship.
                 4. Domestic violence (as defined in the VAWA amendments to the Clery Act),
                         which includes any felony or misdemeanor crimes of violence committed
                         by a current or former spouse or intimate partner of the victim, by a person
                         with whom the victim shares a child in common, by a person who is
                         cohabitating with or has cohabitated with the victim as a spouse or
                         intimate partner, by a person similarly situated to a spouse of the victim
                         under Florida statute or by any other person against an adult or youth
                                                                                         28 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 73 of 566 PageID 143



                        victim who is protected from that person’s acts under the domestic or
                        family violence laws of Florida.
               5. Stalking (as defined in the VAWA amendments to the Clery Act), meaning
                        engaging in a course of conduct directed at a specific person that would
                        cause a reasonable person to (a) fear for their safety or the safety of others;
                        or (b) suffer substantial emotional distress.
        (b)Retaliation, including but not limited to conduct meant to intimidate, threaten, coerce,
               or discriminate against any individual for the purpose of interfering with any right
               or privilege secured by Title IX of the Education Amendments of 1972 or its
               implementing regulations or UCF Policy 2-012.
  (7) Larceny/Property Damage
        (a)    Unauthorized use, possession, or theft of property or service. Such property may
               be personal or public.
        (b)    Damaging or defacing of University property or the property of another person
               whether or not it is on University premises.
        (c)    Tampering with or damaging fire safety equipment.
  (8) Hazing
        (a)    Hazing is any action or situation that recklessly or intentionally endangers the
               mental or physical health and/or safety of a student for purposes including but not
               limited to: initiation or admission into, association or affiliation with, any
               registered student organization or other group whether or not officially recognized
               by the University. Hazing in violation of Florida Statutes may result in felony
               charges. A student may commit an act of hazing whether the student is a
               prospective, current, or former member of the organization or group. The actions
               of active, associate, new and/or prospective members, former members, or alumni
               of a student organization or group may be considered hazing under this rule.
        (b)    Hazing includes brutality of a physical nature such as whipping, beating,
               branding, forced calisthenics, exposure to the elements; forced consumption of
               any food, liquid, liquor, drug, or other substances; or other forced elements; or
               other forced activity which could adversely affect the mental or physical health or
               safety of the individual.
        (c)    Hazing includes any activity which could subject the individual to extreme mental
               stress such as sleep deprivation, forced exclusion from social contact, forced
               conduct that could result in extreme embarrassment, or any other activity that
               could adversely affect the mental health or dignity of the individual.
        (d)    Hazing includes forcing, pressuring, or coercing, the student into violation of
               University policies or federal, state, or local law.
        (e)    Hazing includes soliciting a person to commit or being actively involved in the
               planning of any act of hazing as defined above where the act of hazing creates a
               substantial risk of physical injury or death to the person(s) hazed.
        (f)    It is not defense to an allegation of hazing that:
               1.       the consent of the victim had been obtained;
               2.       the conduct or activity that resulted in the death or injury of a person was
                        not part of any official organizational event or otherwise sanctioned or
                        approved by the student organization; or
               3.       the conduct or activity that resulted in the death or injury of a person was
                        not done as a condition of membership into a student organization.

                                                                                           29 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 74 of 566 PageID 144



         (g)     Hazing does not include customary athletic events or other similar contests or
                 competitions or any activity or conduct that furthers a legal and legitimate
                 objective.
   (9) Misuse or Unauthorized Use of Facilities and Grounds
         (a)     Misuse or unauthorized use of classroom or laboratory facilities, or University
                 property (as defined by University Regulation UCF-4.036).
         (b)     Abusing grounds or building structures including, but not limited to ramps, rails,
                 stair sets and entryways by means of recreational cycling, skating, scootering, or
                 other recreational activities or devices as outlined in University Regulation UCF-
                 4.036.
         (c)     Unauthorized entry or attempted entry to any University property (as defined by
                 University Regulation UCF-4.036).
         (d)     Unauthorized possession, duplication or use of keys to any University property
                 (as defined by University Regulation UCF-4.036).
  (10) Misconduct at University Sponsored/Related Activities
         (a)     Violation of UCF rules of conduct at UCF sponsored related activities shall also
                 be a violation of the golden rule.
         (b)     Violations of a regulation(s) of a host institution sponsored/related activity shall
                 be a violation of the golden rule.
  (11) Controlled Substance and Drug Violations
         (a)     Possessing, consuming, or attempting to possess cannabis in any amount.
         (b)     Cultivating, manufacturing, or attempting to obtain cannabis in any amount.
         (c)     Possessing, consuming, cultivating, manufacturing, or attempting to possess any
                 controlled substances other than cannabis, except as expressly permitted by law.
         (d)     Selling or distributing cannabis or any other controlled substances other than
                 alcohol.
         (e)     Possessing or attempting to possess any drug related paraphernalia.
         (f)     Misconduct under the influence of controlled substance(s) and/or drugs other than
                 alcohol.
         NOTE: Students who receive medical attention due to drug related emergencies and/or
         students who call for help on behalf of another student who may be experiencing a drug
         related emergency may be exempt from disciplinary action. Information regarding
         exemptions under this rule for drug related emergencies can be found
         in University Regulation UCF-5.007 and the Student Conduct and Academic
         Integrity website: http://scai.sdes.ucf.edu/medicalemergencies.
  (12) Alcoholic Beverages Violation
         (a)     Possessing or consuming alcoholic beverages, or possessing or using alcohol-
                 related paraphernalia, except as expressly permitted by the law and University
                 Regulations and/or Policies.
         (b)     Selling or distributing alcoholic beverages or alcohol-related paraphernalia,
                 except as expressly permitted by law and University Regulations and/or Policies
         (c)     Misconduct under the influence of alcohol
         NOTE: Students who receive medical attention due to drug related emergencies and/or
         students who call for help on behalf of another student who may be experiencing a drug
         related emergency may be exempt from disciplinary action. Information regarding
         exemptions under this rule for drug related emergencies can be found
         in University Regulation UCF-5.007 and the Student Conduct and Academic
         Integrity website: http://scai.sdes.ucf.edu/medicalemergencies.
                                                                                          30 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 75 of 566 PageID 145



  (13) Possession of Weapons and/or Dangerous Material
         (a)     The possession, use, or storage of weapons on property owned or controlled by
                 the University or at events sponsored and/or supported by the University is
                 prohibited, except as specifically outlined in University Policy 3-119.1 (Weapons
                 on University Property and at University Events).
         (b)     Possession or use of fireworks of any description, explosives, or chemicals which
                 are disruptive, explosive, or corrosive are prohibited on University premises or at
                 University sponsored/related activities.
  (14) Instigation or Participation in Group Disturbances during Demonstrations, Parades,
  or Picketing
         (a)     Participation in a demonstration(s), parade(s), or picketing which invades the
                 rights of others, which interferes with the educational function of the University,
                 or which jeopardizes public order and safety.
         (b)     Leading or inciting others to disrupt scheduled and/or normal activities within any
                 campus building or area.
  (15) Misuse of Computing and Telecommunications Resources
         (a)     Theft or other abuse of computer facilities and resources
         (b)     Unauthorized entry into a file, to use, read, or change the contents, or for any
                 other purpose.
         (c)     Unauthorized transfer of a file.
         (d)     Use of another individual’s identification and/or password.
         (e)     Use of computing facilities and telecommunications resources to interfere with
                 the work of another student, faculty member or University Official.
         (f)     Use of computing facilities and telecommunications resources to send obscene or
                 abusive messages.
         (g)     Use of computing facilities and telecommunications resources to interfere with
                 normal operation of the University computing system.
         (h)     Use of computing facilities and telecommunications resources in violation of
                 copyright laws.
         (i)     Any violation of the University of Central Florida Use of Information Technology
                 and Resources Policy.
         (j)     Any violation of the University of Central Florida ResNet Acceptable Use Policy.
  (16) Gambling
         (a)     Play in an unlawful game of chance for money or for anything of value on
                 University premises or at any affair sponsored by a student or student
                 organization.
         (b)     Unlawfully sell, barter or dispose of a voucher or any item for participation in a
                 scheme of chance by whatever name on University premises or at any affair
                 sponsored by a student or registered student organization.
         (c)     Wager on a University team or organization in a competition, with a direct
                 influence in the success of the competition.
  (17) University Student Residence Violations. Violation(s) of any Department of Housing
  and Residence Life policy, rule or regulation published in hard copy or available electronically
  via Department of Housing and Residence Life website. A charge under this provision must
  include a specific citation of which Housing policy or policies the charged student has violated.
  (18) University Wordmark Violations. Unauthorized use of the official University wordmark,
  Pegasus, monogram, seal, or other graphic identity symbol.

                                                                                        31 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 76 of 566 PageID 146



  (19) Violation of Local, State, and/or Federal Laws. Violation of any local, state and/or
  federal law that may result in a felony or misdemeanor.
  (20) Complicity: Complicity is any act taken with the purpose of aiding, facilitating, promoting
  or encouraging the commission of an act prohibited by the Rules of Conduct.




                                                                                       32 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 77 of 566 PageID 147



  UCF-5.009 Student Conduct Review Process; Sanctions
  (1) Violation Reports. Alleged violations of the UCF Rules of Conduct shall be reported in
  writing to the Director of the Student Conduct and Academic Integrity (SCAI) or designee. Upon
  receiving an alleged violation of misconduct, the Director of the SCAI or designee may review
  relevant information and consult with relevant parties regarding the incident in question. Where
  deemed necessary to protect the safety and well-being of others, of the university, or of property,
  the Director of SCAI or designee, upon notifying the VP of SDES or designee, may take
  immediate action to resolve the safety and/or well-being concern by placing the student on
  interim suspension. Interim suspension is not a sanction. An interim suspension is subject to
  review at a hearing within three (3) business days by the VP of SDES or designee to determine
  the status of the interim suspension. The outcome of an interim suspension hearing shall remain
  in effect until the final disposition of formal charges resulting from the circumstances of the case,
  unless the VP of SDES or designee shall decide otherwise.
          (a) The Director of the SCAI will refer all information warranting disciplinary action
                 and assign the case to the appropriate staff member. SCAI will send written
                 notification to the charged student indicating the nature of the activity in question
                 and what university rules were allegedly violated.
          (b) Upon receipt of an incident report SCAI has six months to charge a student with a
                 violation of the Rules of Conduct. SCAI may exercise discretion when applying
                 the time provision to account for circumstances that warrant a waiver of the six
                 month time limit from the date of discovery. For Title IX related cases see UCF-
                 5.006(10).
          (c) Students charged with alleged violations of the Rules of Conduct will receive
                 notice to attend a required preliminary conference with SCAI to discuss the
                 charges. If the student fails to attend that conference, a hold may be placed on the
                 student’s record, preventing them from registering for future classes until the
                 matter is resolved. Students who leave the university or withdraw from a class
                 before a disciplinary matter is resolved may be prohibited from future enrollment
                 until such time as the matter is resolved. The student will receive information
                 regarding the Student Conduct Review Process, including the student’s rights
                 during the process, an opportunity to inspect and/or review the information known
                 at the time charges are prepared, and notice on how to contact the Student
                 Government Association Judicial Advisor. At the conclusion of the meeting, the
                 Office of Student Conduct recommends an option for resolution of the disciplinary
                 charges.
  (2) Options for Resolution of Disciplinary Charges.
          (a) Case Dismissal: The Director of SCAI or designee may dismiss a case if it is found
                 to not have sufficient facts or information to substantiate the claim of misconduct,
                 the accused person is not a student, or the action claimed as misconduct is not a
                 violation of the Rules of Conduct.
           (b) Mediation: Depending on the nature and severity of the alleged violation, SCAI
                 may recommend formal mediation through the Office of Student Rights and
                 Responsibilities as an alternative to disciplinary action. The involved parties must
                 each agree to mediation. Mediation is confidential. In mediation, the parties
                 voluntarily meet with an impartial mediator to communicate their concerns and
                 needs to each other and to reach their own agreement on the resolution of the case.
                 The participants in mediation are responsible for keeping their agreement or

                                                                                           33 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 78 of 566 PageID 148



               renegotiating it, if necessary. In the event that the participants do not agree to
               mediate or mediate but do not reach a full and final resolution, the case will be
               referred back for disciplinary action through an informal or a formal hearing.
               Breach of a mediated agreement may result in a follow up mediation session or the
               matter may be referred back through the conduct process at the discretion of SCAI.
               Mediation will not be a resolution option for cases involving allegations of
               incidents of sexual misconduct and/or interpersonal violence.
         (c) Informal Hearing: At the discretion of SCAI, violations found not to warrant a
               formal hearing may be referred to an informal hearing. At the informal hearing the
               charged student has the opportunity to meet with an SCAI member or designee and
               accept responsibility for the charges of violation of the Rules of Conduct. At the
               informal level the matter will be settled by the following outcomes: punitive
               sanction (Disciplinary Warning, Disciplinary Probation, or Disciplinary Deferred
               Suspension) as well as educational sanctions (papers, seminars, community service,
               etc.). If the matter is not resolved informally, the case will be resolved through a
               formal hearing. The outcomes from an informal hearing process (decision of
               responsibility and recommended sanctions) are final and are not eligible to be
               appealed (UCF-5.010).
         (d) Formal Hearing: If an alleged violation of the Rules of Conduct is not dismissed or
               otherwise resolved, then SCAI shall present in writing formal charges to the
               student. Except as set forth in (5) below, the charged student may request either a
               panel or administrative hearing. The charged student’s hearing shall be open only
               to the charged student, their advisor, the hearing body, witnesses (when called
               upon), and a representative from SCAI. For cases of sex-based, the hearing shall
               also be open to the complainant and advisor. For cases of Title IX Sexual
               Harassment, the hearing shall also be open to the complainant, advisor, and support
               person. In cases of alleged Academic Misconduct, the student is required to have an
               academic integrity hearing as stated in UCF-5.015.
               Formal notification shall include:
                 1.     The student’s name and address.
                 2.     Date, time and location of the formal hearing.
                 3.     The rule(s) of conduct allegedly violated as known at the time formal
                        charges are prepared.
                 4.     Names of potential witnesses known at the time formal charges are
                        prepared.
                 5.     A description of any physical or written documentation known at the time
                        charges are prepared.
  (3) Formal Hearings. There are two types of formal hearings – panel hearings and
  administrative hearings.
         (a) Panel Hearings.
                 1.     A panel to consider an individual case shall be randomly selected by SCAI
                        from the Student Conduct Board and shall consist of two (2) faculty and
                        administrative staff members combined, and two (2) student members. One
                        panel member shall be selected by SCAI to chair the hearing and report the
                        proposed finding(s) and recommended sanctions, if any, to the Director of
                        SCAI or designee.
                 2.     At hearings conducted by a panel, an SCAI staff member shall act as an
                        advisor to the panel. The Director of SCAI or designee shall receive the
                                                                                       34 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 79 of 566 PageID 149



                    panel’s proposed finding(s) as to "in violation" or "not in violation" of the
                    Rules of Conduct, and consider any sanctions proposed by the panel.
              3.    The Director of SCAI or designee may accept the proposed finding(s) of “in
                    violation” or “not in violation” or remand the case for rehearing. If the
                    Director of SCAI or designee accepts the proposed finding(s) of “in
                    violation,” they may approve, mitigate or increase the sanctions proposed
                    by the panel.
              4.    Any decision by the Director of SCAI or designee to alter proposed
                    sanctions or remand a case shall be accompanied by a concise and explicit
                    written statement that explains the basis for that decision.
       (b)   Administrative Hearings
              1.    Administrative hearings shall be conducted by one faculty or staff member
                    selected by SCAI from the Student Conduct Board. The charged student
                    shall be informed of the hearing officer assigned to the case and shall have
                    the opportunity to challenge the impartiality of the individual within three
                    (3) business days of notification. The student shall state in writing the basis
                    for such challenge. A hearing officer so challenged will be excused;
                    however, indiscriminate challenges shall not be permitted. In the event that
                    a student has opted not to challenge the impartiality of a hearing office prior
                    to the allotted three (3) business days, the assigned hearing officer shall
                    remain as scheduled.
              2.    At hearings conducted by an administrative hearing officer, an SCAI staff
                    member shall act as an advisor to the administrative hearing officer. The
                    Director of SCAI or designee shall receive the administrative hearing
                    officer’s proposed finding(s) as to "in violation" or "not in violation" of the
                    Rules of Conduct, and consider any sanctions proposed by the
                    administrative hearing officer.
              3.    The Director of SCAI or designee may accept the proposed finding(s) of “in
                    violation” or “not in violation” or remand the case for rehearing. If the
                    Director of SCAI or designee accepts the proposed finding(s) of “in
                    violation,” they may approve, mitigate or increase the sanctions proposed
                    by the administrative hearing officer.
              4.    Any decision by the Director of SCAI or designee to alter sanctions or
                    remand a case shall be accompanied by a concise and explicit written
                    statement that explains the basis for that decision.
       (c)   Conduct of Formal Hearings - The following is furnished as a guide to the
             sequence of events in a formal hearing. Please note that all formal hearing
             proceedings are recorded. The recording is part of the official record of the formal
             hearing and no other recordings are permitted.
              1.    Reading of charges.
              2.    Student response of “in violation” or “not in violation.”
              3.    Presentation of information in support of the charges.
              4.    Opening statement by the charged student.
              5.    Questioning of the charged student.
              6.    Presentation and questioning of all other parties.
              7.    Final questions of the charged student by the hearing body.
              8.    Closing remarks by the charged student.
              9.    Hearing is brought to a close.
                                                                                       35 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 80 of 566 PageID 150



                 10.    The student is invited to await announcement of the proposed finding(s) and
                        recommended sanction(s), if any.
         (d) Deliberations by the hearing body are not part of the hearing and are confidential.
               Deliberations occur after the closure of the hearing and are not recorded. Following
               deliberations, the hearing body will prepare a written statement of its proposed
               finding(s) and, if applicable, recommend sanctions.
         (e) Case Record for Formal Hearing - The case record shall consist of the following
               items:
                 1.     A copy of the formal charges in writing.
                 2.     A recording of the formal hearing.
                 3.     A recording of the announcement of the proposed finding(s) and proposed
                        sanctions, if any.
                 4.     All staff memoranda submitted.
                 5.     All items of physical or written documentation submitted, provided such
                        items are not returned to a rightful owner. In that case, photographs or other
                        facsimiles shall be made before return.
                 6.     The proposed finding(s) and sanction(s) by the hearing panel or
                        administrator, if any.
                 7.     The Director of SCAI’s or designee’s decision.
         (f) Student Conduct Board members for panel and administrative formal hearings are
               selected through an annual application and interview process with the exception of
               the justices from the Student Government Association Judicial Branch. All Student
               Conduct Board members, including justices, receive annual training from SCAI.
               Student Conduct Board members who serve on hearings related to allegations of
               sex discrimination, including but not limited to relationship violence, sexual
               assault, sex harassment, and stalking receive additional training annually.
  (4) Student Rights in the Student Conduct Review Process.
  The following rights shall be explained to each charged student prior to the commencement of
  any formal disciplinary hearing:
         (a)     The charged student shall be afforded reasonable written notice, at least five (5)
                 business days prior to the formal hearing, unless waived in writing. Written notice
                 sent to the charged student’s electronic and/or physical address listed in the
                 Registrar’s records shall constitute full and adequate notice. Written notice shall
                 include:
                 1.     The student’s name and address.
                 2.     Date, time and location and nature of the proceeding of the formal hearing.
                 3.     The rule(s) of conduct allegedly violated as known at the time formal
                        charges are prepared.
                 4.     Names of potential witnesses known at the time formal charges are
                        prepared.
                 5.     A description of any written or physical documentation known at the time
                        charges are prepared.
         (b)     The student may have, at his or her own expense and initiative, an advisor present
                 at the hearing. It is the student’s responsibility to make appropriate arrangements
                 for the advisor to attend the hearing, and the hearing shall not be delayed due to
                 scheduling conflicts of the chosen advisor. The advisor may be present to advise
                 the student but shall not speak for or present the case for the student or otherwise
                 participate directly in the proceeding. The student may consult with their advisor
                                                                                          36 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 81 of 566 PageID 151



               at any time during the hearing. This consultation must take place in a manner that
               does not disrupt the proceedings. In addition, an advisor may not serve as a
               witness. If the advisor does not adhere to their defined role in the student conduct
               review process, they may be removed from the hearing.
        (c)    All hearings shall be conducted on the basis that the charged student is not in
               violation until the preponderance of evidence proves otherwise. At a hearing, the
               technical rules of evidence applicable to civil and criminal cases shall not apply.
               The burden of proof in a student conduct hearing is not on the student charged
               with a violation of the Rules of Conduct.
        (d)    The student may inspect any information presented in support of the charges at
               least three (3) business days before the formal hearing The University also has the
               right to review any information the student intends to use at least three (3)
               business days before the formal hearing. Only such information that is determined
               “Relevant Information” will be made part of the hearing record.
        (e)    The university cannot compel any person to attend a formal hearing. However, all
               parties may arrange for witnesses to voluntarily present Relevant Information
               during the proceeding. The student may hear and question adverse parties who
               testify at the hearing.
        (f)    The student shall not be forced to present self-incriminating information;
               however, the University is not required to postpone disciplinary proceedings
               pending the outcome of any civil or criminal case. The University’s formal
               hearing is not a criminal or judicial proceeding and is designed to address student
               behavior; therefore, alleged violations of the UCF Rules of Conduct will be
               addressed independently of any outcome imposed by the courts for a criminal
               offense.
        (g)    The proposed finding, as well as the Director of SCAI’s or designee’s
               determination, of “in violation” or “not in violation” on the charges shall be based
               solely on the information presented at the formal hearing.
        (h)    Should the student fail to attend the scheduled formal hearing, the hearing will be
               held in the student’s absence and the proposed findings, including any
               recommended sanctions, will be made using the information available at the time
               of the scheduled formal hearing.
        (i)    Only if the proposed finding of the hearing body is that the student is in violation,
               will prior conduct history be reviewed and potentially affect proposed
               sanctioning.
        (j)    The results of any formal hearing shall be made available to the charged student
               within ten (10) business days following the hearing. Should SCAI need additional
               time, the deadline can be extended by the Director of SCAI or designee by
               notifying the charged student. For academic integrity cases, the results of any
               formal hearing shall be made available to the charged student within fifteen (15)
               business days following the hearing. The Director of SCAI or designee shall
               notify the charged student in writing of the need for additional time.
        (k)    The student’s enrollment status shall remain unchanged pending the University’s
               final agency action in the matter, except in cases where the VP of SDES or
               designee determines that the safety, health, or general welfare of the student, any
               individual, or any part of the University may be involved.
  (5) Additional Procedures in Cases of Sex-Based Misconduct and Title IX Sexual Harassment

                                                                                        37 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 82 of 566 PageID 152



         (a)     In cases involving sex-based misconduct or Title IX sexual harassment, a single hearing
                 officer will be the only option for a formal hearing.
         (b)    Where a student is charged with a violation of UCF-5.008(5), the procedures
                outlined in UCF-5.006(11) and UCF Policy 2-004 will apply in addition to the
                procedures of the Student Conduct Review Process outlined above.
         (c)    Where a student is charged with Title IX Sexual Harassment as prohibited under
                UCF-5.008(6), the procedures outlined in UCF-5.006(12) and the Title IX
                Grievance Policy (University Policy 2-012) will apply in place of the procedures
                of the Student Conduct Review Process outlined above, and the sanctions
                outlined below may be applied to violations of UCF-5.008(6) Title IX Sexual
                Harassment.
         (d)    The sanctions outlined below may be applied to violations of UCF-5.008(5) Sex-
                Based Misconduct (non-Title IX) and UCF5.008(6) Title IX Sexual Harassment.
  (6) Sanctions.
         (a) Disciplinary Warning - An official warning that the student’s behavior is in
              violation of the UCF Rules of Conduct, and that if the student is subsequently
              found in violation of a rule while on Disciplinary Warning, subsequent action may
              be more severe.
         (b) Disciplinary Probation - Disciplinary Probation status shall be for a specific length
              of time in which any further violation of the Rules of Conduct puts the student’s
              status with the University in jeopardy. If the student is found “in-violation” for
              another violation of the Rules of Conduct, while on Disciplinary Probation, more
              severe sanctions may be imposed. Restrictive conditions may be imposed and vary
              according to the severity of the offense. While on Disciplinary Probation,
              restrictive conditions may include, but may not be limited to the following: loss of
              good standing, which may become a matter of record; denial of the privilege to
              occupy a position of leadership or responsibility in any University registered
              student organization, publication, or activity, or ability to represent the University
              in an official capacity or position; trespass of University facilities or other areas of
              campus or contact with another specified person(s). Under Disciplinary Probation,
              the student may continue to attend classes and is given a chance to show capability
              and willingness to live in accordance with University rules. While on Disciplinary
              Probation, a hold will be placed on a student’s record for record keeping purposes.
         (c) Deferred Disciplinary Suspension - Deferred Disciplinary Suspension is used for
              offenses found serious enough to warrant Disciplinary Suspension, but where the
              specific circumstances of the case mitigate the offense or for repeated offenses of a
              less serious nature. Deferred Disciplinary Suspension is a designated period of time
              during which a student is given the opportunity to demonstrate the ability to abide
              by the community’s expectations of behavior articulated in the Rules of Conduct.
              During a Deferred Disciplinary Suspension, the student will be officially suspended
              from the university, but the suspension will be deferred, meaning that the student
              may continue to attend classes. The suspension will be enforced for failure to
              complete any assigned educational sanctions by the deadline(s) and/or for any
              subsequent violation of the Rules of Conduct, unless the Director of the OSC
              determines otherwise in exceptional circumstances. If the student is found in
              violation for any violation(s) of the Rules of Conduct that occurred while on
              Deferred Disciplinary Suspension status, including failure to complete any assigned
              educational sanctions by the deadline(s), the student will be suspended for a
                                                                                             38 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 83 of 566 PageID 153



             minimum of one (1) semesters, in addition to the educational sanctions imposed for
             the subsequent violation. Students placed on Deferred Disciplinary Suspension will
             have a conduct overlay placed on their transcripts for the period of time that the
             Deferred Disciplinary Suspension is in effect. The conduct overlay is a notation
             indicating that the student is not in good standing. Deferred Disciplinary
             Suspension may include the denial of specific university privileges, including but
             not limited to loss of good standing, which may become a matter of record; denial
             of the privilege to occupy a position of leadership or responsibility in an University
             registered student organization, publication, or activity, or ability to represent the
             University in an official capacity or position; trespass of University facilities or
             other areas of campus or contact with another specified person(s). The duration of
             any Deferred Disciplinary Suspension period and the specific restrictions imposed
             will be determined by SCAI on a case-by-case basis. While on Deferred
             Disciplinary Suspension, a hold will be placed on a student’s record for
             recordkeeping purposes.
       (d)   Disciplinary Suspension - A student involved in an offense warranting
             consideration of action more serious than Deferred Disciplinary Suspension or one
             involved in repeated misconduct may face Disciplinary Suspension. During the
             period of Disciplinary Suspension, a student may not be enrolled in classes,
             participate in University related activities, whether they occur on or off campus. A
             student under Disciplinary Suspension may not otherwise be present on University
             premises unless authorized in writing in advance under conditions approved by the
             Director of SCAI. Upon being withdrawn, the student may no longer enroll in
             classes, may not be an active member of a Registered Student Organization, may
             no longer use university facilities, must vacate university owned housing, may no
             longer be permitted on university property, may not be employed by the University,
             and may be entitled to whatever refunds of tuition, fees, and room and board
             charges as would be appropriate given the timing of the withdrawal. In
             determining if and to what extent suspended students shall be authorized to be on
             University premises, the Director of SCAI or designee shall consider whether the
             suspension creates an undue hardship on the disciplinary suspended student in
             regard to considerations that include, but are not limited to, the medical needs of
             the student. Students placed on Disciplinary Suspension will have a conduct
             overlay placed on their transcript for the period of time that the Disciplinary
             Suspension is in effect. . The conduct overlay is a notation indicating that the
             student is not in good standing. Further, while on Disciplinary Suspension, a hold
             will be placed on a student’s record for record keeping purposes. All assigned
             educational sanctions must be completed prior to the conclusion of Disciplinary
             Suspension; otherwise the Disciplinary Suspension will remain in effect.
       (e)   Disciplinary Dismissal – Disciplinary Dismissal is a sanction which removes the
             student from the individual’s academic program and separates the student from the
             University for a period of at least two years and up to seven years. A dismissed
             student has none of the rights or privileges of a student of the University.
             Following Disciplinary Dismissal, the individual must apply for readmission to the
             University. Readmission is possible but not guaranteed and will only be considered
             after the two to seven year time allotted from the effective date of the Dismissal,
             based on meeting all readmission criteria and obtaining clearance from the
             Associate Vice President and Dean of Students or designee. This may include
                                                                                       39 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 84 of 566 PageID 154



             restricted access to campus and/or other specified activities. Students placed on
             Disciplinary Dismissal will have a conduct overlay placed on their transcript for the
             period of time that the Disciplinary Dismissal is in effect. The conduct overlay is a
             notation indicating that the student is not in good standing. Further, while on
             Disciplinary Dismissal, a hold will be placed on a student’s record for record
             keeping purposes. All assigned educational sanctions must be completed prior to
             the conclusion of Disciplinary Dismissal; otherwise the Disciplinary Dismissal will
             remain in effect.
       (f)   Delayed Conferral of Degree – Delay of issuance of a student’s diploma for a
             specified period of time or until the student meets certain conditions.
       (g)   Recommendation for Degree Revocation – The University of Central Florida
             reserves the right to revoke any UCF degree awarded to any student. Reasons for
             degree revocation may include academic dishonesty, grade change, administrative
             error, disciplinary misconduct, or student request (see UCF Policy 4-406).
       (h)   Disciplinary Expulsion – Disciplinary Expulsion is a sanction which removes the
             student from the individual’s academic program and permanently separates a
             student from the University without opportunity to graduate or re-enroll at the
             university in the future. An overlay will be permanently placed on the student’s
             record. Further, a hold will be permanently placed on a student’s record for record
             keeping purposes.
       (i)   Educational Sanctions - In conjunction with a sanction listed above, a student found
             to have been in violation of any of the Rules of Conduct will be assigned
             educational requirements such as, but not limited to, reflective/research papers,
             classes/seminars, community service, interviews, etc. Educational sanctions are
             intended to provide a student with opportunities to repair the harm of their actions
             and to engage in meaningful developmental experiences that will help the student
             in avoiding future violations of University policy.




                                                                                      40 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 85 of 566 PageID 155



  UCF-5.010 Student Conduct Appeals
  (1) Appeals within the Student Conduct Review Process
        (a)    Students found in violation as a result of a formal hearing may appeal the
               finding(s) and sanction(s) imposed. The appeal must be made in writing to the
               Appellate Officer (VP of SDES or designee) within ten (10) business days after
               the date the student was notified of the decision by the Director of Student
               Conduct and Academic Integrity (SCAI) or designee. The appeal form can be
               found at http://scai.sdes.ucf.edu/process.
        (b)    Students may appeal the finding and sanction(s) imposed on the basis of one or
               more of the following:
               1.       Irregularities in fairness and stated procedures of the hearing that could
                        have affected the outcome of the hearing.
               2.       Discovery of new and significant information that could have affected the
                        outcome of the hearing and that was not known or could not reasonably
                        have been discovered and/or presented at the time of the initial hearing.
               3.       The sanction(s) are extraordinarily disproportionate to the violation(s).
        (c)    On the appeal form, the student must state the reason(s) for appeal, the supporting
               facts, and the recommended solution. This is not a re-hearing of the conduct case.
               An appeal cannot be filed simply because a student is dissatisfied with the
               decision. Failure to describe the nature of the information in full detail in the
               appeal letter will result in the denial of an appeal.
        (d)    The appellate officer shall first determine if sufficient grounds for appeal exist
               and then, if so, the appellate officer may: deny the appeal, thus sustaining the
               initial decision; alter the sanction(s); or return the case for a new hearing. Any
               decision by the appellate officer to alter sanctions or return a case for new hearing
               shall be accompanied by a concise and explicit written statement that explains the
               basis for that decision
        (e)    The appellate officer should issue a written decision to the student’s appeal within
               twenty (20) business days of receipt of the appeal. Should the appellate officer
               require additional time for review beyond the twenty (20) business days, the
               appellate officer shall notify the charged student in writing of the need for
               additional time. Decisions of the appellate officer reflect final agency action.
        (f)    Any decision by an appellate officer to alter sanctions or return a case shall be
               accompanied by a concise and explicit written statement that explains the basis
               for that decision.
        (g)    SCAI cannot place an overlay on the student’s record until the appeal decision is
               completed or if the student chooses not to appeal. At such time, if appropriate, a
               hold and/or overlay, is placed on the student’s record. If the appellate officer
               upholds the original findings, the effective date of any disciplinary sanction(s)
               imposed will revert back to the date of the Director of SCAI’s or designee’s final
               decision letter.
  (2) Appeals within the Student Conduct Review Process for Cases Involving Sex-Based
  Misconduct and/or Title IX Sexual Harassment
        (a)    Complainants and Respondents in matters involving allegations of Sex-Based
               Misconduct and/or Title IX Sexual Harassment (as defined in Regulation UCF-
               5.008(5) and UCF-5.008(6)) may appeal the finding(s) and sanction(s) imposed
               from a student conduct formal hearing. The appeal must be made in writing to the

                                                                                        41 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 86 of 566 PageID 156



                 Appellate Officer (VP of SDES or designee) within ten (10) business days after
                 the date both the Respondent and Complainant are notified of the decision by the
                 Director of SCAI or designee. The appeal form can be found at
                 https://scai.sdes.ucf.edu/student-appeal/.
         (b)     In cases charged under 5.008(5), Complainants and Respondents may appeal the
                 finding and sanction(s) imposed on the basis of one or more of the following:
                 1.       Irregularities in fairness and stated procedures of the hearing that could
                          have affected the outcome of the hearing.
                 2.       Discovery of new and significant information that could have affected the
                          outcome of the hearing and that was not known or could not reasonably
                          have been discovered and/or presented at the time of the initial hearing.
                 3.       The sanction(s) are extraordinarily disproportionate to the violation(s).

         (c)     In cases charged under 5.008(6), Complainants and Respondents may appeal the
                 finding and sanction(s) imposed on the basis of one or more of the following:

                 1.  Procedural irregularity that materially affected the outcome of the matter
                     (i.e., a failure to follow the University’s own procedures).
            2.       New evidence that was not reasonably available at the time the
                     Determination of Responsibility, or dismissal was made, that could
                     materially affect the outcome of the matter.
            3.       The Decision-Maker(s) had a conflict of interest or bias for or against an
                     individual party, or for or against Complainants or Respondents in general,
                     that materially affected the outcome of the matter.
            4.       The sanction(s) are extraordinarily disproportionate to the violation(s).
        (d) On the appeal form, the student must state the reason(s) for appeal, supporting
            facts, and the recommended solution. Failure to describe the nature of the
            information in full detail in the appeal letter will result in the denial of the appeal.
        (e) The appellate officer shall first determine if sufficient grounds for appeal exist
            and then, if so, the appellate officer may: deny the appeal, thus sustaining the
            initial decision; alter sanction(s); or return the case for a new hearing.
        (f) The appellate officer should issue a written decision to the student’s appeal within
            twenty (20) business days of receipt of the appeal. The written decision shall issue
            to both the Complainant and the Respondent. Should the appellate officer require
            additional time for review beyond the twenty (20) business days, the appellate
            officer shall notify the Complainant and Respondent in writing of the need for
            additional time. Decisions of the appellate officer reflect final university action.
        (g) Any decision by an Appellate Officer to alter sanctions or return a case shall be
            accompanied by a concise and explicit written statement that explains the basis
            for that decision.
  (3) Community ReEngagement and Educational Development (CREED) Program
        (a) The Community ReEngagement and Educational Development (CREED)
            Program is designated for a student to have the opportunity to demonstrate that in
            the period following the conclusion of the Student Conduct Review Process, they
            have taken steps to become a productive and engaged member of the UCF
            Community.


                                                                                         42 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 87 of 566 PageID 157



       (b)   Upon completion of one semester of Disciplinary Probation, Deferred
             Disciplinary Suspension, or Disciplinary Suspension and completion of all
             educational sanctions, a student can request a review of their disciplinary status
             through the Community ReEngagement and Educational Development (CREED)
             Program. Students who have a Z Designation on their transcript are eligible to
             apply once the duration of their Disciplinary Suspension has ended and all
             educational sanctions are complete.
             1.       Students who have been found In Violation of a Rule of Conduct that
                      required an investigation by the Office of Institutional Equity (OIE) are
                      ineligible to apply for relief under the CREED Program.
             2.       Students who have been found In Violation of a Rule of Conduct that had
                      a substantially negative impact on a person or group of people, as
                      determined by SCAI, are ineligible to seek relief under the CREED
                      Program.
       (c)   Requests must be submitted to the Director of SCAI or designee via an online
             CREED Program submission form available at www.scai.sdes.ucf.edu/creed. This
             request can only be submitted once a semester.
       (d)   The Director of SCAI or designee will review applications submitted before the
             semesterly deadline(s) during the application review period(s). Information on
             application deadlines and review periods can be found at
             www.osc.sdes.ucf.edu/creed. The Director of SCAI or designee shall conduct a
             preliminary review to ensure that the student’s request meets the necessary
             eligibility and application requirements. The Director of SCAI or designee must
             communicate the finding of the preliminary review of the application as well as
             the date and time of the CREED Review Meeting that has been scheduled for a
             committee to conduct a review of the student’s application, if applicable. The
             student has three (3) business days from when the Director of SCAI or designee
             sent their preliminary findings to request an alternate date and time of the CREED
             Review Meeting.
       (e)   Prior to this meeting, the committee will have reviewed the submitted packet and
             will prepare questions for the student to address, as well as provide the student
             with the opportunity to further discuss why their disciplinary status should be
             altered or terminated or why the Z Designation should be removed from the
             student’s transcript. No alterations shall be made to include new or increased
             sanctions. Should the committee feel that further information and/or
             documentation is necessary in order to render a recommendation, the review may
             be temporarily recessed. The student will be given ten (10) business days to
             produce the information and/or documentation. Upon receipt of the requested
             information and/or documentation, the committee will reconvene the CREED
             Review Meeting with the student.
       (f)   After the meeting, the committee will issue a recommendation to the Director of
             SCAI or designee. The Director of SCAI or designee will provide a final decision
             to the student in writing within ten (10) business days of receiving the
             recommendation.
       (g)   If the request is denied by the Director of SCAI or designee the final decision
             shall include a concise and explicit written statement that explains the basis for
             that decision and suggested action items for the student’s success.
       (i)   There is no appeal process for a CREED Review Meeting decision.
                                                                                   43 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 88 of 566 PageID 158




  (4) Sealing of Records
        (a)     A student’s conduct record is eligible to be sealed if the incident(s) in question are
                minor and do not result in disciplinary suspension, disciplinary dismissal, or
                disciplinary expulsion and/or if the student is not current on disciplinary probation
                or deferred suspension with all educational sanctions completed in full.
        (b)     A student conduct record may be sealed upon the successful submission and
                review of appropriate paperwork to SCAI.
        (c)     The factors influencing the decision by the Director of SCAI for sealing are the
                severity of the violation, effect of the violation on the University community,
                sanctions applied, completion of sanctions, and ethical development demonstrated
                by the student.
        (d)     There is no appeals process regarding student conduct record sealing.




                                                                                          44 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 89 of 566 PageID 159



  UCF-5.011
  Scope; Authority; Principles of Student Group Responsibility; Violations of
  Law and Rule of Conduct Violations; Conduct Records; Medical Emergencies
  (Alcohol & Drugs)
  (1) Scope
         (a)    The organizational conduct regulations (UCF-5.011, 5.012, and 5.013) shall apply
                to all registered student organizations, including those at its regional campuses
                and/or at off campus instructional sites, and shall be deemed a part of the terms
                and conditions of registered student organization registration. The right of all
                students to seek knowledge, debate ideas, form opinions, and freely express their
                ideas is fully recognized by the University of Central Florida, including when
                students come together as a group.
         (b)    The Organizational Rules of Conduct apply to all registered student organizations
                for conduct that occurs:
                1.       On University premises; or
                2.       During or while participating in University and/or organization sponsored
                         or related activities; or
                3.       During school sessions, holidays, breaks, and university closures; or
                4.       Against students or non-students.
         (c)    The University may take action against a registered student organization for off-
                campus conduct if the conduct is specifically prohibited by law or the
                Organizational Rules of Conduct; or if the conduct poses (or demonstrates that the
                student organization’s continued recognition at the University poses) a danger to
                the health, safety or welfare of the University community; or if the conduct is
                disruptive to the orderly processes and functions of the University.
  (2) Authority
         (a)    The Florida Board of Governors Regulation 6.0105 requires each university to
                establish a Student Disciplinary System, including a code of conduct, to apply to
                student disciplinary proceedings. The Florida Board of Governors Regulation
                6.021 requires each university to establish an anti-hazing policy as part of the
                student code of conduct.
         (b)    These regulations shall ensure a fair and impartial process in registered student
                organizational disciplinary proceedings and guarantee the integrity of the
                university.
         (c)    Generally, authority necessary to enforce the organizational student conduct
                regulations is vested in the Vice President for Student Development and
                Enrollment Services or designee. Selected functions of this authority are shared
                with faculty, staff and students. Some functions of student conduct administration
                are assisted through review boards.
  (3) Definitions. Definitions for terms used in this section, as well as in the Organizational
  Conduct Review Process, are located in UCF-5.006(3).
  (4) Principles of Student Group Responsibility.
         (a)    Any registered student organization can be held responsible for its actions or the
                actions of a collection of its members acting together. Misconduct on the part of
                an individual member(s) may not automatically be sufficient to initiate the
                Organizational Conduct Review Process.

                                                                                       45 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 90 of 566 PageID 160



         (b)     Students may be held accountable as individuals under the Rules of Conduct for
                 their conduct, whether the students are acting in an individual capacity or the
                 students are acting as a member of a registered student organization.
          (c)    The following criteria will be used to determine if a registered student
                 organization can be held responsible for the actions of one or more individuals
                 when those actions result in a violation of the Organizational Rules of Conduct:
                 1.      A violation arises out of an organization-sponsored, financed, or otherwise
                         sanctioned activity or event, where the organization provided the context
                         for the violation.
                 2.      A pattern of individual violations has occurred and/or continues to occur
                         within the organization without adequate control, response, or disciplinary
                         action on the part of the registered student organization or its executive
                         board members or officers.
                 3.      The action resulting in the violation has received either the implied or
                         overt consent of the registered student organization or any executive board
                         members or officers of the registered student organization.
                 4.      The registered student organization or any executive board member or
                         officer of the registered student organization fails to report and take
                         reasonable action against invitees/members responsible for the
                         Organizational Rules Conduct violation.
                 5.      The registered student organization overtly places or implicitly allows
                         active members of the registered student organization to be in a position to
                         act on behalf or with authority of the organization.
                 6.      The registered student organization chooses to protect one or more
                         individual offenders who are active members of the registered student
                         organization from official actions.
          (d)    Should a reported incident occur where an organization is named as allegedly
                 violating an Organizational Rule of Conduct, the University may hold an
                 investigation to gather facts to help provide further context to the original
                 complaint.
  (5) Medical Emergencies. The University of Central Florida highly encourages students and
  registered student organizations to call for medical assistance whenever an individual
  experiences severe intoxication or serious injury after consuming alcohol and/or drugs. Students
  and registered student organizations may be reluctant to call for help for themselves or others
  due to potential involvement from the law enforcement officials or Student Conduct and
  Academic Integrity (SCAI). Due to the serious or life-threatening nature of these medical
  emergencies, the University of Central Florida urges students to contact emergency medical
  services or law enforcement officials if alcohol-related and/or drug-related medical emergencies
  arise. The university’s primary goal is to create a safe environment for its students. Procedures
  and expectations regarding these incidents have been outlined in SCAI Rules of Conduct
  Controlled Substance and Drug Violations and Alcoholic Beverages section and the
  Organizational Rules of Conduct section.
          (a)    Alcohol Emergencies - University Expectations for Student Groups. Student
                 groups may be eligible for exemptions from disciplinary action when a
                 representative of an organization at a student group event calls for emergency
                 assistance on behalf of a person experiencing an alcohol related emergency.
                 Student groupsthat seek medical assistance for alcohol emergencies may receive
                 exemption for violations of the Organizational Rules of Conduct Section UCF-
                                                                                         46 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 91 of 566 PageID 161



                  5.012 6(a)-6(f); however, exemption for other Organizational Rule of Conduct
                  violations may not be granted. Student groups may be eligible for this exemption
                  on a case by case basis at the discretion of the Director of SCAI. Additional
                  information regarding alcohol emergencies can be found at the SCAI website.
          (b)     Drug-Related Emergencies - University Expectations for Student Groups. Student
                  groups may be eligible for exemptions from disciplinary action when a
                  representative of an organization at a student group event calls for emergency
                  assistance on behalf of a person experiencing a drug-related emergency. Student
                  groups that seek medical assistance for drug-related emergencies may receive
                  exemption for violations of the Organizational Rules of Conduct Section
                  UCF5.012 7(a)-7(d); however, exemption for other Organizational Rule of
                  Conduct violations may not be granted. Student groups may be eligible for this
                  exemption on a case by case basis at the discretion of the Director of SCAI.
                  Additional information regarding drug-related emergencies can be found at the
                  SCAI website.
  (6) Violations of Law and Rule of Conduct Violations. Students who commit offenses
  against the laws of municipalities, states, or the United States are subject to prosecution by those
  authorities and may be subject to disciplinary action by the University when their conduct
  violates institutional standards. Students shall not be forced to present self-incriminating
  evidence; however, the University is not required to postpone disciplinary proceedings pending
  the outcome of any civil or criminal case. The Student Organization Conduct process is not a
  criminal or judicial proceeding and is designed to address registered student organization
  behavior as outlined in the Principles of Student Group Responsibility, above; therefore, alleged
  violations of the Organizational Rules of Conduct will be addressed independently of any
  penalty imposed by the courts for the criminal offense.
  (7) Student Organizational Conduct Records
          (a)     Maintenance of Records. A registered student organization’s or other student
                  group’s conduct case record will be maintained in SCAI. The case record of a
                  registered student organization found responsible for charge(s) against them, with
                  sanctions less than organizational suspension or revocation, will generally be
                  maintained in SCAI for seven years from the calendar year of record, after which
                  they are destroyed. The case record of a registered student organization that has
                  been suspended or whose registration has been revoked will be permanently
                  maintained by SCAI.
          (b)     Release of Records. The release of registered student organization and other
                  student group disciplinary records will be governed by applicable federal and
                  state laws regarding the privacy of education records.




                                                                                          47 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 92 of 566 PageID 162



  UCF-5.012 Organizational Rules of Conduct
  Registered student organizations are expected to abide by these Organizational Rules of
  Conduct, and administrators and faculty are expected to enforce them. The prohibition on hazing
  found in Section (10), below, shall apply equally to registered student organizations and other
  student groups, whether or not officially recognized by the University. These rules should be
  read broadly and are not intended to define prohibited conduct in exhaustive terms. These rules
  may be revised during the year; announcements will be made on adoption of changes or
  additions. The right of all students to seek knowledge, debate ideas, form opinions, and freely
  express their ideas is fully recognized by the University of Central Florida, including when
  students come together as student group; accordingly, the the rules below will not be used to
  impose discipline for a student group’s lawful expression of ideas. Spacific restrictions on time
  and place of meetings and assemblies are found in other University regulations or policies and
  student groups are expected to follow those restrictions. The following is a non-exhaustive list of
  prohibited conduct for which disciplinary action may be taken at the University of Central
  Florida.
  (1) Theft, Disregard for Property
         (a)      Malicious or unwarranted damage or destruction of another's property;
         (b)      Taking, attempting to take, or keeping in its possession property or services not
                  belonging to the registered student organization.
         (c)      Misuse or mishandling of organizational funds by any officer, member, or other
                  individual.
  (2) Possessing and/or Providing False and Misleading Information and/or Falsification of
  University Records
         (a)      Withholding related information, or furnishing false, misleading, incomplete, or
                  incorrect information (oral or written).
         (b)      Possession, use or attempted use of any form of fraudulent identification.
         (c)      Forgery, alteration or misuse of any University document, material, file, record or
                  instrument of identification.
         (d)      Deliberately and purposefully providing false or misleading verbal or written
                  information about another person.
         (e)      Falsification, distortion, or misrepresentation of information during an
                  investigation, the student conduct review process, including knowingly initiating
                  a false complaint
   (3) Disruptive Conduct
         (a)      Any act that impairs, interferes with, or obstructs the orderly conduct, processes,
                  and functions of the University or any part thereof or the rights of one or more
                  individuals.
         (b)      Obstructing the free movement of other students around the campus, interfering
                  with the use of University facilities, preventing the normal operation of the
                  University; or conducting any event that interferes with the normal progress of
                  academic events on campus.
         (c)      Engaging in obscene or indecent conduct.
         (d)      Failure to comply with the administrative policies as enacted by the University.
         (e)      Failure to comply with the directions of University officials or authorized agents
                  acting in the performance of their duties. Registered student organization officers
                  and members shall comply with all directions or requests of University officials,
                  University police officers or authorized agents in a timely manner.

                                                                                         48 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 93 of 566 PageID 163



        (f)   Hindering or interfering with the Organizational Conduct Review Process by
              failing to obey the notice from a university official to appear for a student conduct
              meeting or hearing and/or attempting to discourage an individual’s proper
              participating in, or use of, the Organizational Conduct Review Process.
        (g)   Participating in any event with a registered student organization that is currently
              on Organizational Disciplinary Probation (with restrictive conditions) or
              Organizational Deferred Suspension (with restricitive Conditions), is currently
              suspended, or that has had their UCF registration revoked.
        (i)   Failure to comply with any other University regulation or policy as described in
              the UCF Regulations, UCF Policies and Procedures, or University department
              publicized policy.
  (4) Harmful Behavior
        (a)   Physical violence towards another person or group.
        (b)   Discriminatory Harassment: Discriminatory harassment consists of verbal,
              physical, electronic or other conduct based upon a protected class as defined in
              University Policy 2-004, or membership in other protected classes set forth in
              state or federal law that interferes with that individual’s educational or
              employment opportunities, participation in a university program or activity, or
              receipt of legitimately-requested services meeting the description of either Hostile
              Environment Harassment or Quid Pro Quo Harassment, as defined in University
              Policy 2-004 Prohibition of Discrimination, Harassment, and Related.
              Interpersonal Violence.
        (c)   Bullying: Defined as behavior of any sort (including communicative behavior)
              directed at another, that is severe, pervasive, or persistent, and is of a nature that
              would cause a reasonable person or group in the target’s position substantial
              emotional distress and undermine his or her ability to work, study, or participate
              in University life or regular activities, or which would place a reasonable person
              in fear of injury or death.
        (d)   Verbal, digital, or written abuse, threats, intimidation, coercion and/or other
              conduct that endangers the health, safety or well-being of another person or
              group, or which would place a reasonable person in fear of bodily injury or death.
              This definition, however, shall not be interpreted to abridge the rights of the
              University community to freedom of expression protected by the First
              Amendment of the United States Constitution and any other applicable law.
        (e)   Failure to respect the privacy of other individuals.
        (f)   Retaliation against or harassment of Complainant(s), other person(s) alleging
              misconduct, or anyone who participates in an investigation of harassment.
        (g)   Condoning or encouraging acts of harmful behavior as defined above or failing to
              intervene on an act of harmful behavior while it is occurring.
  (5) Sex-Based Misconduct
        (a)   Sexual Assault. Sexual assault means sexul contact without consent.
        (b)   Sexual Harassment: Sexual harassment means any unwelcome sexual advance,
              request for sexual favors, or other unwanted conduct of a sexual nature, whether
              verbal, non-verbal, graphic, physical, or otherwise, when the conditions for
              Discriminatory Harassment as defined in UCF Policy 2-004 are present. Sexual
              Harassment may include inappropriate touching, acts of sexual violence,
              suggestive comments and public display of pornographic or suggestive calendars,
              posters, or signs where such images are not connected to any academic purpose.
                                                                                        49 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 94 of 566 PageID 164



               A single incident of nonconsensual sexual contact (as defined above) may be
               sufficiently severe to constitute sexual harassment.
         (c)   Gender-Based Harassment: Gender-based harassment is discriminatory
               harassment that is based on gender, sexual orientation, gender identity, or gender
               expression, which may include acts of aggression, intimidation, or hostility,
               whether verbal or non-verbal, graphic, physical, or otherwise, even if the acts do
               not involve conduct of a sexual nature, when the conditions for Discriminatory
               Harassment as defined in UCF Policy 2-004 are present.
         (d)   Obscene or Indecent Behavior - Exposure of one’s body in such a manner that
               another party reasonably could be offended or to display sexual behavior which
               another person reasonably finds offensive.
         (e)   Voyeurism - Trespass, spying, or eavesdropping for the purpose of sexual
               gratification.
         (f)   Solicitation of a Minor – soliciting sexual acts from a minor by oral, written, or
               electronic means.
         (g)   Child Pornography – possessing, producing or the dissemination of child
               pornography
         (h)   Stalking: Stalking occurs when there is a coordinated course of conduct directed
               at a specific person under circumstances that would cause a reasonable person to
               fear for the person’s safety or the safety of others, or to experience substantial
               emotional distress. A “course of conduct” is two or more acts, including but not
               limited to acts in which a person directly, indirectly, or through third parties, by
               any action, method, device, or means, follows, monitors, observes, surveils,
               threatens, or communicates to or about another person, or interferes with another
               person’s property. Stalking includes “cyber-stalking,” a particular form of
               stalking in which a person uses electronic media, such as the internet, social
               networks, blogs, phones, texts, or other similar devices or forms of contact.
               Stalking may include, but is not limited to: non-consensual communications (face
               to face, telephone, e-mail); threatening or obscene gestures;
               surveillance/following/pursuit; showing up outside the targeted individual’s
               classroom or workplace; sending gifts and/or notes (romantic, bizarre, sinister, or
               perverted); and/or making threats.
         (i)   Sexual Exploitation: Sexual Exploitation is purposely or knowingly doing or
               attempting to do any of the following:
               1. Recording or photographing private sexual activity and/or a person’s intimate
                    parts (including genitalia, groin, breasts or buttocks) without consent;
               2. Disseminating or posting images of private sexual activity and/or a person’s
                    intimate parts (including genitalia, groin, breasts or buttocks) without
                    consent;
               3. Allowing third parties to observe private sexual activity from a hidden
                    location (e.g., closet) or through electronic means (e.g., Skype or
                    livestreaming of images);
               4. Subjecting another person to human trafficking; or
         (k)   Any attempted acts of Sex-Based Misconduct are also violations of this policy.
  (6) Alcohol Related Misconduct
         (a)   Use and/or possession of alcoholic beverages, except as expressly permitted by
               law and University regulations/policies.

                                                                                       50 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 95 of 566 PageID 165



         (b)     Sale and/or distribution of alcoholic beverages, except as expressly permitted by
                 the law and University regulations/policies.
         (c)     Furnishing or causing to be furnished any alcoholic beverage to any person under
                 the legal drinking age.
         (d)     Behavior under the influence of alcohol.
         (e)     Furnishing or causing to be furnished any alcoholic beverage to any person in a
                 state of noticeable intoxication.
         (f)     Failure of a registered student organization to take all necessary steps to see that
                 no person under the legal drinking age possesses alcoholic beverages at functions
                 it sponsors or within any property or transportation it owns, operates, and/or rents.
         NOTE: Registered student organizations may be eligible for exemptions from
         disciplinary action when a representative of an organization at a registered student
         organizational event calls for emergency assistance on behalf of a person experiencing an
         alcohol related emergency. Information regarding exemptions under this rule for alcohol
         related emergencies can be found in University Regulation UCF–5.011 and the Student
         Conduct & Academic Integrity website: http://scai.sdes.ucf.edu/medicalemergencies..


   (7) Drug Related Misconduct
           (a)     Unlawful use and/or possession of any narcotic or other controlled substances,
                   and possession and/or use of drug paraphernalia.
           (b)     Sale and/or distribution of any narcotic or other controlled substances.
           (c)     Cultivation and/or manufacture of any narcotic or other controlled substances.
           (d)     Attempt to obtain any narcotic or other controlled substances, except as expressly
                   permitted by law.
           NOTE: Registered student organizations may be eligible for exemptions from
           disciplinary action when a representative of an organization at a registered student
           organizational event calls for emergency assistance on behalf of a person experiencing a
           drug related emergency. Information regarding exemptions under this rule for drug
           related emergencies can be found in University Regulation UCF – 5.011 and the Student
           Conduct and Academic Integrity website: http://scai.sdes.ucf.edu/medicalemergencies.
  (8) Unauthorized Entry. Unauthorized entry, attempted entry, or loitering in private or
  restricted areas that are owned and/or operated by the University.
  (9) Gambling
           (a)     Play or sponsor of an unlawful game of chance for money or for anything of value
                   on University premises or at any affair sponsored by a registered student
                   organization.
           (b)     Unlawful sale, barter, or disposition of a voucher or any item for participation in a
                   scheme of chance by whatever name on University premises or at any activity
                   sponsored by a registered student organization
           (c)     Wagering on a University team or organization in a competition, with or without
                   intent to have a direct influence in the success of the competition
  (10) Hazing
           (a)     Hazing is any action or situation that recklessly or intentionally endangers the
                   mental or physical health and/or safety of a student for purposes including but not
                   limited to initiation or admission into, or association or affiliation with, any
                   registered student organization or other group whether or not officially
                   recoginized by the University. Hazing which violates Florida Statutes may result
                                                                                            51 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 96 of 566 PageID 166



                 in felony charges. A student may commit an act of hazing whether the student is a
                 prospective, current, or former member of the organization or group. The actions
                 of active, associate, new and/or prospective members, former members, or alumni
                 of a registered student organization or other student group may be considered
                 hazing under this rule.
          (b)    Hazing includes brutality of a physical nature such as whipping, beating,
                 branding, forced calisthenics, exposure to the elements; forced consumption of
                 any food, liquor, liquid, drug, or other substances; or other forced elements; or
                 other forced activity which could adversely affect the mental or physical health or
                 safety of the individual.
          (c)    Hazing includes any activity that could subject the individual to extreme mental
                 or physical stress such as sleep deprivation, forced exclusion from social contact,
                 forced conduct that could result in extreme embarrassment, or any other activity
                 that could adversely affect the mental or physical health or dignity of the
                 individual.
          (d)    Hazing includes forcing, pressuring, coercing, or requiring the violation of
                 University policies, federal, state, or local law.
          (e)    Hazing includes soliciting a person to commit or being actively involved in the
                 planning of any act of hazing as defined above where the act of hazing creates a
                 substantial risk of physical injury or death to the person(s) hazed.
          (f)    It is not a defense to an allegation of hazing that:
                 1.       the consent of the victim had been obtained;
                 2.       the conduct or activity that resulted in the death or injury of a person was
                          not part of any official organizational event or otherwise sanctioned or
                          approved by the student organization or group; or
                 3.       the conduct or activity that resulted in the death or injury of a person was
                          not done as a condition of membership into a student organization.
          (g)    Hazing does not include customary athletic events or other similar contests or
                 competitions or any activity or conduct that furthers a legal and legitimate
                 objective.
          (h)    All student groups, whether or not registered with the University and whether or
                 not officially recognized by the University are subject to the same hazing
                 prohibitions set out in this section (10). With regard to student groups that are not
                 registered students organizations, and against which there is an allegation of
                 hazing, the principles of group responsibility and scope provisions of University
                 Regulation 5.011(1)(b), (1)(c), and (4) shall apply, as well as the conduct
                 proceeding procedures of University Regulation 5.013.
  (11) Outstanding Debt. Failure to pay on and off campus vendors in a timely manner. Groups
  shall not knowingly enter into purchase or rental agreements that are beyond the resources of the
  organization’s ability to pay. The University will not cover outstanding debts of registered
  student organizations.
  (12) Use of Facilities. Failure to comply with University regulations and procedures for campus
  events and/or use of campus facilities or grounds. Those individuals acting on behalf of an
  organization that reserve facilities should check with the University department or office
  responsible for the facility to guarantee that all procedures have been followed.
   (13) Fire Safety and Sanitation
          (a)    Tampering with or damage to fire safety equipment.

                                                                                          52 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 97 of 566 PageID 167



         (b)      Causing, condoning, or encouraging the creation of any situation involving
                  incendiary or other chemicals or substances, explosives, or fire that reasonably
                  may result in danger to another’s person or property.
          (c)     Possession or use of illegal fireworks, incendiary devices, or dangerous
                  explosives.
          (d)     Failure to properly maintain a registered student organization's facilities or
                  property (or surrounding property) such that a potential danger to the health and
                  safety of the occupants or members of the University and surrounding community
                  is created.
  (14) Advertising
          (a)     Origination or circulation of any advertising media that contains matter that
                  violates federal, state and/or local laws.
          (b)     Origination or circulation of any advertising media containing false or misleading
                  information.
  (15) Solicitation and Fundraising. Failure to comply with applicable law and University
  regulations and procedures for solicitation and fundraising activities on campus.
  16) University Wordmark Violations. Unauthorized use of the University's name,
  abbreviation, trademarks or wordmarks, including the Pegasus, monograms, seal, or other
  graphic identity symbols. The phrases "UCF" or "University of Central Florida" (or some form
  thereof) cannot precede the title of the organization. This section refers to but is not limited to,
  the registered student organization’s: domain name, web address, promotional materials, and
  uniforms/shirts.
  (17) Academic Misconduct
          (a)     Unauthorized academic assistance: Using or attempting to use unauthorized
                  materials, information or study aids in any academic exercise unless specifically
                  authorized by the instructor of record.
          (b)     The unauthorized possession of examination or course related material.
          (c)     Commercial Use of Academic Material: Selling of course material to another
                  person, student, and/or uploading course material to a third party vendor without
                  authorization or without the express written permission of the University and the
                  Instructor. Course materials include but are not limited to class notes, Instructor’s
                  power points, tests, quizzes, labs, instruction sheets, homework, study guides,
                  handouts, etc.
          (d)     Knowingly helping any student violate academic behavior standards.
  (18) Violation of Local, State, and/or Federal Laws. Violation of any local, state and/or
  federal law that may result in a felony or misdemeanor.
  (19) Complicity. The following offenses, or the aiding, assisting, condoning, or attempting to
  commit these offenses, constitute violations of the Organizational Rules of Conduct.




                                                                                           53 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 98 of 566 PageID 168



  UCF-5.013 Organization Conduct Review Process; Sanctions; Appeals
  (1) Violation Reports
       (a) Alleged violations of the UCF Organizational Rules of Conduct shall be reported in
              writing to the Director of Student Conduct and Academic Integrity or designee.
              Incident reports can be submitted for information purposes only, for information
              purposes with the requirement that the registered student organization attend an
              academic integrity seminar, or to initiate the student conduct review process. Upon
              receiving an incident report, the Director of SCAI or designee may review relevant
              information and consult with relevant parties regarding the incident in question.
              Where deemed necessary to protect the health and safety of any individual, the
              student body, or any part of the University or its community, the Director of SCAI or
              designee, upon notifying the VP of SDES or designee, may take immediate action to
              resolve the situation by placing the registered student organization on interim
              organizational suspension. Interim organizational suspension is not a sanction.
              Interim organizational suspension is preliminary in nature; it is in effect only until
              there is a resolution of the registered student organization conduct matter. Interim
              organizational suspension is subject to review at a hearing within ten (10) business
              days by the VP of SDES or designee to determine the status of the interim
              organizational suspension. The outcome of an interim organizational suspension
              hearing shall remain in effect until the final disposition of formal charges resulting
              from the circumstances of the case, unless the VP of SDES or designee shall decide
              otherwise.
       (b) The Director of SCAI will refer all information warranting disciplinary action and
              assign the case to the appropriate staff member. SCAI will send written notification
              to the chief officer of the registered student organization at their UCF mailing
              address indicating the nature of the activity in question and what Organizational
              Rules of Conduct were allegedly violated. The chief officer of the registered student
              organization shall serve as the organization’s representative in the organization
              conduct review process.
       (c) Upon receipt of an incident report SCAI has six months to charge a registered
              student organization with a violation of the Organizational Rules of Conduct. SCAI
              may exercise discretion when applying the time provision to account for
              circumstances that warrant a waiver of the six month time limit from the date the
              violation report was filed.
       (d) A registered student organization charged with alleged violations of the
              Organizational Rules of Conduct (see UCF-5.012) will receive notice to attend a
              mandatory preliminary conference with SCAI. If the registered student organization
              fails to attend the mandatory preliminary conference without providing a satisfactory
              reason for the absence, the registered student organization may be placed on
              immediate social probation until such time as the registered student organization
              completes the mandatory preliminary conference. During the mandatory preliminary
              conference the registered student organization will receive information regarding the
              Registered Student Organization Conduct Review Process, including the registered
              student organization’s rights during the process; an opportunity to inspect and/or
              review the information known at the time charges were prepared and how to contact
              the Student Government Association Judicial Advisor. At the conclusion of the


                                                                                        54 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 99 of 566 PageID 169



              mandatory preliminary conference, one of the following will occur: case dismissal,
              mediation, informal hearing, or formal hearing.
       (e) Social probation includes but is not limited to the prohibition of the following: any
              on or off campus fundraisers, socials, intramural competitions, receptions, service
              projects, conferences, retreats, etc. The organization may also not be able to update
              its registration until such time that it appears before a hearing. Groups under social
              probation may gather at regularly scheduled business meetings.
  (2) Options for Resolution of Disciplinary Charges
       (a) Case Dismissal: The Director of SCAI or designee may dismiss a case if it is found
              to not have sufficient facts or evidence to substantiate the claim of misconduct or the
              misconduct is not a violation of the organizational rules of conduct.
       (b) Mediation: Depending on the nature and severity of the alleged violation, SCAI may
              recommend formal mediation through the Office of Student Rights and
              Responsibilities as an alternative to disciplinary action. The involved parties must
              each agree to mediation. Mediation is a confidential process where the parties
              voluntarily meet with an impartial mediator to communicate their concerns and
              needs to each other and to reach their own agreement on the resolution of the case.
              The participants in mediation are responsible for keeping their agreement or
              renegotiating it, if necessary. In the event that the participants do not agree to
              mediate or mediate but do not reach a full and final resolution, the case will be
              referred back to SCAI for disciplinary action through an informal or a formal
              hearing. Breach of a mediated agreement may result in a follow up mediation
              session or the matter may be referred back through the conduct process at the
              discretion of SCAI.
       (c) Informal Hearing: At the discretion of SCAI, violations found not to warrant a
              formal hearing may be referred to an informal hearing. At the informal hearing the
              charged registered student organization has the opportunity to meet with an SCAI
              staff member and accept responsibility for the charges of violation of the
              Organizational Rules of Conduct. At the informal level the matter will be settled by
              the following outcomes: punitive sanction (organizational warning, organizational
              probation, organizational probation with restrictions, deferred organizational
              suspension) as well as educational sanctions (papers, seminars, community service,
              etc.). If the matter is not settled informally, the case will be resolved through a
              formal hearing.
       (d) Formal Hearing: If an alleged violation of the Organizational Rules of Conduct is not
              dismissed or otherwise resolved, then SCAI shall present in writing formal charges
              to the registered student organization. The charged registered student organization
              may request either a panel or administrative hearing. The charged registered student
              organization’s hearing shall only be open to the charged registered student
              organization’s chief officer, their advisor, the hearing body, witnesses (when called
              upon), a representative from SCAI, and a university staff member from an
              appropriate office (Office of Student Involvement, Office of Fraternity and Sorority
              Life, Recreation and Wellness Center, etc.).
  (3) Formal Hearings. There are two types of formal hearings – panel hearings and
  administrative hearings.
       (a) Panel Hearings.
              1.     A panel to consider an organizational case shall be comprised of members
                     from the SCAI Student Conduct Board. The panel shall consist of two (2)
                                                                                         55 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 100 of 566 PageID 170



                   faculty and administrative staff members combined and two (2) student
                   members that have been trained by SCAI to hear organizational cases. One
                   panel member shall be selected by SCAI to chair the hearing and report the
                   proposed finding(s) and sanction(s), if any, to the Director of SCAI or
                   designee.
             2.    At hearings conducted by a panel, a SCAI staff member shall act as an advisor
                   to the panel. The Director of SCAI shall receive the panel’s proposed
                   finding(s) as to "in violation" or "not in violation" of the Organizational Rules
                   of Conduct and consider any sanctions proposed by the panel.
             3.    The Director of SCAI or designee may accept the proposed finding(s) of “in
                   violation” or “not in violation” or remand the case for rehearing. If the Director
                   of SCAI or designee accepts the proposed finding of “in violation,” they may
                   approve, mitigate or increase the sanctions proposed by the panel.
             4.    Any decision by the Director of SCAI or designee to alter sanctions or return a
                   case shall be accompanied by a concise and explicit written statement that
                   explains the basis for that decision.
       (b)   Administrative Hearings
             1.    Administrative hearings shall be conducted by a faculty or staff member from
                   the Student Conduct Board trained by SCAI to hear organizational cases. The
                   charged registered student organization shall be informed of the hearing officer
                   assigned to its case and shall have the opportunity to challenge the impartiality
                   of the individual within three (3) business days of notification. The charged
                   registered student organization shall state in writing the basis for such
                   challenge. A hearing officer so challenged will be excused; however,
                   indiscriminate challenges shall not be permitted. In the event that a charged
                   registered student organization has opted not to challenge the impartiality of a
                   hearing officer prior to the allotted three (3) business days, the assigned
                   hearing officer shall remain as scheduled.
             2.    At hearings conducted by an administrative hearing officer, a SCAI staff
                   member shall act as an advisor to the administrative hearing officer. The
                   Director of SCAI or designee shall receive the administrative hearing officer’s
                   proposed finding(s) as to "in violation" or "not in violation" of the
                   Organizational Rules of Conduct, and consider any sanctions proposed by the
                   administrative hearing officer.
             3.    The Director of SCAI or designee may accept the proposed finding(s) of “in
                   violation” or “not in violation” or remand the case for rehearing. If the Director
                   of SCAI or designee accepts the proposed finding(s) of “in violation,” they
                   may approve, mitigate or increase the sanctions proposed by the administrative
                   hearing officer.
             4.    Any decision by the Director of SCAI or designee to alter sanctions or return a
                   case shall be accompanied by a concise and explicit written statement that
                   explains the basis for that decision.
       (c)   Conduct of Formal Hearings - the following is furnished as a guide to the events in a
             formal hearing. Please note that all formal hearing proceedings are recorded. The
             recording is part of the official record of the hearing and no other recordings are
             permitted.
             1.    Reading of charges.
             2.    Registered student organization response of “in violation” or “not in violation.”
                                                                                         56 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 101 of 566 PageID 171



              3.    Presentation of information in support of the charges.
              4.    Opening statement by the charged registered student organization.
              5.    Questioning of the charged registered student organization by the hearing
                    body.
             6.     Presentation and questioning of witnesses in support of the charges.
             7.     Presentation and questioning of witnesses by the charged registered student
                    organization.
             8.     Final questions of the charged student organization by the hearing body.
             9.     Closing remarks by the charged registered student organization.
             10. Hearing is brought to a close.
             11. Registered student organization is scheduled for a meeting to discuss the
                    hearing body’s proposed finding(s) and recommended sanction(s), if any.
        (d) Deliberations by the panel or the administrative hearing officer are not part of the
             hearing and are confidential. Deliberations occur after the closure of the hearing and
             are not recorded.
        (e) Case Record for Formal Hearing - The case record shall consist of the following
             items:
             1.     A copy of the formal charges in writing.
             2.     A recording of the formal hearing.
             3.     All staff memoranda submitted.
             4.     All items of physical or written documentation submitted, provided such items
                    are not returned to a rightful owner. In that case, photographs or other
                    facsimiles shall be made before return.
             5.     The Director of SCAI’s decision.
        (f) Student Conduct Board members for panel and administrative formal hearings are
             selected through an annual application and interview process with the exception of
             the justices from the Student Government Association Judicial Branch. All Student
             Conduct Board members, including justices, receive annual training from SCAI.
             Student Conduct Board members who serve on hearings related to allegations of sex
             discrimination, including but not limited to relationship violence, sexual assault, sex
             harassment, and stalking receive additional training annually.
  (4) Registered Student Organization Rights during the Formal Conduct Review Process -
  The following rights shall be explained to the charged registered student organization before the
  commencement of a formal disciplinary hearing:
        (a) The charged registered student organization shall be afforded written notice, at least
             five (5) business days prior to a formal hearing, unless waived in writing. Written
             notice sent to the chief student officer of the charged registered student
             organization’s electronic and/or physical address shall constitute full and adequate
             notice. Written notice shall include:
             1.     The name of the organization, the chief student officer’s name and
                    organization’s address, if applicable.
             2.     Date, time and location of the formal hearing
             3.     Alleged Organizational Rule of Conduct Violation(s) known at the time formal
                    charges are prepared.
             4.     Names of potential witnesses known at the time that formal charges are
                    prepared.
             5.     A description of any physical or written documentation known at the time
                    charges are prepared.
                                                                                        57 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 102 of 566 PageID 172



             Provided that the required notice stated above has been given to the registered student
             organization along with its representative(s) but a representative failed to attend a
             scheduled formal hearing without providing a satisfactory reason for the absence, the
             organization may be placed on immediate social probation until such time as the
             organization completes the formal hearing and any further steps in the conduct
             process. The organization will also not be able to update its registration while on
             social probation.
       (b)    The registered student organization may have at their own expense and initiative, an
              advisor present at the hearing. It is the registered student organization’s
              responsibility to make appropriate arrangements for the advisor to attend the hearing,
              and the hearing shall not be delayed due to scheduling conflicts of the chosen
              advisor. The advisor may be present to advise the registered student organization but
              shall not speak for or present the case for the registered student organization or
              otherwise participate directly in the proceeding. A registered student organization
              may consult with their advisor at any time during the hearing. This consultation
              must take place in a manner that does not disrupt the proceedings. A registered
              student organization’s advisor must not be connected to the actual conduct case or a
              related case. In addition, an advisor may not serve as a witness. If the advisor does
              not adhere to their defined role in the student conduct review process, they may be
              removed from the hearing. SCAI shall maintain a list of impartial advisors and
              resources available to the registered student organization.
       (c)    All hearings shall be conducted on the basis that the charged registered student
              organization is not in violation until the preponderance of evidence proves otherwise.
              At a student conduct organizational hearing, the technical rules of evidence
              applicable to civil and criminal cases shall not apply. The burden of proof in a
              student conduct hearing is not on the registered student organization charged with a
              violation of the Organizational Rules of Conduct.
       (d)    The registered student organization's chief officer or designee may inspect any
              information presented in support of the charges. Information may be presented in
              support of the charged student organization.
       (e)    The university cannot compel any person serving as a witness to attend a registered
              student organizational hearing. However, all parties to a registered student
              organizational conduct hearing may arrange for witnesses to voluntarily present
              relevant information during the proceeding. Pertinent information may be accepted
              as information for consideration by the person or body conducting the registered
              student organizational formal hearing. The registered student organization may hear
              and question adverse witnesses who testify at the registered student organizational
              formal hearing.
       (f)    The registered student organization shall not be forced to present information that
              incriminates its individual members; however, the University is not required to
              postpone disciplinary proceedings pending the outcome of any civil or criminal
              prosecution.
       (g)    Should the registered student organization fail to attend the scheduled formal
              hearing, the hearing will be held in the registered student organization’s absence and
              the proposed findings, including any recommended sanctions, will be made using the
              information available at the time of the scheduled formal hearing.


                                                                                        58 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 103 of 566 PageID 173



        (h)   The proposed finding(s), as well as the Director of SCAI’s determination, of "in
              violation" or "not in violation" on the charges shall be based solely on the
              information presented at the registered student organizational formal hearing.
       (i) Only if the proposed finding(s) of the hearing body is that the registered organization
              is in violation, will prior conduct history be reviewed and potentially affect the
              proposed sanctioning.
       (j) The final decision shall be furnished in writing to the registered student organization
              within fifteen (15) business days following the hearing. Should SCAI need additional
              time, the deadline can be extended by the Director of SCAI or designee by notifying
              the charged organization.
       (k) The registered student organization's registration status shall remain unchanged
              pending the University's final decision in the matter except in cases where the VP of
              SDES or designee determines that the safety, health, or general welfare of any
              individual, or any part of the University may be involved.
  (5) Additional Procedures in Cases of Sex-Based Misconduct. Where a registered student
  organization is charged with sexual misconduct and other identified sex-based misconduct, the
  procedures outlined in UCF-5.006(11) will apply in addition to the procedures of the
  Organization Conduct Review Process.
  (6) Sanctions for Registered Student Organizations
       (a) Organizational Warning: An official warning that the organization's behavior is in
              violation of the Organizational Rules of Conduct and that if the organization is
              subsequently found in violation of a rule, subsequent action may be more severe.
       (b) Organizational Probation: A period of time during which any further violation of the
              Organizational Rules of Conduct puts the registered student organization’s status with
              the University in jeopardy. Restrictive conditions may also be imposed as part of
              organizational probation and will vary according to the severity of the offense.
              Restrictive conditions may include barring or limiting some or all of the organization's
              activities and/or privileges (including, but not limited to: social activities; intramural
              competition; organizational competition; Homecoming; eligibility to receive any
              University award or honorary recognition; privilege to occupy a position of leadership
              or responsibility in any University registered student organization governing body,
              publication, or activity; or ability to represent the University in an official capacity or
              position). If a registered student organization is found “in violation” for another
              violation of the Organizational Rules of Conduct while on organizational probation,
              more severe sanctions may be imposed.
       (c) Organizational Deferred Suspension – Organizational deferred suspension is used for
              offenses found serious enough to warrant organizational suspension, but where the
              specific circumstances of the case mitigate the offense or for repeated offenses of a
              less serious nature. Organizational deferred suspension is a designated period of time
              during which a registered student organization is given the opportunity to
              demonstrate the ability to abide by the community’s expectations of behavior
              articulated in the Organizational Rules of Conduct. During an organizational
              deferred suspension, the registered student organization will be officially suspended
              from the university, but the organizational suspension will be deferred, meaning that
              the registered student organization may continue to operate with sanction-specific
              restrictions. Organizational suspension will be enforced should the registered student
              organization fail to complete any of the assigned sanctions by the deadline(s) and/or
              for any subsequent violation of the Organizational Rules of Conduct unless the
                                                                                            59 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 104 of 566 PageID 174



            Director of SCAI determines otherwise in exceptional circumstances. If the
            registered student organization is found in violation for any violation of the
            Organizational Rules of Conduct that occurred while on deferred suspension status,
            including failure to complete any assigned sanctions by the deadline(s), the
            registered student organization will be suspended for a minimum of two (2)
            semesters in addition to any educational sanctions imposed for the subsequent
            violation. Registered student organizations on organizational deferred suspension
            may be limited in their abilities to represent the University in intramural sporting
            events, extracurricular activities, or official functions. The duration of any
            organizational deferred suspension period and the specific restrictions imposed will
            be determined by SCAI on a case-by-case basis.
       (d) Organizational Suspension: While on organizational suspension the registered
            student organization loses it University recognition and/or registration for a
            temporary period of time. While an organization is suspended, it may not use
            University resources or participate as an organization in any University activities or
            events unless authorized in writing in advance under conditions approved by the
            Director of SCAI or designee. Additional provisions may be assigned that further
            outline University expectations while on Organizational Suspension Status.
       (e) Revocation of UCF Registration: Permanent severance of the organization's
            relationship with UCF.
       (f) Recommendation for Charter Revocation: An official request to a national office that
            the local chapter's charter be revoked.
       (g) Educational Sanctions: In conjunction with any sanction listed above, a registered
            student organization found to have been in violation of any of the Organizational
            Rules of Conduct will be assigned educational sanctions that are proportional to the
            violation such as, but not limited to: reflective/research papers, classes/seminars,
            community service, restitution, interviews, etc. If a registered student organization
            has any outstanding educational sanctions at the conclusion of organizational
            probation or organizational suspension, the organizational probation or
            organizational suspension will remain in effect pending completion of the
            educational sanctions.
  (7) Appeal within the Registered Student Organization Review Process
       (a) A student organization found in violation as a result of a hearing may appeal the
            finding(s) and sanction(s) imposed. The appeal must be made in writing to the
            appellate officer (VP of SDES or designee) within ten (10) business days after the
            date the registered student organization was notified of the decision by the Director
            of SCAI.
       (b) Registered student organizations may appeal the finding(s) and sanction(s) imposed
            on the basis of one or more of the following:
            1.     Irregularities in fairness and stated procedures of the hearing that substantially
                   affected the outcome of the hearing.
            2.     Discovery of new and significant information that would be likely to change
                   the outcome of the hearing and that was not known or could not reasonably
                   have been discovered and/or presented at the time of the initial hearing.
            3.     The sanction(s) are extraordinarily disproportionate to the violation(s).
       (c) On the appeal form, the registered student organization must state the reason(s) for
            appeal, the supporting facts, and the recommended solution. This is not a re-hearing
            of the conduct case. An appeal cannot be filed simply because a registered student
                                                                                         60 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 105 of 566 PageID 175



            organization is dissatisfied with the decision. Failure to describe the nature of the
            information in full detail in the appeal letter will result in the denial of an appeal.
        (d) The appellate officer shall first determine if sufficient grounds for appeal exist and
            then, if so, may either deny the appeal, thus sustaining the initial decision and
            sanction(s), or do one of the following:
            1.     If the registered student organization alleges that the sanction was
                   disproportionate to the violation(s) and the appellate officer finds the sanction
                   to be disproportionate, the appellate officer may alter the sanction; or.
            2.     If the registered student organization alleges that there was a defect in
                   procedure or new information was presented which was sufficiently substantial
                   to have affected the outcome and the appellate officer agrees, the appellate
                   officer will order a new hearing.
        (e) The registered student organization shall receive a written decision to the appeal.
            There is no definitive timeline for receiving an appeal response. It depends on many
            factors including the complexity of the case and the information mentioned in the
            appeal, as well as the appellate officer's appeal load at that particular time. Decisions
            of the VP of SDES or designee reflect final agency action.
        (f) Any decision by Appellate Officer to alter sanctions or return a case shall be
            accompanied by a concise and explicit written statement that explains the basis for
            that decision.
        (g) If the Appellate Officer upholds the original findings, the effective date of any
            disciplinary sanction(s) imposed will revert back to the date of the Director of
            SCAI’s final decision letter.
   (8) Community ReEngagement and Educational Development (CREED) Program
        (a) The Community ReEngagement and Educational Development (CREED) Program is
            designated for a student organization to have the opportunity to demonstrate that in
            the period following the conclusion of the Student Conduct Review Process, they
            have taken steps to become a productive and engaged organizational member of the
            UCF Community.
        (b) Upon completion of one semester of the Organizational Probation or Organizational
            Deferred Suspension and upon completion of all educational sanctions/requirements,
            a registered student organization can request modification of their organizational
            disciplinary status through the CREED Program.
            1.     Registered student organizations that have been found in violation of a
                   Organizational Rule of Conduct that required an investigation by the Office of
                   Institutional Equity (OIE) are ineligible to apply for relief under the CREED
                   program.
            2.     Registered student organizations that have been found in violation of a rule of
                   conduct that had a substantially negative impact on a person or group of
                   people, as determined by SCAI, are ineligible to seek relief under the CREED
                   program.
        (c) Requests must be submitted to the Director of SCAI or designee via an online
            Student Organization CREED Program Submission form that can be found at
            https://scai.sdes.ucf.edu/creed-program/.
        (d) The CREED Program is designed for registered student organizations to have the
            opportunity to demonstrate that in the period following a violation of the
            Organizational Rules of Conduct, they have taken steps to become productive and
            engaged members of the UCF community. Student organizations that simply fulfill
                                                                                         61 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 106 of 566 PageID 176



             the minimum requirements of their sanction(s) will not be eligible for the CREED
             Program.

       (e)   Upon receipt of the CREED Program form, the Director of SCAI or designee Shall
             conduct a preliminary review to ensure that the registered student organization’s
             request meets the necessary eligibility and application requirements. The Director of
             SCAI or designee must communicate the finding of the preliminary review of the
             application as well as the date and time of the “CREED review meeting” that has
             been scheduled for a committee to conduct a review the registered student
             organization’s application, if applicable. The organization has three (3) business days
             from when the Director of SCAI or designee sent their preliminary findings to
             request an alternate date and time for the “CREED review meeting.”
       (f)   Prior to this meeting, the committee will have reviewed the packet and will prepare
             questions to be addressed, as well as provide the opportunity to further discuss why
             the registered student organization’s organizational disciplinary status should be
             altered or terminated. No alterations shall be made to include new or increased
             sanctions. Should the committee feel that further information and/or documentation
             is necessary in order to render a recommendation, the review may be temporarily
             recessed. The registered student organization will be given ten (10) business days to
             produce the information and/or documentation the committee requested. Upon
             receipt of the requested information and/or documentation, the committee will
             reconvene the CREED review meeting with the registered student organization.
       (g)   After the meeting, the committee will issue a recommendation to the Director of
             OSCAI or designee. The Director of SCAI or designee will provide a final decision
             to the registered student organization in writing within ten (10) business days of
             receiving the recommendation. (h) If the request is denied by the Director of SCAI or
             designee the decision shall include a concise and explicit written statement that
             explains the basis for that final decision.
       (i)   There is no appeal process for a Registered Student Organization Disciplinary
             CREED Review meeting decision.




                                                                                        62 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 107 of 566 PageID 177



  UCF-5.015 Student Academic Behavior Standards
  (1) The Office of Undergraduate Studies, College of Graduate Studies, Registrar’s Office, and
  the Office of Student Rights and Responsibilities will review this regulation periodically.
  (2) UCF is committed to a policy of honesty in academic affairs. Conduct that comprises a
  breach of this policy may result in academic action and/or disciplinary action. Academic action
  affects student assignments, examinations or grades. Disciplinary action could affect student
  enrollment status.
  (3) Academic misconduct includes but is not limited to cheating, plagiarism, assisting another in
  cheating or plagiarism, and commercial use of academic materials. Violations of academic
  misconduct at the undergraduate and graduate level are listed and defined in the Rules of
  Conduct (UCF-5.008)
  (4) Alleged violations of the UCF Rules of Conduct (Academic Misconduct) shall be reported in
  writing to the Director of Student Conduct and Academic Integrity (SCAI) or designee. When an
  instructor becomes aware of an alleged violation of academic misconduct, the instructor must
  document the alleged violation(s) through the Academic Misconduct Report Form (AMR),
  available at http://scai.sdes.ucf.edu. Upon receiving an alleged violation of academic
  misconduct, the Director of SCAI or designee may review relevant information and consult with
  relevant parties regarding the incident in question.
         (a)   The Director of SCAI will refer all information warranting disciplinary action to
               the SCAI. SCAI will send notification to the student indicating the nature of the
               activity in question and what university rules were allegedly violated.
         (b)   Upon receipt of an AMR form SCAI has six months to charge a student with a
               violation of academic misconduct. SCAI may exercise discretion when applying
               the time provision to account for circumstances that warrant a waiver of the six
               month time limit from the date of discovery.
         (c)   Students charged with alleged violations of academic misconduct will receive
               notice to attend a required preliminary conference with SCAI to discuss the
               charges. If the student fails to attend the conference, a hold will be placed on the
               student’s record, preventing them from registering for future classes until the
               matter is resolved. Students who leave the university or withdraw from a class
               before a disciplinary matter is resolved may be prohibited from future enrollment
               until the matter is resolved. The purpose of this meeting is to provide the student
               with information regarding the student conduct review process, including the
               student’s rights during the process; an opportunity to inspect and/or review the
               information known at the time charges are prepared, and notice of how to contact
               the impartial advisor. At the conclusion of the meeting, SCAI will recommend an
               option for resolution of the academic misconduct charges. These options are case
               dismissal, informal hearing, or academic formal hearing
  (5) Options for Resolution of Academic Misconduct
         (a)   Case Dismissal: The Director of SCAI or designee may dismiss a case if: the
               reported case fails to have sufficient facts or information to substantiate the claim
                                                                                          63 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 108 of 566 PageID 178



              of academic misconduct; or the reported violation is not seen to warrant punitive
              disciplinary action; or the reported behavior reported as academic misconduct is not
              a violation of the Rules of Conduct. An informal conference may be held where the
              student may be instructed to complete an educational requirement to demonstrate
              what was learned from the reported behavior. Upon successful completion of the
              educational requirement, the reported incident will be dismissed.
        (b)   Informal Hearing: At the discretion of SCAI, violations found not to warrant a
              formal hearing may be referred to an informal hearing. At the informal hearing, the
              charged student has the opportunity to meet with a SCAI staff member or designee
              and accept responsibility for the charges of violation of academic misconduct. At
              the informal hearing level the matter will be settled by the following outcomes:
              punitive sanction (disciplinary warning, disciplinary probation, deferred
              disciplinary suspension) as well as educational sanctions (papers, seminars,
              community service, etc.). If the matter is not resolved informally, the case will be
              resolved through a formal hearing. The outcomes from an informal hearing process
              (decision of responsibility and recommended sanctions) are final and are not
              eligible for appeal.
        (c)   Formal Hearings: If an alleged violation of academic misconduct is not dismissed
              or otherwise resolved, then SCAI shall present in writing formal charges to the
              student. The charged student’s formal hearing shall be open only to the charged
              student/co-charged students involved in the same incident, selected advisor,
              witnesses (when called upon), and a representative from SCAI. Formal notification
              shall include:
               1.   The student’s name and address.
               2.   Date, time and location of the formal hearing.
               3.   The rule(s) of conduct allegedly violated as known at the time formal charges
                    were prepared.
               4.   Names of potential witnesses known at the time formal charges were
                    prepared.
               5.   A description of any physical or written documentation known at the time
                    charges were prepared.
        (d)   Academic Integrity Formal Hearings: Students going through the Academic
              Integrity formal hearing process may elect an Administrative Academic Integrity
              Formal Hearing or a Panel Academic Integrity Formal Hearing.
               1.   Administrative Academic Integrity Formal Hearing
                       a.   Administrative Academic Integrity formal hearings shall be
                            conducted by one faculty member from the Student Conduct Board.
                            The charged student shall be informed of the hearing officer assigned
                            to the case and shall have the opportunity to challenge the impartiality
                            of the individual within three (3) business days of notification. The

                                                                                        64 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 109 of 566 PageID 179



                          student shall state in writing the basis for such challenge. A hearing
                          officer so challenged will be excused; however, indiscriminate
                          challenges shall not be permitted. In the event that a student has
                          opted not to challenge the impartiality of a hearing officer prior to the
                          allotted three (3) business days, the assigned hearing officer shall
                          remain as scheduled.
                     b.   At hearings conducted by an administrative hearing officer, a SCAI
                          staff member shall act as an advisor to the administrative hearing
                          officer. The Director of SCAI or designee shall receive the
                          administrative hearing officer’s proposed finding(s) as to "in
                          violation" or "not in violation" of the Rules of Conduct, and consider
                          any punitive and or educational sanctions proposed by the
                          administrative hearing officer.
                     c.   The Director of SCAI or designee may accept the proposed finding(s)
                          of “in violation” or “not in violation” or remand the case for
                          rehearing. If the Director of SCAI or designee accepts the proposed
                          finding(s) of “in violation,” they may approve, mitigate or increase
                          the sanctions proposed by the administrative hearing officer.
                     d.   Any decision by the Director of SCAI or designee to alter sanctions or
                          return a case shall be accompanied by a concise and explicit written
                          statement that explains the basis for that decision.
              2.   Academic Integrity Panel Hearings.
                     a.   A panel to consider an individual case shall be randomly selected by
                          SCAI from the Student Conduct Board and shall consist of at least
                          one (1) faculty member, one (1) additional faculty or administrative
                          staff member, and two (2) student members. One panel member shall
                          be selected by SCAI to chair the hearing and report the finding(s) and
                          recommended sanctions, if any, to the Director of SCAI or designee.
                     b.   For panel hearings, aSCAI staff member shall act as an advisor to the
                          panel. The Director of SCAI or designee shall receive the panel’s
                          proposed finding(s) as to "in violation" or "not in violation" of the
                          Rules of Conduct, and consider any punitive or educational sanctions
                          proposed by the panel.
                     c.   The Director of SCAI or designee may accept the proposed finding(s)
                          of “in violation” or “not in violation” or remand the case for
                          rehearing. If the Director of SCAI or designee accepts the proposed
                          finding(s) of “in violation,” they may approve, mitigate or increase
                          the sanctions proposed by the panel.
                     d.   Any decision by the Director of SCAI or designee to alter proposed
                          sanctions or return a case shall be accompanied by a concise and
                          explicit written statement that explains the basis for that decision.

                                                                                       65 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 110 of 566 PageID 180



        (e)   Following the Academic Integrity Formal Hearing:
               1.   Undergraduate students found “in violation” will be prescribed punitive and
                    educational conduct sanctions appropriate to the findings and
                    recommendations. SCAI will report the outcome from the academic integrity
                    hearing back to the instructor of record and department chair. In consultation
                    with the college dean or designee, the instructor and the department chair will
                    determine if further course or academic action should be imposed. If the
                    undergraduate program recommends further course or program action, the
                    undergraduate program must notify SCAI and Academic Services. Final
                    results of the academic integrity hearing and/or course or program action
                    must be made available to the student in writing within fifteen (15) business
                    days following the date of the hearing.
               2.   Undergraduate students found “not in violation” will be notified within
                    fifteen (15) business days. SCAI will report the findings back to the
                    instructor, department chair, and college dean or designee. Students may have
                    proposed course or academic action removed and the instructor may
                    determine a new grade since no violation was found.
               3.   For graduate students found “in violation”, SCAI notifies the instructor,
                    Associate Dean of Graduate Studies, and the Dean or designee of the
                    Academic College in which the graduate student resides. The college dean or
                    designee will in turn notify the graduate program that a student is in violation
                    and ask if the program wishes to invoke any program-level academic
                    action(s). The student’s graduate program will determine if program action is
                    necessary. If deemed necessary, recommendation of program action will be
                    made using the Probation/Dismissal Form and/or Conditional Retention
                    Plan. This information will be forwarded to the College of Graduate Studies.
                    SCAI will be notified if the graduate program recommends additional
                    program action. The results of any hearing and/or program action should be
                    available for the student within fifteen (15) business days.
               4.   For graduate students found “not in violation” of academic misconduct, SCAI
                    notifies the instructor, Associate Dean of Graduate Studies and the Dean or
                    designee of the Academic College in which the graduate student resides. The
                    graduate student may have their proposed course or program action removed
                    and the instructor may determine a new grade since no violation was found.
        (f)   Appeals:
               1.   Undergraduate or graduate students found “in violation” as the result of an
                    academic integrity formal hearing may appeal the finding(s) and sanction(s)
                    imposed by the Director of SCAI. The appeal must be made in writing to the
                    appellate officer (Provost or designee) within ten (10) business days after the
                    date the student was notified of the decision by the Director of SCAI.
                    Students may appeal the finding and sanction(s) imposed on the basis of one
                    or more of the following:


                                                                                        66 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 111 of 566 PageID 181



                        a.      Irregularities in fairness and stated procedures of the hearing that
                                could have affected the outcome of the hearing.
                        b.      Discovery of new and significant information that could have
                                affected the outcome of the hearing and which was not known or
                                could not reasonably have been discovered and/or presented at the
                                time of the hearing.
                        c.      The sanction(s) are extraordinarily disproportionate to the
                                violation(s).
                2.   Any decision by an appellate officer to alter sanctions or return a case shall
                     be accompanied by a concise and explicit written statement that explains the
                     basis for that decision.
                3.   The appellate officer should issue a written decision to the student’s appeal
                     within twenty (20) business days of receipt of the appeal. Should the
                     appellate officer require additional time for review beyond the 20 business
                     days, the appellate officer will notify the charged student in writing of the
                     need for additional time. Decisions of the Provost or designee reflect final
                     agency action.
                4.   Any decision by the Provost or designee to alter sanctions or return a case
                     shall be accompanied by a concise and explicit written statement that
                     explains the basis for that decision.
                5.   Undergraduate students may appeal program sanctions provided by the
                     student’s undergraduate program, per UCF-5.016. Graduate Students may
                     appeal program sanctions provided by the student’s graduate program, per
                     UCF-5.017. Students found “in violation” for academic misconduct are not
                     eligible for academic appeal regarding the final grade issued by the course of
                     the reported violation.
  (6) Z Designation for Undergraduate Student Academic Misconduct
         (a) A Z designation denotes a student was found “in violation” of academic
              misconduct while enrolled in a course. A Z designation does not affect a student’s
              grade point average.
         (b)   Z designations will remain on a student’s transcript if:
                1.   The student is found “in violation” of academic misconduct and the punitive
                     sanction is disciplinary suspension for one or more semesters, disciplinary
                     dismissal, or expulsion; or
                2.   The student is found “in violation” of academic misconduct twice during
                     their UCF academic career.
                        a.      The punitive sanction received in either academic misconduct case
                                has no bearing on the Z designation being permanently placed on
                                the student’s transcript.

                                                                                          67 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 112 of 566 PageID 182



                       b.       A Z designation will be placed in association with both courses in
                                which the student was found “in violation” of academic
                                misconduct.
        (c)   If a student is found “in violation” of academic misconduct a Z designation will be
              placed on their transcript in association with the final course letter grade recorded
              (ex. ZA, ZB, ZC, ZD, ZF).
        (d)   A Z designation will be denoted on the student’s transcript as a ZW if a student
              withdrew from the course prior to the conclusion of the conduct process and was
              subsequently found “in violation” of academic misconduct.
        (e)   OSC will communicate with the Registrar’s Office to have Z designations placed
              on student’s transcript following the conclusion of the Conduct Review Process.
        (f)   Students have the opportunity to improve the letter grade recorded in association
              with a course in which they were found “in violation” of academic misconduct
              through the use of grade forgiveness. The Z designation however will still remain
              on the student’s transcript.
        (g)   A student can attempt to have a Z designation permanently removed through
              participating in the Community ReEngagement and Educational Development
              (CREED) Program.
        (h)   A Z designation will remove a student from consideration for academic awards and
              honors (e.g. President’s List and Dean’s List) for the academic semester in which
              the violation occurred.




                                                                                        68 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 113 of 566 PageID 183



  UCF-5.016
  Student Academic Appeals
  (1) General Policy
        (a)     This regulation shall apply to undergraduate and graduate students seeking to
                appeal a final course grade or an undergraduate program decision. The
                professional judgement exercised by an instructor in assigning a specific grade or
                in conducting a class is excluded from the provisions of this regulation except as
                noted.
        (b)     This regulation does not apply to appeals of graduate programs actions or
                decisions by a faculty member, program, or college, including termination from
                an academic program, or to the assignment of grades for Thesis or Dissertation
                credit hours. Appeals from such actions are discussed in and may only be brought
                under Regulation UCF-5.017.
        (c)     Grounds for a grade appeal must fall under at least one of the following:
                1.      Alleged deviation from established and announced grading policy;
                2.      Alleged errors in the application of grading procedures;
                3.      Alleged deviation from University syllabus policy that could have
                        impacted the resulting grade; and
                4.      Alleged lowering of grades for non-academic reasons, including
                        discrimination. (A grade appeal alleging discrimination in violation of
                        University policy will be referred to the Office of Institutional Equity. The
                        University is entitled to a reasonable period of time to review allegations
                        of discriminations contained in an appeal, and the University may
                        accordingly extend deadlines applicable to the University for the purposes
                        of reviewing such allegations).
        (d)     Grounds for an undergraduate program appeal must fall under at least one of the
                following:
                1.      Alleged deviation from program or university policies as outlined in the
                        Undergraduate Catalog or Undergraduate Program Handbook(s);
                2.      Alleged errors in the application of policies or procedures;
                3.      Alleged probation or dismissal due to non-academic reasons; and
                4.      Alleged undergraduate program action discrimination and/or sexual
                        harassment in the undergraduate program, department or college. (An
                        appeal alleging discrimination in violation of University policy will be
                        referred to the Office of Institutional Equity. The University is entitled to a
                        reasonable period of time to review allegations of discriminations
                        contained in an appeal, and the University may accordingly extend
                        deadlines applicable to the University for the purposes of reviewing such
                        allegations).
   (2) The following assumptions are adopted:
        (a)     Resolution of student academic appeals should be made as informally as possible.
        (b)     Students and faculty are entitled to a fair and timely resolution of academic
                appeals.
        (c)     The burden of proof in a student academic appeal is on the student.
        (d)     Students have access to published materials and student government to help them
                become familiar with and understand procedures for handling academic appeals.

                                                                                           69 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 114 of 566 PageID 184



                 Students may consult with a student government advisor for advice regarding the
                 student’s rights and responsibilities with respect to this appeal process.
         (e)     Faculty members and administrators have access to published materials and
                 University staff to help them be aware of and understand procedures to address
                 academic appeals.
          (f)    The University as an institution and its faculty are entitled to procedures that
                 ensure the maintenance of academic standards.
          (g)    The University is entitled to a reasonable period of time to review allegations of
                 discrimination contained in an appeal, and the University may accordingly extend
                 deadlines applicable to the University for purposes of reviewing such allegations.
          (h)    All communication between the student and any University personnel must be
                 made via a university provided email account (e.g. knights.ucf.edu or ucf.edu).

  (3) Resolution of Student Appeals at the Unit Level
        (a)     The initial appeal, for final grades or an undergraduate program action, must be
                initiated within ninety (90) business days of the undergraduate program action or
                final grade posting.
        (b)     Step 1: All student academic appeals of allegedly wrongful academic action(s) by
                an instructor or administrator shall first be brought to the attention of the person
                whose action is being appealed. (The instructor of the course or administrator
                whose action is being appealed will be referred to in this regulation as the
                Responding Party.) If the issue cannot be resolved with the decision of the
                Responding Party, or if the Responding Party is not available, the student must
                pursue a Step 2 solution with the unit head, usually the chair or director of the
                unit.
        (c)     Step 2: The student must submit the appropriate appeal form, available at the
                following URL: www.dtl.ucf.edu/gradeappeal. The unit head or designee, in
                consultation with the Responding Party, should make reasonable efforts to
                communicate with the student and resolve the problem. This communication shall
                normally take place within ten (10) business days of the complaint being
                forwarded to the unit head or designee. The unit head or designee will provide the
                student with a written final unit-level decision. The written decision must include
                the contact information of the appropriate associate dean or designee to contact
                regarding the appeal process if dissatisfied with the final unit level decision.
                1.      If the Responding Party is not available to discuss the problem, the
                        resolution should wait, if at all possible, until such time as the Responding
                        Party can return to the campus, but not more than (90) business days.
                2.      If the unit head or designee and/or associate dean or designee determines
                        that an emergency exists requiring that the problem be solved prior to the
                        availability of the Responding Party (e.g. in a case of probable delayed
                        graduation), the unit head or dean or designee shall make reasonable
                        efforts to inform the Responding Party of the situation. The Responding
                        Party may elect to submit a written statement and/or to designate a
                        replacement to aid in solving the problem.
  (4) Resolution of Student Academic Appeals at the College Level
        (a)     Step 3: If the student is dissatisfied with the outcome, then the student may
                proceed to Step 3 of the process. Within ten (10) business days of receipt of the
                unit head’s or designee’s decision, the student must schedule an appointment with
                                                                                         70 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 115 of 566 PageID 185



               the appropriate associate dean or designee of the college in which the action
               occurred. That individual will review the student’s concerns, inform the student of
               their ability to seek the assistance of a student government advisor and explain the
               Student Academic Appeals process. The associate dean or designee shall issue a
               written recommended resolution, including a concise and explicit written
               statement that explains the basis for the recommended resolution, within ten (10)
               business days of the meeting outlined above. Each party has ten (10) business
               days from the issuance of the written recommended resolution to review the
               written recommended resolution.
         (b)   Step 4: If the student does not accept the written recommended resolution of the
               associate dean or designee, then the student must submit a written appeal to the
               associate dean or designee. The college will have ten (10) business days from that
               notice to form an Ad Hoc Student Academic Appeals Committee. This committee
               will review the student’s appeal regarding the awarded grade and/or the academic
               program action and, if appropriate, suggest a resolution.
         (c)   The Committee shall, at a minimum, be presented with the following information:
               1.      Electronic appeal form submitted by the student.
               2.      A written final decision of the unit head or designee.
               3.      Recommended resolution of the associate dean or designee.
               4.      Information submitted by the student.
               5.      Information submitted by the Responding Party.
  (5) Composition of the Ad Hoc Student Academic Appeals Committee
         (a)   Each college shall establish an Ad Hoc Student Academic Appeals Committee
               whenever required and the Committee shall be considered dissolved upon
               submission of the Committee’s recommendation to the college dean.
         (b)   The committee shall be made up of at least two and no more than five full-time
               instructional faculty members and an equal number of students. The college shall
               make a reasonable effort to select students of comparable academic classification
               as the student initiating the appeal.
         (c)   Quorum for the Committee shall be two (2) faculty members and two (2) students.
         (d)   Student members shall be selected by the associate dean or designee from a panel
               of students. This panel shall be appointed by the Vice President of Student
               Development and Enrollment Services and/or the Dean of the College of
               Graduate Studies. The list of students appointed to the student panel shall be
               maintained by the Office of Student Conduct and furnished upon a request from a
               college.
         (e)   The parties will be informed of the names of the Ad Hoc Student Academic
               Appeal Committee members seated to hear the appeal. Any member may be
               challenged for cause by either party within three (3) days of notification of the
               names of the members assigned to the Ad Hoc Student Academic Appeals
               Committee. The validity of such challenges shall be decided by the Assistant
               Dean and Executive Director of Student Rights and Responsibilities or designee.
               If a challenge is upheld, the college dean or designee shall appoint a replacement
               from the college’s full-time instructional faculty members or the student panel.
   (6) Ad Hoc Student Academic Appeals Committee Guidelines.
         (a)   The following guidelines should be adhered to when a committee is conducting a
               review of an appeal:

                                                                                       71 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 116 of 566 PageID 186



              1.       The Committee will function as an objective, fact-finding body when
                       examining all available and relevant information concerning the student’s
                       appeal of a grade or program action by the Responding Party. Such
                       information may include the student’s written appeal, written and/or oral
                       information provided by the Responding Party, statements made by both
                       parties before the Committee, and any other information the committee
                       may deem relevant.
              2.       The time limits specified in the following review procedure may be
                       extended by mutual agreement of the parties.
              3.       The committee should make reasonable efforts to meet for review of the
                       case within twenty (20) business days. If the committee cannot meet
                       within the 20 days, the university will inform the parties of the need for
                       additional time. Should either party fail to attend the scheduled appeal
                       hearing, the hearing will be held in the party’s absence with the
                       understanding that the proposed outcomes and resolutions will be made
                       using the information available at the time of the appeal hearing in the
                       party’s absence.
              4.       The associate dean or designee will convene the committee, establish
                       procedural rules for conducting the meeting, serve as its chair, and will
                       vote in the case of a tie. The meeting is not covered by Sunshine laws and
                       is thus closed to outside parties and will not be recorded.
              5.       The student and Responding Party shall be invited to meet with the
                       committee. Participating individuals in the appeal may appear through
                       virtual (electronic) means at the committee meeting. Each shall be
                       allowed adequate time to respond to the appeal and material as submitted,
                       to answer any questions from committee members, and to present
                       additional information needed to clarify the issues involved.
              6.       After meeting with both parties, the committee will deliberate and issue a
                       recommendation by majority vote to the college dean. The committee will
                       (1) decide if the student has demonstrated that there were grounds for the
                       appeal and, if there were grounds, (2) suggest what resolution should be
                       implemented. This decision may let the grade/action as recommended by
                       the associate dean or designee in Step 3 stand as is, or alter the
                       recommended grade/action. If the decision of the committee is to alter the
                       recommended Step 3 decision of the associate dean or designee, only the
                       faculty members on the Board will be involved in deciding what the
                       alteration will be. The committee chair will ensure that the committee's
                       majority opinion, rationale, and recommended findings and resolutions are
                       recorded and forwarded to the college dean within five (5) days of the
                       conclusion of the Committee hearing.
        (b)   The college dean will prepare a written decision on the appeal within five (5)
              business days of the receipt of the Committee’s recommendation. The college
              dean may do one of the following with the Committee’s recommendation: accept
              it, reject it, or modify it. If the college dean rejects or modifies the Committee’s
              recommendation, then the college dean’s written decision must include a
              statement of reason for the action. The college dean will send a copy of the
              Committee’s recommendation along with the college dean’s written decision to
              the student, the Responding Party, the Provost, the unit head, and the appropriate
                                                                                      72 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 117 of 566 PageID 187



               dean of undergraduate or graduate studies. The college dean’s decision shall be
               the final decision on the college level.
  (7) Final Appeal
         (a)   Step 5: If dissatisfied with the college dean’s decision, the student may, within
               ten (10) business days, file a written request for review with the dean of
               undergraduate studies or the dean of graduate studies, or designee (depending
               upon the classification of the student), clearly stating the basis for review and the
               resolution sought by the student.
         (b)   The dean of the college of undergraduate studies, or designee, or dean of the
               college of graduate studies, or designee, shall serve as the final appellate officer.
               The final appellate officer should issue a written decision to the student’s appeal
               within twenty (20) business days of receipt of the appeal. Should the final
               appellate officer require additional time for review beyond the 20 business days,
               the final appellate officer will notify the student in writing of the need for
               additional time.
         (c)   Acting as the University President’s representative, the decision of the dean of
               undergraduate studies, or designee, or the dean of graduate studies, or designee,
               shall represent final agency action. Copies of the dean’s, or designee’s written
               decision shall be sent to the student, the college dean, the unit head, the Director
               of OSC, the Responding Party, the Provost, and the appropriate dean of
               undergraduate or graduate studies.




                                                                                         73 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 118 of 566 PageID 188



  UCF-5.017 Appeals of Graduate Program Actions or Decisions
  (1) Review of Academic Performance.
        (a)    The primary responsibility for monitoring a student’s progress to degree (or
               program completion) rests with the graduate program, although the College of
               Graduate Studies also monitors a student’s progress and takes appropriate actions
               if performance standards as specified by the program and University are not
               maintained. Satisfactory progress to degree (or program completion) requires an
               ongoing evaluation of a student’s performance in a program as indicated by
               satisfactory grades within courses, successful performance on program
               competency exams, progress in thesis and dissertation research, the maintenance
               of the standards of academic and professional integrity expected in a particular
               discipline or program, and any other measures of progress as customarily used in
               the program. Academic probation or even dismissal of the student from the
               program may occur when the individual is not making satisfactory progress to
               degree (or program completion).
        (b)    A graduate program may also recommend dismissal if the student fails to
               maintain the standards of academic and professional integrity, meet or exceed the
               professional competencies of the discipline, or maintain the competence necessary
               for the welfare of faculty, fellow students, staff, patients, clients, or others
               encountered in internships, externships, or other classes required by the degree
               program. A student’s performance in clinical settings may be evaluated by clinical
               supervisors or other clinicians in conjunction with instructors of record and/or
               faculty advisors.
         (c)   A student may be immediately terminated from a clinical assignment and/or
               graduate program when, in the professional judgment of a qualified clinician,
               faculty supervisor or instructor of record, client/patient welfare could be at risk.
               In cases where client/patient welfare could be at risk, graduate programs may
               forego published procedures for advising, mentoring or probation if
               documentation from clinical or faculty supervisors indicate immediate action was
               necessary to protect the welfare of others. When immediate action is taken, the
               graduate program must inform the student in writing of the action and the reasons
               for the action. The student may appeal such action as a graduate program action
               under this Regulation.
        (d)    Misconduct associated with research or misconduct in laboratory assignments
               may result in immediate termination from the assignment and/or the graduate
               program when the misconduct places clients, researchers, subjects or the
               university at risk
        (e)    It is incumbent on the graduate program to give the student an opportunity to
               discuss the pending action with the program director and provide additional
               relevant information prior to making a recommendation of probation or dismissal.
               A student does not have to agree with the action in order for the program to move
               forward with a recommendation of probation or dismissal.
        (f)    The Dean of the College of Graduate Studies has final authority over probation
               and dismissal recommendations and will execute them accordingly.
               1. Once dismissed, a student may apply to UCF as a student in another program,
                     or as a non-degree student. Readmitted students are prohibited from taking
                     courses in the program from which they were dismissed.

                                                                                       74 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 119 of 566 PageID 189



                 2.   A student can only be reinstated to the previous graduate program by either
                      submitting a new application to the program with a new admissions decision,
                      or through a formal grievance process. (See Grievance Procedures in
                      following section).
  (2) Other Procedures. Graduate students disputing a graduate program action (including the
  evaluation of their progress to degree) as described above, have several routes of appeal
  depending on the nature of the grievance.
         (a)     In the appeal of a grade in a specific course (excluding thesis or dissertation credit
                 hours) students are referred to Regulation UCF-5.016 for the grade appeal
                 procedures.
         (b)     For issues resulting from a failure to maintain academic behavior standards such
                 as cheating, plagiarism, etc., students are referred to Regulation UCF 5.015 (and,
                 as appropriate, student conduct review procedures).
         (c)     Misconduct associated with research will follow procedures determined by the
                 Office of Research and Commercialization.
         (d)     All other grievances, including the appeal of grades issued in Thesis and
                 Dissertation credit hours, follow the Procedure for Other Grievances of Graduate
                 Students as outlined in this Regulation.
  (3)    Applicability of graduate program action appeal procedure:
         (a)     This regulation applies to graduate student appeals of decisions made by the
                 College of Graduate Studies, an academic college or graduate degree program
                 based on:
                 1. Alleged deviation from program or university policies as outlined in the
                      Graduate Catalog or Graduate Program Handbook(s)
                 2. Alleged errors in application of policies or procedures
                 3. Alleged probation or dismissal due to non-academic reasons
                 4. Alleged deviation from the University’s syllabus policy
                 5. Alleged discrimination and/or sexual harassment in the program, department
                      or college. (An appeal alleging discrimination and/or sexual harassment in
                      the program, department or college will be referred directly to the Office
                      Institutional Equity. The University is entitled to a reasonable period of time
                      to review allegations of discrimination contained in a graduate student
                      appeal, and the University may accordingly extend deadlines applicable to
                      the University for purposes of reviewing such allegations.)
         (b)     Decisions based on professional judgment of an instructor, faculty member or
                 clinical supervisor in the assignment of a grade or assessment of a student’s
                 performance in a class are excluded from the provisions of this regulation except
                 as noted above. Probation or dismissal due to unsatisfactory performance on
                 competency exams, research, or progress in thesis or dissertation research may
                 not be appealed based on the student’s disagreement with the professional
                 judgment of an instructor, faculty member or advisor. Students may appeal based
                 on alleged errors in process or alleged non-academic reasons.
         (c)     Students placed on probation or dismissed by the College of Graduate Studies for
                 not maintaining at least a 3.0 GPA may not appeal the academic program or
                 academic college’s decision to not submit a Conditional Retention Plan (CRP). A
                 CRP may be offered to a student when, in the discretion of the academic program,
                 extenuating circumstances warrant such an exception; however, graduate
                 programs are not obligated to provide a CRP.
                                                                                           75 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 120 of 566 PageID 190



  (4) Procedure for Other Grievances of Graduate Students. Students are entitled to a fair
  and timely resolution of appeals. This procedure is intended for graduate students having
  complaints regarding specific actions or decisions by a faculty member, program or college,
  including termination from an academic program, for reasons that are not covered in Section
  2(a)-2(c) above. The graduate student is encouraged to first discuss the matter within the
  academic unit of the grievance and attempt to resolve the grievance informally. The formal
  procedure is as follows:
          (a)    Step 1 -Program and Department Level: The graduate student appealing the
                 decision of a program, must state the nature of the grievance in writing to the
                 graduate program director, including a brief narrative of the grievance, the parties
                 involved, and a statement of the remedy being requested. All appeals must be
                 submitted using the form located at https://graduatecouncil.ucf.edu/appeals-
                 committee. This statement must be submitted by the graduate student within six
                 (6) months of the notification date of the occurrence of the program action being
                 appealed.
          (b)    Dependent on the nature of the grievance, the graduate program director will in
                 ten business days following receipt of the grievance either make a
                 recommendation about the grievance to the unit head or refer the grievance to the
                 unit/ program graduate committee to examine the issue at their next scheduled
                 meeting. The unit/program graduate committee may invite the aggrieved student
                 and others having information about the case to attend the meeting and present
                 information and arguments about the grievance. If so invited, the graduate
                 student can have a personal advisor at the meeting, but the advisor can only
                 confer with the student and not participate in the committee meeting. The unit/
                 program graduate committee will make a recommendation about the grievance to
                 the graduate program director.
          (c)    The graduate program director will consider the input of the unit/ program
                 graduate committee and make a recommendation to the unit head about the
                 grievance. The unit head will then make a final decision about the grievance at the
                 program/ unit level and inform the student of the decision within ten business
                 days after receiving the recommendation from the graduate program director.
          (d)    Step 2 - College Level: Should the graduate student disagree with the decision of
                 the unit head, the student has ten business days to file a written appeal of the
                 decision with the academic college graduate coordinator (or the Dean of the
                 College of Graduate Studies in the case of interdisciplinary programs with no
                 academic college assigned to oversight of the program). It is incumbent on the
                 student to explain in the appeal why the unit/program decision is in error and
                 should be reexamined. At each appeal level, the basis for the appeal must be the
                 same as the original appeal or must articulate new information discovered as part
                 of the appeal process itself. If the basis for the appeal changes, the student will be
                 considered to be initiating a new appeal that must begin at the initial level of the
                 appeal process (and which must be timely).
          (e)    Dependent on the grievance, the academic college graduate coordinator will, in
                 ten business days following receipt of the appeal, either make a recommendation
                 to the college dean about the grievance or refer the grievance to the college
                 graduate committee to examine the issue at their next scheduled meeting. The
                 college graduate committee may invite the aggrieved student and others having
                 information about the case to attend the meeting and present information about
                                                                                           76 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 121 of 566 PageID 191



              the grievance. If so invited, the graduate student can have a personal advisor at the
              committee meeting, but the advisor can only confer with the student and not
              participate in the committee meeting. The college graduate committee will make a
              recommendation about the grievance to the college graduate coordinator.
        (f)   The academic college graduate coordinator after considering the input of the
              college graduate committee will make a recommendation to the college dean
              about the grievance. The college dean will then make the final decision about the
              grievance at the academic college level, and inform the student of the decision
              within ten business days after receiving the recommendation from the college
              graduate coordinator.
        (g)   Step 3 - College of Graduate Studies Level: Should the graduate student disagree
              with the decision of the academic college dean, the student has ten business days
              following receipt of the college decision to file a written appeal of the decision at
              the university-level with the Dean of the College of Graduate Studies. It is
              incumbent on the student to explain in the appeal why the academic college
              decision is in error and should be reexamined.
        (h)   Dependent on the appeal, the Dean of the College of Graduate Studies will within
              ten business days following receipt of the appeal either make a decision about the
              grievance or refer the appeal to the Appeals Subcommittee of the Graduate
              Council to examine the issue at a scheduled meeting. The Appeals Subcommittee
              may invite the aggrieved student as well as others having information about the
              grievance to attend and present information about the grievance. If so invited, the
              graduate student can have a personal advisor at the meeting, but the advisor can
              only confer with the student and not participate in the committee meeting. The
              Appeals Subcommittee will submit a recommendation to the Dean of the College
              of Graduate Studies concerning the grievance.
        (i)   The Dean of the College of Graduate Studies will consider the input of the
              Appeals Subcommittee of the Graduate Council and make a final decision about
              the grievance for the university. There is no appeal beyond the level of Dean of
              the Graduate College as this person is vested with the final authority by the
              President of the University.




                                                                                       77 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 122 of 566 PageID 192



  University Registrar
      (1) Student Record Guidelines
         Student records submitted become the property of the University and cannot be returned
         to the student or released to a third party. Copies of student records will be released only
         upon receipt of a written request signed by the student. Student records are stored in
         paper form or are digitally scanned. Once the student has been absent from the
         University for three academic years, all records are transferred to optical disk storage
         and the paper copies destroyed.
             (a) Family Educational Rights and Privacy Act (FERPA)
                 The procedures for protecting the confidentiality of student records are based on
                 state regulations and the federal Family Educational Rights and Privacy Act of
                 1974. FERPA affords students certain rights with respect to their education
                 records. They are:
                        1. The right to inspect and review the student’s education records within
                           30 days of the day the University receives a written request for access.
                           Students should submit to the University Registrar, dean, head of the
                           academic department, or other appropriate official, written requests
                           that identify the record(s) they desire to inspect. The University
                           official will make arrangements for access and notify the student of the
                           time and place where the records may be inspected. If the records are
                           not maintained by the University official to whom the request was
                           submitted, that official shall advise the student of the correct official to
                           whom the request should be addressed;
                        2. The right to request the amendment of the student’s education records
                           that the student believes are inaccurate or misleading. The student may
                           ask the University to amend a record that he or she believes is
                           inaccurate or misleading. The student should write the University
                           official responsible for the record, clearly identify the part of the
                           record to be changed, and specify why the current record is inaccurate
                           or misleading. If the University decides not to amend the record as
                           requested by the student, the University will notify the student of the
                           decision and advise the student of his or her right to a hearing
                           regarding the request for amendment. Additional information
                           regarding the hearing procedures will be provided to the student when
                           notified of the right to a hearing;
                        3. The right to consent to disclosures of personally identifiable
                           information contained in the student’s education records, except to the
                           extent that FERPA authorizes disclosure without consent. One
                           exception that permits disclosure without consent is disclosure to
                           school officials with legitimate educational interests. A school official
                           is a person employed by the University in an administrative,
                           supervisory, academic or research, or support staff position (including
                           law enforcement unit personnel and health staff); a person or company
                           with whom the University has contracted (such as an attorney, auditor,
                           or collection agent); a person serving on the Board of Trustees; or a

                                                                                          78 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 123 of 566 PageID 193



                          student serving on an official committee, such as a disciplinary or
                          grievance committee, or assisting another school official in performing
                          his or her tasks. A school official has a legitimate educational interest
                          if the official needs to review an education record in order to fulfill his
                          or her professional responsibility;
                       4. The right to file a complaint with the U.S. Department of Education
                          concerning alleged failures by a State University to comply with the
                          requirements of FERPA. The name and address of the office that
                          administers FERPA is:
                          Family Policy Compliance Office
                          U.S. Department of Education
                          400 Maryland Avenue, SW
                          Washington DC, 20202-4605
                       5. Directory Information FERPA authorizes the University to classify
                          certain information concerning students as “directory information,”
                          which means that it may be released to anyone upon request. In
                          accordance with Florida Statutes Section 228.093, the University is
                          required to release student directory information to independent
                          vendors upon request. Directory information at UCF includes:
                          • Name;
                          • current mailing address;
                          • telephone number;
                          • e-mail address;
                          • date of birth;
                          • major field of study;
                          • dates of attendance;
                          • enrollment status;
                          • degrees and awards received;
                          • participation in officially registered activities and sports; and
                          • Athlete’s height and weight.
                          All other student information will be released in accordance with
                          FERPA; in most cases this requires the student’s prior written and
                          signed consent. The University extends to students the opportunity to
                          withhold any or all information, including “directory information.” To
                          do this, students must complete the “Directory Disclosure/ Release
                          Authorization” form available at the Registrar’s Office (MH 161) or
                          online at http://registrar.ucf.edu, requesting that this information be
                          withheld. The Golden Rule outlines the University procedures for
                          confidentiality. For additional information describing FERPA policy,
                          enter the Department of Education Family Policy Compliance Office
                          website at http://www.ed.gov/offices/OM/fpco/.
      (2) Student Communication Responsibility Policy
              (a) To communicate in a more expedient manner, UCF uses e-mail as the primary
                  means of notifying students of important university business and information

                                                                                         79 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 124 of 566 PageID 194



                dealing with registration, deadlines, financial assistance, scholarships, tuition
                and fees, etc.
            (b) To avoid missing important communications from the university, students must
                ensure that the university has an up-to-date “preferred” e-mail address, as well
                as both a permanent and mailing (local) address.
            (c) It is critical that students maintain and regularly check their “preferred” e-mail
                account for official announcements and notifications. Communications mailed
                to a student’s “preferred” email address are considered official notice. The
                university does not accept responsibility if official communication fails to reach
                a student who has not notified the university of a change of e-mail or mailing
                address.
            (d) Please ensure that your e-mail address, as well as your permanent and mailing
                (local) address and telephone number are current with the university at all times.

               Students can update their contact information on the web at: http://my.ucf.edu




                                                                                      80 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 125 of 566 PageID 195



  Student Health Services
  (1)   Drug-Free Workplace/Drug-Free Schools Policy Statement
         This is a statement of the standards of conduct and disciplinary sanctions to be imposed
         for the unlawful possession, use or distribution of illicit drugs and alcohol by UCF
         students and employees on UCF property or as part of any of its activities. The unlawful
         manufacture, distribution, dispensation, possession or use of a controlled substance or
         the unlawful possession or use of alcohol is prohibited in and on UCF owned and
         controlled property or as part of any of its activities. Any UCF employee or student
         determined to have violated this policy shall be subject to disciplinary action for
         misconduct, action which may include termination or expulsion and referral for criminal
         prosecution. No employee or student is to report to work, class or any University
         activity while under the influence of illegal drugs or alcohol. Violation of these policies
         by an employee or student will be reason for evaluation and possible intervention or
         treatment for alcohol and other drug abuse or dependency disorders. The University’s
         alcoholic beverages policy is stated below.
  (2)   Campus Alcoholic Beverages Policy
        (a)     Policy- The sale, service, possession, and consumption of alcoholic beverages
                shall comply with state and federal laws, city and county ordinances, and the
                licensing agreement with on-campus distributors which allows for the sale and
                service of alcoholic beverages. In addition, the University has formulated the
                following policies governing the sale, service, possession, and consumption of
                alcoholic beverages on campus.
        (b)     Guidelines- The sale or service of alcoholic beverages to persons younger than 21
                years of age is prohibited.
                1.      Possession or consumption of alcoholic beverages is prohibited by persons
                        younger than 21 years of age.
                2.      Possession or consumption of alcoholic beverages in open or unsealed
                        containers is prohibited, except in designated areas or as approved with
                        special events.
                3.      Individuals are responsible for their actions, regardless of whether or not
                        their mental or physical state may be affected by mind-altering chemicals
                        such as alcohol and other drugs.
                4.      Student organizations may develop more stringent regulations regarding
                        alcohol use.
        (c)     Location- The sale of alcoholic beverages on the University campus may be
                permitted only in licensed areas by licensed on-campus distributors.
                1.      The sale or service of alcoholic beverages to individuals of legal age will
                        be permitted at other select campus locations for catered functions by
                        properly authorized distributors.
                2.      The serving, possession or consumption of alcohol by individuals of legal
                        age may be permitted in private residential rooms in the residence halls
                        and other on-campus housing, unless otherwise prohibited by the
                        governing organization. Consumption of alcoholic beverages in public or
                        common areas within on-campus residential units shall follow guidelines
                        provided by their governing organization.


                                                                                        81 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 126 of 566 PageID 196



        (d)   Approval Procedure for Student Groups- Prior approvals for students or student
              organizations to host an event where alcoholic beverages are present in non-
              licensed campus locations must be obtained from the associate Vice President for
              Campus Life or designee.
              1.      The following information must be supplied by the student organization
                      and approved by the appropriate University officials, no less than 15
                      calendar days prior to the event(s). The required form may be obtained
                      from the Office of Student Involvement. These arrangements include but
                      are not limited to:
                      a.       Sponsoring organization and nature of event;
                      b.       Date, beginning and ending times and location of event;
                      c.       Number in attendance and method of registering guests;
                      d.       Method of designation for those of age/underage;
                      e.       Contained area where alcohol consumption is permitted;
                      f.       Type of alcohol along with food and alternative non-alcoholic
                               beverages to be provided;
                      g.       Method of security including number of campus police officers;
                      h.       Person to be contacted at event in case of questions or problems.
              2.      When an event is properly scheduled to take place in a location for which
                      a campus concession holds a license, alcoholic beverages are to be sold
                      through the concession and their license. Groups or organizations that seek
                      to sell beer or wine along with a non-alcoholic choice at other locations on
                      campus must obtain approval to secure a beer or wine license from the
                      Director of Business Services prior to making application for the license.
                      With approval, the license is then to be obtained by the organization from
                      the Alcoholic Beverages and Tobacco Division of the Department of
                      Business Regulations.
  (3)   Student Organizations
        (a)   Active registered student organizations must secure in writing permission to serve
              or consume alcoholic beverages on property owned or operated by the University
              of Central Florida for the purpose of engaging in any activity to benefit either
              their own organization directly, or a program that their organization may sponsor,
              as follows:
              1.      Student Union and inside the Pegasus Circle - Director of the Student
                      Union or designee
              2.      Outdoor area immediately adjacent to any building - officially designated
                      building manager for that facility
              3.      Other outdoor open spaces on the campus - designated sponsors, i.e. Lake
                      Claire - Director of the Recreation and Wellness Center or designee.
              4.      Inside any building - officially designated building manager for that
                      facility
        (b)   Permission by active registered student organizations to use any space on each
              regional campus or its host institution’s campus for the purpose of providing or
              consuming alcoholic beverages must be secured in writing in advance by the
              Director of Campus Life on each regional campus.
  (4)   Drug/Alcohol Counseling, Treatment, or Rehabilitation and/or Re-entry Programs
        Available to UCF Student and Employees

                                                                                      82 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 127 of 566 PageID 197



  Substance Use Disorders Prevention, Treatment & Recovery Services are available at
  the UCF Student Health Center. A variety of health promotion services, including
  education, assessment for substance use disorders, interventions, treatment and recovery
  support are provided to UCF students by clinicians at Student Health Services.
  Confidential screening and assessment is available for students who are interested in feedback
  regarding risk and protective factors associated with their self-reported substance use.

  Student Health partners with other campus and community entities to support services
  that encourage individuals and student organizations to make safer, responsible choices
  that enhance their personal and academic success at UCF.

          Applicable Legal Sanctions Under Federal, State and Local Law for the Unlawful
          Possession or Distribution of Illicit Drugs and Alcohol
          (a)    In the U.S. Department of Justice, Drug Enforcement Agency 1989 edition of
                 Drugs and Abuse the following statement is provided regarding applicable legal
                 sanctions under federal law for the unlawful possession or distribution of illicit
                 drugs. “The foundation of the federal fight against drugs is Title II of the
                 Comprehensive Drug Abuse Prevention and Control Act of 1970, commonly
                 known as the Controlled Substance Act (CSA). The basic Provisions of that law
                 were strengthened by the Congress in 1984 and again with the Anti-Drug Abuse
                 Act of 1986. The CSA provides penalties for unlawful manufacturing,
                 distribution, and dispensing of controlled substances. The penalties are basically
                 determined by the schedule of the drug or other substance, and sometime are
                 specified by drug name, as in the case of marijuana. As the statute has been
                 amended since its initial passage in 1970, the penalties have been altered by
                 Congress.” Florida laws (directed to discourage persons from driving under the
                 influence of drugs or alcohol) have severe penalties including mandatory
                 minimum incarceration sentences. Other sanctions include:
                   • Suspension or revocation of driver’s license;
                   • Suspension of vehicle registration and return of license plates, in the case of
                       a multiple offender;
                   • Mandatory blood testing to determine alcohol or drugs levels; and
                   • Mandated assessment and counseling, and fines.
  (5)     Biennial Review by UCF of its Drug-Free Workplace/Drug-Free School Policy
          Compliance
  The Division of Student Development and Enrollment Services and Human Resources office will review,
  on a biennial basis, the effectiveness of the programs stated in its Drug-Free Workplace/Drug-Free
  Schools Policy Statement and will implement changes to the programs if they are needed in accordance
  with the Drug-Free Schools and Communities Act amendments of 1989 (Public law 101-226). This
  review will also be conducted to ensure that the disciplinary sanctions stated in the UCF Policy Statement
  are consistently enforced.




                                                                                                83 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 128 of 566 PageID 198



   Office of Student Involvement

    (1) Student Activities and Organizations
        The University supports a variety of student organizations as a belief in their co-
        curricular value, their role in the general education of students, and their being an asset to
        the University community. Opportunities for student involvement in student organizations
        include student government, academic, honorary, athletics, religious, special interests,
        cultural, international and service groups. Student organizations play an important role in
        the total University life and must, therefore, exercise judgment and responsibility in the
        planning and implementation of their activities. This judgment and responsibility extends
        to individual members and officers of organizations. Organizations and individuals must
        also observe certain regulations for rational and effective operation in the University
        community.
            (a)      Student Organizations
                        1.   Benefits of Involvement
                             The University of Central Florida (UCF) recognizes the importance of
                             active and effective student organizations. Research clearly shows that
                             those students who choose to become involved in some form of organized
                             activity do better academically, persist through graduation, and gain
                             valuable career related and life skills, and experience greater personal
                             development when compared to those students who choose not to get
                             involved. These benefits are even more enhanced for those students who
                             take on leadership roles within student organizations.
                        2.   The Ability to Organize
                             The University encourages students to organize themselves and to pursue
                             personal and/or professional interests. Further, the University supports the
                             choice to form and affiliate with an organization and strives to remove
                             administrative barriers that would hinder such involvement.
                        3.   University Oversight
                             The University has the responsibility to exercise appropriate oversight
                             over student organizations and their related activities. This includes the
                             official registration of all student organizations through the Office of
                             Student Involvement as well as oversight for the appropriate time, place
                             and manner of all activities, events, etc. Policies and procedures related to
                             the conduct of student organizations are presented below.
(2)     Approval and Registration of Student Organizations
            (a)      New Student Oganization Registration

       Any student association, group, or organization other than the Student Government
       Association is eligible for active registration as a registered student organization.
       Approval and registration is permitted and completed upon the recommendation of
       the Student Government Association, the review and concurrence of the Office of
       Student Involvement, compliance with all registration requirements and the approval
       of the Associate Vice President for Student Development and Enrollment Services or
       designee. In order to comply with the University’s commitment to non-
       discrimination, student organizations shall not discriminate in membership or
       leadership on the basis of race, color, religion, sex, national origin, age, ability,

                                                                                              84 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 129 of 566 PageID 199



     marital status, sexual orientation, gender identity, gender expression, genetic
     information, or veteran status. Social fraternities and sororities permitted to do so by
     Title IX of the Educational Amendments of 1972 may restrict membership on the
     basis of sex and will not be denied registration on that basis. Student organizations
     whose primary purpose or mission is religious which adopt eligibility criteria for
     leadership positions based on religious beliefs will not be denied registration on that
     basis.
               1.         Registration Process
                   To be considered for approval and registration, a student organization must
                   submit to the Office of Student Involvement a list of UCF student members and
                   their UCFID numbers, a list of all officers and their UCFID numbers, the
                   signature of two officers and the faculty/staff advisor(s), the organization's
                   constitution and completion of officer training (minimum two officers).
                   Proposed student organizations must have a minimum of twelve UCF student
                   members, exceptions to this rule can be requested and approved by the director
                   of the Office of Student Involvement or designee for Regional Campus
                   Organizations, College of Medicine Organizations, Organizations affiliated with
                   a National Governing Body, and Organizations classified as Graduate.
                   Exceptions to this rule can be requested and approved by the director of the
                   Office of Student Involvement or designee for Regional Campus Organizations,
                   College of Medicine Organizations, Organizations affiliated with a National
                   Governing Body, and Organizations classified as Graduate. A proposed student
                   organization, with a mission/purpose that appears to duplicate that of an existing
                   organization, may not be approved or recognized. No student organization may
                   be set up so that any individual benefits monetarily from its existence.
               2.         Privileges of Registration
                  Student organizations registered by the University may be granted the following
                  privileges:
                          a.      The privilege to use University facilities depending on availability,
                                  program and guidelines;
                          b.      The privilege to request Student Government Association
                                  activity and
                          service fees provided said organization adheres to the Student Body
                          Constitution, the Student Body Statutes, and all Student Government
                          financial regulations;
                          c.      The privilege to establish dues and sponsor money-raising
                                  projects;
                          d.      The privilege to use the University's name as part of the
                                  organization's name as per Organizational Rules of Conduct;
                          e.      The privilege to invite guest speakers to campus;
                          f.      The privilege to grant awards and honors to organization
                                  members.
                          g.      The privilege of access to campus for recruiting, fundraising,
                                  and publicity;
                          h.      The privilege of a free organizational website;
                          i.      The privilege of access to resources provided by university
                                  departments and offices;
                          j.      The privilege to apply for cubicle and storage space on campus;
                                                                                           85 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 130 of 566 PageID 200



                       k.        The privilege to program with SGA agencies;
                       l.        The privilege to participate, as a group, in University-sponsored
                                 events
               3.        In seeking, securing, and maintaining the privilege to be registered, each
                         student organization must agree in writing to abide by all university
                         policies, procedures, and regulations and to hold harmless the University
                         for any actions or activities of the organization. Approval and registration
                         of student organizations by the University shall not imply support for any
                         student organization’s purpose, philosophy or activities. While faculty and
                         staff members of the University serve in advisory capacities to student
                         organizations, it is presumed that students of legal adult age are adults, and
                         therefore, make and are accountable for their decisions and behaviors as
                         individuals and as members of the organization. The University will not
                         assume any legal liability for any student organization’s activities per
                         Florida Administrative Code.
        (b)       Re-registration and
        Organizations which have been approved and wish to maintain registion with the
        Office of Student Involvement shall re-register and complete officer training
        annualy, based on the date of the oranization’s last registration. In addition
        organizations are required to re-register within 10 school days of any change of
        information for the organization (e.g. elections, officer change, advisor change)..
        The report must include a current listing of the organization's membership and
        officers, the signature of at least two current officers and the faculty/staff
        advisor(s), and the organization’s contact information.
        Complete membership and officer lists should be made available to the Office of
        Student Involvement upon request. Should an organization fail to register each
        fiscal year (July 1st through June 30), by attending Orientation and submitting an
        Update Form, that organization shall be considered inactive.
        (c)       Inactive Organizations
        Organizations that fail to re-register with in 15 months of their last registration or
        fail to meet any of the other requirements listed above will be considered inactive.
        Inactive organizations may only be reactivated by following the aforementioned
        registration process.

        (d)    Constitutions
               Changes made to an organization’s existing constitution must be submitted to
               and approved by the Office of Student Involvement in order to take effect.
               Organization are required to follow their current contsitutions in implementing
               any revisions
  (3)   Funds and Expenditures
        Complete financial statements shall be made available to the Office of Student
        Involvement upon request. Registered organizations may receive operating and
        programming funds from Student Government Association through an application
        process. All approved Student Government Association funding will be disbursed
        and expended through the Activity and Service Fee Business Office. Student
        organizations receiving funds must comply with Student Government, Activity
        and Service Fee Business Office, and Office of Finance and Accounting
        Guidelines. In the event an organization is inactive, organizational funds shall be
                                                                                           86 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 131 of 566 PageID 201



        distributed as per its constitution, but cannot be distributed to an individual or
        other student organization.
  (4)   Membership
        Membership in any student organization is limited to:
        (a)     Any UCF student who is paying activity and service fees and is currently
                or continuously enrolled with the University of Central Florida.
        (b)     Any Valencia College Downtown student that meets it’s institution’s
                eligibility for student organization membership, as long as the
                organization’s constitution, bylaw or National Governing documents does
                not prohibit it.
        Organizational membership requirements must also be satisfied. UCF employees
        may be non-voting members if the organization’s national constitution and by-
        laws allow for it. In order to comply with the University's commitment to non-
        discrimination, all students who enroll at the University will be assured equal
        access to educational programs and related opportunities, including student
        organizations and related programming, without regard to race, color, religion,
        sex, national origin, age, ability, marital status, sexual orientation, gender identity,
        gender expression, and veteran status
        Title IX of the Educational Amendments of 1972 makes an exception for social
        fraternities and sororities with regard to sex for membership criteria.
  (5)   Student Eligibility for Leadership and Officer Positions
        (a)     Registered Student Organizations may not discriminate in membership or in
                officer positions on the basis of race, color, sex, national origin, age, ability,
                marital status, sexual orientation, gender identity, gender expression, genetic
                information, or veteran status. However, Student Organizations whose primary
                purpose or mission is religious may adopt eligibility criteria for officer positions
                which are consistent with those beliefs.
        (b)     The University has established the following minimum requirements for student
                leadership and officer positions. Such positions may be elected or appointed and shall
                include without limitation, only as the University deems appropriate in its sole
                discretion, student government officials, officers of active registered student
                organizations, members of University department- sponsored groups, and members of
                University committees. Student leadership and officer positions which require current
                enrollment in a specific academic program must fulfill the academic requirements of
                the program in maintaining satisfactory academic progress towards degree
                completion as determined by the University Registrar. These minimum requirements
                may be reviewed for waiver only under extraordinary circumstances as deemed
                appropriate by the University in its sole discretion.
                1.    During fall and spring semesters, a student leader must be currently enrolled
                      as an activity and service fee-paying half-time student (currently defined as
                      at least six (6) credit hours as an undergraduate degree- seeking student or a
                      post-baccalaureate student, or at least five (5) credit hours in a graduate
                      degree- seeking program or at least three (3) credit hours if registered for
                      dissertation or thesis hours). The student is not required to be enrolled during
                      summer term; however, the student must be continuously enrolled for the
                      minimum number of hours stated above during the preceding spring
                      semester and following fall semester. Exceptions shall be made, upon appeal,
                      for students in their last semester prior to graduation.
                                                                                         87 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 132 of 566 PageID 202



               2.     A student leader must have a minimum institutional grade point average for
                     their current academic career (i.e., undergraduate or graduate). This is a
                     grade point average of 2.5 for Undergraduate Students and 3.0 for Post-
                     Baccalaureate or Graduate Students, for all hours earned: a. toward UCF
                     classes (i.e., UCF Cumulative GPA), or b. at a previous educational
                     institution, if the student is in their first semester (within their current
                     academic career) at UCF.
               3.    A student leader must be in good academic and disciplinary standing,
                     defined as not being on academic or disciplinary probation.
               4.    A student leader must be free of financial or disciplinary holds on University
                     records. Upon notification of ineligibility, students have two (2) weeks to
                     gain eligibility before removal from leadership position. Students who do
                     not meet the above minimum requirements may submit a written appeal to
                     the Eligibility Appeals Board through the Office of Student Involvement
                     within 2 weeks from the first day of being alerted of their eligibility
                     delinquency by the Office of Student Involvement. The appeal should
                     address the causes for ineligibility and reasons for believing that the
                     problems have been resolved. The Eligibility Appeals Board is made up of
                     students (3) appointed by the Student Body President and faculty (1) and
                     staff (2) appointed by the Director of the OSC. The board elects their
                     chairperson, who votes only in case of a tie. The Eligibility Appeals Board
                     shall resolve the issue within four weeks. The Eligibility Appeals Board is
                     the deciding body that, upon hearing the appeal may waive the eligibility
                     requirements for that semester. Students may only be granted one appeal per
                     criterion every two consecutive regular semesters (fall and spring).
               5.    Valencia College Downtown Students that are a members of an organization
                     must student that meets it’s institution’s eligibility for student
                     organization leadership positions.

                     The Eligibility Appeals Board may review the academic record of students
                     in those positions of leadership or responsibility. The decisions of the
                     Eligibility Appeals Board are final.

                      The Student Government Association has established eligibility
                      requirements for selected positions within student government. These
                      requirements and governing procedures are presented in their election and
                      eligibility statutes, which are made available to any student upon request, as
                      well as to all candidates filing for office.
  (6)   Faculty or Staff Advisor
        All organizations shall have a contracted UCF employee, as defined by Human
        Resources, faculty or staff advisor in order to be considered for approval and
        registration. The advisor has no voting rights in organizational decisions.
        Additionally, a faculty or staff advisor is required in order to receive Student
        Government Association funding.
  (7)   Event Management
        (a)      Event Management for Events
              1.        Potentially Hazardous Events/SAFE Form

                                                                                         88 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 133 of 566 PageID 203



                       a.      This regulation applies to the holding of potentially hazardous
                               events on university controlled property. Excepted from this
                               regulation are official events which are scheduled annually in
                               university publications (classes, orientation, registration, etc.).
                       b.       The provisions of this regulation are in addition to the
                               provisions of other University regulations and university
                               policies related to campus events.
                       c.      A potentially hazardous event is defined as any activity that
                               could reasonably be expected to create a risk of harm to persons
                               or of defacement or damage to public or private property.
                               Examples of potentially hazardous events include, but are not
                               limited to: bonfires; lighting of fireworks; events involving
                               helicopters or other aircraft; motor vehicle races; gatherings in
                               excess of 400 persons, including unregistered campus athletic
                               events; marches (including any organized walks or runs);
                               parades; outdoor events involving animals; any event involving
                               the distribution of alcohol; and any event on Memory Mall.
                       d.      Any event that meets the above criteria would require the
                               organization to complete a SAFE Form at least 15 days prior to
                               event date.
                       e.      Full regulation can be found at regulations.ucf.edu
                               i.      UCF-4.0292 Potentially Hazardous Events
        (b)     Responsibility
                The sponsoring organization is responsible for implementation of this procedure.
              1.       Loud Speakers and Sound Equipment
                      Active registered organizations must secure in writing permission to use
                      amplified sound on campus (including Research Pavilion) for the
                      purpose of engaging in any activity to benefit either their own
                      organization directly or a program that their organization may sponsor,
                      as follows:
                       a.      Student Union and inside the Pegasus Circle - Director of the
                               Student Union or designee (see Student Union Amplified Sound
                               Policy);
                       b.      Outdoor area immediately adjacent to any building—officially
                               designated building manager for that facility;
                       c.      Other outdoor open spaces on the campus - designated sponsors,
                               i.e., Lake Claire - Director of the Recreation and Wellness Center;
                       d.      Inside any building - officially designated building manager for that
                               facility.
                       e.      Permission by active registered student organizations to use any
                               space on each regional campus or its host institution’s campus for
                               the purpose of such fundraising must be secured in writing in
                               advance from the Director of Campus Life on each regional
                               campus. All registered student events must be in compliance with
                               local, state, and federal law.
              2.       Admission Fees


                                                                                         89 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 134 of 566 PageID 204



                       Student organizations wishing to charge admission to an event should
                       receive prior approval from the Office of Student Involvement. No
                       admission fees may be charged to students for activity and service fee
                       funded events pursuant to applicable Florida statutes.
            3.          Contracts
                        No student is permitted to represent the University as a signatory on
                        contracts.
            4.          Student Organization Contests, Campaigns, or Petitions
                        Any student organization sponsoring a fundraising campaign, contest,
                        competition or petition must register with the Office of Student
                        Involvement. This does not pertain to Student Government Association
                        elections.
  (8)   Campus Demonstrations and Other Outdoor Events
        (a)    Subject to the limitations of this and related regulations, outdoor areas of the the
               University campus may be used for demonstrations and other exercises of free
               speech and assembly. Such use must not interferewith the conduct of classes or
               University activites and must not infringe on the rights of. All general
               requirements for use of the University buildings and outdoor areas of campusset
               forth in University regulations UCF-4.029, UCF-4.0292, UCF-4.0293, and UCF-
               4.0294 apply to uses of University grounds under this regulation.
        (b)    No campus buildings, other indoor facilities, or athletic or recreational facilities
               may be used for demonstrations or assemblies unless specifically permitted in
               writing by the campus authority specifically responsible for the building or
               facility.
        (c)    University organizations and University-related organizations may organize,
               conduct, or participate in demonstrations and other exercises of free speech and
               assembly on University grounds, except for non-common outdoor areas.All
               information regarding most up-to-date policies concerning University buildings
               and outdoor areas of campus are set forth in University Regulations UCF-4.029,
               UCF-4.0292, UCF-4.0293, and UCF-4.0294.

        (d)    Non-university organizations and persons may conduct spontaneous expressive
               activities, and other exercises of free speech and assembly, on outdoor areas of the
               University campus that are otherwise accessible to the campus community for common
               use, but must abide by the reasonable time, place, and manner restrictions set forth in
               this and related University regulations (see also University Regulations UCF-4.029,
               4.0292, and 4.0294), including that such use be lawful and non-disruptive. A person
               making use of the outdoor areas of the University’s campus for expressive activities
               does not have the right to limit access to those outdoor areas or to conduct commercial
               activities in conjunction with the person’s expressive activitiesCampus
              demonstrations that will take the form of or involve a parade or march on
              campus must follow the requirements of Regulation UCF-4.0292, “Potentially
              Hazardous Events.” This is required so that necessary safety precautions can be
              taken, particularly where the parade or march route will cross lanes of vehicular
              or pedestrian traffic.
  (9)   Advertising and Signs



                                                                                            90 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 135 of 566 PageID 205



        Exterior signage is allowed for students sponsored activities, clubs and events to promote
        student participation.
        (a)      Student organizations may use exterior signs to advertise activities, clubs, and
                 events three times per semester.
        (b)      All signs must be registered and properly “stickered”. Stickers may be applied for
                 at the Office of Student Involvement and are issued by the director or his/her
                 designee. Stickers may only be issued for 5 days increments, with provisions for
                 renewal.
        (c)      A maximum of three wood signs may be posted for advertising an activity, club
                 or event.
        (d)      All signs must be removed by the posting organization within 24 hours after the
                 registered event or immediately after the fifth day if the signs are not renewed.
                 Signs not removed within the specified timeframe will be removed by Physical
                 Plant and a $50.00 per sign charge levied. The sign will be released after the fine
                 has been paid at the “Cashiers” office, and credited to the appropriate account.
        (e)      The placement of printed materials on vehicles, light posts, benches, trees and
                 exterior doors are not permitted.
        (f)      Signs must adhere to the following standards:
              1.         The maximum size of a sign is 4 feet by 8 feet.
              2.         Signs must be free standing and not staked into the ground or hung,
                         fastened or attached to shrubbery, trees, and light posts. Signs are not
                         permitted in any street median.
              3.         All signage must be placed in a minimum of 50 feet from any motor
                         vehicle intersection.
              4.         Signs can only be placed in locations designated on the UCF Signage
                         Location Map.
              5.         Any signs in violation of any of the above stated regulations will be
                         removed by Facilities Operations and a $50.00 per sign charge levied. The
                         sign will be released after the fine has been paid at the “Cashiers” office,
                         and credited to Account # 2421000, object code #499000.
        (g)      These posting rules do not apply to Student Government elections.




                                                                                         91 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 136 of 566 PageID 206



  Student Union


      (1) In-line Skating, Skateboarding, and Scooters Procedure
               (a) Each building of the University will have properly posted signs prohibiting in-
                   line skating, skateboarding, and scooters within or adjacent to building
                   structures. The building manager is responsible for posting the signs with the
                   assistance of the Physical Plant.
               (b) Any staff or faculty member shall discourage anyone from in-line skating,
                   skateboarding, or using scooters within the confines of each building or adjacent
                   to the property, the disruptive individual will be referred to the Division of
                   Student Development and Enrollment Services or Human Resources as
                   applicable. In the case of a person not affiliated with the University, University
                   Police will issue a Trespass Warning according to policy. The University Police
                   will assist the reporting party as necessary.
               (c) This procedure applies to all hallways within University buildings and stairways
                   and entranceways adjacent to the exterior of each building.
               (d) In-line skating, skateboarding, and scooters are prohibited on the roadways and
                   in parking garages/lots.
               (e) The University Police Department is responsible for enforcing this procedure.
               (f) Scooters used by persons with disabilities to aid in their mobility are exempt
                   from this policy.
      (2) Solicitation on Campus
               (a) General Policy
                         1.All business entities and all natural and legal persons (hereinafter
                           referred to as "Vendor(s)") wishing to solicit business or otherwise
                           engage in any form of commerce on the Orlando campus of the
                           University of Central Florida ("UCF") must coordinate such activities
                           through UCF's Director of Student Union or designee. The conduct of all
                           such activities shall be confined to that area of campus situated within the
                           boundaries of Pegasus Circle from Centaurus Drive to Aquarius Agora
                           Drive.
                         2.Vendors wishing to utilize the free speech area must secure permission
                           from the Director of Office of Student Involvement or designee.
               (b) Procedure
                   Vendors must comply with the following guidelines to reserve and allocate
                   space for the conduct of solicitation: Market Day Guidelines
                         1.Contact UCF’s Student Union Event Services to request space. Space is
                           limited. Reservations must be made in advance at UCF’s Student Union
                           Office, Room 312. All fees for the reservation of space must be paid at
                           the time the reservation is made. (See Student Union Event Services for
                           current fee schedule.) UCF reserves the right to require any Vendor to
                           submit proof of insurance coverage for comprehensive and general
                           liability insurance in amounts deemed acceptable by UCF.
                         2.Placement of Vendors within the bounds of Pegasus Circle will be at the
                           sole discretion of UCF’s Student Union Event Services staff.

                                                                                           92 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 137 of 566 PageID 207



                    3.Vending space will be clearly designated for Vendors upon their arrival
                      at set up time. Displays may not extend beyond the allotted space.
                    4.UCF’s Student Union reserves the right to restrict the participation of any
                      Vendor or Vendors.
                    5.If a Vendor is not set up by 10:00 a.m., UCF may, but is not obligated to,
                      remove the Vendor’s equipment, if any, and will consider such Vendor a
                      NO SHOW. This information will be noted in Vendor’s file and could
                      impact future reservations.
                    6.The market will end promptly at 5:00 p.m. UCF’s Student Union patio
                      will be open to load merchandise and equipment from 5:00 p.m. - 6:00
                      p.m. Vendors must completely vacate UCF’s Student Union patio by
                      6:00 p.m.
                    7.In case of inclement weather, the market may be canceled at the sole
                      discretion of Student Union staff. If the market is canceled, reservation
                      fees will be refunded to UCF’s Vendors who paid the fees. No prorated
                      refunds will be issued if the market is held and inclement weather occurs
                      during the day.
                    8.Vendors are to purchase a parking pass on the days they will be on
                      campus. Parking is available in Lot T-600 after the vendor unloads the
                      materials and merchandise at UCF’s Student Union.
                    9.UCF is not responsible for any loss, theft, or damage to Vendors’
                      equipment or goods. Vendors are responsible for the security of their
                      property.
                    10.      Vendors must adhere to the requirements established by UCF’s
                      Student Union for the safety of the event and any rules as may be
                      mandated by UCF’s Department of Environmental Health and Safety.
                    11.      UCF shall not tolerate the placement of tables, displays, tents, or
                      other activities for solicitation purposes outside Pegasus Circle. UCF’s
                      Police will be responsible for monitoring all such activities outside
                      Pegasus Circle. Those violating this policy will be instructed to leave
                      immediately and may be issued a no-trespass warning by UCF Police.

            (c) Campus Locations for Solicitation
                    1.Posted materials should not be fastened to or hung from shrubbery or
                      trees; drawn, taped, painted or otherwise displayed on sidewalks, walls,
                      glass and painted surfaces, or building exteriors. No holes may be dug
                      into the ground (except for wood stakes) nor nails or tacks hammered
                      into trees.
                    2.Solicitors and tradesmen, including students, faculty and other University
                      personnel, are prohibited from conducting business transactions with
                      individuals or organizations on campus unless a permit has been issued.
                      Permits to conduct such business with students and student organizations
                      may be issued by the Director of the Student Union or for all others by
                      the Director of Business Services.
            (d) Exception to Policy
              Officially registered, active student organizations of UCF desiring an exception to
              the above policy must secure, in advance, the written permission of either the
                                                                                     93 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 138 of 566 PageID 208



              Director of the Student Union or other individual listed below to use, free of
              charge, space on UCF property to conduct a solicitation to benefit only the student
              organization. No person or entity outside of the student organization shall
              participate in the solicitation or receive any financial or other benefit or thing of
              value from the solicitation. Examples of such solicitations include but are not
              limited to, bake sales and similar fundraising activities, distribution of literature,
              speakers, giveaway promotions, or signing of petitions. On UCF’s Orlando
              campus, permission must be secured as follows:
                     1.Student Union and inside the Pegasus Circle and Ferrell Commons
                       Courtyards from the Director of the Student Union or designee.
                     2.Residence Halls and outside areas immediately adjacent thereto - from
                       the Director of Housing or designee.
                     3.Greek Park area from the Director of Office of Fraternity and Sorority
                       Life or designee.
                     4.UCF Arena and areas immediately adjacent thereto - from the Director of
                       the UCF Arena or designee.
                     5.Inside any other building and outside areas immediately adjacent thereto
                       - from the officially designated building manager of that facility or
                       designee (identification of the building manager for a particular facility
                       may be obtained from the Office of the Vice President for Administration
                       and Finance.
                     6.Recreation and Wellness Center and Intramural Sports area – from the
                       Director of Recreation and Wellness Center.
                     On the regional campuses or their host institutions, permission to use space
                     to conduct solicitations must be secured from the Director of Campus Life
                     on that regional campus and, as may be required, from the appropriate
                     official of that host institution.
                     Failure of active student organizations to comply with this solicitation
                     policy and procedure may result in student disciplinary action taken against
                     such organizations, including the loss of the privilege to engage in
                     solicitations on UCF property, the loss of the privilege to register as a
                     student organization, as well as other disciplinary action.
        (e)   Responsibility the Associate Vice President for SDES or designee shall be
              responsible for implementing this policy.




                                                                                        94 | P a g e
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 139 of 566 PageID 209




                          EXHIBIT D
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 140 of 566 PageID 210




       UCF-5.008       Rules of Conduct
The following defined and described actions include, but are not limited to, conduct for which
disciplinary action may be taken at the University of Central Florida. Students are responsible for the
observation of all University policies and regulations. Each student is expected to abide by these rules
of conduct, and administrators are expected to enforce them. These Rules of Conduct should be read
broadly and are not designed to define prohibited conduct in exhaustive terms. Additional rules and
regulations may be revised during the year; announcements will be made on adoption of the changes
or additions. The right of all students to seek knowledge, debate ideas, form opinions, and freely
express their ideas is fully recognized by the University of Central Florida. The Rules of Conduct apply
to student conduct and will not be used to impose discipline for the lawful expression of ideas. Students
are prohibited from engaging in:
(1) Academic Misconduct
       (a)     Unauthorized assistance: Using or attempting to use unauthorized materials,
               information or study aids in any academic exercise unless specifically authorized by the
               instructor of record. The unauthorized possession of examination or course related
               material also constitutes cheating.
       (b)     Communication to another through written, visual, electronic, or oral means. The
               presentation of material which has not been studied or learned, but rather was obtained
               through someone else’s efforts and used as part of an examination, course assignment
               or project.
       (c)     Commercial Use of Academic Material: Selling of course material to another person,
               student, and/or uploading course material to a third party vendor without authorization
               or without the express written permission of the University and the Instructor. Course
               materials include but not limited to class notes, Instructor’s power points, tests, quizzes,
               labs, instruction sheets, homework, study guides, and handouts.
       (d)     Falsifying or misrepresenting the student’s own academic work.
       (e)      Plagiarism: Whereby another’s work is used or appropriated without any indication of
               the source, thereby attempting to convey the impression that such work is the student’s
               own.
       (f)     Multiple Submissions: Submitting the same academic work for credit more than once
               without the express written permission of the instructor.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 141 of 566 PageID 211




       (g)    Any student who knowingly helps another violate academic behavior standards is also
              in violation of the standards.
       (h)    Soliciting assistance with academic coursework and/or degree requirements.             The
              solicitation of assistance with an assignment, lab, quiz, test, paper, etc., without
              authorization of the instructor of record or designee is prohibited. This includes but is
              not limited to asking for answers to a quiz, trading answers, or offering to pay another
              to complete an assignment. It is considered Academic Misconduct to solicit assistance
              with academic coursework and/or degree requirements, even if the solicitation did not
              yield actual assistance (for example, if there was no response to the solicitation).
(2) Possessing and/or Providing False and Misleading Information and/or Falsification of University
Records
       (a)    Withholding related information, or furnishing false or misleading information (oral or
              written) to University officials, university and non-university law enforcement officers,
              faculty or staff.
       (b)    Possession, use, or attempted use of any form of fraudulent identification.
       (c)    Forgery, alteration or misuse of any University document, material, file, record or
              instrument of identification.
       (d)    Deliberately and purposefully providing false or misleading verbal or written
              information about another person.
       (e)    Falsification, distortion, or misrepresentation of information during an investigation, the
              Student Conduct Review Process, including knowingly initiating a false complaint.
(3) Disruptive Conduct
       (a)    Any act that impairs, interferes with, or obstructs the orderly conduct, processes, and
              functions of the University or any part thereof or the rights of one or more individuals.
       (b)    Any act which deliberately impedes or interferes with the normal flow of pedestrian and
              vehicular traffic.
       (c)    Any act which intentionally interferes with the election processes of any University
              registered student organization or sponsored student group.
       (d)    Misuse of any University safety equipment, firefighting equipment, or fire alarms.
       (e)    A false report of an explosive or incendiary device, which constitutes a threat or bomb
              scare.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 142 of 566 PageID 212




      (f)    Breach of peace: an act, which aids, abets, or procures another person to breach the
             peace on the University premises or at University sponsored/related functions.
      (g)    Failure to comply with oral or written instruction from duly authorized University
             officials (i.e. faculty, staff, administration, residence hall staff) acting within the scope
             of their job duties or law enforcement officers acting in the performance of their duties,
             including failure to identify oneself to these persons when requested to do so.
      (h)    Failure to produce identification upon request by a University official (i.e. faculty, staff,
             administration, residence hall staff), acting within the scope of their job duties or law
             enforcement officers acting in the performance of their duties.
      (i)    Hindering or interfering with the student conduct review process by failing to obey the
             notice from a university official to appear for a student conduct meeting or hearing;
             and/or attempting to discourage an individual’s proper participating in, or use of, the
             student conduct review process.
      (j)    Violation of any other University regulation or policy as described in the UCF
             Regulations, UCF Policies and Procedures, or University department publicized policy.
      (k)    Failure to comply with applicable law and University regulations and procedures for
             solicitation and fundraising activities on campus.
(4) Harmful Behavior
      (a)    Physical harm or threat of physical harm to any person. This harmful behavior policy
             may not apply in those instances where it is found that a student is acting in self-defense.
      (b)    Verbal, digital, or written abuse, threats, intimidation, coercion and/or other conduct
             that endangers the health, safety, or wellbeing of others, or which would place a
             reasonable person in fear of bodily injury or death. This definition, however, shall not
             be interpreted to abridge the rights of the University community to freedom of
             expression protected by the First Amendment of the United States Constitution and any
             other applicable law.
      (c)    Discriminatory Harassment: Discriminatory harassment consists of verbal, physical,
             electronic or other conduct based upon a protected class as defined in University Policy
             2-004, or membership in other protected classes set forth in state or federal law that
             interferes with that individual’s educational or employment opportunities, participation
             in a university program or activity, or receipt of legitimately-requested services meeting
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 143 of 566 PageID 213




            the description of either Hostile Environment Harassment or Quid Pro Quo Harassment,
            as defined in University Policy 2-004 Prohibition of Discrimination, Harassment, and
            Related Interpersonal Violence.
      (d)   Bullying: Defined as behavior of any sort (including communicative behavior) directed
            at another, that is severe, pervasive, or persistent, and is of a nature that would cause a
            reasonable person or group in the target’s position substantial emotional distress and
            undermine his or her ability to work, study, or participate in University life or regular
            activities, or which would place a reasonable person in fear of injury or death.
      (e)   Stalking: defined as conduct not of a sexual nature that is repeated, unwanted conduct
            toward or contact with another person that would cause a reasonable person to fear for
            the person’s safety or the safety of others, or to experience substantial emotional
            distress. Such conduct is direct, indirect, or through a third party using any type of
            action, method, or means. Cyber stalking is also included in this definition.
      (f)   Invasion of Privacy and Unauthorized Recording.
            1.     Making, using, disclosing or distributing a recording of a person in a location or
                   situation in which that person has a reasonable expectation of privacy and is
                   unaware of the recording or does not consent to it; and any other conduct that
                   constitutes an invasion of the privacy of another person under applicable laws
                   and regulations. Such conduct includes, without limitation, unauthorized
                   recording of personal conversations, images, meetings or activities.
            2.     Unauthorized recording of a class or of organizational or University meetings,
                   where there exists a legal expectation of privacy, and any use, disclosure, or
                   distribution of any such recording.
            3.     Engaging in acts of voyeurism, including but not limited to peeping or
                   surreptitiously recording another when there is a reasonable expectation of
                   privacy.
            4.     Any notice, consent or other requirement under applicable laws and regulations
                   must be fulfilled in connection with authorizing, making, using, disclosing or
                   distributing any recording, where there is a legal expectation of privacy.
      (g)   Retaliation against or harassment of complainant(s), other person(s) alleging
            misconduct, or anyone who participates in an investigation.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 144 of 566 PageID 214




      (h)    Condoning or encouraging acts of harmful behavior as defined above or failing to
             intervene during an act of harmful behavior while it is occurring.
(5) Sex-Based Misconduct (Non-Title IX Sexual Harassment)
      (a)    Sexual Assault: Sexual assault means sexual contact without consent.
      (b)    Sexual Harassment. Sexual harassment means any unwelcome sexual advance, request
             for sexual favors, or other unwanted conduct of a sexual nature, whether verbal, non-
             verbal, graphic, physical, or otherwise, when the conditions for Discriminatory
             Harassment as defined in UCF Policy 2-004 are present. Sexual Harassment may
             include inappropriate touching, acts of sexual violence, suggestive comments and public
             display of pornographic or suggestive calendars, posters, or signs where such images
             are not connected to any academic purpose. A single incident of sexual contact without
             consent may be sufficiently severe to constitute sexual harassment.
      (c)    Gender-Based Harassment: Gender-based harassment is discriminatory harassment that
             is based on gender, sexual orientation, gender identity, or gender expression, which may
             include acts of aggression, intimidation, or hostility, whether verbal or non-verbal,
             graphic, physical, or otherwise, even if the acts do not involve conduct of a sexual
             nature, when the conditions for Discriminatory Harassment as defined in UCF Policy
             2-004 are present.
      (d)    Obscene or Indecent Behavior: Exposure of one’s body in such a manner that another
             party reasonably could be offended or to display sexual behavior which another person
             reasonably finds offensive.
      (e)    Voyeurism: Trespass, spying, or eavesdropping for the purpose of sexual gratification.
      (f)    Solicitation of a Minor: soliciting sexual acts from a minor by oral, written, or electronic
             means.
      (g)    Child Pornography: possessing, producing or the dissemination of child pornography.
      (h)    Relationship Violence: Relationship Violence includes any act of violence or threatened
             act of violence that occurs between individuals who are involved or have been involved
             in a sexual, dating, spousal, domestic, or other intimate relationship. Relationship
             Violence may include sexual assault, stalking, and physical assault. Relationship
             Violence may involve a pattern of behavior used to establish power and control over
             another person through fear and intimidation or may involve one-time conduct. A
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 145 of 566 PageID 215




            pattern of behavior is typically determined based on the repeated use of words and/or
            actions and inactions in order to demean, intimidate, and/or control another person. This
            behavior can be verbal, emotional, and/or physical and may be directed towards the
            former partner, their property, or other individuals. Examples of Relationship Violence
            may include, but are not limited to: slapping; pulling hair; punching; damaging another
            person’s property; driving recklessly to scare someone; name calling; humiliating
            another person in public; harassment directed toward a current or former partner or
            spouse; and/or threats of abuse, such as threatening to hit, harm, or use a weapon on
            another (whether Complainant or acquaintance, friend, or family member of the
            Complainant), or other forms of verbal threats.
      (i)   Stalking: Stalking under this provision occurs where a person engages in a course of
            conduct of a sexual nature that is directed at a specific person under circumstances that
            would cause a reasonable person to fear for the person’s safety or the safety of others,
            or to experience substantial emotional distress. A “course of conduct” is two or more
            acts, including but not limited to acts in which a person directly, indirectly, or through
            third parties, by any action, method, device, or means, follows, monitors, observes,
            surveils, threatens, or communicates to or about another person, or interferes with
            another person’s property. Stalking includes “cyber-stalking,” a particular form of
            stalking in which a person uses electronic media, such as the internet, social networks,
            blogs, phones, texts, or other similar devices or forms of contact. Stalking may include,
            but is not limited to: non-consensual communications (face to face, telephone, e-mail);
            threatening or obscene gestures; surveillance/following/pursuit; showing up outside the
            targeted individual’s classroom or workplace; sending gifts and/or notes (romantic,
            bizarre, sinister, or perverted); and/or making threats.
      (j)   Sexual Exploitation: Sexual Exploitation is purposely or knowingly doing or attempting
            to do any of the following:
            1.     Recording or photographing private sexual activity and/or a person’s intimate
                   parts (including genitalia, groin, breasts or buttocks) without consent;
            2.     Disseminating or posting images of private sexual activity and/or a person’s
                   intimate parts (including genitalia, groin, breasts or buttocks) without consent;
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 146 of 566 PageID 216




              3.     Allowing third parties to observe private sexual activity from a hidden location
                     (e.g., closet) or through electronic means (e.g., Skype or livestreaming of
                     images);
              4.     Subjecting another person to human trafficking; or
              5.     Exposing another person to a sexually transmitted infection or virus without the
                     other’s knowledge.
              (k)    Any attempted acts of sex-based misconduct are also violations of this policy.
(6) Title IX Sexual Harassment
       (a)    Title IX Sexual Harassment is defined as any conduct on the basis of sex which occurs
              (i) on or after August 14, 2020; (ii) against a person located in the United States; and
              (iii) in or as part of the University’s education program or activity, which satisfies one
              or more of the following:
              1.     Unwelcome conduct that a reasonable person would determine is so severe,
                     pervasive, and objectively offensive that it effectively denies a person equal
                     access to the University’s education program or activity;
              2.     Sexual assault (as defined in the Clery Act), which includes any sexual contact
                     that occurs without consent (consent and sexual contact are defined in UCF-
                     5.006(3));
              3.     Dating violence (as defined in the Violence Against Women Act (VAWA)
                     amendments to the Clery Act), which includes any act of violence or threatened
                     act of violence committed by a person: (A) who is or has been in a social
                     relationship of a romantic or intimate nature with the victim; and (B) where the
                     existence of such a relationship shall be determined based on a consideration of
                     the length of the relationship; the type of relationship; and the frequency of
                     interaction between the persons involved in the relationship.
              4.     Domestic violence (as defined in the VAWA amendments to the Clery Act),
                     which includes any felony or misdemeanor crimes of violence committed by a
                     current or former spouse or intimate partner of the victim, by a person with
                     whom the victim shares a child in common, by a person who is cohabitating with
                     or has cohabitated with the victim as a spouse or intimate partner, by a person
                     similarly situated to a spouse of the victim under Florida statute or by any other
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 147 of 566 PageID 217




                     person against an adult or youth victim who is protected from that person’s acts
                     under the domestic or family violence laws of Florida.
             5.      Stalking (as defined in the VAWA amendments to the Clery Act), meaning
                     engaging in a course of conduct directed at a specific person that would cause a
                     reasonable person to (a) fear for their safety or the safety of others; or (b) suffer
                     substantial emotional distress.
      (b)    Retaliation, including but not limited to conduct meant to intimidate, threaten, coerce,
             or discriminate against any individual for the purpose of interfering with any right or
             privilege secured by Title IX of the Education Amendments of 1972 or its implementing
             regulations or UCF Policy 2-012.
(7) Larceny/Property Damage
      (a)    Unauthorized use, possession, or theft of property or service. Such property may be
             personal or public.
      (b)    Damaging or defacing of University property or the property of another person whether
             or not it is on University premises.
      (c)    Tampering with or damaging fire safety equipment.
(8) Hazing
      (a)    Hazing is any action or situation that recklessly or intentionally endangers the mental
             or physical health and/or safety of a student for purposes including but not limited to:
             initiation, admission into, association, affiliation with, or the perpetuation or furtherance
             of a tradition or ritual of any registered student organization or other group whether or
             not officially recognized by the University operating under registration with the
             University or any student group operating with official sanction of the University.
             Hazing in violation of Florida Statutes may result in felony charges. A student can be
             found to have committed an act of hazing whether the student is a prospective, current,
             or former member of the organization or group. The actions of active, associate, new
             and/or prospective members, former members, or alumni of a student organization or
             group may be considered hazing under this rule.
      (b)    Hazing includes brutality of a physical nature such as whipping, beating, branding,
             forced calisthenics, exposure to the elements; forced consumption of any food, liquid,
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 148 of 566 PageID 218




              liquor, drug, or other substances; or other forced elements; or other forced activity which
              could adversely affect the mental or physical health or safety of the individual.
       (c)    Hazing includes any activity which could subject the individual to extreme mental stress
              such as sleep deprivation, forced exclusion from social contact, forced conduct that
              could result in extreme embarrassment, or any other activity that could adversely affect
              the mental health or dignity of the individual.
       (d)    Hazing includes forcing, pressuring, or coercing, the student into violation of University
              policies or federal, state, or local law.
       (e)    Hazing includes soliciting a person to commit or being actively involved in the planning
              of any act of hazing as defined above where the act of hazing creates a substantial risk
              of physical injury or death to the person(s) hazed.
       (f)    It is not defense to an allegation of hazing that:
              1.      the consent of the victim had been obtained;
              2.      the conduct or activity that resulted in the death or injury of a person was not
                      part of any official organizational event or otherwise sanctioned or approved by
                      the student organization; or
              3.      the conduct or activity that resulted in the death or injury of a person was not
                      done as a condition of membership into a student organization.
       (g)    Hazing does not include customary athletic events or other similar contests or
              competitions or any activity or conduct that furthers a legal and legitimate objective.
(9) Misuse or Unauthorized Use of Facilities and Grounds
       (a)    Misuse or unauthorized use of classroom or laboratory facilities, or University property
              (as defined by University Regulation UCF-4.036).
       (b)    Abusing grounds or building structures including, but not limited to ramps, rails, stair
              sets and entryways by means of recreational cycling, skating, scootering, or other
              recreational activities or devices as outlined in University Regulation UCF-4.036.
       (c)    Unauthorized entry or attempted entry to any University property (as defined by
              University Regulation UCF-4.036).
       (d)    Unauthorized possession, duplication or use of keys to any University property (as
              defined by University Regulation UCF-4.036).
(10) Misconduct at University Sponsored/Related Activities
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 149 of 566 PageID 219




       (a)    Violation of UCF rules of conduct at UCF sponsored related activities shall also be a
              violation of the golden rule.
       (b)    Violations of a regulation(s) of a host institution sponsored/related activity shall be a
              violation of the golden rule.
(11) Controlled Substance and Drug Violations
       (a)    Possessing, consuming, or attempting to possess cannabis in any amount.
       (b)    Cultivating, manufacturing, or attempting to obtain cannabis in any amount.
       (c)    Possessing, consuming, cultivating, manufacturing, or attempting to possess any
              controlled substances other than cannabis, except as expressly permitted by law.
       (d)    Selling or distributing cannabis or any other controlled substances other than alcohol.
       (e)    Possessing or attempting to possess any drug related paraphernalia.
       (f)    Misconduct under the influence of controlled substance(s) and/or drugs other than
              alcohol.
       NOTE: Students who receive medical attention due to drug related emergencies and/or
       students who call for help on behalf of another student who may be experiencing a drug
       related emergency may be exempt from disciplinary action. Information regarding exemptions
       under this rule for drug related emergencies can be found in University Regulation UCF-
       5.007 and the Student Conduct and Academic Integrity website:
       http://osc.sdes.ucf.edu/medicalemergencies.
(12) Alcoholic Beverages Violation
       (a)    Possessing or consuming alcoholic beverages, or possessing or using alcohol-related
              paraphernalia, except as expressly permitted by the law and University Regulations
              and/or Policies.
       (b)    Selling or distributing alcoholic beverages or alcohol-related paraphernalia, except as
              expressly permitted by law and University Regulations and/or Policies.
       (c)    Misconduct under the influence of alcohol.
       NOTE: Students who receive medical attention due to alcohol related emergencies and/or
       students who call for help on behalf of another student who may be experiencing a drug
       related emergency may be exempt from disciplinary action. Information regarding exemptions
       under this rule for drug related emergencies can be found in University Regulation UCF-
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 150 of 566 PageID 220




       5.007 and the Student Conduct and Academic Integrity website:
       http://osc.sdes.ucf.edu/medicalemergencies.
(13) Possession of Weapons and/or Dangerous Material
       (a)     The possession, use, or storage of weapons on property owned or controlled by the
              University or at events sponsored and/or supported by the University is prohibited,
              except as specifically outlined in University Policy 3-119.1 (Weapons on University
              Property and at University Events).
       (b)    Possession or use of fireworks of any description, explosives, or chemicals which are
              disruptive, explosive, or corrosive are prohibited on University premises or at
              University sponsored/related activities.
(14) Instigation or Participation in Group Disturbances during Demonstrations, Parades, or Picketing
       (a)    Participation in a demonstration(s), parade(s), or picketing which invades the rights of
              others, which interferes with the educational function of the University, or which
              jeopardizes public order and safety.
       (b)    Leading or inciting others to disrupt scheduled and/or normal activities within any
              campus building or area.
(15) Misuse of Computing and Telecommunications Resources
       (a)    Theft or other abuse of computer facilities and resources
       (b)    Unauthorized entry into a file, to use, read, or change the contents, or for any other
              purpose.
       (c)    Unauthorized transfer of a file.
       (d)    Use of another individual’s identification and/or password.
       (e)    Use of computing facilities and telecommunications resources to interfere with the work
              of another student, faculty member or University Official.
       (f)    Use of computing facilities and telecommunications resources to send obscene or
              abusive messages.
       (g)    Use of computing facilities and telecommunications resources to interfere with normal
              operation of the University computing system.
       (h)    Use of computing facilities and telecommunications resources in violation of copyright
              laws.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 151 of 566 PageID 221




       (i)     Any violation of the University of Central Florida Use of Information Technology and
               Resources Policy.
       (j)     Any violation of the University of Central Florida ResNet Acceptable Use Policy.
(16) Gambling
       (a)     Play in an unlawful game of chance for money or for anything of value on University
               premises or at any affair sponsored by a student or student organization.
       (b)     Unlawfully sell, barter or dispose of a voucher or any item for participation in a scheme
               of chance by whatever name on University premises or at any affair sponsored by a
               student or registered student organization.
       (c)     Wager on a University team or organization in a competition, with a direct influence in
               the success of the competition.
(17) University Student Residence Violations. Violation(s) of any Department of Housing and
Residence Life policy, rule or regulation published in hard copy or available electronically via
Department of Housing and Residence Life website. A charge under this provision must include a
specific citation of which Housing policy or policies the charged student has violated.
(18) University Wordmark Violations. Unauthorized use of the official University wordmark,
Pegasus, monogram, seal, or other graphic identity symbol.
(19) Violation of Local, State, and/or Federal Laws. Violation of any local, state and/or federal law
that may result in a felony or misdemeanor.
(20) Complicity: Complicity is any act taken with the purpose of aiding, facilitating, promoting or
encouraging the commission of an act prohibited by the Rules of Conduct.


Authority: BOG Regulations 1.001 and 6.0105. History – Formerly 6C7-5.0042, New 6-18-09,
Amended 7-19-12, 9-5-13, 11-20-14, 10-29-15, 7-28-16, 7-20-17, 1-18-18, 7-19-18, 7-18-19, 6-18-20,
10-22-20, 12-3-20.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 152 of 566 PageID 222




                          EXHIBIT E
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 153 of 566 PageID 223
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 154 of 566 PageID 224




                          EXHIBIT F
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 155 of 566 PageID 225
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 156 of 566 PageID 226




                          EXHIBIT G
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 157 of 566 PageID 227
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 158 of 566 PageID 228




                          EXHIBIT H
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 159 of 566 PageID 229




  Office of the Dean
  College of Sciences
  12716 Pegasus Dr.,
  Orlando, FL 32816


  Dr. Charles Negy                                                                 January 13, 2021
  14121 Alafaya Oak Bend
  Orlando, FL 32828
  (also sent by email)

                                     NOTICE OF INTENT TO TERMINATE

  Dear Dr. Negy:

  This letter is to notify you of the university’s intent to terminate your employment at the close of
  business on Monday, January 25, 2021, for misconduct. This notice is required under Article/Section
  16.4 (b) of the 2019-2021 BOT-UFF Collective Bargaining Agreement (CBA). You were placed on paid
  administrative leave (PAL) on January 5, 2021, and you will remain on PAL, pending final disposition of
  this proposed personnel action.

  As you know, beginning in June 2020 the university received a high volume of reports regarding your
  conduct in the classroom. Many of the concerns brought to the university’s attention were complaints
  about discrimination, bias, and unfair treatment of students in the classes you have taught. The
  university also heard from persons who were supportive of you and your teaching. However, based on
  the reports received, the Office of Institutional Equity (OIE) began an inquiry on June 4, 2020 into the
  allegations involving your actions and comments toward students. OIE informed you on July 17, 2020
  that an investigation would be conducted concerning allegations that you subjected multiple students
  and employees to discriminatory harassment, engaged in unprofessional conduct, and failed to fulfill
  your obligations to report a complaint of discrimination to an appropriate university official with the
  authority to take action.

  OIE has completed a report on its investigation. (An electronic copy of that report is provided to you as
  an attachment to this notice.) OIE’s findings include:
      • You repeatedly violated Regulation UCF- 3.001 (Non-Discrimination; Affirmative Action) and UCF
          Policy 2-004.1 (Prohibition of Discrimination, Harassment and Related Interpersonal Violence)
          by creating a hostile learning environment for your students through discriminatory harassment.
          Additionally, your conduct in the classroom violated UCF’s Employee Code of Conduct.
      • You repeatedly violated UCF Policy 2-700.1 (Reporting Misconduct and Protection from
          Retaliation) by deterring students from filing complaints about your classroom conduct.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 160 of 566 PageID 230




      •    You violated Regulation UCF-3.001 (Non-Discrimination; Affirmative Action Programs) when you
           failed to report that a student disclosed to you that she had been sexually assaulted by one of
           your teaching assistants in February 2014. In addition, instead of directing the victim to
           appropriate university resources, you discouraged her from reporting the incident and advised
           her to be more conscientious when choosing her friends.
      • You violated UCF Policy 2-700.1 (Reporting Misconduct and Protection from Retaliation) and the
           UCF Employee Code of Conduct (regarding Honesty and Integrity: Our Guiding Principles) by
           providing false information during OIE’s investigation.
  Details about each of these findings are too numerous to fully document here; they may be found in
  OIE’s investigative report. Note that none of the findings by OIE are related to your Twitter postings as
  OIE found they were protected by your First Amendment rights. In addition, some of the complaints
  about your spoken or written comments to students about sensitive or controversial matters were
  found to be permissible based on academic freedom. The university respects your right to exercise
  academic freedom in making those comments, although that does not mean that your views on such
  matters and those of the university are the same.

  All these findings by OIE are serious. It is very disconcerting that you would provide false information
  during an investigation. OIE listed nine examples of false information you provided to OIE during its
  investigation, specifically you:
       1. Provided false information with regard to the tenure-related comment about the university
           being unable to fire you unless you raped a student;
       2. Denied having bribed a health clinic representative while in Peru for a UCF study-abroad
           program;
       3. Denied having told students that God does not exist;
       4. Denied having told students that minorities never invented anything that impacted society;
       5. Denied that you ever used the term “Black privilege” with your students;
       6. Denied that you told a male GTA that you hoped a female GTA for whom he was covering some
           duties was “compensating him but that is none of my [your] business”;
       7. Denied ever using the term “faggot” in class;
       8. Denied discussing the sexual assault allegations against Brett Kavanaugh and related
           Congressional hearings; and
       9. Denied ever discussing cerebral cortices during your class lectures.

  The other findings by OIE are related to actions and comments by you that are serious. Incidents like the
  unreported sexual assault and the hostile learning environment due to discriminatory harassment of
  students in your classes (i.e., derogatory statements about protected classes including race, religion, sex,
  and gender identity, as well as unwelcome comments of a sexual nature) were not reported by students
  as they should have been in large part because again and again you discouraged students from
  submitting complaints about your conduct. You repeatedly gave students the impression that you were
  insulated from complaints because of tenure. In other words, your frequent emphasis of your power
  advantage over your students was a deterrent to their reporting their concerns about your classroom
  conduct.

  According to CBA 16.3, penalties imposed for misconduct depend on the seriousness of the offense(s)
  and any aggravating or mitigating circumstances. Discriminatory harassment, deterring students from
  reporting, failing to report a sexual assault, and dishonesty are all serious. Your repeated references to
  tenure as insulation from consequences for complaints about your actions and comments toward your
  students is considered by the university to be a significant aggravating circumstance.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 161 of 566 PageID 231




  Therefore, the university intends to terminate you in accordance with terms and procedures in the CBA.
  As permitted by CBA 16.7, you are not being provided with six months’ notice because the university has
  determined that your actions, e.g., failing to report and discouraging the report of a sexual assault that
  was disclosed to you, “jeopardize the safety or welfare of … students.”

  Effective immediately, you are hereby directed not to return to any UCF campus or to any UCF-occupied
  space off the main UCF campus without notifying me in advance and receiving my approval. If I approve
  of your return, an escort will be arranged for you. From now until the end of your PAL, you are
  forbidden to contact any current UCF employees (except me and anyone I approve for you to contact) or
  students personally or via telephone, email, text, social media, or in any other way without my approval
  in advance. You are also to refrain from contacting former UCF students, former UCF employees,
  donors, and research sponsors in any way while you are on PAL. You must surrender any UCF property
  that is in your possession or under your control including, but not limited to, identification cards, keys,
  books, laptops, and other computers and equipment. Any such UCF property that is not currently on
  campus must be returned to me by noon, Friday, January 15, 2021. I will need to know as soon as
  possible if you wish to come to campus on January 15, 2021, to return UCF property or to retrieve any
  personal items that you need immediately from your office so that arrangements can be made for an
  escort. If I learn that you have not abided by these directions, your insubordination will be considered
  additional grounds for your termination. Any UCF property that is not returned to me on time will be
  considered stolen.

  I also remind you that the UCF Policy 2-700.1 prohibits retaliation against any person who you think has
  or may have submitted a complaint against you or who you think has or may have participated in OIE’s
  investigation. Any retaliation by you will be additional grounds for your termination.

  The university desires to reduce the risk of error in taking an action such as this against you and is
  therefore interested in receiving and considering any relevant information you may wish to provide
  concerning this matter. In accordance with CBA 16.4 (b), you have ten calendar days, or until 9:00 AM
  on Monday, January 25, 2021, to provide a written response regarding this notice and/or the findings in
  the attached report that pertain to the grounds listed above. Any response should be addressed to me
  in the COS Dean’s Office, CSB 201.

  If you intend to provide your written response to this notice in hardcopy form in person, please let me
  know by noon, Friday, January 22, 2021, so that an escort can be arranged for you. You may notify me of
  your intention via email at Tosha.Dupras@ucf.edu. If you prefer, you may also submit your written
  response to me at that email address no later than 9:00 AM on Monday, January 25, 2021.

  After any timely written response from you is reviewed, a final decision on your proposed termination
  will be rendered based upon all information available. You will receive a letter from the university
  communicating that decision as soon as practicable.

  Sincerely,



  Tosha Dupras
  Interim Dean, College of Sciences
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 162 of 566 PageID 232




  Attachment (1):       Investigative Report by OIE

  cc:    Alexander N. Cartwright, President
         Michael D. Johnson, Interim Provost and Vice President for Academic Affairs
         Florian Jentsch, Chair, Department of Psychology
         Youndy C. Cook, Interim Vice President and General Counsel
         Sherry G. Andrews, Associate General Counsel and Associate Provost
         Rhonda L. Bishop, Vice President for Compliance and Risk
         Nancy F. Myers, Director, Office of Institutional Equity
         Carl Metzger, Chief, UCF Police
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 163 of 566 PageID 233




                           EXHIBIT I
USER AGREEMENT
 Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 164 of 566 PageID 234




IMPORTANT NOTICE: The use of any file sharing program
for downloading or uploading copyrighted materials
is strictly prohibited. All students caught violating this, or
any other university network use rule will be immediately
disconnected from the network and reported to the Office
of Student Rights and Responsibilities for disciplinary
action.

To use a computer on the UCF Network, you must adhere to
the following rules:

The university supports open access to electronic
communication and information. Nevertheless, the
preservation of an open computing and communications
environment requires adherence by users to a set of
standards and policies for the responsible use of computing
systems, software and telecommunication networks. In
accordance with FAC Rule 6C7-4.037, university computing
and telecommunications resources shall not be used as
follows:

   To impersonate another individual or to misrepresent an
   authorization to act on behalf of other individuals or the
   university.

   To modify the original attribution of electronic mail
  messages or postings.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 165 of 566 PageID 235


  To send anonymous messages without clearly and
  correctly identifying the sender.

  To make unauthorized or illegal use of the intellectual
  property of others without the prior written permission of
  the owner or the copyright holder of the information.

  To transmit to others or to display images, sounds, or
  messages that reasonably could perceived as being
  harassing, invasive, or otherwise unwanted.

  To carry out commercial or other for profit purposes
  without prior express written approval of the provost and
  vice president for Academic Affairs of the university.

  To conduct programs which do not directly relate to, or
  are in support of, the academic, research, or
  administrative activities of the university.

  To attempt to undermine the security or the integrity of
  the university’s computing systems or
  telecommunications networks, to attempt to gain
  unauthorized access, or to intercept or decode
  passwords or similar access control information.

  To intentionally damage, disable, or impair computing or
  telecommunications equipment or software.
  To acquire or utilize software that does not adhere to
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 166 of 566 PageID 236

  applicable software licenses and copyright laws or is not
  consistent with university software policies.

  To introduce viruses or other destructive software in
  university computer facilities.

  To engage in activities which are not consistent with the
  provisions of Chapter 815, Florida Statutes, Computer
  Crimes Act, Title 18 United States Code, Electronic
  Communications Privacy Act of 1986, or the
  Telecommunications Act of 1996.
  “Chain Letters” or similar material are prohibited.

All members of the university community are expected to
adhere to university policies regarding the security and use
of individual user id’s and passwords. Members of the
university community are held responsible for any violation
of university policies which involve the use of their
computer account. Unauthorized use of a university
computer account is expressly prohibited.

Computer users shall comply with all applicable federal,
state and local laws and regulations governing the use of
computer and telecommunication technology, as well as all
Applicable rules and regulations of the university and the
Florida Board of Regents.
Violation    of the computer
 Case 6:21-cv-00313-GAP-GJK      and
                            Document 3-1 network      rules
                                          Filed 02/22/21 Pageand
                                                              167 ofpolicies
                                                                    566 PageID 237

shall result in disciplinary action. Serious violations of
university policies shall be referred to the appropriate
university officials, such as the dean of students or the
division vice president for appropriate disciplinary action.
Any violation of the rules and policies described above shall
generally result in immediate loss of network and computer
access and privileges.

Suspected criminal violations of federal, state or local laws
shall be reported to the University Police Department,
appropriate law enforcement agencies or any other
applicable authorities or agencies. However, unauthorized
or fraudulent use of university computing and
telecommunication resources can result in felony
prosecution as provided for in Florida Statutes, Chapter 775,
Florida Criminal Code.

ResNet users are permitted to use only one device on any
ResNet port at one time. All devices connected to ResNet
must be properly registered by the student assigned to the
port where the devices are connected. ResNet users are not
permitted to register other users’ devices under their own
ResNet account – doing so would constitute a violation of
the UCF Golden Rule.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 168 of 566 PageID 238




                          EXHIBIT J
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 169 of 566 PageID 239




  SUBJECT:                                            Effective Date:           Policy Number:
                                                             9/1/2016                   4-002.2

  Use of Information Technologies and                 Supersedes:               Page         Of
  Resources
                                                              4-002.1           1            8

                                                      Responsible Authority:

                                                      Vice President for Information Technologies
                                                      and Resources


  DATE OF INITIAL ADOPTION AND EFFECTIVE DATE 5/21/2008


  APPLICABILITY/ACCOUNTABILITY

  This policy applies to all University of Central Florida students, employees, and others who use
  university information technology resources.


  POLICY STATEMENT

  The University of Central Florida's computing and telecommunications resources provide a wide
  range of capabilities for students and employees to communicate, store, and process information
  that is essential to the academic, research, and administrative functions of the university. It is the
  policy of the University of Central Florida that all students and employees use these resources
  ethically, responsibly, and in compliance with all applicable federal and state laws, university
  policies, and as prescribed by this policy’s procedures.

  Any violation of this policy and procedures may result in immediate loss of network and
  computer access privileges, seizure of equipment, or removal of inappropriate information
  posted on university-owned computers or university-supported Internet sites. In addition to these
  corrective actions, failure to comply with this policy and procedures may result in disciplinary
  action up to and including termination.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 170 of 566 PageID 240




  DEFINITIONS

  Computing Resource. Personal computers, laptops, and portable computing and communication
  devices, such as tablets, and smartphones, servers, mainframes, data storage systems, and similar
  equipment capable of processing, accessing, displaying, storing, or communicating electronic
  information.

  Credentials. A combination of user name, password, and possibly additional information such
  as a PIN or biometric scan that together are required to access a computer system or information
  resource.

  Departmental Security Coordinator. A designated employee who serves as the primary
  contact between the respective department or business unit and the Information Security Office
  (ISO) for all matters relating to information security.

  Electronic Information Resource. Data or information in electronic format and the computing
  and telecommunications resources through which such resources are accessed or used.

  Electronic Messages. For purposes of this policy, electronic messages include electronic mail,
  text messages, videos, images, or sound files that are sent from a computing resource through a
  computer network.

  Internet Cloud Storage. Data stored in third party data centers, e.g., CrashPlan, Dropbox,
  iCloud, Google Drive, OneDrive, Box, etc.

  Restricted Data. Any confidential or personal information that is protected by law or policy and
  that requires the highest level of access control and security protection, both in storage or in
  transit. Further defined in UCF policy 4-008.1 Data Classification and Protection.

  Telecommunications Resource. Wired or wireless voice or data communications circuits or
  networks and associated electronic equipment.

  User. A person who makes use of or accesses university computing, telecommunications, or
  electronic information resources.


  BACKGROUND

  Computer accounts are provided to students and employees as a privilege associated with
  membership in the university community and with varying access rights according to
  institutional role and job duties.

  UCF students and employees are generally free to use UCF computing, telecommunications,
  and electronic information resources as necessary to carry out their assigned responsibilities,
  subject to the authorized use of those resources as described in this policy and other UCF
                                          4-002.2 Use of Information Technologies and Resources 2
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 171 of 566 PageID 241




  policies. The university reserves the right to disconnect or remove university or privately-owned
  equipment, or restrict use thereof at any time as required to maintain the functionality, security,
  or integrity, of university computing and telecommunications resources.

  This policy is not intended to abridge academic freedom or the constitutional guarantees of
  freedom of speech or freedom of expression.


  PROCEDURES

     A. User Responsibilities

         1. Users are responsible for any activity originating from their accounts that they can
            reasonably be expected to control. Credentials must not be shared with others.

         2. Users shall comply with all applicable user conduct codes and rules, laws, and
            regulations governing the use of computer and telecommunications resources.
            Examples include laws regarding libel, privacy, copyright, trademark, obscenity, and
            child pornography; the Florida Computer Crimes Act; the Electronic
            Communications Privacy Act; and the Computer Fraud and Abuse Act.

         3. Except in isolated or occasional circumstances, the computing and
            telecommunications resources of the university shall be used only for purposes
            directly related to or in support of the academic, research, service, or administrative
            activities of the university. If a university employee wishes to use university
            facilities, students, equipment, materials, or software for personal or outside
            professional purposes, permission must be obtained in advance using form AA-21
            (faculty members) or HR-12 (A&P or USPS).

         4. Users shall not attempt to undermine the security or the integrity of computing
            systems or telecommunications networks and shall not attempt to gain unauthorized
            access to these resources. Users shall not employ any computer program or device to
            intercept or decode passwords or similar access control information. If security
            breaches are observed or suspected, they must be immediately reported to the
            appropriate system administrator, departmental security coordinator, and the
            university information security officer.

         5. Users shall not use computer or telecommunication systems in such a manner as to
            degrade or disrupt the normal operation of voice or data networks or university
            computer systems or to intentionally damage or disable computing or
            telecommunications equipment or software.

         6. Users shall ensure that software acquisition and utilization adheres to the applicable
            software licenses and U.S. copyright law. Users shall maintain sufficient
                                          4-002.2 Use of Information Technologies and Resources 3
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 172 of 566 PageID 242




           documentation to prove that all software installed on any computing resource
           assigned to them was legally obtained and is installed in conformance with the
           applicable license(s). Backup copies of software may be made only if expressly
           permitted by the applicable license(s).

        7. To maintain proper functioning of computer and networking hardware and software,
           system administrators and individual users shall take reasonable care to ensure their
           computing resources are free of viruses or other malicious software through
           installation and frequent updating of antivirus and antimalware software, and
           frequent updates of operating systems and applications.

        8. Users of university computing facilities and telecommunications networks shall use
           these resources prudently and avoid making excessive demands on these facilities in
           a manner that would knowingly impair access to or use of these resources by others.


     B. Use and Misuse of Computing and Telecommunications Resources

        1. The university's computing and telecommunications resources shall not be used to
           impersonate another individual or misrepresent authorization to act on behalf of other
           individuals or the university. All messages transmitted through university computing
           resources and telecommunications networks must correctly identify the sender.

        2. The computing and telecommunications resources of the university shall not be used
           to make unauthorized or illegal use of the intellectual property of others, including
           copyrighted music, videos, films, texts, images, and software.

        3. The computing and telecommunications resources of the university shall not be used
           for unapproved commercial purposes, or for personal financial gain, without express
           written approval from the provost and executive vice president or his or her designee.

        4. Users are reminded of the university’s commitment to a civil and non-discriminatory
           environment. Employees, including student employees, shall not transmit to others
           or intentionally display in the workplace materials or messages that could reasonably
           be perceived as invasive of another’s privacy; pornographic; harassing; or disruptive
           to the operations of the university or any part thereof.

        5. Users shall not use university computer or telecommunications resources to
           download, intentionally view, store, or transmit images that could reasonably be
           regarded as obscene or pornographic.

        6. The university provides telephone systems and long distance services for official
           university business. University employees are allowed to make incidental use of the
           telephone system for necessary personal calls but must reimburse the university for

                                       4-002.2 Use of Information Technologies and Resources 4
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 173 of 566 PageID 243




            any toll calls incurred through personal use that exceed $90 per year, per Policy
            4003.1.

        7. The university provides email and other electronic messaging systems only for
           official university business. University employees are allowed to make incidental use
           of such systems for necessary personal messaging. The following uses of university
           messaging systems by students and employees are prohibited under this policy:

            a.   chain letters
            b.   harassing or hate messages
            c.   threatening or abusive messages sent to individuals or organizations
            d.   messages that include malware, phishing, or hoaxes
            e.   spamming or high volume email transmission other than those specifically
                 allowed by the Broadcast Distribution of Electronic Mail Policy (4-006.1)
            f.   for commercial use or personal financial gain
            g.   false identification (any messages that misrepresent or fail to accurately identify
                 the true originator)
            h.   messages that contain or direct users to computer viruses, worms, or other
                 harmful software
            i.   any illegal activity or crime

        8. The university and its employees are prohibited from using any university resources
           in support of a political campaign or for campaign fund raising, even under a
           reimbursement arrangement. An example of prohibited use would be a university
           employee using university electronic messaging or Web or telephone resources to
           solicit support of a political candidate or to raise funds for a candidate.


     C. Access to and Disclosure of Electronic Information

        1. Users should be aware that their uses of university computing and
           telecommunications resources are not completely private. The university does not
           routinely or without cause monitor individual use of these resources; however, the
           normal operation and maintenance of these resources require the backup and caching
           of data and communications, logging of activity, monitoring of general usage
           patterns, and other such activities. In addition, information stored on university
           computing resources or passed through university telecommunications networks may
           be accessible to the public through public record laws, subpoenas, interception, or
           other means.

        2. The university may specifically monitor the activity or accounts of individual users
           of university computing and telecommunications resources, including individual


                                         4-002.2 Use of Information Technologies and Resources 5
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 174 of 566 PageID 244




           login sessions and the content of individual communications, without advance notice
           when:

           a. the user has voluntarily made such information accessible to the public, as by
              posting to a listserv, blog, or Web page
           b. it reasonably appears necessary to do so to protect the integrity, security, or
              functionality of university or other computing resources or to protect the
              university from liability
           c. there is reasonable cause to believe that the user has violated or is violating a
              university policy, a regulation, or a law
           d. an account appears to be engaged in unusual or excessive activity
           e. it is otherwise required by subpoena or court order

        3. Access to and disclosure of electronic information shall be governed by the following
            provisions.

           a. Professional ethics dictate that any person having access to proprietary or
              restricted information shall:

               1) use that access only to the extent required to discharge the assigned
                  responsibilities of that person's position
               2) not disclose any such information except to the extent authorized or required
                  under this policy or applicable rules or laws
               3) not use, in any manner, such information or knowledge for personal gain

           b. A university employee may not read, view, listen to, or otherwise access
              electronic messages or the contents of computer systems of another user without
              the knowledge or consent of that user, except: (i) under the limited circumstances
              provided for in this policy or (ii) upon express prior authorization from the
              provost and executive vice president, his or her designee, the general counsel, or
              the UCF Police Chief or designee. Such prior authorization shall be given in
              writing and must clearly state the purpose of granting such access. Information
              accessed in authorized instances shall not be disclosed except as provided in this
              policy or with prior written authorization from the university's provost and
              executive vice president, his or her designee, the general counsel, or the UCF
              Police. Such prior authorization to disclose shall be given only in cases involving
              an actual or possible breach of system security, a violation of law, a violation of
              university regulation or policy, or dereliction of duty or responsibility on the part
              of a university user.

           c. Any suspected abuse or misuse of university computing and telecommunications
              resources should be reported to the Information Security Office (407-823-3863 or
                                       4-002.2 Use of Information Technologies and Resources 6
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 175 of 566 PageID 245




                 infosec@ucf.edu). Proper pursuit of such cases may require that person to
                 disclose relevant information to supervisors or designated investigators.

             d. Employees who access restricted data are expected to sign the UCF
                Confidentiality Agreement.


  RELATED DOCUMENTS
  The following related policies are available online at: http://www.policies.ucf.edu/

  Policy 2-100.4 Florida Public Records Act—Scope and Compliance
  Policy 2-103.2 Use of Copyrighted Materials
  Policy 4-001.1 Retention Requirements for Electronic Mail
  Policy 4-003.1 Telecommunications Services
  Policy 4-006.1 Broadcast Distribution of Electronic Mail
  Policy 4-007 Security of Mobile Computing, Data Storage, and Communication Devices
  Policy 4-008.1 Data Classification and Protection

  Potential Outside Activity, Employment, and Conflict of Interest and Commitment Disclosure
  (AA-21): http://compliance.ucf.edu/conflict-of-interest/

  A&P and USPS Permission to Use UCF Personnel, Equipment, Facilities, Students, or Services:
  http://hr.ucf.edu/files/HR12_PermissionToUseServices.pdf

  UCF Confidentiality Agreement: http://www.hr.ucf.edu/files/ConfidentialityAgreement.pdf




                                         4-002.2 Use of Information Technologies and Resources 7
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 176 of 566 PageID 246




  INITIATING AUTHORITY Provost and Executive Vice President




  History 4-002 5/21/2008, 4-002.1 5/13/2014




                                      4-002.2 Use of Information Technologies and Resources 8
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 177 of 566 PageID 247




                          EXHIBIT K
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 178 of 566 PageID 248
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 179 of 566 PageID 249




                          EXHIBIT L
About
 Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 180 of 566 PageID 250




The JKRT team is here to provide assistance in the
unfortunate event that you have experienced or witnessed a
hate or bias related incident. This site is designed to allow
the reporting of bias incidents to the JKRT team to ensure
the most appropriate university response.

UCF is also committed to tracking patterns of bias and other
incidents at the University that might prevent the
community from thriving. It is our goal, as a team, to effect
positive change in our campus community by providing a
platform for individuals to report hurtful actions that have
occurred. In return, we will create an open and transparent
university community response to the handling of these
incidents.

JKRT is intended to be a resource for anyone who wants to
examine issues of bias, discrimination, or hate. Whatever
your reasons are for visiting this site, please be assured that
UCF holds as one of its goals to create a more inclusive and
diverse campus. We are also committed to providing a safe
and welcoming living and learning community for all our
students.

      The Definition of a Bias-Related Incident
     Report an Incident
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 181 of 566 PageID 251

     Resources for Additional Help

Purpose Statement
The purpose of the Just Knights Response Team (JKRT) is
to act as a clearinghouse for any bias-related incidents that
may occur on UCF campuses. In this role, the JKRT will
receive, monitor, refer, and, as necessary, coordinate
university resources to these incidents that impact the
university community.

The team, made up of UCF faculty, staff, and students,
provides a safe space for students, who are witnesses to or
targets of bias, to communicate experiences, to ensure
comprehensive responses, and proactively address issues
of civility and respect.

Our Goals

     Create a socially just campus for all UCF Knights
     Provide learning opportunities that develop cultural
     competency
     Promote the safety and success of all UCF students
     Enhance the President’s goal of creating a more
     inclusive and diverse campus
     Help cultivate community and campus partnerships in
     support of the city/state initiative
      Provide advocacy and support for UCF students
 Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 182 of 566 PageID 252

      Support retention and graduation of underrepresented
      student populations

Our Policy

The Just Knights Response Team (JKRT) is an inter-
divisional team that assesses bias incidences in order to
coordinate university resources for the creation of effective
interventions and future incident prevention programming.
The JKRT creates timely interventions to incidents that are
sensitive to the rights of all parties involved. It is intended
that any JKRT programming or intervention will be
educational at its core. It will involve a variety of activities
including discussion, mediation, training, counseling and
consensus building. Through the voluntary participation of
the persons involved in and impacted by bias incidences,
the JKRT’s interventions and prevention programming will
foster a sense of civility and campus community
encompassing respect and understanding that supports a
multicultural and diverse campus environment.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 183 of 566 PageID 253




                         EXHIBIT M
2/17/2021Case       6:21-cv-00313-GAP-GJK Document      3-1 • Just
                                            Contact the Team   Filed    02/22/21
                                                                   Knights Response TeamPage
                                                                                         • UCF 184 of 566 PageID 254


       Just Knights
       Response Team
       

                                                                                                                       



    Contact the Team




    Christina Khan
    Director, UCF Global
    407-823-2337
    Christina.khan@ucf.edu




    Commander James Mangan
    Commander, UCF Police




https://jkrt.sdes.ucf.edu/contact/                                                                                         1/6
2/17/2021Case       6:21-cv-00313-GAP-GJK Document      3-1 • Just
                                            Contact the Team   Filed    02/22/21
                                                                   Knights Response TeamPage
                                                                                         • UCF 185 of 566 PageID 255




    Dr. Reshawna Chapple
    Assistant Professor, Social Work




    Jillian Sturdivant Co-Team Lead
    Assistant Director, Housing and Residence Life




    Michelle Fitzgerald
    Assistant Director, Facilities Recreation and Wellness
    Center
    407-823-2408
    michelle.ﬁtzgerald@ucf.edu


https://jkrt.sdes.ucf.edu/contact/                                                                                     2/6
2/17/2021Case       6:21-cv-00313-GAP-GJK Document      3-1 • Just
                                            Contact the Team   Filed    02/22/21
                                                                   Knights Response TeamPage
                                                                                         • UCF 186 of 566 PageID 256




    Andrea L. Snead Co-Team Lead
    Assistant Director, Inclusive Recreation, Risk Management,
    Sport Clubs Recreation and Wellness Center




    Dr. Kerry Welch
    Associate Vice President Student Development and
    Enrollment Services




    Dr. Edwanna Andrews Team Lead
    Interim Assistant Vice President, Director Social Justice
    and Advocacy



https://jkrt.sdes.ucf.edu/contact/                                                                                     3/6
2/17/2021Case       6:21-cv-00313-GAP-GJK Document      3-1 • Just
                                            Contact the Team   Filed    02/22/21
                                                                   Knights Response TeamPage
                                                                                         • UCF 187 of 566 PageID 257




    Dr. Michael Preston
    Executive Director, Florida Consortium of Metropolitan
    Universities




    Shane Land
    Assistant Director, Intramural Sports Recreational and
    Wellness Center




    Angela Williams
    Case Manager, Student Care Services




https://jkrt.sdes.ucf.edu/contact/                                                                                     4/6
2/17/2021Case       6:21-cv-00313-GAP-GJK Document      3-1 • Just
                                            Contact the Team   Filed    02/22/21
                                                                   Knights Response TeamPage
                                                                                         • UCF 188 of 566 PageID 258




    Dr. Ronnie Korosec
    Faculty Relations


                                         407-823-1535


                                         jkrt@ucf.edu




    UPCOMING EVENTS



                                                               FEB

                                                               17
    Yoga (virtual)

                                                               FEB

                                                               17
    Koru Basic Mindfuln

                                                                                                MORE EVENTS



    PAGE NAVIGATION


    HOME
https://jkrt.sdes.ucf.edu/contact/                                                                                     5/6
2/17/2021Case       6:21-cv-00313-GAP-GJK Document      3-1 • Just
                                            Contact the Team   Filed    02/22/21
                                                                   Knights Response TeamPage
                                                                                         • UCF 189 of 566 PageID 259


    WHO WE ARE


    WHAT WE COVER


    REPORT INJUSTICE


    RESOURCES


    CONTACT




    CONTACT US



    Just Knights
    Response Team

           407-823-1535


           JKRT@UCF.EDU




                           UNIVERSITY OF CENTRAL FLORIDA


      A-Z Index | About UCF | Contact UCF | Internet Privacy Policy | Online Degrees | Pegasus |

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Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 190 of 566 PageID 260




                          EXHIBIT N
Bias-Related Incidents
 Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 191 of 566 PageID 261




A bias-related incident is any behavior or action directed
towards an individual or group based upon actual or
perceived identity characteristics or background. This bias
motivates an individual to act in an offensive manner
towards an individual or group including but not limited to:
race, sex (including gender identity/expression), color,
religion, ancestry, national origin, age, disability, veteran
status, military status, or sexual orientation. Such acts may
result in creating a hostile environment and may have a
negative psychological, emotional, or physical impact on an
individual, group, and/ or community.

Bias-related incidents occur without regard to whether the
act is legal, illegal, intentional, or unintentional. While these
acts do not necessarily rise to the level of a crime, a
violation of state law, university policy, or the student code
of conduct; a bias act may contribute to creating an unsafe,
negative, unwelcoming environment of the victim, or anyone
who shares the same social identity as the victim, and/or
community members at the university.

Incidents which occur on campus that are not covered by
formal policies and procedures but have the effect of
harming     individuals orDocument
 Case 6:21-cv-00313-GAP-GJK groups 3-1 may    be addressed
                                        Filed 02/22/21 Page 192 of by  the Just
                                                                   566 PageID 262

Knights Response Team (JKRT) protocol. The protocol may
be initiated in cases when it is clear that the incidents have
harmful effects on persons or groups based upon their race,
sex (including gender identity/expression), color, religion,
ancestry, national origin, age, disability, veteran status,
military status, or sexual orientation.

Hate and Bias Crimes
A criminal offense committed against a person or property
which is motivated, in whole or in part, by the offender’s
bias against a race, religion, disability, ethnic/national origin
groups or sexual-orientation group (per U.S. Department of
Justice Hate Crimes Data Collection Guidelines). To
constitute a bias-related incident, sufficient objective facts
must be present to lead a reasonable person to conclude
that the behavior or actions in question may be motivated
by bias towards the status of a targeted individual or group.

Types of Bias-Related Incidents

Types of incidents may include (but are not limited to) the
follow:

      Physical injury
      Damage to property
      Graffiti/Signs
     Threatening mail/email/on-line harassment
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 193 of 566 PageID 263

     Threatening voice mail/message
     Telephone harassment
     Confrontation/intimidation
     Stalking
     Bullying
     Verbal harassment/Slurs/Threats
     Written Slur or Threat
     Gestures
     Other
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 194 of 566 PageID 264




                          EXHIBIT O
      Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 195 of 566 PageID 265




   JKRT Intake Form


 Intake Form

 What can you do if you experience acts of bias or hate? Report the incident to the Just
 Knight Response Team (JKRT). This team was created to help individuals who have
 been impacted by hate or bias-related incidents. Please take the time to complete this
 form to the best of your ability. This website has a variety of links and resources
 available for your use.


Your full name (optional):



                                                                                       Privacy - Terms
                                                                                                /
      Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 196 of 566 PageID 266
Preferred Name (optional):




Best Phone Number to Reach You:




Your email address (optional):




Date of incident (Required):


 mm/dd/yyyy


Time of incident (Required):




Speci c location (Required):




 Involved Parties

 Please list the individuals involved (excluding yourself), including as many of the listed
   elds as you can provide.


    Name or Organization




    Select Role
                                                                                        Privacy - Terms
                                                                                                 /
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 197 of 566 PageID 267


  UCF PID (optional)




  Phone number (if known)




  Email address (if known)




  Add another party




Incident Details


Description of the Incident (Required)




Desired Outcome (Required)




Supporting Documentation

                                                                                     Privacy - Terms
                                                                                              /
   Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 198 of 566 PageID 268
Photos, video, email, and other supporting documents may be attached below. 5GB
maximum total size.
Attachments require time to upload, so please be patient after submitting this form.

 Choose ﬁles to upload                                                       Choose Files



                                Email me a copy of this report


                                      Submit report




                                                                                    Privacy - Terms
                                                                                             /
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 199 of 566 PageID 269




                          EXHIBIT P
2/17/2021Case       6:21-cv-00313-GAP-GJK DocumentJust3-1   Filed
                                                       Knights       02/22/21
                                                               Response Team • UCF Page 200 of 566 PageID 270


        Just Knights
        Response Team
        

                                                                                                                




    Home

                                        407-823-1535


                                        jkrt@ucf.edu


    The University of Central Florida is committed to providing a safe and inclusive campus
    experience. Justice for All Knights is our commitment to addressing instances of bias on
    campus.

    Disclaimer: By submitting your report, this information may be shared with the Office of
    Student Conduct (OSC), Office of Student Rights and Responsibility (OSRR), and/or the
    UCF Police Department (UCFPD)




https://jkrt.sdes.ucf.edu                                                                                           1/3
2/17/2021Case       6:21-cv-00313-GAP-GJK DocumentJust3-1   Filed
                                                       Knights       02/22/21
                                                               Response Team • UCF Page 201 of 566 PageID 271

        OTHER RESOURCES


         Read More about the Team


         Learn About Bias Incidents


         Fill Out the Report Form




    News & Announcements
    No news articles at this time.



                                                                                             MORE NEWS




    UPCOMING EVENTS



                                                            FEB

                                                            17
    Yoga (virtual)

                                                            FEB

                                                            17
    Koru Basic Mindfuln

                                                                                           MORE EVENTS



    PAGE NAVIGATION


    HOME


https://jkrt.sdes.ucf.edu                                                                                       2/3
2/17/2021Case       6:21-cv-00313-GAP-GJK DocumentJust3-1   Filed
                                                       Knights       02/22/21
                                                               Response Team • UCF Page 202 of 566 PageID 272
    WHO WE ARE


    WHAT WE COVER


    REPORT INJUSTICE


    RESOURCES


    CONTACT




    CONTACT US


    Just Knights
    Response Team

           407-823-1535


           JKRT@UCF.EDU




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Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 203 of 566 PageID 273




                          EXHIBIT Q
                                                Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 204 of 566 PageID 274
                                                                                                                                              Search UCF



                        UCF NEWS | STORIES OF IMPACT + INNOVATION | ORLANDO, FL                                                                                 SECTIONS




          COLLEGES & CAMPUS NEWS


          Our Future Is Inclusion
          UCF’s President emphasized the university’s commitment to be actively anti-
          racist and urges Knights to participate in the virtual conversation about race
          and unity this Friday.
          BY U C F PR E S I D E N T A L EXA N D E R N . CA RTWR I G H T | J U N E 2 , 2020




                           S      o many members of our community are hurting right now, shattered by recent
                                  deaths that echo the long history of racial injustices that have plagued our
                           country.

                           As I write this, I realize words are inadequate to address this pain. But I share in the
                           horror of George Floyd’s murder and understand the pain and anger it has sparked.

                           What is needed now is action — a commitment from our university to
                           not merely celebrate our diversity, but to be actively anti-racist.

                           Systemic racism, sexism, homophobia and other hateful ideologies seek to deny our
                           shared humanity. They must be called out and confronted. They do not reﬂect the
                           values of our UCF community.


                           Learning From Each Other
                           One way we can take immediate action is to learn from each other.

                           Because we cannot gather in the traditional way, this Friday from 2 to 3:30 p.m., we
                           will host a virtual conversation about race and unity with the campus
                           community. More information will be shared soon.

                           Listening to each other’s stories helps each of us learn and grow. We welcome
                           discussions about lived experiences along with suggestions for how we can
                           collectively move forward on our campus.

                           Educational tools such as the Smithsonian National Museum of African American
                           History and Culture’s newly launched “Talking About Race” online portal provide
                           valuable resources for self-reﬂection.

                           Still, reﬂection must be paired with action and a commitment to stand against racism
                           in all its forms. At UCF, hate and bias-related incidents are responded to by the Just
                           Knights Response Team, which serves as a resource for our entire community to help
                           ensure a safe and inclusive UCF experience.

                           Connections to other campus support networks are provided by UCF’s Ofﬁce of Social
                           Justice and Advocacy.


                           Change Starts at UCF
                           Change starts with each one of us, including leaders across the university who must
                           actively embrace diversity and inclusive excellence in their words and actions,
                           especially in mentoring and hiring. It will take all of us working on critical race issues
                           to build a better UCF.

                           UCF is not perfect. I want us to demonstrate to the world what can be achieved when
                           more of us work together toward a shared humanity.

                           Since interviewing to come to UCF, I have said that our university looks like the future
                           of America. Looking like the future of America is a great start but not sufﬁcient. We
                           must be the example for the rest of the country and world for how a community fully
                           commits to inclusive excellence.

                           Black Lives Matter. You matter.

                           Together,

                           Alexander N. Cartwright
                           UCF President



                           MORE TOPICS


                             Inclusive Excellence              Diversity and inclusion                  president      Alexander N. Cartwright




                             ! SHARE          " TWE E T          # SHARE




                                                                               RELATED STORIES




UCF Announces Athletics                     UCF Committed to Building                           Thank You For All You Do                    Why We Remain Hopeful
Leadership Updates                          on Athletics’ Momentum




UCF Today’s Top 20 Stories of               UCF’s Top 30 Photos from                            Get to Know UCF’s President                 Announcing UCF’s New
2020                                        2020                                                and First Lady                              Senior Vice President for
                                                                                                                                            Administration and Finance




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Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 205 of 566 PageID 275




                          EXHIBIT R
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 206 of 566 PageID 276

A Message From the Interim Dean
Interim Dean, Tosha Dupras <tosha.dupras@ucf.edu>
Wed 6/3/2020 7 04 PM
To: Megan Turner <megan.turner@knights.ucf.edu>




   Dear Staff, Faculty and Students of the College of Sciences,


   I am deeply shocked and saddened by the recent and continued events across the U.S.
   involving violence against the black community. While these events are rooted in a long
   history of systemic and institutional racism in the U.S., there are no rationalizations nor
   amends that can be made for the fact that there are individuals throughout the U.S.
   whose lives are unsafe on a daily basis because of the color of their skin. Those in
   positions of power and/or privilege have a choice – to remain silent or to speak up. This
   is not the time for complacency or indifference.


   As the Interim Dean of the College of Sciences, and by the virtue of my skin color, I
   recognize my role as one of power and privilege. It is from this seat, and my own
   personal convictions, that I condemn hatred in any form. It is my stance as the leader of
   the college, that I am committed to providing a safe environment for individuals of all
   races, ethnicities, sexual orientation and religious beliefs. The College of Sciences strives
   to be a welcoming community of inclusivity where we can work, learn and interact with
   each other in a safe space.


   I recognize that, considering recent events, and the embedded systemic and institutional
   racism found throughout our nation, that many of our staff, faculty and students may feel
   marginalized, fearful, excluded or unsafe. How can we show our compassion and
   humanity? We extend a hand, we speak out and we reach out to support our friends,
   colleagues and students of color. To our black and brown faculty, staff and students: I see
   you, I support you and I grieve with you. #backlivesmatter #COSCares
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 207 of 566 PageID 277
  I am proud to work at an institution whose President has spoken out against racism (see
  President Cartwright’s message here), and has committed to creating an inclusive
  environment at UCF. Justice for all Knights is part of the university’s commitment to
  creating an inclusive and safe campus, and any social or racial bias can be reported to
  jkrt@ucf.edu. Those student who would like further involvement can volunteer with Social
  Justice and Advocacy (http://sja.sdes.ucf.edu/). I urge you all to participate in the virtual
  conversation about race and unity to be held this Friday (June 5th) from 2:00 to 3:30pm.


           “It’s going to take all of us to do better – to be better – to change our society.”
                                              S. Kent Butler
                                Interim Chief Equity, Inclusion and Diversity Officer, UCF


  Sincerely,




                            UCF College of Sciences | COSMarketing@ucf.edu | sciences.ucf.edu/




  Share this email:




  Manage your preferences | Opt out using TrueRemove®
  Got this as a forward? Sign up to receive our future emails.
  View this email online.


  4000 Central Florida Blvd.
  Orlando, FL | 32816 US
  This email was sent to megan.turner@knights.ucf.edu.
  To continue receiving our emails, add us to your address book.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 208 of 566 PageID 278




                          EXHIBIT S
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 209 of 566 PageID 279
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 210 of 566 PageID 280




                          EXHIBIT T
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 211 of 566 PageID 281

                                Diversity & Inclusion Syllabus Statements

The following resources are drawn from multiple U.S. institutions and can serve as examples of inclusive language for
syllabus creation.



Brown University

Preparation; When crafting a diversity statement you might consider the following questions:

    •   What are your discipline's conventions and assumptions? How might students with varying backgrounds respond to
        them?
    •   What role does your respect for and engagement with diversity in the classroom play in your personal teaching
        philosophy?
    •   What positive learning outcomes can come from respecting difference in the classroom? How can you highlight
        these?
    •   What do you want your students to know about your expectations regarding creating and maintaining a classroom
        space where differences are respected and valued?
    •   Is your statement inclusive of different types of diversity, including, but not limited to: race, gender, ethnicity, sexual
        orientation, age, socioeconomic status, religion, and disability?
    •   Which campus resources would you like to direct your students to for further support?
    •   What kind of classroom environment would your students like to see? How might you include them in the
        conversation about standards for classroom civility?

Sample Statement;

It is my intent that students from all diverse backgrounds and perspectives be well-served by this course, that students'
learning needs be addressed both in and out of class, and that the diversity that the students bring to this class be viewed as
a resource, strength and benefit. It is my intent to present materials and activities that are respectful of diversity: gender
identity, sexuality, disability, age, socioeconomic status, ethnicity, race, nationality, religion, and culture. Your suggestions
are encouraged and appreciated. Please let me know ways to improve the effectiveness of the course for you personally, or
for other students or student groups.

Important note: Given the sensitive and challenging nature of the material discussed in class, it is imperative that there be
an atmosphere of trust and safety in the classroom. I will attempt to foster an environment in which each class member is
able to hear and respect each other. It is critical that each class member show respect for all worldviews expressed in class. It
is expected that some of the material in this course may evoke strong emotions, please be respectful of others' emotions and
be mindful of your own. Please let me know if something said or done in the classroom, by either myself or other students,
is particularly troubling or causes discomfort or offense. While our intention may not be to cause discomfort or offense, the
impact of what happens throughout the course is not to be ignored and is something that I consider to be very important
and deserving of attention. If and when this occurs, there are several ways to alleviate some of the discomfort or hurt you
may experience:

    1. Discuss the situation privately with me. I am always open to listening to students' experiences, and want to work
       with students to find acceptable ways to process and address the issue.
    2. Discuss the situation with the class. Chances are there is at least one other student in the class who had a similar
       response to the material. Discussion enhances the ability for all class participants to have a fuller understanding of
       context and impact of course material and class discussions.
    3. Notify me of the issue through another source such as your academic advisor, a trusted faculty member, or a peer. If
       for any reason you do not feel comfortable discussing the issue directly with me, I encourage you to seek out
       another, more comfortable avenue to address the issue.
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 212 of 566 PageID 282

Link for more information; https://www.brown.edu/sheridan/teaching-learning-resources/inclusive-teaching/statements




Carnegie Mellon University
Preparation; When creating a diversity statement for your syllabus, please consider the following questions

    •     How do you, concretely, recognize and value diversity in your classroom? (For instance, do you have systems in place
          to ensure everyone's voice will be heard? Do you use a variety of examples to illustrate concepts? Do you have
          guidelines for respectful discussions?)
    •     How can diversity – as represented in your discipline, course content, and classroom – be an asset for learning?
    •     How will issues related to diversity arise in your course and classroom? And, how will you handle them (ideally)
          when they do? (For instance, does your discipline or course content explicitly or implicitly raise sensitive or
          controversial topics related to diversity and inclusion? How might students from different social and cultural
          backgrounds respond to disciplinary norms?)
    •     Do you seek input from your students on classroom climate (i.e., to what extent they they feel included and how)?
    •     What relevant resources exist on campus that could be useful to your students (e.g., Center for Diversity and
          Inclusion, Intercultural Communication Center, Office of Title IX Initiatives)?
    •     Your statement should articulate to your students why being inclusive matters to you, specifically, and how that
          relates to your discipline, course, and desired classroom climate.
    •     It can be helpful to consider your discipline's history with underrepresented groups, and how disciplinary
          conventions might work to facilitate or become obstacles to inclusion.
    •     After drafting your statement, check whether the rest of your syllabus and course design matches your diversity
          statement in tone and spirit, that is to say, is also positive and inclusive (see additional resources on creating an
          inclusive learning environment):
    •     Be inclusive by recognizing different types of diversity in your statement.



Sample;

“‘A university is a place where the universality of the human experience manifests itself.’ -Albert Einstein

In keeping with the spirit of Einstein’s viewpoint, the Department of Communication Studies is committed to providing an
atmosphere of learning that is representative of a variety of perspectives. In this class, you will have the opportunity to
express and experience cultural diversity as we focus on issues such as: gender and communication in small groups,
communication in the multicultural group, and cross-cultural and intercultural work group communication. In addition,
writing assignments and daily activities have been designed to encourage individuality and creative expression. You are
encouraged to not only take advantage of these opportunities in your own work, but also, learn from the information and
ideas shared by other students.”



Link for more information: https://www.cmu.edu/teaching/designteach/syllabus/checklist/diversitystatement.html
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 213 of 566 PageID 283




University of Southern California
Preparation; Diversity & Inclusion Syllabus Checklist

RELEVANT CONSIDERATIONS (not to be included in the syllabus document)

•   Personal Definitions
        o Identification of the many diversities present in your course and your assumptions made
            about students’ skill level, device use, lifestyle, comfort, etc.

•   Departmental Definition
       o Review of school’s working definition of Diversity and Inclusion from its Five-Year Plan.



RECOMMENDED COURSE POLICY (included in the syllabus)

•   Communication
       o Encouragement of students to contact instructor outside of class. Specifications of how
         students should contact instructor (e.g., USC email) and the time frame in which instructor
         will respond (e.g., within 48 hours).

•   Technology
       o Instruction on how students in need of course-required technology can obtain it (e.g., loaner
           laptop) and training on the technology.

•   Discussion Etiquette
        o Statement of required professional language/terms used in the field and expected to be used
            by students. Statement of behavioral expectations for online and/or classroom discussions.



REPRESENTATIVE CONTENT (may be included in the syllabus, referred to in the syllabus, and/or present elsewhere in
the course)

•   Current events
       o Inclusion of real world events, both local and global/international, when pertinent to course learning
           objectives and in support of weekly topics.

•   Perspectives & voices
        o Inclusion of traditionally un- or under-represented perspectives and voices woven throughout, not included as
            an add-on, one-off, or separate section.

•   Instructor impartiality
        o Provision of instructor-created content that demonstrates fair attention to topics and issues regardless of
            personal beliefs and without revealing one’s bias or appearing to push a personal agenda.
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 214 of 566 PageID 284




CONTENT FORMAT (may be included in the syllabus, referred to in the syllabus, and/or present elsewhere in the course)

•   Types
       o Inclusion of content in multiple formats when possible, such as a video interview with an expert on the topic
          as well as a research article or textbook chapter.

•   Images
       o Provided content containing images, such as slides and videos, is described/captioned, and reflects the
           diversity of students in the course/at USC.

•   Accessibility
       o Linked content follows recommended best practices for access: videos are captioned and transcripts provided,
            documents are .pdf or .doc, documents use headings rather than individually-styled text, etc. For
            assistance, contact DSP.

•   OERs (Open Educational Resources)
      o Inclusion of free and openly licensed course content to replace or supplement for-purchase content, such as an
          e-textbook. For more information, visit USC Libraries OER Guide



ASSIGNMENT/ASSESSMENTS (may be included in the syllabus, referred to in the syllabus, and/or present elsewhere in
the course)

•   Formative assessment
       o Description of formative assessments, providing students with multiple low-stakes opportunities to assess and
           improve their performance.

•   Summative assessment
       o Description of the diverse modes of expression through a variety of assessment types (group projects, case-based
          role plays, partner quiz, multimodal presentations, etc.) in addition to, or instead of, traditional types (multiple
          choice, essay/paper, etc.).

•   Description
       o Reference to assignment descriptions that will be disseminated and include the course learning objective the
            assignment supports, brief narrative paragraph prompt, scaffolded steps to complete the assignment, and
            grading rubric. See CET Assignment Description Template



GRADING (may be included in the syllabus, referred to in the syllabus, and/or present elsewhere in the course)

•   Grading rubrics
       o Reference to the use of grading rubrics for all assignments/assessments to demonstrate clarity,
           transparency, specificity, fairness, and attempts at objectivity.
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 215 of 566 PageID 285


Link for more information; http://webcache.googleusercontent.com/search?q=cache:BZQOpgngP9EJ:cet.usc.edu/cet/wp-
content/uploads/2017/06/diversity_inclusion_syllabus_checklist.docx+&cd=16&hl=en&ct=clnk&gl=us




Mount Holyoke College

Preparation; Checklist for Designing an Inclusive Syllabus


What and how students will learn: The Learning-Centered UDL Syllabus

•   Vision/Goal Statement
•   Detailed course schedule
•   Research and writings from authors of diverse backgrounds and offering multiple perspectives
•   Experiential learning: Relevant and connected to students’ life experiences and funds of knowledge and real-world issues
•   Variety of in-and out-of-class learning activities that allow students to learn in different ways and through various
    modalities
•   Clear student learning objectives related to course content AND the required learning processes
•   Assignments offer multiple options, flexibility, choice, various ways of developing and demonstrating knowledge
•   Scaffolding of extensive assignments with options for review, feedback, revision
•   Fair and clear assessment criteria: Rubrics, checklists, rationales for grading
•   Learning objectives and assignments/assessments are well aligned

What will help students to learn: Inclusive and Supportive Course Policies

•   Disability Accommodation and Inclusive Learning Statement with hyperlinks to campus and other resources
•   Inviting Office Hours Statement
•   Expansive Academic Honesty Statement with hyperlinks to campus and other resources
•   Pronoun Policy
•   Course Value & Norms Statement

Rhetoric

•   Welcoming and inviting tone
•   Use of personal pronouns
•   Cooperative language

Redundancy across modes

•   Use of icons & logos
•   Images of key authors, textbooks
•   Visuals to represent main concepts
•   Word clouds
•   Visual representation of grade distribution
•   Digital syllabus on course website

Readability & Accessibility

•   Clear hierarchical structure of document, using headings
•   Table of Contents with in-document hyperlinks
•   Text: 12-14 point sans serif font; 1.5 line spacing; bold or underline to emphasize text
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 216 of 566 PageID 286

•   Text distribution: digestible sections for learners with reading disabilities, non-native English speakers, attention-deficits-
        o Text boxes
        o Columns
        o White space
        o Margins
        o Bullet points
        o Tables
•   Accessible color design
•   Alternative text for images (Format picture, Properties, Alt Text)
•   Check with accessibility checker
•   Flexible text that can be altered by the user



Montana State University
Sample (diversity statement vs inclusivity statement);

Diversity statement: Respect: Students in this class are encouraged to speak up and participate during class meetings.
Because the class will represent a diversity of individual beliefs, backgrounds, and experiences, every member of this class
must show respect for every other member of this class. (Adopted from California State University)

Inclusivity Statement: I support an inclusive learning environment where diversity and individual differences are
understood, respected, appreciated, and recognized as a source of strength. We expect that students, faculty, administrators
and staff at MSU will respect differences and demonstrate diligence in understanding how other peoples' perspectives,
behaviors, and worldviews may be different from their own. (Adopted from University of Northern Colorado)



University of Central Florida
Sample;

One way to promote a safe and caring classroom community is to encourage each student's unique voice, perspective, and
presence. The following diversity statement gives professors language for explaining how students' contributions will be
valued:

The University of Central Florida considers the diversity of its students, faculty, and staff to be a strength and critical to its
educational mission. UCF expects every member of the university community to contribute to an inclusive and respectful
culture for all in its classrooms, work environments, and at campus events. Dimensions of diversity can include sex, race,
age, national origin, ethnicity, gender identity and expression, intellectual and physical ability, sexual orientation, income,
faith and non-faith perspectives, socio-economic class, political ideology, education, primary language, family status, military
experience, cognitive style, and communication style. The individual intersection of these experiences and characteristics
must be valued in our community.

Title IX prohibits sex discrimination, including sexual misconduct, sexual violence, sexual harassment, and retaliation. If
you or someone you know has been harassed or assaulted, you can find resources available to support the victim, including
confidential resources and information concerning reporting options at www.shield.ucf.edu and http://cares.sdes.ucf.edu/.

If there are aspects of the design, instruction, and/or experiences within this course that result in barriers to your inclusion
or accurate assessment of achievement, please notify the instructor as soon as possible and/or contact Student Accessibility
Services.

For more information on diversity and inclusion, Title IX, accessibility, or UCF’s complaint processes contact:
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 217 of 566 PageID 287

    •     Title IX – EO/AA - http://www.eeo.ucf.edu/ & askanadvocate@ucf.edu

    •     Disability Accommodation – Student Accessibility Services - http://sas.sdes.ucf.edu/ & sas@ucf.edu

    •     Diversity and Inclusion Training and Events – www.diversity.ucf.edu

    •     Student Bias Grievances – Just Knights response team - http://jkrt.sdes.ucf.edu/

    •     UCF Compliance and Ethics Office - http://compliance.ucf.edu/ & complianceandethics@ucf.edu

    •     Ombuds Office - http://www.ombuds.ucf.edu

Link for more information; http://fctl.ucf.edu/TeachingAndLearningResources/DiversityAndInclusion/




Centenary College of Louisiana
Sample (class diversity statement vs statement on diversity);

Class Diversity Statement: Centenary College of Louisiana—and your professor—value human diversity in all its richly
complex and multi-faceted forms, whether expressed through race and ethnicity, culture, political and social views, religious
and spiritual beliefs, language and geographic characteristics, gender, gender identities and sexual orientations, learning and
physical abilities, age, and social or economic classes. Enrich yourself by practicing respect. For questions, concerns, or more
information, contact your professor and/or Centenary’s Diversity Chair, listed here:
http://www.centenary.edu/globalengagement/diversity.

Statement on Diversity: We value human diversity in all its richly complex and multi-faceted forms, whether expressed
through race and ethnicity, culture, political and social views, religious and spiritual beliefs, language and geographic
characteristics, gender, gender identities and sexual orientations, learning and physical abilities, age, and social or economic
classes. We respect the value of every member of the class, and everyone in the class is encouraged to share his or her unique
perspective as an individual, not as a representative of any category. Multicultural and intercultural awareness and
competencies are key leadership skills, and we intend to present material and classroom activities that respect and celebrate
diversity of thought, background, and experience. College is supposed to challenge assumptions and to provide new and
sometimes uncomfortable ways of looking at issues, but if you feel uncomfortable regarding content or perspectives that are
presented or discussed by professors, guest speakers, or other students we encourage you to contact one of your instructors
immediately so that we can discuss those feelings. We would like to use your preferred language when addressing you, so
please let us know if your preferred name (or the pronunciation of that name) differ from what we are using and we ask that
each of you let us know your preferred gender pronouns. Your suggestions on how to incorporate diversity in this course in
a meaningful way are appreciated and encouraged.

Link for more information; https://www.centenary.edu/files/resources/sample-diversity-statements-for-course-syllabi.pdf



The University of Kansas
Sample;

“This is an Inclusive Classroom”

At KU, administrators, faculty, and staff are committed to the creation and maintenance of “inclusive learning” spaces.
These are classrooms, labs, and other places of learning where you will be treated with respect and dignity and where all
individuals are provided equitable opportunity to participate, contribute, and succeed.
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 218 of 566 PageID 288

In [our classroom/insert course here], all students are welcome regardless of race/ethnicity, gender identities, gender
expressions, sexual orientation, socio-economic status, age, disabilities, religion, regional background, Veteran status,
citizenship status, nationality and other diverse identities that we each bring to class.

Your success at KU and beyond is enhanced by the innovation and creativity of thought that inclusive classrooms facilitate.
The success of an inclusive classroom relies on the participation, support, and understanding of you and your peers. We
encourage you to speak up and share your views, but also understand that you are doing so in a learning environment in
which we all are expected to engage respectfully and with regard to the dignity of all others.

Any student who has difficulty affording groceries or who lacks a safe and stable place to live and believes this may affect
their performance in the course is urged to contact me or Student Affairs for support (studentaffairs@ku.edu). Other
resources you may find helpful:

    •   Student Emergency Assistance Fund: https://studentaffairs.ku.edu/emergency-assistance-students
    •   Free food at the Campus Cupboard: http://www.cco.ku.edu/food/
    •   Free Legal Services for Students: www.legalservices.ku.edu

If you have any questions or concerns do not hesitate to raise them in class or with me directly.

Link for more information; https://cte.ku.edu/creating-inclusive-syllabus



Stonehill College
Sample (classroom accommodation statement vs diversity and inclusion statement);

Classroom Accommodation Statement: Stonehill College is committed to providing a welcoming, supportive and inclusive
environment for students with disabilities. The Office of Accessibility Resources (OAR) provides a point of coordination,
resources and support for students with disabilities and the campus community. If you anticipate or experience physical or
academic barriers based on disability, please let me know so that we can discuss options. You are also welcome to contact
OAR to begin this conversation or to establish reasonable accommodations for this or other courses. OAR is located within
the Academic Services & Advising Suite in Duffy 104. For additional information please call (508) 565-1306 or
email accessibility-resources@stonehill.edu.

Diversity and Inclusion Statement: Stonehill College embraces the diversity of students, faculty, and staff, honors the
inherent dignity of each individual, and welcomes their unique cultural and religious experiences, beliefs, and perspectives.
We all benefit from a diverse living and learning environment, and the sharing of differences in ideas, experiences, and
beliefs help us shape our own perspectives. Course content and campus discussions will heighten your awareness to these
differences.

There are many resources for anyone seeking support or with questions about diversity and inclusion at Stonehill. Resources
are infused throughout the Mission Division, Academic Affairs, and Student Affairs. If you’d like more information on how
to get connected to resources, the Office of Intercultural Affairs is a good first stop: Location: Duffy 149, Phone: 508-565-
1409, Email: diversity@stonehill.edu.

If you are a witness to or experience an act of bias at Stonehill, you may submit a bias incident report online or on the
Stonehill App. If you would like to learn more on bias incident prevention and response, or submit a report please
visit: http://www.stonehill.edu/offices-services/intercultural-affairs/bias-response-protocol/

A personal note from your professor… If you ever have a concern about my behavior or that of another student in the class,
please, please feel free to approach me in person, by email, or with an anonymous note under my door… whatever it takes so
that I can continue to work on creating an inclusive classroom environment. Thank you.

Link for more information; https://www.stonehill.edu/offices-services/ctl/teaching-resources/suggested-syllabus-statements/
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 219 of 566 PageID 289



University of Maryland, Baltimore County

Sample (diversity, civility and respect);

Diversity Statement on Civil Dialogue: I hope the course challenges us to engage with issues that touch our and others’ lives
personally and politically and to develop ways of thinking and acting to address them in nuanced, conscious, and
accountable ways. Questions, personal insights, experiences, and emotions about the materials and topics are always
welcome in class. I do not expect that we share the same views on the topics we cover (in fact I hope we do not). We all need
to speak up, especially when we do not agree with each other’s views, but do so in a respective manner. The range of views
you hold and the experiences you bring into the classroom will make our learning experiences much more interesting and
enriching. In order to ensure an environment for robust intellectual debate, please do not video or audio record in
class.(Example from Autumn Reed’s FYS 107Y-01, U.S. Orientalism)

Diversity Statement on Respect: Students in this class are encouraged to speak up and participate during class meetings.
Because the class will represent a diversity of individual beliefs, backgrounds, and experiences, every member of this class
must show respect for every other member of this class. (From California State University, Chico’s Office of Diversity and
Inclusion).

Link for more information; https://fdc.umbc.edu/creating-a-welcoming-classroom/



University of Michigan
Sample (religious/cultural observance, point of view, discussion guidelines, accessibility and accommodations, student
mental health and well-being, attendance, participation, and universal learning, title ix statement, plagiarism);

Religious/Cultural Observance: Persons who have religious or cultural observances that coincide with this class should let
the instructor know in writing (by e-mail for example) by [date]. I strongly encourage you to honor your cultural and
religious holidays! However, if I do not hear from you by [date], I will assume that you plan to attend all class meetings.

Point of View: The readings, class lecture, and my comments in class will suggest a particular point of view. This perspective
is my own and does not have to be yours! I encourage you to disagree with the ideas in the readings and lectures as well as
the perspectives of your colleagues in the course. Please express yourself!! A significant part of a college education is
learning about the complexity of various issues; therefore, it is important that we listen and respect one another but we do
not have to agree. A richer discussion will occur when a variety of perspectives are presented in class for discussion.

Accessibility and Accommodations: If you think you need an accommodation for a disability, please let us know at your
earliest convenience. Some aspects of this course, such as the assignments, in-class activities, or the way we teach may be
modified to facilitate your participation and progress. As soon as you make us aware of your needs, we can work with you,
the Office of Services for Students with Disabilities, or the Adaptive Technologies Computing Site to help determine
appropriate accommodations. We will treat any information about your disability with the utmost discretion.

Student Mental Health and Well-being: University of Michigan is committed to advancing the mental health and wellbeing
of its students. If you or someone you know is feeling overwhelmed, depressed, and/or in need of support, services are
available. For help, contact Counseling and Psychological Services (CAPS) at (734) 764-
8312 andhttps://caps.umich.edu/ during and after hours, on weekends and holidays, or through its counselors physically
located in schools on both North and Central Campus. You may also consult University Health Service (UHS) at (734)
764-8320 and https://www.uhs.umich.edu/mentalhealthsvcs, or for alcohol or drug concerns,
see www.uhs.umich.edu/aodresources. For a listing of other mental health resources available on and off campus,
visit:http://umich.edu/~mhealth/.
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 220 of 566 PageID 290

Discussion Guidelines (multiple examples)

•   Example 1 (from U-M Faculty Member Evelyn Alsutany, American Culture)
    Class Conduct: A positive learning environment relies upon creating an atmosphere where diverse perspectives can be
    expressed, especially in a course that focuses on pressing and controversial social and political issues. Each student is
    encouraged to take an active part in class discussions and activities. Honest and respectful dialogue is expected.
    Disagreement and challenging of ideas in a supportive and sensitive manner is encouraged. Hostility and disrespectful
    behavior is not acceptable. Just as we expect others to listen attentively to our own views, we must reciprocate and listen
    to others when they speak, especially when we disagree with them. However, in this class, our emphasis will be on
    engaging in the mutual exploration of issues as presented in the course readings as scholars rather than in defending
    points of view we have formed outside the classroom.

•   Example 2 (from U-M Faculty Member Alisse Portnoy, English)
    In our structured and unstructured discussions and dialogues, we also will have many opportunities to explore some
    challenging, high-stakes issues and increase our understandings of different perspectives. Our conversations may not
    always be easy; we sometimes will make mistakes in our speaking and our listening; sometimes we will need patience or
    courage or imagination or any number of qualities in combination to engage our texts, our classmates, and our own
    ideas and experiences. Always we will need respect for others. Thus, an important second aim of our course necessarily
    will be for us to increase our facility with the sometimes difficult conversations that arise inside issues of social justice as
    we deepen our understandings of multiple perspectives – whatever our backgrounds, experiences, or positions.


•   Example 3 (From U. of S. Carolina Center for Teaching
    Excellence, http://www.sc.edu/cte/guide/syllabus/statements.shtml)
    In order to learn, we must be open to the views of people different from ourselves. In this time we share together over
    the semester, please honor the uniqueness of your fellow classmates and appreciate the opportunity we have to learn
    from one another. Please respect each others’ opinions and refrain from personal attacks or demeaning comments of
    any kind. Finally, remember to keep confidential all issues of a personal or professional nature that are discussed in
    class.

Attendance, Participation, and Universal Learning: Attendance and participation are highly important in this [small,
collaborative, seminar-style] class. If you must be absent because of an emergency or illness, please make every effort to speak
with me about it beforehand, if possible, or after the next class. I will excuse such absences with a doctor’s note or other
form of official documentation. Please notify me of absences due to religious observance or University sporting events as
soon as you can, or by the third week of the semester. Keep in mind that more than two unexcused absences will begin to affect
your final grade.

I am committed to the principle of universal learning. This means that our classroom, our virtual spaces, our practices, and
our interactions be as inclusive as possible. Mutual respect, civility, and the ability to listen and observe others carefully are
crucial to universal learning. Active, thoughtful, and respectful participation in all aspects of the course will make our time
together as productive and engaging as possible. I will give you midterm feedback on your participation.

If you have a particular need, please arrange a meeting with me so I can best help you learn in this course. I will treat as
private and confidential any information that you share. I also suggest you contact Services for Students with Disabilities
(SSD) at the start of the semester. Please ask SSD to forward any necessary information to me.

Here is the contact information for Services for Students with Disabilities:

    •   Location: G-664 Haven Hall

    •   Phone: (734) 763-3000

    •   Website: http://ssd.umich.edu/
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 221 of 566 PageID 291

Your success in this class is important to me. If there are circumstances that may affect your performance in this class, please
let me know as soon as possible so that we can work together to develop strategies for adapting assignments to meet both
your needs and the requirements of the course.

Title IX Statement: Title IX makes it clear that violence and harassment based on sex and gender is a Civil Rights offense
subject to the same kinds of accountability and the same kinds of support applied to offenses against other protected
categories such as race, national origin, etc. If you or someone you know has been harassed or assaulted, you can find the
appropriate resources here:

    •   UM Sexual Assault and Prevention Center (SAPAC) 24-hour confidential crisis line (734) 936-3333
        * http://sapac.umich.edu/

    •   UM Counseling and Psychological Services (CAPS) (734) 764-8312 * http://caps.umich.edu/

    •   University of Michigan Police (DPSS) (734) 763-1131 (or 911 for emergency) * http://www.dpss.umich.edu/

    •   UM Office of Student Conflict Resolution (724) 936-6308 * http://oscr.umich.edu

    •   UM Newnan Academic Advising Center (734) 764-0332 * https://lsa.umich.edu/advising

Plagiarism: The LSA Office of Academic Affairs defines plagiarism as “representing someone else’s ideas, words, statements
or other work as one’s own without proper acknowledgment or citation”
(seehttps://lsa.umich.edu/lsa/academics/academic-integrity/academic-misconduct.html). New writing challenges can tax
your writing fluency, and entering new academic discourses can test your abilities to synthesize and take ownership over
source texts and concepts. My job as instructor in this course is to help you through these obstacles so that you can find your
footing as a writer in new domains. Your job as a student is to keep the faith, so to speak, and work through these new
domains until you regain confidence. This work requires patience, planning, and focus.

Much plagiarism occurs as a result of a lack of care in regard to reading, note taking, and citation practices, or from
procrastination, and/or panic. Care, timeliness, and communication will eliminate most of the risk. If you have questions
about whether or not you should give credit to a source in your work, you may clarify it with me. In general, though, I
recommend always the citing sources you have consulted as well as those you borrow from directly. If you are having difficulty
with an essay, please contact me right away! That’s what my email address and office hours are for.

Link for more information; https://sites.lsa.umich.edu/inclusive-teaching/2017/08/24/inclusive-syllabus-language/
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 222 of 566 PageID 292



Developed for Clemson University by the “Dive-In to Teaching Diversity and Inclusion Across Disciplines” Faculty Learning Community,
2019. Sponsored by the Division of Inclusion and Equity.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 223 of 566 PageID 293




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   Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 224 of 566 PageID 294




                                THE4085-0M01, THE5677-0M01,
                               MUS4674-0M01, MUS5677-0M01:
                           Health & Wellness for the Performing Artist
                                 Department of Theatre, School of Performing Arts,
                                         College of Arts and Humanities
                                                 3 Credit Hours
Instructor Information

      Instructor: Christopher Niess
      Office Location: Office/T234 THEATRE WING School of Performing Arts
      Office Hours: TBA and by appointment - visit the Doodle schedule to sign up for an appointment
      Phone: Office/ 407.823.0874
      Digital Contact: niess@ucf.edu

Teaching Assistants

      GTA(s): Sarah Hubert, Jessica Johnson, Joshua Kimball, Amy Livingston, Janice Munk
      Email: sarah.hubert@Knights.ucf.edu, jessicajaye35@Knights.ucf.edu,
       joshua.kimball@Knights.ucf.edu, Amy Livingston TBD, janicemunk@Knight.ucf.edu.

Course Information

      Term: Semester 2019
      Course Numbers & Sections: THE 4085 THE 5677 MUS 4674 MUS 5677 ALL ARE SECTION
       0M01
      Course Name for all sections: Health & Wellness for the Performing Artist
      Credit Hours: 3
      Class Meeting Days: Thursdays
      Class Meeting Time: 4:30 - 5:45
      Class Location: MUSIC wing - School of Performing Arts M150
      Course Modality: M

Enrollment Requirements

Course Prerequisites (if applicable): MUT 2127, or THE 2000, or Instructor Permission

Course Co-requisites (if applicable): None.
Other Enrollment Requirements (if applicable): None.

Course Description
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 225 of 566 PageID 295

This course will focus on performing artists’ health and related topics. Topics include: basic musculoskeletal
anatomy and physiology, breathing coordination, The Alexander Technique, Body Mapping, care of the voice,
discipline-based injury cause and prevention, wellness practices for the mind and body, and effective practice
and performance.

Course Materials and Resources

      CREATIVITY AND THE PERFORMING ARTIST: BEHIND THE MASK. Paula Thomson and S.
       Victoria Jaque. Academic Press/Elsevier. ISBN 978-0-12-804051-5
      IT STARTS WITH FOOD. Dallas and Melissa Hartwig. Victory Belt/VB Publishing ISBN 13: 978-1-
       628600-54-4
      You will also have numerous reading assignments that will be available on Webcourses@UCF.

Please be sure to order your textbook as soon as possible. There are no reading assignments from
the textbooks for the first three weeks so you will have time to get one ordered. Some possibilities
besides the bookstore include used book sellers at these links. Better World, e-Bay, eCampus,
Amazon

Optional Materials/Resources

      none

Student Learning Outcomes

      Student will recognize and evaluate the body's anatomy and physiology as it relates to the movement
       patterns of live performance, reflected in quiz scores and daily practice.
      Student will recognize and identify physical and psychological health issues for performing
       artists, reflected in class discussion, journaling and quizzes.
      Student will develop strategies for injury prevention in one’s own performance, including
       hearing protection, care of the voice and body maintenance, reflected in daily practice and
       research presentations.
      Student will begin to develop new habits, warmup routines and activities for maximizing
       performance potential and minimizing performance anxiety, reflected in daily practice and
       journaling.

Course Activities
Assignments

      Attendance/Participation/Quizzes
      Group Discussion Journal
      Body Mapping Exercise

   (see details below)

Final Projects/Examinations

      Reflection/Process Presentation
      Final "Written" Examination
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 226 of 566 PageID 296

   (see details below)

Required Resources

      You will need to have access to a computer with an internet connection to access webcourses.

Activity Submissions

Webcourses

Webcourses is an online course management system (accessed through my.ucf.edu and then the "Online
Course Tools" tab) which will be used as a medium for turning in assignments and a forum for communicating
with your teammates. Under the "Discussion" section, you will have a designated forum section. My
recommendation is to check Webcourses every 2-3 days for updates from your teammates or myself.

Technology/Software Requirements

Students will be expected to have access to a computer frequently, as all writing assignments used will be typed
out and not handwritten. The software you use to write your assignments is irrelevant, as long as you follow my
writing guidelines outlined later in my syllabus. I recommend to have access to a computer weekly.

Internet Usage

You will be expected to have daily access to the internet and email, since I may be emailing you constantly
about assignment updates, additions and changes. All students at UCF are required to obtain a Knight's Email
account and check it regularly for official university communications. If you do not own a computer, there are
computers accessible to you in all UCF's computer labs, and most computer labs have computers connected to
the internet. For further information on computer labs, please see the following website:
http://registrar.sdes.ucf.edu/webguide/index_quickfind.aspx.

Make-up Exams and Assignments

Per university policy, you are allowed to submit make-up work (or an equivalent, alternate assignment) for
university-sponsored events, religious observances, or legal obligations (such as jury duty). If this participation
conflicts with your course assignments, I will offer a reasonable opportunity for you to complete missed
assignments and/or exams. The make-up assignment and grading scale will be equivalent to the missed
assignment and its grading scale. Please contact me ahead of time to notify me of upcoming needs.

Course Requirements

Class Protocols

      You must have access to the internet and an active Knightsmail

Knightsmail is the sole email address server used to communicate with students in this class.

      Movement activities will be an important part of this class. On most days we will do such activities as
       walking, getting in and out of a chair, floor activities, etc. You may wish to bring a yoga or pilates mat
       or beach towel for the floor work. You should wear comfortable, loose-fitting clothes that do not restrict
       your movement.
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 227 of 566 PageID 297

      The movement activities are an important part of getting the maximum benefit from the class. The
       movement activities are designed and organized for your benefit, most people enjoy them greatly and
       feel better for having done them. Therefore if you have a physical condition that prevents some physical
       activity please consult with the instructor to plan alternative physical activity that will not injure or
       impede you..
      Reading and listening assignments are posted well in advance. Please do these assignments before that
       topic is discussed in class so that you may participate knowledgeably.
      Turn off all cell phones and other electronic communication devices during class. You may use your
       laptop in class only for taking class notes. Using a laptop in class for other purposes (surfing internet,
       Facebook, poker, texting, email, etc.) is unauthorized and will result in the loss of laptop privileges in
       class.

Webcourses@UCF

      This syllabus and numerous resources and supplementary materials are housed under the MUS
       5674/MUS 4674 number at Webcourses@UCF, accessible to you through your Online Course Tools tab
       on your MyUCF page. You will be able to review recent assignments and your current course grade, and
       I will use Webcourses@UCF to post announcements and supplemental materials. Discussion group
       assignments will be completed through Webcourses@UCF and your program notes assignments will be
       submitted this way as well. Webcourses is best accessed by Firefox on Mac or Internet Explorer on PC.

Communication

      The most reliable way to contact me is through email (niess@ucf.edu). You can generally expect a brief
       response in twenty-four to thirty-six hours during the week, a little longer on weekends. Complex or
       extended topics are best discussed either in a personal meeting or on the telephone. Please review the
       following email policies:
      Include “Subject” headings: use something that is descriptive and refer to a particular assignment or
       topic. I do not respond to email that has a blank or misleading subject heading.
      I read all email personally, so in your salutation address me by name. You may address me as
       Christopher, or Professor Niess. I do not respond to email that fails to address me in the salutation or
       addresses me as "Yo Teach," "Hey Prof," or whatever other hip greeting that students use among
       themselves.
      Sign your e-mail messages with your first and last name. I do not respond to “anonymous” e-mail.

Missed Assignments/Make-Ups/Extra Credit

Make-up Exams Policy

      Make-up examinations will be administered strictly according to university policy governing authorized
       events and activities. All other make-up examinations are at the sole discretion of the instructor and will
       be given only rarely and only in extraordinary circumstances.
      Consult the course calendar carefully to ensure that you do not have irreconcilable conflicts with course
       deadlines. For the purpose of this course please note that weddings, vacations, family reunions, etc., do
       not constitute “extraordinary circumstances.” If you discover that these or similar events will prevent
       you from completing all the course requirements on time then you should drop the course.

Extra Credit Policy

The extra credit policy is that no extra credit is given. Be diligent with your readings, listening, and other
activities. Spend at least some time and effort with the course several times a week. Don’t fall behind; set a
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 228 of 566 PageID 298

schedule and stick to it. If you do these things then you should do well in the course and will have no need for
extra credit.

Grades of “Incomplete”

The current university policy concerning incomplete grades will be followed in this course. Incomplete grades
are given only in situations where a student has successfully completed most of the course requirements and
unexpected emergencies (illness, accident, family emergency) prevent a student from completing final course
requirements by the end of the semester. Your instructor is the final authority on whether you qualify for an
incomplete. Incomplete work must be finished by the deadline indicated on the Incomplete Form or the “I” will
automatically be recorded as an “F” on your transcript.

End of Term Pleas and Appeals

All students will be awarded the grade you earn. Please do not embarrass me or yourself with end-of-term
appeals for a higher grade based upon non-course criteria. Asking for a higher grade because of factors
extraneous to your performance in the course is unethical, unfair to other students, and will not receive a
sympathetic audience from the instructor.

Syllabus Changes

I reserve the right to make changes to the syllabus and schedule as appropriate. Students will be given as much
notice as possible about any changes and the reason for them.

Evaluation and Grading

Your course grade will be based on the following assignments:

      Attendance/Participation/Quizzes. This course is experiential and activity-based. Regular attendance,
       punctuality, and participation in all class activities is a significant part of the grade. You will potentially
       receive 250 points calculated using a percentage of your attendance in face-to-face (F2F) sessions,
       participation in online prompted discussions, and timed quizzes on assignments. Unexcused tardiness,
       early departure from class or non-participation in discussions will result in no credit for that F2F session
       or project. Participation will be assessed based upon participation in any exercise/discussions for that
       session."
      Journal. You will keep a group "performer’s discussion/journal" during the semester – chronicling and
       sharing your ideas and development regarding breath support and alignment, body mapping, and other
       principles related to health in the performance process. You may be given occasional prompts through
       webcourses@ucf on a variety of topics to help guide your journaling, but it will be your responsibility to
       maintain an adequate ‘conversation’ (at minimum once a week) centered on your developing work
       habits. Journals will be reviewed as part of the participation grade, and will be used for the
       Reflexion/Process Presentation at the end of the semester.
      Body Mapping - Project based on understanding body mechanics through imagery (to aid healthy
       movement in practice and performance. You will complete a “Body Map”, according to Alexander
       Theory, which is worth up to 50 points.
      Reflection/Process Presentation -- .Reflection project is based on developing personal physical
       practice -- it is presented orally to the class (material presented based on observations chronicled in the
       online journal; and in the actual presentation, demonstrating healthy alignment, physical ease and lack of
       tension)
      Final Examination -- Based on terminology used throughout the class -- in both readings and in F2F
       sessions.
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 229 of 566 PageID 299

Consult webcourses@ucf for schedule and details on the course assignments.

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Assignment                                     Potential points Letter Grade            %        Actual Points
Attendance/Participation/Quizzes               250                A                94 – 100%     470 - 500
Body Mapping                                   50                 A-               90 – 93%      450 - 469
Reflection/Research Project (Journal)          100                B+               88 – 89%      440 - 449
Written Examination                            75                 B                84 – 87%      420 - 439
                                                                  B-               80 – 83%      400 - 419
Total                                          500                C+               78 – 79%      390 - 399
                                                                  C                74 – 77%      370 - 389
                                                                  C-               70 – 73%      350 - 369
                                                                  D+               68 – 69%      340 - 349
                                                                  D                64 – 67%      320 - 339
                                                                  D-               60 – 63%      300 - 319
                                                                  F                below 60%




Attendance Policy

90% of success in life is just showing up—Woody Allen

On-time attendance at all class meetings is expected. Research has repeatedly demonstrated that students who
attend class regularly do better in the course than students who frequently miss class. Class will begin promptly
at 4:30 and end promptly at 5:45. Part of your grade will be calculated from class participation. Please note the
following policies related to attendance:

University Policy (Undergraduate Catalog): “Reasons for acceptable absences may include illness, serious
family emergencies, special curricular requirements (e.g., judging trips, field trips, professional conferences),
military obligations, severe weather conditions, and religious holidays.”

       I reserve the right to take attendance on any class day and use that as part of you class participation
        grade. If you are not in class at the beginning of class when attendance is taken then you will be counted
        as absent that day.
       If you know that you will need to be absent on a given day or must leave class early please notify me in
        advance.
       Important:I must receive Program Verification forms for off-campus activities (concerts, school
        visitations, field trips, etc.) a minimum of two (2) weeks before the activity that will cause you to miss
        class. It is your responsibility to submit these forms to me and to take the initiative in rescheduling or
        making up any class work missed due to these activities.

 Federal Financial Aid Compliance Information

All faculty members are required to document students' academic activity at the beginning of each course. In
order to document that you began this course, please complete the academic activity quiz on Webcourses by the
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 230 of 566 PageID 300

end of the first week of classes, or as soon as possible after adding the course, but no later than January 13.
Failure to do so will result in a delay in the disbursement of your financial aid.

Academic Activity Assignment: Attend class before January 15, 2016.

Academic Honesty

Plagiarism and Cheating of any kind on an examination, quiz, or assignment will result at least in an "F" for that
assignment (and may, depending on the severity of the case, lead to an "F" for the entire course) and may be
subject to appropriate referral to the Office of Student Conduct for further action. See the UCF Golden Rule for
further information. I will assume for this course that you will adhere to the academic creed of this University
and will maintain the highest standards of academic integrity. In other words, don't cheat by giving answers to
others or taking them from anyone else. I will also adhere to the highest standards of academic integrity, so
please do not ask me to change (or expect me to change) your grade illegitimately or to bend or break rules for
one person that will not apply to everyone.

Course Accessibility Statement

The University of Central Florida is committed to providing reasonable accommodations for all persons with
disabilities. This syllabus is available in alternate formats upon request. Students with disabilities who need
accommodations in this course must contact the professor at the beginning of the semester to discuss needed
accommodations. No accommodations will be provided until the student has met with the professor to request
accommodations. Students who need accommodations must be registered with Student Disability Services,
Ferrell Commons, 7F, Room 185, phone (407) 823-2371, TTY/TDD only phone (407) 823-2116, before
requesting accommodations from the professor.

Campus Safety Statement

Emergencies on campus are rare, but if one should arise in our class, everyone needs to work together. Students
should be aware of the surroundings and familiar with some basic safety and security concepts.

      In case of an emergency, dial 911 for assistance.
      Every UCF classroom contains an emergency procedure guide posted on a wall near the door. Please
       make a note of the guide’s physical location and consider reviewing the online version at
       http://emergency.ucf.edu/emergency_guide.html.
      Students should know the evacuation routes from each of their classrooms and have a plan for finding
       safety in case of an emergency.
      If there is a medical emergency during class, we may need to access a first aid kit or AED (Automated
       External Defibrillator). To learn where those items are located in this building, see
       http://www.ehs.ucf.edu/workplacesafety.html (click on link from menu on left).
      To stay informed about emergency situations, sign up to receive UCF text alerts by going to my.ucf.edu
       and logging in. Click on "Student Self Service" located on the left side of the screen in the tool bar,
       scroll down to the blue "Personal Information" heading on your Student Center screen, click on "UCF
       Alert," fill out the information, including your e-mail address, cell phone number, and cell phone
       provider, click "Apply" to save the changes, and then click "OK."
      Students with special needs related to emergency situations should speak with their instructors outside of
       class.
      To learn about how to manage an active-shooter situation on campus or elsewhere, consider viewing this
       video. You CAN Survive an Active Shooter

Deployed Active Duty Military Students
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 231 of 566 PageID 301

If you are a deployed active duty military student and feel that you may need a special accommodation due to
that unique status, please contact your instructor to discuss your circumstances.



Copyright

This course may contain copyright protected materials such as audio or video clips, images, text materials, etc.
These items are being used with regard to the Fair Use doctrine in order to enhance the learning environment.
Please do not copy, duplicate, download or distribute these items. The use of these materials is strictly reserved
for this online classroom environment and your use only. All copyright materials are credited to the copyright
holder.

Third-Party Software and FERPA

During this course you might have the opportunity to use public online services and/or software applications
sometimes called third-party software such as a blog or wiki. While some of these could be required
assignments, you need not make any personally identifying information on a public site. Do not post or provide
any private information about yourself or your classmates. Where appropriate you may use a pseudonym or
nickname. Some written assignments posted publicly may require personal reflection/comments, but the
assignments will not require you to disclose any personally identity-sensitive information. If you have any
concerns about this, please contact your instructor.

Diversity and Inclusion

The University of Central Florida considers the diversity of its students, faculty, and staff to be a strength and
critical to its educational mission. UCF expects every member of the university community to contribute to an
inclusive and respectful culture for all in its classrooms, work environments, and at campus events. Dimensions
of diversity can include sex, race, age, national origin, ethnicity, gender identity and expression, intellectual and
physical ability, sexual orientation, income, faith and non-faith perspectives, socio-economic class, political
ideology, education, primary language, family status, military experience, cognitive style, and communication
style. The individual intersection of these experiences and characteristics must be valued in our community.

Title IX prohibits sex discrimination, including sexual misconduct, sexual violence, sexual harassment, and
retaliation. If you or someone you know has been harassed or assaulted, you can find resources available to
support the victim, including confidential resources and information concerning reporting options
at www.shield.ucf.edu and http://cares.sdes.ucf.edu/.

If there are aspects of the design, instruction, and/or experiences within this course that result in barriers to your
inclusion or accurate assessment of achievement, please notify the instructor as soon as possible and/or contact
Student Accessibility Services.

For more information on diversity and inclusion, Title IX, accessibility, or UCF’s complaint processes contact:

      Title IX – EO/AA - http://www.eeo.ucf.edu/& askanadvocate@ucf.edu
      Disability Accommodation – Student Accessibility Services - http://sas.sdes.ucf.edu/& sas@ucf.edu
      Diversity and Inclusion Training and Events – ucf.edu
      Student Bias Grievances – Just Knights response team - http://jkrt.sdes.ucf.edu/
      UCF Compliance and Ethics Office - http://compliance.ucf.edu/& complianceandethics@ucf.edu
      Ombuds Office - http://www.ombuds.ucf.edu
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 232 of 566 PageID 302

Back to University of Central Florida School of Performing Arts

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                         For technical support, contact Webcourses@UCF Support

Class Schedule
THE4085-0M01, MUS4674-0M01 (undergraduate)

THE5677-0M01, MUS5677-0M01 (graduate)

Schedule Spring 2019 Schedule ***Schedule Subject to Change


                                                                                                     Due
Week/Date                       Topics                 Assignments
                                                                                                     Dates
                                                       Online Reading 0:
                                                                                                 WED 9
                                MODULE 0
WEEK 0            TUESDAY 8                            Alexander Technique, Joan                 11:59 pm
                  ONLINE                               Arnold (Links to an external site.)Links
                                INTRO and
JANUARY                                                to an external site.                      THRS 10
                                HOUSEKEEPING
                                                                                                 11:59 pm
                                                       Quiz 0 on Syllabus
                                                       Breath, Capacity and Release of Tension
                                MODULE 1               – in-class game, exercises, and coaching:
                  THURSDAY 10
WEEK 1
                  F2F         Breath and Support of (breath-action-and tension – go game,
                                Physical Action        ‘vacuuming the lungs’, panting sequence,
                                                       primal sound)
                                                       Journal/Discussion #1
                                                                                                     WED 16
                                                       Online Reading 1:
                                                                                                     11:59 pm
                                                       from The Complete Guide to the
                                                       Alexander Technique (Links to an
                                                       external site.)Links to an external
                  TUESDAY 15                           site.: (Links to an external site.)Links to
                  ONLINE                               an external site.

                                                       Nicholas Brockbank article – What did
                                                       Alexander Discover and Why is it
                                                       Important? (Links to an external
                                                                                                     THRS 17
                                                       site.)Links to an external site.:
                                                                                                     11:59 pm
                                                       Quiz 1 on Reading 0 & 1:
                  THURSDAY 17                          Downward or backward ‘pull’ and use of
WEEK 2                                                 spinal alignment in movement
                  F2F
  Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 233 of 566 PageID 303

                                          Constructive rest, relaxation exercises,
                                          Bartenieff fundamental exercise, review
                                          of breathing exercises, add the wall
                                          exercise (2 versions),
                                          Journal/Discussion #2

                                          Reading 2 Review the following
                                          diagrams and exercises:
                                                                                          WED 23
                                                                                          11:59 pm
                                          Body Alignment affected by muscular
                                          habit: (Links to an external site.)Links
                                          to an external site.

                                          short video on neck alignment (Links to
                                          an external site.)Links to an external
                                          site.
             TUESDAY 22                   Neck alignment affected by muscular
             ONLINE                       habit: xray 1 (Links to an external
                                          site.)Links to an external site.

                                          Neck alignment xray 2 (Links to an
                                          external site.)Links to an external site.

                                          Neck alignment xray 3 (Links to an
                                          external site.)Links to an external site.
                                                                                          WED 23
                                          Stretches for the SCMs (Links to an
                                                                                          11:59 pm
                                          external site.)Links to an external site.

                                          Quiz 2 on Class Material (constructive
                                          rest, breathing exercises)
                                          Review of breathing exercises, the wall
             THURSDAY 24                  exercise, add the chair (sitting, getting in,
WEEK 3
             F2F                          getting up), review Bartenieff Fundamentals,
                                          discuss iliopsoas and sartorius muscles

                                                                                          WED 30
                                          Journal/Discussion #3                           11:59 pm

                                          Reading 3 Review the following
                                          diagrams:
             TUESDAY 29
             ONLINE                       (these URLs will take you to Kenhub – an
                                          excellent online source for anatomical
                                          diagrams. You can view the main diagram
                                          without signing up for a free membership,
                                          or gain access to videos by signing up.
                                          Anyone who is interested in sports or an
  Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 234 of 566 PageID 304

                                                active lifestyle will find this a great
                                                beginning source.)

                                                Iliopsoas muscle (Links to an external
                                                site.)Links to an external site.              WED 30
                                                                                              11:59 pm
                                                sartorius muscle (Links to an external
                                                site.)Links to an external site.

                                                Quiz 3 on iliopsoas and Sartorius
                                                function in relation to breath,
                                                alignment and the primal control
                                                Finding your six places of balance.

             THURSDAY 31                        Review iliopsoas and sartorius function in
WEEK 4                                          relation to freeing the breath and body and
             F2F
                                                alignment while in motion….walking,
                                                undulation, sitting, movement while
                                                playing instrument, rehearsing, dancing
                                                                                              WED
             TUESDAY 5                          Journal/Discussion #4                         6 11:59pm
             ONLINE
FEBRUARY                                        Quiz 4 on MODULE 1                            WED
                                                                                              6 11:59pm
             THURSDAY 7
WEEK 5                                          Review and Work Day
             F2F

             TUESDAY 12
             ONLINE

             THURSDAY 14
WEEK 6                                          Physical Assessment 1
             F2F

             TUESDAY 19
             ONLINE

                           Module 2:
             THURSDAY 21
WEEK 7                   Care and
             F2F
                           Maintenance of the
                           Powerhouse
             TUESDAY 26
             ONLINE

             THURSDAY 28
WEEK 8
             F2F

             TUESDAY 5
             ONLINE
MARCH
  Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 235 of 566 PageID 305

             THURSDAY 7
WEEK 9
             F2F

             TUESDAY 12
                           SPRING BREAK
             ONLINE

             THURSDAY 14
WEEK 10                  SPRING BREAK
             F2F

                           Module 3:
             TUESDAY 19    Maintaining Wellness
             ONLINE        of the
                           Emotional/Intellectual
                           Performer
             THURSDAY 21
WEEK 11
             F2F

             TUESDAY 26
             ONLINE

             THURSDAY 28
WEEK 12
             F2F

             TUESDAY 2
             ONLINE
APRIL
             THURSDAY 4       YOGA PRACTICE
WEEK 13
             F2F              JEREMY HUNT

             TUESDAY 9
             ONLINE

                               ESTILL
                            -     CARE OF
             THURSDAY 11      THE VOICE
WEEK 14
             F2F
                              DR STEVEN
                            CHICUREL STEIN
             TUESDAY 16
             ONLINE

             THURSDAY 18
WEEK 15
             F2F

FINAL EXAM   ONLINE
  Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 236 of 566 PageID 306

                THURSDAY
FINAL PROJECT
                APR 25
PRESENTATIONS
                4:00pm
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 237 of 566 PageID 307




                          EXHIBIT V
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 238 of 566 PageID 308
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 239 of 566 PageID 309




                         EXHIBIT W
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 240 of 566 PageID 310




           UNIVERSITY OF CENTRAL FLORIDA
                 OFFICE OF INSTITUTIONAL EQUITY




                              IN THE MATTER OF:
                             OIE CASE NO. 2019-01225




                        INVESTIGATIVE REPORT
                                 January 13, 2021




                                       SUBMITTED BY: Nancy Fitzpatrick Myers, J.D.
                                               Director, Office of Institutional Equity

                                        1
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 241 of 566 PageID 311




  I.       INTRODUCTION

          From June 4, 2020 through August 2020, the Office of Institutional Equity (OIE)
  received reports from multiple sources (including phone calls, emails, IntegrityLine reports, 1 Just
  Knights Response Team (JKRT) reports, 2 and Office of Student Conduct reports) wherein
  individuals alleged that the Respondent, an Associate Professor in the Department of
  Psychology, had subjected students to discriminatory harassment in the classroom based on race,
  ethnicity, national origin, sex, sexual orientation, gender identity, disability, and religion;
  subjected students to sexual harassment; subjected students to quid pro quo harassment based on
  religion; engaged in unprofessional conduct; and, failed to appropriately report and respond to a
  student’s disclosure of a sexual assault to the University. Some reports indicated support for the
  Respondent and denied misconduct in the classroom, while others shared their reactions to the
  Respondent’s social media activity and did not identify specific classroom or workplace
  misconduct. Specifically, OIE initially reviewed approximately 400 hundred emails, over 100
  IntegrityLine reports, 10 Just Knights Response Team reports, and two Office of Student
  Conduct reports related to the Respondent.

          Based upon the information provided, OIE initiated an inquiry and contacted multiple
  witnesses in this matter. OIE is a neutral investigatory office responsible for investigating claims
  of discrimination and harassment based on protected classifications, as well as retaliation. When
  investigations reveal the presence of discriminatory, harassing or retaliatory behavior, OIE is
  responsible for making recommendations to mitigate the effects of the discriminatory conduct.
  Accordingly, OIE conducted an investigation into this matter, and this investigative report
  summarizes the investigation, factual background, and findings of OIE arising from this
  investigation.

           As set forth in detail below, on December 19, 2019 and June 4, 2020, the university
  received multiple reports alleging that the Respondent had made discriminatory statements on his
  personal Twitter account, which individuals believed constituted cause to terminate the
  Respondent’s employment. OIE reviewed the Twitter account and posts of concern (both in
  December 2019 and again during this investigation) and analyzed whether those statements
  constituted protected free speech. In this regard, it is important to note that the First Amendment
  protects a public employee’s right to speak as a citizen addressing matters of public concern as
  “a citizen who works for the government is nonetheless a citizen.” The courts have noted that it
  is their “responsibility” to “ensure that citizens are not deprived of fundamental rights by virtue
  of working for the government.”


  1
    UCF’s IntegrityLine is a secure reporting system administered by an independent third party, NAVEX Global, that
  is available 24 hours a day for 365 days a year. NAVEX Global uses their case management system, EthicsPoint, to
  provide individuals (who may be reluctant to report suspected misconduct through university administrative or
  central offices) a way to report with complete anonymity. IntegrityLine reports are processed by EthicsPoint and
  sent to the University Compliance, Ethics, and Risk Office (UCER) to address appropriately. Hereinafter, the
  IntegrityLine will be referred to as “IL.”
  2
    UCF’s Just Knights Response Team (JKRT), which is made up of UCF faculty, staff, and students, provides
  assistance in the event that an individual has experienced or witnessed a hate or bias related incident at UCF. In this
  role, the JKRT will receive, monitor, refer, and, as necessary, coordinate university resources to these incidents that
  impact the university community.

                                                             2
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 242 of 566 PageID 312




         Although witnesses alleged that the Respondent’s Twitter posts were integrated into the
  course curriculum and, accordingly, did not merit First Amendment protection, OIE found that
  there was insufficient evidence in the current record to support this allegation. OIE also analyzed
  whether the Twitter posts, however controversial or repugnant, addressed a matter of public
  concern as described in First Amendment jurisprudence. OIE found that the Respondent’s
  Twitter posts involved matters of public concern and, accordingly, were protected by the First
  Amendment and could not be the basis for a finding of misconduct or disciplinary action.

          Turning to the allegations regarding classroom misconduct, it is important to note that in
  matters involving in-class comments by professors, any analysis of statements that are alleged to
  constitute discriminatory harassment must consider whether the speech was protected under the
  doctrine of academic freedom. “Academic freedom, though not a specifically enumerated
  constitutional right, long has been viewed as a special concern of the First Amendment.” It
  consists of “the right of an individual faculty member to teach ... without interference from ... the
  university administration, or his fellow faculty members.” That said, it is important to take into
  “account the unique context in which a college professor speaks such that his students are a
  ‘captive audience’ who may find themselves intimidated by the person who has the ability to
  pass upon them a poor grade.” The “principle of academic freedom under the First Amendment
  serves to protect the utterances in question only if they are germane to course content.”

          After reviewing the 94 undisputed facts and analyzing which of the 84 disputed facts as
  captured below were substantiated by the evidence, OIE conducted an in-depth analysis of
  whether the undisputed and substantiated conduct was protected by academic freedom utilizing
  the course objectives as described by the Respondent during his OIE interview and each course’s
  syllabus (see Section VIII(B) below). OIE determined that 50 of the Respondent’s behaviors
  were protected by academic freedom, and thus were not subject to the analysis of whether the
  Respondent had engaged in misconduct. For instance, OIE determined that the following were
  protected by academic freedom: Respondent’s discussion that gender is not a total social
  construct, Respondent’s discussion related to a tribe’s practices related to sexual conduct,
  Respondent’s presentation of statistics related Muslims’ opinions and statistics related to
  education and income based on race, Respondent’s use of particular videos (By the Numbers,
  Consent, Frederick Wilson II), Respondent’s discussion related to the lack of a necessity for
  affirmative action and the ineffectiveness of diversity initiatives, and Respondent’s presentation
  in his Cross Cultural Psychology course that the U.S. no longer has systemic racism.

          Turning to the remaining behavior that OIE found was not protected by academic
  freedom, OIE found that there was sufficient evidence to support finding that the Respondent
  created a hostile learning environment for students in violation of the University’s Non-
  Discrimination Regulation UCF 3.001, Prohibition of Discrimination, Harassment and Related
  Interpersonal Violence Policy UCF 2-004.1 and Code of Conduct. This conduct included, but
  was not limited, to the following: The Respondent told students in his General Psychology
  courses and Cross Cultural Psychology courses that God did not exist and was not real, God was
  a figment of their imagination, religion was all make-believe, believers were delusional, childish,
  irrational, unintelligent and ignorant, and believing in religion was like believing in flying
  elephants, fairy tales, and Santa Clause. The Respondent also told students that raising children
  with a religious upbringing was a form of child abuse and issued an exam question that asked:


                                                    3
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 243 of 566 PageID 313




  According to any reasonable and rational person, telling children that someone is watching them
  24/7 and knows every “move they make” and every thought they have, represents essentially: A.
  a good moral upbringing, B. child abuse, C. parental love, or D. parental protection. Students
  needed to select option “B. child abuse” to receive credit for answering this question correctly.
  The Respondent told students that Islam was the fastest growing religion in the world, which just
  baffled him as to why anyone would want to be a “slave to such toxic mythology.” He also stated
  that with regard to Islam, the “crackpots who run the cult called Islam will kill you”, and it
  would be hard to convince him that Islam is a religion of peace. OIE also found that when
  discussing Frederick Jones, a Black inventor of the portable refrigerator, the Respondent said,
  “First off, he’s not that Black, he’s more White than Black.” He also told students that Black
  men have the biggest penises, followed by Whites and Hispanics, followed by Asians. In
  addition, on at least one occasion, the Respondent made reference to the difference in penis sizes
  and then high fived a Black male student. He also told students that minorities should be
  thanking Whites for creating a modern society. The Respondent said to students, “I wish we
  would eliminate corporal punishment. I wish those of you who are concerned with racism were
  just concerned with child abuse but unfortunately, you’re not because you don’t get anything out
  of it. Showing yourself as antiracist, you can look in the mirror and get a little boner.” He also
  said that a woman was kind of like a Ford pickup truck, built to take a pounding, as well as that
  most people referred to women who slept with a lot of men as whores and sluts, but he just called
  them his best friends. The Respondent further told students that “all men are a little bit gay
  because if someone was sucking their dicks and they were going to cum and they then realized
  that it was a guy doing the sucking, they would still finish.”

          OIE further found that the Respondent violated UCF Regulation 3.001 Non-
  Discrimination; Affirmative Action Programs in February 2014 when he failed to report and
  appropriately respond to a student’s disclosure of having been sexually assaulted by one of his
  teaching assistants. In particular, OIE found that the Respondent attempted to dissuade her from
  pursuing her allegations against the teaching assistant, placed responsibility for the incident on
  the student, determined that the teaching assistant must have misinterpreted her actions without
  speaking with him, and, rather than providing resources to the student, advised her to be “more
  conscientious when choosing” her friends.

          The Respondent also violated the University’s Reporting Misconduct and Protection
  from Retaliation Policy, No. 2-700.1 by deterring students from filing complaints related to his
  classroom conduct. Specifically, the Respondent repeatedly told students that he was
  untouchable because he was tenured, that the university had previously investigated student
  complaints against him that were dismissed, that he “laughs the whole way” when the University
  investigates complaints, and that the only way he could be fired was if he raped a student.

         The Respondent further violated both the University’s Reporting Misconduct and
  Protection from Retaliation Policy, No. 2-700.1 and Code of Conduct (Honesty and Integrity) by
  providing false information during OIE’s investigation (see Section VII Consistency
  subsection). 3

  3
   OIE would note that the office of University Compliance, Ethics and Risk (UCER) participated in the
  Respondent’s interview and reviewed the evidence and findings set forth herein related to policies identified above


                                                           4
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 244 of 566 PageID 314




          In addition to the discriminatory comments supporting the hostile learning environment
  finding, the Respondent violated the University’s Code of Conduct when he mocked students,
  repeatedly used profanity, and made inappropriate comments related to sexual assault during
  class such as telling students that there were many false rape accusations that plagued college
  campuses, campuses were unfairly treating men accused of sexual assault, and there was an
  epidemic of men being kicked out of the university because of false allegations under Title IX
  even though he admitted during his OIE interview, “I don't know the specifics of Title IX.” He
  also referenced the arrest of Robert Kraft, NFL Patriots owner, and said that Mr. Kraft had done
  nothing wrong as it was not rape if you had sex with a victim of human trafficking.

         OIE’s investigation further revealed that the Respondent violated the 2010-2012 UCF
  BOT-UFF Collective Bargaining Agreement when he bribed a health clinic representative to
  provide him with a falsified yellow fever vaccination certificate in 2011 while in Peru for a UCF
  study abroad program. Based on the totality of the record and findings, OIE recommends that
  management consider effective disciplinary action, up to and including termination.

          Furthermore, upon reviewing the evidence related to the history of reports pertaining to
  the Respondent, OIE would note that the record did not support that management or central
  University offices had been notified of the full nature and scope of the allegations against the
  Respondent until June, 2020. Nevertheless, OIE reviewed the current reporting options and
  messaging regarding how to report concerns of this nature, including the University-wide Let’s
  Be Clear campaign and website related to reporting sex-based and sexual harassment concerns,
  the University-wide Speak Up campaign related to reporting any concerns of misconduct via the
  IntegrityLine, the required trainings provided to students that cover how to report concerns of
  discrimination (Let’s Be Clear training), and the information provided to students during their
  orientations. Based on this review, OIE recommends that the university continue the current
  messaging and providing the available reporting avenues to students. That said, based on the
  information related to students’ discussions with academic advisors, OIE recommends that
  additional training be provided to academic advisors regarding how to respond to and how to
  report concerns of this nature. Furthermore, during the investigation, OIE noted that the student
  grade appeal form combines the “other reasons” basis for an appeal with the discrimination basis
  for an appeal, which may cause students and administrators some confusion. Accordingly, OIE
  will work with the appropriate university officials to make these separate grounds for appeal on
  the form.

          Lastly, throughout the course of this investigation, students reported that the Respondent
  used time in class to espouse his opinions rather than teach relevant course content, provided
  students with misinformation, failed to provide a complete picture of the issues presented or
  presented misleading, outdated and inaccurate information (particularly with regard to race), and
  failed to issue appropriate exam questions. OIE notes that the findings above do not address
  these concerns. Although OIE acknowledges students’ understandable concerns related to these
  allegations of the Respondent’s performance as an instructor, course curriculum and course

  outside of the Nondiscrimination Policy and Nondiscrimination Regulation (i.e. Code of Conduct and Reporting
  Misconduct and Protection from Retaliation Policy, No. 2-700.1). UCER supports the findings under these policies
  as noted herein.

                                                         5
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 245 of 566 PageID 315




  structure, those concerns are more appropriately reviewed by the College of Sciences and,
  accordingly, have been referred to the college.

  II.      APPLICABLE STANDARDS OF REVIEW & EVIDENTIARY STANDARD

          In the present case, current and former students claimed that the Respondent subjected
  them to sexual harassment and/or created a hostile environment based on race, ethnicity, national
  origin, sex, sexual orientation, gender identity/expression, disability, and/or religion. OIE also
  received allegations that the Respondent subjected students to quid pro quo harassment based on
  religion; engaged in unprofessional conduct; and, failed to appropriately report and respond to a
  student’s disclosure of sexual assault to the University. During the course of the investigation,
  OIE received allegations that the Respondent discouraged students from filing complaints
  regarding his classroom conduct and bribed a health care clinic representative during a UCF
  study abroad trip. A review of the relevant University policies and regulations below provides
  the framework used by OIE in its analysis of the allegations.

           Nondiscrimination Policy & Regulation:

         The University of Central Florida’s Non-Discrimination Regulation UCF 3.001 and
  Prohibition of Discrimination, Harassment and Related Interpersonal Violence Policy UCF
  2-004.1 (hereinafter Nondiscrimination Policy) provides in relevant part: 4

           The University does not unlawfully discriminate in any of its education or
           employment programs and activities on the basis of an individual’s race, color,
           ethnicity, national origin, religion, … sex (including pregnancy and parental
           status, gender identity or expression, or sexual orientation), … physical or mental
           disability … or membership in any other protected classes as set forth in state or
           federal law. … Disability discrimination includes not making reasonable
           accommodations to the known physical or mental limitations of an otherwise
           qualified individual with a disability where the accommodations do not impose an
           undue hardship.
           …
           The university prohibits discrimination, as well as discriminatory harassment …
           Discriminatory harassment consists of verbal, physical, electronic or other
           conduct based upon an individual’s race, color, ethnicity, national origin, religion,
           non-religion, … sex (including pregnancy and parental status), gender identity or
           expression, sexual orientation, … physical or mental disability … or membership
           in other protected classes set forth in state or federal law that interferes with that
           individual’s educational or employment opportunities, participation in a
           university program or activity, or receipt of legitimately-requested services

  4
    This University policy and regulation are considered to provide similar protections against sexual harassment and
  discriminatory harassment as those afforded under the Florida Civil Rights Act of 1992 (§760.10 et seq.,
  §110.1221), Title VI of the Civil Rights Act of 1964 (Title VI), Title VII of the Civil Rights Act of 1964 (Title VII),
  and Title IX of the Education Amendments of 1972 (Title IX). While not a mirror image of these statutory
  counterparts, the examination of sexual harassment and discriminatory harassment claims under the University
  regulation and policy are similar to that under these relevant laws.

                                                             6
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 246 of 566 PageID 316




           meeting the description of either Hostile Environment Harassment or Quid Pro
           Quo Harassment.
           …
           Hostile Environment Harassment is defined as discriminatory harassment that is
           so severe or pervasive that it unreasonably interferes with, limits, deprives, or
           alters the terms or conditions of education (e.g., admission, academic standing,
           grades, assignment); employment (e.g., hiring, advancement, assignment); or
           participation in a university program or activity (e.g., campus housing), when
           viewed from both a subjective and objective perspective.
           …
           Quid Pro Quo Harassment is defined as discriminatory harassment where
           submission to or rejection of unwelcome conduct is used, explicitly or implicitly,
           as the basis for decisions affecting an individual’s education (e.g., admission,
           academic standing, grades, assignment); employment (e.g., hiring, advancement,
           assignment); or participation in a university program or activity (e.g., campus
           housing).
           …
           Sexual harassment is defined as any unwelcome sexual advances, request for
           sexual favors, and other unwanted conduct of a sexual nature, whether verbal,
           non-verbal, graphic, or otherwise, when the conditions for Hostile Environment
           Harassment or Quid Pro Quo Harassment, as defined above, are present.
           …
           Responsible employees are required to immediately report to the University’s
           Office of Institutional Equity all relevant details (obtained directly or indirectly)
           about an incident of sex/gender-based discrimination or harassment, sexual
           harassment, Title IX sexual harassment, sexual assault, sexual exploitation,
           relationship violence, and/or stalking (as defined herein) that involves any student
           as a complainant, respondent, and/or witness, including dates, times, locations,
           and names of parties and witnesses. 5


  5
    As set forth in the Respondent’s Notice of Investigation and OIE’s July 31, 2020 letter, OIE received allegations
  that the Respondent engaged in misconduct from 2005 through the 2020 Spring semester, with a higher volume of
  allegations related to conduct alleged to have occurred between 2016 and 2020. Although UCF’s Nondiscrimination
  Policy was initially issued and became effective on June 16, 2017, UCF’s Nondiscrimination Regulation (UCF-
  3.001) was in effect during the relevant time period and, similarly, prohibited sexual harassment and discriminatory
  harassment, as well as required employees to report discrimination concerns. Specifically, prior versions of the
  Nondiscrimination Regulation stated that the “University shall not discriminate in offering access to its educational
  programs and activities … on the basis of race, color, religion, sex, national origin, age, disability, marital status,
  sexual orientation, and veteran status.” The Regulation further prohibited sexual harassment defined as “unwelcome
  sexual advances, or requests for sexual favors, and other verbal or physical conduct of a sexual nature when: (a)
  Submission to such conduct or request is made either explicitly or implicitly a term or condition of an individual’s
  employment or academic achievement; (b) Submission to or rejection of such conduct or request by an individual is
  used as the basis for employment or academic decisions affecting such individual; or (c) Such conduct or request has
  the purpose or effect of unreasonably interfering with an individual’s employment or academic performance and of
  creating an intimidating, hostile work or academic environment.” The Regulation further stated that any employee
  “who has actual knowledge by … receipt of a complaint of discrimination involving any of those employees he or
  she supervises or over whom he or she has managerial authority, and who does not investigate or report the matter to
  an appropriate university official with authority to take action with regard to the matter, shall be subject to
  disciplinary action up to and including dismissal or expulsion.”

                                                            7
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 247 of 566 PageID 317




        Code of Conduct Expectations:

        The University of Central Florida’s Code of Conduct states in relevant part:

        UCF Ethical Standards. UCF is founded on integrity and expects members of
        the university community to demonstrate an unwavering commitment to the
        highest standards of excellence and ethical behavior.
        …
        Honesty and Integrity. We are fair and honest in all of our activities and avoid
        actual or perceived conflicts of interests or commitments. We strive for
        transparency in our actions and do not allow plagiarism, lying, deliberate
        misrepresentation, theft, fraud, or cheating.
        …
        Respect. We treat everyone with respect and dignity; we embrace, celebrate, and
        value diversity and inclusion. We respect the ideas of others, even when they
        differ from our own. We do not tolerate harassment, mistreatment, belittling,
        harming, or taking advantage of others.
        …
        Responsibility and Accountability. We comply with all applicable laws,
        regulations, and policies, ensuring that all of our decisions are legal and ethically
        sound. We recognize our obligation to report unethical and illegal conduct.
        …
        Dignity and Respect. Here at UCF, we treat each other with dignity and respect.
        We embrace, celebrate, and value diversity, equity and inclusion and that means
        that we respect the ideas of others, even when they differ from our own.
        …
        Engaging, Exploring, and Advancing an Inclusive Culture. We are strongest
        as an educational institution, employer, and community leader when we bring
        diverse thought and experience to our decision-making, teaching, research, and
        interactions with community members. Accordingly, all members of our
        university community have a responsibility to treat each other with consideration
        and respect.
        …
        Complying with laws of other countries. Through our international partnerships
        and study abroad programs, some of our actions and activities will be subject to
        the laws of other countries. In addition to following the Employee Code of
        Conduct, we are required to know and follow these laws.
        …
        Anti-corruption and Bribery. Each of us has an obligation to comply with the
        U.S. Foreign Corrupt Practices Act and all country-specific anti-bribery and
        anticorruption laws. These laws generally state that you may not give, promise, or
        offer anything of value, no matter how small, to anyone for the purpose of
        improperly influencing a decision, securing an advantage, avoiding a
        disadvantage, or obtaining or retaining business.




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Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 248 of 566 PageID 318




         Reporting Misconduct and Protection from Retaliation Policy:

         The University of Central Florida’s Reporting Misconduct and Protection from
  Retaliation Policy, No. 2-700.1, states in relevant part:

         It is prohibited under this policy for an individual to engage in identifiable actions
         with the intention of preventing or deterring a reasonable person from submitting
         a report of potential misconduct or participating in a misconduct investigation.
         …
         Failure to cooperate with University of Compliance, Ethics and Risks or
         providing false information in an investigation could result in disciplinary action
         up to and including termination.

         Textbook Adoption:

           The University of Central Florida’s Regulation UCF-2.032, Textbook Adoption,
  states in relevant part:

         (12) Requiring the use of a textbook … by the instructor of the course, … where
         the author/instructor anticipates receiving royalties from books … purchased by
         students enrolled in her/his course is considered a conflict of interest. The
         author/instructor must report the use of his/her educational materials under these
         circumstances with the action taken to mitigate the conflict of interest created in
         the online Potential Outside Activity, Employment, and Conflict of Interest and
         Commitment Disclosure (AA-21). Mitigation actions include offering the
         materials to UCF students at reduced or not cost or donating the royalties to a
         non-profit organization.

         Academic Freedom Doctrines at UCF:

         The University’s Collective Bargaining Agreement 2018-2021 (as ratified on September
  19, 2019) provides in relevant part:

         5.2 Academic Freedom. Academic freedom is the freedom to teach, both in and outside
         the classroom, to conduct research, and to publish the results of that research. Consistent
         with the exercise of academic responsibility, employees shall have freedom to present
         and discuss their own academic subjects, frankly and forthrightly, without fear of
         censorship, and to create and select instructional and course materials, and to determine
         grades in accordance with University grading policy. Objective and skillful exposition of
         such subject matter, including the acknowledgment of a variety of scholarly opinions, is
         the duty of every employee. Employees are also free to address any matter of institutional
         policy or action. As individuals, employees are free to express their opinions to the larger
         community on any matter of social, political, economic, or other public interest, without
         institutional discipline or restraint due to the content of those messages. Unless
         specifically authorized by the administration, employees’ opinions do not reflect the
         policies or official positions of the University of Central Florida.


                                                   9
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 249 of 566 PageID 319




          5.3 Academic Responsibility. Academic freedom is accompanied by corresponding
          responsibility on the part of employees. University faculty are members of a learned
          profession. As scholars and educators, they should remember that the public may judge
          their profession and their institution by what they say and do. Accordingly, they shall:
                  (a) Be forthright and honest in all professional settings, including teaching,
          advising, service, and the pursuit and communication of scientific and scholarly
          knowledge;
                  (b) Observe and uphold the ethical standards of their disciplines in the pursuit and
          communication of scientific and scholarly knowledge;
                  (c) Adhere to their proper roles as teachers, researchers, intellectual mentors, or
          counselors;
                  (d) Respect students, staff, and colleagues as individuals; treat them in a
          professional manner; and avoid any exploitation of such persons for private advantage;
                  (e) Respect the integrity of the evaluation process, by evaluating students, staff,
          and colleagues fairly according to the criteria the evaluation process specifies;
                  (f) Contribute to the orderly and effective functioning of their academic unit i.e.,
          program, department, school and/or college and/or the University;
                  (g) Observe the regulations of the University, provided they do not contravene the
          provisions of this Agreement; and
                  (h) Indicate when appropriate that one is not an institutional representative unless
          specifically authorized as such. 6

          Evidentiary Principles:

         The standard of proof utilized in OIE’s investigations is “preponderance of the evidence,”
  which is defined as that degree of relevant evidence which a reasonable mind, considering the
  record as a whole, would accept as sufficient to support a conclusion that the matter asserted is
  more likely to be true than not true. The burden of persuading the investigator that a decision or
  action was based on a protected class always rests on the complaining parties and because
  discrimination cannot be presumed, the investigator may not find discrimination when the
  evidence is sharply conflicting, unclear or equivocal.

  III.    OIE INVESTIGATION

          Although the summary of OIE’s investigative steps is typically set forth in detail in this
  section of OIE’s Investigative Report, due to the length of the summary in this matter (25 pages),
  this summary has been set forth in Attachment A.



  6
   Nearly identical language is set forth in prior agreements, i.e. University’s Collective Bargaining Agreement 2015-
  2018 (as ratified on December 8, 2015): https://www.collectivebargaining.ucf.edu/proposals/2015-2018FB/2015-
  11-12AllTAdArticlesBOOK.pdf; University’s Collective Bargaining Agreement 2012-2015 (as ratified on August
  26, 2014): https://www.collectivebargaining.ucf.edu/CBA/2015-2015CBA_wReopeners2014-15.pdf; University’s
  Collective Bargaining Agreement 2010-2012 (as ratified on January 27, 2011):
  https://www.collectivebargaining.ucf.edu/CBA/2010-12_FINAL.pdf; University’s Collective Bargaining Agreement
  2004-2007: https://www.collectivebargaining.ucf.edu/CBA/2004-07CBA.pdf.

                                                          10
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 250 of 566 PageID 320




  IV.    SUMMARY OF DISCRIMINATION & FAILURE TO REPORT ALLEGATIONS
         AGAINST THE RESPONDENT

         A.      Respondent’s Twitter Postings

           On December 19, 2019, an unidentified concerned citizen reported to UCF’s University
  Audit that they had reviewed the Respondent’s posts on his personal Twitter account and
  believed that the Respondent had made “misogynistic, transphobic, racist, anti-immigrant and
  religiously discriminating comments.” The concerns were referred to OIE for further review.
  OIE reviewed the information provided and the Respondent’s Twitter account information. On
  January 10, 2020, OIE advised that although it was understandable why the reporter found some
  of the posts concerning and offensive, no further OIE action could be taken as the site was not
  affiliated with UCF and appeared to be a personal social media platform wherein the speech was
  protected by the First Amendment . Also, there was no allegation that the Respondent had
  subjected students or employees to discrimination or discriminatory harassment. Accordingly,
  OIE advised that it was closing the matter and would re-open it if further information developed
  in this regard. On June 4, 2020, the university received multiple reports alleging that the
  Respondent had made additional discriminatory statements on his Twitter account, which
  individuals believed constituted cause to terminate the Respondent’s employment. The
  university also received allegations that the Respondent’s Twitter posts were part of the
  Respondent’s course curriculum. Based on this information, OIE’s December 2019 matter
  related to the Respondent was re-opened for further investigation.

         B.      Respondent’s Alleged Discriminatory Comments in the Classroom

         Former and current students and anonymous individuals (hereinafter referred to as
  “witnesses”) alleged that the Respondent had engaged in misconduct in the classroom that had
  been occurring for multiple years. Specifically, they alleged that the Respondent used
  derogatory terms and made derogatory statements based on protected classes (race, ethnicity,
  national origin, sex, sexual orientation, gender identity/expression, disability, and/or religion),
  made unwelcome comments of a sexual nature, subjected students to quid pro quo harassment
  based on religion; failed to provide disability-related student accommodations; and, failed to
  appropriately report and respond to a student’s disclosure of a sexual assault to the University.

         It is important to note that multiple students, who had been enrolled in the Respondent’s
  courses, indicated that they did not have concerns regarding the Respondent’s conduct in the
  classroom. Rather, for some, the Respondent’s course was their favorite class at UCF and
  caused them to think in a more critical way. These students stated that they never observed the
  Respondent engage in discriminatory conduct, and they believed that his lectures were
  professional, appropriate and thought provoking. E.g., Witness 1 Phone Log, Witness 2 Phone
  Log, Witness 3 Phone Log, Witness 4 Phone Log, Witness 5 Phone Log, Witness 6 Phone Log,
  Witness 7 and Witness 8 Climate Check Notes (KB), Witness 9 Witness Statement, Witness 10
  Climate Check Note (KB), Witness 11 Climate Check Note (KB), Witness 12 Climate Check Note
  (KB), Witness 13 Climate Check Note (KB), Witness 14 Climate Check Note (LW), Witness 15
  Climate Check Note (LW), Witness 16 Climate Check Note (LW), Witness 17 Climate Check Note



                                                   11
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 251 of 566 PageID 321




  (LW), Witness 18 (Student Google Form) 7, Witness 19 Climate Check Note (MK), Witness 20
  Climate Check Note, Witness 21 Climate Check Note (MK), Witness 22 Climate Check Note
  (MK), Witness 23 Climate Check Note (MK), Witness 24 Climate Check Note (MK), Witness 25
  Climate Check Note (MK), Witness 26 Climate Check Note (MK), Witness 27 Climate Check
  Note (MK), Witness 28 Climate Check Note (MK), Witness 29 Climate Check Note (MK),
  Witness 30 Climate Check Note (MK), Witness 31 Climate Check Note (MK), Witness 32 Climate
  Check Note (MK), Witness 33 Climate Check Note (MK). This dichotomy of students’
  perceptions of the classroom experience also was reflected in the Respondent’s Student
  Evaluations of Instructor Summaries. See Respondent’s Student Evaluations Summer 2015-
  Spring 2020.

          Below is a brief summary of the allegations of misconduct against the Respondent, which
  will be analyzed in further detail throughout this report.

                    1.       Unwelcome Comments of a Sexual Nature

          With regard to sexual harassment, witnesses alleged that during the Respondent’s
  courses, he made unwelcome comments of a sexual nature that were not germane to the subject
  matter of the courses. In his General Psychology courses, the Respondent is alleged to have
  made the following comments: I was married to a woman, then found out I was sexually
  interested in men, and am now married to a man; sex with my husband is good and fun, I
  enjoyed it when men flirted with me; alluded to my partner and ex-wife being swingers; I have
  visited nudist beaches; I am not circumcised and have a clean penis; I’d have sex with some of
  you; and, Don’t give a teenage girl a check book (i.e., don’t give her permission to have sex),
  because she will have sex with everyone to get them to like her. Also during this course (as well
  as his other courses), the Respondent was alleged to have talked about practices of a sexual
  nature of the Sambia tribe and Hopi tribe.

           Witnesses alleged that during the Sexual Behavior course, the Respondent made the
  following statements: You’re in this class because you either want to know more about sex or
  just like sex. I’m in the category that just likes sex; I had sex with women and men from other
  countries and they are a lot freer when it comes to sex, which is why I want students to travel
  abroad; Brazilians are always a fun fuck; and, used the word “cunt” to refer to female genitalia.

          Witnesses also alleged that during the Cross Cultural Psychology course, the Respondent
  stated the following: Asians are superior but Black men having bigger penises; You (Black
  people) may not have everything, but at least you have bigger penises (Respondent then hopped
  off the stage, found some Black males and high fived them); Black men have the biggest dicks,
  followed by Whites and Latinos who are similar in size, and Asians have the smallest dicks; I am
  not circumcised; and, I am a nudist and nudity isn’t accepted in society, but I wouldn’t mind if

  7
    On June 9, 2020, two witnesses created a Google form called “Report UCF Professor [Respondent]” and this form
  was published in a Knight News article and on Twitter. The form, which will hereinafter be referred to as the Student
  Google Form, was designed to provide concerned individuals with an avenue to report their concerns directly to
  those witnesses rather than the University. These witnesses, in turn, agreed to relay the information provide by
  others to OIE. These witnesses provided two lists based upon responses they received – a list of anonymous
  (unnamed by request) reports and a list of named individuals with concerns. These lists were initially provided to
  OIE on June 15, 2020.

                                                           12
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 252 of 566 PageID 322




  you (the students) practiced nudity in the lecture hall. The allegations regarding sexual comments
  are explored more fully below in the material facts sections.

                 2.      Sex-Based Comments

           Witnesses alleged that the Respondent made derogatory sex-based comments during his
  courses that were not germane to the subject matter of the courses. For instance, OIE received
  an allegation that during a Psychology of Prejudice course, the Respondent said that most people
  refer to women who sleep with a lot of men as “whores and sluts, but I just call them my best
  friends.” During his Cross-Cultural Psychology courses, the Respondent allegedly commented
  that sex workers were “whores”, and when someone’s feelings were hurt, he “bet their vagina
  hurts.” OIE also received an allegation that during class, the Respondent said that women were
  just like a pickup truck because they were pretty and “good for ramming”. Similarly, witnesses
  alleged that in the Sexual Behavior course, when students raised their hands that they would let a
  woman build their house and let a man take care of their child, the Respondent replied, “well you
  guys are just weird” as “most normal people would not allow a man to take care of children.” In
  his General Psychology course, the Respondent allegedly said that it is in a man’s nature to move
  onto a newer model (i.e., a younger significant other), indicated that it was nauseating to even
  look at his former wife, and referred to a female student as a “cunt” when she disagreed with
  exploring the origins of the word. The allegations regarding sex-based comments are explored
  more fully below in the material facts sections.

                 3.      Gender Identity/Expression-Based Comments

          Witnesses alleged that the Respondent made derogatory gender identity/expression-based
  comments during his courses that were not germane to the subject matter of the courses.
  Specifically, witnesses alleged that in his Cross-Cultural Psychology course, the Respondent
  stated that transgender is not an “actual thing” because if someone was a transman, they are not a
  man, they are “actually a woman and a man dressing as a woman is still a man.” Respondent
  further allegedly stated that individuals that identify as transgender are doing so for the attention.
  Similarly, in his General Psychology course, the Respondent allegedly made comments such as
  the following: People who claim to be gender fluid are mindless sheep; people who are
  transgender have extreme body dysmorphia or are mentally ill; “You can’t alter your body to
  become female and you can’t change your gender like that” and the only thing that can help
  those who are transgender is to learn to be the sex they were born with; and, as to individuals that
  identify as non-binary, “well, those people are just confused.” Witnesses further alleged that
  during the Sexual Behavior course, the Respondent misgendered a panelist from the course’s
  LGBTQ+ panel on an exam. The allegations regarding gender identity/expression-based
  comments are explored more fully below in the material facts section.

                 4.      Sexual Orientation-Based Comments

          Witnesses alleged that the Respondent made derogatory comments based on sexual
  orientation during his courses that were not germane to the subject matter of the courses. For
  instance, OIE received an allegation that during a Psychology of Prejudice course, the
  Respondent stated, “All men are a little bit gay because if someone was sucking their dicks and


                                                   13
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 253 of 566 PageID 323




  they were going to cum and they then realized that it was a guy doing the sucking, they would
  still finish.” During a Sexual Behavior course, the Respondent allegedly stated that bisexual
  people are bisexual because they want to have sex with a lot of people. The Respondent also
  allegedly stated that lesbians did not have a “big sexual appetite.” Similarly, during his Cross-
  Cultural Psychology course, the Respondent allegedly stated that he used to have a wife and
  “now I am a fag,” as well as, “you can call me a fucking fag but it doesn’t mean racism is real.”
  The Respondent also allegedly stated that people who participated in PRIDE parades clearly had
  histrionic personality disorder. The allegations regarding sexual orientation-based comments are
  explored more fully below in the material facts sections.

                 5.     Disability-Based Comments

         Witnesses alleged that the Respondent made derogatory comments based on disability
  during his courses that were not germane to the subject matter of the courses. For instance, the
  Respondent allegedly stated that people with mental health issues, like PTSD, were inherently
  weaker than those without mental health issues; people with mental disorders had a “defect”;
  and, people with autism will not amount to anything and aren’t capable of achieving anything.
  The allegations regarding disability-based comments are explored more fully below in the
  material facts sections.

                 6.     Comments Based on Religion

          Witnesses alleged that the Respondent made derogatory comments based on religion
  during his courses that were not germane to the subject matter of the courses. Specifically, OIE
  received allegations that during his General Psychology course, the Respondent stated that
  believing in the Bible and other religious texts was like believing in unicorns, flying elephants,
  Santa Clause or a fairytale, those that believed in a religion were of a “weaker mind” and
  childish, God did not exist, and “only idiots would place beliefs in a superior being because
  they’re afraid.” Witnesses alleged that in his Psychology of Prejudice course, the Respondent
  referred to believers as “deluded” and “mentally ill.” Similarly, in his Cross Cultural Psychology
  course, the Respondent allegedly stated that Christians were “assholes” and “idiots”, there was
  no God, and people who believed in God were stupid, dumb, unintelligent, delusional, and small-
  minded. As to Christianity, witnesses further alleged that in both his General Psychology course
  and Cross Cultural Psychology course, the Respondent described Jesus as being a schizophrenic.
  He also equated the teaching of religion to children with child abuse. As to the Virgin Mary, the
  Respondent allegedly stated in both courses that it was scientifically impossible to be pregnant
  without having sex, and that “for all we know, she could have been raw-doggin it across town”
  having had sex with various men. The Respondent further allegedly stated that the Virgin Mary
  was not a virgin and she told the story about the angel and carrying the song of God as a way to
  save her life after she had been “whoring around.” With regard to Islam, the Respondent
  allegedly stated that it was a myth that followers of Islam were peaceful because the religion was
  founded on violence and remains violent today, and that it is a “terrorist culture”. He further
  allegedly referred to Muhammad as a “con man”, “child rapist,” and “pedophile.” The
  Respondent also allegedly equated female students wearing a hijab with having been
  brainwashed by their religion and country of origin because wearing the hijab was submission to
  the culture’s stereotypes about women being servants. In other words, hijabs were oppressive to


                                                  14
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 254 of 566 PageID 324




  women. Furthermore, students alleged that the Respondent issued exam questions that forced
  students to select statements contrary to their religious beliefs to receive credit for answering the
  exam question correctly. The allegations regarding religion-based comments are explored more
  fully below in the material facts sections.

                 7.      Comments Based on Race/Ethnicity

          Witnesses alleged that the Respondent made derogatory comments based on
  race/ethnicity during his courses that were not germane to the subject matter of the courses. For
  instance, witnesses alleged that during his General Psychology course and Cross Cultural
  Psychology course, the Respondent stated that Black people should thank White people for
  creating our modern society because nothing important was ever invented by someone who
  wasn’t White. In both courses, the Respondent allegedly stated that affirmative action was
  racism against White people and oppressed White people, and constituted “Black privilege.”
  Also in both courses, the Respondent allegedly said that African Americans and Native
  Americans did not have cerebral cortexes, and were thus inferior to White people, as well as that
  minorities were predisposed by nature to be poor and have babies which is why they utilized
  welfare and food stamps. The Respondent further allegedly stated that systemic racism didn’t
  exist so “Black people just need to get over it,” and that Black people suffer problems of their
  own making and not as a result of years of oppression. Witnesses also alleged that the
  Respondent stated in class that Asians and Whites were smarter than Blacks because they were
  more educated.

         Witnesses alleged that, during class, the Respondent explained that White people gave
  Black people the nickname “porch monkey” because it made sense in that Black people were
  being “lazy and hanging out on the porch”. He further allegedly stated that people call him a
  “wet back” so why can’t he call Black people a “porch monkey.” He further compared people
  referencing President Donald Trump as an orangutan with referencing Former President Barack
  Obama as a monkey. The allegations regarding race/ethnicity-based comments are explored
  more fully below in the material facts sections.

         C.      Respondent’s Alleged Quid Pro Quo Based on Religion

          OIE received an allegation that the Respondent, who identified as an atheist, offered
  students extra credit in the course if they would denounce their religious beliefs in front of the
  class. It was further alleged that the Respondent offered extra credit to students if they wrote a
  paper wherein they denounced their own religion. Students also alleged that the Respondent
  issued what he referred to as “[Respondent’s Last Name]’s Challenge,” which is when he
  challenged students to go 24 hours without believing in their God or their religion. The
  allegations regarding quid pro quo harassment are explored more fully below in the material
  facts sections.

         D.      Respondent’s Alleged Response to Student’s Sexual Assault Disclosure

         A former student (Witness 34) alleged that in February-March, 2014, she and another
  female student (Witness 35) disclosed to the Respondent that one of his graduate teaching


                                                   15
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 255 of 566 PageID 325




  assistants (Witness 36) had sexually assaulted them. In response, the Respondent allegedly
  demanded that the students explain the incidents in detail to him. When they shared that they had
  been friends with Witness 36 and he had been to their houses, the Respondent rolled his eyes,
  laughed and said that Witness 36 must have misinterpreted the situations and thought that they
  wanted more. He further allegedly said, “Well, that’s what happens when you bring boys to your
  apartment.” When they requested assistance so that they could take the class exam, the
  Respondent replied that there was nothing he could do about removing Witness 36 from class,
  and the only way he would do anything was if a police officer advised him that Witness 36 was a
  criminal. The students also alleged that the Respondent told them that Witness 36 did not “cross
  the line” and the only way that they would have a case was if they fabricated information to the
  police, which he wouldn’t recommend as they would get in trouble for falsifying evidence. He
  then suggested that they pick better friends moving forward. The Respondent advised Witness
  34 that he would not allow her to take the course exam elsewhere or remove Witness 36 from the
  room during the exam, and said that the best he could do was have her not sit in an aisle seat so
  that Witness 36 did not have to hand her anything directly. Thereafter, the Office of Student
  Rights and Responsibilities allegedly spoke with the Respondent, who refused to allow Witness
  34 take the exam in the testing center but allowed her to take the exam in his office. When
  Witness 34 arrived, the Respondent allegedly did not recognize her and then said, “Oh you’re the
  one with an issue with my TA.” The allegations regarding this alleged sexual assault disclosure
  are explored more fully below in the material facts sections.

         E.      Non-Discriminatory Misconduct

         In addition to the above, witnesses alleged that the Respondent actively discouraged
  students from filing complaints because he was tenured, engaged in repeated and offensive
  unprofessional conduct (such as mocking students, using profanity, and treating students with
  disrespect); used time in class to espouse his opinions rather than teach relevant course content,
  provided students with misinformation, and failed to provide a complete picture of the issues
  presented or presented misleading and inaccurate information.

          In addition to the above, witnesses alleged that the Respondent made numerous
  inappropriate comments related to sexual assault during class. Specifically, the Respondent
  stated that women alleged that they were raped rather than admitting to themselves that they
  chose to have sex, which may violate a virtue they hold. The Respondent also allegedly stated
  that women “make up” stories about being sexually assaulted and like to accuse men of sexual
  assault for fun, to get attention, and to ruin men’s lives. He further stated that there are so many
  false rape accusations that plague college campuses, and that the statistic of one in four is just a
  feminist stunt. The allegations regarding Respondent’s other alleged misconduct are explored
  more fully below in the material facts sections.

  V.     SUMMARY OF THE RESPONDENT’S RESPONSE TO ALLEGATIONS

          As set forth in detail below, the Respondent did not dispute some of the allegations made
  against him, provided context to some of the statements made, and denied numerous allegations
  made against him. The Respondent’s response to the allegations is set forth in detail below in
  sections VI and VII, as well as in his OIE interview summary.


                                                   16
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 256 of 566 PageID 326




  VI.     MATERIAL FACTS NOT IN DISPUTE

         With regard to audio recordings, OIE reviewed approximately 37 hours of recordings of
  the Respondent’s lectures during the 2019 Summer Cross Cultural Psychology course, as well as
  the 2018 General Psychology course, which captured a portion (not all) of the class lectures.
  OIE’s investigation revealed that the following facts, which are material to determining whether
  the Respondent violated the University regulation and/or policy, are not in dispute based on the
  testimonial, audio recording and/or documentary evidence:

  Respondent’s Employment & Teaching Assignments
      1. In 1998, UCF hired the Respondent as an Assistant Professor with the Department of
  Psychology in the College of Sciences. In 2001, the Respondent received tenure. At the time of
  this report, the Respondent was an Associate Professor with the Department of Psychology.

     2. For the last five years, the Respondent received an overall rating of “outstanding” on his
  annual evaluations. See Respondent’s 2014-15, 2015-16, 2016-17, 2017-18, and 2018-19 UCF
  Annual Evaluations of In-Unit Faculty Performance. During 2003, 2009 and 2015, the
  Respondent received a UCF Teaching Incentive Program (TIP) Award. 8

      3. In the Respondent’s Student Evaluation of Instructor Summaries, students provided both
  positive and negative feedback regarding their experiences in the Respondent’s classroom. See
  Respondent’s Student Evaluation of Instructor Summaries 2015 Fall.
          a.      For example, the 2015 Fall summaries noted the following: class discussions
  “made for a welcoming and interesting learning environment, encouraging me to come to class
  even on those days I really didn’t want to”; Respondent’s “class is the only class that I took this
  semester that made me feel like I was being exposed to new and exciting ideas… [Respondent] is
  such an important professor to have at UCF because he really makes you think about why you
  believe in the things that you believe and he teaches you valuable critical thinking skills”;
  Respondent was “passionate” and “very enthusiastic about what he taught”; student liked the
  Respondent’s “sense of humor and the way he presented information [which] made the class
  enjoyable”; “eye opening course” and “best so far”.
          b.      For example, the 2015 Fall summaries also noted the following: “instructor was
  very rude to students when they asked questions. Would call them out and disrespect them”;
  Respondent was “very degrading and disrespectful when students answered questions”; “very
  condescending to students”; “when students got the courage to raise their hands, he seemed to
  either make fun of what they had to say, make them sound stupid, or cut them off completely”;
  Respondent “should know that not everybody thinks the same way as he does and just because
  he feels completely oblivious to other people’s thoughts, beliefs and feelings, it doesn’t mean he
  can disrespect them for not sharing his own beliefs. It is part of maturity to accept that not every
  human being will believe in the same thing as we do therefore we should know that as adults we

  8
    The UCF TIP award rewards “teaching productivity and excellence”, and “recognizes in-unit employee
  contributions to UCF’s key goals of offering the best undergraduate education available in Florida and achieving
  international prominence in key programs of study.” To be eligible for the award, the employee must be (1)
  classified as in-unit; (2) hold a full-time appointment; (3) have four years of continuous non-OPS service
  immediately prior to the current year; and, (4) not have received the award during the previous five years. For more
  information, see: https://facultyexcellence.ucf.edu/award/teaching-incentive-program/.

                                                           17
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 257 of 566 PageID 327




  can’t fall into a childish behavior and disrespect somebody else’s beliefs and behaviors for not
  being the same as ours. If he wants to speak about how he feels about certain topics it’s more
  than fine, it’s his right to freedom of speech, but is not a valid excuse to intentionally offend
  other people.”
          c.       Of particular relevance to OIE’s investigation, the 2015 Fall summaries noted the
  following: Respondent disgraces and disrespects all Christian religions; “instructor was rather
  inconsiderate of different cultures”; “he would repeatedly and openly mock religious views and
  beliefs”; student felt “a bit sorry for those with religious beliefs who he looked down upon
  multiple times in the course – although his reasoning was logical to me. Loved how he fought
  back against the African American girl who was claiming that he was an ‘old white man’, albeit I
  do not think that that entertainment was necessarily appropriate, as it discouraged me from
  participating in class out of being nervous”; Respondent “is a terrible teacher who preaches racist
  and sexist undertones, no concern for students, and rambles on and on about sex the whole time”;
  “he has a way in diminishing religion when he teaches it simply because he doesn’t believe in
  it”; “he poked fun at religious views”; Respondent “is a brainwashing atheist and forces his
  beliefs on students”; wished Respondent “would communicate his racism in a less
  confrontational fashion”; “I love that [Respondent] was open to speaking his opinion about
  religion”; “lack of respect for students of faith is unnecessary”; “really enjoyed how open he was
  about religion and culture and how he allowed the class to share their views”; Respondent was
  “extremely harsh on those that may be religious. Bigotry I feel works both ways and the
  professor, while interesting, was not very kind”.

      4. During the Respondent’s employment with UCF, he was assigned to teach multiple
  courses.
          a.      Initially, he taught both undergraduate and graduate courses. The enrollments in
  Respondent’s courses ranged from less than 20 students (i.e. Honors Thesis) to hundreds of
  students (i.e. General Psychology).
          b.      With regard to graduate courses at UCF, the Respondent previously taught Cross
  Cultural Psychotherapy and a course pertaining to intellectual assessments.
          c.      In approximately 2010-2011, the Respondent stopped teaching graduate courses
  after being denied promotion to full professorship.
          d.      The Respondent taught the following undergraduate courses at UCF: General
  Psychology (also referred to as Introduction to Psychology), Cross Cultural Psychology, Sexual
  Behavior (also referred to as Human Sexuality), and, Theories of Personality and Research.
          e.      For at least one Summer session in 2009, the Respondent taught Psychology of
  Prejudice and used his materials from his Cross Cultural Psychology course. (The Respondent
  recalled having taught this course for only one semester but student records (Witness 37 and
  Witness 38) indicated that he was the professor on record for this course during the summer of
  2009 and summer of 2010.)
          f.      The Respondent also supervised students’ Honors thesis.
          g.      Since approximately 2010, the Respondent has led a study abroad program to
  Peru during the summer with the exception of the 2020 Summer semester due to the COVID-19
  pandemic.

     5. The syllabus for the Respondent’s Cross Cultural Psychology course stated that the
  course objectives were as follows: The overall goal of this course is to assist students in


                                                  18
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 258 of 566 PageID 328




  obtaining a broader perspective on humanity by means of critically examining life within other
  cultural contexts and within one’s own cultural context. Learning about other lifestyles and
  cultures provide various benefits to students, such as: (a) learn how to think independently of
  how society or various social groups want you to think. (b) have a better appreciation of the
  complexities of humanity, (c) become more aware of how arbitrary much of human behavior is,
  (d) become more sensitive and understanding with others (if warranted), (e) become less
  egocentric and ethnocentric, (f) realize the availability of behavioral options that were previously
  unrecognized. Please note that we will be examining course material in both therapeutic and non-
  therapeutic contexts. Specific ways by which we will accomplish these objectives include: 1)
  Obtain exposure to the theoretical/descriptive literature written about various cultural groups
  (nationally and internationally). 2) View and discuss in class approximately six short- to
  medium-length videos on issues related to various cultural groups. 3) Have five (5) quizzes or
  exams.

       6. The syllabus for the Respondent’s Sexual Behavior course stated that the course
  objectives were as follows: The overall purpose of this course is to explore numerous aspects of
  human sexual behavior, sexuality, and contemporary United States’ attitudes toward sex and
  sexuality. Some of the topics we will cover include, but are not limited to: male and female
  anatomy, how to maximize one’s sexual pleasure with a partner(s), by one’s self (masturbation),
  gender identity, sexual identity, contraception, pregnancy, sexual health, sexual dysfunctions,
  and prostitution. Please note the following:(1)This course delves into sexually explicit material
  and information.(2) In this course, we will view educational videos that portray sexually graphic
  images and sexual activity during class.(3)Sexually explicit language is used in this class.(4)A
  student who enrolls in this class is voluntarily consenting to view and hear sexually explicit
  material and information.(5)Anyone not officially enrolled in this course is NOT permitted to
  “sit in” the course. No “visitors” allowed without Instructor’s permission. This course is taught
  from the perspective that sexual behavior—in many of its forms—is a natural part of life. The
  fact that some societies, including the United States, have “demonized” and “moralized” many
  facets of sexual behavior that does not conform to society’s standards does not mean that sexual
  behavior necessarily is pathological, immoral, or “sinful.” In fact, one specific goal of this course
  is to help students develop healthy, appropriate, and positive views about sexual behavior and
  sexuality based on the best medical and scientific information available. Another goal is to help
  students recognize how free they are to express their sexuality by critically examining the large
  number of “sexual rules” that society has created—in many instances, arbitrarily—in order to
  control and suppress human sexual activity. Specific ways by which we will accomplish these
  objectives include: 1) Obtain exposure to the theoretical, descriptive, and empirical literature
  written about various aspects of human sexual behavior. 2) View and discuss in class
  approximately ten short- to medium-length videos on issues related to various aspects of human
  sexual behavior. 3) Consider alternative views on various aspects of human sexual behavior by
  means of in-class discussions and of guest presentations. 4) Have four (4) quizzes or exams.

      7. The syllabus for the Respondent’s General Psychology course stated that the course
  objectives were as follows: This course introduces you to the fields of study in modern
  psychology. After this course, you will be able to answer the following questions: What is
  psychology? What do psychologists study? What are the methods of investigation in
  psychology? How do psychologists apply their findings to contribute to human welfare? This


                                                   19
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 259 of 566 PageID 329




  introductory course will allow you to sample many subfields of Psychology by providing you a
  “bird's eye-view” of this large and complex discipline. General Psychology is a course that meets
  the General Education Program Diversity Requirement at UCF. As such, topics related to
  gender, ethnicity, sexual orientation, and so on will be discussed as relevant. Humans, in various
  and sometimes complex ways, are shaped by their cultural and social heritage. Our cultural
  heritage influences how we view life and interact with others, and even affects how others
  perceive and interact with us. Learning about other cultures requires an openness to new
  perspectives and requires respect for other people’s views, particularly on controversial topics.
  Please note that respecting the views of others does not mean one has to agree with them;
  respecting others’ views also does not mean that their views cannot be challenged or questioned.
  Another idea worthy of contemplation is differentiating opinions that are based on some
  evidence, logic, or history versus opinions that are merely personal beliefs. People generally
  struggle to appreciate that distinction and most people think the fact that they believe something
  makes the belief “real” or valid. One of your goals as a developing student should be to learn to
  distinguish between beliefs you hold that have some basis, evidence, or logic, etc. versus beliefs
  you hold simply because either the belief is comforting or simply because you’ve never
  questioned the origin of your beliefs. In this class, you will have the opportunity to think about
  issues that you might not think about otherwise and...by the end of the course, you may perceive
  humans differently than you currently see them.

      8. The syllabus for the Respondent’s Personality Theory course stated that the course
  objectives were as follows: This course is an upper-division introductory course in the subfield
  of psychology called Personality Psychology. During this semester, you will learn how
  psychologists investigate personality, the major theories of personality (including information
  about the theorists themselves), and about some of the latest empirical research on personality.
  Also, you will gain exposure to some personality tests or inventories that purport to measure
  various aspects of personality (note: only you will know the results).

      9. The following individuals previously were enrolled as a student in one or more of the
  Respondent’s courses: Witness 39 (2020 Spring Sexual Behavior and 2020 Spring Cross Cultural
  Psychology); Witness 40 (2018 Spring General Psychology); Witness 41 (2019 Fall Cross
  Cultural Psychology); Witness 1 (2019 Spring Cross Cultural Psychology); Witness 42 (2015
  Fall Sexual Behavior); Witness 43 (2014 Fall General Psychology); Witness 44 (2019 Summer
  Cross Cultural Psychology); Witness 45 (2012 Spring Sexual Behavior); Witness 46 (2018
  Spring Sexual Behavior and 2018 Fall Cross Cultural Psychology); Witness 47 (2020 Spring
  Cross Cultural Psychology); Witness 48 (2018 Fall General Psychology); Witness 49 (2013 Fall
  General Psychology); Witness 50 (2014 Spring Cross Cultural Psychology); Witness 51 (2012
  Fall General Psychology); Witness 52 (2019 Spring Cross Cultural Psychology); Witness 53
  (2019 Summer Sexual Behavior); Witness 54 (2020 Spring Cross Cultural Psychology); Witness
  55 (2018 Fall Sexual Behavior); Witness 56 (2019 Spring Cross Cultural Psychology); Witness
  57 (2018 Spring Sexual Behavior and 2018 Spring Cross Cultural Psychology); Witness 58
  (2018 Fall General Psychology); Witness 34 (2012 Spring Sexual Behavior and 2014 Spring
  Cross Cultural Psychology); Witness 59 (2018 Fall General Psychology); Witness 60 (2009 Fall
  Sexual Behavior & 2010 Fall Cross Cultural Psychology); Witness 37 (2009 Summer
  Psychology of Prejudice); Witness 61 (2018 Spring Cross Cultural Psychology); Witness 62
  (2019 Spring Cross Cultural Psychology); Witness 63 (2019 Spring Cross Cultural Psychology);


                                                  20
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 260 of 566 PageID 330




  Witness 64 (2019 Spring Cross Cultural Psychology); Witness 65 (2016 Spring Cross Cultural
  Psychology); Witness 4 (2009 Fall Cross Cultural Psychology); Witness 66 (2019 Spring Sexual
  Behavior); Witness 67 (2012 Fall Cross Cultural Psychology); Witness 68 (2016 Fall Cross
  Cultural Psychology); Witness 69 (2020 Spring Sexual Behavior); Witness 70 (2013 Fall
  General Psychology); Witness 71 (2020 Spring Sexual Behavior); Witness 72 (2017 Fall Cross
  Cultural Psychology); Witness 73 (2019 Spring Cross Cultural Psychology); Witness 74 (2016
  Fall Sexual Behavior); Witness 75 (2005 Fall General Psychology); Witness 76 (2015 Spring
  General Psychology); Witness 77 (1999 Fall General Psychology); Witness 78 (2018 Spring
  Sexual Behavior); Witness 38 (2010 Summer Psychology of Prejudice); Witness 79 (2019
  Spring Sexual Behavior and 2020 Spring Cross Cultural Psychology); Witness 5 (2019 Summer
  Cross Cultural Psychology); Witness 80 (2018 Fall Cross Cultural Psychology); Witness 81
  (2018 Spring Sexual Behavior and 2018 Spring Cross Cultural Psychology); Witness 82 (2014
  Fall Cross Cultural Psychology); Witness 83 (2017 Fall Sexual Behavior); Witness 84 (2015 Fall
  Cross Cultural Psychology); Witness 85 (2016 Fall General Psychology); Witness 86 (2018
  Spring Cross Cultural Psychology); Witness 87 (2017 Spring Cross Cultural Psychology);
  Witness 88 (2016 Fall Sexual Behavior and 2017 Spring Cross Cultural Psychology); Witness 89
  (2011 Fall Sexual Behavior and 2012 Spring Cross Cultural Psychology); Witness 90 (2018
  Spring Sexual Behavior and 2019 Spring Cross Cultural Psychology); Witness 91 (2016 Spring
  Cross Cultural Psychology); Witness 92 (2018 Spring Cross Cultural Psychology); Witness 93
  (2020 Spring Cross Cultural Psychology); Witness 94 (2012 Spring Cross Cultural Psychology);
  Witness 95 (2018 Fall General Psychology); Witness 18 (2014 Spring Cross Cultural
  Psychology); Witness 96 (2005 Fall General Psychology); Witness 97 (2018 Spring Cross
  Cultural Psychology); Witness 98 (2017 Fall Sexual Behavior & 2019 Spring Cross Cultural
  Psychology); Witness 99 (2012 Fall General Psychology); Witness 100 (2018 Spring Sexual
  Behavior and 2019 Summer Sexual Behavior); Witness 101 (2020 Spring Sexual Behavior);
  Witness 102 (2011 Fall General Psychology); Witness 103 (2018 Spring Cross Cultural
  Psychology); Witness 104 (2019 Summer Cross Cultural Psychology); Witness 105 (2016 Fall
  Cross Cultural Psychology and 2019 Fall Personality Theory and Research); Witness 106 (2019
  Fall Sexual Behavior); Witness 107 (2018 Fall General Psychology); Witness 108 (2019 Spring
  Cross Cultural); Witness 109 (2020 Spring Sexual Behavior); Witness 110 (2019 Summer Cross
  Cultural Psychology); Witness 111 (2017 Fall General Psychology); Witness 112 (2018 Spring
  Sexual Behavior & 2019 Spring Cross Cultural Psychology); Witness 113 (2011 Fall Sexual
  Behavior and 2012 Fall Cross Cultural Psychology); Witness 114 (2013 Fall General
  Psychology); Witness 115 (2019 Spring General Psychology); Witness 116 (2019 Summer Cross
  Cultural Psychology); Witness 117 (2019 Spring Cross Cultural Psychology); Witness 118 (2018
  Spring Sexual Behavior); Witness 119 (2010 Fall Sexual Behavior and 2013 Spring Cross
  Cultural Psychology); Witness 120 (2019 Spring Sexual Behavior); Witness 121 (2018 Fall
  General Psychology); Witness 122 (2013 Fall General Psychology); Witness 123 (2013 Spring
  Cross Cultural Psychology); Witness 124 (2018 Fall General Psychology); Witness 125 (2019
  Summer Cross Cultural Psychology and 2020 Spring Sexual Behavior); Witness 126 (2010
  Spring General Psychology); Witness 127 (2017 Fall Sexual Behavior and 2018 Spring Cross
  Cultural Psychology); Witness 128 (2003 Fall General Psychology); Witness 129 (2020 Spring
  Personality Theory and Research); Witness 130 (2016 Fall General Psychology); Witness 131
  (2019 Fall Sexual Behavior); Witness 132 (2020 Spring Sexual Behavior); Witness 133 (2018
  Fall General Psychology); Witness 134 (2020 Spring Sexual Behavior); Witness 135 (2014 Fall
  Sexual Behavior and 2015 Spring Cross Cultural Psychology); Witness 136 (2006 Spring


                                                21
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 261 of 566 PageID 331




  General Psychology); Witness 137 (2019 Fall Cross Cultural Psychology); Witness 138 (2015
  Spring Cross Cultural Psychology); Witness 139 (2015 Fall General Psychology); Witness 140
  (2018 Fall Cross Cultural Psychology); Witness 141 (2017 Spring Sexual Behavior); Witness
  142 (2007 Fall General Psychology); Witness 143 (2019 Summer Cross Cultural Psychology);
  Witness 144 (2017 Fall Cross Cultural Psychology); Witness 145 (2005 Spring Honors Special
  Topics); Witness 146 (2010 Spring Sexual Behavior and 2010 Fall Cross Cultural Psychology);
  Witness 147 (2009 Fall Sexual Behavior and 2010 Fall Cross Cultural Psychology); Witness 148
  (2016 Fall Sexual Behavior); Witness 149 (2018 Spring Cross Cultural Psychology); and,
  Witness 150 (2019 Fall Cross Cultural Psychology).

  Tenure Discussion
     10. Generally, at the beginning of the Respondent’s courses and at various other points in the
  Cross Cultural Psychology courses, the Respondent referenced that he had tenure. The
  Respondent told students that tenure allowed him to say “outrageous controversial things”
  without the students or administration “castigating me in some way.” See Respondent’s Interview
  Summary.

      11. During his August 28, 2018 General Psychology course (see Recording), the Respondent
  told students, “I can say what I said, and that is the way it goes. No one cares, UCF will not say a
  thing to me. I can talk about racial issues, which I do a lot. We both have freedom of speech and
  academic freedom. I am not saying that we can call each other names, that is aggressive. But the
  same things you might find offensive, I can say anything I want as long as I am being polite.”

      12. During his 2019 Summer Cross Cultural Psychology course (see Recording – 15;
  Indentured Slaves Recording), the Respondent told the students, “At [the] university, we happen
  to have [a] system called the tenure system, so that once you have tenure, like I have at the
  university, unless I rape you—which I won’t, I promise—the university can’t fire me. They just
  can’t fire me.”
           a.      The Respondent continued that termination would be against contract and that the
  tenure protected him from “some of you because you don’t like the things I say” and “protects
  me from my colleagues and administrators.”
           b.     The Respondent then discussed a former work colleague, who the Respondent
  described as being a Christian from Texas. The Respondent shared that this individual “hated my
  guts and hated what I said in class about religion,” and did “everything he could to try and get
  me fired”. The Respondent stated, “In the end, I finally had enough of it, and I went to the Dean.
  I said this is what he has been doing to me all this time. You better do something about it, or I’ll
  see you in court soon.” The Respondent then said, “And he [the Dean] cut that guy’s dick off.
  And I hope that guy—he’s retired now—I hope he is having a miserable time.”

      13. During his 2019 Summer Cross Cultural Psychology course (see Recording), a student
  asked to photograph one of the Power Point slides. The Respondent said yes, his life was an
  open book, and he has had students at UCF complain about him, which gets investigated and he
  “laughs the whole way through”.

     14. During his 2019 Summer Cross Cultural Psychology course (see Recording), the
  Respondent told students, “Not only my ideas but the things I say to you, maybe you find


                                                   22
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 262 of 566 PageID 332




  offensive. … I have a little bit of social skills. I know not to go shopping in Pine Hill and say,
  hey, can we talk about slavery? I am a professor and I can say what I want as long as I defend
  what I say. You can go cry a river if you want.” He then mentioned that a previous student
  complained and tried to get him in trouble, but the claim was dismissed “in 15 minutes”.

  Classroom Comments – Sex-Based & Sexual
       15. During the Respondent’s General Psychology and Cross Cultural Psychology courses, he
  told students that he visits a beach for nudists in Florida.
           a.      When asked about this during his OIE interview, the Respondent stated, “Florida
  is the capital of nude beaches. We have nudist communities, beaches, etc. I do mention that I go
  there. This is discussed during the sexuality segment of General Psychology.”
           b.      Witness 111 also noted this when she told OIE that during the 2018 General
  Psychology course, the Respondent talked about a nude beach, how he frequently visited a nude
  beach, and that nudity is normal in other cultures.

      16. During his 2019 Summer Cross Cultural Psychology course, the Respondent told students
  that he identified as a nudist, being a nudist was “very fun”, and “you can’t imagine how
  liberating it is”. He further asked whether the students had heard of Haulover Beach, 9 which he
  identified as his “favorite hangout”, and indicated that “every chance I get, I go there”. After
  discussing this, he said to an unidentified student, “I didn’t mean to get you so excited”.

      17. During the Respondent’s courses, he regularly shared with his students that he identifies
  as gay today, was previously married to a woman for 30 years, and is now married to a man.

      18. During the Respondent’s Sexual Behavior course, the Respondent discussed genitals
  from a biological standpoint and started the class by asking students to identify the latest terms
  used to refer to human genitals. On occasion when the students did not respond, the Respondent
  said “dick” or “puss” to start the exercise.

       19. During the Respondent’s 2020 Spring Sexual Behavior course, the Respondent
  referenced the Gräfenberg spot (G-spot) and described where it was supposedly located and how
  it supposedly had a high concentration of nerves. He explained that when that spot is stimulated,
  a woman has an orgasm and ejaculates, and the chemistry of the liquid is similar to urine. The
  Respondent then stated, “When a woman is ejaculating, she may just be taking a pee.”

      20. During the Respondent’s Sexual Behavior course for at least one semester, the
  Respondent joked with the students that a woman is “kind of like a Ford pickup truck, built to
  take a pounding.”
          a.     During the Respondent’s OIE interview, he explained that he made this joke when
  there was a Ford commercial out around this time that used a similar phrase. Specifically, the
  Respondent stated, “That was a commercial that was going on that semester. I said it with a
  humorous smile, some of the class laughed.”



  9
   Haulover Beach, which is located in South Florida, is described as one of the “best nude beaches in the world”
  according to its website: https://www.hauloverbeach.org/.

                                                          23
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 263 of 566 PageID 333




          b.     OIE inquired of this because an anonymous reporter alleged that during the fall of
  2015, the Respondent told students “women were just like a pickup truck” because they are
  “pretty and good for ‘ramming.’” See Student Google Form – Anonymous.

      21. During the Respondent’s General Psychology course, the Respondent told students about
  the Sambia tribe in New Guinea. The Respondent advised the students that when boys in the
  group turn age 7, the group has a ceremony in the village and the boys say goodbye to their
  families. The boys are then taken out of the village to be cared for by only males for a period of
  ten years. The Respondent further advised the students that this group believes that consuming
  semen helps the boys grow into men. Accordingly, when the men are raising these boys, they
  have the boys perform oral sex on the men. When the boys turn 17, the group has another
  ceremony and are officially declared men, and then are married to women. On at least one
  occasion, shortly after discussing this practice, the Respondent talked about how “semen is high
  in protein, it’s a protein drink.”
          a.       During the Respondent’s OIE interview, he stated, “I only cover this in General
  Psychology in the portion of the course combining culture and sex.”
          b.       OIE notes that there is literature indicating that by the end of the 1980s, the ritual
  of boy-insemination had been abandoned by the Sambia tribe.

      22. During the Respondent’s General Psychology and Cross Cultural Psychology courses,
  the Respondent told students about the Hopi tribe in Arizona. The Respondent advised the
  students that there is a crevasse in the earth where they are located that looks like a vulva. Once a
  year, the men are expected to put their penis in that crevasse, and it is a symbolic sex act as
  though they are copulating with the earth.
           a.     During the Respondent’s OIE interview, he stated that he explains to the students
  that “the earth is considered like a mother to them, and they want the earth to be fertile.”
           b.     This was consistent with the recorded November 27, 2018 General Psychology
  lecture.

      23. During all of his courses, except Theories of Personality and Research, the Respondent
  told students that with regard to the Hopi tribe, when a male child is upset anyone nearby touches
  his penis.
          a.      During the Respondent’s OIE interview, he stated that he further advised the
  students that this was “not meant to arouse” the child “but rather to distract him”, and that this
  was not considered inappropriate or a form of child abuse in that culture. The Respondent
  further stated that he shared this as an example of things that “appear to diverge from our point
  of view, but which those groups don’t perceive them as abnormal”. This context was
  corroborated by Witness 111 (2017 Fall General Psychology).
          b.      Two students (Witness 88 and Witness 75) and an anonymous reporter (IL #850)
  alleged that when the Respondent discussed this practice, he stated that the tribe members were
  “jerking them off”. Respondent denied using this term and stated that he said the tribe members
  stroked the penis. Two students (Witness 122 and Witness 111) alleged that the Respondent said
  “rubbing the child’s penis”. None of the audio recordings captured this discussion to resolve
  what terminology was used by the Respondent.




                                                    24
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 264 of 566 PageID 334




      24. In his Cross Cultural Psychotherapy course (doctoral course) and undergraduate Cross
  Cultural Psychology course (see Recording), the Respondent told the students that every group
  has a culture, not just ethnic or racial groups. For instance, Republicans have a culture,
  Democrats have a culture, New Yorkers have a culture that is different than Texans’ culture. In
  this context, the Respondent joked that even the Girl Scouts have a culture, and he didn’t know
  what they did besides selling their cookies and preserving their virginity.

       25. In his Sexual Behavior course, the Respondent presented a counterargument to the theory
  that gender is socially constructed. 10 During class, the Respondent showed two videos. The first
  video presented a story from the 1960s or 1970s about two boys who were twins. When the boys
  were circumcised, the doctor accidentally cauterized one of the boy’s penises and, as a result,
  instructed the parents to raise him as a girl. The video indicated that although the child was
  dressed as a girl and given a girl’s name, he was odd in the way he walked and talked, which led
  to kids making fun of him. When he was 15, his parents told him that he had been born a boy and
  he later died by suicide. The second video was about a man, who identified as heterosexual, was
  married to a woman, was very allergic to bee stings and had Klinefelter’s syndrome. 11 He
  received a bee sting and was provided with hormones as part of the treatment. This impacted his
  hormones which resulted in him wanting to become a woman. He chose to divorce his wife and
  become a woman. The videos indicate that the idea that gender is a social construct and that we
  can just be however society teaches us lacks evidence. Respondent shared with his classes that
  there are people who do not have any training in biology, and they go around saying that gender
  is a total social construct. He further stated that the students can either listen to them or listen to
  neurologists and biologists who actually study this issue. The Respondent further told students
  that even though he did not have training in biology, his best opinion was that the part of gender
  identity that is constructed is how society treats us, but that we already come into the world with
  a predisposition and a tiny fraction may be something in between (meaning transgender). See
  also Announcement January 28, 2020 Re Gender & Social Construct.

      26. In his General Psychology course, the Respondent discussed society’s viewpoint that
  teenagers should not have sex because they could be emotionally hurt from the experience. The
  Respondent used a checkbook as an analogy to make the point that rather than prohibiting sex,
  individuals should not have secondary reasons to engage in sexual activities.
          a.      The Respondent explained to the students that a person, often a female but not
  always, who wants to be in a loving relationship with someone who may not want to have sex
  may give in to having sex in the hopes that the relationship will continue. There are cases where
  a male will have sex and then lose interest in the female. “Some people will say, ‘see?’ to
  indicate that they said that would happen.”
          b.      The Respondent continued and told the students to imagine this analogy: “give a
  girl a checkbook to teach her to manage money, and she is in love with some guy, so she allows
  him to have access to her checkbook, and he goes on a shopping spree and then leaves her with a


  10
     The social construction of gender is a theory of knowledge that holds that characteristics typically thought to be
  immutable and solely biological, such as gender, are products of human definition and interpretation shaped by
  cultural and historical contexts.
  11
     Klinefelter’s syndrome is a genetic condition that results when a boy is born with an extra copy of the X
  chromosome.

                                                            25
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 265 of 566 PageID 335




  balance of $0, and she is crushed. Imagine if someone says, ‘See? That’s why we shouldn’t let
  girls have checkbooks.’”
          c.      The Respondent then stated that no one would say that girls should have
  checkbooks. Turning back the subject of teenagers and sex, people should not have sex for any
  secondary reason (like hooking them into a relationship). Rather, if someone wants to have sex,
  it should just be that they want to have sex.

      27. On April 29, 2018, the Respondent sent an email to two students who served as Graduate
  Teaching Assistants (GTAs) for his General Psychology course. Therein, the Respondent
  referenced the male’s coverage of scoring scantrons for the female GTA and said, “I hope
  [Witness 45] is compensating you well for this!!! But …. it’s none of my business…” See
  Announcement, April 29, 2018 Message to Witness 151 & Witness 45.

      28. During Respondent’s Fall 2018 Sexual Behavior course (and one or two other semesters
  for this course), the Respondent told the students, “You’re in this class because you either want
  to know more about sex or just like sex. I’m in the category that just likes sex.”

      29. During his August 28, 2018 General Psychology course (see Recording), the Respondent
  discussed the reasons why people get married and stated, “Maybe they have a family that you
  like. Or maybe you like them because they make a lot of money, you can relate to that ladies? I
  am talking about heterosexual women, not lesbians. You may find a charming and attractive
  man, but you find out he is a Walmart greeter. You need to get out of that. Or you might find
  someone that is not as attractive, but he is going to law school, there is a chance he might just
  work out.”

      30. During the August 28, 2018 General Psychology course (see Recording), the Respondent
  discussed Sigmund Freud’s theory that humans are driven by two feelings – sex and
  aggressiveness. When discussing sexual instinct and the students dieting or controlling their
  weight, the Respondent stated, “Yeah, and working out in the gym. I work out in the gym for
  different reasons. Postponing death. You young people are there because you are a piece of meat
  trying to put yourself on the meat market. Right? I love it when I see mostly guys at the gym
  working out and looking at themselves in the mirror as they are working out. I am tempted to tell
  them to masturbate in the bathroom with the mirrors.”

      31. During the September 4, 2018 General Psychology class (see Recording):
          a.      Respondent discussed sensory information and asked students if they had to give
  up all their senses except one, which one would it be. After students provided different
  responses, the Respondent said, “You guys are really weird, at least the ones that participated so
  far.” He then stated, “The people who say they want ‘skin’ [referring to the sense of touch]
  usually say it because they like sex.” There was uncomfortable laughter and the Respondent
  replied, “And oh my god, you guys are asexual.”
          b.      Respondent then discussed how individuals can associate a song or the smell of a
  particular perfume with a specific person or a specific time in one’s life. He referenced how he
  could hear a song that reminded him of his senior year in high school, which was 40 years ago,
  because learning is permanent. He then referenced how one could smell a perfume or cologne
  which triggers them to think about a specific person, like when one is walking through the mall.


                                                  26
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 266 of 566 PageID 336




  He asked, “Does anyone have that experience or is it just me? Some of you have, okay.” He
  then said to a student, “Really, you haven’t had that experience? Have you even had an erection
  before? I’m sorry, fine be that way.” During his Cross Cultural Psychology lecture regarding
  Blacks, the Respondent made a similar offhand comment when discussing parent’s use of
  corporal punishment when raising children and the impact on those children. The Respondent
  shared that these children manifest problems later in life such as antisocial behavior (criminal
  behavior), problems with those with authority (bosses, teachers, police, etc.), and having higher
  levels of anxiety. The Respondent also stated that there were a couple studies showing that
  Black parents reported using corporal punishment more than White parents. The Respondent
  then stated, “I wish we would eliminate corporal punishment. I wish those of you who are
  concerned with racism were just concerned with child abuse but unfortunately, you’re not
  because you don’t get anything out of it. Showing yourself as antiracist, you can look in the
  mirror and get a little boner.”

      32. During his 2019 Summer Cross Cultural Psychology course (see Recording – Peru - 13),
  the Respondent discussed verses from the Bible, referred to a verse on a slide, and said, “And of
  course Muhammad violated this by marrying his daughter in law. And to make this prohibition,
  it must have meant that people were having sex with animals, which humans do all over the
  world.” A student asked, “Do they really?” The Respondent replied, “Yes, you can go on
  YouTube and find” this.

      33. During the Respondent’s 2019 Summer Cross Cultural Psychology course, the
  Respondent discussed how Muhammad was 25-years-old when he got married to a 40-year-old
  woman, which was strange, and that “there aren’t many 25-year-old men anywhere in the world,
  even today, who would like to be involved in a romantic relationship with a 40-year-old
  woman.” The Respondent made a similar comment about older women during his November 27,
  2018 General Psychology lecture when describing the Hopi tribe’s ritual of having men line up
  to have sex with the eldest female. After describing the practice, the Respondent stated, “Who
  would want to bang an 80-year-old woman?”

  Classroom Comments – Gender Identity/Expression:
      34. In his Sexual Behavior course, the Respondent made comments about transgender men
  after gender reassignment surgery and how their penises are either not pretty, not attractive or
  didn’t look right. During his OIE interview, the Respondent stated that he made these comments
  “not in a derogatory way, but in a factual way. Artificial penises crafted out of stomach tissue are
  bizarre. I never said ‘gross’ or ‘disgusting.’ I may have said they are not attractive. I don’t know.
  If ever you were to see one, they are not anything close to a real penis. They are bizarre.”

     35. In his Sexual Behavior course, the Respondent hosted a LGBTQ+ panel each semester.

      36. During the 2020 Spring semester, the panel included one individual that identified as
  cisfemale, one individual that identified as cismale, and one transgender male (Witness 132).
          a.     During the panel, Witness 132 stated that he would get upset when people
  misgender him. The Respondent replied, “Just looking at you, I would assume you were a girl
  and refer to you as such.” During his OIE interview, the Respondent stated that this individual
  “explained to the class that he identifies as a male, but totally – and I mean totally – looks like a


                                                    27
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 267 of 566 PageID 337




  woman and made no effort to appear as a male. I am looking at someone who by any account is a
  female, but who reports he is a male. I’m fine with that – totally respect that.”
          b.        Following the panel, the Respondent issued an exam with a question that
  required students to misgender Witness 132 in order to receive credit for answering the question
  correctly. Specifically, the test asked how many males were on the panel. The Respondent’s
  answer key identified that the correct response was “one” even though there had been two
  panelists that identified as male.
          c.      Thereafter, Witness 132 spoke with the Respondent about the error.
          d.      When the Respondent initially was notified of the error, he sent the following
  message to his students:
                  Potentially bad items on Exam 3...
                  Okay. I'm on it... I see that I had keyed the wrong answer for the pregnancy
                  question. I will give everyone a point for that. Someone mentioned two other
                  potentially problematic items that I will have to look at later today and make some
                  decisions about. For now, let me say that the very last item--asking you to identify
                  who showed up during our sexual minority panel--was intended to be a
                  straightforward question, that would be an easy question, to reward those who
                  showed up for that day's class. There was no underlying, unconscious, implicit
                  maliciousness on my part about the item. Please.... Apparently one of the panelists
                  interpreted the item as problematic and I am in discussion with that student to
                  better understand what the problem or concern is. I’ll let give you an update later
                  tonight about if I need to accommodate your grades anymore due to problematic
                  items. Stay tuned (and...relax, damn it!) Ha...

     37. On March 31, 2020, the Respondent sent the following message to his students:

                  Dear Sexual Behavior students:
                  I just reviewed the test items causing concern. Let me start with the more difficult
                  one. I now see--in a huge way--what an insensitive and misguided item the last
                  question was. It just shows you what a socially inept brute I am capable of being.
                  Seriously, to any of the panelists who felt “dissed” by that item, please accept my
                  sincere apology for that blunder. To all students, I’ll be giving 2 points to this
                  particular exam. One point for the fraternal twin question, and one point for the
                  last item. I’ll add those two points soon. Finally, one student raised the concern
                  about the item asking which country had the most HIV cases. The student said S.
                  Africa should have been an option. Agreed. BUT...you had to choose among the
                  countries provided. So, the U.S. was the correct answer. I do not see a problem
                  with that item. I owe you two points. Stay safe.
                  See Announcement March 31, 2020 Re Exam & Apology.
          a.      Witness 100 alleged that something similar occurred during the Respondent’s
  2018 Fall Cross Cultural Psychology class. Specifically, Witness 100 alleged that one panelist
  identified as nonbinary and there was a bonus question on the exam asking how many men had
  been on the panel. When the issue was raised, the Respondent allegedly sent an email saying that
  the question was just for extra credit so no corrections were made.
          b.      The record demonstrates that Witness 100 was not a student in the Respondent’s
  2018 Fall Cross Cultural Psychology class. Rather, she was a student in the Respondent’s 2018


                                                   28
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 268 of 566 PageID 338




  Spring and 2019 Summer Sexual Behavior courses. Also, the record supports that the LGBTQ+
  panels were held during the Sexual Behavior course rather than the Cross Cultural Psychology
  courses. Lastly, no other students from the 2018 and 2019 Sexual Behavior courses identified
  this incident as having occurred, and a review of the exams from that semester also do not
  include such an exam question. Accordingly, there is insufficient evidence to support Witness
  100’s allegations in this regard.

  Classroom Comments – Sexual Orientation:
      38. In his Sexual Behavior course, the Respondent stated that the way people participated in
  gay parades did not garner support for gay people. He further stated that the people he had seen
  in gay parades who were dressed up “like it’s Mardi Gras” and imitated “quasi-sex acts on
  floats” did not help people like himself (“regular vanilla people”) be respected. He further
  shared his opinion that the individuals who participated in Pride parades who “act[ed] as though
  they want[ed] a lot of attention” had histrionic personality disorder tendencies. See Respondent’s
  Interview Summary. (IL #859 (Witness 54) (spring 2020) alleged that the Respondent told the
  students that “people, who participates in the LGBT parades, have a histrionic personality
  disorder. Also, [the Respondent] said if a person from the LGBT community displays an
  eccentric personality, that person should know that he or she would not be accepted.”)

      39. In his Sexual Behavior course, the Respondent challenged the theory that the LGBTQ+
  community is oppressed. The Respondent shared that as someone who was born in the 1960s,
  the culture has changed so much in favor of sexual minorities. Although people can still be
  discriminated against, it’s very rare and it’s nothing compared to what life was like in the 1960s
  and 1970s based on his personal experience. The Respondent indicated that he may have said
  that some young gay people exaggerate their victimhood, because they don’t know what life was
  like previously. In his OIE interview, the Respondent stated that “[a]nyone who is a sexual
  minority can encounter mistreatment, but nowhere in the world do sexual minorities have it
  better than in the United States. I do not minimize a specific experience someone shares, but the
  general assertion that we are oppressed, I do challenge that.” See Respondent’s Interview
  Summary.

      40. During his Sexual Behavior course, the Respondent required students to view a video that
  was less than 10 minutes related to consent for sexual activity (Consent (2004);
  https://www.youtube.com/watch?v=5B5NMN7GBA4). Therein, a male and female are about to
  engage in sexual activity, begin to discuss a consent form, and each have their lawyers on the
  side of the bed to negotiate the activities that they both consent to engaging in. See Respondent’s
  Interview Summary & Consent (2004) Video.

      41. When talking about sexual assault during his Sexual Behavior course, the Respondent
  told students that the statistics related to sexual assault experiences on college campuses is
  skewed because the way the data was collected was skewed and the researchers equated being
  kissed without consent to rape. The Respondent further told students that the statistic that one in
  four women experience sexual assault in college is highly inflated. He then referred the students
  to the Department of Justice statistics, which stated that the statistics are more like 1 in 100
  women are raped on campus and 1 in 40 are sexually assaulted. He then asked students, “Can
  you imagine if one in four female students were sexually assaulted, yet, people kept sending their


                                                  29
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 269 of 566 PageID 339




  daughters to college.” He further asked, “If during an interview for a job they were told that one
  in four employees were sexually assaulted on the job, would they continue pursuing that job?
  No.” See Respondent’s Interview Summary.

  Classroom Comments - Religion
     42. During Respondent’s courses, he presented information related to religion.

      43. During the Respondent’s classes, he told students that there is no evidence of a God, all
  religions are mythologies, believing in religion is a delusion as believing in things for which
  there is no evidence constitutes a delusion, religion is a cultural delusion, and believing in
  religion is like believing in a flying elephant. See Respondent’s Interview Summary. (See also
  Interview Statement of Witness 125, who was a student in Respondent’s 2019 Summer Cross
  Cultural Psychology and alleged that the Respondent was “adamant that all religions are
  mythology. That would not have been a problem if he posed it as an idea or his opinion, but he
  presented it as a fact. All religions were included as mythology – Christianity, Judaism, Islam,
  etc., all were included.”)
           a.      The Respondent further told students that the difference between religion and
  mythology is that mythology is just religion that is no longer alive today. E.g. Respondent’s
  Statement & Recording – Peru - 6.
           b.      For instance, in his 2019 Summer Cross Cultural Psychology course (see
  Recording), the Respondent told students, “we call people’s religion mythology who are no
  longer alive today so they won’t get upset or insult them. We call people’s mythology religion
  today if they are still alive. … Well, one point is there is no difference, all religions are
  mythologies. But it is insulting. If I tell you right now as I have that those of you who believe in
  say Christianity, it is a mythology, it is not real - that’s insulting to you. My goal is not to insult
  you, I am being an educator here. If I were to go down the street and tell people that your
  religion is mythology, that is insulting.”

      44. The Respondent told his students how “for most people who believe in religion, their
  parents take them to church weekly or monthly, but don’t take them to multiple other types of
  religions and let them decide. I tell them that would be an example of religious education, but
  what we call religious education is really indoctrination, taking them to the same church and
  reading the same book.”

     45. In 2012, the Respondent sent the following message to students in his Cross Cultural
  Psychology course:

  Hello, Cross-Cultural students, I am writing to express my views on how some of you have
  conducted yourself in this university course you are taking with me. It is not uncommon for
  some-to-many American students, who typically, are first-generation college students, to not
  fully understand, and maybe not even appreciate the purpose of a university. Some students
  erroneously believe a university is just an extension of high school, where students are spoon-fed
  “soft” topics and dilemmas to confront, regurgitate the “right” answers on exams (right answers
  as deemed by the instructor or a textbook), and then move on to the next course. Not only is this
  not the purpose of a university (although it may feel like it is in some of your other courses), it
  clearly is not the purpose of my upper-division course on Cross-Cultural Psychology. The


                                                    30
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 270 of 566 PageID 340




  purpose of a university, and my course in particular, is to struggle intellectually with some of
  life’s most difficult topics that may not have one right answer, and try to come to some
  conclusion about what may be “the better answer” (It typically is not the case that all views are
  equally valid; some views are more defensible than others). Another purpose of a university, and
  my course in particular, is to engage in open discussion in order to critically examine beliefs,
  behaviors, and customs. Finally, another purpose of a university education is to help students
  who typically are not accustomed to thinking independently or applying a critical analysis to
  views or beliefs, to start learning how to do so. We are not in class to learn “facts” and simply
  regurgitate the facts in a mindless way to items on a test. Critical thinking is a skill that develops
  over time. Independent thinking does not occur overnight. Critical thinkers are open to having
  their cherished beliefs challenged, and must learn how to “defend” their views based on evidence
  or logic, rather than simply “pounding their chest” and merely proclaiming that their views are
  “valid.” One characteristic of the critical, independent thinker is being able to recognize fantasy
  versus reality; to recognize the difference between personal beliefs which are nothing more than
  personal beliefs, versus views that are grounded in evidence, or which have no evidence. Last
  class meeting and for 15 minutes today, we addressed “religious bigotry.” Several points are
  worth contemplating: 1. Religion and culture go “hand in hand.” For some cultures, they are so
  intertwined that it is difficult to know with certainty if a specific belief or custom is “cultural” or
  “religious” in origin. The student in class tonight who proclaimed that my class was supposed to
  be about different cultures (and not religion) lacks an understanding about what constitutes
  “culture.” (of course, I think her real agenda was to stop my comments about religion). 2.
  Students in my class who openly proclaimed that Christianity is the most valid religion, as some
  of you did last class, portrayed precisely what religious bigotry is. Bigots—racial bigot or
  religious bigots—never question their prejudices and bigotry. They are convinced their beliefs
  are correct. For the Christians in my class who argued the validity of Christianity last week, I
  suppose I should thank you for demonstrating to the rest of the class what religious arrogance
  and bigotry looks like. It seems to have not even occurred to you (I’m directing this comment to
  those students who manifested such bigotry), as I tried to point out in class tonight, how such
  bigotry is perceived and experienced by the Muslims, the Hindus, the Buddhists, the non-
  believers, and so on, in class, to have to sit and endure the tyranny of the masses (the dominant
  group, that is, which in this case, are Christians). 3. The male student who stood up in class and
  directed the rest of the class to “not participate” by not responding to my challenge, represented
  the worst of education. For starters, the idea that a person student or instructor— would instruct
  other students on how to behave, is pretty arrogant and grossly disrespects the rights of other
  students who can and want to think for themselves and decide for themselves whether they want
  to engage in the exchange of ideas or not. Moreover, this “let’s just put our fingers in our ears so
  we will not hear what we disagree with” is … appallingly childish and exemplifies “anti-
  intellectualism.” The purpose of a university is to engage in dialogue, debate, and exchange
  ideas in order to try and come to some meaningful conclusion about an issue at hand. Not to shut
  ourselves off from ideas we find threatening. Universities, including UCF, have special policies
  in place to protect our (both professors’ and students’) freedom to express ourselves. Neither
  students nor professors have a right to censor speech that makes us uncomfortable. We’re adults.
  We’re at a university. There is no topic that is “off-limits” for us to address in class, if even only
  remotely related to the course topic. I hope you will digest this message, and just as important,
  will take it to heart as it may apply to you. See No. Announcement January 2012.



                                                    31
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 271 of 566 PageID 341




      46. UCF administrators were made aware of the Respondent’s 2012 message to students and
  did not issue any discipline against the Respondent related to this message. See Complaint
  History section below.
          a.      In fact, according to an Inside Higher Education article related to this incident,
  then-department chair, Witness 152, “said in an e-mail that he supported [the Respondent’s]
  perspective. ‘I view [the Respondent’s] discussion as protected by the fundamental principles of
  academic freedom,’ he said. ‘I am encouraged by the worldwide positive response to his letter,
  because if critical thinking and debate were not permitted in our public universities, I believe the
  future of all human rights would be at risk.’”
          b.      Also, then-Provost, Witness 153, “said in an e-mail that the university encouraged
  faculty members to have classroom discussions that help students think critically. ‘We also hope
  our students will arrive at their own opinions based on those thought-provoking discussions,’ he
  said.”

     47. On January 10, 2018, the Respondent sent the following email to his students:

  Because my time is limited (there is so much to cover in this course), I must rely occasionally on
  communications with you via “letters” (or messages). I hope you will read all of this and digest
  it. Yesterday, I had described for you the culture found within the country of Saudi Arabia.
  Specifically, I said: women who are accused of sex outside of marriage can be (and are)
  decapitated, in public. … And, … if a daughter or sister is sexually assaulted, OR caught dating a
  man, OR having pre-marital sex, OR refuses to marry the man her father has ordered her to
  marry, she may be murdered by her own family (known as “honor killings”). Someone in the
  class refuted that there are honor killings in Saudi Arabia. … [Respondent then describes his
  consultations with four UCF colleagues who are from Saudi Arabia, Bangladesh and Iran, and
  sets forth that they confirmed that honor killings continue to occur in Saudi Arabia, but they are
  private rather than public matters.] Honor killings occur in the United States on occasion. … In
  Muslim dominant countries, police will rarely, if ever, prosecute anyone for an Honor killing,
  and people remain silent about them. … [Respondent asked students to guard “against being
  defensive about your group.”] … Last, most of you have never lived anywhere else besides the
  United States. You have no idea what life is like in other countries, especially non-White
  countries. And for those of you who are immigrants in my class, the odds are you only know
  your family’s country of origin as a child. As a child, you led a protected, sheltered life. You
  were not out doing surveys among people in your country, nor were you out critically examining
  your community. With all due respect (and I say that sincerely), please do not think you are an
  authority on your parents’ culture just because you lived there as a child. Again, odds are, you’ve
  never conducted any real critical analysis of your culture of origin, because…you simply lived
  there as a child.”
  See Announcement - January 10, 2018 Re Honor Killings.

       48. During his August 28, 2018 General Psychology course (see Recording), the Respondent
  discussed the purpose of a university and then said, “You just take me on a merry-go-round of
  little synonyms. It is not real. Heaven. We have the best astronomers in the world. They have
  identified stars, planets, galaxies that you have never heard of. They have never said, oh there’s a
  heaven with gold and people dancing. You do not know where it is. You just believe it because



                                                   32
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 272 of 566 PageID 342




  someone tells you it is real. Hell. We have oil companies that dig miles below. They never said
  that there were people down there and a guy with a tail and horns. No, another childish idea.”
          a.      Further stated, “To celebrate the life of a man you’ve never met, you’ve never
  heard from before, by killing a tree and putting it in your house and narcissistically giving gifts
  to each other. It is called Christmas. If you stop to think about it, it is pretty bizarre.”
          b.      Later in the lecture, the Respondent referenced freedom of speech and a student
  referenced limitations on speech in countries like North Korea and Saudi Arabia. The
  Respondent replied, “I may say something that will offend you. I do not enjoy offending you, I
  just have some opinions on things. I have a bachelor’s, master’s, PhD. I have opinions. It does
  not mean I am right. You mentioned Saudi Arabia. Most Muslim countries are not bastions for
  free speech. The crackpots who run the cult called Islam will kill you. So that is where they have
  the least amount of free speech.”

      49. During the 2019 Summer Cross Cultural course (see Recordings):
           a.      The Respondent indicated that he personally changed in terms of his beliefs when
  he “encountered someone who changed my way of thinking”. He identified this person as
  Muhammad. 12 He then said that when he learned about Muhammad, he concluded that religion
  was “all make believe.”
           b.      The Respondent stated that there was a trend during the last ten years where
  people are leaving the Catholic church and joining some type of evangelical religion. He
  referenced the priest sexual abuse scandals as a reason and then said that it also was happening
  “because evangelical religions are more exciting and energetic, and they have music and they
  sometimes have dance and stuff. Where the Catholic church, have you ever been to a Catholic
  sermon? It’s like taking two tranquilizers and being given a cup of vodka. All it does is put you
  to sleep, it is boring.” Later in the discussion, a student stated that a lot of people in Peru had
  said that they were not religious and were trying to figure it out. The Respondent stated, “A lot
  of people are Catholic in name only. … It’s just when they are confronted with death is when
  they are in church.”
           c.      Respondent had a discussion with the students about religion and said that
  “religion has never solved a single social problem”. When a student began to react to this
  statement, he said, “I am talking about believing in an imaginary God and you are talking about
  social aspects”. He then said, “Let me go on please, let me go on. I know we are not going to
  agree on this”. As his lecture progressed, he stated that “people who believe in religion tend to
  be irrational.” The Respondent then explained how religion serves to provide humans with hope
  during a time of crisis.
           d.      Respondent told students that when he had told other classes that “all religions are
  mythologies”, students “respond saying, like hell, my God is real.” Respondent then said, “No,
  he is a figment of your imagination.”
           e.      Respondent shared a passage about the Muslim equivalent to tithing, and stated,
  “I’m sorry, but Allah does not exist. There’s nobody giving anything to Allah. There’s no one

  12
     Muhammad is believed to be the seal of the Messengers and Prophets of God in all the main branches of Islam.
  Muslims believe that the Quran, the central religious text of Islam, was revealed to Muhammad by God, and that
  Muhammad was sent to restore Islam, (which they believe did not originate with Muhammad but is the true
  unaltered original monotheistic faith of Adam, Abraham, Moses, Jesus, and other prophets). The religious, social,
  and political tenets that Muhammad established with the Quran became the foundation of Islam and the Muslim
  world.

                                                          33
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 273 of 566 PageID 343




  passing money up in the sky to Allah. It’s like Christian churches who tell you to tithe your
  money to God. No, it’s going into the preacher’s pockets.”
           f.      Also, Respondent referenced religion being a mythology and stated that being
  raised in a religious upbringing “is a form a child abuse.” He also stated, “Teaching children to
  believe that there is someone watching them all the time, I would say that is child abuse. … You
  are telling your kid that someone is watching you all the time and if you do not behave well, they
  are going to punish you and, in fact, even if you are behaving well outwardly, that person knows
  what you are thinking and feeling and if you have bad thoughts or bad feelings you are going to
  be punished. And, if you are really bad in life, which really translates into not conforming to
  parental or social expectations, you are going to end up in a place where you are going to burn
  forever. It does not occur to Christians and Muslims how bizarre and abusive that is to tell
  children that when they are growing up. People just think that is normal and you do not
  understand how pathological that is. You don’t believe or understand how pathological that is.
  Talk about creating neurotic people, people who suffer from anxiety, chronic anxiety, it’s
  incredible.”
           g.      Respondent referenced The Myth of Mental Illness by Thomas Szasz, and said
  that therapy is like missionary work, and “therapists are servants of mainstream society and
  trying to get everyone to conform to mainstream society’s values.” 13 He asked the class if they
  knew what missionaries are. He then stated that he wanted to point out that “missionaries,
  rarely, if ever, go to upper class neighborhoods because the people in those neighborhoods are
  more educated and would tell them to leave us alone”. Rather, the missionaries go to “countries
  and communities where there are poor and uneducated and undereducated people”. After
  referencing a group of missionaries in Peru, the Respondent stated that the poor people already
  have their own religious beliefs, but the missionary’s goal is to get them to adopt or modify their
  own views to views that align with the views of the missionary. He then told the students that
  the missionaries will “wave a drumstick” in front of the poor person, and when the poor person
  tries to reach out for it, the missionary pulls it back. The missionary then tells the poor person
  that he wants them to understand that “my God is the real God”. The Respondent then said that
  the poor person does not want to “let go of their own religious beliefs, but that they are hungry
  and want the chicken” so they reluctantly agree to “your God is the correct God”. The
  missionary “holds out the drumstick but again pulls it back when the poor person reaches for it”,
  and “tells them to say it one more time before finally giving them the drumstick”. The
  Respondent then stated that the missionary “has the audacity of patting himself or herself on the
  back thinking they are helping them and that they are such a good person”, and then equated this
  to a therapist exploiting vulnerable people as “missionaries exploit poor people”. In a separate
  lecture about this topic, the Respondent said that missionary work was “pretty unethical”. He
  then stated that everyone has their own religion, yet “missionaries do like therapists and take
  advantage of vulnerable people”. Therapists impose their ideologies on clients and missionaries
  impose their religion on poor people.




  13
     A missionary is a member of a religious group sent into an area to promote their faith or perform ministries of
  service, such as education, literacy, social justice, health care, and economic development. The word was used in
  light of its biblical usage; in the Latin translation of the Bible, Christ uses the word when sending the disciples to
  preach the gospel in his name. The term is most commonly used for Christian missions, but can be used for any
  creed or ideology.

                                                             34
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 274 of 566 PageID 344




      50. On September 12, 2019, the Respondent sent a message to his Cross Cultural Psychology
  students wherein he discussed the need for students to engage in critical thinking and stated, “let
  me say something quickly about religion (mythology). I’m a simple man. Let’s just take one
  fundamental tenant of Christianity and Islam: Heaven. For those of you who believe, please tell
  me precisely where is heaven? Some of you think you’re going there after you die, yet I bet you
  can’t tell me where it is. Isn’t that...shocking? to believe you’re going somewhere so important,
  yet you are unable to tell me where it is? Do you recognize the absurdity of that?” See
  Announcement, September 12, 2019 Re Religion.

      51. On April 8, 2020, the Respondent sent the following message to his Cross Cultural
  Psychology students regarding By the Numbers – The Untold Story of Muslim Opinion &
  Demographics video: Please be sure to view this short youtube segment in preparation for your
  upcoming final exam (on Thursday, April 23rd at 4:30 p.m.).
  https://www.youtube.com/watch?v=pSPvnFDDQHk
          a.        When attempting to access this video on YouTube, YouTube first sends a
  message stating, “This video may be inappropriate for some users.”
          b.      To continue, a user must click on a button that states, “I understand and wish to
  proceed.” YouTube sends a second message stating “The following content has been identified
  by the YouTube community as inappropriate or offensive to some audiences.” To access the
  video, a user must again click on a button that states, “I understand and wish to proceed.”
          c.      The video, which is less than 30 minutes, is narrated by Raheel Raza and states,
  “Every day we’re are told that Islamic terrorism has nothing to do with Islam.” It then shows
  clips of statements made by Hillary Clinton (“Muslims are peaceful and tolerant people and have
  nothing whatsoever to do with terrorism.”) and Barack Obama (“Al-Qaeda’s cause is not
  Islam.”). Ms. Raza continues, “And we are told that Muslims reject the extremists. … What
  would you say if scientific polls by major research organizations have repeatedly shown a very
  different picture?”
          d.      The remainder of the video is Ms. Raza’s presentation of the viewpoint that “most
  of the terrorism in the world today involves Muslims in one way or another, and because it
  directly affects our lives and security,” she believes that “we need to be able to have an open,
  honest and fact-based conversation about [the growing threat of radical Islam].” See also
  Summary of Video By the Numbers – The Untold Story – Muslims.
          e.      The Respondent summarized this video as being “about a Muslim lady in
  particular that wants reformation of Islam. She lays it out very clearly, all the aspects of Islam
  that need to be reformed.”
          f.      The Respondent indicated that he has assigned viewing of this video for
  approximately the last two years. During his OIE interview, the Respondent stated, “One among
  many pedagogical goals of the Cross Cultural Psychology course is to expose people to voices
  that are silenced within the U.S. within each group, including perspectives that tend to be
  dismissed in the U.S. ‘By the Numbers,’ that is an incredible point of view shared by many
  Muslims but are dismissed by those that want to coddle or protect them.”

      52. During his 2019 Summer Cross Cultural course, the Respondent told students the
  following:
          a.     “Islam is [the] fastest growing religion in the world, which just baffles me why
  anyone would want to be a slave to such toxic mythology.” Later in the lecture, the Respondent


                                                  35
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 275 of 566 PageID 345




  discussed data related to the percentage of Muslims who support Sharia law, which meant
  support for public lashings, cutting off hands for theft, public execution and murder if one leaves
  the religion. He then said, “This is so, so, so shocking and toxic and pathological that I can’t
  believe all the people in the United States who don’t want to address this and want to defend
  Islam and [are] quick to call someone like me an Islamophobe just for pointing this out. … What
  a toxic cult, what a toxic cult.” See Recordings – 2019 Summer – 13 & Power Points for Arabs
  and Muslims Lectures.
           b.      “There is nowhere in the Muslim world where marital rape is illegal. Men have
  full rights over their women’s bodies. They can have sex whenever they want to. I pulled that
  for you, it’s in the Quran.” He then showed Power Point slides with versus from the Quran, and
  stated, “This is Sharia law as well. … So, I have given you about five verses in the Quran which
  I think makes it pretty clear the idea that, in Islam, when they say that in the Quran that women
  are supposed to be treated equally, that is just total nonsense. Total nonsense from the defensive
  Muslims.” See Recordings – 2019 Summer – 13 & Power Points for Arabs and Muslims
  Lectures.

       53. The Respondent issued an exam question to students in the Cross-Cultural Psychology
  course that asked the following question: According to any reasonable and rational person,
  telling children that someone is watching them 24/7 and knows every “move they make” and
  every thought they have, represents essentially: A. a good moral upbringing, B. child abuse, C.
  parental love, or D. parental protection. Students needed to select option “B. child abuse” to
  receive credit for answering this question correctly. See Respondent’s August 14, 2020 Email to
  OIE.

      54. During his Cross Cultural Psychology course, the Respondent issued an exam question
  asking: Only one of the following statements is a fact. Which one? (a) “Souls” (or “spirits”) are
  real. (b) “Souls” (or “spirits”) are not real. (c) There is no credible evidence that “souls” (or
  “spirits”) are real. To receive credit, students needed to select option (c). See Respondent’s
  August 14, 2020 Email to OIE.

      55. During his Cross Cultural Psychology course, the Respondent issued an exam question
  asking students what Muhammad and Jesus had in common. To get credit for a correct answer,
  the students needed to select the option that stated there was no evidence of them being who they
  claimed to be. See Respondent’s Interview Summary.

      56. During the Respondent’s General Psychology and Cross-Cultural Psychology courses,
  the Respondent told students that Muhammad was a con artist/con man, as well as a sociopath
  and/or psychopath. During his 2019 Summer Cross Cultural Psychology course (see Recording –
  13), the Respondent referred to Muhammad as a “scam artist”. See also Review of Arab and
  Muslim Americans Lecture 1. During the Arabid Diaspora recording, the Respondent can be
  heard stating that “Muhammad’s a sociopath …he’s playing people… if you’re a reasonable
  person, this guy was a sociopath, … a crackpot, a liar.”

      57. During his General Psychology and Cross Cultural Psychology courses, the Respondent
  told students that Jesus was a schizophrenic. See Recordings, including 8/21/18 Gen Psych and
  Arab and Muslim Americans Lecture 1. During his OIE interview, the Respondent stated that “at


                                                  36
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 276 of 566 PageID 346




  the end of my course, I cover Arabs and Muslims. I do a comparison and contrast between
  Muhammad and Jesus. I do say that in all likelihood - and if he existed because we don’t know
  much about him aside from the four books in the Bible - in all likelihood he was a schizophrenic.
  The Dogma of Christ by Eric Fromm, which is on the library shelves at UCF, says something
  similar.” The Respondent’s lecture in this regard further told students that “Jesus believed that he
  was sent to this earth to save the whole world. When they came to take him, he said, ‘Take me,
  that’s part of the whole plan.’ Jesus ran around the desert thinking he was talking to a God but, in
  reality, he was just talking to himself. … That was a common delusion that schizophrenics in
  mental hospitals have, that they are a son of God and here to save the world.” See Respondent’s
  Interview Summary. The Respondent also told students that Jesus did not have a “virgin birth”,
  was a prophet, and did not come into the world to die for everyone. See Recording – Peru –
  Summer 2019 – 13 and Arabid Diaspora Recording.

     58. During his Cross Cultural Psychology course, after sharing versus from the Quran, the
  Respondent told students that it would be hard to convince him that Islam is a religion of peace.
  See Respondent’s Interview Summary.

      59. On November 15, 2018, the Respondent sent a letter to students in response to a
  discussion pertaining to PEW data and oppression of Muslim women. Therein, the Respondent
  stated, “Let me translate: Muslim women are just as ‘guilty’ of creating oppressive Muslim
  societies as are men. YES. YES. One can speculate that the women are just doing what they
  must do in response to men’s authority. True. But we might also speculate that many Muslim
  women adhere to Sharia values on their own (give Muslim women some credit for being able to
  think for themselves please). … Again, Muslim women often are complicit in maintaining and
  enforcing oppressive beliefs and behaviors among those around them.” See Announcements Nov.
  15, 2018 Re PEW data & Muslim Women.

      60. During his Cross Cultural Psychology course, the Respondent told students to take the
  “[Respondent’s] Challenge” wherein he challenged students to go 24 hours without believing in
  their God or religion. It was a rhetorical challenge as there was no follow up by the Respondent
  with students about whether they had performed the challenge. See Respondent’s Interview
  Summary & Recordings. During his OIE interview, the Respondent stated, “I told my students -
  and none of my students think this is anything but rhetorical -to just be a human for 24 hours,
  stop being White or Black, man or woman, and see how it feels, and they might find it quite
  liberating. I told them if they went for 24 hours without believing in God, then they can go back
  to being a believer. It’s not a serious challenge.” The recordings of his lecture during the 2019
  Summer Cross Cultural Psychology course (#5 & #8) are consistent with the Respondent’s
  description of this challenge.

  Classroom Comments – Race/Ethnicity
     61. On October 21, 2016, the Respondent sent the following message to students in his Cross
  Cultural Psychology course:

  Good morning, Cross-Cultural Psychology students, Yesterday (10-20-16), we had a small
  “melt-down” in my Cross Cultural class. Such days seem to occur about once every 3 or 4 years.
  The last one that occurred was about 4 years ago when a small number of “Christian warriors”


                                                  37
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 277 of 566 PageID 347




  refused to hear anything negatively about their mythology and thought they could band together
  and silence speech that was inconvenient for them to hear—speech containing information they
  were unable to refute. Yesterday, it was déjà vu for me. As you were told on the first day of
  class, my course is not a “self-esteem boosting” course, whereby you get to hear how glorious
  your ethnic group is and blame any problems afflicting your group on other people. You can find
  those types of courses in other departments. My course is about applying a critical analysis to
  distinct groups, particularly one’s own group. Being able to examine—in a critical way—the
  good, the bad, and the ugly about cultural groups (including one’s own) is how we learn about
  ourselves, improve ourselves, and understand how we contribute to the quality of the social
  interactions we have with dissimilar others. A small number of you expressed disapproval for my
  coverage of some specific challenges that afflict a sub-group of African Americans in the U.S.
  Assuming all that I expressed was factually accurate (and you let me know if I ever say anything
  that is factually inaccurate), we must be willing to confront unpleasant realities that ail some
  segments of our communities if we are ever going to improve the quality of life for those who
  reside in those communities. The level of defensiveness manifested by a small number of you
  was stunning. I’m reminded of that famous line from some movie, “You can’t handle the truth.”
  One student said he was offended by seeing the short YouTube by Frederick Wilson—an African
  American man whose message to African Americans was to recognize that in 2014, if their lives
  were “messed up,” it’s because they have messed it up, and that African Americans must accept
  responsibility for their lives and become educated in order to improve themselves. My goodness,
  what on earth was “offensive” about that message? That’s a message that all people need to hear
  and accept. A small number of you are stuck in the past, claiming that Jim Crow laws (that
  happened in the first part of the last century) and slavery (which ended in the middle of two
  centuries ago) explain why a minority of African Americans struggle with poverty. You cannot
  prove that. That is a belief that some of you hold onto for your own reasons. We in psychology
  cannot even prove—as some “Freudians” assert—that what happened to us in childhood explains
  how we are as adults. That’s just a theory. So, imagine how untenable it is to try and explain
  individuals’ behaviors today based on events that happened to people that they never knew from
  other centuries. A pretty absurd idea, despite how popular that idea is in contemporary United
  States. There are more proximal causes for the poverty experienced by African Americans—
  causes that equally explain poverty among Whites, Hispanics, and Asians. Those who are poor
  (if they are born in the U.S. and are 60 years of age or younger) make bad decisions in life,
  starting with their conscious decision to quit school. That is a decision they made. No one made
  them quit school. For the majority of people from poor backgrounds (irrespective of ethnicity),
  that is the beginning of the end in terms of achieving upward social mobility. Now, add to that
  bad decision (quitting school) having unprotected sex that can lead to teen pregnancy (and
  sometimes HIV). Or getting involved in crime. Or using or selling drugs. Those behaviors are
  behaviors individuals choose to do and the only solution to those problems is to encourage
  people to: (a) accept responsibility for their lives and (b) make wise decisions. As I said in class,
  when you misidentify the causes of problems (as religion has done for 1000s of years), you can
  never solve any problem. As long as people in the U.S. want to explain poor people’s problems
  based on nebulous notions such as “White privilege” and “racism,” the problems that afflict such
  individuals will never be solved. And by the way, for those of you who are “believers” in
  systematic racism and White privilege, you must explain why the majority of African Americans
  and Hispanics are doing well in society. How did they achieve relative success in the U.S. while
  a subgroup of African Americans (and Hispanics, Whites, and Asians) cannot? You must explain


                                                   38
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 278 of 566 PageID 348




  how systematic racism causes a minority of African Americans to be poor yet does not stop the
  majority of African Americans from attaining a middle and upper class life style. No logic can
  explain such a selective wrath of systematic racism. You must explain why Asian Americans, as
  a group (that is, on average), are more educated, earn more money, and are less involved in the
  criminal justice system than the other major ethnic groups if there is rampant systematic racism
  and White privilege. How did they do it? Millions of people from around the world continue
  coming to the U.S. legally and illegally. In 2014, 1.3 million came to live in the U.S. legally, and
  Department of Homeland Security estimates that 1.2 million came to live here illegally. Every
  year, people worldwide want to live in the U.S. and the vast majority of them are “people of
  color.” Those of you who are believers in systematic racism and White privilege—why do so
  many people of color from around the world want to live here? Wouldn’t word have gotten out
  and reached their native lands that the U.S. is a horrible place to live due to racial oppression?
  But they keep on coming, many of them, desperately. What is it that you know about the U.S.
  that millions of immigrants do not understand? I hope you will give serious consideration to the
  ideas I’ve conveyed in this message. For me, a truly educated person is one who can distinguish
  reality from beliefs—particularly beliefs that are held on to solely because they make you feel
  good. It’s a lifelong process to develop that ability and being in college is just the starting point.
  See Announcement October 21, 2016 Re Lack of Systemic Racism.

     62. The following major points of the Respondent’s October 21, 2016 message set forth
  above were consistently taught by the Respondent during his Cross Cultural Psychology course:
         • Respondent’s course was not a “self-esteem boosting” course for students.
         • Black people who are struggling to succeed in the U.S. must accept responsibility for
            their lives and become educated in order to improve their lives rather than blaming
            their struggles or challenges entirely on systemic racism. During this discussion, the
            Respondent told students that there are likely multiple factors that contribute to the
            problems and struggles that Black individuals experience and although racism is
            “certainly in the picture”, it is not the sole or primary reason. See Indentured Slaves
            Recording.
         • The U.S.’ history related to Jim Crow laws and slavery do not explain why a minority
            of Black people struggle with poverty. Their poverty is not the result of systemic
            racism. Rather, their poverty is caused by their own bad decisions, such as quitting
            school, having unprotected sex that leads to teenage pregnancy and/or contracting
            HIV, using or selling drugs, or getting involved in crime. This causation also applies
            to White, Hispanic and Asian people that experience poverty.
         • The only solution to this poverty problem is to encourage people to accept
            responsibility for their lives and make wise decisions.
         • The concepts of systemic racism and White privilege do not explain why Black
            people experience poverty and reliance on these concepts as being the cause of the
            poverty prevents the U.S. from solving this issue.
         • The concept of systemic racism is inconsistent with Black individuals attaining
            middle-class and upper-class lifestyles in the U.S.
         • The concept of systemic racism is inconsistent with people from around the world
            coming to live in the U.S. (legally or illegally).



                                                    39
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 279 of 566 PageID 349




         •   The concept of systemic racism is inconsistent with data showing that Asian
             Americans, on average, are more educated, earn more money, and are less involved in
             the criminal justice system than the other major ethnic groups.

      63. During his General Psychology course, the Respondent taught students about stereotypes,
  including that not all stereotypes are negative. The Respondent taught students that some
  stereotypes are positive and some are neutral.
          a.      During his 2018 Fall General Psychology course, the Respondent stated that some
  stereotypes, such as Black people liking watermelon and being good at basketball and Italians
  liking spaghetti, are not harmful. (When asked to respond to allegations that during his 2017 Fall
  Sexual Behavior course, he asked the students to raise their hand if they played basketball (which
  resulted in all Black men but one raising their hand) and then asked the students to raise their
  hand if they were majoring in a STEM field (which resulted in all the Asian students raising their
  hands), the Respondent told OIE, “Zero - I have no exercises like this in my courses.”)
          b.      The Respondent further stated that there is nothing wrong with people liking
  certain foods, but Americans have been taught that if someone says something about the foods
  Hispanics or Blacks like, then this is wrong. The Respondent explained that this discussion had
  taken place when he discussed the social psychology portion of the course. Also see 2019
  Recording #5 Review corroborating this discussion.

      64. During the Respondent’s classes, the Respondent told students that Black people started
  the slave trade, the slave trade existed for thousands of years before European contact and Black
  people advocated for slavery with Europeans. Respondent also said that people who complain
  about Whites for the slave trade curiously get a pass for Black Africans who were equal partners
  in the slave trade. The Respondent further taught students that the slave trade was initiated based
  on business reasons (need for physical labor) rather than based on racism, and that approximately
  100 years after slaves started coming to what was to become the U.S., pathological racism
  (which he described as hate for an entire group of people) emerged. See Respondent’s OIE
  Interview Statement & Indentured Slaves Recording.

       65. During the Respondent’s Cross Cultural Psychology courses, he taught students about
  various paradoxes related to Whites. For instance, during his 2019 Summer Cross Cultural
  Psychology course:
           a.       The Respondent referenced Whites in the U.S. not knowing the identity of the
  Prime Minister of England and that there was a White paradox. He then stated that from this
  group of people (Whites), “the world encountered the most creative and cutting-edge inventions
  – far more than any other group on the planet.” He then stated that people in the U.S. actively
  try to suppress this information and, apparently in response to reactions students are having, said,
  “just relax, just relax, this is a university and you can talk about anything”. He then discussed
  the progress humans had made over the last two hundred years with regard to the ability to
  travel. He then referred to the refrigerator and how prior to this invention, humans had to go out
  and find fresh meat every day. He then told the class that he suspected that some students in the
  class believed that an African American invented the refrigerator – specifically, Frederick Jones.
  The Respondent then said, “First off, he’s not that Black, he’s more White than Black.”
           b.      The Respondent then explained that Mr. Jones did not invent the refrigerator, but
  instead made the refrigerator (which had already been invented by a White person) portable and

                                                   40
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 280 of 566 PageID 350




  “kudos to him” because people previously could not transport food from one place to another,
  but he shouldn’t get credit for inventing the refrigerator. He then walked through the items listed
  on a Power Point slide as having been invented by White people (camera, telephone, cellphone,
  and automobile) and said that these were “incredible inventions that changed our life the way we
  know it”. He then discussed the inventions of planes, the television, satellites and the internet.
  He stated that these inventions were found in other countries, and that “White culture brought all
  of this to the rest of the world”. He then said to the students, “I told you this is suppressed.”
  Later in the lecture, the Respondent stated, “We don’t have a White month heritage”, but we do
  have months to celebrate the contributions of Blacks, Hispanics and Asians. He then said, “And
  it’s because if you compare what Whites have contributed to the world compared to all the non-
  Whites, it’s embarrassing, it’s embarrassing the discrepancy”. See Recordings – 2019 Summer –
  15.
           c.      In another lecture during the 2019 Summer course, the Respondent told students
  that they will find almost all of the literature on racism to be about White racism, which has
  created the image that only Whites are prejudiced. A student asked whether the focus was on
  White racism because people in power, like Congress, were “mainly White.” The Respondent
  replied, “No, there are people in the U.S. who that fall under different categories, liberal,
  progressive, left people, Democrats, who feel guilty over European conquest and the fact that the
  whole modern world has been created by Whites.” See Recordings – 2019 – 9.

      66. During the Respondent’s Cross Cultural Psychology course, the Respondent told students
  that the fact that we don’t have a White History Month is because it makes people feel bad, and
  that if every other group can have an ethnic student organization that exists to celebrate their
  culture and race, Whites ought to have that same right as well. See Respondent’s Interview
  Summary.

      67. During the Respondent’s classes, the Respondent told students that he had an opinion
  regarding systemic racism and affirmative action that he would share and the students did not
  have to agree with his opinion. During this discussion, the Respondent shared that prior to the
  Civil Rights Act of 1964, there was race-based discrimination in the U.S. and then even when we
  had the Civil Rights Act of 1964 which legally prohibited discrimination, there were still people
  who did not hire Blacks, which was why he was supportive of affirmative action in the 1970s.
  However, now today, he does not think there is systemic racism in the U.S. and, thus, there is no
  need for affirmative action.

      68. During his classes, the Respondent showed students a YouTube video of Frederick
  Wilson, who is a Black male (https://www.youtube.com/watch?v=O2H3MW4G9GM). Therein,
  Mr. Wilson directed the video to “my Black people” and stated the following:
          a.     “Yes, slavery was one of the most horrific things to ever happen in human history.
  Yes, racism still exists, probably is always gonna exist, just get over that. And yes, there are law
  enforcement officers out there that take things too far, abuse their power. They’re humans, we’re
  a flawed species.”
          b.     “With that being said, today we’re gonna be talking about personal responsi-
  damn-bility. Black people, it is 2014, hate to break this to you, if your life is messed up, it ain’t
  cause of slavery. Your ass was never a slave, you probably ain’t know anybody that was a slave.



                                                   41
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 281 of 566 PageID 351




  You probably don’t know nobody that knew nobody that was a slave. Slavery ended a long time
  ago. Yes, it put us in a big hole in this country, but guess what, dig your way out of it.”
          c.     For the remainder of the video, Mr. Wilson referenced winning the Civil Rights
  movement, individuals needing to look in the mirror if their life is “messed up” to figure out
  what they’re doing or not doing, and to take responsibility for themselves and their community
  (“clean your neighborhood up and start keeping it clean”). Mr. Wilson referenced crime, the
  justice system, police shooting incidents, and misperceptions about Black people.

     69. On March 18, 2018, the Respondent sent the following announcement to his Cross
  Cultural Psychology students:

  I endeavored to offer an--as objective portrayal as possible--of the broad group called “Whites.”
  I was covering some “paradoxes” about Whites and when I started discussing the “intellectual
  paradox” of Whites, I informed you that, on one hand, the majority of Whites are rather
  unsophisticated intellectually speaking (the vast majority have not graduated from a university,
  believe in “Satan,” blah, blah, blah). And, on the other hand, I told you that despite that most
  Whites are quite mundane intellectually, from that group the world’s brightest and most creative
  inventors have emerged to date. As I told you, every single modern invention that changed life as
  we know it has been invented by a White person. The train, automobile, using electricity for
  appliances, the light bulb, refrigerator, radio, television, telephone, computer, satellite, internet,
  rockets, and actually, many more things (microscope, telescope, camera, etc.) I just described
  your entire modern life, didn’t I? THAT SAID, apparently, some of you heard, “Non-Whites
  never contributed anything to humanity....” I did not say that. I said, every modern invention that
  changed life as we know it has been invented by a white person (as of today).
  Many non-Whites have invented many things. Many non-Whites improved upon things that
  were already invented. The light bulb (something most of you would agree changed life in a
  huge way) was invented by Thomas Edison (a white man). However, one of his African
  American assistants (Lewis Latimer) invented a filament for a light bulb that made the light bulb
  brighter and last longer than the one Edison had created. Kudos to Latimer. Refrigerators were
  first invented by a white European in Scotland (William Cullen), but it was not terribly useful. A
  white American (Oliver Evans) made the first useful (functioning) refrigerator in 1805.
  However, an African American (Fred Jones) improved the refrigerator by making it portable
  (about 140 years after the refrigerator had been invented and in use). Kudos to Jones. Again,
  non-Whites have invented lots of things, on a smaller scale, that have improved our lives. The
  traffic light had been invented by the British (for trains) and had been improved in various ways
  by other (American) whites, such as William Potts, who in 1920 added the yellow light to serve
  as a “warning.” Yet, the traffic light was improved by an African American (Garrett Morgan).
  Morgan patented the first automatic electric traffic light that caused cars in both directions to
  stop for a couple of seconds to reduce accidents at intersections. By the way, Morgan sold the
  rights to his electric traffic light in 1923 to General Electric for $40,000. That’s $591,000 in
  today’s money! Dinesh D’Souza--an immigrant from India--in his book “The End of Racism,”
  argued that the reason the United States does not permit Whites to celebrate their culture (either
  in the form of ethnic student organizations, or with a “White History Month”) is because the
  differential racial achievements would be glaring and embarrassing. As painful as it is to
  consider his opinion, his view is…true, I think. Last, all of us--no matter what our ethnic group
  is--should not rely on others’ achievements to make ourselves feel good about ourselves. That is


                                                    42
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 282 of 566 PageID 352




  called “reflected glory” (or “basking in the glory of others”) in social psychology and,
  essentially, when we do that, we’re trying to use others’ successes to enhance our own self-
  esteem. It doesn’t work that way. Real self-esteem comes from one’s own accomplishments and
  achievements (and character), not those from others. We can discuss this more in class if there is
  a need to discuss it more.
  See Announcement, March 18, 2018 Re White Accomplishments.

     70. On April 4, 2018, the Respondent sent the following announcement to students in his
  2018 Spring General Psychology course:

  Hello, Gen. psychology students, As it is often the case, I’m a bit fatigued by the time I get to
  your Tuesday evening class and I may not have expressed myself well when I was discussing the
  perils of “political correctness.” I will elaborate a bit on this here, if I may, just to make sure you
  get my point. I’ve already explained to you how “PC” came in to existence in the mid-1980s.
  So, won’t repeat that. I want you to understand the situation we are in today thanks to “PC.” As
  I also said last night – but did not elaborate on – it’s all around you. You guys have grown up
  with it so you don’t even notice it. You know, for example, on college campuses, every single
  racial group except Whites are permitted and encouraged to have their own student organization
  specifically for the purpose of celebrating their ethnic/racial heritage. If Whites were to dare ask
  to do the same thing, people would pounce upon them for being “racist.” How dare those Whites
  embrace and cherish their ethnic heritage, all the while we minorities have that freedom to
  openly cherish and embrace our ethnic identities. On every t.v. commercial, if there is a Black
  and a White person in the commercial, the White person is the “butt of the joke.” The “dufus.”
  The one who is portrayed to be dumb, while the Black person is portrayed as the “sane” one.
  Every single commercial. No exception. If there are a man and a woman, the woman is the
  “normal” one; the man is the butt of the joke. The dumb one. We offer (in this society)
  scholarships specifically for specific minority groups. I donate money every now and then to the
  Hispanic Scholarship Fund for this purpose. We cannot have a “White Scholarship Fund.” How
  “racist” that would be. Entertainers on t.v. (comedians, like Bill Maher) have called President
  Trump an “orange orangutan.” Audiences laugh. If he or others would have referred to, in a
  joke, President Obama as the “black chimpanzee,” he (or they) would be fired. Career over. We
  have a very small number of White individuals who hate others, called “White Nationalists.” (or
  “Nazis”). We are obsessed with worrying about them. Yet we have other “hate groups” that are
  not White, such as the Nation of Islam, or the New Black Panthers. There’s an estimated 20,000
  to 50,000 members of the Nation of Islam. These are Muslim African Americans who openly
  hate Whites, Jews, and gay people. The New Black Panthers openly hate Whites. But CNN and
  other news outlets, as well as Sociologists who study “hate groups” rarely if ever want to talk
  about non-White racists. We are, again, focused only on White racists. Today, we cannot have a
  discussion over whether or not illegal immigration is fair to legal immigrants who have asked for
  permission to come into our country and play by the rules. People will accuse of us being
  “xenophobes” or “racists.” We cannot debate why we continue lowering standards at
  competitive universities for only two ethnic groups (Blacks and Hispanics) and not for the other
  two ethnic groups (Whites and Asians) without people calling us “racist.” I mentioned last night,
  that if anyone, such as myself, point out with facts (I can walk you through the Quran) that Islam
  is not a religion of “peace.” Islam is very misogynistic, and very racist against Jews and
  Christians, and even advocates killing non-believers (of Islam) – it’s all in the Quran – without


                                                    43
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 283 of 566 PageID 353




  having someone try and silence us with the new buzzword “Islamophobe.” We must embrace
  “diversity” because it is our strength. Yet when I ask my classes why don’t we demand
  “diversity” in the NBA or the NFL (the NBA is 85% Black. If you look at starting players, it
  jumps up to around 90% Black), no one wants to address that. Why does that profession get to
  select employees who are only the best.? NO consideration is given to “diversity” on the court
  or on the field. And finally, professors think twice (and actually, more than twice) before they
  say anything critical about ethnic groups. Rare is the professor (or anyone on the news) who
  wants to address the disproportionate murder rates among specific ethnic groups. The number
  one cause of death among adolescent and young adult African American males in the U.S. is
  being murdered by another African American (it’s the number 2 cause of death for African
  American females in the same age group). No other ethnic group has that distinction (the
  number one cause of death for all of other ethnic groups in that age range is a car accident. The
  number two cause of death is suicide. NOT being murdered by your fellow-ethnic member.
  But, few people want to talk about that because they’ll be accused of simply being a “racist,”
  despite typically wanting to try and do something to stop the high rates of murders in low-
  income African American communities. So, I’ve written you a lot here. Do you get my point?
  This is all the longterm effects of political correctness that started in the 1980 (with a good goal),
  but very bad ramifications in the manner they achieved their goals. See Announcement April 4,
  2018 Re Political Correctness.

     71. On October 26, 2019, the Respondent sent the following announcement to students in his
  2019 Fall Personality Theory and Research, Cross Cultural Psychology, and Sexual Behavior
  courses:

  Just expressing an opinion here, which I am entitled to do once in a while… Finally—Perhaps
  my beloved Latinos will grow a pair and push back on the “hipper-than-thou-because-we-so-
  woke” Hispanic a—holes who think they can decide for 500+ million people how they ought to
  be called. https://www.usatoday.com/story/opinion/2019/10/25/latinx-race-progressives-
  hispanic-latinos-
  column/4082760002/?fbclid=lwAR0t5CpqVUx0XkB5m05biNIU1cto8b7aZv9fR9u1ozA9s3CG
  0b1HfwvdNQ (Links to an external site) If you want to be called “Latinx”, great. Just don’t
  impose your idiocy on the rest of us(!). Have a blessed day (lol…). See Announcements Oct. 26,
  2016 Re Latinx. This link connected students to an article titled “Progressives, Hispanics are not
  ‘Latinx.’ Stop trying to Anglicize our Spanish language” and stated that “Hispanic Americans
  face plenty of challenges as it is. The last thing we need are English-speaking progressives
  ‘wokesplaining’ how to speak Spanish.”

     72. On July 15, 2019, the Respondent sent the following announcement to students in his
  2019 Summer Cross Cultural Psychology course:

  Hello, Cross‐Cultural Psychology students: Today, I pointed out to you that judging the behavior
  of people from other epochs according to contemporary ethics is a questionable practice. And,
  as I’m accustomed to, when I mention “abortion,” I tap into people’s emotionally‐laden beliefs
  about “abortion” (on both sides of the issue). Before I say the following, let me state that we (you
  and me) will not agree on everything. That’s fine. We’re not getting married (I’m already
  married…). So, if we don’t agree on things, that’s not a problem unless the data on some topic is


                                                    44
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 284 of 566 PageID 354




  pretty clear in favor of a particular position on some topic. Let me ramble: Humans who engage
  in questionable behaviors are renown for “rationalizing” (justifying) why their attitudes are
  good or acceptable. AND…they often use euphemisms to “soften” their questionable behaviors:
  People who kill innocent animals for fun like to call it “hunting,” and a “sport.” (sounds so
  benign...). People who abandon their aging parents in institutions where they will be neglected
  and sometimes abused like to call it “placing them in a nursing home.” (as if they will be
  “nursed” there, sucking on a breast 24/7…). And, people who don’t want their zygote/fetus/baby
  and want to kill it will call it “an abortion.” And to top it off, “abortion” has strategically been
  framed as a “woman’s issue” as a means to shield the practice from scrutiny and criticism. My
  point was…it’s easy to be judgmental about people from the past but we (many people; not me)
  don’t realize there’s a chance in the future people will look back on OUR civilization and
  characterize us quite pejoratively all because of practices we support and engage in today. If you
  don’t like the abortion example, I’ll try another: perhaps when the earth is on the brink of
  destruction environmentally in 100 or 200 years, those still alive may look back at us and declare
  us to have been the most selfish, greedy, and materialistic people the world has ever known—
  causing THEIR demise(!) Why might they denigrate us and claim we were “evil?” Hmm…let
  me count the ways: Most of us refuse to take a bus. We want our own car. Not just one car. Each
  family strives for multiple cars. We’re not happy with one television set. We want a t.v. in every
  room. We’re not happy with the phone we have. We salivate over the arrival of the latest I-
  phone. We’re not happy having one bathroom (how inconvenient…). No, we want, 2, 3 or more
  bathrooms. Single‐car garage? Not enough. Double‐car garage at 2 the bare minimum. A/C,
  heat, access to hot water 24/7…all that consumes energy and pollutes. BUT…WE DON’T
  CARE. I promise you: If you lived in 1600 and were wealthy, no matter what your race or
  country was, you probably would have been just fine owning slaves. You would have been just
  fine allowing “children” to work in fields and in factories. Bottom line: Throwing great,
  visionary leaders like George Washington and Thomas Jefferson under the bus because they
  owned slaves….is misguided. I promise you (although I can’t prove this): If MLK, Jr., were not
  black, the social justice warriors who are influenced by the “me‐too” movement would be
  throwing him under the bus. But…black privilege protects him. Political correctness at its
  best. If you don’t agree, no problem. It won’t be the first time or the last time we disagree.
  See Announcement, July 15, 2019 Re Judging Past with Contemporary Standards & Black
  Privilege Reference.

      73. During a 2019 Fall Cross Cultural Psychology course, the class discussed financing for
  college. A student made a statement related to African Americans being disadvantaged and
  oppressed, and the Respondent replied, “You know me, I don’t have tolerance for silliness, show
  me an African American student with a 3.8 GPA and I’ll show you an African American who is
  dedicated to their studies and will go to college.”

      74. During a 2019 Summer Cross Cultural psychology course (see Recording – 7), when
  discussing data related to different racial groups’ earnings, the Respondent stated, “Right now
  we are talking about Hispanics and you should write down $42,000 for Hispanics. Notice that,
  on average, that the group that earns the most in the United States is Asians. So, we hear a lot of
  talk about white privilege and how the system was created to advantage Whites and yet people
  just gloss over that fact that on average Asian Americans in the United States are more educated



                                                   45
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 285 of 566 PageID 355




  than any other group, they earn more than any other group, but that does not fit the narrative of
  White privilege.”

      75. During a 2019 Summer Cross Cultural Psychology course (see Recording – 12), the
  Respondent discussed how some Black individuals sabotage other Black individuals from
  performing well in school by accusing them of “trying to be White” if they perform well. The
  Respondent explained that this is counterproductive to changing the status of their life (i.e.
  poverty). The Respondent then stated, “We also have a subgroup of African Americans who
  think that society owes them something. Owes them something because of slavery that
  happened in the United States and they refuse to work and they live off welfare. … Again, you
  can find people in every group. … Whites, Hispanics, Black, Natives, but there is a slightly
  higher percentage of Africans who live off welfare than the other groups. … so moving on here,
  please don’t walk away from my class thinking that the majority of African Americans are on
  welfare, they are not.”

      76. During a 2019 Summer Cross Cultural Psychology course (see Recording – 12), the
  Respondent said, “It is my opinion, that I have already expressed to you before, that I think
  collectively that Black people in the United States experience collectively the most rejection
  from society overall. And I am not saying, an African American who stays in school, does well
  in school and avoids committing crimes will have as good a life as you and I will have. There
  are tons of them who do that. We have Black police officers, we have Black professors,
  engineers, in every occupation you will find Black people.”

  Classroom Comments – Profanity, Opinions & Generalizations:
      77. During his 2019 Summer course, the Respondent told students that he would be talking
  about multiple groups and that “there is good and bad in every group and I treat them all like
  shit”.

      78. During the Respondent’s courses, he routinely used profanity, including the terms “fuck,”
  “shit,” “ass”, and “bitch.” See Respondent’s Interview Summary & 2019 Peru Recordings.
  During the Respondent’s OIE interview, he stated, “I am known to use cuss words on occasion in
  class. I never use the F word to talk about sex or directed at anyone in the class. I have been
  known to say, ‘Oh f---' when using the computer and trying to set it up correctly. I don’t deny
  that I’ve said it but it’s sporadic, never directed in a hostile way, and more an expression like
  ‘damn’ for me. Director Myers asked about the frequency of my use of foul language. I say the
  word ‘shit’ once or twice in a semester. I’d be lying to you if I said I didn’t say anything else. I
  wouldn’t put it past me. But they are expressions, not directed at students. For instance, if I made
  a mistake on an exam and had to give credit for two items, I might say ‘son of a bitch’ or
  something like that.”
           a.      For example, during his 2018 Fall General Psychology course (see Recording),
  the Respondent discussed how humans learn certain behavior, such as needing to brush their
  teeth every morning. As another example of learned behavior, he referenced having assigned
  seating and tied this back to how students have assigned seating when they enter kindergarten.
  He described how parents bring their children to class and the kindergarten teacher greets the
  child, shows them to their seat with their name, and then says, “you sit your little ass down.”



                                                  46
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 286 of 566 PageID 356




        b.       For example, during his 2019 Summer Cross Cultural Psychology course (see
  Recording):
                      i.   While discussing religion being a mythology, someone interrupted the
  class and apologized (apparently having inadvertently entered the classroom). When they left,
  the Respondent stated, “Bitches!”
                     ii. The Respondent discussed welfare and said, “I worked three years in a
  grocery store in the largest Mexican ghetto in the United States … and to see so many people
  paying for food with food stamps and they would have a separate order of things they couldn’t
  buy with food stamps and they would pay for it with their welfare check, and here I am working
  and I am thinking, ‘Why aren’t you fucking working.’”
                    iii. The Respondent advised students that he would be talking about different
  groups and “keep in mind, I am not here to denigrate them. There is good and bad in every
  group and I treat them all like shit.”
                    iv.    When discussing practices in Saudi Arabia, the Respondent asked, “How
  on earth can people in the U.S. proclaim that all cultures are equally good?” He then responded,
  “The answer is, they are just fucking crazy”.
                     v.    When discussing families encouraging a female family member to die by
  suicide after they were sexually assaulted, the Respondent asked, “Is this fucking for real? This
  is just barbaric as shit.”
                    vi.    After referencing being tenured, the Respondent stated, “Those who are
  not tenured are kissing your ass by letting you take tests multiple times to get the grade you
  want, giving you access to power point slides and doing other things to make you happy.”
                   vii.    When discussing that one of the motivations for believing in a religion is
  denial that we can die at any minute, the Respondent said, “’Life is a bitch and then you die’” is
  my motto.”
                  viii. While referencing the Biblical story about Noah and the Ark and having a
  pair of every animal on a boat, the Respondent said, “Can you imagine a pair of every animal on
  a boat for 40 days. You would be shoveling shit 24/7.”
                    ix. While discussing his viewpoint that there is no systemic racism and giving
  an opportunity for students to challenge this viewpoint, a student referenced Casey Anthony.
  The Respondent replied, “I hate that bitch but go ahead.”
                     x.    While discussing bakers that refused to make cakes for a gay couple’s
  wedding, the Responded indicated that he would have told the baker, “Sir, you are not invited to
  the fucking wedding or to be a part of the party. You aren’t celebrating shit. Do your job and
  make the cake.”
                    xi. When talking about how stereotypes can be negative, positive or neutral,
  the Respondent said, “Because many of you are not independent thinkers, you buy into all this
  bullshit of political correctness.”

      79. During the Respondent’s 2019 Summer course in Peru, the Respondent discussed
  relativism vs. absolutism during which he referenced a female student he previously had taught
  who identified as a feminist. He said that this woman tried to promote feminism all she could
  and endorsed all of its ideas. He then told her that since everyone is equal, the next time she uses
  the bathroom and finds blood in the toilet, she should not call a doctor but instead should go and
  ask someone at Walmart about her issue.



                                                   47
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 287 of 566 PageID 357




      80. During the Respondent’s Sexual Behavior course, he discussed sexually transmitted
  infections, including HPV. On April 14, 2020, the Respondent sent the following message to his
  Sexual Behavior course students:

  Hello, Sexual Behavior class.
  Today, emotions started running a tad high once we delved into the topic of HPV and cancer
  (likely due to “cancer” being involved). A lot was said, and I think there is a chance some of you
  may have not grasped what I had said with 100% accuracy, so I will reiterate here what I said: 1)
  It is my best educated opinion that, overall, HPV is “not that big of a deal.” Think of your
  parents, grandparents, great-grandparents, etc. They ALL were sexually active (in various
  degrees) and they did not have any option to obtain a vaccination against HPV. Yet, almost ALL
  of them never suffered “penile cancer,” or “anal cancer,” or even “cervical cancer.” Yes, a tiny
  (tiny) percent did, but the vast majority did not. 2) As I stated, if you’ve already had sex, the
  odds are you’ve already been “infected” or exposed to one or more HPV strands. But for about
  90% of us, we’ll never know we have HPV AND (AND...) the virus will “clear up” within two
  years, especially in young people such as yourselves who typically have healthy immune
  systems. 3) The CDC *thinks...* once you’ve been infected with a strand of HPV AND (AND...)
  it has not affected you AND (AND...) cleared up within a 2 year period, it appears that you will
  never be “affected” by that HPV strand again in your life. The CDC may change their position
  on that, but that was their latest position. 4) I did not say “cervical cancer is no big deal” (just in
  case you heard that). I said, “if one is going to have cancer, cervical cancer is one of the best
  cancers to have.” Why? Because unlike other types of cancers (such as breast cancer), cervical
  cancer is: (a) easily detectable; (b) easy to treat in the early stages [simply by removing
  abnormal, or even cancerous cells], and (c) it’s a very slow-growing cancer. One has many years
  in which some form of intervention or treatment can be obtained. If someone is diagnosed with
  cervical cancer, that IS a big deal--as are all cancers! 5) About 12,000 women are diagnosed
  each year in the U.S. with cervical cancer. We have about 165 million women in the U.S. (130
  million women who are 18 yrs of age or older). Those 12,000 women are unfortunate cases, that
  is for sure, but the odds of any woman (teenager or adult) actually having cervical cancer is very,
  very low. IT DOES OCCUR, but not for the vast majority of women. 6) If you have a concern
  over cervical cancer or genital warts, then you are free to obtain those vaccines. Note: If you’ve
  already had sex, then the odds are the vaccine will be of no use to you (which is why they want
  children ages 7, 8, or 9 to obtain the vaccines, because we presume they’ve not had sex yet). It is
  true that if you’ve had sex, you may NOT have been exposed to any (or all) strands of HPV and
  thus, getting vaccinated *may*still offer you some level of protection. But any benefit from the
  vaccine will be minimalized if you’ve already been infected by HPV. To obtain or not to obtain
  a vaccine for HPV is entirely *your* decision. If you are worried about cervical/anal/penile
  cancer and genital warts then you can obtain the vaccination and *feel* safer. 7) A few years
  ago, I was in the UCF Health Clinic and I noticed many displays of posters addressing HPV.
  There were many statements on those posters such as, “You may not know if you are infected
  with HPV.” And, “HPV can cause various types of cancer.” And, “Both women and men can
  equally be infected with HPV....” Personally, I thought the posters were a bunch of fear
  propaganda (imagine someone saying with a serious tone: “You know men and women equally
  are killed in car accidents...” Duh.... So, I thought, Who is behind such a fear-propaganda
  campaign? And in small letters at the bottom of the posters were the words “Merck
  Pharmaceuticals.” They’re one of the companies that produces and sells the vaccines. Such an


                                                    48
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 288 of 566 PageID 358




  effective way to enrich themselves: Make the public fearful of a virus that does not affect 90%
  of us...

  I hope this helps. Please feel free to get other people’s opinions on this. Dr. Elizabeth Rash will
  give you a lecture on Tuesday about contraceptives and she is an advocate of the vaccine. So,
  you can hear her opinion on those vaccines.
  See Announcement April 14, 2020 Re HPV & Cancer.

  Classroom Comments – Disability:
      81. During his August 28, 2018 General Psychology class, the Respondent showed a video
  related to beliefs and said that he wanted to discuss autism. He then said, “We had autistic people
  and Asperger’s syndrome. Speaking of IQs, they tend to be in the normal range. About 75 to
  85% of individuals with autism also have what we used to call mental retardation. It is now
  called cognitive or intellectual impairment. 75-80 have some level of that. If you let me use old
  terms, it is not correct but I am not being nasty. Autism is a social retardation. They vary. Some
  have mental retardation as well. … The interventions might do some things like stop the
  outrageous behaviors like head banging. But helping them to become an average functioning
  adult is never going to happen.”

  Respondent’s Book, White Shaming:
     82. The Respondent wrote a book titled “White Shaming.”

      83. On March 11, 2019, the Respondent sent an announcement to his General Psychology,
  Sexual Behavior and Cross Cultural Psychology students which indicated that he was working
  on a book that he hoped to get published in Fall of 2019, and announced that he had a Twitter
  account that they could follow.

      84. The electronic version of the Respondent’s book titled “White Shaming” was released
  during the fall of 2019, and the paper version was released during the spring of 2020.

      85. During December 2019, the Respondent used UCF’s resources to send an email to
  students for the 2020 Spring term that White Shaming would be an assigned reading for the Cross
  Cultural Psychology course, they would be required to “write a reaction paper to the book fairly
  early in the Spring semester”, and provided the information on how to obtain the book “now in
  case you wanted to read it over the holidays.”

      86. On March 7, 2020, the Respondent sent an email to his students reminding them that their
  reaction papers were due in class on March 17, 2020.

       87. On March 13, 2020, the Respondent used UCF resources to identify current students and
  students from the last year and a half of his courses and sent them an email through UCF’s email
  titled, “From the desk of [Respondent]”, which stated, “Blast from the past from [Respondent]...
  I hope all of you are staying safe during this hysterical time in our history. I write to you because
  some of you had asked me when the book, White Shaming: Bullying based on Prejudice, Virtue-
  Signaling, and Ignorance, was going to be available in paperback version. It is now available on
  both Amazon https://www.amazon.com/White-Shaming-Prejudice-Virtue-signaling-


                                                   49
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 289 of 566 PageID 359




  Ignorance/dp/1792407858/ref=sr_1_1?keywords=white+shaming&qid=1584144365&sr=8-1
  and B&N https://www.barnesandnoble.com/w/white-shaming-charles-
  negy/1136281230?ean=9781792407857 Just in case you wanted to obtain a copy of the book.
  Take care!”

       88. On March 13, 2020 (same day as message to students about his book), the Respondent
  advised the Department Chair, Witness 154, that he sent a message to students over the last year
  and a half letting them know that his book had been published. The Respondent advised that he
  had received both positive and negative responses from students to his message. The Respondent
  “confess[ed]” that he knew “this was serving in some ways as ‘advertisement,” that his “primary
  motive was to reach the students from the classes who had asked to be informed” if the book was
  published, apologized “if this was a problem,” and indicated that he would “not be sending out
  any more messages about this.” Witness 154 replied, “Thank you for the emails. I don’t think
  it’s a problem, but if someone complains, I’ll let you know.” See Email March 13, 2020
  Respondent & Dept Char Re Book Outreaches.

      89. On March 16, 2020, the Respondent sent an email to his students asking them to hold off
  on sending their reaction papers since, due to COVID19, they were not meeting in person as
  expected and the Respondent was “not thrilled at the thought of receiving 130 emails or canvas
  messages with papers attached.” He then extended the due date to March 31, 2020.

     90. The Respondent required students in his 2019 Fall Cross Cultural Psychology and 2020
  Spring Cross Cultural Psychology courses to read White Shaming.

     91. With regard to using his book White Shaming as required course material, the Respondent
  complied with University policy by completing UCF’s Potential Outside Activity, Employment,
  and Conflict of Interest and Commitment Disclosure (AA-21), which was approved by UCF. The
  Respondent has represented that proceeds from the book were donated to St. Jude and Make a
  Wish as required by University policy when a professor’s book is assigned as required course
  material.

  Respondent’s Twitter:
      92. The Twitter handle associated with the Respondent was initiated in 2019. The
  Respondent posted to this Twitter account numerous times, including making comments related
  to issues of race and religion.

      93. On March 11, 2019, the Respondent sent an announcement to his General Psychology,
  Sexual Behavior and Cross Cultural Psychology students that said, in part, “I just started a
  Twitter account (wouldn’t want our President to out-do me… ha ha ha…). Feel free to follow me
  if you’d like!”

      94. On January 7, 2020, the Respondent sent an announcement to his current students titled
  “Follow me on Twitter (optional, of course)”. Therein, the Respondent stated, “Students, If you
  are interested, you may follow me on Twitter (@CharlesNegy). In class, I try hard to be a-
  political and I try to stay focused on the course subject matter. Of course, my twitter account is



                                                  50
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 290 of 566 PageID 360




  my personal account and I comment on various social issues, including politics on occasion (I’m
  a registered Independent and I despise all politicians…).”

  VII.    MATERIAL FACTS IN DISPUTE & RESOLUTION OF DISPUTED MATERIAL
          FACTS

          OIE received differing accounts or conflicting evidence as to some material facts. Since
  the questions are material to the resolution of whether the Respondent violated University
  regulation or policy, OIE must resolve the disputed facts based on the testimonial and
  documentary evidence.

          The Equal Employment Opportunity Commission (EEOC) has identified five factors to
  consider when resolving disputed issues of fact that require credibility assessments: 1) the
  inherent plausibility of the testimony; 2) the demeanor of the person offering the testimony; 3)
  whether the individual has a motivation to lie; 4) whether the remarks or conduct could be
  corroborated; and 5) whether the Respondent has a history of similar behavior. None of these
  factors are necessarily determinative of credibility. 14 Courts have recognized that in a case
  which involves close questions of credibility and subjective interpretation, the existence of
  corroborative evidence or lack thereof is likely to be crucial.

         The following analysis resolves the disputed facts considered material to determining
  whether the Respondent violated University policy and/or regulation based upon testimonial,
  audio recordings, and documentary evidence provided in this matter. Before discussing each
  disputed material fact below, it is important to note that, along with the factors identified by the
  EEOC, OIE assessed the following factors in assessing the credibility of the parties and
  witnesses based on the record.

  Consistency: As previously indicated, OIE received reports from multiple sources (phone calls,
  emails, IntegrityLine reports, JKRT reports, and OSC reports) wherein individuals reacted to the
  Respondent’s Twitter posts and/or made allegations of misconduct against the Respondent. As
  set forth in detail in OIE’s Investigation summary (Attachment A), OIE spoke with over 300
  individuals during the course of this investigation (see witness interview summaries, OIE phone
  logs, climate check call responses), including the Respondent. OIE’s analysis of this matter
  included reviewing the original communications from witnesses about their experiences with the
  information provided during OIE’s interviews. OIE’s analysis also included reviewing
  approximately 37 hours of audio recordings of the Respondent’s lectures. As a general matter,
  witnesses remained relatively consistent with what they initially reported and what was described
  during their OIE interviews.

          However, with regard to the Respondent, although he was cooperative and responsive to
  OIE’s questions throughout the investigation, some of the information that he provided was
  refuted by documentary evidence, as well as audio recordings of his classroom. These
  inconsistencies weakened his credibility and drew into question whether he was being truthful

  14
    See U.S. Equal Employment Opportunity Commission: Enforcement Guidance on Vicarious Employer Liability
  for Unlawful Harassment by Supervisors (June 18, 1999) at http://www.eeoc.gov/policy/docs/harassment.html.


                                                       51
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 291 of 566 PageID 361




  with regard to his other statements to OIE. Specifically, during the course of the investigation,
  OIE identified the following significant instances wherein the documentary or audio evidence
  clearly conflicted with what the Respondent had represented to OIE:
          1)      During his OIE interview, the Respondent “completely” denied that he had told
  students that unless he raped a student, there was nothing that could be done about what he said
  in class due to him being tenured. However, an audio classroom recording captured the
  Respondent telling his students, “At [the] university, we happen to have [a] system called the
  tenure system, so that once you have tenure, like I have at the university, unless I rape you –
  which I won’t, I promise – the university can’t fire me. They just can’t fire me.”
          2)      During his OIE interview, the Respondent denied the allegation that, in 2011, he
  bribed a health clinic representative to issue a vaccination certificate related to yellow fever so
  that he could board a flight, stated “[t]hat’s a total fabrication”, and claimed that he had “actually
  received a vaccination shot.” However, the Respondent admitted in his book White Shaming that
  he “had never even been vaccinated against yellow fever”. Also, an audio classroom recording
  captured the Respondent telling his students that the health clinic person “agreed to give me the
  vaccination certificate for $17.00, and she dated [it] so that I had gotten one dosage 10 days
  before and the second dose today [day of his trip].”
          3)      During his OIE interview, the Respondent denied that he told students that God
  did not exist. Rather, he told them that there was no evidence that God existed. However, audio
  recordings captured the Respondent telling students that “Allah does not exist”, God was a
  “figment of their imagination”, and religion was “make believe”.
          4)      During his OIE interview, the Respondent denied that he told students that
  minorities never invented anything that impacted society (rather, he said that non-Whites had
  invented things on a smaller scale or improved upon things that were already invented).
  However, in his March 18, 2018 email to his students, the Respondent stated that “every single
  modern invention that changed life as we know it has been invented by a white person”. Also, an
  audio recording captured the Respondent telling students that it was a “fact that the whole
  modern world has been created by Whites”.
          5)      During his OIE interview, the Respondent denied that he ever used the term
  “Black privilege” in his classes. However, in his July 15, 2019 message to students, the
  Respondent stated, “If MLK, Jr., were not black, the social justice warriors who are influenced
  by the ‘me‐too’ movement would be throwing him under the bus. But…black privilege protects
  him.”
          6)      During his OIE interview, the Respondent denied that he had told a male GTA,
  who was covering proctoring an exam for a female GTA, that he hoped the female GTA “was
  compensating him but that is none of my business”. The Respondent said that the allegation was
  “a complete fabrication.” However, OIE located the email wherein the Respondent said, “I hope
  [the female GTA] is compensating you well for this!!! But … it’s none of my business…).”
          7)      During his OIE interview, the Respondent denied ever using the term “faggot”.
  However, an audio recording captured the Respondent using this term in class while describing
  the January 2019 Covington Catholic High School incident in Washington D.C. (OIE notes that
  the Respondent used the term to describe how this, and other negative terms, were yelled at the




                                                   52
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 292 of 566 PageID 362




  high school students prior to the incident that made national news. The Respondent did not direct
  the term at any students.) 15
          8)      During his OIE interview, the Respondent denied discussing the sexual assault
  allegations against Brett Kavanaugh and related congressional hearings. Specifically, the
  Respondent stated, “I never brought up that case in my classes.” However, an audio recording of
  his class captured the Respondent initiating a discussion about the hearings, the alleged
  triggering of the accuser’s memory during couple’s therapy, and Respondent’s perception of
  Justice Kavanaugh being “a squeaky clean conservative person.”
          9)      During his OIE interview, the Respondent denied ever discussing cerebral
  cortices during his class lectures (“I never talked to my students about cerebral cortices”).
  However, an audio recording of his class captured him telling students, “Our cerebral cortex is
  very distinct from other animals’ cortexes. It is much more complicated and much more
  complex. That allowed us to do things that all the other animals can’t do.”

          In addition to the above, the Respondent noted that many of the allegations against him
  had not been noted in his Student Evaluations of Instructor Summaries, and accordingly, lacked
  credibility. In other words, he argued, the students were inconsistent in representing that the
  Respondent had engaged in misconduct by not noting the misconduct in his evaluations at the
  time of the classes. He further argued that, instead of the allegations being truthful, they were
  being launched in reaction to the media attention received related to his Twitter posts. The
  Respondent insinuated that the allegations were brought forward at this time as an attempt to
  censor his conservative and controversial views set forth in his Twitter posts and were part of “a
  politically motivated witch hunt”.

          However, the Respondent is mistaken that the mere absence of the allegations in the
  evaluations demonstrates that the allegations are false. First, the record clearly shows that the
  Respondent discouraged reporting and gave an impression that he was essentially bullet-proof to
  complaints about his conduct in the classroom. As set forth in more detail below, the Respondent
  repeatedly made clear to his students that tenure and the First Amendment protected him and that
  anything short of raping a student, the University could not discipline him. Second, the
  Respondent told the students stories of prior students having failed at launching complaints about
  his classroom conduct and how he “laughed all the way through” the process when complaints
  had been made. Such stories likely contributed to the lack of reporting on the forms as students
  would be left with the desired impression – namely, that nothing would be done in response to
  the complaint so what would be the point of noting their concerns in the evaluations. Third,
  students (like many Complainants in investigations of this nature) are generally highly concerned
  about being subjected to retaliation, particularly when launching a complaint against a tenured
  professor. Accordingly, although it is important to consider the timing of allegations and other
  missed opportunities to report, OIE is not persuaded that the mere absence of the detailed
  allegations in the student evaluations equates to untruthfulness.


  15
     The Covington Catholic High School incident took place on January 18, 2019 and involved a confrontation
  among different groups near the Lincoln Memorial in Washington D.C. The incident received widespread media
  attention, particularly the interaction between a White male high school student and a Native American activist.
  Videos released days later showed that initial media reports had omitted key details of the incident and many stories
  falsely portrayed the high school students as the aggressors.

                                                           53
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 293 of 566 PageID 363




  Motive/Benefit/Bias: OIE also takes into consideration that on June 4, 2020, there was a
  significant student and community reaction to the Respondent’s Twitter posts, including a
  change.org petition calling for the Respondent’s termination that, as of the time of this report,
  had over 30,000 signatures and was initiated by one of the witnesses who participated in this
  investigation. (E.g. New York Times article titled “University to Investigate Professor Who
  Tweeted About “Black Privilege”; Knight News article titled “UCF Professor’s Controversial
  Tweets Claim Black Privilege Exists in America”; Orlando Sentinel article titled “UCF
  Protestors Demand Professor Be Fired for Racist Tweets”). Multiple witnesses indicated a desire
  in the Respondent not remaining a UCF faculty member – either in reaction to the Respondent’s
  Twitter posts on important social issues, in response to the Respondent’s conduct in the
  classroom, or both. See Facebook Post by Student (redacted) (7-16-20). That said, for many
  witnesses, they had no apparent motive to fabricate the information they relayed to OIE as they
  had no relationship with the Respondent, were no longer enrolled at UCF, and/or did not have
  any benefit to gain from participating in OIE’s process. When OIE asked about the individuals
  who had shared concerns with OIE, the Respondent stated that he did not recognize 99% of the
  names provided to him by OIE since he taught a large number of students each year. When asked
  if he was aware of any reason why the students listed would have reason to lie about their
  experiences, the Respondent replied, “Because I don’t know all of them, I don’t know.” He then
  indicated that he identified one student (Witness 53) who had taken the Respondent’s course,
  made a public records request during the summer of 2020, was active on social medial to recruit
  individuals to “get me fired”, and had “failed my course very badly.” With regard to the
  Respondent, he had a motive to resolve these allegations in his favor to protect his status as a
  tenured professor, as well as his reputation.

  Interest/Lack of Interest: As set forth in detail in Attachment A, multiple witnesses and the
  Respondent participated in substantive interviews with OIE. They were willing to discuss aspects
  of this case and responded to Investigators’ questions. OIE also was advised by some
  individuals that they did not wish to participate in OIE’s investigation or chose not to respond to
  OIE’s outreach after having submitted emails or reports to the university about their experiences
  with the Respondent. In terms of overall participation, the majority of participants (over 300)
  were individuals that had been enrolled in at least one of the Respondent’s courses from 2018
  through Spring 2020. The remaining individuals had been enrolled in at least one of the
  Respondent’s courses between 1999 and 2017. When looking at the specific courses and
  participation, OIE spoke with approximately 100 individuals from each of the Respondent’s
  General Psychology, Sexual Behavior, and Cross Cultural Psychology courses, approximately 20
  that had taken Personality Theory and Research with him, and two that had taken the Psychology
  of Prejudice course with him.

  Capacity to Recollect or Perceive: As set forth above, the university received allegations
  regarding experiences with the Respondent over the course of a number of years, some more
  than a decade ago. Accordingly, OIE took into consideration the gaps in time between the
  incidents at issue and reporting, which understandably caused some difficulty in recollecting
  details (for both witnesses and the Respondent). Due to the scope of allegations made, both in
  terms of the timeframe and nature of allegations, it is to be expected that there may be some
  nuance among the descriptions of the statements, as well as the Respondent not recollecting
  specific details (particularly considering that he has taught these courses multiple times since


                                                  54
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 294 of 566 PageID 364




  1998 to thousands of students). No other factors, other than the timeframe, were identified as
  having impacted the Respondent’s and witnesses’ ability to perceive or recollect the events. The
  Respondent questioned whether most of the individuals that had shared their experiences with
  the university were ever enrolled in his courses, implying that the reports were not based on
  personal experiences and were instead a reaction to his Twitter posts. As set forth in detail in
  No. 9 of Section VI (Material Facts Not in Dispute section), OIE confirmed witnesses’
  enrollment data and used university class rosters when making outreach.

          OIE notes that the University received a large volume and multiple types of allegations
  against the Respondent. Just about all of these allegations are captured herein. However, some
  allegations are not analyzed herein because the alleged conduct would not violate University
  policies and regulations, was captured in the essence and nature of the allegations analyzed
  below, pertained to the Respondent’s approach to classroom structure, or lacked any
  corroborating evidence or similar allegation from others. For example, the analysis below does
  not include an analysis of the allegations that the Respondent’s exam questions asked obscure
  facts about a video shown in class (such as what was someone wearing or eating) rather than
  substantive course content; Respondent gave either full credit or no credit for writing
  assignments; Respondent answered his cell phone during class; Respondent raised his voice in
  class; Respondent joked that students’ grades would be lowered if they disagreed with him;
  Respondent disagreed with the effectiveness of diversity initiatives in bringing communities
  together; Respondent made mental health diagnosis of family members, politicians, and a student
  without treatment; and Respondent discussed how therapy can be an attempt to bring conformity
  to social norms.

        OIE’s investigation revealed that the following facts, which are material to determining
  whether the Respondent violated University policies and/or regulations, are in dispute:

  Respondent’s Twitter Posts
     1. Whether the Respondent required students to follow and/or review his Twitter
        account posts as part of his course curriculums.

         As set forth above, on December 19, 2019, an unidentified concerned citizen reported to
  UCF’s University Audit that they had reviewed the Respondent’s posts on his personal Twitter
  account and believed that the Respondent had made “misogynistic, transphobic, racist, anti-
  immigrant and religiously discriminating comments.” On June 4, 2020, the university received
  multiple reports alleging that the Respondent had made additional discriminatory statements on
  his Twitter account, which individuals believed constituted cause to terminate the Respondent’s
  employment.

         The citizen in the December 2019 report provided the following examples of the
  Respondent’s Twitter posts:
  • Only 21% of African Americans and 31% of Hispanics taking the SAT showed “readiness”
     for college-level work. Most African Americans and Hispanics attend integrated schools and
     live in mixed neighborhoods. Something is terribly wrong here (it’s not just “lack of
     resources...”) (September 24, 2019);



                                                 55
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 295 of 566 PageID 365




  •      I once sent our university President (the one who recently resigned over scandal) a message
         telling him there is no evidence that an African American student struggling in a math class
         will improve his math ability due to a Pakistani student sitting two rows over. No response..
         (September 25, 2019);
  •      At Univ. of Central Fl., they’re hired a “diversity promoter” who has forced that term on the
         rest of us Latinos/as. I’ve polled my 200+ Hispanic students in my 3 classes. NONE of them
         uses that term. It’s a term for zealots, who always want to impose their views on everyone
         else (October 4, 2019);
  •      I think *real* racism needs to make a comeback in the U.S., so black folks will stop
         fabricating they’re victims of discrimination (sarcasm... are you listening, Jussie?) (October
         5, 2019);
  •      I have bat-sh*t crazy woke students in my classes who have said publicly that if one is not
         willing to have sex with every type of race/ethnicity that exists, then one is a “racist.” (I told
         them to knock themselves out, but I have a preferred “look” on my menu..) (October 26,
         2019);
  •      A tragic state of affairs, for sure. But one that contradicts the liberal, romantic notion that
         Native Americans are all peaceful pacifists, living in harmony with nature. (November 22,
         2019) (response to article titled “William Barr to Announce Plan Addressing Crisis of
         Missing and Murdered Indigenous People”);
  •      I wish I could be as optimistic about this as you, but I’m not. I anticipate a lot of arrogant
         (minority) students thinking they “earned” their way into elite institutions while calling us
         doubters “racists.” This has no end...(my opinion). (November 24, 2019);
  •      It also says, “I’m a mindless dote who does whatever my father or husband tells me to do...”
         (November 25, 2019) (response to tweet about wearing the niqab 16);
  •      Yeah, that’s what we need. More people and immigrants in the U.S. So we can clear more
         trees to make room for apartment complexes, Walmarts, strip malls, schools, etc. To hell
         with the quality of life for those of us who live here already (legally, I should add).
         (November 27, 2019) (response to Mayor Bloomberg calling for more immigrants in the U.S.
         rather than less);
  •      Great article. But...I’m not optimistic about this situation changing anytime soon.
         Universities are obsessed (to use the authors’ words) with diversity and employ all
         machiavellian maneuvers possible to hire and admit conspicuously less qualified Afr.
         Americans and Hispanics. (December 5, 2019);
  •      Could this happen in the U.S.? Sure. Would this happen in the U.S.? Highly unlikely. Not
         all cultures are equal. (December 5, 2019) (response to article titled “Woman Heading to
         Testify at Rape Trial Set on Fire in India”)
  •      Ha...If this is what Europe (and the U.S.) wants, let them see how it works out for them in the
         end. Any religion teaching its members that defectors must be murdered is very disturbing.
         (December 7, 2019);
  •      The individuals in that photo are *not* simply people who want to be the opposite sex. If we
         were to still have any capacity for critical thinking, we’d recognize that they suffer from
         some combination of narcissistic or histrionic personality disorders. (December 7, 2019);



  16
       A niqab is a veil worn by some Muslim women in public, covering all of the face apart from the eyes.

                                                             56
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 296 of 566 PageID 366




  •   You nailed it(!) (maybe not 100% of the time, but 95% of the time! Can we add journalism
      to the shelf alongside the social sciences? And ethnic studies? Women/Queer studies...?
      (December 7, 2019);
  •   You know, if black people want to pursue science “the black way,” let them do it. Let’s see
      what they contribute to humanity. (it's easy to write a “woke” article. Let’s see what they
      produce beyond their cheap talk.) (December 8, 2019);
  •   Kudos to Florida. Seems like the rest of the country is determined to lower academic
      standards in the name of “diversity” (December 9, 2019);
  •   So...only straight actors can play straight roles. Gay actors need not apply....(!) (December
      10, 2019) (response to tweet wherein an actor said that for acting to be truly progressive only
      gay actors should play gay characters);
  •   If anyone were to sexually assault me, I’d want that POS to go to prison. But I see Harvey
      Weinstein’s accusers are settling for $25 million among them. Is that ($...) what it was all
      about? If so, isn’t that prostitution? Just asking. (December 11, 2019);
  •   “Inclusive grading...” I have proposed in my forthcoming book that U.S. universities not
      oblige unqualified students to improve their math/reading abilities before applying for
      admission. Just mail them a diploma the moment they apply. It’s much easier. (December 12,
      2019);
  •   I have a hunch that they won't migrate to any Muslim-dominant country... (December 16,
      2019); and,
  •   We should expect many of these kids to eventually sue their parents and/or the clinics that
      screwed up their biology in the name of “wokeness.” (December 17, 2019).

  The concerned citizen did not allege that the Respondent had engaged in discriminatory conduct
  in UCF’s workplace or educational environment.

          On December 20, 2019, University Audit referred the report to OIE for review. On
  January 10, 2020, OIE advised University Audit that the social media posts had been reviewed.
  The Respondent’s Twitter site set forth the Respondent’s name and described the Respondent as:
  “Author of ‘White Shaming: Bullying based on Prejudice, Virtue-Signaling, and Ignorance.’
  (available Jan 2020). Opinions are my own.” The site further indicated that the Respondent
  joined in March 2019. There was no reference on the home page to the Respondent’s affiliation
  with UCF. See Respondent’s Twitter Page. Based on the Twitter account not being affiliated
  with UCF, the Twitter account being a personal social media platform, the posts constituting
  protected free speech, and there being no evidence or allegations that the Respondent had
  subjected students or employees to discrimination or discriminatory harassment in the workplace
  or classroom, OIE determined that further action could not be taken at that time with regard to
  the posts. On June 4, 2020 when allegations regarding the Respondent’s classroom conduct were
  received, OIE received allegations that the Twitter account had been integrated into the
  classroom curriculum – namely, that students had been required to read the Respondent’s Twitter
  posts as part of their course assignments. Accordingly, in addition to opening an investigation
  regarding the 2020 summer allegations about classroom misconduct, OIE re-opened its
  December 2019 matter related to the Twitter posts.

         During the summer of 2020, the university received multiple reports that the Respondent
  had posted discriminatory statements on his personal Twitter account, including the following:

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Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 297 of 566 PageID 367




  •   If Omar is found to have had an extramarital affair, shouldn’t she be stoned to death
      according to Sharia Law? Just asking … (August 28, 2019) [The Respondent’s post was in
      reference to a news report pertaining to Ilhan Omar allegedly breaking campaign finance
      laws in relation to pursuit of an affair.]
     If what is being reported about her were to be true, shouldn’t she be stoned by her standards?
      (just asking…) (October 21, 2019)
  •   Assuming (like I said “assuming…”) there is no man present in most of those children’s
      lives, that *alone* explains much of the observed “inequality” with respect to family income
      between, say, Blacks vs. Whites. (January 15, 2020) [The Respondent’s post was in reference
      to a post about the percentage of U.S. births to unwed mothers based on ethnicity/race.]
  •   Blacks/Hisps. perform badly on the SAT. Then get rid of the tests. Blks/Hisps. rarely
      selected for Gifted Programs. Eliminate the Programs. What’s next? Because Whites
      struggle to make the NBA we’ll be eliminating the NBA…? (January 25, 2020) [The
      Respondent’s post was in response to another Twitter user’s post that stated, “After a long
      and protracted battle, Seattle Public Schools approved a proposal that will begin dismantling
      its gifted program over concerns of racial inequity.”]
  •   If non-black women with braided hair are guilty of “cultural appropriation,” Will anyone be
      accusing black women who “press” their hair “straight” of cultural appropriation? Don’t
      hold your breath. (March 3, 2020) [The Respondent’s post was in reference to an article titled
      “Kim Kardashian accused of cultural appropriation over braids at Yeezy show.”]
  •   When I tell students that not all cultures are equally good and give them ample examples, I
      must prepare for complaints of “racism” by students & conflicts with colleagues, etc. We’re
      supposed to believe that non-Western cultures are just as good as Western cultures (wink,
      wink). (March 17, 2020)
     Fine. My course takes a critical look at different major cultural groups with *no* attempt to
      romanticize or glorify them. At the end of the course, most brutally honest (i.e., non-
      defensive) students conclude: not all cultures are equally good. Good luck in med school.
      (March 17, 2020)
  •   They should tie her to a tree and give her 50 lashes with a whip. Where’s the Saudi
      government when we need them? (March 26, 2020) [The Respondent’s post was in reference
      to an article titled “Woman who coughed on $35K worth of grocery store food faces felony
      charges”.]
  •   I don’t know why gay/bisex. men don’t like restrictions on them donating blood. About 20-
      25% of men who have sex with men are HIV+ (compared to <1% of the rest of the
      population). And it still takes tests 4 to 6 weeks to indicate if one is HIV+ after having been
      infected. (April 2, 2020) [The Respondent’s post was in response to an article titled “The
      FDA is Easing Its Ban on Blood Donations from Gay and Bisexual Men.”]
  •   “Critics argue that the SAT and ACT are heavily influenced by race, income, and education
      levels of parents; question their value in predicting college success and express concern
      about inequitable access to test prep.” No. The REAL goal is to allow ill-prepared H.S.
      students from two ethnic group to attend a UC school, at the expense of better-prepared H.S.
      students from two other ethnic groups. Just come out and say it, please. (May12, 2020) [The
      Respondent’s post was in reference to a L.A. Times article titled “SAT should be suspended
      for UC admissions, Napolitano says.”]



                                                  58
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 298 of 566 PageID 368




     Last I had checked, 40-50% of the student bodies at UCLA, Berkeley, Irvine, etc. were Asian
      Americans. They will the ones most screwed by this duplicitous move to sneak more less-
      qualified Blacks and Hispanics into the UC system. So much for “equity…”
  •   I’m not the 1st one to call this out: Isn’t it curious that “transgender males” don’t appear to
      want to compete in men’s sports? Just “transgender females” want to compete in women’s
      sports… I wonder why the discrepancy… (May 17, 2020) [The Respondent’s post was in
      reference to a Newsweek article titled “Who has the right to be called a girl |Opinion”.]
  •   Hilarious. Okay Whiteys. Get on your knees and start atoning for being white. While you’re
      at it, start sharing your paycheck with random POC and donate your house to a POC.
      LMAO…
  •   I’m sorry, Ladies. But not all of you are saints… (May 21, 2020) [The Respondent’s post
      was in reference to a Fox 9 article titled “Law professor falsely accused of rape, wins
      defamation case.”]
  •   Forgive me for being audacious. It’s not going to fix the fact that on average, not all ethnic
      groups value education the same, or are as dedicated to their studies. Reality is ugly. Only
      some of us are willing to confront it. (May 26, 2020)
  •   This was a racist, hate crime committed by Blacks. Not only will they probably never be tried
      for murder, this won’t ever count in the column of hate crimes committed by Blacks (thus,
      contributing to a false image of “hate crimes”) RIP.
  •   This is the most perverse and bizarre country in the world. Black teens needlessly stab to
      death a white college student and no one cares. NO ONE cares. When a white person (cop or
      Georgia rednecks) kill a black man (which certainly were awful), the world comes to an end.
      [The Respondent’s post was in reference to the murder of Tessa Majors, who was a student at
      Barnard College at the time of her death.]
  •   “The State has Failed Black People.” Yeah, it’s not like black people have any agency of
      their own, to stay in school, be the best student, abstain from crime, gangs, unwanted
      pregnancies, etc. It’s all the state’s fault. (May 29, 2020) [The Respondent’s post was in
      reference to a New York Times article titled “Opinion | Of Course There are Protests. The
      State is Failing Black People.”]
  •   Wouldn’t it be nice if we could locate the address of each of those looters/vandals, etc. and
      burn their homes and possessions to the ground? (May 29, 2020) [The Respondent’s post was
      in response to another user’s post that stated, “The ease that so many politicians and
      commentators have at encouraging this anarchy signals a pathology and wickedness, in my
      opinion. People’s lives are not yours to play with. If you support “burning it down,”
      volunteer your home. Don’t volunteer on behalf of others.”]
  •   Dear Rioters: Please go to HER house and loot it first and then burn it to the ground. I have a
      sneaky suspicion she’ll change her attitude180s degrees within seconds. (June 1, 2020) [The
      Respondent’s post was in reference to an article titled “You’re On Your Own: Raleigh
      Police Chief Says She Will Not Put Officers in Harm’s Way to Protect Property.”]
  •   I’ve often said something similar: People who think “whites are the problem” would find if
      whites suddenly disappeared from earth, most social/academic problems experienced by
      some/many Blacks and Hispanics would still exist. They’re confused about the causes of
      their problems. (June 2, 2020) [The Respondent’s post was in response to another user’s post
      that stated, “Assume there’s a vaccine against white racism. Would 70% of black kids
      STILL be raised in fatherless homes? Would 50% of blacks STILL dropout of many urban


                                                  59
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 299 of 566 PageID 369




      high schools? Would 25% of young black urban men STILL have criminal records? Would
      blacks STILL kill 7K blacks every yr.?”]
  •   I would like EVERYONE to register in a deep way what society would be like if the Police
      did not exist. There’s a lot of animals among us that we pretend are humans. (June 2, 2020)
  •   “(a) Black people can’t be racist.”. (b) “Diversity is our strength” (c) “multiculturalism is
      beautiful.” The three biggest lies or half-truths of the 21st century. (June 2, 2020)
  •   More black individuals asserting themselves against the dubious BLM message. They’re
      raising legitimate questions: Do blk lives matter ONLY when a white person kills them?
  •   Slaves? LMAO. We’re in 2020, Jey. Apparently you need a calendar or appt. book. (June 2,
      2020)
      • “Jey” responded, “it’s not like you can just easily ignore over 100 years of racist keeping
          you as slaves and taking away your rights.”
      • Respondent replied, “Yes you can. What happened to people you don’t know has no
          bearing on your life decisions. If I would have adopted the ‘school is for chumps’
          attitude, or put a gun to people’s head to car jack them, do you think I can blame ‘those
          Conquistadors for having subjugated the Aztecs?”
  •   That’s right. Minority idolatry and the new religion of diversity have perverted logic,
      fairness, and true equality. (June 3, 2020) [The Respondent’s post was in reference to a user’s
      post that stated, “If you have always believed that everyone should play by the same rules
      and be judged by the same standards, that would have gotten you labeled a radical 60 years
      ago, a liberal 30 years ago and a racist today.”]
  •   Sincere question: If Afr. Americans as a group, had the same behavioral profiles as Asian
      Americans (on average, performing the best academically, having the highest income,
      committing the lowest crime, etc.), would we still be proclaiming “systemic racism” exists?
      (June 3, 2020)
  •   Here’s a suggestion to those that who think they are being “screwed” and oppressed in the
      U.S.: Stay in school. Be the best students possible. Avoid crime. Avoid gangs. Avoid
      unwanted pregnancy. Avoid drugs and alcohol. Amazing what a little common sense can do
      you for your destiny. (June 3, 2020)
  •   This article is spot on (will infuriate folks). Black privilege is real: Besides affirm. action,
      special scholarships and other set asides, being shielded from legitimate criticism is a
      privilege. But as a group, they’re missing out on much needed feedback. (June 3, 2020)
      [The Respondent’s post was in reference to an article titled “Instead, The Establishment
      views blacks as our Sacred Cows, above criticism, but beneath agency”.]
  •   I fear that our leaders shove “Diversity is our strength” down our throats because they know
      privately what is more likely to happen to us: tribalism will have us fighting non-stop over
      EVERYthing. We may learn “Diversity is divisive.” (June 3, 2020)
  •   How many times can someone tell “You Whites” to shut the f’ up before people start to
      realize: Maybe there’s a lot of racism against Whites in this country (and it doesn’t matter if
      some comes from self-loathing Whites). Just asking.

           Following their review of the Respondent’s Twitter postings, numerous individuals
  contacted the University and alleged that the postings demonstrated that the Respondent was
  racist, sexist, homophobic, transphobic, and spreading hate (i.e. IL #768 (Witness 155),
  Anonymous IL #769-771, Anonymous IL #774-780, IL #781-782 (Witness 156), Anonymous IL
  #784, Anonymous IL #786-788, IL #837 (Witness 157), Anonymous IL #840-841, Anonymous

                                                   60
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 300 of 566 PageID 370




  IL #843, Anonymous IL #852, Anonymous IL #863, Anonymous IL #869, Anonymous IL #873,
  Anonymous IL #902, JKRT Report # 00047696, and JKRT Report #00047707 (Witness 47)).
  For instance, the anonymous reporter in IL #788 stated, “[I]t’s impossible to ignore his implicit
  (or in some cases, explicit) bias against black students, Christians and Muslims, Democrats and
  other left-leaning people, overweight people, immigrants (aside from Asians, who he appears to
  uphold as the model minority), sexual assault survivors, and transgendered individuals.” In
  contrast, the anonymous reporter in IL #970 stated, “[The Respondent] did nothing wrong! It’s
  sick to know a school would rather stand behind the lies of the left and condone people’s feelings
  of real matter than support their Professors in the matter of fact and reality. UCF needs to check
  their priorities.” Numerous individuals indicated that the Respondent’s comments were not
  representative of UCF; were inconsistent with UCF’s messaging regarding diversity, equity and
  inclusion; were particularly offensive in light of the national issues related to police and the
  Black Lives Matter movement; and likely were reflected in the Respondent’s course teachings.
  These individuals further demanded that UCF terminate the Respondent and condemn his
  Twitter comments.

          On September 3, 2020, the University received a JKRT report (#00048928) alleging, “On
  May 28th, he posted a slanderous comment about Bill Gates when he referred to him as
  ‘Epstein’s b*tch’. On May 29th, he glorified violence by stating that it would be nice to find the
  addresses of looters and burn their houses down. He commented on a video on May 30th
  referring to the subjects in the video as ‘Thugs’. On 31st, he stated that he approved an act of
  violence. Also on May 31st, he compared a woman to herpes. On June 1st, he again glorified
  violence by asking rioters to go to the police chief’s house and burn her house down. Lastly, on
  June 3rd, he responded to an apparent student on Twitter, accusing her of being a fascist.”

          In assessing the social media posts, it is critical to determine whether the Respondent’s
  Twitter comments were part of the course curriculum or outside the classroom and protected by
  the First Amendment. In this regard, OIE received allegations that the Respondent required
  students to follow and/or review his Twitter account posts as part of his course curriculums.
  Specifically, an anonymous reporter (IL #788) alleged that the Respondent asked students to
  subscribe to his personal Twitter account. Another anonymous reporter (IL #852) alleged that the
  Respondent was “forcing students to follow his twitter page.” Witness 158 alleged that an
  unidentified person indicated that the Respondent had lectured for half of his course time and
  then told students to go home and read his Twitter feed for the remainder of the class time.

          However, during the course of OIE’s investigation, students repeatedly advised OIE that
  the Respondent did not require review of his Twitter account as part of any of the courses that he
  taught, did not require students to follow him on Twitter, and did not test students about what he
  had posted on Twitter. Students also advised OIE that, at most, the Respondent referred to
  having a Twitter account and offered his Twitter information for them to review. He presented
  this as optional and not as a required reading for the course. E.g. Summary Interview Statements
  of Witness 54, Witness 233, Witness 111, Witness 85, Witness 159, Witness 82, Witness 110,
  Witness 73, Witness 81, Witness 104, Witness 116, Witness 47, Witness 106, Witness 1, Witness
  160, and, Witness 125; Climate Check Notes. Also, the Respondent denied that he told students
  to leave class early and to read his Twitter feed for the remaining class time. Rather, the “only



                                                  61
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 301 of 566 PageID 371




  thing I’ve done is that I put in a course announcement or syllabus that they are free to follow me
  on Twitter if they want to, but I’ve never let the class go early for that reason.”

          In addition to speaking with students that had taken his courses and the Respondent, OIE
  reviewed the Respondent’s written messages to students about his Twitter account (see Section
  VI Material Facts Not in Dispute). These messages did not reveal any evidence to support that
  the Respondent required students to review his Twitter account as part of the course’s
  curriculum. Similarly, none of the audio recordings reviewed by OIE supported that the
  Respondent required students to read his personal Twitter account.

          As set forth above, only one individual (Witness 158) advised OIE that during one of the
  Respondent’s courses, he lectured to the students for approximately half the class time and then
  told the students to go home and read his Twitter feed for the remaining class time. Witness 158
  could not identify the student(s) that reported this to her nor the class in which it was alleged to
  have occurred. All students that participated in OIE’s investigation denied that the Twitter
  account was required reading material for the course or that class time had been provided for
  students to review the Respondent’s Twitter account. Taking the record as a whole into
  consideration, including the lack of corroboration by witnesses, lack of information from
  Witness 158 about the source of the allegation, lack of documentary or audio recording support
  for the allegations and the Respondent’s denial, OIE finds that there is insufficient evidence to
  support finding that the Respondent required students to follow and/or review his Twitter
  account posts as part of his course curriculums.

  Unwelcome Comments of a Sexual Nature
    2. Whether, during class, the Respondent used the term “cunt.”

         Witness 111 alleged that during the 2017 Fall General Psychology course, the
  Respondent used the word “cunt” when talking about arousal and said that “words are just
  words” as part of the discussion. He further stated that with regard to this term, “We as a society
  have become too politically correct” and “people are too afraid to say things”. Similarly,
  Witness 78 alleged that during the 2018 Fall Sexual Behavior course, the Respondent used the
  word “cunt” when referencing female genitalia. Witness 95 alleged that during the 2018 Fall
  General Psychology course, the Respondent explained the origins of the term “cunt” and a
  female student in the front row stated that the class should not be learning about the term.
  Witness 95 alleged that the Respondent then called this student a “cunt” for arguing with him.
  Witness 69 alleged that during the 2020 Spring Sexual Behavior class, the Respondent asked
  students for all of profane terms to describe anatomy and sex. He then said, “like I don’t mean
  pussy, or cock or cunt”, and then said he had no filter. No other students that OIE spoke with
  provided evidence that the Respondent used the term “cunt” during his courses.

           When asked if and how the word “cunt” is used in his courses, the Respondent replied,
  “In my Sexual Behavior class, when I cover genitals from a biological standpoint, I often like to
  start the class by finding out what the latest terms are for human genitals. I’ve taken two classes
  myself and incorporated them into how I teach my classes, and this is one of those activities. I let
  them tell me what the most recent, pop, risqué terms are for these things. The whole class is
  about sex. They start with all kinds of things, and I’m fine with that. They enjoy the exercise. On


                                                   62
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 302 of 566 PageID 372




  occasion, they don’t say anything, so I start with – whether it is men or women – I say ‘dick’ or
  ‘puss,’ but if I had said ‘cunt’, I’m not opposed to that, and that starts the class discussion. I’m
  not opposed to that.” When asked if he ever used the term “cunt” in his General Psychology
  course, the Respondent replied, “I never used that word in General Psychology. I never even use
  it in Sexual Behavior except to start that one exercise.”

          OIE’s review of audio recordings of the Respondent’s classes did not reveal the
  Respondent using the word “cunt” during lectures. With regard to the available 2018 General
  Psychology course audio recordings, there was no evidence that the Respondent called a student
  a “cunt” as alleged by Witness 95. As set forth above, OIE spoke with over 120 students in the
  Sexual Behavior courses and close to 100 students from the General Psychology courses, who
  did not corroborate these allegations. Taking the record as a whole into consideration, OIE finds
  that there is insufficient evidence to support finding that the Respondent used the term “cunt”
  during class or directed the term at a female student. If the term had been used, it likely was as
  part of the activity described by the Respondent in his Sexual Behavior courses.

     3. Whether the Respondent used the word “cunt” while leading an activity at new
        faculty orientation in 2006 or 2007.

          Witness 164 alleged that in 2006 or 2007, during new faculty orientation, the Respondent
  gave a brief presentation during which he shared that during his classes, he asked his students to
  say out loud words that we as a culture consider unspeakable. He indicated that one of the words
  he used in this exercise was the word “cunt.”. The Respondent then said to the group of about 50
  faculty, “Okay, now everybody yell out cunt” (or similar words to this effect), and a “bunch” of
  people responded by yelling out “cunt.” The Respondent denied having engaged in this conduct.
  Respondent stated, “I’ve only attended one new faculty [orientation] meeting ever in 1988, and
  I’ve never been asked to talk at one, and I would never start this activity with faculty.”

          OIE reviewed the agendas for the 2006 and 2007 faculty orientation schedules, which set
  forth the identities of the various presenters. The Respondent was not identified on either year’s
  agenda as being a presenter. The 2006 and 2007 faculty orientation schedules did have a
  presenter from the Department of Psychology, but again it was not the Respondent. UCF was
  able to locate the list of expected attendees for the 2007 faculty orientation, but not the 2006
  orientation. The 2007 list did not include Witness 164 so it appears she may have attended the
  2006 orientation. Witness 164 indicated that the orientation was the only time she believed that
  she had interacted with the Respondent, which means there is a possibility of misidentification.
  Taking the record as a whole into consideration, including the gap in time between the event and
  reporting, the orientation documents provided and the infrequent interaction between Witness
  164 and the Respondent, there is insufficient evidence to support finding that the Respondent
  used the word “cunt” while leading an activity at new faculty orientation in 2006 or 2007.




                                                   63
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 303 of 566 PageID 373




     4. Whether, during class, the Respondent told students that all men are a little bit gay
        because if someone was sucking their dicks and they were going to cum and they
        then realized that it was a guy doing the sucking, they would still finish.

           Witness 37 alleged that during the 2009 Psychology of Prejudice course, the Respondent
  told students that all men “are a little bit gay because if someone was sucking their dicks and
  they were going to cum and they then realized” that it was “a guy” doing the sucking, “they
  would still finish”. In response to this allegation, the Respondent stated, “I never made a
  statement like that in my lifetime. I don’t cover this in Cross Cultural Psychology, but I talk
  about transgender people in El Salvador in my Sexual Behavior course, and it’s nowhere near
  this statement.” OIE did not have audio recordings related to this course to review for
  corroboration and recognizes the significant time delay between the course (2009) and reporting
  (2020), thereby making this a close question on whether there is a preponderance of evidence.
  That said, taking the record as a whole into consideration, including Witness 37’s lack of
  motivation to fabricate this allegation, the specificity with which Witness 37 could recall the
  statement due to its impact when the statement was made, and the Respondent’s motivation to
  deny this allegation coupled with his lack of candor on some other statements attributed to him
  (see Consistency section above), OIE finds that there is sufficient evidence to support finding
  that in 2009, during his Psychology of Prejudice course, the Respondent told students that all
  men “are a little bit gay because if someone was sucking their dicks and they were going to cum
  and they then realized” that it was “a guy” doing the sucking, “they would still finish”.

     5. Whether, during class, the Respondent stated that he had sex with women from
        other countries (who were a lot freer when it comes to sex and was a reason why
        students should travel broad), stated that he only attended the study abroad
        program to have sex with women in other countries (and once had his sons come for
        this reason), and discussed having sex with women and men while abroad.

          Witness 88 alleged that during the Respondent’s 2016 Fall Sexual Behavior course, the
  Respondent stated that he had sex with women from other countries who were a lot freer when it
  comes to sex (which was why he wanted students to travel abroad), and that he talked about
  having sex with women and men abroad. Similarly, the anonymous reporter in IL #802 alleged
  that in 2012-2013, the Respondent “made inappropriate comments regarding what occurs on his
  study abroad trips (he stated he only goes to have sex with women in other countries and once
  had his sons come for the same reason).” Similarly, Witness 140 alleged that during the 2018
  Fall Cross Cultural Psychology course, the Respondent shared, “I had sex with women”. During
  his OIE interview, the Respondent denied these allegations.

          OIE did not have audio recordings related to the identified courses to review for
  corroboration. However, OIE did review available audio recordings of the Respondent’s lectures
  for his 2019 Summer Cross Cultural Psychology course and 2018 General Psychology course
  and no statements of this nature were identified. Also, OIE spoke with three students from the
  2016 Fall Sexual Behavior course and 16 students from the 2018 Fall Cross Cultural Psychology
  course. Witness 140 was the only witness that made this specific allegation. Taking the record as
  a whole into consideration, OIE finds that there is insufficient evidence to support finding that
  the Respondent told students that he had sex with women from other countries (who were a lot


                                                 64
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 304 of 566 PageID 374




  freer when it comes to sex and was a reason why students should travel broad), stated that he
  only attended the study abroad program to have sex with women in other countries (and once had
  his sons come for this reason), and discussed having sex with women and men while abroad.

     6. Whether, during class, the Respondent talked about how good the sex was with his
        husband, stated that he had “fun sex” with his husband, and enjoyed when men
        flirted with him.

          The anonymous reporters in IL #794 and #810 alleged that in 2018, the Respondent told
  the class “how he married a woman for 18 years, then met a man in Costa Rica”. Witness 85
  alleged that during the Respondent’s Fall 2016 General Psychology course, the Respondent
  discussed this in more detail and stated that he was married to a woman, found out he was
  sexually interested in men, now was married to a man, and talked about “how good the sex was
  with his husband”. Witness 48 alleged that during the Respondent’s 2018 Fall General
  Psychology course, the Respondent told students that he had fun sex with his husband. Witness
  121 alleged that during that same course, the Respondent stated that he enjoyed it when men
  flirted with him.

          In response to these allegations, the Respondent stated, “I do tell students that I am gay
  today, that I was married to a woman for 30 years but now I’m married to a man, but I never talk
  about my sex life with anyone at UCF, except for Witness 158.” The Respondent denied having
  told students in any of his courses about how good the sex was with his husband, having had
  “fun sex” with his husband, or enjoying when men flirted with him. The Respondent indicated
  that he never made statements of this nature to his students.

          OIE did not have audio recordings related to Respondent’s Fall 2016 General Psychology
  course to review for corroboration. However, OIE did review audio recordings of some of the
  Respondent’s lectures for his 2018 General Psychology course wherein no statements of this
  nature were identified. Also, OIE spoke with two students from the 2016 Fall General
  Psychology course and 52 students from the 2018 Fall General Psychology course. Witness 85,
  Witness 48 and Witness 121 were the only witnesses that made these kinds of allegations. Also,
  although Witness 48 and Witness 121 were enrolled in the same course, they alleged different
  statements were made by the Respondent (fun sex with husband v. enjoying men’s flirting).
  Taking the record as a whole into consideration, OIE finds that there is insufficient evidence to
  support finding that the Respondent told students how good the sex was with his husband, he had
  “fun sex” with his husband, and he enjoyed when men flirted with him.

     7. Whether, during class, the Respondent indicated that certain races or ethnicities,
        like Brazilians, were “always a fun fuck”.

          The anonymous reporter in IL #791 alleged that when they were a student in the
  Respondent’s 2017 Sexual Behavior course, the Respondent indicated that certain races or
  ethnicities, like Brazilians, were “always a fun fuck”. The Respondent denied these allegations
  during his OIE interview.




                                                  65
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 305 of 566 PageID 375




          OIE did not have audio recordings related to the Respondent’s 2017 Sexual Behavior
  course to review for corroboration. However, OIE spoke with three students from two of the
  Respondent’s 2017 Sexual Behavior courses (Spring and Fall) – namely, Witness 83, Witness
  127 and Witness 141. None of these students identified the alleged “fun fuck” comment as
  having been said during the course. In fact, Witness 83 indicated that the Respondent had talked
  about how the culture in Brazil was accepting of gay people. She also shared that the
  Respondent talked about his personal life – namely, that he had an ex-wife and a boyfriend in
  South America. Taking the record as a whole into consideration, OIE finds that there is
  insufficient evidence to support finding that the Respondent told students that certain races or
  ethnicities, like Brazilians, were “always a fun fuck”.

     8. Whether, during class, the Respondent asked students about their genitalia,
        referenced his own genitalia, and/or described his penis as being uncircumcised.

          Witness 49 alleged that during the 2013 Fall General Psychology course, the Respondent
  talked about not being circumcised. Similarly, Witness 82 alleged that during his 2014 Fall Cross
  Cultural Psychology course, the Respondent told the class that he was not circumcised.

          UCF also received allegations from anonymous reporters via the Integrity Line alleging
  similar behavior. Specifically, in IL #791, the anonymous reporter alleged that during the
  Respondent’s 2017 Sexual Behavior course, the Respondent asked people about their genitalia,
  spoke of his often and told students that he was uncircumcised. In IL #847, the anonymous
  reporter alleged that during the Respondent’s 2019 Fall Sexual Behavior course, the Respondent
  “[s]poke about his own genitals to the class.” Specifically, during one class, the Respondent
  “spoke about how one’s genitals should always be clean— this statement itself was not very
  concerning considering it was a Sexual Behavior class. He then followed that statement by
  explaining to the class how he ‘doesn’t wash his hands’ because of ‘how clean’ his own genitals
  were.” OIE spoke with thirteen students from this course, including Witness 106, who alleged
  that during that course, “we were talking about STD’s. I don’t remember the specific STD that
  we were discussing. [The Respondent] made comments about how if you are interacting with a
  sexual partner, get tested before you engage and make sure that your partners are clean. [The
  Respondent] then commented that you don’t need to wash your hands if you have clean genitals.
  [The Respondent] then commented that his genitals were so clean that he didn’t need to wash his
  hands. It was super awkward and uncomfortable”.

         In response to these allegations, the Respondent stated, “I have never discussed this with
  students.”

          Although OIE did not have audio recordings related to the four identified courses (2013
  Fall General Psychology, 2014 Fall Cross Cultural Psychology, 2017 Sexual Behavior and 2019
  Fall Sexual Behavior) to review for corroboration, it is important to note the consistency of the
  allegation by individuals in different courses at different timeframes. Equally important, OIE
  communicated with four students from the 2013 course (Witness 49, Witness 70, Witness 114
  and Witness 122), three students from the 2017 course (Witness 83, Witness 127, and Witness
  141), and thirteen students from the 2019 course (including Witness 106). Witness 49 and
  Witness 106 were the only individuals in these courses to identify this concern. Similarly,


                                                  66
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 306 of 566 PageID 376




  Witness 82 was the only individual from the 2014 course that spoke with OIE about concerns of
  this nature. Moreover, of the more than 300 individuals spoken to in regard to this investigation,
  these three identified students and the two anonymous reporters were the only ones to identify
  these as statements made by the Respondent. Taking the record as a whole into consideration,
  OIE finds that there is insufficient evidence to support finding that the Respondent asked
  students about their genitalia, referenced his own genitalia, and/or described his penis as being
  clean and uncircumcised.

     9. Whether during a class discussion about why people go to the gym or workout, the
        Respondent told a student, who had shared that they had lost 100 pounds due to
        health concerns, that they did so because they just wanted to get laid.

          An anonymous reporter (Student Google Form - Anonymous) alleged that during a
  General Psychology course, the Respondent “tried to break me” when discussing why people go
  to the gym or workout. This student mentioned to the class that he had lost 100 pounds “due to
  health concerns (literal death) and [the Respondent] boiled it down to [the student] just wanted to
  get laid.” The Respondent denied this allegation and said, “This is a total fabrication. I would
  never talk to students like that, neither in my office nor in class.”

          Although OIE reviewed audio related to some of the 2018 Fall General Psychology
  course lectures and found no evidence of a statement of this nature, it is unclear from the
  anonymous report when the statement was allegedly made. Without knowing the identity of the
  individual, OIE was limited in terms of making outreach to the student. That said, OIE did
  communicate with almost 100 students that had taken a General Psychology course with the
  Respondent. None of these students identified that Respondent as having made a comment of
  this nature to a student. Taking the record as a whole into consideration, OIE finds that there is
  insufficient evidence to support finding that during a class discussion about why people go to the
  gym or workout, the Respondent told a student, who had shared that they had lost 100 pounds
  due to health concerns, that they did so because they just “wanted to get laid”.

     10. Whether, during classes other than General Psychology, the Respondent referenced
         the Sambia tribe wherein “boys are used to suck the penises of somewhat older
         males before the older males are married”; and, “said it like it was a fun fact”.

           Witness 88 alleged that during the 2016 Sexual Behavior course, the Respondent
  discussed the Sambia tribe’s practice where “ boys are used to suck the penises of somewhat
  older males before the older males are married”, and how this practice was not weird as it was a
  rite of passage there (New Guinea), but here it would be considered rape. Witness 111 alleged
  that the Respondent had a similar discussion during the 2017 Fall General Psychology course,
  and Witness 92 alleged that he discussed this during the 2018 Fall Cross Cultural Psychology
  course. Witness 83 alleged that the Respondent had a similar discussion during in the 2017 Fall
  Sexual Behavior class and “said it like it was a fun fact”. In addition, the anonymous reporters in
  IL #794 and IL #810 alleged that during the spring/summer of 2018, the Respondent “spoke
  about a tribe that made their boys suck the penises of men until they were of a certain age.”




                                                  67
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 307 of 566 PageID 377




          As set forth above in Section VI (Material Facts Not in Dispute), the Respondent did not
  dispute that he discussed the Sambia Tribe’s practice of having boys perform oral sex on older
  men in the tribe. However, he stated that this discussion only took place in his General
  Psychology courses. With regard to the allegation that he referred to this like it was a fun fact,
  the Respondent stated, “I have never referred to this as a ‘fun fact’. I understand that this is child
  sexual abuse by our standards. I would never talk about that issue in any humorous way.”
  Taking the record as a whole into consideration, including the consistency of this allegation in
  multiple reports over different timeframes from students in different courses, the overlap of some
  of the information throughout his multiple courses, and his corroboration that he discussed the
  Sambia tribe’s prior practice in his General Psychology courses, OIE finds that there is sufficient
  evidence to support finding that during classes other than General Psychology, the Respondent
  periodically referenced the Sambia tribe’s practice wherein boys performed oral sex on older
  males in the tribe. However, the record is insufficient to make a finding that he talked about this
  practice like it was a fun fact. That said, OIE would note that during the November 27, 2018
  General Psychology lecture recording, although the Respondent taught the students about this
  practice in the manner he described, shortly after discussing this practice, the Respondent talked
  about how “semen is high in protein, it’s a protein drink.”

         11. Whether, during class, the Respondent alluded to his partner and ex-wife being
             swingers.

         Witness 121 alleged that during the 2018 Fall General Psychology course, the
  Respondent alluded to his partner and his ex-wife being swingers. 17 The Respondent denied
  ever making a statement of this nature to students.

           OIE’s review of the available audio recordings related to this course did not corroborate
  this allegation. Also, OIE communicated with 52 students from this particular semester, as well
  as students from multiple other semesters of the Respondent’s courses. None of the students
  other than Witness 121 alleged that the Respondent made a comment of this nature. Taking the
  record as a whole into consideration, OIE finds that there is insufficient evidence to support
  finding that during class, the Respondent alluded to his partner and ex-wife being swingers.

         12. Whether, during class, the Respondent frequently referred to himself being a nudist,
             and that on one occasion when he was talking about how nudity isn’t accepted in
             society, the Respondent stated that he wouldn’t mind if the class practiced nudity in
             the lecture hall.

          Witness 47 alleged that during the 2020 Spring Cross Cultural Psychology course, the
  Respondent frequently told students that he was a nudist and, on one occasion while talking
  about how nudity isn’t accepted in society, stated that he wouldn’t mind if the students practiced
  nudity in the lecture hall. See Witness 47 Interview Summary Statement & Witness 47’s JKRT
  Report #00047707.

         As set forth above, it is undisputed that, during the Respondent’s General Psychology and
  Cross Cultural Psychology courses, he told students that he identified as a nudist and visited a

  17
       A “swinger” is a person who engages in group sex or the swapping of sexual partners.

                                                            68
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 308 of 566 PageID 378




  beach for nudists in Florida. When asked about Witness 47’s allegation, the Respondent replied,
  “This is a distortion of what I said. The context of this – I’m giving them three criteria by which
  to judge whether a behavior is acceptable or not. One is cultural norms, and I walk through the
  pros and cons of this approach, with examples. I then talk about statistical deviation – the more
  unusual, statistically speaking, a behavior is the more likely it is that it is not acceptable and use
  an example of how few people own iguanas. The third criterion is behavioral functional analysis
  and the consequences of the behavior. You ignore whether it is culturally appropriate, and
  whether it is common. The example I give is shopping while naked. I may have said I am a
  nudist on one occasion or two. … I tell them that if I had a client that came in and said they were
  a nudist, and they were going to go shopping while naked, I would say I agree with you and that
  I’m a nudist, but there is a reality and consequences and you will get arrested. That is the
  context. When I said, ‘I’m a nudist,’ I said that if anyone in the class were to come into the class
  without clothes, I would call the police because you are violating legal and social norms, not
  because it would bother me personally them coming to class nude. It is not the case that I’m
  encouraging it or would get a thrill out of it.”

          OIE communicated with five students from the 2020 Spring Cross Cultural Psychology
  course (Witness 39, Witness 47, Witness 54, Witness 79 and Witness 93). Witness 47 was the
  only one of the five students to identify a discussion about nudity as problematic during the 2020
  course.

           Importantly, during OIE’s review of the Respondent’s 2019 Summer Cross Cultural
  Psychology audio recordings, the following discussion took place, which is consistent with the
  context described by the Respondent during his OIE interview: While discussing three standards
  by which you can evaluate whether a behavior or belief is normal (cultural norming, statistical
  deviation and behavioral functional analysis), the Respondent analyzed three situations
  (polygamy, drinking alcohol and shopping without clothes) under each standard. After analyzing
  the first two (polygamy and drinking alcohol), he then mentioned shopping while naked. He
  asked the class if anyone identified as a nudist. He went on and defined a nudist as someone
  who enjoyed going to a public area where clothing was optional. The Respondent shared that he
  identified as a nudist but did not make any comments similar to the one alleged by Witness 47.

          Taking the record as a whole into consideration, OIE finds that the context for the
  Respondent’s reference to not minding if any of the students were to come into the class without
  clothes was discussed in the context of explaining the three standards by which students can
  evaluate whether a behavior or belief is normal – namely, cultural norming, statistical deviation
  and behavioral functional analysis. The Respondent’s reference was that he would not
  personally be bothered by their nudity in the classroom as he identifies as a nudist, but the
  behavior would not be acceptable as it violates legal and social norms.




                                                    69
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 309 of 566 PageID 379




     13. Whether, during the 2018 Spring semester, the Respondent inquired as to the
         nature of the relationship between a male GTA and female GTA, and, after the male
         GTA covered one of the female GTA’s exams, told the male GTA that the female
         GTA “should do a lot more than that [take him out to dinner for covering the
         exam], if you know what I mean”, and he hoped the female GTA was compensating
         him but that it was “none of my business”.

          Witness 45, who was a GTA for the Respondent’s 2018 Spring General Psychology
  course, alleged that she requested that another GTA, Witness 151, cover for her with the
  Respondent’s final exam because she had an out-of-state trip on the exam date. Witness 45
  alleged that the Respondent asked about the nature of she and Witness 151’s relationship. Also,
  when Witness 151 advised the Respondent that Witness 45 was going to take him to dinner as a
  thank you for covering the exam, the Respondent stated, “She should do a lot more than that, if
  you know what I mean.”

          During his OIE interview, the Respondent did not recognize the names of Witness 45 or
  Witness 151 and was advised that they were previous GTAs for his course. The Respondent
  replied, “I don’t really remember the names of people who have served as GTAs for me.” When
  asked whether he inquired as to the nature of their relationship or, when Witness 151 covered an
  exam for Witness 45, told Witness 151 that Witness 45 “should do a lot more than that [taking
  him out for dinner for covering one of her exams], if you know what I mean” and he hoped
  Witness 45 was compensating him but that was “none of my business”, the Respondent denied
  “the whole thing” and indicated that the allegations were “a complete fabrication.”

          As part of the investigation, OIE also spoke with Witness 151. Witness 151 confirmed
  that he had served as a GTA for the Respondent’s General Psychology course during the same
  semester as Witness 45. Witness 151 shared that Witness 45 had an opportunity to go on a trip to
  Hawaii, and the only thing that was preventing her from going was her responsibility for the
  proctoring, grading, and entering of the Respondent’s final exam. Witness 151 explained that he
  and Witness 45 were friends so he offered to take over her final exam responsibilities so she
  could take the trip. Witness 45 and Witness 151 then discussed this arrangement with the
  Respondent, who agreed to Witness 151 covering the exam. Witness 45 then went on her trip.
  Witness 151 stated that the Respondent asked him why he was helping Witness 45 so much.
  Witness 151 responded that they were friends and lab mates. The Respondent then asked
  Witness 151 if they were dating. Witness 151 responded that they were not dating and were just
  friends. The Respondent replied that he hoped Witness 151 “was getting something for helping”.
  When Witness 151 responded that Witness 45 would take him to lunch or dinner, the Respondent
  said, “Really, that’s all? You should be getting a lot more than that.” Witness 151 explained to
  OIE that although the Respondent did not expressly state it, he was “clearly implying” that
  Witness 45 “owed me something sexual.” Witness 151 later told Witness 45 about this
  interaction.

         OIE also obtained copies of correspondence from the Respondent to Witness 151 and
  Witness 45 that further corroborates the allegations. Specifically, on April 28, 2018, the
  Respondent sent an email to Witness 151 and Witness 45 confirming that Witness 151 was
  covering tasks related to the General Psychology course. Specifically, the email stated, “Again,


                                                 70
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 310 of 566 PageID 380




  just so I know what is happening, [Witness 151] is ‘volunteering’ to (a) scan all the scantrons
  and (b) enter their scores in the Grade roster? Do you even access, [Witness 151], to my PSY
  2012 grade roster?” See Announcement – April 28, 2018 Message to Witness 151 & Witness 45.
  The following day, the Respondent sent an email to Witness 151 and Witness 45 that stated, “Hi,
  [Witness 151], Okay. So…now…we need to find a way that will allow you to have access to my
  grade roster. What are you doing, Wednesday, May 2nd at 10:30 a.m.? Could you have the
  scantrons scored that morning, and then in my office, at 10:30 a.m., while I’m there, you could
  enter them on my office computer? (I hope [Witness 45] is compensating you well for this!!!
  But…it’s none of my business…). Let me know. Thanks.” See Announcement – April 29, 2018
  Message to Witness 151 & Witness 45.

          Taking into consideration the record as a whole, including Witness 151’s corroboration
  of Witness 45’s allegations and the email evidence, as well as the Respondent’s complete denial
  of the matter despite clear documentary evidence, OIE finds that there is sufficient evidence to
  support finding that the during the 2018 Spring semester, the Respondent inquired as to the
  nature of the relationship between a male GTA and female GTA, and, after the male GTA agreed
  to cover one of the female GTA’s exams, told the male GTA that he “should be getting a lot
  more than” a lunch or dinner for covering the exam (implying that the female GTA owed a
  sexual favor to the male GTA), and then sent an email to the male GTA that stated, “I hope [the
  female GTA] is compensating you well for this!!! But…it’s none of my business…”

     14. Whether, during class, the Respondent said, “You may think you know a lot about
         sexual behavior but compared to me, you know jack!”

         Witness 161 (MK Climate Check Note) alleged that during the first day of class of the
  Respondent’s 2018 Fall Sexual Behavior course, he stated, “You may think you know a lot about
  sexual behavior but compared to me, you know jack!” The Respondent denied saying this or
  something of a similar nature.

          OIE did not have audio recordings of this class to review for corroboration of this
  allegation. Also, Witness 161 was the only student that shared this allegation in response to
  OIE’s outreach to students in this particular course. Twelve students responded, including
  Witness 161, but none of the other students identified this statement as having occurred. Taking
  the record as a whole into consideration, OIE finds that there is insufficient evidence that at the
  beginning of the 2018 Fall Sexual Behavior course, the Respondent said, “You may think you
  know a lot about sexual behavior but compared to me, you know jack!”

     15. Whether, during class, the Respondent referenced a website where people discussed
         their sexual fantasies or desires and shared that he was part of the website, which
         was described as a sexual hookup site.

          Witness 121 alleged that during the 2018 Fall General Psychology course, the
  Respondent referenced a website where people discussed their sexual fantasies or desires, and
  shared that he was part of this sexual hook-up website. The Respondent denied this allegation
  and stated, “That is a complete fabrication. Anyone who knows me knows, I’m about to turn 60



                                                  71
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 311 of 566 PageID 381




  and I am horrible at technology. I’ve heard of things like Grindr and other apps you can use but I
  don’t use them and don’t know how to use them.”

           OIE’s review of the available audio recordings related to this course did not corroborate
  this allegation. Also, OIE communicated with 52 students from this particular semester, as well
  as students from multiple other semesters of the Respondent’s courses. None of the students
  other than Witness 121 alleged that the Respondent made a comment of this nature. Taking the
  record as a whole into consideration, OIE finds that there is insufficient evidence to support
  finding that during class, the Respondent referenced a website where people discussed their
  sexual fantasies or desires and shared that he was part of the website, which was described as a
  sexual hookup site.

     16. Whether, during class, the Respondent told the students that some would say he was
         living the dream because he was in a room full of 18-year-old girls.

          The anonymous reporter in IL #818 alleged that during the 2011 General Psychology
  course, the Respondent told students that he was “living the dream because he was a 40 year old
  man in a room full of 18 year old girls.” Similarly, Witness 133 alleged that during the 2018 Fall
  General Psychology course, the Respondent stated that some would say he was living the dream
  because he was in a room full of 18 years old girls. Witness 95 made a similar allegation
  regarding this same course. The Respondent denied this allegation and stated, “No offense, but I
  don’t have much interest in women and girls and wouldn’t say that. It is a complete fabrication.”

          Although OIE did not have access to audio recordings related to the 2011 course, OIE dis
  have access and reviewed the available audio recordings related to the 2018 course. However,
  this review did not corroborate this allegation. Also, OIE communicated with 52 students from
  this particular semester, as well as students from multiple other semesters of the Respondent’s
  courses. None of the students other than the anonymous reporter, Witness 133 and Witness 95
  alleged that the Respondent made a comment of this nature. Taking the record as a whole into
  consideration, OIE finds that there is insufficient evidence to support finding that during class,
  the Respondent told the students that some would say he was living the dream because he was in
  a room full of 18-year-old girls.

     17. Whether, during class, the Respondent told students, “I’d have sex with some of
         you”.

           Witness 95, who participated in an OIE interview, alleged that during the 2018 Fall
  General Psychology course, the Respondent was discussing the psychology of different
  perspectives, and how there are cultural barriers in America that prohibit him from having sex
  with students. However, in some cultures (such as Middle Eastern cultures), that conduct is
  acceptable. During this discussion, the Respondent said, “I’d have sex with some of you.”
  Similarly, Witness 60, who was a student in the Respondent’s 2009 Fall Sexual Behavior and
  2010 Fall Cross Cultural Psychology courses, sent an email to the Provost alleging that during
  class, the Respondent once told class, “I’d have sex with some of you”. Witness 60 did not
  provide further context to this statement nor did she respond to OIE’s outreach. The Respondent
  denied this allegation and said, “I never have ever dated or wanted to date or wanted to have sex


                                                  72
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 312 of 566 PageID 382




  or tried to have sex with any student. I’ve had students of both sexes try to convince me to have
  sex with them and they are crazy – this is a complete fabrication.”

          OIE’s review of the available 2018 General Psychology course recordings did not reveal
  evidence corroborating this allegation. Also, as noted with other allegations related to this
  particular course and semester, OIE communicated with 52 students from this course, as well as
  students from multiple other courses, and Witness 95 and Witness 60 were the only two that
  shared this concern. Taking the record as a whole into consideration, OIE finds that there is
  insufficient evidence to support finding that, during class, the Respondent told students, “I’d
  have sex with some of you.”

     18. Whether, during class, the Respondent asked a female student whether “she wants
         to get fucked from the top side or bottom side.”

          An anonymous reporter from the Respondent’s Cross Cultural Psychology course alleged
  that an unidentified female student told the reporter that the Respondent asked her whether “she
  wants to get fucked from the top side or bottom side”. See Student Google Form – Anonymous.
  The Respondent denied having made that statement. There was no other evidence in the record
  supporting that a statement of this nature had been made by the Respondent. Accordingly,
  taking the record as a whole into consideration, including the anonymity of the reporter and the
  lack of corroboration, OIE finds that there is insufficient evidence to support finding that the
  Respondent made this statement.

     19. Whether, during class when discussing different body parts, the Respondent told
         students that women’s bodies were made for sex with men; and during his 2020
         Spring Sexual Behavior course, he told students that sex was for a man's pleasure
         and the woman’s purpose in sexual relations was impregnation.

           Witness 134 alleged that during the 2020 Spring Sexual Behaviors course, while
  discussing different body parts, the Respondent “said something like women’s bodies are made
  for sex with men and something like sex with a woman’s vagina is the best for a man.” Similarly,
  Witness 69 alleged that during that same course, the class was not conducive to open discussion
  and the Respondent “shut people down” when they felt differently or disagreed with him. As an
  example of this, Witness 69 shared that the Respondent told students how, biologically, sex is
  only fun for the man and is only made for a man’s pleasure. He said that women are not
  biologically made to enjoy sex and that a woman’s purpose in sexual relations is impregnation. A
  girl in the class disagreed with him. She pointed out that women have a clitoris which is a sexual
  organ which provides pleasure. When she said this, he basically argued with her that it is a
  scientific fact that sex is not meant to be pleasurable for women and just completely shut her
  down.”

         When asked about the alleged statement about women’s bodies being made for sex with
  men, the Respondent stated, “This is what this may be referring to, but the way it’s reported is
  wrong. The context is HIV infection, and according to the CDC, if a woman is having
  unprotected sex with a man who is HIV infected, she is 10 times more likely to contract HIV
  through anal sex than through vaginal sex. The anal tissue is not as flexible as vaginal tissue, and


                                                   73
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 313 of 566 PageID 383




  there is no natural lubrication. It’s not shocking; it’s toward the end of the semester and is very
  appropriate pedagogically. The vagina is meant biologically for sex unlike the anus.” When
  asked about the alleged statement that sex was for a man’s pleasure, the Respondent replied,
  “The only thing I can think of that approximates with that allegation is when I talk about the
  Kama Sutra, which is a book written by Hindus. I said that I’ve never read the Kama Sutra, and
  even though people say it’s like a sex manual, that critics say it’s a manual about how women
  can pleasure men. That’s the only thing I can recall that’s comparable to the allegation.”

           First, it is important to note that Witness 134 indicated that she had a vague recollection
  of the details of the course (“There were other comments but I can’t recall the exact
  comments.”), and although she recalled some information, she could not provide a lot of details
  or context despite her interview having occurred shortly after the semester at issue. Specifically,
  Witness 134 was interviewed by OIE on June 11, 2020. In contrast, Witness 69, who spoke with
  OIE on July 9, 2020, was able to provide detailed information about this class discussion.
  Witness 69’s description of the discussion varies substantially from the Respondent’s description
  of this conversation, particularly with regard to another student’s statement about women having
  a clitoris which is a sexual organ that provides pleasure. OIE finds that there also is consistency
  in how Witness 134 and Witness 69 described the discussion (although Witness 69 was able to
  provide more details).

          OIE spoke with 18 students, including Witness 134 and Witness 69, from this course. Of
  those students that responded to OIE’s outreach and were able to provide detailed information
  about the course (Witness 39, Witness 69, Witness 101, Witness 109, Witness 125 and Witness
  132), Witness 134 and Witness 69 were the only students that described this discussion and
  having a concern about the information therein. Taking the record as a whole into consideration
  (including the students’ lack of motivation to fabricate the allegation, the specificity that Witness
  69 provided, and the Respondent’s motivation to deny this allegation coupled with his lack of
  candor on some other statements attributed to him (see Consistency section above), OIE notes
  that this a close question on whether there is a preponderance of evidence. That said, OIE finds
  that there is sufficient evidence to support finding that during the 2020 Spring Sexual Behavior
  course, the Respondent told students that biologically, sex is only fun for the man and is only
  made for a man’s pleasure, women are not biologically made to enjoy sex, and a woman’s
  purpose in sexual relations is impregnation.

     20. Whether, during the 2020 Spring Sexual Behaviors course, the Respondent told the
         male students in the class, “So men when she orgasms, she’s urinating on you.”

          Witness 134 alleged that during the 2020 Spring Sexual Behavior course, the Respondent
  told students that women can ejaculate some urine-like substance during orgasm and said, “So
  men, when she orgasms, she’s urinating on you”.

          When asked about this allegation at his OIE interview, the Respondent stated, “Here’s
  what I said. The context is a discussion about the Gräfenberg spot (G-spot). I described where it
  is supposedly at, and how it supposedly has a high concentration of nerves. When that spot is
  stimulated, a woman has an orgasm and ejaculates. The chemistry of the liquid is similar to
  urine, and then I said, but not sure if I said this to the guys in the class, that when a woman is


                                                   74
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 314 of 566 PageID 384




  ejaculating, she may just be taking a pee. Something like that. It’s meant to be measured humor.
  It’s not to be discriminative or derogatory.”

          As indicated above, OIE spoke with 18 students from this course, and Witness 134 was
  the only student that made this allegation as set forth herein. Witness 69 (who was able to
  provide support to #19 above) did not reference this incident during her detailed interview. Also,
  as set forth above, Witness 134 indicated that she had a vague recollection of the details of the
  course (“There were other comments but I can’t recall the exact comments.”), and although she
  recalled some information, she could not provide a lot of details or context despite her interview
  having occurred shortly after the semester at issue. Taking the record as a whole into
  consideration, OIE finds that there is insufficient evidence to support finding that during the
  2020 Spring Sexual Behavior class, the Respondent told the male students in the class, “So men
  when she orgasms, she’s urinating on you.” Rather, as set forth by the Respondent, the more
  likely discussion was that the Respondent told the students that when a woman’s G-spot is
  stimulated and the woman has an orgasm and ejaculates, the chemistry of the liquid is similar to
  urine. The Respondent then said, that when a “woman is ejaculating, she may just be taking a
  pee”.

     21. Whether, during class, the Respondent told students that most people refer to
         women who sleep with a lot of men as “whores” and “sluts,” but “I just call them
         my best friends.”

          Witness 37 alleged that during the 2009 Psychology of Prejudice course, the Respondent
  joked that most people referred to women who slept with a lot of men as “whores” and “sluts,
  but I just call them my best friends”. In response to this allegation, the Respondent stated, “In
  my General Psychology class, 18 years ago maybe, I recall saying how society judges women
  who like sex, and how we have a double standard which is unfair to women, and we have
  derogative terms for women who like sex. I said you know what those terms are, but do not
  recall saying the terms myself. One semester I added that I have a name for them too. I call them
  friends, then moved on.” For similar reasons set forth above in reference to disputed fact #4,
  OIE finds that there is sufficient evidence to support finding that during the 2009 Psychology of
  Prejudice course, the Respondent joked with the students that most people refer to women who
  sleep with a lot of men as “whores” and “sluts, but I just call them my best friends”.

  Sex-Based Comments and Conduct
     22. Whether, during class, the Respondent referred to women and sex workers as
         “whores” or shamed sex workers by referring to them as “whores.”

          Witness 82 alleged that during the 2014 Fall Cross Cultural Psychology course, the
  Respondent used the word “whore” in reference to certain nationalities of women and their
  likelihood of turning to sex work. When asked about these allegations, the Respondent replied,
  “Number one, I deny the whole thing. I have no negative attitudes toward men or women who
  are prostitutes. I think prostitution should be legal as long as it’s consenting adults – I do say that
  in my Sexual Behavior class. What is reported, though, I deny.” OIE did not have access to
  recordings for this particular course nor other corroborating evidence to support that the
  Respondent made this statement in the 2014 course or other courses. Taking the record as a


                                                    75
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 315 of 566 PageID 385




  whole into consideration, OIE finds that there is insufficient evidence that the Respondent
  referred to women and sex workers as “whores” during class.

     23. Whether, during class, the Respondent said, “I bet their vagina hurts” or similar
         phrases, when men expressed disagreement with his lecture.

           Witness 137, who participated in an interview with OIE and submitted Integrity Line
  #877, alleged that she was a student in the Respondent’s 2019 Fall Cross Cultural Psychology
  course and that on several occasions in class, the Respondent “referred to a part of a woman’s
  anatomy when referring to men in disagreement with his ideas” or if someone’s feelings were
  hurt. With regard to comments about women’s body parts, such as “I bet their vagina hurts”, the
  Respondent allegedly used “this comment often. He would make these comments if someone’s
  feelings were hurt, though he only used the comment at one student on one occasion. More so, he
  would make the comment about whichever group we were learning about in class, similar to if
  someone were to make a comment about someone ‘being butt-hurt’, which I find similarly
  offensive. I can’t recall the specific dates and times when this comment was made, but I did not
  appreciate it when he would make this comment.” The Respondent denied this allegation and
  stated, “This is a total fabrication, and I’ve never used this comment in my life.”

          OIE did not have access to audio recordings of this course but did speak with 22 students
  that had been enrolled. Three students provided detailed information about their experience in
  the class, Witness 137 being one. The other two students (Witness 41 and Witness 150), did not
  provide information that corroborated Witness 137’s experience. In fact, Witness 41 stated that
  the Respondent had not made any “outright discriminatory” comments, but he did say “stupid
  things”. Witness 41 provided examples of the “stupid things” being related to ethnicity and race,
  as well as the Respondent being “biased in terms of looking down on anyone who believed in
  religion”. However, he denied that the Respondent made any “overtly sexual” comments.
  Witness 150 provided detailed allegations about her experience in the classroom, including that
  the Respondent engaged in repeated misconduct. However, Witness 150 did not identify the
  behavior described by Witness 137 as having occurred. Similarly, of the 22 students that
  responded to OIE’s outreach for this course, four students declined to participate, five indicated
  that they had a negative experience but did not provide detailed information (let alone an
  allegation of conduct as described by Witness 137), and the remaining ten students indicated that
  they did not have any concerns with how the course was conducted. Taking the record as a
  whole into consideration, OIE finds that there is insufficient evidence that during the 2019 Fall
  Cross Cultural Psychology course, the Respondent said, “I bet their vagina hurts” or similar
  phrases, when students disagreed with his lecture content.

     24. Whether, during class, the Respondent said that “it was in men’s nature to divorce
         their old wives and move onto a newer model”, and it was nauseating to even look at
         his former wife.

         The anonymous reporter in IL #880 alleged that during the 2015 Fall semester, the
  Respondent “said that it was in men’s nature to divorce their old wives and move on to a ‘newer
  model’. I remember plenty of my female classmates feeling offended after that lecture
  concluded.” Witness 42, who identified as having been the anonymous reporter in IL #880, told


                                                  76
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 316 of 566 PageID 386




  OIE that during the 2015 Fall Sexual Behavior course, the Respondent told students that it was a
  man’s instinct to leave his old wife and get a newer model. Witness 95 similarly alleged that
  during the 2018 Fall General Psychology course, the Respondent told students that it was a
  man’s nature to move onto a newer model (i.e., a younger significant other) and it was
  nauseating to even look at his former wife.

           In response to this allegation, the Respondent stated, “The first half of the statement
  about a newer model was somewhat close to what I have said in class since I cover some studies
  that found across many countries that heterosexual men want attractive wives, and women on
  average want men who are good providers. I deny the second half of the allegation about what I
  allegedly said about my ex-wife. I show a video in [the] Sexual Behavior [course] where a
  psychiatrist, who wrote a book about the Myth of Monogamy, reports that males across species
  like variety. That comes up in discussions in class. But the way this is being described sounds
  off. I don’t use the word ‘model’ since that implies that women are models. Many studies
  indicate that men may be biologically programmed for variety.”

          Of the more than 300 students spoken to by OIE, no other students alleged that the
  Respondent referenced it being in a man’s nature to move onto a “newer model” or that it was
  nauseating to even look at his former wife. Of the available audio recordings reviewed by OIE,
  including the 2018 General Psychology course, none contained a comment of this nature having
  been made. Taking the record as a whole into consideration, OIE finds that there is insufficient
  evidence to support finding that during class, the Respondent said that “it was in men’s nature to
  divorce their old wives and move onto a newer model” or that it was nauseating to even look at
  his former wife.

     25. Whether, during class, the Respondent told students that they were “weird” if they
         would allow an all-female construction team to build their house and an all-male
         daycare to look after their children, and that a man wanting to spend time with
         children was “inherently strange.”

          Witness 42 alleged that during the 2015 Fall Sexual Behavior course, the Respondent
  asked the students, “How many of you would let a woman build your house or let a man take
  care of your child.” When about ten students raised their hands, the Respondent said, “Well you
  guys are just weird. Most normal people would not allow a man to take care of their children.”
  These allegations were also set forth in IL #880, which was filed by Witness 42, wherein
  Witness 42 further stated, “In the end, I stopped going to his class altogether even though it was
  past the withdrawal date and I got a failing grade because damaging my GPA was preferable to
  hearing more of that man indoctrinating other students into his narrow, regressive mindset.”

         Witness 95 and Witness 40 alleged that during the 2018 Fall General Psychology course,
  the Respondent asked a similar question related to an all-female construction team and an all-
  male childcare team, called the students that raised their hands “weird” and further stated that
  they were weird “because a man wanting to spend time with children was ‘inherently strange’.”

         In response to this allegation, the Respondent stated, “That is a gross distortion of what I
  said, which is much more appropriate. I am covering gender roles in class, and so I said, ‘Here is


                                                  77
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 317 of 566 PageID 387




  a hypothetical question: What would you think if you were having a house built and you
  discovered that every single construction worker was a woman, and what would you think if you
  dropped off your child at a daycare the first time and noticed every employee was a male?’ They
  all say different things. All I am saying is this would be countercultural. I did not say anything
  about the students being weird. I may have said that consistent with our culture, many people
  would not feel comfortable going into a daycare and finding that every employee was a male. I
  don’t attack them and say they are weird or anything. I have never said anything about how a
  male wanting to spend time with children is strange, but back to the example of the daycare
  center, many parents would be concerned if there was a daycare center staffed by all men.”

          OIE’s review of the available audio recording of this course revealed that this discussion
  occurred within the context provided by the Respondent and did not include referencing the
  students as “weird” or stating that men wanting to spend time with children was “inherently
  strange”. Also, of the 52 students spoken to by OIE, Witness 95 and Witness 40 were the only
  students to make this allegation. Taking the record as a whole into consideration, OIE finds that
  there is sufficient information that, while discussing gender roles in class, the Respondent asked
  students about what they thought about having a house built by an all-female construction team
  or having their child cared for by an all-male daycare facility. However, there was insufficient
  information that, during this same discussion, the Respondent told students that they were
  “weird” if they were comfortable with this scenario or that men wanting to spend time with
  children was “inherently strange”.

     26. Whether, during class, the Respondent told female students that the only reason
         they ever dress up and put on make-up is for male attention.

          Witness 139 submitted an email alleging that prior to May 2018, the Respondent told
  female students that the only reason they ever dressed up and put on make-up was for male
  attention. Witness 139 declined to participate in an interview with OIE regarding her allegation.
  When asked about this allegation, the Respondent replied, “I guess there’s a context where I
  would have said this in my General Psychology course. When I cover Freud’s view that sex and
  aggression is the motivation behind all things, I give examples of things we do that might
  express our interest in trying to attract another person. I talk about working out at a gym,
  cosmetic surgery, and going to the store to pick out clothes rather than asking a clerk to provide
  them for us so we can find things that help us look attractive.” None of the other students with
  whom OIE spoke made an allegation similar to the one submitted by Witness 139. Taking the
  record as a whole into consideration, OIE finds that there is insufficient evidence to support
  finding that the Respondent told female students that the only reason they ever dress up or put on
  make-up is for male attention. Rather, the Respondent led a class discussion regarding things
  people do to attract another person, including improvements to one’s physical appearance.




                                                  78
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 318 of 566 PageID 388




     27. Whether the Respondent gave preference in his treatment of male students over
         female students, including saying that female students would not be able to keep up
         in the class, using the term “feminazi” in class, and upon seeing a student wearing a
         shirt that said, “THE FUTURE IS FEMALE”, laughed at the student and said,
         “Your shirt is a joke, right? Because it’s a man's world” and walked away.

          An anonymous reporter alleged that the Respondent preferred his male students over his
  female students and said that female students would not be able to keep up in his class. See
  Student Google Form – Anonymous. The anonymous reporter in IL #833, who identified as a
  former teaching assistant, alleged that the Respondent preferred male students over female
  students. Witness 111 alleged that during the 2017 Fall General Psychology course, the
  Respondent “usually called on guys first in class.” Similarly, Witness 92 alleged that during the
  2018 Fall Cross Cultural Psychology course, the Respondent called on males before females in
  class. Witness 134 alleged that the Respondent used the term “feminazi” during a 2020 Spring
  Sexual Behavior course. Witness 134 stated that the Respondent did not directly call someone
  this term, rather, he said that if people say “this” they are “feminazis”.

          The Respondent denied these allegations and stated, “My classes are majority women.
  My last three or four study abroad trips have been 100% women. I don’t know what they’re
  referring to. This is a very subjective appraisal on their part. Maybe since they know I’m gay,
  they are seeing things I don’t think are real.”

          Also, an anonymous reporter in IL # 864, who identified as a graduate student in the
  Psychology Department at UCF in February 2020, alleged that the reporter, “was wearing a
  black shirt that had white lettering. The lettering said, ‘THE FUTURE IS FEMALE’. I was
  talking to a friend outside of the faculty suite when [the Respondent] walked past me. I had never
  met him or seen him before (I had to ask the office assistant who he was after the encounter). He
  turned to me and said something along the lines of, ‘I’m pretty sure the future is male if you take
  a look at the government’ and then immediately laughed. In shock, I responded, ‘Excuse me?’.
  He then said, ‘Your shirt is a joke, right? Because it’s a man’s world’ then walked away.”
  During his OIE interview, the Respondent replied to this allegation as follows: “Unless I’m
  living a double life, I don’t ever remember this. I never initiate engagements with students.”

          Turning to the evidence in the record, with regard to IL #833, in support of the allegation
  regarding differential treatment, the reporter referenced the Respondent’s rejection of the
  reporter’s proposed dissertation topics. However, the reporter did not provide any comparator
  evidence to support differential treatment related to dissertation topics or any evidence
  supporting the allegation of preference for male students. Similarly, although students referenced
  that Respondent called on men more than women during class, this was not a claim that
  frequently appeared during discussions or reports to OIE. Rather, those that complained had a
  general allegation that, due to the manner in which the Respondent replied to students’
  disagreement with his lectures, many students did not feel empowered to participate during class
  and many students stopped participating. Also, this generalized allegation is difficult to assess
  without more specificity regarding the demographics of each course, time allotted for class
  discussion, and tracking of Respondent’s record of calling on students. As set forth above, OIE
  reviewed a number of class recordings during which the Respondent called on both male and


                                                  79
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 319 of 566 PageID 389




  female students. No noticeable discrepancy was observed during this review. Furthermore, no
  other students reported that the Respondent said that female students would not be able to keep
  up in his class.

           With regard to the term “feminazi”, which was alleged by Witness 134, no other students
  made this allegation, including the other 17 students that OIE spoke to from this course.
  However, as set forth in Section IV above (Material Facts Not in Dispute), the Respondent
  demonstrated disagreement with feminist ideas. Specifically, during his 2019 Summer course in
  Peru (see Recording), the Respondent discussed relativism vs. absolutism during which he
  mentioned a female student he previously had who identified as a feminist. He said this woman
  tried to promote feminism all she could and endorsed all of its ideas. He said that he told her that
  since everyone is equal, the next time she uses the bathroom and finds blood in the toilet, she
  should not call a doctor but instead should go and ask someone at Walmart. That said, the record
  did not contain any corroborating evidence of the Respondent having used the term “feminazi”
  during class. Accordingly, OIE finds that there is insufficient evidence to support finding that
  the Respondent used the term “feminazi” during class, exhibited preference for his male students
  over his female students (either through oversight of dissertation topics or calling on students
  during class), and said that female students would not be able to keep up in his class.

          With regard to the incident described by the anonymous reporter in IL #864, OIE notes
  that the reporter is anonymous, the reporter had to rely on an unknown witness to identify the
  Respondent, the basis of the unknown witness’ ability to identify the Respondent is unclear other
  than they were an “office assistant”, witnesses to the incident were not identified to provide OIE
  with an opportunity to make outreach, and the Respondent denied that the incident took place.
  On the other hand, the report contains very specific and detailed information about a limited
  interaction with the Respondent, one a student is more likely to recall than the Respondent who
  has interacted with thousands of students. Also, unlike other reports in this matter, the report was
  made relatively close in time to the date of the alleged incident. Since the evidence, at most, is
  even when considering the scales for preponderance of evidence, OIE finds that there is
  insufficient evidence in the record to support finding that in February 2020, upon seeing a
  student wearing a shirt that said, “THE FUTURE IS FEMALE”, the Respondent laughed at the
  student and said, “Your shirt is a joke, right? Because it’s a man's world” and walked away.

     28. Whether, during class, the Respondent belittled a female student because she said
         she had a high sex drive, replied that only men do and said that she was just weird.

          An anonymous reporter alleged that in 2017, the Respondent belittled a female student
  because she said she had a high sex drive, said that only men have a high sex drive, and she’s
  just weird. See Student Google Form – Anonymous. In response to this allegation, the
  Respondent stated, “One, I deny having said that. Two, that’s factually inaccurate. All people,
  man or woman, have testosterone, and it varies among people. Less testosterone means less
  libido, and higher testosterone means more libido.” None of the more than 300 students with
  whom OIE communicated with shared that the Respondent made a statement of this nature,
  including the eight individuals that had been enrolled in the Respondent’s 2017 courses (Witness
  87, Witness 88, Witness 141, Witness 72, Witness 83, Witness 111, Witness 127, and Witness
  144). Taking the record as a whole into consideration, OIE finds that there is insufficient


                                                   80
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 320 of 566 PageID 390




  evidence to support finding that the Respondent belittled a female student because she said she
  had a high sex drive, replied that only men do and said that she was just weird.

  Gender Identity/Expression-Based Comments
     29. Whether the Respondent inappropriately asked students to share their gender
         identity or sexual orientation.

          The anonymous reporter in IL #833 alleged that Respondent asked a teaching assistant to
  share their gender identity. The Respondent denied asking for personal information from
  students. OIE contacted the last two years of GTAs assigned to the Respondent, and none
  alleged that the Respondent had asked them to share their gender identity. Also, none of the over
  300 students that OIE spoke with alleged that the Respondent had inappropriately inquired about
  students’ gender identity. The record does show that the Respondent asked students to volunteer
  on the LGBTQ+ panel each semester but it was an invitation to the class to participate, and
  students could choose to participate and share both their gender identity and sexual orientation.
  Accordingly, taking the record as a whole into consideration, OIE finds that there is insufficient
  evidence to support finding that the Respondent asked students to share their gender identity in
  an inappropriate manner.

         The anonymous reporter in IL #833 made a similar allegation – namely, that the
  Respondent “asked about [a teaching assistant’s] sexual orientation.” Similarly, Witness 158,
  who was the Director of the Psychology Advising Center, alleged that the Respondent
  questioned people/students about their sexual orientation which “feels uncomfortable and
  invasive”. When asked if he ever asked students to share their own sexual orientation identities,
  the Respondent stated, “Just the LGBTQ+ panel – I would never ask that of anyone not on the
  panel.” For the reasons that there is insufficient evidence to support that the Respondent asked
  students to share their gender identity, there is insufficient evidence to support that the
  Respondent asked students to share their sexual orientation outside the context of the LGBTQ+
  panel activity.

     30. Whether the Respondent told students in class that “if you are born male, there is
         nothing you can do to not be male”; if someone identified as a transgender man,
         they are not a man, they are actually a woman; a man dressing as a woman is still a
         man; transgender was not an actual thing; people who are transgender have
         extreme body dysmorphia; “you can’t alter your body to become female and you
         can’t change your gender like that”; and, “the only thing that can help those who
         are trans is to learn to be the sex they were born with”.

          Witness 96, who submitted IL #783, alleged that during the Fall/Spring semester 2005-
  2006 General Psychology course, the Respondent repeatedly referenced transgender individuals
  in a negative way, such as, “if you are born male, there is nothing you can do to not be male”.
  Similarly, Witness 82 alleged that during the 2014 Fall Cross Cultural Psychology course, the
  Respondent “made fun” of transgender individuals, said that being transgender is “not a thing,”
  and “if you are born with a penis, you are a man and if born with a vagina, you are a woman”.
  Likewise, Witness 138 alleged that during the Spring 2015 Cross Cultural Psychology course,
  the Respondent told students that if someone was a transman, they are not a man, they are


                                                  81
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 321 of 566 PageID 391




  actually a woman. He also allegedly said that a man dressing as a woman is still a man, and that
  transgender was not “an actual thing”. Similarly, Witness 95 alleged that during the 2018 Fall
  General Psychology course, the Respondent told students that people who are transgender have
  extreme body dysmorphia, “you can’t alter your body to become female and you can’t change
  your gender like that”, and, the “only thing that can help those who are trans is to learn to be the
  sex they were born with”.

           In response to these allegations, the Respondent stated, “The whole thing is a fabrication.
  I never said any of that. … I acknowledge they [transgender individuals] exist, and it’s my best
  opinion based on other’s research that there is probably a biological element. I think transgender
  is a thing – I never said it wasn’t.” The Respondent also stated, “I don’t bring up transgender
  issues in General Psychology. I only bring transgender issues up in my Sexual Behavior course. I
  walk students through the surgery process, which suggests that people can change their anatomy.
  What was reported about statements I have allegedly made is a total fabrication.”

          OIE notes that there is consistency in the allegations among multiple students in different
  courses for different timeframes (2005-06, 2014, 2015 and 2018) and specificity with the
  allegations, which lends to the credibility of the allegations. The record also lacks evidence of
  these students having a motivation to fabricate allegations whereas the Respondent has
  motivation to lie (i.e. protect his status as a faculty member and his reputation) and has
  demonstrated inconsistency in some of the information provided during his OIE interview (see
  Consistency section above). On the other hand, OIE reviewed recordings from the Respondent’s
  courses, including some from the 2018 General Psychology course, and did not hear the
  Respondent make statements of this nature, including that “transgender is not a thing”. Also, the
  Respondent denied making these statements and claimed that he did not discuss transgender
  issues during the courses identified by the witnesses. Aside from the four students that made
  these allegations, none of the other students that OIE communicated with identified these
  problematic transgender comments, which included 54 other students from the courses identified
  by these witnesses. Also, the four witnesses could not corroborate each other’s experiences
  because they were enrolled in four separate courses. Taking the record as a whole into
  consideration, OIE finds the consistency of the allegations among students from different courses
  and timeframes, the detailed nature of the information provided, and the Respondent’s noted
  inconsistencies to be persuasive. According, OIE finds that there is sufficient evidence to
  support finding that the Respondent told students that “if you are born male, there is nothing you
  can do to not be male”; if someone identified as a transgender man, they are not a man, they are
  actually a woman; a man dressing as a woman is still a man; transgender was not an actual thing;
  people who are transgender have extreme body dysmorphia; “you can’t alter your body to
  become female and you can’t change your gender like that”; and, “the only thing that can help
  those who are trans is to learn to be the sex they were born with”.

     31. Whether the Respondent told students in class that “those who are gender fluid are
         ‘mindless sheep’”.

         Witness 133 alleged that during the 2018 Fall General Psychology course, the
  Respondent told students that individuals who claim to be gender fluid are “mindless sheep.”
  Similarly, the anonymous reporter in IL #785 alleged that they had reviewed the Respondent’s


                                                   82
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 322 of 566 PageID 392




  Twitter posts and ratemyprofessor.com, which showed that the Respondent “called those who are
  gender fluid ‘mindless sheep’”.

           The Respondent denied having referred to individuals that identify as gender fluid as
  “mindless sheep.” The Respondent also denied discussing this subject during General
  Psychology. Rather, he discussed being gender fluid in his Sexual Behavior course and shared
  that he and a researcher at UCLA had “talked about how many young adults are claiming to be
  gender fluid, and that there has been an increase in this during the past few years. We don’t know
  if that has to do with greater freedom to claim that or if it’s vogue to claim that, and we need to
  have future studies to determine if it is a real phenomenon or a fad that is occurring right now.”

         OIE’s review of the available 2018 General Psychology course recordings did not reveal
  the Respondent referring to individuals as “mindless sheep” if they identified as gender fluid.
  Also, Witness 133 was the only student that reported this conduct during OIE’s outreach to over
  300 students. Taking the record as a whole into consideration, OIE finds that there is insufficient
  evidence to support finding that the Respondent told students that individuals who identified as
  gender fluid were “mindless sheep”.

     32. Whether the Respondent told students that individuals that identified as gender-
         neutral or non-binary were “lost”, “most young people [were] confused about that
         kind of stuff”, and “transgender people [were] mentally ill”.

          The anonymous reporter in IL #833 alleged that when they mentioned that they thought
  they were gender-neutral or non-binary, the Respondent replied, “[S]he’s lost and said most
  young people are confused about that kind of stuff it doesn’t surprise me he would also go on to
  say that transgender people are mentally ill.” The report in IL #833 did not provide a timeframe
  for the alleged conduct nor identify any witnesses. Witness 95 also alleged that during the 2018
  Fall General Psychology course, the Respondent told students that transgender people are
  mentally ill and individuals that identify as non-binary “are just confused”. The Respondent
  denied having said made these statements and referenced his discussion with the UCLA
  researcher (see disputed fact #31 above). OIE’s review of the available 2018 General
  Psychology course recordings did not reveal that the Respondent made the alleged statements.
  Taking the record as a whole into consideration, OIE finds that there is insufficient evidence to
  support finding that the Respondent told students that individuals that identified as gender-
  neutral or non-binary were “lost”, “most young people [were] confused about that kind of stuff”,
  and “transgender people [were] mentally ill”.

     33. Whether, during class, the Respondent told students that transgender individuals
         were identifying as such “for attention” and that some transgender individuals were
         “not really trans”; as well as that transgender children are “confused” and
         pressured by their parents to be transgender so that they would feel more special,
         and people only are transgender because they want to feel special.

         Witness 140 alleged that during the 2018 Fall Cross Cultural Psychology course, the
  Respondent told students that transgender people were just doing it for attention and some
  transgender individuals were not transgender. Similarly, Witness 162, who participated in an


                                                  83
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 323 of 566 PageID 393




  OIE interview, submitted an anonymous IL report (#827), and was a student in the Respondent’s
  2019 Fall Personality Theory and Research course, alleged that “[o]ne time during a lecture, [the
  Respondent] stated that transgender people were coming out for attention and that some trans
  people are not really trans.” The Respondent then allegedly stated that “attention seeking is a
  mental illness.” The Respondent’s statements caused Witness 162 to withdraw from the class as
  they identified as transgender and no longer felt welcome in the class. Witness 69 alleged that
  during the 2020 Spring Sexual Behavior course, the Respondent told students that transgender
  children were “confused”, the children were pressured by their parents to be transgender so that
  the child would feel more special, and people only are transgender because they want to feel
  special. Also, the anonymous reporter in IL #976, who did not provide a timeframe for their
  interaction with the Respondent, alleged that while the Respondent identifies as “a member of
  the LGBTQ community, he is only respectful of his own experience as a white bisexual man but
  talks down on other types of people like queer and transgender folk.”

           In response to allegations that he said transgender individuals were identifying as such
  for attention and some were “not really trans”, the Respondent indicated, “I never said that – as I
  mentioned, it’s possible that gender fluid is a fad to some extent, and I’ve shared that with
  students, and future studies will have to explore this.” In response to allegations that he said that
  transgender children were “confused” and pressured by their parents to be transgender so that
  they would feel more special, and people only are transgender because they want to feel special,
  the Respondent stated, “I tell them that there is a growing body of clinical anecdotes both in
  England and in the US that children who seem to be manifesting the opposite gender interests
  with parents who want to be sensitive to the transgender phenomenon, these parents have almost
  encouraged these kids to accept that they will be transgender and take them to therapists who
  further reinforce that they are transgender. There are then clinical results that show that the bulk
  of these kids end up simply being gay, not transgender. Because it’s a trend to be talking about
  transgender people today and accepting them, parents are prematurely encouraging a transgender
  lifestyle, possibly for the parents’ own reasons. Let the kids be who they want to be and let them
  figure out who they really are. That’s what I really say about that.” The Respondent also denied
  that he referred to transgender individuals as “confused”, and indicated that he told students that
  “the parents are confused more than the kid.”

          OIE notes that there is consistency in the allegations among multiple students in different
  courses for different timeframes (2018, 2019 and 2020) and specificity with those allegations
  (particularly the impact of the statements causing Witness 162 to withdraw from the course),
  which lends to their credibility. The record also lacks evidence of these students having a
  motivation to fabricate allegations whereas the Respondent has motivation to lie (i.e. protect his
  status as a faculty member and his reputation) and has demonstrated inconsistency in some of the
  information provided during his OIE interview (see Consistency section above). On the other
  hand, OIE reviewed recordings from the Respondent’s courses and did not hear the Respondent
  make statements of this nature. That said, none of the recordings reviewed pertained to the three
  witnesses’ identified courses. Also, the Respondent denied making these statements and claimed
  that he did not discuss transgender issues during two of the courses identified by the witnesses
  (Cross Cultural Psychology and Personality Theory). Aside from the three students that made
  these allegations, none of the other students that OIE communicated with identified these
  problematic transgender comments. Also, the three witnesses could not corroborate each other’s


                                                   84
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 324 of 566 PageID 394




  experiences because they were enrolled in three separate courses. Taking the record as a whole
  into consideration, OIE finds the consistency of the allegations among students from different
  courses, the detailed nature of the information, the shorter timeframe between the alleged
  misconduct and report to OIE and the Respondent’s noted inconsistencies to be persuasive.
  According, OIE finds that there is sufficient evidence to support finding that the Respondent told
  students that that transgender individuals were identifying as such “for attention” and that some
  transgender individuals were “not really trans”; as well as that transgender children are
  “confused” and pressured by their parents to be transgender so that they would feel more special,
  and some people only are transgender because they want to feel special.

     34. Whether, during class, the Respondent told students that if someone wanted to cut
         off their arm or another body part, we would think it was crazy so why do we think
         it is okay for transgender people to do it.

          Witness 140 alleged that during the 2018 Fall Cross Cultural Psychology course, the
  Respondent told students that if someone wanted to cut off their arm or another body part, we
  would think it was crazy so why do we think it is okay for transgender people to do it. The
  Respondent indicated that he “never said this.” OIE’s review of class recordings did not reveal
  the Respondent having made a statement of this nature. Also, no other students made allegations
  of this nature to OIE, including the 15 other students from this course that OIE communicated
  with regarding their experience. Also, it is important to note that, as set forth above (#30 and
  #33), students shared multiple allegations related to the Respondent’s comments pertaining to
  transgender individuals, but did not indicate that the Respondent had made a statement of this
  nature. Taking the record as a whole into consideration, OIE finds that there is insufficient
  evidence to support finding that the Respondent told students that if someone wanted to cut off
  their arm or another body part, we would think it was crazy so why do we think it is okay for
  transgender people to do it.

  Sexual Orientation-Based Comments
     35. Whether, during class, the Respondent used the term “fag”, including referring to
         himself as a “fag”, and said “you can call me a fucking fag, but it doesn’t mean
         racism is real.”

          Witness 88 alleged that during either the 2016 Spring Sexual Behavior course or the 2017
  Fall Cross Cultural Psychology course, the Respondent referred to himself as a “fag” or “faggot”.
  Witness 144 alleged that during the 2017 Spring Cross Cultural Psychology course, the
  Respondent told students on the first day of class that he used to have a wife and “now I am a
  fag”. Witness 95 alleged that the Respondent made a similar comment during the 2018 Fall
  General Psychology course. Witness 140 alleged that during the 2018 Fall Cross Cultural
  Psychology course, the Respondent told students, “You can call me a fucking fag but doesn't
  mean racism is real”. Also, Witness 115 alleged that during the 2019 Spring General Psychology
  course, the Respondent used the terms “fag”, “fucking homosexual”, and “fucking lesbian”.

          In contrast, Witness 1, who was a student in the Respondent’s 2019 Spring Cross Cultural
  Psychology course, stated that the Respondent may have used the term “fag” or “faggot” and if
  he did, it was not in a derogatory way. Witness 1 stated that he might have heard the Respondent


                                                  85
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 325 of 566 PageID 395




  use the term “fucking homosexual,” but it would have been a rephrase or quote of someone else.
  Witness 1 shared that he identified as gay and did not take any offense to the terminology that
  the Respondent used during the course. Similarly, Witness 41, who was a student in the 2019
  Fall Cross Cultural Psychology course, stated that the Respondent did not use terms like
  “faggot.”

          In his OIE interview, the Respondent stated, “Someone in the letter [OIE Notice of
  Investigation] said I used the word f-a-g and I’ve never used this, nor the word faggot.” The
  Respondent denied ever using the term “fag” in class. The Respondent stated, “I never even use
  that term in my personal life.” As to the allegation that he said “you can call me a fucking fag,
  but it doesn’t mean racism is real” during his 2018 Fall Cross Cultural Psychology course, the
  Respondent stated, “The whole thing is nonsense. Racism is real. What we can debate, and I’m
  willing to in my classes, is the extent to which racism permeates our culture and holds people
  back. This whole comment is fabrication.”

          Turning to the recordings that OIE reviewed (see 2019 Peru R – 9), OIE noted that when
  the Respondent talked about how Whites were not the only group that had racists and how he
  believed racism from other groups is ignored, a female student asked why some groups are
  permitted to be racist. The Respondent replied asking, “Are you not aware that Black and
  Hispanics can make disparaging remarks openly about whites and no one seems to want to
  condemn them. Are you familiar with the Covington Kids?” (See footnote 15). When the student
  indicated that she was aware of the incident, the Respondent replied, “Okay does that not register
  with you that here in open space in Washington D.C., a group of crazy Black men who belong to
  some crazy group were calling White kids faggots…called them in front of other, a mix group of
  people, tourists, look at those faggots, look at those incest babies, look at those future school
  shooters, and no one turned to these Black individuals and say what the hell are you doing, stop
  being so racist.” (Emphasis added.) Of the recordings reviewed by OIE, this was the only
  instance in which the Respondent used the term “faggots” and it was within the context of
  describing what had occurred with the Covington high school students.

           OIE notes that there is consistency in the allegations among multiple students in different
  courses for different timeframes (2016, 2017, 2018 and 2019), which lends to their credibility.
  As set forth above, the record lacks evidence of these students having a motivation to fabricate
  allegations whereas the Respondent has motivation to lie and has demonstrated inconsistency in
  some of the information provided during his OIE interview (see Consistency section above),
  including specifically whether he ever used the term “faggot” in the classroom. In his OIE
  interview, the Respondent emphatically denied ever using the terms “fag” and “faggot” both
  inside and outside the classroom. Yet, the 2019 recording showed that he was willing to use the
  term in the limited nature of describing the conduct that triggered the Covington incident. That
  said, although these five students alleged that he used the term, two students (in different
  courses) denied that he had done so and the remaining students that OIE communicated with did
  not identify these problematic terms as having been used by the Respondent in the classroom.
  Also, the five witnesses could not corroborate each other’s experiences because they were
  enrolled in five separate courses. Taking the record as a whole into consideration, OIE finds the
  consistency of the allegations among students from different courses, the detailed nature of the
  information, and the Respondent’s noted inconsistencies, particularly with regard to use of these


                                                   86
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 326 of 566 PageID 396




  terms, to be persuasive. According, OIE finds that there is sufficient evidence to support finding
  that the Respondent used the term “fag” and “faggot” in the classroom, including referring to
  himself as a “fag”. However, there is insufficient evidence to support finding that the
  Respondent told students in the 2018 Fall Cross Cultural Psychology course, “You can call me a
  fucking fag but doesn't mean racism is real” as there was no corroboration of this phrase in the
  record.

     36. Whether, during class, the Respondent told students that, due to him now being
         married to a man, he was going to hell because he was a sinner.

         Witness 121 alleged that during the 2018 Fall General Psychology course, the
  Respondent told the students during the first class that he grew up in a “normal” household, then
  married a woman, and now is married to a man so he’s “going to hell because he’s a sinner”. In
  response to this allegation, the Respondent stated, “No, I don’t think I said that. It was an off-
  handed humorous comment if I said it. I wouldn’t put it past me. If I said it, and I don’t
  remember saying it, it would be a passing silly comment.” Taking the record as a whole into
  consideration, including that OIE’s review of the 2018 Fall General Psychology recordings did
  not reveal the Respondent having made this statement and no other students identifying this
  comment of concern, OIE finds that there is insufficient evidence to support finding that the
  Respondent told students in his 2018 Fall General Psychology course that, due to him now being
  married to a man, he was going to hell because he was a sinner.

     37. Whether the Respondent told students that lesbians did not have a big “sexual
         appetite” and a student was weird for being sexually active because “lesbians don’t
         have a lot of sex”.

          The anonymous reporter in IL #833 alleged that the Respondent told an unidentified
  teaching assistant at an unknown timeframe “that lesbians did not have a big ‘sexual appetite’
  and that for someone like me to have sex as often as I do is an anomaly he would also go on to
  say that he would want to do a study on my ‘type of lesbian’ because it has to be so rare that
  someone had a sexuality like mine. He would use the excuse that he was a gay man in order to
  put down my sexual identity.” Similarly, Witness 135, who was a student enrolled in the
  Respondent’s 2014 Fall Sexual Behavior and 2015 Spring Cross Cultural Psychology courses,
  alleged that the Respondent told one of her “queer friends that she was weird for being sexually
  active because ‘lesbians don’t have a lot of sex’”. See Email – Witness 135 6-4-2020. Although
  Witness 135 initially agreed to speak with OIE further about her allegation, she ultimately chose
  not to participate in the investigation. With the exception of Witness 135, none of the more than
  300 students that OIE communicated with claimed that the Respondent had made a statement of
  this nature.

          As to these allegations, the Respondent stated, “This is a gross distortion of what I said.
  In the context of covering testosterone, I give lots of data in that lecture that seems to explain sex
  drive, such as studies of monkeys and people in prison populations. Studies have shown based on
  self-reported information that the couples who have the most sex are gay men, followed by
  heterosexual couples, followed by lesbian couples. I say to them that we’ll come back to this
  point after we cover the studies. At the end I say what we should conclude is that testosterone


                                                   87
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 327 of 566 PageID 397




  controls the sex drive, and then I put the slide back up with the order of couples who have the
  most sex to the least, and I say the studies probably explain this data.” Taking the record as a
  whole into consideration, including the anonymity of one reporter, the lack of participation by
  the identified witness, and the lack of corroboration by those that did participate in OIE’s
  process, OIE finds that there is insufficient evidence to support finding that the Respondent told
  students that lesbians did not have a big “sexual appetite” and a student was weird for being
  sexual active because “lesbians don’t have a lot of sex”.

     38. Whether, during a class panel, the Respondent attempted to mislabel a student’s
         sexual orientation.

          The anonymous reporter in IL #847 alleged that during the Respondent’s 2019 Fall
  Sexual Behavior course LGBTQ+ panel activity, the Respondent asked four students to
  participate and answer questions from the class “about the LGBTQ+ community, their
  sexualities, and experiences as a LGBTQ+ individuals. Despite [the Respondent] being bisexual
  himself (so he had proclaimed), he proceeded to invalidate a bisexual girl who agreed to be on
  the panel because she said she ‘had a preference towards girls.’ He asked ‘so you’re a lesbian
  then?’ She said ‘no, I’m bisexual.’ He said ‘but you just said you like girls more.’ Another
  bisexual girl on the panel spoke up against him, saying that the other girl’s identity was still
  valid. He quickly shut her down and moved on to the next question. He was very rude and
  unprofessional about the exchange.” Witness 106 provided a similar description of this panel
  discussion. This incident was similarly reported by an anonymous reporter on the Student
  Google Form. See Student Google Form – Anonymous.

          In response to this allegation, the Respondent stated, “It never happened. I’m bisexual, I
  just now have a husband. It’s a valid phenomenon. I know gay people and heterosexual people
  who deny that bisexual people exist. The literature supports the existence of bisexual people. I
  am one of them.” It is possible that Witness 106 is the anonymous reporters for the Integrity
  Line report and Student Google Form rather than there being three separate reporters of this
  incident. OIE also spoke with 13 students from the 2019 Fall Sexual Behavior course, including
  Witness 106, and none of the other students reported this panel activity as having been
  problematic. Taking the record as a whole into consideration, OIE finds that there is insufficient
  evidence to support finding that the Respondent attempted to mislabel a student’s sexual
  orientation during the 2019 Fall Sexual Behavior LTBTQ+ panel activity.

     39. Whether, during class, the Respondent stated that bisexual people are bisexual just
         because they wanted to have sex with a lot of people.

          Witness 88 alleged that during the 2016 Spring Sexual Behavior course, the Respondent
  told students that bisexual people were bisexual because they “wanted to have sex with a lot of
  people”. In response to this allegation, the Respondent stated, “I have never said this.” No other
  students shared an allegation of this nature with OIE and none of the recordings reviewed by OIE
  resulted in this statement having been corroborated. Taking the record as a whole into
  consideration, OIE finds that there is insufficient evidence to support finding that the Respondent
  stated that bisexual people are bisexual just because they wanted to have sex with a lot of people.



                                                  88
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 328 of 566 PageID 398




     40. Whether, during class, the Respondent told students that gay individuals were the
         source of AIDS, and that gay individuals at the start of the AIDS epidemic were
         dirty and that is why they got AIDS.

          Witness 95 alleged that during the Respondent’s 2018 Fall General Psychology course,
  the Respondent told students that gay individuals were the source of AIDS, gay people were
  more likely to have AIDS, and that gay individuals at the start of the AIDS epidemic were dirty
  and that is why they got AIDS. The Respondent stated, “There have been some semesters in
  General Psychology where I covered STIs, but I don’t in most General Psych courses. I do cover
  HIV, and it is a fact that HIV in the U.S. originated with male gays, but the other things that were
  elaborated on I did not say. I did not refer to gay individuals as dirty.” OIE’s review of the
  available 2018 General Psychology recordings did not provide corroborating evidence, and no
  other students made an allegation of this nature in communications with OIE. Accordingly,
  taking the record as a whole into consideration, OIE finds that there is insufficient evidence that
  the Respondent told students that gay individuals were the source of AIDS, and that gay
  individuals at the start of the AIDS epidemic were dirty and that is why they got AIDS.

  Disability-Based Comments
     41. Whether, during class, the Respondent told students that mental health issues were
         a “defect”, someone with post-traumatic stress disorder (PTSD) was “weak”, and
         people with mental health issues, like PTSD, are inherently weaker than those
         without mental health issues.

          The anonymous reporter in IL #805, who identified as having been enrolled in the
  Respondent’s 2017 Fall Cross Cultural Psychology course, alleged that the Respondent said that
  “having mental health issues is a defect and that someone with a disorder like PTSD is weak.”
  Similarly, Witness 111 alleged that during the 2017 Fall General Psychology course, the
  Respondent told students that people with mental disorders have a “defect.” In response to these
  allegations, the Respondent stated, “I have no training in PTSD, so I never talk about it. I stay
  close to what I’m trained on. Everybody has emotional challenges every now and again, some
  more than others; we are all humans. What was reported I said is totally a fabrication.”

          OIE reviewed the available recordings pertaining to the Respondent’s 2018 General
  Psychology and 2019 Cross Cultural Psychology courses which did not reveal the Respondent
  having made a comment of this nature. Although these were not the specific classes identified
  by the anonymous reporter in in IL #805 or Witness 111, if this was part of the Respondent’s
  typical lecture, it likely would have appeared in the recordings reviewed. Equally important, no
  other students that communicated with OIE described the Respondent as having made comments
  of this nature. Accordingly, taking the record as a whole into consideration, OIE finds that there
  is insufficient evidence to support finding that the Respondent told students that mental health
  issues were a “defect”, someone with post-traumatic stress disorder (PTSD) was “weak”, and
  people with mental health issues, like PTSD, are inherently weaker than those without mental
  health issues.




                                                  89
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 329 of 566 PageID 399




     42. Whether, during class, the Respondent referenced his ex-wife and former sister-in-
         law as examples of individuals as having mental health disorders.

          Witness 126, who submitted IL #904 and participated in an OIE interview, alleged that,
  during the 2010 Spring General Psychology course, the Respondent referenced his ex-wife and
  former sister-in-law as examples of individuals who had mental health disorders. The
  Respondent told OIE, “I never shared anything about my wife or sister.” As set forth herein, OIE
  reviewed multiple recordings pertaining to the Respondent’s courses. In none of these
  recordings did the Respondent reference that his ex-wife and former sister-in-law had mental
  health disorders. However, at the beginning of one of the recordings (2019 CCP Recording
  20190101013334-015), the Respondent said, “Ok so, I think I was in the middle of telling you, I
  think I was telling you about my ex-sister-in-law.” He then discussed the negative messaging in
  television commercials related to parents. There is no further reference to his ex-sister-in-law.
  Also, no other students shared that a comment of this nature had been made by the Respondent.
  Although this recording certainly calls into question the Respondent’s statement that he never
  shared anything about his wife and sister, without the substance of what had been discussed in
  regard to his ex-sister-in-law, no corroborating evidence, and a long delay between the alleged
  incident and reporting, the current record has insufficient evidence to support finding that the
  Respondent referenced his ex-wife and former sister-in-law as examples of individuals as having
  mental health disorders.

     43. Whether, during class, the Respondent told students that people with autism will
         not amount to anything and aren’t capable of achieving anything.

          An anonymous reporter in the Student Google Form alleged that during the 2014 Fall
  semester, the Respondent told students that people with autism will not amount to anything and
  aren’t capable of achieving anything. See Student Google Form – Anonymous. Similarly, Witness
  163 alleged in an email to the University that the Respondent told students in either 2017 or 2018
  that “autistic individuals would never be able to live independently”. See Email – Witness 163 6-
  12-2020. During OIE’s discussion with Witness 163, she acknowledged that she had never been
  a student in one of the Respondent’s courses and her allegation was based on information
  provided to her by her boyfriend who had taken a course with the Respondent and what she had
  read on the Respondent’s Twitter page. See Phone Log 6-30-2020 Witness 163.

          In response to these allegations, the Respondent stated, “For five years, I had worked as a
  clinical psychologist specifically testing and diagnosing people with autism. … Up to 75-80%,
  based on studies, of everyone who has an autistic diagnosis also has the diagnosis of cognitive
  impairment. Their level of cognitive impairment varies from light, to moderate, to severe, to
  profound. I tell the class that any person that has the dual diagnosis of autism and cognitive
  impairment, the vast majority will always need adult supervision in their lives. I worked in a
  school and in a community mental health center. In the school setting, I pulled students out of
  class to determine if they were autistic and whether they had cognitive impairment. While at the
  community center, down the road, the same students that I diagnosed in the schools, once they
  turned 21, were turned out of the school and the parents were looking for services since the adult
  kids can’t function on their own. I evaluated them again and confirmed again they had autism
  and some level of cognitive impairment, and it’s just a fact. I know it doesn’t sit well with the


                                                  90
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 330 of 566 PageID 400




  students, especially if they have autistic relatives – and I do. The majority of people with autism
  and a cognitive impairment will have to have adult supervision. I’ve had students in the past who
  have wanted to work with autistic kids who are very discomforted to hear that, and they
  complain, but I’m entitled to share my clinical experience and the research on this area. What
  someone has reported I said is derogatory and judgmental and insulting, and that’s not what I
  said.”

          As set forth in Section VI (Material Facts Not in Dispute) above, OIE’s review of the
  August 28, 2018 General Psychology class recording revealed that the Respondent showed a
  video related to beliefs and said that he wanted to discuss autism. He then said, “We had autistic
  people and Asperger’s syndrome. Speaking of IQs, they tend to be in the normal range. About 75
  to 85% of individuals with autism also have what we used to call mental retardation. It is now
  called cognitive or intellectual impairment. 75-80 have some level of that. If you let me use old
  terms, it is not correct but I am not being nasty. Autism is a social retardation. They vary. Some
  have mental retardation as well. … The interventions might do some things like stop the
  outrageous behaviors like head banging. But helping them to become an average functioning
  adult is never going to happen.”

          Taking the record as a whole into consideration, include the anonymity of one of the
  reporters, the second-hand information provided by Witness 163, the delay between the alleged
  incident and report, and the Respondent’s detailed description of the context of his discussions
  regarding individuals with autism, OIE finds that there is insufficient evidence to support finding
  that the Respondent told students that people with autism will not amount to anything and aren’t
  capable of achieving anything.

     44. Whether, during class, the Respondent equated Spanish-speaking adolescents to
         individuals with learning disabilities.

          Witness 53 alleged that during the 2019 Summer Sexual Behavior course, the
  Respondent equated Spanish-speaking adolescents to individuals with learning disabilities. In
  response to this allegation, the Respondent replied, “Never. That’s not factually accurate, either.”
  OIE’s review of class recordings did not reveal any statements of this nature and none of the
  other approximately 300 students that communicated with OIE made an allegation of this nature.
  Taking the record as a whole into consideration, including the lack of corroboration, OIE finds
  that there is insufficient evidence to support finding that the Respondent equated Spanish-
  speaking adolescents to individuals with learning disabilities.

     45. Whether, during the 2014 Fall semester, the Respondent refused to implement a
         disability-related accommodation approved by Student Accessibility Services (SAS).

          Witness 82, who submitted IL #868 and participated in an OIE interview, alleged that
  during the 2014 Fall Cross Cultural Psychology course, the Respondent refused to allow her to
  have access to his class notes as part of her disability-related approved accommodations.
  Specifically, Witness 82 stated that SAS approved her to receive the following accommodations:
  enlarged print on exams, taking the exam in a separate environment (SDES), extended time,
  access to professor’s notes and having a student note-taker. She alleged that she visited the


                                                   91
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 331 of 566 PageID 401




  Respondent in his office to discuss her accommodations with him. The Respondent agreed to all
  of them except granting her access to his class notes. She alleged that he told her, “I don’t give
  out my notes.” When Witness 82 replied that “it’s the law”, the Respondent allegedly looked at
  her and said, “I don’t do that.” She continued to point out that denying a student an
  accommodation with a documented disability was against the law, and the Respondent replied, “I
  don’t do that. Is there anything else I can help you with?” Once again, Witness 82 pointed out
  that denying any student with a documented disability is against the law. With “a smug look on
  his face”, the Respondent allegedly made a statement about having tenure, which discouraged
  Witness 82 from following up with anyone regarding the accommodation. Witness 82 stated that
  she did not argue with the Respondent anymore as she “did not think it was worth it.” She stood
  up and as she was walking out of his office, the Respondent stated, “Good luck.”

          The Respondent stated, “That never happened. I know by law they are entitled to these
  services, and the only thing I can think of is that there have been a few times that the office
  wanted me to provide a transcript of the videos that I show for the hearing impaired, and I have
  resisted and said, ‘don’t you guys get paid to sit down and transcribe those videos?’ But not
  complying? Never.”

          OIE contacted SAS, who confirmed that they did not have any records related to the
  Respondent not implementing accommodations for Witness 82. SAS also shared that typically
  they would arrange for class notes to be obtained from another student in the course or volunteer
  note-taker rather than requesting that the professor’s notes be provided to the student since the
  professor’s notes were not being provided to the other students in the course. Although the
  detailed nature of Witness 82’s allegations lend credibility to her allegations and the record lacks
  any motivation for Witness 82 to fabricate her allegations, without any corroborating information
  and the delay between the alleged incident and the report, OIE finds that there is insufficient
  evidence to support finding that the Respondent refused to implement Witness 82’s disability-
  related accommodations approved by SAS.

  Religious-Based Comments
      46. Whether, during classes, the Respondent insulted students that had religious beliefs
          and told them that God did not exist.
             a. Specifically, whether the Respondent told students that anyone who believed
                 in God, Jesus, a higher power or religion was childish, ignorant, stupid,
                 dumb, unintelligent, a fool, an idiot, delusional, disillusioned, of a weaker
                 mind, crazy, brainwashed, small-minded or mentally ill.

          Witness 142, who submitted IL #875 and was a student in the Respondent’s 2007 Fall
  General Psychology course, alleged that the Respondent “said that he was indoctrinated because
  his parents took him to church and that he would not talk to people who believe in something
  ‘stupid.’” Witness 37 alleged that during the 2009 Summer Psychology of Prejudice course, the
  Respondent told students that those who believed in religion were “deluded” and “mentally ill.”
  Similarly, an anonymous reporter alleged that early in the 2009 Fall semester for the General
  Psychology course, the Respondent “devoted a lecture to discussion of religion. What started as a
  topic relevant to psychology quickly devolved into targeting and attempting to humiliate
  individuals identifying as religious, particularly as Christian. Those identifying as Christian were


                                                  92
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 332 of 566 PageID 402




  asked to identify themselves by standing in the classroom (myself included). [The Respondent]
  then accused those standing of being ‘ignorant,’ ‘gullible,’ and ‘childish,’ berating them to
  denounce their religion.” See Student Google Form – Anonymous. Witness 147, who submitted
  IL #815, alleged that during either the 2009 Fall Sexual Behavior course or the 2010 Spring
  Cross Cultural Psychology course, the Respondent told the students that “anyone with any kind
  of religious belief is both delusional and unintelligent, because they cannot separate fantasy from
  reality”. The anonymous reporter in IL #829 alleged that during the 2010 Summer General
  Psychology course, the Respondent “was antagonistic and generally insulting to Christianity in a
  way that had nothing to do with class and showed a complete lack of respect for any Christians
  (and really anyone religious) in the room. It was extremely uncomfortable and way over the line
  for a professor to behave this way in a classroom setting.”

          Witness 99 alleged in her Student Google Form that during the 2012 Fall General
  Psychology course, the Respondent told students that if they believed in religion, they “were of a
  weaker mind” and “only idiots would place beliefs in a superior being because they’re afraid”.
  Witness 82 alleged that during the 2014 Fall Cross Cultural Psychology course, the Respondent
  told students that Christians were “idiots” and “assholes” because they think that they are right.
  Witness 138, who submitted an IL report (#811) and participated in an OIE interview, alleged
  that during the 2015 Spring Cross Cultural Psychology course, the Respondent told students that
  there was no God and people who believed in God were stupid, dumb and small-minded, and one
  time “akined a girls religious belief to believing in ‘ghosts’”. Similarly, Witness 84 alleged that
  during the 2015 Fall Cross Cultural Psychology course, the Respondent stated that believers
  were dumb.

          Witness 91, who submitted IL # 824, alleged that during the first day of class for the
  2016 Spring Cross Cultural Psychology course, the Respondent “said something along the lines
  of ‘I am not here to coddle your beliefs, I am here to piss you off’. And then he proceeded to ask
  what religious beliefs the class held. When a young girl raised her hand and said she was a
  Christian, he went off on her and spent 15 minutes condemning her religious identity. The girl
  walked out of the class in tears and his response was that ‘I know I have done my job when
  someone leaves crying’”. When asked about this alleged student interaction, the Respondent
  stated, “That is a complete fabrication. I would not spend 15 minutes engaging with a student. I
  also don’t ask students what they believe. I don’t talk to them unless they want to engage with
  me individually. I’ve never seen a student walk out crying, but it’s a large class.”

          The anonymous reporter in IL #796 alleged that during the 2017 Fall General Psychology
  course, the Respondent told students that “anyone who believed in the Bible or heaven was a
  fool and a religious bigot as they could not possibly believe in such a thing.” The anonymous
  reporter in IL #797 similarly alleged that on first day of that same course, the Respondent told
  students that “anyone who believed in God, Jesus, or any higher power was ignorant”. Similarly,
  Witness 111 alleged that during the 2017 Fall General Psychology course, the Respondent told
  students that if they believed in God, they were an idiot. Witness 88 alleged that during the 2017
  Fall Cross Cultural Psychology course, the Respondent called students who believed in God
  “stupid” and “idiots”, and told students that believing in religion was like believing in ghosts and
  was outdated; they were “slow” if they believed in a religion; and, Muslims, Hindus and
  Christians were “stupid”. Witness 88 further alleged that during the 2017 Fall Cross Cultural


                                                   93
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 333 of 566 PageID 403




  Psychology course, the Respondent showed a video pertaining to abstinence and then “made fun
  of” this Christian view and said that is why Christians are hypocrites, have venereal diseases and
  have anal sex. Although the Respondent denied having said that Christians were hypocrites, had
  venereal diseases and had anal sex, he affirmed that he previously showed such a video to
  students and stated, “I stopped showing that video because of a lack of time, but yes, I did
  previously show this to students in class. The video is ‘A Silver Ring,’ which is a 60 Minutes
  segment.” Witness 144, who also was in the 2017 Fall course, alleged that the Respondent told
  students that believers were delusional.

          Similarly, with regard to more recent courses, the anonymous reporter in IL #894 alleged
  that during the 2018 Cross Cultural Psychology course, the Respondent told students “that
  people who believed in god were ‘stupid’”. Witness 86 alleged that during the 2018 Spring
  Cross Cultural Psychology course, the Respondent told students that he did not like Muslims or
  Christians because they were “ignorant”, and all religious people were “brainwashed”. Witness
  86 recalled that some students that identified as Muslim, as they were wearing hijabs, then left
  the class.

          Witness 95 alleged that during the 2018 Fall General Psychology course, the Respondent
  told students that “if you believe in religion, you are stupid” or “childish”, and had been
  brainwashed. Witness 133 alleged that during this same 2018 course, the Respondent told
  students that religion is “crap and makes no sense”, if you believe in any religion, you are kind of
  crazy, and students had been “brainwashed” to believe in religion. Witness 112, who was
  enrolled in the Respondent’s 2018 Spring Sexual Behavior and 2019 Spring Cross Cultural
  Psychology courses, alleged that the Respondent said that believers were” delusional”. Witness
  140 alleged that during the 2018 Fall Cross Cultural Psychology course, the Respondent told
  students that believing in God was stupid.

          Witness 56 alleged that during the 2019 Spring Cross Cultural Psychology course, the
  Respondent said that Muslims were “crazy” and have “mental issues”. The University also
  received an allegation that during the 2019 Fall Cross Cultural Psychology course, the
  Respondent stated, “if you believe in God you should revisit your priorities”, “educated people
  don’t believe in God, and that if you believe in God, you can’t be an intellectual”. Witness 137,
  who submitted IL #877, alleged that during the 2019 Fall Cross Cultural Psychology course
  when the Respondent “was discussing Christianity, he commented to a student, ‘You’re here to
  learn how to think critically but if you want to continue to believe in a make believe childish
  god, that is your choice.’” Witness 137 also alleged that during this course, the Respondent told
  students that the Christian God was a “fairy God” and believers had “childish personalities”. The
  anonymous reporter in Integrity Line #832 alleged that the Respondent made a similar statement
  during the 2019 Spring Cross Cultural Psychology course (“if they believe in God then they’re
  stupid”). Witness 52 alleged that during this same 2019 course, the Respondent told students
  that those that believed in religion were “disillusioned”. Similarly, Witness 117 alleged that
  during this same course, the Respondent told students that God was dead, they should believe in
  science, and people who believed in God were stupid and delusional. Witness 120 alleged that
  during the 2019 Spring Sexual Behaviors course, the Respondent said that religion and
  Christianity were dumb. Witness 100 alleged that during the 2019 Summer Sexual Behavior



                                                  94
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 334 of 566 PageID 404




  course, the Respondent told students that people were weak minded, stupid, less than, or scared
  if they subscribed to a religion.

         Witness 54 alleged that during the 2020 Spring Cross Cultural Psychology course, the
  Respondent stated that people who prescribed to a religion did not have critical thinking skills.
  Witness 39, who was enrolled in this same course, alleged that he made a statement about
  believers being delusional.

          In contrast, Witness 76, who was a student in the 2015 Spring General Psychology
  course, alleged that the Respondent did not call the students derogatory names. Witness 160,
  who was a student in the 2018 Spring General Psychology course, similarly stated that the
  Respondent did not call the students derogatory names. Rather, “if you had a view that did not
  align with his views, he was dismissive or would look down on you without any justification.”
  Witness 165 and Witness 166 stated that during the 2018 Summer Sexual Behavior course, the
  Respondent did not call students derogatory names. Witness 3, who was a student in the 2018
  Fall Sexual Behavior course, stated that the Respondent did not mock students or call them
  names. Rather, he might have used terms like “moron” but “not directed at anyone, just used in
  general discussions or storytelling”. Witness 167, who was a student in the 2018 Fall Cross
  Cultural Psychology course, stated, “I did not witness [the Respondent] to directly insult
  students, to call them dumb or similar. To me, personally, I felt that [the Respondent] was always
  respectful.” Witness 6, who also was enrolled in the 2018 Fall Cross Cultural Psychology course,
  stated that the Respondent never called religion stupid, and never commented about Jesus, Mary,
  Muhammad or any other religious figures. Witness 6 further stated, “I liked how he would show
  both sides of things. … He never asked students to give up their religious beliefs… he caused
  people to ask questions and asked to see articles and facts to support their views as opposed to
  their opinion.” Witness 48, who was enrolled in the 2018 Fall General Psychology course, stated
  that the Respondent called a particular culture or practice that he was describing as “dumb”,
  rather than a particular student.

           Similarly, Witness 1, who was a student in the Respondent’s 2019 Spring Cross Cultural
  Psychology course, stated that he did not recall the Respondent making derogatory comments
  about religion. Witness 1 stated that the Respondent “was very opinionated with his beliefs. He
  was open and honest about his beliefs. He was not derogatory about other religions or beliefs. I
  did not feel that he was trying to attack anyone, he would try to get us to think through things.
  I’m Roman Catholic. A lot of my friends were in the class with me, and they and I actually
  enjoyed his class.” Although Witness 98, who also was a student in the 2019 Spring course, was
  disappointed with the way the Respondent approached discussions in this course, particularly
  with regard to race, she corroborated that he did not directly call students “stupid” or “dumb”.
  Rather, it “was more his demeanor, his facial expressions, his body language and his responses
  … he would pick apart everything you would say and you would feel less than.” Witness 104
  stated that during the 2019 Summer Cross Cultural Psychology course, the Respondent did not
  call his students names, like moron or idiot, but he did use those terms to discuss some of the
  people that he taught about, like religious figures. Witness 5, who also was a student in the same
  2019 Summer course, stated that the Respondent did not mock students or call them names.
  Rather, he said, “You are not correct” or “That argument is not correct.” Witness 106 similarly
  stated that during the 2019 Fall Sexual Behavior course, she did not witness the Respondent call


                                                  95
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 335 of 566 PageID 405




  a student or their ideas “stupid” or “dumb” or similar terms. However, he countered students’
  comments with things like, “I am older than you”, “I have more experience”, “I know more than
  you”, “we are not getting into this” or “moving on” and he proceeded forward with his lecture.
  Witness 2, who also was a student in the 2019 Fall Sexual Behavior course, stated that the
  Respondent did not call students derogatory names. Rather, he used those terms in the general
  sense like, “I was talking to some moron who believed X,” but this was not directed at any
  specific student.

          In response to these allegations, the Respondent denied that he stated “whomever
  believes in God is ignorant and needs a reality check” or a statement of a similar nature. As to
  being deluded or mentally ill, the Respondent stated, “I never said this. It’s a human need that we
  have and we need to understand that people will be taken care of after they pass, that we will see
  our loved ones again after they pass.” As to saying that if people believed in a religion, they
  “were of a weaker mind” and that “only idiots would place beliefs in a superior being because
  they’re afraid”, the Respondent replied, “I categorically deny that.” The Respondent also denied
  that he said that people who believed in God were stupid, dumb or small-minded, and
  “categorically” denied referencing Christians as “idiots” and “assholes”. He also denied that he
  said that Muslims were “crazy” and had “mental issues.” In response to the allegations that
  during the 2017 Fall Cross Cultural Psychology class, he called students who believed in God
  “stupid” and “idiots” and stated that believing in ghosts and God was outdated, they were “slow”
  if they believed in religion; and Muslims, Hindus and Christians were “stupid”, the Respondent
  stated, “These allegations are a total fabrication. I would take this opportunity to note that no one
  made that comment in any of the course feedback.” As to the allegation that he told students that
  “if you believe in religion, you are stupid” or “childish”, the Respondent stated, “I think I said
  something about how Einstein characterized it as childish, but I don’t recall saying anything like
  this.” As to the allegation that during a Summer Sexual Behavior course, he said that people
  were weak minded, stupid, less than, or scared if they subscribed to a religion, the Respondent
  stated, “There is no way in hell I said that, and they can search the entire course, which is online,
  and see that I never said that.” As to the allegation that during his Fall 2019 Cross Cultural
  Psychology course, he stated that the Christian God was a “fairy God” and believers had
  “childish personalities”, the Respondent stated, “This is total nonsense. … This allegation is total
  fabrication.”

          When asked about the allegation that during the 2019 Spring Cross Cultural Psychology
  course, he said that those who believed in religion were disillusioned, the Respondent stated,
  “Half the things that have been reported by students are insulting, I’ve never ever said. Also, this
  is incidentally discussed in General Psych or Sexual Behavior since this isn’t part of the course
  content, but I’d respond to a student if it comes up. I spend one week – two class meetings – in
  Cross Cultural talking about religion. I do assert that it is a cultural delusion to believe in
  religion, but I do not use the derogatory terms. I want to believe I would see my family again
  after they die; these are deep human needs. My opinion is these students are offended by my
  views and they are walking away forming the idea that I’ve said these things in a much more
  pejorative and insulting way than I have.”

         As to the allegation that he referred to believers as “delusional”, the Respondent stated,
  “Like Richard Dawkins, I support the idea that believing in a religion is a cultural delusion. The


                                                   96
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 336 of 566 PageID 406




  way it was reported sounds unacceptable. What I would say is that believing in a religion is a
  delusion, a cultural delusion – a whole culture that believes in the religion. I would say that I am
  not the only one who thinks this way. Richard Dawkins does as well. It is well within my course
  content and relevant to the topic I am covering, and I am being as scientific as I possibly can
  about that.” As to saying that anyone with a religious belief was unintelligent and delusional, the
  Respondent replied, “I categorically deny that allegation.” As to the allegation that during his
  2020 Spring Cross Cultural Psychology course, he referred to believers as delusional, the
  Respondent stated, “I would make a statement that believing in religion is a delusion. In General
  Psych, it would be an incidental comment in response to what someone else is saying; same in
  Sexual Behavior. It is front and center in the Cross Cultural course. Yes, this same type of
  discussion has occurred across the sections of Cross Cultural. I have not said they were
  unintelligent. I still say and hold the position that believing in things for which there is no
  evidence constitutes a delusion. I am not personalizing it the way some of the students are
  alleging I am.”

          During his OIE interview, the Respondent was asked about the allegation that during his
  Fall 2018 General Psychology course, he said that religion was crap and makes no sense; and
  similarly stated that if you believed in any religion you were kind of crazy and that students had
  been brainwashed to believe in religion. The Respondent replied, “I deny it all and all those
  words. I do believe that many of us who believe in religion have been indoctrinated by our
  parents. Even then, I elaborate on it. I talk about how for most people who believe in religion,
  their parents take them to church weekly or monthly, but don’t take them to multiple other types
  of religions and let them decide. I tell them that would be an example of religious education, but
  what we call religious education is really indoctrination, taking them to the same church and
  reading the same book. I don’t use the word ‘crap’ or ‘brainwashing.’”

          In addition to speaking with the Respondent and students that had been enrolled in his
  courses, OIE reviewed recordings of the Respondent’s lectures. During one of the 2019 Summer
  Cross Cultural Psychology recordings (see Recording - Peru – Summer 2019 -3), the Respondent
  indicated that he personally changed in terms of his beliefs when he “encountered someone who
  changed my way of thinking”. He identified this person as Muhammad. He then said that when
  he learned about Muhammad, he concluded that religion was “all make believe.” In the class
  recordings (see Recording 2019 – 8), the Respondent shared the story of Sodom and Gomorrah
  from the Bible (Genesis 19:1-36) and stated, “The Bible doesn’t say that he’s going to destroy
  the city because people are turning gay – it’s kind of implied that – it’s just that they’re
  disobeying God.” He then described that “Lot’s wife turned around and God turned her into a
  pile of salt” and that this was “a pretty childish story”. See also Power Point Arab & Muslim
  Americans Lecture 1, slide 49, (referred to passage from the Bible as a “childish story”).
  Similarly, in a recording from this same course (see Recording – Peru – Summer -2019 – 13), the
  Respondent talked about religion providing an answer to our origin and referenced the Adam and
  Eve story from the Bible. He then said that this was a “childish story”, students “latch onto the
  childish story”, we are “narcissistic for believing we are so special that someone is looking after
  us and has our back”, and people who believe in religion have a lack of education. Also, a
  recording of the Respondent’s November 6, 2018 General Psychology course revealed that the
  Respondent told students the following: “With all due respect to you, I say this very sincerely,



                                                   97
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 337 of 566 PageID 407




  many of you struggle to separate fantasy from reality. You think Satan is real, many of you in
  here, and you understand that is a childish concept. There’s no such thing as a Satan or devil.”

           Turning to the documentary evidence, OIE reviewed the Respondent’s September 12,
  2019 message to his Cross Cultural Psychology students wherein he discussed the need for
  students to engage in critical thinking and stated, “let me say something quickly about religion
  (mythology). I’m a simple man. Let’s just take one fundamental tenant of Christianity and Islam:
  Heaven. For those of you who believe, please tell me precisely where is heaven? Some of you
  think you’re going there after you die, yet I bet you can’t tell me where it is. Isn’t
  that...shocking? to believe you’re going somewhere so important, yet you are unable to tell me
  where it is? Do you recognize the absurdity of that?” See Announcement – Sept. 12, 2019 Re
  Religion; see also Announcement Jan. 2012 Re Religious Bigotry. Also, in his March 18, 2018
  message to his students wherein he discussed “intellectual paradoxes,” the Respondent stated, “I
  informed you that, on one hand, the majority of Whites are rather unsophisticated
  intellectually speaking (the vast majority have not graduated from a university, believe in
  “Satan,” blah, blah, blah). See Announcement – March 18, 2018 Email Re White
  Accomplishments.

          In the student’s 2015-2019 evaluations of the Respondent’s courses, students provided
  the following relevant feedback:
  • “When students ask questions, more that 75% of the time the question is not actually
      answered; rather the student is mocked and/or the answer given has no clear link to the
      question. If a student would point out a flaw in his logic or even claim that he’s showing a
      clear bias, he would argue that he’s not bias and that we students are being hypersensitive
      and/or are ‘just plain dumb’.” See Respondent’s Student Evaluation 2016 Fall.
  • “We understand your personal view on matters. Please stop degrading people for having a
      different opinion. Ex: ‘You snowflakes’, ‘You’re all delusional’, etc. You can express your
      view without insulting everyone.” See Respondent’s Student Evaluation 2017 Fall.
  • Respondent told the students that “whomever believes in God is ignorant and needs a reality
      check.” See Respondent’s Student Evaluation 2018 Spring.
  • When asked, “What suggestions do you have for improving the course and/or how the
      instructor taught it, a student responded, “not call people who believe in religion childish
      maybe?” See Respondent’s Student Evaluation 2019 Fall.

          First, as noted above, OIE does not find the lack of a large number of reports about this
  alleged conduct represented in the student evaluations to be persuasive evidence that the conduct
  did not occur. Second, OIE notes that there is consistency, although not verbatim, in the
  allegations among multiple students in 15 different semesters capturing a lengthy timeframe
  (2009-2020) - namely, that the Respondent directed derogatory terms and statements at those
  with religious beliefs. Also, the students provided detailed information about the comments.
  This consistency and detailed nature of information lend strong credibility to the allegations. On
  the other hand, multiple students over a portion of this same timeframe (2015-2020) denied that
  the Respondent called students derogatory names, such as stupid, moron, idiot, etc. Rather, they
  stated that the Respondent used some of the derogatory terms when referring to an idea he
  disagreed with or a specific religious person that was the focus of his lecture. They also said that
  the Respondent used those terms in a “general sense like, ‘I was talking to some moron who

                                                   98
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 338 of 566 PageID 408




  believed X.’” It is important to note that these students’ experiences only overlapped with two
  of the fifteen semesters discussed herein (specifically, 2018 Fall General Psychology and 2019
  Spring Cross Cultural Psychology). This raises the question of why students appeared to have
  experienced the classes differently when the Respondent discussed religion. As set forth above,
  the record lacks evidence of any of these students having a motivation to fabricate allegations
  whereas the Respondent has a motivation to lie and demonstrated inconsistency in some of the
  information provided during his OIE interview (see Consistency section above).

          With regard to some of the allegations, it is possible that when the Respondent stated that
  believing in a religion is delusional and that religion is a cultural delusion, both of which are
  undisputed by the Respondent, students understandably interpreted these statements as him
  saying that believers were delusional. Or when he referred to a religious story as a “childish
  story”, which the documentary evidence supports he did, or referred to the existence of hell as
  “another childish idea”, students interpreted these statements as him saying that believers were
  childish. The distinction in semantics that the Respondent is making is a distinction without a
  difference as he clearly equated those with religious beliefs to being delusional and believing in
  childish stories. This is consistent with the Respondent’s student evaluations and OIE’s witness
  interviews where students, including those that were generally positive in their review of the
  Respondent, repeatedly noted that the Respondent treated religious beliefs with disrespect
  throughout his courses. The class recordings demonstrated some of this disrespect, such as when
  the Respondent referred to a belief in an afterlife as “absurd” and noted that people who believed
  in religion lacked an education. Correlating having religious beliefs to being uneducated, as well
  as correlating believing in Satan to being intellectually unsophisticated, is not that far from
  saying that a religious individual is ignorant and unintelligent. Also, he did not dispute that he
  told students that believing in a religion was like believing in flying elephants, which was a
  derogatory jab toward those with religious beliefs. Furthermore, as set forth in more detail in
  Section VI (Material Facts Not in Dispute) above, during his 2019 Summer course, when
  discussing his belief that religion had never solved a single social problem and a student was
  having a reaction to this statement, the Respondent flippantly stated, “People who believe in
  religion tend to be irrational.” Similarly, during this course, he joked that attending a Catholic
  sermon was “like taking two tranquilizers and being given a cup of vodka. All it does is put you
  to sleep, it is boring.” Accordingly, taking the record as a whole into consideration, OIE finds
  that there is sufficient evidence to support finding that throughout three of the Respondent’s
  courses (General Psychology, Sexual Behavior, and Cross Cultural Psychology), the Respondent
  repeatedly made derogatory statements about individuals with religious beliefs, including that
  they were delusional, childish, unintelligent and ignorant.

           However, the record does not support finding that the Respondent specifically stated that
  believers were “stupid”, “dumb” or “idiots” as none of the recordings support him having made
  comments of this nature, including during the 2018 Fall General Psychology course where one of
  the students alleged that the Respondent said, “If you believe in religion, you are stupid.” That
  said, according to those students that denied he called students derogatory names, the
  Respondent referred to religious figures, religious practices or religious ideas as stupid, dumb, or
  idiotic. One of the recordings demonstrated that the Respondent referred to the Christmas
  tradition of exchanging gifts and having a Christmas tree in one’s house as “pretty bizarre”.
  Accordingly, the record supports that it is more likely than not that the Respondent used the


                                                  99
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 339 of 566 PageID 409




  derogatory terms (stupid, dumb, idiot, absurd) during some of his courses in reference to specific
  religious practices or religious figures.

          Lastly, the record does not support finding that the Respondent had students identify
  themselves as believers and stand up while the Respondent ridiculed them. Only one student
  made this allegation out of the more than 300 students spoken with by OIE, and none of the
  recordings or documentary evidence supported that such an activity had been engaged in by the
  Respondent. Similarly, the record does not support finding that the Respondent told students that
  Christians are hypocrites, have venereal diseases and have anal sex.

             b. Whether the Respondent told students that believing in God was like
                believing in fairy tales, and the Bible was a “joke” or “crazy book”.

           Witness 37 alleged that during the 2009 Psychology of Prejudice course, the Respondent
  equated religious faith to fantasy. Witness 122 alleged that during the 2013 General Psychology
  course, the Respondent told students that believing in the Bible and other religious texts was like
  believing in unicorns. Witness 85 alleged that during the 2016 Fall General Psychology course,
  the Respondent told students that if anyone believed in God or any other religion, they were
  believing in a fairy tale and were not ready for college-level classes because their thought
  process was based on fairytale-like beliefs. He allegedly further stated that they should leave the
  class if they believed in God, and some people left. The anonymous reporter in IL #797 alleged
  that on first day of the 2017 Fall General Psychology course, the Respondent told students that
  “believing in God was like believing in a purple elephant flying around the room.” Witness 140
  alleged that during the 2018 Fall Cross Cultural Psychology course, the Respondent told students
  that belief in God was a fiction. Witness 95 alleged that during the 2018 Fall General Psychology
  course, the Respondent told students that believing in religion was like believing in a flying
  elephant or Santa Claus. An anonymous reporter alleged that during a 2019 Fall course, as
  students left for the holiday break, the Respondent said something to the effect of “have a great
  Christmas. Enjoy praying to a fake man who lives in the sky”. See Student Google Form –
  Anonymous.

           Similarly, Witness 54 alleged that during the 2020 Spring Cross Cultural Psychology
  course, the Respondent described religious books and the Bible as works of fiction. Witness 83,
  who submitted IL #881 and participated in an OIE interview, alleged that during the 2017 Fall
  Sexual Behavior course, the Respondent told a student during class “that the Bible was a joke
  that it couldn’t be taken seriously. The student had already expressed that she was offended but
  [the Respondent] kept going and laughing while talking directly to this student about it. He
  called the Bible ‘that crazy book’”. Witness 95 alleged that during the 2018 Fall General
  Psychology course, the Respondent told students that the Bible was a “fairytale”, “stupid”, and
  “that crazy book full of fairy tales”. Witness 98 alleged that during the 2019 Spring Cross
  Cultural Psychology course, the Respondent told the students that the Bible was a joke.

          As to the allegation that he told students that if anyone believed in God or religion, they
  were believing in a fairy tale or mythology and were not ready for college-level classes because
  their thought process was based on fairytale-like beliefs, the Respondent replied, “I deny the
  whole thing with one exception: I do say that all religions are mythologies.” As to the allegation


                                                  100
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 340 of 566 PageID 410




  that in his 2018 Fall Cross Cultural Psychology course, he said that believing in God was a
  fiction, the Respondent stated, “I never said what was reported.” As to the allegation that he
  stated that believing in religion was like believing in a flying elephant or Santa Claus, the
  Respondent stated, “Wouldn’t you want to ask what the evidence is? If someone claimed angels
  or devils exist, wouldn’t you want to ask about what the evidence is? I don’t remember anything
  about Santa Claus but did refer to a flying elephant.” As to the allegation about unicorns, the
  Respondent stated, “I did not make that statement. I’ve never used unicorns as an analogy. I
  don’t know why I would be saying that in General Psychology because we don’t talk about
  religion. I don’t have a formal lecture on religion in General Psychology. I’ve never said that.”
  As to the allegation that he referred to the Bible as “that crazy book full of fairy tales” during his
  Fall 2017 Sexual Behavior course, the Respondent stated, “I’m not sure why I’d be talking about
  the Bible in Human Sexuality, but I do think the Bible and similar books are mythological and
  have no connection to reality. Making gratuitously insulting comments, I would not have said
  that.” As to the allegation that during his Spring 2019 Cross Cultural Psychology course, he said
  that the Bible was a “joke”, the Respondent stated, “I don’t think I said that. I have said some of
  the stories are funny.” As to the allegation that during his Spring 2020 Cross Cultural course, he
  described religious books and the Bible as works of fiction, the Respondent stated,
  “Mythological, sure. I may have used ‘fiction’.”

          Turning to the other evidence in the record, as set forth in Section VI (Material Facts Not
  in Dispute) above, OIE’s review of the Respondent’s 2019 Summer Cross Cultural Psychology
  course recordings revealed that the Respondent had a discussion with the students about how
  “religion has never solved a single social problem”, and then stated, “I am talking about
  believing in an imaginary God and you are talking about social aspects”. Similarly, the
  Respondent told students that God was “a figment of your imagination”, and he had come to
  the conclusion that religion was “all make believe.” Likewise, in his 2019 Spring student
  evaluation, a student noted the following: “I strongly did not like how he let us know his views.
  He is a strong atheist and I am a Christian. He gives all the information but also jokes that God
  isn’t real. Very disrespectful.” See Respondent’s Student Evaluation 2019 Spring. Furthermore,
  as noted above, a recording of the Respondent’s November 6, 2018 General Psychology course
  revealed that the Respondent told students, “With all due respect to you, I say this very sincerely,
  many of you struggle to separate fantasy from reality. You think Satan is real, many of you in
  here, and you understand that is a childish concept. There’s no such thing as a Satan or devil.”

          Taking the record as a whole into consideration, including the Respondent’s admission
  that he compared believing in religion to believing in flying elephants and likely referred to the
  Bible as fiction, the consistency in allegations from multiple students over multiple courses, the
  recordings demonstrating that the Respondent referred to religion as “make believe” and God
  being “imaginary” and a “figment of your imagination”, OIE finds that there is sufficient
  evidence to support finding that throughout the Respondent’s courses (particularly, Cross
  Cultural Psychology and General Psychology), the Respondent repeatedly told students that
  believing in God was like believing in fairy tales, purple flying elephants, and Santa Clause; told
  students that the Bible was a joke and fiction; and, as students left for the holiday break during
  the 2019 Fall semester, the Respondent said something to the effect of “have a great Christmas.
  Enjoy praying to a fake man who lives in the sky”.



                                                   101
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 341 of 566 PageID 411




             c. Whether the Respondent told students that God did not exist or was not real.

          Witness 94, who submitted IL #842 and had enrolled in the Respondent’s 2012 Spring
  Cross Cultural Psychology course, alleged that during every “class, [the Respondent] would rant
  about his religious beliefs. It was more than just ranting though. He would consistently put down
  other religions and beliefs, and talk about it the entire 2 hour and 50 minute class period. He
  NEVER covered the material in the class yet he would always say ‘we will get to the chapter on
  religion’ when a student would challenge his point of view. I wound up withdrawing from the
  course because I could not stand his comments anymore and how he never covered the material.
  Since it was in Spring 2012, I do not remember any specific comments he made but I can 100%
  back up the fact that he only ever talked about his religious beliefs and continuously put all other
  religious beliefs down.” Similarly, the anonymous reporter in IL #976 alleged that during
  “almost every single lecture [the Respondent] aimed to discredit anyone who had religious
  beliefs starting off his first lecture ever with ‘Can anyone tell me where heaven is? Exactly,
  because it doesn’t exist.’ While he may be an atheist, which I can respect, he constantly looked
  down upon ‘believers’ and made them out to be ignorant and less than.” Similarly, Witness 50,
  who submitted IL #845 and was enrolled in the Respondent’s 2014 Spring Cross Cultural
  Psychology course, alleged that the Respondent “seemed to imply that the only reason any of his
  students were religious was simply because they refused to think critically about their beliefs.”

          Witness 87 alleged that on the first day of the 2017 Spring Cross Cultural Psychology
  course, the Respondent told students that if they were Christians, they would not do well in the
  course and God was not real. Similarly, Witness 144 alleged that during the 2017 Fall Cross
  Cultural Psychology course, the Respondent told students that God was not real.

           Witness 168, who served as a GTA for the Respondent, alleged that either during the
  2018 Fall or 2019 Spring semester, a student visited the Respondent during office hours about an
  exam question regarding the existence of God. The Respondent told the student that “the correct
  answer is that there is no God.” When the student stated that they were not comfortable marking
  that as the answer due to their personal religious beliefs, the Respondent reiterated that the
  correct answer was that there is no God.

          Similarly, Witness 121 alleged that during the 2018 Fall General Psychology course, the
  Respondent discussed his beliefs on atheism and sexuality and said that God didn’t exist. It was
  further alleged that he then had the following exchange with a female student: Student: “I
  believe in God”; Respondent: “How do you know God exists?”; Student responded with her
  thoughts on this; Respondent: “You’re wrong, God doesn’t exist.” Witness 48, who also took the
  2018 Fall General Psychology course, alleged that the Respondent further stated that by doing
  simple research and thinking on your own, you would come to the conclusion that there is no
  God just like he did. Similarly, Witness 140 alleged that during the 2018 Fall Cross Cultural
  Psychology course, the Respondent told students that if they were Christian or religious in some
  way, “you are just doing it because you need to believe in something and can’t deal with [the]
  real world.” The anonymous reporter in IL #799 alleged that during 2018 Fall General
  Psychology class, the Respondent said within the first hour of class, “People who love their little
  Jesus don’t realize all he was, was schizophrenic. And if that offends you, it’s because you won’t
  accept it because you need it to make you feel better about your life.”


                                                  102
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 342 of 566 PageID 412




          Witness 110, who was enrolled in the 2019 Summer Cross Cultural Psychology, alleged
  that he told students that religion was not real, religion was created to satisfy people, and the idea
  of religion was funny. Witness 63 similarly alleged that during the 2019 Spring Cross Cultural
  Psychology course, the Respondent told students that God and heaven were not real. Witness 48
  alleged that during the 2019 Fall Cross Cultural Psychology course, after the Respondent stated
  that Jesus was a schizophrenic, “If that offends you, it’s because you won’t accept it because you
  need it to make you feel better about your life.”

            During his OIE interview, when asked about the allegation that he told students that
  there was no God, the Respondent stated, “I say that there is no evidence for a God. I don’t know
  if there is a God or not. Students will tell me that is my opinion, but I say no, that’s a fact
  because there is no evidence. If I said there was no God, that would be my opinion.” As to the
  allegation that during his Fall 2018 Cross Cultural Psychology course, he said that if you are
  Christian or religious in some way “you are just doing it because you need to believe in
  something and can’t deal with real world”, the Respondent stated, “I can’t recall that. If I were to
  say it, I would not tell a student that God does not exist. About 8-10 years ago, I had a
  controversy in my class that became national news about religious bigotry. An Orlando Sentinel
  person came to my office and said, ‘do you tell students there is no God?’ I told him there is no
  evidence of God. I told him it was not my opinion; there is no evidence of a personal God. I do
  say there is no evidence of a soul or angels or a devil or personal God, but that’s what I say –
  there is no evidence.” Further, “I said something like, we’re all humans, we’re all afraid of
  death, and talked about the psychological needs that are satisfied through believing in a religion.
  We all need that emotional attachment to our loved ones, and I walked them through these
  motives. Even if they don’t like what I said, I did so in a professional, pedagogical way, not the
  way it’s been reported.”

          During his OIE interview the Respondent also was asked about the allegation that on the
  first day of his Fall 2018 General Psychology course, he discussed his beliefs on atheism and
  sexuality and said that God didn’t exist, as well as the allegation about his exchange with a
  female student wherein he told her that God did not exist. In response, the Respondent stated, “I
  deny this allegation. I let them know where I’m coming from and I don’t elaborate. If the
  student were to say that to me on the first day of class, I just can’t imagine myself wanting to
  debate that since it’s so out of place. I would have said ‘more power to you’ or something like
  that.” As to the allegation that he told students that by doing simple research and thinking on
  their own, they would come to the conclusion that there is no God just like he did, the
  Respondent stated, “If someone is bringing up religion in General Psych, I could see myself
  saying that is how I arrived at my conclusions, but I can’t see myself telling students that they
  should do that.”

          When asked about an exam question requiring students to select that there is no God to
  get credit, the Respondent stated, “If there is any item, it would say something like, whether
  there is evidence for a god, which is different from proclaiming there is or is not a god.
  Proclaiming there is a god is an opinion; posing there is no evidence of god is a fact.”




                                                   103
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 343 of 566 PageID 413




           During OIE’s discussion with Witness 13, who was a student in the Respondent’s 2019
  Cross Cultural Psychology, she indicated that she had a positive experience in the course and that
  he did not engage in discriminatory behavior. That said, Witness 13 acknowledged that during
  class, the Respondent said that God was not real. On the other hand, Witness 4 shared with OIE
  that he identified as a Christian and his Dad had died of early onset Alzheimer’s disease. He
  shared this with the Respondent and his frustrations about why God would have such a disease.
  In response, the Respondent did not reply that there was no God. Instead, he said, “If you are a
  believer, go all the way. In your beliefs, your Dad is going to heaven and will see God.”
  Witness 4 stated, “He was right. I need to take comfort in that in my struggles to understand.
  Even though he’s an atheist, he was right.”

           Turning to the 2019 Summer course recordings (see Recordings), the Respondent
  discussed his concerns about the threat of war. During this discussion, he stated, “I think religion
  is a problem for humanity,” and referenced that he understood that many in the class had
  religious beliefs. He then stated, “You are free to believe how you want. I won’t try to change
  your mind”, but then said that “all religions are make-believe”. He explained that there was no
  evidence to support the religion and that people had invented religion and souls. In these
  recordings, the Respondent can be heard sharing a passage about the Muslim equivalent to
  tithing, and stated, “I’m sorry, but Allah does not exist. There’s nobody giving anything to
  Allah. There’s no one passing money up in the sky to Allah. It’s like Christian churches who tell
  you to tithe your money to God. No, it’s going into the preacher’s pockets.” Similarly, in the
  2020 Spring lecture regarding Muslims recordings (see Recordings Arabs & Muslims Lecture 3),
  the Respondent is heard reviewing information related to Muslim women and stated, “I am
  telling you from a non-believer point of view that Allah does not exist, someone is making
  this up and claiming that it is Allah that is saying this.”

          Although the Respondent attempted to distinguish that his classroom statements were that
  there was no evidence of a God rather than having said that there was no God, God is not real or
  God did not exist, the record demonstrated that he did not limit these comments to there is no
  evidence. The recordings showed that he said that “Allah does not exist”, God was a “figment of
  their imagination”, and religion was “make believe”. According, taking the record as a whole
  into consideration, including the undisputed statements in the recordings, the consistency in the
  students’ allegations, and the Respondent’s statements being inconsistent with the record, OIE
  finds that there is sufficient evidence to support finding that during two of the Respondent’s
  courses (General Psychology and Cross Cultural Psychology), the Respondent repeatedly told
  students that there was no God, God was not real and God did not exist. However, there is
  insufficient evidence to support finding that the Respondent told students that if they were
  Christians, they would not do well in the course or that by doing simple research and thinking on
  their own, they would come to the conclusion that there is no God just like he did.

             d. Whether the Respondent told students that religion was evil, harmful, or
                ridiculous, or that anyone who was not an atheist ought to be dead.

          The anonymous reporter in Integrity Line #803 alleged that during the 2017 Spring Cross
  Cultural Psychology course, the Respondent told students that “religion is evil, harmful,
  ridiculous….” The Respondent shared with OIE that on one of his evaluations (2019 Fall Cross


                                                  104
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 344 of 566 PageID 414




  Cultural Psychology course), a student alleged that he told the class that “anyone who was not an
  atheist ought to be dead”. The Respondent denied having made this specific statement or a
  statement of this nature. No other students made such allegations throughout the course of this
  investigation nor was a statement of this nature heard on the recordings available to OIE.
  Accordingly, taking the record as a whole into consideration, OIE finds that there is insufficient
  evidence to support finding that the Respondent told students that religion was evil, harmful, or
  ridiculous, or that anyone who was not an atheist ought to be dead.

             e. Whether the Respondent told students that teaching Christianity, Islam or
                any religion to children constituted child abuse.

           Witness 37 alleged that during the 2009 Psychology of Prejudice course, the
  Respondent equated being raised with religion to child abuse. Witness 103 alleged that during
  the 2018 Spring Cross Cultural Psychology course, the Respondent told students that teaching
  children about hell, which is a concept of Christianity, is child abuse. During his OIE interview,
  the Respondent advised OIE that he issued an exam question to his Cross Cultural Psychology
  students “asking them, from a secular point of view, whether the idea that someone was
  watching a child 24/7 and, even though they are behaving outwardly, this person knows their
  inner throughs would constitute child abuse. It was about religion in general, not Christianity in
  specific.” He also stated, that during class, it was “a general comment on religion”.

           As set forth in Section VI (Material Facts Not in Dispute) above, the Respondent issued
  an exam question that asked: According to any reasonable and rational person, telling children
  that someone is watching them 24/7 and knows every “move they make” and every thought they
  have, represents essentially: A. a good moral upbringing, B. child abuse, C. parental love, or D.
  parental protection. Students needed to select option “B. child abuse” to receive credit for
  answering this question correctly. Also, as set forth in Section VI, OIE’s review of the 2019
  Summer recordings pertaining to the Cross Cultural Psychology course revealed that, while
  discussing the purpose of religion, the Respondent referenced religion being a mythology and
  stated that being raised in a religious upbringing “is a form a child abuse.” He also stated,
  “Teaching children to believe that there is someone watching them all the time, I would say that
  is child abuse. … It does not occur to Christians and Muslims how bizarre and abusive that is to
  tell children that when they are growing up.” See Recordings – 2019 Summer - #6 & #8.
  Accordingly, taking the record as a whole into consideration, OIE finds that there is sufficient
  evidence that the Respondent repeatedly told his Cross Cultural Psychology students that
  providing children with a religious upbringing, including Christians and Muslims, constitutes
  child abuse.

     47. Whether, during class, the Respondent told students that the Virgin Mary was not a
         virgin when she got pregnant with Jesus, did not get pregnant by immaculate
         conception, and got pregnant by “raw-doggin it across town”, by “being a whore”
         or by “being a slut”.

         An anonymous reporter (IL #828) alleged that during the 2017 Fall Cross Cultural
  Psychology course, the Respondent said that “the way the Virgin Mary really got pregnant was
  because she was ‘raw-doggin it across town’”. Witness 88 alleged that during that same course,


                                                  105
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 345 of 566 PageID 415




  the Respondent stated that “Mary had to come up with some story so that she did not get killed
  for being pregnant.” Witness 95 alleged that during the 2018 Fall General Psychology course, the
  Respondent told students that with regard to the Virgin Mary, it was scientifically impossible to
  be pregnant without having sex, “for all we know, she could have been raw-doggin it across
  town,” and she could have been having sex with various men. Witness 140 alleged that during
  the 2018 Fall Cross Cultural Psychology course, the Respondent told students that the Virgin
  Mary was not a virgin, and she just saw a way that she could save her life after she had been
  “whoring” around. Witness 167, also in this 2018 course, recalled that the Respondent said that
  “Mary had probably had intercourse with someone else and made the story of the immaculate
  conception up to protect herself. He said she then proceeded to raise Jesus according to this
  narrative.” Similarly, Witness 56 alleged that during the 2019 Spring Cross Cultural Psychology
  course, the Respondent said that Mary, the mother of Jesus, was “just a slut who got pregnant
  outside of marriage and, to avoid being stoned to death and killed, she lied and said it was God
  who got her pregnant”.

           In response to these allegations, the Respondent stated, “She [Mary] hardly ever comes
  up in my lectures. Any time she does, this is what I say. First, it is true that you cannot get
  pregnant without sex. Second, consistent with her culture at the time, if Mary had gotten
  pregnant out of wedlock, her people would have considered her ‘a whore’ (with air quotes) and
  murdered her. Someone got the idea to concoct the story that she was impregnated divinely. I say
  this in a disinterested and dispassionate way, no smile or smirk on my face. I have never said
  ‘raw-doggin it across town’ to a student. The term ‘raw-dogging’ is awful. ‘Whore’ is a
  legitimate word used in the Bible several times. I say exactly what I just said. The words ‘raw-
  dogging’ or ‘slut’ have never come out of my mouth in reference to the Virgin Mary.”

          OIE’s review of the available 2018 General Psychology course recordings did not reveal
  the Respondent referring to the Virgin Mary as “raw-doggin it across town” nor as a slut or a
  whore. A review of the 2019 Summer Cross Cultural Psychology recordings similarly did not
  reveal the Respondent having made these comments. As set forth above, OIE spoke to numerous
  students from both the General Psychology courses and Cross Cultural Psychology courses.
  With regard to the 2018 General Psychology course, OIE communicated with 44 students from
  this course and Witness 95 was the only student to identify the “raw-doggin” comment as having
  been made. With regard to the 2017 Cross Cultural Psychology course, OIE spoke with two
  students from that course – neither of whom corroborated the anonymous reporter’s allegation.
  With regard to using the term “whoring” or “slut”, Witness 140 and Witness 56 were the only
  witnesses to allege use of those terms with regard to the Virgin Mary. Taking the record as a
  whole into consideration, OIE finds that there is insufficient evidence to support finding that the
  Respondent told either his General Psychology or Cross Cultural Psychology students that the
  Virgin Mary got pregnant by “whoring”, “being a slut”, or “raw-doggin it across town”. Instead,
  the record supports that with regard to the Virgin Mary, the Respondent taught students that you
  cannot get pregnant without sex, and, consistent with her culture at the time, if Mary had gotten
  pregnant out of wedlock, her people would have considered her ‘a whore’ (with air quotes) and
  murdered her. Someone then got the idea to concoct the story that she was impregnated divinely.




                                                  106
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 346 of 566 PageID 416




       48. Whether, during class, the Respondent told students that Muslims largely support
           terrorism and violence, and that Islam was not a religion of peace.

          The anonymous reporter in IL #817 alleged that in 2018, the Respondent told students
  that there was “some truth to Muslims being terrorists.” Witness 107 alleged that on the first day
  of class in the 2018 Fall General Psychology course, the Respondent stated that with regard to
  Islam, it was a myth that they were peaceful, the religion was founded on violence, they remain
  violent today, and they force people to convert to Islam. Witness 95 alleged that, during this
  same course, the Respondent stated that radical Islam was evil and caused people to do evil
  things. When a student in the front row got upset, the Respondent called her culture a “terrorist
  culture”, said she “was just as brainwashed as the terrorists were,” and said “maybe you are a
  terrorist”. Witness 160, who was student in the 2018 Spring General Psychology course, alleged
  that the Respondent criticized Muslim culture and said that what they did was wrong. Witness
  160 further stated that the Respondent generalized all Middle Eastern people as in the case of
  female castration. He said, “All Muslim people do this or that, and it’s all bad.” He compared
  Western values to Middle Eastern values and said their values are bad. Witness 57 alleged in an
  email to the University that in 2018-19, the Respondent told students multiple times that
  Muslims were most likely to be terrorists. Witness 167 stated that during the 2018 Fall Cross
  Cultural Psychology course, the Respondent said, “I don’t like Islam.”

          Similarly, the anonymous reporter in IL #803, who indicated they had been a student in
  the Respondent’s 2019 Spring Cross Cultural Psychology course, alleged that the Respondent
  told students that “people should criticize the teachings of Islam. He tries to convince the class
  that Muslims (in the US) largely support terrorism ideology or believe in violent tactics.” The
  anonymous reporter in IL #832, who indicated that they were a student in the same course,
  alleged that the Respondent told students that all Muslims “are terrorists, he backed this claim by
  saying fundamentalists are all terrorist which is not true. Fundamentalism in religion is following
  religious text as it is written. There is fundamentalism in every religion that has a scripture.
  When I tried to mention this fact [the Respondent] told me that I condone terrorism and that I
  should be ashamed. He then asked me to name one religiously charged terrorist attack that
  wasn’t done by Muslims, so I answered. Being Jewish, it is not difficult to think of multiple
  terror attacks.” Witness 73, who also took Cross Cultural Psychology during the 2019 Spring
  semester, alleged that the Respondent told students that 40% of Muslims support terrorism.
  Witness 116, who was a student in the 2019 Summer Cross Cultural Psychology course, alleged
  that the Respondent told students that Islam was a cruel religion, referenced language from the
  Quran, 18 and then said that the passage was “advocating for violence” and “advocating for
  lowering the position of women.” Similarly, Witness 125 alleged that during this same course,
  the Respondent told students that Islam was the worst or most harmful religion and “he’s going
  to show us why.” He “showed videos and materials that highlighted fundamentalist Islam and
  went into detail on things we hear about, like honor killings and terrorist groups. He focused on
  the extremism of that religion but did not focus on what the majority of that religion practices.”
  Witness 137 alleged that during the 2019 Fall Cross Cultural Psychology course, the Respondent
  told students that the Islamic faith was terrorist.


   The Quran is the Islamic sacred book, believed to be the word of God as dictated to Muhammad by the archangel
  18

  Gabriel and written down in Arabic.

                                                       107
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 347 of 566 PageID 417




          In support of these allegations, students referenced how the Respondent posted a link to a
  video called By the Numbers – The Untold Story of Muslim Opinion & Demographics and
  instructed students to review the video. OIE received a copy of the Respondent’s April 4, 2020
  message to students about this video. Therein, the Respondent stated: Please be sure to view this
  short youtube segment in preparation for your upcoming final exam (on Thursday, April 23rd at
  4:30 p.m.). https://www.youtube.com/watch?v=pSPvnFDDQHk. As set forth in Section VI
  (Material Facts Not in Dispute) above, this video presents Dr. Raheel Raza’s viewpoint that
  “most of the terrorism in the world today involves Muslims in one way or another, and because it
  directly affects our lives and security,” she believes that “we need to be able to have an open,
  honest and fact-based conversation about the growing threat of radical Islam.”

           When asked to respond to allegations that he told his General Psychology students that it
  was a myth that Muslims were peaceful and that their religion was founded on violence, the
  Respondent replied, “In General Psychology? If it did come up in General Psychology, the
  subject came up from someone else, and I might have commented on it. I typically don’t address
  this content in General Psychology. I spend a lot of time on the topic of Muslims in my Cross
  Cultural Psychology course.” When asked about the allegations that he said that Islam was not a
  religion of peace and most Christians and Muslims ignore their religious texts, the Respondent
  replied, “Again, what I say over a 15-minute period is now being reduced to three seconds.
  During my Cross Cultural Psychology classes where I am discussing Muslims, I’m walking the
  students through verses in the Quran. If anyone has read this book, and many Americans have
  not, they would be abhorred by the verses therein such as that Jews should be murdered,
  Christians should not be friends, and infidels should be killed. There are many verses like this.
  … After I covered these horrific verses with the students, I said that Muslims nevertheless claim
  that Islam is a religion of peace. I don’t get that sense from the text. I explained to the students
  that the people who say that Islam is a religion of peace are individually peaceful people, but
  they are overlooking these horrific verses and mandates from the Quran. During these classes, I
  also walked the students through how Christians also ignore most of the Bible. You don’t find
  Christians anywhere today who look at their neighbor who mows their lawn on Sunday and
  decide to go kill them since that’s what is said in the Bible. 19 Muslims are advocating that Islam
  needs a reformation because too many Muslims are adhering to Islam in its original intent.”

          When asked if he discussed Islam as a violent religion, the Respondent replied, “I already
  covered how there are aspects of Islam that advocate killing anyone who is not a Muslim. There
  are verses that advocate killing Jews, beheading infidels, and not trusting Christians. I tell
  students to fact check those verses, and said that it would be hard to convince me that this is a
  religion of peace.”

           When asked about the allegations that he told students that Islam was evil, Islam caused
  people to do evil things, called the Muslim culture a “terrorist culture”, and said that a student
  “was just as brainwashed as the terrorists were” and “maybe you are a terrorist”, the Respondent
  replied, “During my Cross Cultural Psychology courses, when it’s time to cover Arabs/Muslims,
  I start out by pointing out many things to the students. I point out how there is over 1.5 billion

  19
    During the 2019 Summer Cross Cultural Psychology recording (see Recordings 2019 Summer -13), the
  Respondent told students, “The Bible instructs Christians if you see your neighbor mowing his lawn on a Sunday,
  you are supposed to go kill him.”

                                                         108
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 348 of 566 PageID 418




  Muslims in the world and that most of them are regular people like you and me, but there is
  another smaller group (hundreds of thousands) that some people call Islamists, and some might
  call them jihadists or radical Muslims. Those Muslims will kill and die for their religion.
  Fundamental Muslims would not kill anyone, but they want Sharia law, and they are in the tens
  of millions. I make the case for students to keep separate these various groups of Muslims.
  Having said all that, I never said that maybe a student is a terrorist - this is totally false. … I tell
  the students that there are very troubling aspects of Islam. There is a lot to Islam. I don’t spend
  much time pointing out the love your neighbor parts. I’m pulling out things that Americans don’t
  want to face up to.” When asked if he lectured about these details about Islam in his General
  Psychology courses, the Respondent replied, “Never, not because I’m opposed, but because it’s
  not relevant to the General Psychology course curriculum.”

          OIE’s review of the 2019 Summer Cross Cultural Psychology recordings and Power
  Point slides related to this lecture revealed the following: The Respondent stated, “Despite that
  there are hundreds of millions of Muslims who are nice people, there are also hundreds of
  millions of Muslims who have some very disturbing attitudes. We are going to look at some data,
  and of course you can form your own opinion about this situation.” On one of the slides, the
  Respondent defined fundamentalists as “not violent, nor political, but desire Sharia Law as ‘law
  of the land’”. With regard to one of the slides, the Respondent stated, “We are fortunate in the
  United States in that the majority of Muslims who come to the U.S. from other countries are
  vetted at some level from the U.S. government, so we haven’t had tons of refugees, Muslims,
  just pouring into the U.S. without knowing who they are and what their motives are for coming
  to the U.S. … This Pew survey found that 1 out of 4 Muslims [in slide, 26%] between the ages of
  18 and 29 think that suicide bombs are sometimes justified in order to defend Islam. When I say
  suicide bombs, I’m talking about random acts of violence toward innocent people, like in malls
  or driving trucks through crowded malls.” When reviewing versus from the Quran, including
  versus about Muhammad instructing Muslims to be harsh towards disbelievers and that wherever
  you find non-Muslims, you kill them (“You should put terror into non-Muslims and strike off
  their heads.”), the Respondent stated, “Another idea that defensive Muslims will say that Islam is
  a religion of peace and a religion of love (slight laugh). I don’t feel the love, I don’t know about
  you.”

          The Respondent’s Power Point slides also set forth PEW survey data from 2013
  regarding the opinion that honor killings are justifiable for women (ranging from Morocco being
  35% in support to Iraq being 78% in support); PEW data from 2013 regarding the belief that
  homosexuality is immoral (ranging from 77% in Uganda and Iraq in support to Cameroon and
  Ethiopia being 99% in support); PEW data from 2013 regarding Muslims that want Sharia law
  (ranging from Tunisia with 56% support to Afghanistan with 99% support); PEW data from
  2013 regarding Muslims who support Sharia Law that favor “stoning to death” as punishment for
  adultery (ranging from Turkey being 29% in support to Pakistan being 89% in support); PEW
  data from 2013 regarding Muslims who support Sharia Law that also support “corporal
  punishment” for theft and other crimes (ranging from Tunisia with 44% in support to Pakistan
  with 88% support); and, PEW data from 2013 regarding Muslims who support Sharia Law that
  also support “death” as punishment for apostasy (ranging from Turkey being 17% in support to
  Egypt being 86%). His slides further presented PEW survey data from 2015 regarding countries’
  populations that have an “unfavorable view” of Jews (ranging from Turkey with 60% support to


                                                    109
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 349 of 566 PageID 419




  Jordan with 100% support), an “unfavorable view” of Christians (ranging from Lebanon being
  7% in support to Morocco being 61% in support), and, an “unfavorable view” of Muslims
  (ranging from Britain with 14% support to the Netherlands with 51% in support).

          When discussing the slide related to homosexuality and Sharia law, the Respondent
  stated that the slide regarding homosexuality also included a few African countries that are not
  Muslim-majority, and explained that while these statistics only reflected the views of Muslims
  within those countries, “all these Black African countries, sub-Saharan African countries, are
  terribly anti-gay”. He continued and said, “I’m not an authority, obviously, on Sharia Law, but I
  do know that some of these laws are regular laws… like how you should handle inheritances, but
  also in Sharia Law is the idea that anyone who has sex outside of marriage should be murdered,
  if you steal a loaf of bread you should get your hand cut off… look at the number of people in
  these countries who would like to have Sharia Law” When covering the slide related to Muslims
  who support death for apostasy under Sharia Law, he stated, “This should be a red flag for
  people, for this particular religion-slash-myth…” Later in the lecture, the Respondent stated, “I
  know for many of you, this is the first time you’re being exposed to these attitudes that are held
  by many people in the Muslim world… at some point, I want you to forget about the numbers
  and just let it sink in how so many Muslims in the world have so many disturbing attitudes that
  are not compatible with our values in the Western world.” See Recordings – Spring 2020 Arab
  and Muslim Lecture 2.

           The Respondent’s Power Point slides included versus from the Quran, some of which he
  titled “advice for jihadists”, including the following:
          • When the four forbidden months are over, wherever you encounter idolaters, kill them,
             seize them, besiege them, wait for them at every lookout post; but if they turn (to
             Allah), maintain the prayer, and pay the prescribed alms, let them go on their way, for
             Allah is most forgiving and merciful (Qur’an: 9:5).
          • O you Jews to whom the Scripture has been given, believe in what We have (now)
             revealed, confirming and verifying what was possessed by you, before We destroy
             your faces beyond all recognition (“we’ll wipe out your sense of direction” in 2004
             version), turning you on your backs, and curse you as We cursed the Sabbath-breakers,
             for the decision of Allah must be executed. (Qur’an: 4:47)
          • Remember when Allah revealed His will to the angels: “I am with you; so give
             courage to the believers. I shall cast terror into the hearts of the infidels [non-
             Muslims]. Strike off their heads (“strike them above their necks” in 2004 version),
             strike off the very tips of their fingers!” That was because they defied Allah and his
             Messenger; and he that defies Allah and his Messenger shall be sternly punished by
             Allah. “That is it: taste it.” (Qur’an 8:12-14)
          • If you suffered a defeat, so did the enemy. We alternate these vicissitudes among
             mankind so that Allah may know the true believers and choose martyrs from among
             you (Allah does not love evil-doers); and that Allah may test the faithful and annihilate
             the infidels. (Qur’an: 3:140)
          • Whoever changes his religion, execute him.




                                                  110
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 350 of 566 PageID 420




            •   If you find anyone doing as Lot’s people did, kill the one who does it, and the one to
                whom it is done. 20

          With regard to the available 2018 General Psychology recordings, OIE’s review did not
  reveal the Respondent having said that with regard to Islam, it was a myth that they were
  peaceful, the religion was founded on violence, they remain violent today, and they forced
  people to convert to Islam. The available recordings also did not capture the Respondent stating
  that radical Islam was evil and caused people to do evil things, nor the Respondent telling a
  Muslim student that her culture was a “terrorist culture”, she “was just as brainwashed as the
  terrorists were,” and “maybe you are a terrorist”.

           Taking the record as a whole into consideration, OIE finds that there is sufficient
  evidence to support finding that, during his Cross Cultural Psychology courses, the Respondent
  spent a portion of the course discussing Muslims and Islam and that, during this portion, the
  Respondent told students that despite there being hundreds of millions of Muslims “who are nice
  people”, there are also “hundreds of millions of Muslims who have some very disturbing
  attitudes”. He then shared 2013 and 2015 PEW survey data related to opinions from Muslim
  populations that honor killings are justifiable for women, homosexuality is immoral, Sharia law
  was desirable, “stoning to death” was appropriate punishment for adultery, “corporal
  punishment” for theft and other crimes was acceptable, and, “death” was appropriate punishment
  for apostasy. The Respondent also shared versus from the Quran to illustrate the difficulty in
  convincing him that Islam is a religion of peace. Furthermore, the Respondent conceded that
  during his lectures regarding Muslims and Islam, he did not present a full picture of the teachings
  of Islam or Muslim opinions (“I don’t spend much time pointing out the love your neighbor
  parts. I’m pulling out things that Americans don’t want to face up to.”). It also is undisputed that
  the Respondent required students to review By the Numbers – The Untold Story of Muslim
  Opinion & Demographics video as part of the course curriculum, wherein the narrator presented
  her viewpoint that most of the terrorism in the world today involved Muslims. This limited and
  generalized presentation of Islam and Muslims was understandably upsetting and offensive to a
  number of students and corroborated by multiple students throughout OIE’s investigation (both
  those that said they had a positive experience in the course and those that said they had a
  negative experience in the course) who indicated that the Respondent was “harsh” in his
  treatment of Muslims and Islam. For instance, Witness 52 alleged that during the 2019 Spring
  Cross Cultural course, the Respondent only presented bad developments related to Muslims,
  such as radicalized factions, and failed to present a balanced or complete view of this religion
  (referring it to as a “lop-sided view” of Muslims). Witness 117 recalled that during this course,
  the Respondent said that “Muslims like to bomb stuff”. Witness 73 described the presentations
  regarding Muslims as “misleading”. However, there was insufficient evidence to support that he
  targeted particular students or referred to them as terrorists if they were Muslim as this evidence
  did not appear in any of the recordings reviewed by OIE.




  20
       The Power Point slides continue with versus pulled from the Bible.

                                                            111
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 351 of 566 PageID 421




     49. Whether the Respondent told female Muslim students that they were oppressed, and
         insulted Muslim women when they provided information different from this
         opinion.

          Witness 123, who was a student in the Respondent’s 2013 Spring Cross Cultural
  Psychology course, stated in her post related to the Change.org seeking the Respondent’s
  termination that the Respondent told a Muslim woman in the class that was wearing hijab that
  she was oppressed and that’s why she doesn’t lead prayer, which caused the student to cry.
  Witness 95 alleged that during the 2018 Fall General Psychology course, the Respondent told a
  female student, who was wearing a hijab, that she had been brainwashed by her religion and
  country of origin, and the wearing of the hijab was her submitting to her culture’s stereotypes
  about women being servants. Witness 95 further alleged that when this student stated a very
  personal reason why she wore a hijab, the Respondent replied that was not really the reason why
  women wear hijabs and that she was wrong about her reason for wearing one. Witness 58, who
  was in this same course, recalled a female student wearing a hijab being offended by something
  the Respondent said about her culture or race. Witness 58 could not recall specifically what had
  been said, but recalled that she and the Respondent had a conversation during which the student
  “was distraught.” Similarly, Witness 58 and Witness 107 alleged that the Respondent also told
  students that Saudi Arabia still oppressed its people and oppressed its women especially. When
  a Saudi Arabian student responded that her country was not like that, the Respondent replied,
  “You’re wrong and you’ve been brainwashed by your government”.

          Similarly, Witness 137, who submitted an Integrity Line report (#877) and participated in
  an OIE interview, stated that during the 2019 Fall Cross Cultural Psychology course when “a
  Muslim student in the class tried to correct [the Respondent] and help the remainder of the class
  understand why Muslim women wear” a hijab, he “was very disrespectful toward her telling her
  she really had no understanding. He was rolling his eyes the entire time she was speaking
  disregarding her ideas.” When the student finished, the Respondent allegedly said, “If you want
  to believe that, that’s fine, but that’s not really the reason why they wear those.” Witness 169
  expanded on this and alleged that during this course, the Respondent had the following exchange
  with this female Muslim student: Respondent said that Muslim women were ashamed of their
  bodies which was why they wore a hijab; the female student stated that she wore the hijab for her
  own values and not because men told her to do so; the Respondent replied, “that’s what you do
  but not all do”, “you’re not following the faith because it says here that women are less”
  [referencing text in the Quran], and “your religion doesn’t respect you as a woman ... that’s what
  your faith is telling you”; she then explained that religious texts can be interpreted in many ways;
  he replied, “That’s not what I’m teaching right now” and ended the discussion.

          During his OIE interview, when asked if a Muslim student wearing a hijab or any other
  student ever walked out of class due to being offended, he stated, “My classes are large, typically
  anywhere from 100-450 students, and students intermittently walk out for all sorts of reasons, but
  I don’t know because I don’t ask. I tell them I don’t take attendance, and if they come in late or
  leave early to do so quietly. I have no idea why they leave.” In response to the allegation that
  during his 2018 Cross Cultural Psychology course, he said that he thinks all religious people are
  brainwashed and referred to Muslims wearing hijabs and said they were “socialized”, the
  Respondent stated, “If it comes up about the hijab, most women have been socialized that they


                                                  112
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 352 of 566 PageID 422




  have to do this starting at the age of 9. I deny using the term ‘brainwashed.’” When asked about
  allegations related to discussions with female students that wore a hijab, the Respondent replied,
  “I never talk to any one specific group or student like that. Rather, I talked to a broad group of
  students across race, gender, and religion. I’m not talking to any specific group as has been
  alleged. In my Cross Cultural Psychology classes, I do make the case - and I’m defending them
  somewhat-that women who wear the hijab to represent their religion have been socialized to do
  so. I pointed out that all students wearing clothes have been socialized to do that. There is a good
  chance that when they were children, they liked playing naked in the tub or outside, and at some
  point, their parents told them that they needed to wear clothes. Most people today would not feel
  comfortable walking around without clothes on. This same logic applies to women wearing the
  hijab.” When asked if any students ever challenged him on this assertion, the Respondent
  replied, “I don’t recall a single time. I maybe have had one or two students wearing a hijab at
  most in my classes. I think that they appreciated the discussion that we are all products of our
  culture and are conforming. No one has ever complained in my student evals or to my chair
  about this discussion point, until now.”

          When asked to respond to allegations that during his 2013 Cross Cultural Psychology
  course, he told a Muslim woman wearing hijab that she was oppressed, which caused the student
  to cry and leave the class, the Respondent replied, “No, I walked the students through aspects of
  different customs within the Middle Eastern world, which clearly suggest that women are
  oppressed as a group. There are Muslims who claim that women are not oppressed, but I tell my
  students that I just presented facts of oppression when I showed that women in Saudi Arabia
  can’t leave their home without a male escort, and cannot initiate a divorce. I tell the students that
  they can fact check those facts. I tell them that they then can decide for themselves if women are
  oppressed or not. I’m not there to force students to buy into what I say, I’m there to get them to
  come to their own conclusions and think independently.” Similarly, when asked about the
  exchange with a student about Saudi Arabia, the Respondent stated, “I don't remember having
  that conversation. However, if it occurred, I would have pointed out to the student the specific
  examples about whether they could go out alone, divorce their husbands, drive a car, and then
  ask her to provide examples of her views that would refute mine. I would not say that the student
  was wrong and had been brainwashed by their government.”

          When asked if he recalled having an argument with a student about wearing a hijab
  during his 2019 Fall Cross Cultural Psychology course, the Respondent replied, “[I]n Fall 2019,
  there was a woman who was totally covered who prayed outside my classroom and reacted
  strongly to the things I said about Islam. She raised her hand and started proclaiming what she
  believed, and I told her I had to stop her because I was teaching from a secular point of view and
  not a believer’s point of view.” The Respondent was then asked about the alleged exchange as
  described by Witness 169. In response, the Respondent stated, “That’s a very personal back and
  forth that I would unlikely ever engage in with a student. What’s being reported to you is
  something that – that’s lot. I want to comment on each point. I didn’t personalize anything to her,
  and I didn’t mention anything about Muslims being ashamed of their bodies. I have already
  shared my perception that she didn’t like me saying negative things about Islam, and she almost
  started proselytizing. I don’t remember what she said, and the class was looking at me like, how
  long are you going to let this go on? I said, ‘You’re a Muslim and that’s fine, but I’m not
  teaching this from a believer’s point of view.’ Students can look up the verses themselves and


                                                   113
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 353 of 566 PageID 423




  form their own opinions. I’d say 70% of the things that she reported, I did not say.” The
  Respondent then denied that he said that “women are ashamed of their bodies which is why they
  wear a hijab”, denied that he responded to the student saying that she wore the hijab for her own
  values and not because men told her to do so, and denied that he told the student “you're not
  following the faith because it says here that women are less” and “your religion doesn’t respect
  you as a woman ... that’s what your faith is telling you.” He also stated that he could not recall
  referencing text from the Quran during this exchange. During his OIE interview, the Respondent
  further stated, “There is a tiny grain of truth to what the students are saying, but they are gross
  distortions of what I said. There are several verses from the Quran that clearly say that women
  are not equal to men. There are verses that point out that women are not the same as men, and
  they are counted as half. These are the texts that I referenced in my courses.”

          The Respondent’s Power Point slides also set forth information related to “Is Middle
  Eastern Culture Oppressive to Women?” The slides thereafter indicated that this question has
  “diverse views” and is “debatable”. The slides then noted that, depending on the country of
  origin, community or family, head (and to a lesser extent, face) coverings are required for
  women, polygyny is legal in most Muslim countries, women may or may not be permitted to
  work outside home, women may or may not be permitted to drive, most women, but not all, are
  permitted to attend school, women may or may not be permitted to vote, women’s testimony
  counts as “half” as men’s testimony, and, women may or may not be permitted to travel alone.
  The slides then note a discussion regarding virginity tests for women, the concept of “marital
  rape” being non-existent, honor killings, and “Compensation marriages”. When covering the
  honor killings data, the Respondent told his students, “This is one of the most bizarre things that
  exists among some to many Muslim people. The idea that a female’s value is so linked to her
  virginity that if anyone defiles that, or she does, then she needs to be killed. But please
  understand that even if your sister or your mom or your wife was sexually assaulted by others,
  for some Muslim families the thing to do is to kill her as though she has brought shame to the
  family.” See Recordings – Spring 2020 Arab and Muslims Lecture 2. The slides also set forth the
  following versus from the Quran:
          • In the Qur’an, women are to be treated equally as men…
          • Men have authority over women because Allah has made one superior to the other,
              and because they spend their wealth to maintain them. Good women are obedient.
              They guard their unseen parts because Allah has guarded them.
          • If you fear high-handedness from your wives, remind them [of the teachings of
              Allah], then forsake them in beds apart, then beat them (“hit” in newer version). Then
              if they obey you, take no further action against them. (Qur’an, 4:34).
          • Concerning your children, Allah commands you that a son should have the equivalent
              share of two daughters. (Qur’an, 4:11) (in reference to inheritance).
          • And do not give your women in marriage to idolaters until they believe… Qur’an:
              2:221
          • Women are your fields: go then, into your fields and plow them as you please.
              Qur’an: 2:222

          In the recordings related to this lecture, the Respondent referred to marital rape and stated
  that there was no such thing as marital rape (as a social construct) in the Muslim world and that it
  did not exist in the majority of Latin American, African, or Asian countries as well. The

                                                  114
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 354 of 566 PageID 424




  Respondent explained that, “Any time a woman is sexually assaulted, if she were to go and
  complain to the police and press charges, they are going to find the man and bring the man in
  with her. The man will say he did not sexually assault her … it was consensual. Her testimony
  only counts as half of his… they will turn and accuse her of having sex with someone who is not
  her husband, and there are severe consequences for her… for the police station and for her
  family. She will most likely end up dead as a consequence. … A lot of women in the Muslim
  dominated world experience sexual abuse and they never come forward about it.”

          Taking the record as a whole into consideration, OIE finds that there is sufficient
  evidence to support finding that the Respondent spent a portion of his General Psychology and
  Cross Cultural Psychology courses discussing Muslims and Islam and that, during this portion,
  discussed whether Muslim women are oppressed. He then shared information related to head
  and face coverings, polygyny, the weight of women’s testimony, and restrictions on working
  outside the home, driving, attending school, voting, traveling, and filing for divorce. The
  Respondent also presented information related to virginity tests for women, marital rape, honor
  killings, and compensation marriages. When students challenged him on the concept that Muslim
  women were oppressed, he relied on this information and asked students to provide information
  that refuted what he presented. With regard to Muslim women wearing a hijab, the Respondent
  taught students that Muslim women had been socialized that they have to do this starting at the
  age of 9.

          With regard to the allegation that in 2013, the Respondent told a Muslim woman wearing
  a hijab that she was oppressed and that’s why she didn’t lead prayer, taking into consideration
  the lack of corroboration of this specific incident and the length of time between the incident and
  reporting, OIE finds that there is insufficient evidence in the current record to support that this
  occurred as alleged. However, with regard to the allegations related to interactions with students
  in the 2018 General Psychology course and 2019 Cross Cultural Psychology course, this is a
  closer question as there are two witnesses in each course that corroborated the events. That said,
  when OIE spoke with multiple other students from these courses, they did not identify.
  Notwithstanding, taking the record as a whole into consideration, including the corroboration of
  the students in those courses, the specificity provided regarding the alleged incidents, the
  students’ lack of motivation to lie, and the Respondent’s inconsistencies (as set forth in the
  Consistency section above), OIE finds that there is sufficient evidence to support finding that:
  (1) During the 2018 General Psychology course, the Respondent told a female student who was
  wearing a hijab that she had been brainwashed by her religion and country of origin, and the
  wearing of the hijab was her submitting to her culture’s stereotypes about women being servants;
  and that when this student provided a personal reason for why she wore a hijab, the Respondent
  replied that was not really the reason why women wear hijabs; (2) During the 2018 General
  Psychology course, the Respondent told students that Saudi Arabia still oppressed its people and
  especially oppressed its women and when a Saudi Arabian student responded that her country
  was not like that, the Respondent replied, “You’re wrong and you’ve been brainwashed by your
  government”; and, (3) During the 2019 Cross Cultural Psychology course, when a female
  Muslim student who wore a hijab stated that she wore the hijab for her own values and not
  because men told her to do so, the Respondent replied, “that’s what you do but not all do”,
  “you’re not following the faith because it says here that women are less” (referencing text in the
  Quran), and “your religion doesn’t respect you as a woman ... that’s what your faith is telling


                                                  115
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 355 of 566 PageID 425




  you”; she then explained that religious texts can be interpreted in many ways and the Respondent
  replied, “That’s not what I’m teaching right now” and ended the discussion.

     50. Whether the Respondent told students that that there was no “ism” for Jewish
         people.

          Witness 80 alleged that during the 2018 Fall Cross Cultural Psychology course, the
  Respondent stated that there was no “ism” for Jewish people. Witness 80 indicated that this
  statement ignored antisemitism. In response to this allegation, the Respondent stated, “That’s
  not true as there’s antisemitism. What I said to the students was that there are twice as many hate
  crimes directed at Jews as there are directed at Muslims. However, we tend to ignore the hate
  crimes directed at Jews and focus only on Muslims. That’s what I said. I’m acutely aware of the
  term ‘antisemitism’.” OIE’s review of the 2019 Summer Cross Cultural recording (see
  Recordings – 3) revealed that the Respondent discussed hate crimes and said that there were
  twice as many hate crimes against Jews than there were against Muslims, and that antisemitism
  was more prevalent. No other students, including the 16 students spoken to from the 2018
  course, alleged that the Respondent stated that there was no “ism” for Jewish people.
  Accordingly, taking the record as a whole into consideration, OIE finds that there is insufficient
  evidence to support finding that the Respondent told students that there was no “ism” for Jewish
  people.

     51. Whether the Respondent issued lower grades to individuals with religious beliefs.

          The anonymous reporter in IL #802 alleged that the Respondent “would intentionally
  ensure that anyone with a different religious belief system than him would either be humiliated
  or receive a lower grade.” The Respondent denied this allegation and no evidence in the record
  supports that the Respondent lowered the grades of individuals with different religious belief
  systems. Rather, the record demonstrates that the Respondent issued multiple choice exams to
  students, which the GTAs handled and entered the grades for the Respondent. None of the
  GTAs interviewed supported the allegation that the Respondent handled students’ grades
  differently based on their religion. Accordingly, taking the record as a whole into consideration,
  OIE finds that there is insufficient evidence to support finding that the Respondent issued lower
  grades to individuals with religious beliefs.

     52. Whether, during class, the Respondent told students that Muhammed was a
         “pedophile” or “child rapist”.

           Witness 73 alleged that during the 2019 Spring Cross Cultural Psychology course, the
  Respondent told the students that Muhammad was a “child rapist”. Witness 64 alleged that
  during this same course, the Respondent stated that Muhammad was a “pedophile”. In response
  to the allegation that he called Muhammad a “child rapist”, the Respondent stated, “I don’t use
  that word. I hate to admit it, but in this case, I defend him. In my classes, I share that when
  Muhammad was 50 years of age, he was given a six-year-old child to marry, and he married her.
  As part of their custom at the time, he wasn’t supposed to consummate the marriage until she had
  her first period. She had her first period, supposedly, at age 9. The nutrition was not that good
  living in the desert back then so it’s doubtful she got her period at age 9. Now, here is a 53-year-


                                                  116
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 356 of 566 PageID 426




  old man having sex with a 9-year-old girl. Muslims tell this story as if it’s nothing. I almost
  defend Muhammad on this point, and I also defend slave owners in that I share with students that
  we have this bad habit of judging people in the past based upon the current social norms. People
  who owned slaves did not think they were doing anything bad. The conversation is much more
  nuanced than the students are claiming. We used to have children working in factories, and we
  now judge the people who used to let their children work in factories as evil people. I have told
  my classes that what Muhammad was doing at the time 1400 years ago was probably not
  perceived as something wrong. Of course, today that would be child sexual abuse. There are
  people who are not as dispassionate in this treatment of Muhammad’s conduct as I am, and
  rather call him a pedophile, but I do not do this. Instead, I explained to the students that his
  conduct at the time may not have been judged as bad.” When asked if he referred to Muhammed
  as a pedophile, the Respondent replied, “Well, I’ve already explained that. My position is that he
  was consistent with his culture at the time. However, by today’s standards, in our culture, he
  would be viewed as a pedophile, except maybe not so much in Saudi Arabia.”

          OIE’s review of the 2020 Spring Cross Cultural recordings revealed that the Respondent
  stated the following with regard to Muhammad: “Now, there are some strange things about
  Muhammad in light of his culture during his time. One thing that was strange about him was
  he got married at the age of 25… the typical person during that time and in that location would
  get married at 13 or 14 or 15… if that weren’t strange enough, he married to a woman who
  was…widowed and… 40 years of age… I’m telling you from different angles, there aren’t many
  25-year-old men anywhere in the world, even today, who would like to be involved in a romantic
  relationship with a 40-year-old woman. I’m not saying it never exists, but to go forward with a
  marriage like that, that was strange, but especially strange during his time.” In the Arabid
  Diaspora recording reviewed by OIE, the Respondent referred to Muhammad’s marriage to a 40-
  year-old woman as being odd and said, “Why is that odd? Because there aren’t many men who
  want to be married to an old hag.” In none of the other recordings reviewed by OIE was there a
  reference by the Respondent that Muhammad was a pedophile or child rapist. In the Arabid
  Diaspora recording reviewed by OIE, the Respondent discussed the sources he relies on with
  regard to Muslims wherein he referenced that he ignores information from those that hate
  Muslims and refer to Muhammad as a pedophile. The Respondent did not himself refer to
  Muhammad as a pedophile during this discussion. Also, of the 31 students from the Spring Cross
  Cultural Psychology course, Witness 73 and Witness 64 were the only students to have made an
  allegation of this nature and they alleged different terms (one said “child rapist” and the other
  said “pedophile”). Taking the record as a whole into consideration, OIE finds that there is
  insufficient evidence to support finding that the Respondent told students that Muhammed was a
  “pedophile” or “child rapist”.

  Race/Ethnicity-Based Comments

     53. Whether the Respondent told students that he hated Black people.

          An anonymous reporter alleged that on the first day of class, the Respondent said that he
  hated Black people. In response to this allegation, the Respondent stated, “Absolutely not. I
  have never made that statement.” None of the individuals that OIE communicated with as part of
  this investigation alleged that the Respondent stated that he hated Black people. OIE’s review of


                                                 117
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 357 of 566 PageID 427




  the class recordings also did not reveal the Respondent having made a statement of this nature.
  Accordingly, taking the record as a whole into consideration, OIE finds that there is insufficient
  evidence to support finding that the Respondent told students that he hated Black people.

     54. Whether the Respondent told students about “people as primates” and said, “he
         [the primate] had the personality of a person of color” and named the primate
         “Leroy”.

          Witness 53, who was a student in the Respondent’s 2019 Summer Sexual Behavior
  course, alleged that the Respondent talked about “people as primates” and said, “he [the primate]
  had the personality of a person of color” and named the primate “Leroy”. When asked if he
  made a statement of this nature, the Respondent replied, “Never, I have no idea what this is.”
  Aside from Witness 53, none of the individuals that OIE communicated with as part of this
  investigation alleged that the Respondent made a statement of this nature.

          OIE’s review of the class recordings also did not reveal the Respondent having made a
  statement of this nature. Rather, the closest reference to this was a discussion during the
  Respondent’s 2019 Summer Cross Cultural Psychology course wherein the Respondent
  discussed how isolated humans were during the 1800s and the origins of religion – namely,
  humans’ awareness of death. During this discussion, the Respondent stated, “We supposedly
  share, and I can’t defend this, we share 95 to 98% of our genes with Chimpanzees, which is
  pretty incredible. But we have enough distinction in our genes to make us different. How are we
  different from our closest relatives? Well, Chimpanzees … and other types of primates don’t do
  anything other than eat, drink, screw – I am sorry – have sex and fight. That’s pretty much all
  they do. They do not ever make plans for the future or travel any place else unless they are
  following a food source. I mean, what are the odds that chimpanzees sitting on a tree chatting
  with each other saying, hey Leroy, remember last year when we almost fell off that tree and an
  alligator bit you on the ass and they were laughing about that. The odds are they only think about
  the past. Maybe I am wrong, but they did not plan for anything. You and I plan, you planned to
  come on this trip to Peru, and not planning to go somewhere else. There is no evidence that they
  (chimps) plan for anything – just eat, drink, have sex and fight.” There was no reference in this
  recording of the Respondent saying that a primate had the personality of a person of color.

          Accordingly, taking the record as a whole into consideration, OIE finds that there is
  insufficient evidence to support finding that the Respondent talked about people as primates and
  said that the primate, who he named Leroy, had the personality of a person of color.

     55. Whether, during class, the Respondent used negative race-based terms during
         lectures, such as “coon”, “porch monkey” and “wetback”.

          Witness 47, who submitted JKRT Report #00047707, participated in an OIE interview
  and was a student in the Respondent’s 2020 Spring Cross Cultural Psychology course, alleged
  that the Respondent “attempted to start arguments in class by deliberately making people
  uncomfortable, such as in the use of listing off racial slurs for shock value, specifically including
  ‘coon’ and ‘porch monkey’”. Witness 95 alleged that during the 2018 Fall General Psychology
  course, the Respondent said that White people gave Blacks the nickname “porch monkey”


                                                   118
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 358 of 566 PageID 428




  because it made sense in that Blacks were being lazy and hanging out on the porch. Witness 140
  alleged that during the 2018 Fall Cross Cultural Psychology course, the Respondent said that
  people called him a “wet back” so “why can’t I call them a ‘porch monkey’”.

          The Respondent denied all these allegations. When asked if there was any context for use
  of these terms in his courses, the Respondent replied, “It would be a rare event for this term to
  ever come up in my classes. If it were to come up, it would be me pointing out that other African
  Americans who don’t like the views of conservative African Americans use the terms ‘porch
  monkey’, ‘porch n-----', or ‘coon’. You gave an example in the letter, but no one has ever called
  me a ‘wetback,’ and I’ve never called others ‘coon’ or made the alleged statement that people
  call me a ‘wetback so why can’t I call them a porch monkey’”.

         Witness 1, who was a student in the Respondent’s 2019 Spring Cross Cultural
  Psychology course, stated that the use of the term “porch monkey” sounded familiar as having
  been used by the Respondent, but in the context of explaining how some people use the term.
  Similarly, Witness 41, who was a student in the Respondent’s 2019 Fall Cross Cultural
  Psychology course, stated that the Respondent did not use terms like “coon” or “porch monkey”.

          OIE’s review of the 2019 Summer Cross Cultural Psychology recordings (see Recording
  – 12), demonstrated that while discussing survey data related to opinions about why Black
  individuals are not successful in the U.S., the Respondent stated that the surveyors “asked the
  question of Whites, Blacks and Hispanics about Blacks, the question is about Blacks, okay?
  They ask Whites, Hispanics and Blacks about Blacks. If a Black person in the United States is
  not successful, do you think that it is due to discrimination or their own personal shortcomings?
  And these are the percentages of the ethnic groups that think if you are Black in the United States
  and you are not successful, it is because of you and your own problems, not because of racial
  discrimination. (Pause) So, we have kind of a bi-polar group of African Americans in the United
  States. And, just so you know, the African American who seems to be really bounced upon in
  the United States by Blacks is the conservative African American. The conservative African
  American, they have nasty names for them, ‘coon, porch monkey, Uncle Tom.’”

          None of the other recordings reviewed by OIE had an incident of the Respondent using
  the terms “coon”, “porch monkey” or “wetback”. Also, with the exception of Witness 47 and
  Witness 95 (who were in different courses), no other students corroborated the use of these terms
  outside the context of the Respondent describing how these terms are used by some Black
  individuals against other Black individuals. Accordingly, taking the record as a whole into
  consideration, OIE finds that there is insufficient evidence to support finding that the Respondent
  used the term “wetback” during his classes, including that he said that people called him a “wet
  back” so “why can’t I call them a ‘porch monkey’”. Although the record supports that the
  Respondent used the terms “coon” and “porch monkey” during his Cross Cultural Psychology
  courses, OIE finds that they were used in the context of the Respondent discussing data related to
  opinions about the cause of some Black individuals’ lack of success in the U.S. and how some in
  the Black community use those terms in reference to other Black individuals.




                                                 119
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 359 of 566 PageID 429




     56. Whether the Respondent stated that Black and Native American people are inferior
         to other races because they did not have cerebral cortices.

          The anonymous reporter in IL #805, who allegedly was a student in the Respondent’s
  2017 Fall Cross Cultural Psychology course but withdrew, alleged that the Respondent “claimed
  that Black and Native American people did not have cerebral cortices and were therefore inferior
  to White people. This is blatantly false as you can see the cerebral cortex of a Black or Native
  American person on a brain scan. Claiming that certain ‘inferior’ races are missing a
  fundamental part of the brain - a claim that’s easily disproved- is incredibly racist and ignorant.”
  Witness 88, who was a student in this same course, alleged that the Respondent made this
  statement about cerebral cortices. Similarly, Witness 95 alleged that during the 2018 Fall
  General Psychology course, while the Respondent talked about the evolution of homo sapiens,
  he stated that Blacks and Native Americans did not have cerebral cortices, Blacks and Native
  Americans were inferior to White Europeans, being White was superior because they had
  cerebral cortices, and Black people and Native Americans were inferior from an evolutionary
  standpoint. The Respondent denied these allegations and stated, “I have never used the words
  inferior or superior in my classes when discussing these issues, and I never talked to my students
  about cerebral cortices.”

           When reviewing the recordings available to OIE, only one instance was identified
  wherein the Respondent made a reference to a cerebral cortex. Specifically, during the 2019
  Summer Cross Cultural Psychology course (see Recordings – 6), the Respondent discussed how
  isolated humans were during the 1800s and the origins of religion – namely, humans’ awareness
  of death. During this lecture, he stated, “Our cerebral cortex is very distinct from other animals’
  cortices. It is much more complicated and much more complex. That allowed us to do things
  that all the other animals can’t do.” He then discussed how humans make plans in their life in a
  way that other species do not, and how humans’ closest relative, the chimpanzee, only plans “to
  eat, drink, have sex and fight. So, one thing that distinguishes us from our closest relative is our
  cerebral cortex. It allows us to be aware that we exist. That we have a past.” Witness 95 and the
  anonymous reporter in IL #805 were the only individuals out of the more than 300 individuals
  that OIE spoke with that alleged that the Respondent told students that Black and Native
  American people were inferior to other races because they did not have cerebral cortices.
  Although the Respondent’s statement that he “never talked to my students about cerebral
  cortices” is clearly inconsistent with the recordings, the recordings demonstrated that the context
  for the discussion was humans’ awareness of death and thus, the possible origins of religion,
  rather than in the context of racial inferiority. Accordingly, taking the record as a whole into
  consideration, OIE finds that there is insufficient evidence to support finding that the Respondent
  told students that Black and Native American people were inferior to other races because they
  did not have cerebral cortices.




                                                  120
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 360 of 566 PageID 430




     57. Whether, during class, the Respondent correlated penis size with race, including
         that he told students that “Asians were superior but Black men have bigger
         penises”; while discussing circumcision in class, told students, “Good for Black guys
         that they have a bigger penis”; told students about research that found, on average,
         that the claim that Black males have larger penises than other races was valid; told
         students, “You (in reference to Black people) may not have everything, but at least
         you have bigger penises”, hopped off the stage, approached some Black male
         students, and high fived them; told students, “Black men have the biggest dicks,
         followed by Whites and Latinos who are similar in size, and Asians have the
         smallest dicks”; and, asked the class to identify “good stereotypes” that they know
         about Black people and when someone raised their hand and said, “they have big
         man parts”, he responded “that was the one I was looking for”.

          Witness 99, who submitted a Student Google Form, alleged that during the Respondent’s
  2012 Fall General Psychology course, he told students “you (black people) may not have
  everything, but at least you have bigger penises”. He then hopped off the stage, found some
  black male students and high fived them. Witness 88 alleged that during his 2017 Fall Cross
  Cultural Psychology course, the Respondent told students that Asians were superior but Black
  men having bigger penises. Also, while discussing circumcision, he said, “Good for Black guys
  that they have a bigger penis”. Witness 83 stated that the Respondent made a similar comment
  about Black men having bigger penises during his 2017 Fall Sexual Behavior course.

          Witness 117 alleged that during the 2019 Spring Cross Cultural Psychology course, the
  Respondent told the class that African Americans had the largest penises, followed by Hispanics
  and Caucasians, and that Asians had the smallest penises. Witness 117 further alleged that this
  discussion had nothing to do with class at the time and the Respondent instead referenced that he
  taught a sexuality class that they could take to learn more about penis size. Witness 73 alleged
  that the Respondent told students in this same course that “Black men have the biggest dicks”,
  followed by “Whites and Latinos who are similar in size”, and “Asians have the smallest dicks”.
  Witness 56 stated that during this same course, the Respondent asked the class to identify “good
  stereo types” that we know about Black people. When one person raised their hand and said,
  “They are good at sports”, the Respondent replied that this was not the one he was looking for.
  Someone else raised their hand and said, “They have big man parts”. The Respondent replied,
  “That was the one I was looking for.” He allegedly then stated that this stereotype was true and
  commented that Black males have the largest penises compared to other races. Similarly,
  Witness 119, who was enrolled in the Respondent’s 2010 Fall Sexual Behavior course and 2013
  Spring Cross Cultural Psychology course, alleged that the Respondent talked about research that
  found, on average, that the claim that Black males have larger penises than other races was valid.
  Witness 45 alleged that the Respondent told an Asian student that he “should be happy there are
  certain stereotypes. Don’t we all wish we were part of the group that is stereotyped as well-
  endowed.” The Respondent denied ever saying this.

          When asked during his OIE interview whether he had made reference to the size of
  penises as correlated to race during his classes, the Respondent stated, “As a general rule, I never
  have, but it might be the case that I have said that on average, different ethnic groups differ on all
  sorts of human qualities and there may have been one semester that I shared a study that said that


                                                   121
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 361 of 566 PageID 431




  on average there are differences in penis size by ethnicity. It would be among other examples of
  human qualities such as height, running ability, etc. I am not averse to talking about sex. One of
  my missions in teaching human sexuality is to get students to understand sexuality as a normal
  part of life. I generally use professional terms.” The Respondent further stated that with regard
  to making a statement that Black men have bigger penises, “I don’t think it’s part of my normal
  lecture but some student might have asked me that question, and I would tell them that there are
  different studies, including one from a condom company that recruited people from various
  backgrounds to make sure their condoms were appropriately sized and they incidentally
  discovered that African Americans have larger penises than other groups. I was not trying to get
  a reaction from people. It was not gratuitously provocative.”

          The Respondent specifically denied that he stated that Asians were superior but Black
  men have bigger penises. The Respondent indicated, “I never use the word ‘superior’ when
  comparing groups. Superior is a very judgmental term. Whatever behavior specifically I’m
  discussing, I talk about statistics or how they (Asians) get higher points. I never use the terms
  ‘superior,’ ‘inferior,’ ‘worse,’ or ‘better’”. The Respondent also denied that, while discussing
  circumcision in class, he said, “Good for Black guys that they have a bigger penis.” The
  Respondent indicated that this allegation was a “complete fabrication.” As to the allegation that
  he talked about research that found, on average, that the claim that Black males have larger
  penises than other races was valid, the Respondent replied, “I don’t want to misrepresent myself.
  It might have come up. I’ve taught over 30,000 students over 22 years. I can assure you it was in
  the context of the conversation, and that I used appropriate language. I don’t try to be
  provocative just to get a crowd riled up, but I am controversial and willing to discuss topics other
  professors are not. I use data and I use professional terms.”

          Further, with regard to the allegation the Respondent said “you (in reference to Black
  people) may not have everything, but at least you have bigger penises”, hopped off the stage,
  approached some Black male students and high fived them, the Respondent stated that the
  statement attributed to him (“you may not have everything, but at least you have bigger penises”)
  was a “total fabrication”. As to the remainder of this allegation, the Respondent stated that when
  he covered how people varied in class, he “mentioned at the end ‘even in penis size.’ I did,
  during a summer course, walk over and high five an African American student after making this
  reference about penis size. He laughed and the whole class laughed.” As to the allegation that
  Respondent told students that “Black men have the biggest dicks, followed by Whites and
  Latinos who are similar in size, and Asians have the smallest dicks,” the Respondent stated,
  “This is a complete fabrication. I don’t address this in cross-cultural. I don’t address this in
  general, but it comes up occasionally. No one alleged that in my class comments. I did not make
  comments about the sizes of ethnic groups ‘dicks’”. When asked about the allegation that he
  asked students to identify stereotypes, the Respondent replied, “I’m talking about stereotypes.
  I’m letting them know that there are positive stereotypes, not just negative stereotypes. I asked
  them to provide examples of positive stereotypes. I don’t ask about any group specifically, I let
  them tell me. They will offer that Black people are better athletes, and Asians are smart at math.
  I’m sure I said at least on one occasion that there are other positive stereotypes about Blacks, and
  they all snicker and they know exactly what I’m talking about, but I never say it (Black men
  having bigger penises). My opinion is measured. It’s not grotesque like it’s being portrayed. This



                                                  122
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 362 of 566 PageID 432




  is a distortion: I say that there is a grain of truth to all stereotypes, both negative and positive. I
  don’t start focusing on the Black penis.”

          In addition to speaking with the Respondent and witnesses, OIE reviewed course
  recordings. In one recording during the 2019 Summer course, the Respondent told students that
  stereotypes are very hard to avoid and that all of us, no matter what group we belong to, have
  stereotypes. He further stated that, in the U.S., we are taught that stereotypes are bad but they
  are not. He then asked the class to provide examples of stereotypes. The students appeared to be
  hesitant to respond so the Respondent said, “We are big boys and girls,” asked what were
  negative stereotypes about Americans, and suggested that American are rude and materialistic.
  He told the class to not censor their ideas and asked for positive stereotypes. He then asked for a
  positive stereotype about Asians and a student responded that they are good at math. The
  Respondent then asked what a popular stereotype about black men was, and a student responded
  with “sexual performance”. The Respondent then said, “Someone said it—they have large
  penises, right?” The Respondent then moved on to discussing neutral stereotypes.

          Although OIE did not have audio recordings related to the five identified courses (2010
  Fall Sexual Behavior or 2013 Spring Cross Cultural Psychology, 2012 Fall General Psychology,
  2017 Fall Cross Cultural Psychology, 2017 Fall Sexual Behavior, and 2019 Spring Cross
  Cultural Psychology) to review for corroboration, it is important to note the consistency of the
  allegation by individuals in different courses at different timeframes, as well as the detailed
  nature of the allegations. These factors both lend credibility to the allegations. Equally important,
  Witness 117 and Witness 73 corroborated that this kind of statement was made during the 2019
  Spring Cross Cultural Psychology course. Furthermore, the Respondent acknowledged that, on
  one occasion during a Summer course, he covered how people varied in class and mentioned
  “even in penis size”, and then walked over and high fived a Black student. It also is important to
  note that Witness 119, Witness 99, Witness 88, Witness 83, Witness 117, and Witness 73 were
  never enrolled in one of the Respondent’s Summer courses. Accordingly, taking the record as a
  whole into consideration, OIE finds that there is sufficient evidence to support finding that
  during some of the Sexual Behavior, General Psychology and Cross Cultural Psychology
  courses, the Respondent told students that Black men have the biggest penises, followed by
  Whites and Hispanics, followed by Asians. In addition, the record supports that on at least one
  occasion, the Respondent made reference to the difference in penis sizes and then high fived a
  Black male student.

      58. Whether, during class, the Respondent told students that minorities should be
          thanking White men for creating a modern society for them because nothing
          important was ever invented by someone who was not White.

          Witness 122 alleged that during the 2013 Fall General Psychology course, the
  Respondent told students that Black people should thank White people for our modern society.
  Similarly, an anonymous reporter alleged that during the 2015 Spring Cross Cultural Psychology
  course, the Respondent “informed the class that White people are the sole contributors to
  progress and that minority populations would still be ‘uncivilized’ if white colonizers didn’t
  make the contributions they had, ignoring a myriad of human achievements originating outside
  of Europe. In his chapter about white people, he said that their Protestant work ethic made them


                                                     123
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 363 of 566 PageID 433




  work too hard and caused anxiety, and didn’t touch on pathologies like addiction, mental illness,
  and antisocial behaviors like the chapters for minorities did.” See Student Google Form –
  Anonymous.

          Witness 68, who submitted IL #851, similarly alleged that during the 2016 Fall Cross
  Cultural Psychology course, the Respondent said that “minorities should be thanking white men
  for creating a modern society for them.” Witness 88 alleged that during the 2017 Fall Cross
  Cultural Psychology course, the Respondent said that minorities should thank Whites for
  creating a modern society for them, we should have a White History Month to acknowledge
  these contributions, and Whites had created and made more than minorities. Witness 144, who
  also was a student in the 2017 Fall course, alleged that the Respondent stated that cultures other
  than White culture had problems, but because Whites had introduced technology and other
  inventions to the world, Whites represented a better culture. Witness 133 alleged that during the
  2018 Fall General Psychology course, the Respondent said that minorities in general should
  thank Whites for paving the way for minorities. The anonymous reporter in IL #924/925 alleged
  that during the 2018 Spring Cross Cultural Psychology course, the Respondent told students
  “how everything valuable that has ever been made is all thanks to a white person.” A Black
  female student then raised her hand and “countered this (respectfully) to which he asked her to
  name one thing Black people have made that is beneficial to society. … The student could not
  name a specific person or invention but she began to talk about hair products that cater to Black
  hair, which are obviously important. But this was not a good enough response for the professor,
  and he essentially started laughing and said something along the lines of ‘let me know when hair
  products are as important as planes’”. Witness 103 also alleged that during this 2018 Spring
  course, the Respondent told students that “nothing important was ever invented by someone who
  wasn’t White”. Similarly, Witness 81 alleged that during this same course, the Respondent
  stated that African Americans had not contributed to any life changing inventions or
  contributions in society. Witness 150 alleged that during the 2019 Fall Cross Cultural
  Psychology course, when discussing things invented by Blacks, the Respondent attributed them
  to White people and said that “many people think a Black person invented” that, “but really it
  was” this White person.

          When asked whether he said that minorities should thank Whites for creating a modem
  society for them, the Respondent stated, “I’ve never said that. I think I overheard a Hispanic
  student say that when talking with a group of other people at one point in my class. I know how
  hard that comment would be to discuss with the class so I chose to ignore it.” When asked to
  respond to allegations that he stated that there should be a White History Month and Whites have
  created and made more than other ethnicities/races, the Respondent replied, “Here’s a situation
  where I have covered some things that you alluded to but presented them vastly differently in
  class. During this part of my Cross Cultural Psychology class, I’m covering the paradoxes of
  Whites. I have shared with the students that one of the other paradoxes is the intellectual
  paradox. As a group, the majority of Whites are pretty uncultured and unsophisticated. About
  70% of Whites don’t own a passport. Despite the U.S. making it so easy to attend college
  compared to other countries, including community colleges for people who aren’t quite ready for
  real college, grants for low income, etc. - despite all that, the majority of Whites do not graduate
  from a university. Some Whites advocate for English-only as if they don’t understand that people
  who are truly cultured speak more than one language. Nevertheless, from that particular group


                                                  124
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 364 of 566 PageID 434




  (Whites) have come some of the world’s most creative inventors who invented all of the most
  innovative things in the world. I’m not saying minorities never invented anything. I show them a
  PowerPoint of inventions by White Americans or White Europeans. I have never said that
  minorities owe White people anything, or that they should thank them.” The Respondent denied
  saying that Whites were a “better culture.”

          When asked if he told students that minorities never invented anything that impacted
  society, the Respondent replied, “No, I have said that non-whites have invented things on a
  smaller scale or improved upon things that were already invented. However, the major
  inventions that changed the world the way we know it were all invented by white individuals,
  and those are facts - computers, cell phone, planes, trains, automobiles. I have told my students
  that the fact that we don’t have a White History Month is because it makes people feel bad. I’m
  sure I’ve said at some point that if every other group can have an ethnic student organization that
  exists to celebrate their culture and race, Whites ought to have that same right as well. I wouldn’t
  put it past me, but I don’t recall saying there should be a White History Month.”

          Turning to the documentary evidence, on March 18, 2018, the Respondent sent an
  announcement to students wherein he stated the following: I was covering some “paradoxes”
  about Whites and when I started discussing the “intellectual paradox” of Whites, I informed you
  that, on one hand, the majority of Whites are rather unsophisticated intellectually speaking (the
  vast majority have not graduated from a university, believe in “Satan,” blah, blah, blah). And, on
  the other hand, I told you that despite that most Whites are quite mundane intellectually, from
  that group the world’s brightest and most creative inventors have emerged to date. As I told you,
  every single modern invention that changed life as we know it has been invented by a
  White person.” See Announcement – March 18, 2018 Email Re White Accomplishments. Also,
  in Respondent’s Power Point presentation related to Whites, slide 63 appears to list the
  inventions the Respondent referred to as inventions by Whites that were major inventions that
  changed the world. See Power Point White American. Therein, the Respondent listed the train,
  refrigerator, camera, computer, telephone, cell phone, automobile, radio, air conditioner, planes,
  television, communication satellites, and the world wide web (internet).

           Turning to the recordings (see Recordings – 2019 Summer – 15), as set forth in Section
  VI (Material Facts Not in Dispute) above, during the Respondent’s 2019 Summer course, the
  Respondent referenced Whites in the U.S. not knowing the identity of the Prime Minister of
  England and that there was a White paradox. He then stated that from this group of people
  (Whites), “the world encountered the most creative and cutting-edge inventions – far more than
  any other group on the planet.” He then stated that people in the U.S. actively try to suppress
  this information and, apparently in response to reactions students were having, said, “just relax,
  just relax, this is a university and you can talk about anything”. He then discussed the progress
  humans had made over the last two hundred years, such as with regard to the ability to travel.
  He then referred to the refrigerator and how prior to this invention, humans had to go out and
  find fresh meat every day. He then told the class that he suspected that some students in the class
  believed that an African American invented the refrigerator – specifically, Frederick Jones. The
  Respondent then said, “First off he’s not that black, he’s more White than Black.” The
  Respondent then explained that Mr. Jones did not invent the refrigerator, but instead made the
  refrigerator (which had already been invented by a White person) portable and “kudos to him”


                                                  125
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 365 of 566 PageID 435




  because people could now transport food from one place to another, but he shouldn’t get credit
  for inventing the refrigerator. He then walked through the items listed on his slide as having
  been invented by White people (camera, telephone, cellphone, and automobile) and said that
  these were “incredible inventions that changed our life the way we know it”. He then discussed
  the inventions of planes, the television, satellites and the internet, and stated that these inventions
  were found in other countries, and that “White culture brought all of this to the rest of the
  world”. He then said to the students, “I told you this is suppressed.” Later in the lecture, the
  Respondent stated, “We don’t have a White month heritage”, but we do have months to celebrate
  the contributions of Blacks, Hispanics and Asians. He then said, “And it’s because if you
  compare what Whites have contributed to the world compared to all the non-Whites, it’s
  embarrassing, it’s embarrassing the discrepancy”.

         In another lecture during the 2019 Summer course (see Recordings – 2019 – 9), the
  Respondent told students that they will find almost all of the literature on racism to be about
  White racism, which created the image that only Whites were prejudiced. A student asked
  whether the focus was on White racism because people in power, like Congress, were “mainly
  White”. The Respondent replied, “No, there are people in the U.S. who that fall under different
  categories, liberal, progressive, left people, Democrats, who feel guilty over European conquest
  and the fact that the whole modern world has been created by Whites”.

          Taking the record as a whole into consideration, including the consistency of the
  allegations in multiple reports over different timeframes from students in different courses, the
  corroboration of multiple students in the same course (such as 2018 Spring Cross Cultural
  Psychology), the corroboration of the statements as set forth in the Respondent’s March 18, 2018
  email and the audio recordings as set forth above, the lack of students’ motivation to lie and the
  Respondent’s motivation to do so, and the Respondent’s inconsistencies as noted in the
  Consistency section above, OIE finds that there is sufficient evidence to support finding that, in
  the context of discussing the paradoxes of Whites, the Respondent told his Cross Cultural
  Psychology students that, as a group, the majority of Whites are pretty uncultured,
  unsophisticated and fail to graduate from universities despite resources available to them to do
  so. He further told students that, nevertheless, the world’s most creative and cutting-edge
  inventions were from Whites, every single modern invention that changed life as we know it has
  been invented by a White person, the whole modern world was created by Whites, modern
  inventions were invented by Whites “far more than any other group on the planet”, White culture
  brought all of this (planes, the television, satellites and the internet) to the rest of the world, and
  that the reason why there is not a White heritage month like there is for other races and
  ethnicities is because when comparing Whites’ contributions to the world with non-Whites’
  contributions to the word, it would be an embarrassing discrepancy. During this discussion, he
  showed students a Power Point slide listing inventions by White Americans or White Europeans.
  For the reasons set forth above, OIE further finds that there is sufficient evidence to support
  finding that, during these discussions, the Respondent told students that minorities should be
  thanking Whites for creating a modern society.

          OIE would note that this lecture failed to acknowledge numerous significant
  contributions by non-Whites. For instance, it failed to acknowledge Black inventors, including
  but not limited to Mark Dean (who was a Black male, worked as a chief engineer for IBM and


                                                    126
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 366 of 566 PageID 436




  was part of a 12-person team that developed the first IBM PC, the color monitor, the first
  gigahertz processor, and the technology that enables printers, keyboards, and mice to
  communicate with computers), Mary Van Brittan Brown (who was a Black female and devised
  an early home security unit), James West (who was a Black male and invented the foil electret
  microphone, which are included on most telephones, hearing aids, tape recorders, and baby
  monitors), Garrett Morgan (who was a Black male and expanded on the current traffic light by
  adding a “yield” component), Granville Morgan (who was a Black male and invented the
  induction telegraph system, which allowed traveling trains to communicate with one another
  while also allowing dispatchers to locate them), Charles Richard Drew (who was a Black male
  and has been dubbed “the Father of the Blood Bank” as his research led to the effective long-
  term preservation of blood plasma), and, Shirley Jackson (who is a Black female and whose
  telecommunications research led to products such as the touch-tone phone, portable fax, fiber
  optic cables, and caller ID).

     59. Whether the Respondent stated that affirmative action constituted racism against
         White individuals and constituted “Black privilege”.

          Witness 96, who submitted IL #783, alleged that during the 2005 Fall General
  Psychology course, the Respondent told students that affirmative action was a form of racism
  against White people. Witness 88 alleged that he made a similar statement during the 2017 Fall
  Cross Cultural Psychology course. Witness 103 alleged that during the 2018 Spring Cross
  Cultural course, the Respondent said that White people were oppressed and he did not support
  affirmative action programs. Witness 40, Witness 111, Witness 92, Witness 140, Witness 144,
  Witness 52 and Witness 54 alleged that the Respondent told students in the 2017 and 2018
  Spring General Psychology course, as well as the 2018 Fall, 2019 Spring and 2020 Spring Cross
  Cultural Psychology courses, that affirmative action was “Black privilege”. Witness 115 alleged
  that during the 2019 Spring General Psychology course, the Respondent said that affirmative
  action was “Black privilege”, minorities were abusing the privilege to get into college, and
  Whites were being shamed and were now the minority. Witness 125 alleged that during the 2019
  Summer Cross Cultural Psychology course, the Respondent gave his opinion that Martin Luther
  King, Jr. had “Black privilege” that protected him from ethical scrutiny. The anonymous reporter
  in IL #827, who allegedly was a student in the Respondent’s 2019 Fall Personality Theory and
  Research course, similarly alleged that the Respondent told students that “Black privilege is a
  thing”.

          When asked to respond to these allegations, the Respondent stated, “If someone asked me
  whether affirmative action was racism against Whites, I would say yes, but this isn’t part of my
  regular lecture. … The students can express their views, and I can express my displeasure on
  affirmative action. [As to use of the term ‘Black privilege’,] I’ve only done that in my Twitter
  account, not in class, but I’m also not opposed to saying that.”

           Turning to the documentary evidence, on July 15, 2019, the Respondent sent an
  announcement to students in his 2019 Summer Cross Cultural Psychology course, which stated,
  in part, “I promise you (although I can’t prove this): If MLK, Jr., were not black, the social
  justice warriors who are influenced by the “me‐too” movement would be throwing him under the
  bus. But…black privilege protects him. Political correctness at its best.” See Announcement,


                                                127
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 367 of 566 PageID 437




  July 15, 2019 Re Judging Past with Contemporary Standards & Black Privilege Reference.
  Taking the record as a whole into consideration, including the consistency of allegations among
  multiple students across multiple semesters, the documentary evidence contradicting the
  Respondent’s denial of using the term “Black privilege” in his classes, and the Respondent’s
  agreement that he agreed with the nature of the comment regarding affirmative action, OIE finds
  that there is sufficient evidence to support finding that the Respondent repeatedly told students in
  his General Psychology and Cross Cultural Psychology courses that affirmative action
  constituted racism against White individuals and constituted “Black privilege”.

     60. Whether, during class, the Respondent told students that people of color tended to
         not perform as well in math or standardized testing as Whites, told students that
         Whites were more educated than Blacks, and questioned how diversity efforts could
         make UCF stronger if we were inviting students in who didn’t do well on math tests.

          Witness 82 alleged that during the 2014 Fall Cross Cultural Psychology course, the
  Respondent said that White people were more educated than Black people. Witness 111 alleged
  that on the first day of class in the 2017 Fall General Psychology course, the Respondent stated
  that Whites were more educated than Blacks and that his class “would not be self-esteem
  building and that most students do not usually graduate from college, especially not African
  Americans”. Witness 133 alleged that during the 2018 Fall General Psychology course, the
  Respondent stated that Asians were smarter than minorities (Blacks) because they were more
  educated. Witness 95 alleged that, during this same course, the Respondent stated that all Asians
  were smart, and that Whites were more educated than Black people who were also traditionally
  poorer than Whites. Witness 92 alleged that during the 2018 Fall Cross Cultural Psychology
  course, the Respondent stated that Whites were more educated than Black people and Black
  people will not stay in college. Witness 81 alleged that during the 2018 Spring Cross Cultural
  Psychology course, the Respondent sent the class a copy of a letter to John McWhorter about
  African Americans being anti-intellectuals and that not being related to slavery, Jim Crow laws
  and colonialism. Witness 53 alleged that during the 2019 Fall Cross Cultural Psychology course,
  the Respondent told students that colleges should just give African Americans and Hispanics a
  degree if they’re going to let them in because they are not educated. Similarly, Witness 73
  alleged that during the 2019 Spring Cross Cultural Psychology course, while discussing
  affirmative action, the Respondent told students that people of color tended to not perform as
  well in math or standardized testing, and questioned how diversity efforts could make UCF
  stronger if we were inviting students in who didn’t do well on math tests.

           When asked to respond to these allegations, the Respondent replied, “They (those making
  this allegation) have taken something I’ve said and added to it things I haven’t said. In my Cross
  Cultural Psychology classes, I have a lecture that I tell the students is a tough lecture, which is
  titled ‘How do we know it’s racism?’ I put on the screen … charges that Black kids are referred
  more for discipline than White kids, expelled more than White kids, police shoot more Blacks
  than Whites, and three or four other claims that people think reflect systemic racism. I explain to
  the students that unless you do a study on any one of these issues, you can’t know for sure that
  racism explains these differential outcomes. I then walk the students through some of the
  examples. For instance, if I wanted to do a study to determine if racial discrimination is
  happening in public schools, we could look at whether Black kids are referred to the office more


                                                  128
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 368 of 566 PageID 438




  than White kids. I then tell them how I would do that. I would find what constitutes a
  misbehavior, then find a White grad student and a Black grad student so there was no bias, and
  then train them to look for behaviors according to the handbook that constitute a violation. I
  would send them to a classroom, have them make note of the students’ behavior, the students’
  race, and whether or not the student was sent to the office. They’d bring me the data, and I'd
  subject the data to interrater reliability to ensure they are in agreement and that the observations
  are not junk data. If the two judges are in agreement, then I put on the screen a graph that shows
  one bar for Blacks and one for Whites. If the reality is what they are looking at, that the two bars
  are equal and both Black and White students commit the same number of behavior infractions,
  but Blacks are referred more than Whites, then there is evidence of racial discrimination. If
  Blacks are actually misbehaving more than Whites, then this is just reflecting the reality of the
  situation. I explain to the students that unless you conduct a study like I just described, you can’t
  just look at a discrepant outcome and assume it was discrimination.”

           When asked again whether he asserted that people of color do not perform well on math
  or standardized tests, the Respondent replied, “I have told my students that you can’t just look at
  a discrepant outcome and assume it’s due to racial malfeasance. I show them data from the
  National Council on Education and the College Board and show them the average scores on
  math and reading by race. On average, I tell them as they look at the data, I want them to know
  there are Black people who get PhDs in math and Asians who can’t do math at all. However, on
  average, on verbal and math tests, Asians score highest, followed by Whites, followed by
  Hispanics, followed by African Americans. I showed the student that on high school exit exams
  and SATs, the pattern remains the same. You need to understand that discrepant outcomes are
  tied to performance in school. We all talk about the need to diversify STEM fields, but this data
  is the reason why there are less Blacks in STEM fields because, on average, from day one
  African Americans on average are underperforming in reading skills. I have told the students
  don’t always assume a discrepant outcome is due to race. Look at the NBA - no one says this
  reflects Black racism or Black privilege. Just because you observe a disparate outcome, there is
  an assumption in this country that there is racial malfeasance, but unless you do a study you
  don’t know what is causing that disparity. One of my big missions is to get them to understand
  that evidence matters, and we should be trying to ground our assertions in evidence not feelings.
  That was the whole message to the students about people of color’s performance in math and
  standardized tests.” As to the allegations that he said Asians were smarter than Blacks, the
  Respondent stated, “I never used the word ‘smart’ or ‘smarter’. That’s a value judgment. I used
  the term ‘more educated’.”

           When asked to respond to the allegation that he told students that White people were
  more educated than Black people, the Respondent stated, “when I give that lecture and I look at
  stats, throughout my whole Cross-Cultural class, when I’m describing groups, I put on the screen
  for every group I’m covering the average years of education for all those groups. I bold the group
  that I am talking about at that time. It’s the same data reordered depending on which group I’m
  covering, the latest educational statistics for Asians, Whites, Hispanics, and Blacks. It’s just a
  descriptive statistic. I think the “graduated from college” statistic is the one I cover. The way I
  am alleged to say it out of the blue sounds derogatory. Again, if you look at my slides, for every
  group I cover, I get into descriptive information from a variety of sources, such as annual
  incomes, and put them all up together. It’s the same data for every group. When I cover


                                                   129
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 369 of 566 PageID 439




  Hispanics, I cover a slide that shows what their annual income is, and what the annual income is
  for Blacks, Whites, and Asians. It’s the same data.” When asked about the allegation that he told
  students that Whites were more educated than Black people and Black people will not stay in
  college, the Respondent stated, “When I’m covering that tough lecture in my class, I mentioned a
  bunch of facts, including that on average, African Americans drop out of high school more so
  than Whites, on average they attend college less than Whites, on average have lower GPAs than
  Whites, and on average drop out of college more than Whites. These are the facts shared in my
  classes.”

           With regard to the McWhorter letter allegations, the Respondent stated, “I don’t have any
  letter from John McWhorter - he is a brilliant man who wrote the book Losing the Race. He
  makes an argument that there is a victim mentality that holds Black people back. He also argues
  that there is an anti-intellectualism among Black Americans. There is a third assumption which is
  that they are special. My students were assigned to read that book, but I don’t share a letter with
  them.” With regard to the allegation that he said that colleges should just give African Americans
  and Hispanics a degree if they’re going to let them in because they are not educated, the
  Respondent stated, “No, I deny saying this to any of my classes. However, in my book White
  Shaming, I’m quoting some administrators from one or more universities who stated that the
  reason they want to get rid of the SAT or ACT is to make it easier for minorities to get into
  college. In my White Shaming book, I said something along the lines of, why not just avoid the
  whole hassle of college and just give them degrees when they apply and put sarcasm after this
  statement in parentheses.

          Turning to the documentary evidence, OIE’s review of the White Shaming book revealed
  the following statements by Respondent: “Increasingly, universities are devising clever ways to
  increase their enrollments of African-Americans and Hispanics without the hassle of demanding
  more scholastic dedication from such students to make themselves more competitive for
  admission. Lowering admission standards for African-American and Hispanic applicants is the
  norm at competitive institutions and is rationalized as necessary for a diverse student body. Other
  universities have given up and now have eliminated entry tests such as the SAT. A report on the
  University of Chicago after it eliminated the SAT and ACT stated, ‘It continues a years long
  effort by the university to make it easier for first-generation, low income and minority students to
  apply and get into the school.’ Really? Make it easier for minorities to get into college? How
  patronizing. I ask, tongue-in-cheek, why not skip that whole college hassle and just mail
  minorities a university degree whenever they apply for admission?”

          In addition, OIE received a copy of the Respondent’s March 18, 2018 announcement to
  his Cross Cultural students wherein he stated, “I also hope you’ve been reading John
  McWhorter’s book, ‘Losing the Race: Self-Sabotage in Black America.’ I’ve communicated
  with him a few times (he responded once)(he’s a big fish at Columbia University; I’m a small
  fish at UCF…:( I’ve attachment my latest communication with him that I thought I’d share with
  you.” In his attached letter, the Respondent stated, “At the risk of possibly offending you (which
  is not my intent), I disagree with one point you made in the book, where you said you did not
  blame African Americans for being ‘anti-intellectual’ because their anti-intellectualism was
  related to having been deprived an education during the slavery years here in the U.S. I—like
  you—know very well, that there are many African Americans (and Africans) who do not fit that


                                                  130
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 370 of 566 PageID 440




  description, so as I say what I’m about to say, please know I’m fully aware of the great variation
  among Black people (i.e., I’m not stereotyping Africans or African Americans). That said, as
  someone who has been studying culture for over three decades, I assure you—despite beliefs that
  are popular to espouse in the U.S., -- not all cultures value science and education equally.” The
  letter then referenced practices in Africa and Haiti, such as putting curses on others, voo-doo and
  treatment of albino children. Therein, the Respondent stated, “Sub-Saharan Africans and
  Haitians, on average, are very ‘anti-intellectual.’” Following this paragraph, the Respondent
  stated, “The Black African culture has an anti-science (or anti-intellectual) history that is
  independent of colonialism, slavery, Jim Crow laws, etc.” See Announcement – March 18, 2018
  Letter to Dr. John McWhorter & Attachment.

          Turning to OIE’s review of the recordings (see Recordings – 2019 Summer – 16), during
  the Respondent’s 2019 Summer course, he discussed statistics related to grades and success in
  college and emphasized that the data represented groups’ performance, on average, and that
  every group had variation. Therein, the Respondent referred to Black people holding less college
  degrees than White people; on average, in K-12 schools, African American students received
  lower grades than White students; on average, Black students graduated from high school at a
  lower rate; on average, Blacks attend college less than Whites; on average, in college, Black
  students had a lower GPA; and, on average, Blacks fail out of college more than Whites. He
  further told the students that, on average, in terms of disciplines and areas of study, African
  American students chose areas of study that were less rigorous than those chosen by White
  students. The Respondent then advised students that Blacks end up earning less money than
  Whites. At this point, he reminded students to “take a deep breath” and offered to give them “a
  hug after this.” The Respondent continued and said that, on average, Whites earn less than
  Asians; on average, in K- 12 schools, Whites have lower GPAs than Asians; Whites graduated
  from high school less than Asians; Whites attended college less than Asians; in college, Whites
  had lower GPAs than Asians; and that Whites were more likely to gravitate towards softer
  majors than Asian students. The Respondent further told the students to step into a computer
  science, physics, or biochemistry class at the senior level and “you will see a lot of Asians”. The
  Respondent then said, “I will do something I probably shouldn’t do. I am going to pretend to
  speak for all White people. You don’t hear White people running around saying this is Asian
  privilege and structural racism.” Rather, “Whites accept that Asians are more dedicated to their
  studies than Whites”.

           The lecture continued with the Respondent mentioning standardized testing and the SAT,
  and that he had received training in that part of his doctoral research focused on the SAT and
  potential biases therein. He also mentioned that he taught this issue at the graduate level for four
  years. The Respondent referenced that some people say that the SAT is biased. The Respondent
  told students that “just because you don’t like the outcome of your group’s results doesn’t make
  it [the test] biased”; that metric studies have been performed to measure whether there is bias;
  and, the SAT is not biased against any group. The Respondent continued and said that “the SAT
  is telling you where you are, at that point in your life, at math and reading”. He then shared
  information related to how earnings and unemployment numbers were impacted based on the
  amount of education a person received. The Respondent then stated, “Instead of looking at the
  data that is based on education and based on a person’s ability to do math and read well, people
  waste their time blaming White privilege”. The Respondent continued and stated that the


                                                  131
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 371 of 566 PageID 441




  “solution is to work with an individual, no matter what color they are”. The Respondent
  concluded with stating that “as long as they are barking up the wrong tree going after White
  privilege, things will not improve.”

          During another class related to the 2019 Summer course (see Recordings – 2019 Summer
  – 12), the Respondent stated, “It is my opinion, that I have already expressed to you before, that I
  think collectively that Black people in the United States experience collectively the most
  rejection from society overall. And I am not saying, an African American who stays in school,
  does well in school and avoids committing crimes will have as good a life as you and I will have.
  There are tons of them who do that. We have Black police officers, we have Black professors,
  engineers, in every occupation you will find Black people.”

           Taking the record as a whole into consideration, including the detailed recording set forth
  above, OIE finds that there is sufficient evidence to support finding that during the Respondent’s
  Cross Cultural Psychology courses, he shared statistical data about Blacks’, Whites’, and Asians’
  performance, on average, in high school and college, and a correlation between earnings and the
  amount of education individuals received. Specifically, he shared data that, on average, Black
  people hold less college degrees than White people, Black students received lower grades than
  White students in K-12, Black students graduated from high school at a lower rate than White
  students, Blacks attended college less than Whites, Black students had a lower GPA than Whites
  in college, and Blacks failed out of college more than Whites. He also stated that Black students,
  on average, chose areas of study that were less rigorous than White students. He then shared
  statistical data that, on average, Whites had lower GPAs than Asians in K-12; Whites graduated
  from high school less than Asians, Whites attended college less than Asians, Whites had lower
  GPAs than Asians in college, and Whites were more likely to gravitate towards softer majors
  than Asian students. During this lecture, the Respondent shared that, on average, Blacks earned
  less than Whites and Whites earned less than Asians. The Respondent concluded with despite the
  underperformance of Whites compared to Asians, society does not refer to this as “Asian
  privilege” and “Whites accept that Asians are more dedicated to their studies than” them.

          Furthermore, taking the record as a whole into consideration, including the detailed
  recording set forth above, OIE further finds that there is sufficient evidence to support finding
  that during the Respondent’s Cross Cultural Psychology course, he told students that the SAT
  was not biased against any racial or ethnic group and showed them data from the National
  Council on Education and the College Board of the average scores on math and reading by race.
  The Respondent explained that, on average, with regard to verbal and math tests, Asians scored
  highest, followed by Whites, followed by Hispanics, followed by Blacks. He also showed
  students’ performance on high school exit exams and SATs where the pattern remained the
  same. He told students that they needed to understand that discrepant outcomes were tied to
  performance in school, and this data showed that the reason why there were less Blacks in STEM
  fields was because, from day one, Blacks, on average, were underperforming in reading skills.
  The Respondent concluded that, instead of looking at the data that was based on education and a
  person’s ability to do math and read well, people were wasting their time blaming White
  privilege, which will not improve things, and that the solution was to work with an individual,
  “no matter what color they are”.



                                                  132
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 372 of 566 PageID 442




          With regard to the allegation that the Respondent questioned how diversity efforts could
  make UCF stronger if we were inviting students in who didn’t do well on math tests, although no
  other students described this besides Witness 73 and OIE’s review of the available recordings did
  not reveal that the Respondent made such a statement, the Respondent’s book clearly made a
  statement to this effect. Accordingly, taking the record as a whole into consideration, including
  that the Respondent’s book was required reading for some of his Cross Cultural Psychology
  courses, OIE finds that there is sufficient evidence that the Respondent made a comment of this
  nature to students.

          Lastly, with regard to the allegation about the John McWhorter letter, the record
  established that on March 18, 2018, the Respondent provided his Cross Cultural Psychology
  students with a copy of his letter to John McWhorter wherein he stated that “Sub-Saharan
  Africans and Haitians, on average, are very ‘anti-intellectual’” and that the “Black African
  culture has an anti-science (or anti-intellectual) history that is independent of colonialism,
  slavery, Jim Crow laws, etc.”

     61. Whether, during class, the Respondent said that Black individuals who reference
         being oppressed were “making it up”; systematic racism wasn’t real so “Black
         people should get over it”; Black people needed to “get over slavery”; Black
         individuals were fully responsible for their struggles, including being in poverty;
         and White privilege did not exist.

          With regard to racism in the U.S., the anonymous reporter in IL #785 alleged that the
  Respondent told students that if Blacks acted the same as Asian Americans with performing
  “best academically, having highest income, committing the lowest crime”, systematic racism
  would not occur. Witness 37 alleged that during the 2009 Psychology of Prejudice course, the
  Respondent told students that Blacks had advantages and were given extra privileges in society,
  yet they created a self-narrative that they were disadvantaged. He further stated that racism was a
  myth and lie. The anonymous reporter in IL #813 alleged that the Respondent told students that
  minorities were inferior, believed that White people “do not cause the problems that African
  Americans and Hispanics go through”, and White people had been “vaccinated” against racism.
  The anonymous reporter in IL #828 alleged that the Respondent said that “racism wasn’t real
  anymore in the U.S., that it used to be, but not anymore and not for a long time (his words)”.
  Witness 208 alleged (via email) that during the 2016 Fall Cross Cultural Psychology course, the
  Respondent said that Black people in America suffered problems of their own making and not as
  a result of 400 years of oppression. The anonymous reporter in IL #828, who allegedly was a
  student in the Respondent’s 2017 Fall Cross Cultural Psychology course, similarly alleged that
  the Respondent told students that there was “no such thing as systemic racism” and “that the
  problems with the African-American community were solely due to their nature and that White
  Americans were just as disadvantaged as minorities”. The anonymous reporter in IL #801, who
  allegedly was a student in one of the Respondent’s 2017 Spring courses and withdrew from the
  class, alleged that the Respondent “made it seem as if the societal problems were created solely
  by that race instead of the systematic oppression that has been ongoing for centuries.” Witness
  111, who was enrolled in the 2017 Fall General Psychology course, alleged that the Respondent
  stated that Blacks can only blame themselves for living in poverty.



                                                  133
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 373 of 566 PageID 443




          In addition, Witness 140, who submitted IL #871 and #874 and participated in an OIE
  interview, alleged that during the 2018 Fall Cross Cultural Psychology course, the Respondent
  told students that “racism wasn’t real” and “showed racist propaganda in class like videos of
  people saying how police brutality is deserved and violence against Black people is Black
  peoples fault.” Witness 92 alleged that the Respondent made similar comments in this 2018 Fall
  course. Witness 140 further alleged that the Respondent stated in this course that “if minorities
  claim they can’t get a job they are just being lazy – it’s only a small amount of people who may
  discriminate against them”, and claimed that students were “inflating racism”. The anonymous
  reporter in IL #832, who allegedly was a student in the Respondent’s 2019 Spring Cross Cultural
  Psychology course, alleged that the Respondent told students that systematic racism was not
  “real” and “Black people should get over it.” Witness 150 and Witness 159 (via email) alleged
  that during the 2019 Fall Cross Cultural Psychology course, the Respondent said that there was
  no racism and Black people just “need to get over it”. Witness 54, who submitted IL #859 and
  participated in an OIE interview, alleged that during the 2020 Spring Cross Cultural Psychology
  course, the Respondent told students that there was no racism in the U.S.; the struggles that
  Black people faced were not the fault of White people; if you believed differently, then you were
  misguided, misinformed and brainwashed; and, our generation couldn’t look at culture critically
  because we had been brainwashed by political correctness.

          With regard to alleged statements about slavery, the anonymous reporter in IL #976
  alleged that “on the topic of race, [the Respondent] told the class that Black people had to ‘get
  over slavery’. It happened 400 years ago. … His emphasis on the ideas that Black people need
  to ‘catch up’ with other groups and that is their own fault fails to acknowledge years of
  oppression, violence and systematic silencing of an entire people.” Witness 88 alleged that
  during the 2017 Fall Cross Cultural Psychology course, the Respondent stated that, with regard
  to racism, Black people “need to get over it” by now and they were wasting time still being upset
  over slavery and past discrimination. Witness 95 alleged that the Respondent made a similar
  statement during the 2018 Fall General Psychology course. Witness 117 alleged that during the
  2019 Spring Cross Cultural Psychology course, the Respondent stated that Blacks shouldn’t
  bring up slavery like they are victims and that they choose their lifestyle.

          With regard to alleged statements about White privilege, Witness 96, who submitted
  Integrity Line #783, alleged that during the 2005 Fall General Psychology course, the
  Respondent insisted that White privilege was made up. Witness 68, who submitted IL #851,
  alleged that during the 2016 Fall Cross Cultural Psychology course, the Respondent “spoke
  about how Black people are the problem with their own communities, and they can only blame
  themselves for living in poverty”, as well as that “white privilege does not exist.” Witness 144
  alleged that during the 2017 Fall Cross Cultural Psychology course, the Respondent stated, “If
  we have systematic racism and White privilege - why do so many people of color from around
  the world want to live here?” Witness 40, who was enrolled in the 2018 Spring General
  Psychology course, recalled that the Respondent told students that White privilege did not exist.

          With regard to students sharing their personal experiences of racism during class,
  students alleged that during the discussions regarding systemic racism and White privilege, the
  Respondent disregarded students described experiences of racism. Specifically, the anonymous
  reporter in IL #796 alleged that the Respondent told students that Black people “who feel they


                                                 134
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 374 of 566 PageID 444




  are oppressed are simply making it up. He challenged the class to prove him wrong. A student
  explained a situation when he was younger and a police officer followed him around the store at
  a distance as if to signal that they thought he was going to steal something. It was a store with
  several other people inside who were clearly not being followed. [The Respondent] condemned
  this as a misconstrued idea of what oppression is and said that he probably did something
  suspicious to prompt such an action.” Another anonymous reporter alleged that at the end of the
  2015 Spring Cross Cultural Psychology course, the Respondent asked students “to give examples
  of racism because he believed that systemic racism was a myth, and proceeded to condescend
  and invalidate the experiences of every person of color in the classroom, going so far as to
  suggest that unarmed Black men were getting shot not because of the police but because of some
  ‘Black pathology’ that made Black communities terrible places to live.” Witness 107 alleged that
  during the 2018 Fall General Psychology course when a Black student discussed having
  experienced racism and oppression, the Respondent disagreed and said, “Only idiots still believe
  that propaganda from the liberal media”.

          When asked if he taught about systemic racism in his courses, the Respondent stated, “I
  have an opinion about this topic and tell my students that they don’t have to share the same
  opinion as me. I have told my students that I was born in the 1960s in Texas. I didn’t see this
  because it was all gone, but in the U.S., there were separate restrooms for Blacks and Whites,
  and separate hotels for Blacks and Whites. By the time I came of age, Black people were
  everywhere, in the stores where we shopped. I have told my students that we (my family) were
  poor. Black people were all around me on the bus. I attended integrated schools all my life. I tell
  the students that even when we had the Civil Rights Act of 1964 that legally stopped formal
  discrimination, there were still people who did not hire Blacks, which is why I was on board with
  affirmative action in the 1970s. However, now today I don’t think there is systemic racism and
  there is no need for affirmative action. I asked my students if there is systemic racism, how did
  you get into UCF? How would you expect to get a job after UCF? You got here on your own
  merit and you are here to get a job corresponding to your education after you graduate.”

          The Respondent shared that when students have countered his opinion about systemic
  racism, they typically referenced police brutality or the criminal justice system as current
  examples of systemic racism. In response, “I tell them that is the one that I’m not sure of, I have
  a question mark about it. I tell them that I could talk about data, but I don’t delve into those
  studies, so I don’t talk about them. I do share that I am aware of a statistic that more White
  people are shot by police than Black people. But I tell them that’s the one area I am not qualified
  to get into. I share with students that in terms of buying houses, I live in a neighborhood where
  houses are $600K and one third of the residents are Black so where is the systemic racism?” The
  Respondent denied having said that racism is not real, and denied having said that people who
  claim they were treated differently based on race isn’t true.

          When asked if he asserted that White people were not responsible for Black people’s
  struggles and referred to the students who resist this idea as “misguided”, the Respondent stated,
  “I don’t remember having such a direct comment or conversation with students about that.
  Again, my position, which comes out in one way or another in lectures, is that all of us,
  especially Blacks, are going to encounter sporadic mistreatment, but the systemic part, I don’t
  find the evidence for that. Some students I ask to give me an example, and they provide


                                                 135
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 375 of 566 PageID 445




  something that happened in another state as evidence - I point out to them that they had to travel
  across states for an example.” When asked if he called the students “brainwashed” or being
  “politically correct” when they disagreed with his presentation regarding systemic racism, the
  Respondent stated, “It sounds like the way it was just presented that I tell the students that if you
  don’t accept what I say, you’re misguided or confused. If I did that, I’m psychoanalyzing and
  judging them, which is not true. I explain my position to the students as to why I don’t think
  there’s much systemic racism. I don’t start judging them, but they do me a lot - they dismiss me
  by describing me as White-privileged. I tell them to please stop that and express why they think
  my views are incorrect, in detail. I’m trying to model for them not to do that. I don’t dismiss
  them. I talk about the issue at hand.” Also, the Respondent denied that he told students that
  Whites should have the power, minorities are inferior, and Whites do not cause the problems that
  African Americans and Hispanics go through as Whites have been “vaccinated” against racism.
  He also denied that he told a student that “only idiots still believe that propaganda from the
  liberal media” in response to them sharing an experience of discrimination.

          When asked whether he told students that Black people “need to get over” slavery and
  discrimination, the Respondent stated, “My position, which I have said in class, is that sporadic
  racism exists because humans are always going to be human. All groups experience it from all
  other groups in any different direction. In terms of slavery and Jim Crow laws, it is my opinion
  that slavery does not explain anything happening today. I have told my classes, who are mostly
  psychology majors, that a popular opinion held by Freud was that anything that you experience
  as children influences you as an adult. That’s just a theory, and we can’t test that. I have told the
  students now, imagine asserting that something that happened hundreds of years ago impacts
  people today-we can’t prove that. It’s absurd. It doesn’t explain why African Americans
  don’t perform as well in school or why they commit more crimes. I don’t think I used the phrase
  ‘get over it’ with the students, but I’m sure my point of view comes across that way. Frederick
  Wilson, in that YouTube video, does tell them that they are not slaves, they don’t know anyone
  who is a slave, and if your life is messed up today, you’re the reason it’s messed up.”

          In response to allegations that he told students that “if minorities claim they can’t get a
  job, they are just being lazy” because it’s only a small amount of people who experience
  discrimination, the Respondent stated, “You know, I didn’t say the lazy part. I think I’ve said to
  the students that in the past, my sons - I have adult sons - they are 75% Hispanic, but they have
  my surname, which doesn’t indicate that they are Hispanic, and they got the genes that they look
  White. There is nothing to indicate that they are Hispanic. I told them at age 16 that although
  they don’t have to work, I wanted them to have a job so that they can learn a work ethic. I told
  my classes that, although they appear as White, it took them about 20 different applications and
  interviews to get a job at Publix as a bagboy and cleaning tables at a restaurant. They look White
  and have a European last name. The few times I’ve told this story, minority people who look like
  a minority, they probably have to apply for a job 10 or 20 times, and it’s easy for them to walk
  away saying that they didn’t get a job because they are minority, but there is a lot of competition
  for jobs. I don’t remember the context for sharing this story, but it may be in the conversation
  about systemic racism.” In response to the allegations that he suggested that unarmed black men
  were getting shot not because of the police but because of some “black pathology” that made
  black communities terrible places to live, the Respondent stated, “That is complete nonsense and
  I deny saying that.” Respondent denied that he stated that individuals “are inflating racism.”


                                                   136
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 376 of 566 PageID 446




  Respondent also denied that he said that racism was a myth and lie, and stated “No, again, racism
  is real. What we differ on is its prevalence.” 21

          When asked to respond to allegations that during his 2018 Fall Cross Cultural
  Psychology course when students indicated that they knew a Black person who had experienced
  racism every day, he sarcastically said, “Life must be really hard!”, the Respondent stated,
  “There’s a context for that statement, and it wasn’t directed at any specific student. Rather, while
  talking about racism, I told the students that I am sure some of you know of individuals who
  think they’ve experienced racism every day in their life. This is to the whole class, not directed at
  a student. I said that if someone is experiencing racial mistreatment every day of their life, that
  must really suck to be them. I then showed data from national data sets that the majority of them
  cannot recall being racially mistreated in the last three months. That’s what I’ve said in a broad
  way but not directed at specific students.”

          Turning to the documentary evidence in the record, Witness 170, who was a GTA for the
  Respondent’s 2016 Fall Cross Cultural Psychology course and submitted IL #825, provided OIE
  with following statements from a message that Respondent had sent to his students on October
  21, 2016 class: 22
          •        A small number of you are stuck in the past, claiming that Jim Crow laws (that
  happened in the first part of the last century) and slavery (which ended in the middle of two
  centuries ago) explain why a minority of African Americans struggle with poverty. You cannot
  prove that. We in psychology cannot even prove—as some “Freudians” assert—that what
  happened to us in childhood explains how we are as adults. That’s just a theory. So, imagine
  how untenable it is to try and explain individuals’ behaviors today based on events that happened
  to people that they never knew from other centuries. A pretty absurd idea, despite how popular
  that idea is in contemporary United States.
          •        There are more proximal causes for the poverty experienced by African
  Americans—causes that equally explain poverty among Whites, Hispanics, and Asians. Those
  who are poor (if they are born in the U.S. and are 60 years of age or younger) make bad
  decisions in life, starting with their conscious decision to quit school. That is a decision they
  made. No one made them quit school. For the majority of people from poor backgrounds
  (irrespective of ethnicity), that is the beginning of the end in terms of achieving upward social
  mobility. Now, add to that bad decision (quitting school) having unprotected sex that can lead to
  teen pregnancy (and sometimes HIV). Or getting involved in crime. Or using or selling drugs.
  Those behaviors are behaviors individuals choose to do and the only solution to those problems
  is to encourage people to: (a) accept responsibility for their lives and (b) make wise decisions.
  As I said in class, when you misidentify the causes of problems (as religion has done for 1000s
  of years), you can never solve any problem. As long as people in the U.S. want to explain poor
  people’s problems based on nebulous notions such as “White privilege” and “racism,” the
  problems that afflict such individuals will never be solved.
          •        For those of you who are “believers” in systematic racism and White privilege,
  you must explain why the majority of African Americans and Hispanics are doing well in
  society. How did they achieve relative success in the U.S. while a subgroup of African

  21
     In his book White Shaming, the Respondent stated, “Racism against non-Whites still exists in various degrees.”
  (pg. 6)
  22
     This letter also appeared in the Respondent’s book White Shaming, pp. 23-24.

                                                          137
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 377 of 566 PageID 447




  Americans (and Hispanics, Whites, and Asians) cannot? You must explain how systematic
  racism causes a minority of African Americans to be poor yet does not stop the majority of
  African Americans from attaining a middle and upper class life style. No logic can explain such
  a selective wrath of systematic racism.
          •      Those of you who are believers in systematic racism and White privilege—why
  do so many people of color from around the world want to live here? Wouldn’t word have gotten
  out and reached their native lands that the U.S. is a horrible place to live due to racial
  oppression? But they keep on coming, many of them, desperately. What is it that you know
  about the U.S. that millions of immigrants do not understand?

         In addition, in his book White Shaming, the Respondent stated, “By holding onto the
  myth that all groups are equal in every human quality, we may misattribute some groups’ under-
  achievement or relatively low socioeconomic status to incorrect causes, such as white racism or
  white privilege. And if we misidentify the real causes of social disparities, we will not direct our
  interventions at the true causes of inequalities and thus, never reduce them.” (pg. 102)

          Turning to OIE’s review of audio recordings, during the 2019 Summer course (see
  Recordings - 2019 Summer -7), the Respondent discussed Hispanics and stated, “Right now we
  are talking about Hispanics and you should write down $42,000 for Hispanics. Notice that on
  average that the group that earns the most in the United States is Asians. So, we hear a lot of talk
  about White privilege and how the system was created to advantage Whites and yet people just
  gloss over that fact that, on average, Asian Americans in the United States are more educated
  than any other group, they earn more than any other group, but that does not fit the narrative of
  White privilege.”

          In another lecture in this course (see Recordings – 2019 summer - 12), the Respondent
  discussed surveys related to Blacks indicating whether they experienced discrimination in the
  last 30 days in different contexts (restaurants, employment, police, etc.). When discussing the
  medical question context, the Respondent said, “I am sure that you American students have
  heard that at least once in a while an African American who claimed that living in the United
  States that they experienced racism all the time. I have too, and of course I tell them, ‘It must
  suck to be you.’” See Power Point African – African (Black) American.

          During that same class, the Respondent discussed the correlation between individuals that
  were hit as children by their parents (corporal punishment) and those individuals having
  problems later in life, such as experiencing anxiety, difficulty with relationships, and depression.
  He then shared that “there is a little bit of evidence showing that African Americans hit their kids
  on average more than Whites do. Of course, we have some problems with African Americans
  who are involved in crime and delinquency and also being hit by parents often causes people to
  have problems with authority figures. …Teachers, professors, police officers, supervisors at the
  place of employment, etc. … Look at how many African Americans in the United States are
  having encounters with police officers. Again, the majority of African Americans do not, but we
  see on the news and you watch the news and it does not matter in which city you live, there are
  African Americans arguing with the police. … In every ethnic group, in every ethnic group, you
  will find people who do not value education. You will find people in every ethnic group who do
  not value education. But this is something that is unique to African Americans I think, in


                                                  138
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 378 of 566 PageID 448




  addition to finding African Americans whose parents have not taught them the value of
  education, you will find a sub-group of African Americans who think education means that you
  are trying to be White. So, they purposely want to sabotage and do poorly in school and any
  African American when one of their peers tries to do well in school, they will ridicule that person
  and accuse that person of trying to act like they are White.” The Respondent further told
  students that this was counterproductive to changing the status of their life. He went on and
  stated, “We also have a subgroup of African Americans who think that society owes them
  something. Owes them something because of slavery that happened in the United States and
  they refuse to work and they live off welfare. Again, you can find people in every group. … So
  moving on here, please don’t walk away from my class thinking that the majority of African
  Americans are on welfare, they are not.”

          In his September 4, 2018 General Psychology course (see Recordings - 9/4/18 (2nd)), the
  Respondent gave a similar lecture regarding the correlation of physical punishment to later
  problems. Specifically, the Respondent stated that there is a “fairly large body of literature in
  social sciences that show young adults that were previously spanked or hit when [they]
  misbehaved, on average, they suffer a lot of things, which varies, sometimes anxiety, sometimes
  depression, sometimes difficult relationships. One common consequence of hitting kids is kids
  form hostile attitudes towards adults. Kids when you mistreat them and hit them, they want to hit
  you back but realize they can’t strike back and must endure it. They carry hostility with them
  and displace it on other adults, like fights with police officers, teachers, bosses at work and lose
  their job. … All races use corporal punishment.” The Respondent then discussed his experience
  providing therapy to low income minority families in Texas and asked parents who used corporal
  punishment how they would feel if their boss came over and slapped them when they didn’t
  perform well, and how this wasn’t inconsistent with hitting their child. He then suggested using
  other forms of discipline.

           With regard to comments on slavery, during the 2019 Summer courses (see Recordings –
  2019 Summer – 9), the Respondent discussed the hypocrisy of some individuals position with
  regard to illegal immigration -namely, if an individual is an illegal immigrant in the U.S., they
  advocate for a humanitarian response but in that individual’s own country, they would not allow
  illegal immigration and deport people that enter illegally. He then stated that Blacks “were fine
  with slavery, no problem with slavery until they themselves were put on a ship and sold to be a
  slave. Now all of a sudden slavery is horrible, unethical, it’s cruel, it’s inhumane. Do you see the
  hypocrisy there?”

          Lastly, it is important to again note that during the 2019 Summer course (see Recordings
  – 2019 Summer – 12), the Respondent stated, “It is my opinion, that I have already expressed to
  you before, that I think collectively that Black people in the United States experience collectively
  the most rejection from society overall. And I am not saying, an African American who stays in
  school, does well in school and avoids committing crimes will have as good a life as you and I
  will have. There are tons of them who do that. We have Black police officers, we have Black
  professors, engineers, in every occupation you will find Black people.”

         Taking the record as a whole into consideration, OIE finds that there is sufficient
  evidence to support finding that during the Respondent’s Cross Cultural Psychology and General


                                                  139
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 379 of 566 PageID 449




  Psychology courses, the Respondent told students that although he believed that Black
  individuals in the U.S. continue to experience racism, he did not believe that White privilege and
  systemic racism existed and were the causes of struggles that the Black community experiences
  such as poverty. The Respondent further told students that Jim Crow laws and slavery did not
  explain why some African Americans struggle with poverty. Rather, the Respondent explained
  that individuals’ experiences with poverty were the result of making bad decisions in life, which
  he identified as the decision to quit school, have unprotected sex (which can lead to teen
  pregnancy and sometimes HIV), get involved in crime, and use or sell drugs. The Respondent
  further told students that these behaviors were behaviors that individuals had chosen to do rather
  than these being imposed by a system, and thus, the only solution was to encourage people to
  accept responsibility for their lives and make wise decisions. These concepts were reinforced
  with the Respondent’s showing of the Frederick Wilson II 2014 video. He also taught that as
  long as people in the U.S. wanted to explain poor people’s problems based on “nebulous
  notions” such as White privilege and systemic racism, the problems that afflict such individuals
  will never be solved. That said, OIE finds that here is insufficient evidence to support finding
  that during the 2015 Spring Cross Cultural Psychology course, the Respondent suggested that
  unarmed Black men were getting shot not because of the police but because of some ‘Black
  pathology’ that made Black communities terrible places to live.”

     62. Whether, during class, the Respondent taught students that minorities were
         predisposed to be inferior to Whites and, to demonstrate this, showed students the
         high incarceration rate for Blacks and told students that Blacks just needed to stop
         committing crimes; showed students data that most single parent households were
         Black households and told students that Blacks just needed to stop getting divorced;
         and, told students that “Black people should stop having babies.”

          The anonymous reporter in IL #813 alleged that since 1998, the Respondent told students
  that “70 percent of the African American children would be raised in fatherless homes, that 50
  percent of the African American community would drop out of high school, and that 25 percent
  of the African American community would have criminal records. [The Respondent] also said
  that African Americans would kill 7,000 African Americans per year. These statistics are
  actually related to the African American community being constantly oppressed.” Witness 122
  alleged that during the 2013 Fall General Psychology course, the Respondent told students that
  Black people who want to get ahead should stop having babies, and that Black people only have
  themselves to blame for the impoverished situation they find themselves in. Witness 82 stated
  that during the 2014 Cross Cultural Psychology course, the Respondent stated that Whites were
  better than other ethnicities. In support of this, the Respondent referred to the story set forth in
  Sun Chief where even though the individual was raised in White culture, he returned to his native
  culture. The Respondent then said that some people were predisposed to be a certain way.

          Also, the anonymous reporter in IL #834, who allegedly was a student in the
  Respondent’s 2015 Fall Cross Cultural Psychology course, alleged that the Respondent “touched
  on the subject of African Americans’ high incarceration rate for ‘committing crimes’, stating his
  opinion was to ‘Just stop doing them’ if they wanted things to change. This appeared on one of
  his tests, in which a question was asked something along the lines of ‘What did your professor
  say his solution to reduce the amount of crimes African Americans are committing?’” Witness


                                                  140
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 380 of 566 PageID 450




  88, who submitted IL #800, JKRT report #00047725 and participated in an OIE interview,
  alleged that during the 2017 Spring Cross Cultural Psychology course, the Respondent told
  students that minorities were predisposed by nature to be poor and have babies, which was why
  they utilized welfare and food stamps. Further, the Respondent remarked in class that “Black
  people should stop having babies” to try to control the population and stop making the income
  levels go down. Witness 111 alleged that on the first day of class in the 2017 Fall General
  Psychology course, the Respondent stated that Blacks should just stop committing crimes to
  improve their lives. Witness 57, who was enrolled in the Respondent’s 2018 Spring Cross
  Cultural Psychology, alleged (via email) that the Respondent told students that “if minorities
  tried harder, they would do better.”

          Witness 73 alleged that the Respondent made a similar statement during the 2019 Spring
  Cross Cultural Psychology course, and stated that the reason for the achievement gap between
  races was Blacks growing up in single parent households, their love for being on welfare, and not
  wanting to work. Witness 116, who was a student in the Respondent’s 2019 Summer Cross
  Cultural Psychology course, alleged that the Respondent sometimes “would present things that
  are true, but his conclusions based on those things did not make sense. For example, he would
  present two different facts – first that most single parent households are Black households, and
  second that most people in prison are Black, and then he would conclude that if the Black
  population would stop getting divorced, there would be less crime.” Witness 116 alleged that the
  Respondent also said that if Blacks had the same education rate as Asian Americans, there would
  not be the type of problems that we see with the unemployment rate and the crime rate. Witness
  169, who was enrolled in the 2019 Fall Cross Cultural course, alleged that the Respondent said
  that minorities were not doing enough to be successful and blamed Whites as the oppressor, and
  Hispanics and Blacks would have a better future but they were stuck in gang violence, teen
  pregnancy, government welfare and not getting jobs. Accordingly, these shortcomings were
  based off their own actions. Witness 169 further alleged that the Respondent then stated that
  Blacks had the least amount of effort towards making their lives successful compared to Whites.

          When requested to respond to allegations that he said minorities were built or
  predisposed to be poor and have babies, the Respondent stated, “All of that is 100% a
  fabrication.” When asked to respond to the allegations about minorities’ predisposition to be a
  certain way, e.g. to not perform well in life, the Respondent stated, “Never. I’m a data driven
  person. Who has measured a predisposition?” When asked to respond to the allegations related to
  single parent households, welfare and not wanting to work, the Respondent stated, “OK, so here
  is a case that someone is taking little bits and pieces from other lectures and trying to tie them
  together in a bullet point. What I have shared with students is that about 70% of African
  Americans live in single-parent households, and that alone ought to explain social inequality
  because they only have one adult with income. I don’t get into welfare in my lectures and I never
  said that minorities don’t want to work. I’m sorry- there is a segment in the course when I cover
  challenges to the different ethnic groups. When I talked about African Americans, I talked about
  things that are disproportionately found in a subgroup of African Americans. One is the idea that
  working is the same as modem slavery. I’ve had Black parents tell me this. I address the idea that
  some Black people have that doing well in school is tantamount to trying to be like a White
  person, and I have had numerous Black students say that they’ve been told this. I shared with
  students that some Black people ridicule any Black student who tries to do well in school and tell


                                                 141
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 381 of 566 PageID 451




  them that they are trying to act White. So, there are some things that I cover that might tap into
  what you said was alleged.”

           When asked about the allegations that he said minorities were not doing enough to be
  successful, and Hispanics and Black would have a better future but they are stuck in gang
  violence, teen pregnancy, government welfare and not getting jobs, the Respondent replied, “I
  never said that. That statement would only apply to a subgroup of Blacks or Hispanics”. When
  asked whether he had told students that African Americans had made the least amount of effort
  towards making their lives successful compared to Whites, the Respondent replied, “No, I did
  not say that to students. However, I can see myself telling the class on day one that every group
  is equal and open to scrutiny, and if you think your group is immune to scrutiny, you think your
  groups is superior, that is not the case. Many individuals in each group make good decisions but
  all are subject to scrutiny. That is a very different statement than what was reported.”

           In response to allegations the he stated that Blacks who want to get ahead should stop
  having babies, issues faced by Blacks are not the fault of Whites, and Blacks only have
  themselves to blame for the impoverished situations that they find themselves in, the Respondent
  stated, “Everything you said is totally false. The last comment about blaming others - I don’t
  have a formal lecture that addresses that, except when I point out the slide that 50% of African
  Americans and 60-something percent of Hispanics and 70-something percent of Whites think
  that if someone is unsuccessful in life, it’s not due to racism, it’s due to their own bad decisions.
  I cover it just like I just said it.”

           In response to the allegation that he had an exam question asking that the resolution of
  high crime rates was for Blacks to just stop committing crime, the Respondent stated, “That has
  never been an exam item. What I recall on one occasion was an African American student who
  was being nice, not antagonistic, engaged me in class about the criminal justice system being
  biased against Blacks. We talked for 15 seconds or less about what would be the solution to that.
  I said, ‘I don't have experience in criminal justice,’ and asked her what she thought would be the
  solution to the overrepresentation of African Americans in the criminal justice system. She asked
  what my solution would be, and I said if individuals stopped committing crime, they wouldn’t
  have to worry about being accused of committing a crime or not.”

          Turning to the documentary evidence, the Respondent’s book, White Shaming, which was
  used as course material for the 2019 Fall semester and 2020 Spring semester, set forth in the
  chapter titled “Can the United States Keep It Together? Is There Hope for the Future?”, that
  “some groups, on average, may be relatively less motivated to excel academically or achieve
  occupationally and may even differ in the value they place on education” (p. 101). He further
  stated, “Does anyone really believe that non-Asian ethnic groups, on average, are as equally
  dedicated to their studies as are Asian Americans?” In the Chapter titled “Are All Cultures
  Equally Good”, the Respondent stated, “Two ethnic groups, on average, commit disproportionate
  crime, including murders, compared to the two other ethnic groups. There are ethnic differences
  in the United States, on average, with respect to teenage pregnancies, HIV infection, high school
  and college dropout rates, and so on. Suspect readers have noticed that I didn’t even have to
  name which ethnic groups are, on average, afflicted by this array of social ills.” (p. 72) In
  addition, as set forth in Section VI (Material Facts Not in Dispute) above, the Respondent told


                                                   142
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 382 of 566 PageID 452




  his 2019 Summer course students, “We also have a subgroup of African Americans who think
  that society owes them something. Owes them something because of slavery that happened in
  the United States and they refuse to work and they live off welfare. … Again, you can find
  people in every group. … Whites, Hispanics, Black, Natives, but there is a slightly higher
  percentage of Africans who live off welfare than the other groups. … so moving on here, please
  don’t walk away from my class thinking that the majority of African Americans are on welfare,
  they are not.”

          Taking into consideration the record as a whole, OIE finds that there is sufficient
  evidence to support finding that during his Cross Cultural Psychology and General Psychology
  courses when he discussed racial issues, the Respondent told students that 70% of Blacks lived in
  single-parent households; that some groups were less motivated to achieve academically or
  occupationally, including a subgroup of Blacks who claim that working is the same as modem
  slavery, and doing well in school is tantamount to trying to be like a White person; that Blacks
  and Hispanics, on average, committed disproportionate crime (including murders) compared to
  Whites and Asians; that Blacks and Hispanics, on average, had a higher rate of teenage
  pregnancies, HIV infection, and high school and college dropout rates compared to Whites and
  Asians; and, that Blacks should stop having babies and committing crimes to improve their lives.
  However, OIE finds that there is insufficient evidence to support finding that the Respondent
  told students that minorities did not want to work or that the achievement gap existed because of
  minorities love of welfare and not working. With regard to an alleged exam question asking that
  the resolution of high crime rates was for Blacks to just stop committing crime, no other students
  besides the anonymous reporter in IL #834 made this allegation. Also, OIE’s review of exam
  questions and answers during the last three years did not reveal a question of this nature.
  Accordingly, OIE finds that there is insufficient evidence to support finding that the Respondent
  issued an exam question of this nature.

     63. Whether, during his Fall 2018 Cross-Cultural Psychology class, the Respondent said
         that in White culture, sex is taboo; Latin Americans don’t see sex that way and have
         a lot of children because they like sex; and Blacks just don’t use birth control.

          Witness 92 alleged that during the 2018 Fall Cross Cultural Psychology course, the
  Respondent said that in White culture, sex is taboo; Latin Americans don’t see sex that way and
  have a lot of children because they like sex; and Blacks just don’t use birth control. The
  Respondent denied this allegation and stated, “The whole thing in its entirety is a complete
  fabrication. When I cover Whites in my Cross-Cultural [Psychology] class, I share that there are
  paradoxes about Whites. One is that as a group they tend to love and hate sex, and I provided
  multiple examples of how Whites try to prevent teenagers from getting medically accurate
  information about sex and are told that they should wait for sex until marriage. However, in this
  country, which is predominantly White, there are sex scenes in movies and sex lyrics and
  pornography, and it’s illegal to produce pornography but in every state it’s legal to buy it. That’s
  what I said. I just don’t know how to respond to this. This is what I cover about Whites and sex.”
  Similar to this statement here, Witness 47 alleged during the 2020 Spring Cross Cultural
  Psychology course when discussing White Americans, the Respondent “went off on a tangent
  about how porn is illegal in Alabama, but sex toys are legal.” Also, as to stating that Blacks don’t
  use birth control, the Respondent denied this allegation and stated, “I know nothing about this,


                                                  143
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 383 of 566 PageID 453




  and I did not say anything about this. I bring in a UCF ex-professor who is a nurse to give the
  lecture on birth control in my Sexual Behavior course. I know nothing about birth control.”

           No other students, including 15 students from this particular course, who communicated
  with OIE made allegations similar in nature to the allegations made by Witness 92. Also, none
  of the recordings reviewed by OIE revealed the Respondent making statements of this nature.
  Accordingly, taking the record as a whole into consideration, OIE finds that there is insufficient
  evidence to support that during the 2018 Fall Cross Cultural Psychology course, the Respondent
  told students that in White culture, sex is taboo; Latin Americans don’t see sex that way and have
  a lot of children because they like sex; and Blacks just don’t use birth control.

     64. Whether the Respondent told students that there was evidence of Native Americans
         killing each other before White people came to America, Native Americans weren’t
         peaceful prior to colonization, and Native Americans had no problem having sex in
         the presence of their children.

          Witness 81 alleged that during the 2018 Spring Cross Cultural Psychology course, the
  Respondent told students that Native Americans weren’t peaceful prior to colonization. Witness
  73 alleged that during the 2019 Spring Cross Cultural Psychology course, the Respondent said
  that Native Americans were very sexual people who had no problem having sex in front of their
  children. The University also received an allegation that during the 2020 Spring Cross Cultural
  Psychology course, he said that there was evidence of Native Americans killing each other
  before White people came to America.

          When asked to respond to allegations that during his classes, including the 2020 Spring
  2020 Cross Cultural Psychology course, he said that there was evidence of Native Americans
  killing each other before White people came to America, the Respondent stated, “That’s another
  lecture and a different topic when I cover Native Americans. I told my students that Native
  Americans are the most romanticized ethnic group in the U.S. I can give you lots of evidence and
  books. I’ve interviewed tons of anthropologists who are scholarly, not activist anthropologists.
  As a group, Native Americans were slaughtering each other, enslaving each other, and raping
  women they took from other tribes. I told the students that the Native Americans are not worse
  than any other group, but rather that they are the same as all other groups.”

           When asked to respond to the allegation that he told students that Native Americans were
  very sexual people who have no problem having sex in front of their children, the Respondent
  stated, “This is a conversation/lecture that I have that has lots of context to it. Rather, I shared
  with the students that the Native Americans are a group that is opposite of Middle Eastern people
  in their attitudes about sex and sexuality. Middle Eastern people have many rigid and restrictive
  views on nudity and sexuality. As part of the course, the students read Sun Chief, written by a
  Hopi Indian, and the book is saturated with sexual scenes, even though the book has nothing to
  do with sex. In my classes, I covered that Native Americans do not perceive sex as sinful or evil
  prior to European contact.”

       Turning to the audio recordings, during the 2019 Summer course (see Recordings – 2019
  Summer -9), the Respondent discussed that almost all of the literature regarding racism talks only


                                                  144
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 384 of 566 PageID 454




  about White racism and that there are people who feel guilty over that. He then discussed how
  there is a fight among anthropologists who are battling Anti-Western Culture’s portrayal of
  Native Americans as “warm [and] fuzzy loving until those mean Europeans came along” and
  individuals who “don’t want to acknowledge that Indians Native Americans were slaughtering,
  conquering, taking territories from other Native Americans just like every other group” before
  Europeans’ arrival. Equally important, the Respondent shared a CNN article and his response to
  the article with students wherein he stated, “Native Americans -- depending on their size and
  strength of their military -- raided and attacked other tribes, stealing their women, seizing their
  territory (keep in mind how expansive the Maya and Inca territories were), and even enslaved
  people. In that process, they engaged in torture and slaughtered Native Americans from other
  tribes.” There was no reference to having sex in the presence of children. That said, during the
  November 27, 2018 General Psychology recording, the Respondent discussed the practices of the
  Hopi tribe and stated, “The kids routinely see their parents having sex.”

          Taking the record as a whole into consideration, OIE finds that there is sufficient
  evidence that the Respondent told students that there was evidence of Native Americans killing
  each other before Europeans came to America and Native Americans were not peaceful prior to
  colonization. However, there is insufficient evidence that the Respondent told students that all
  Native Americans had no problem having sex in the presence of their children. Rather, the
  record supports that a comment of this nature was made with regard to the Hopi tribe.

     65. Whether the Respondent told students that other cultures were “savage” and
         “barbaric”, and White people never started out that way with the exception of the
         Vikings.

           Witness 51 alleged that during the 2012 Fall General Psychology course, the Respondent
  talked about his trips to Peru, referred to the population as “barbaric”, and stated that it was “like
  watching a freak show” because of the ways that the Peruvians had sex. Witness 82 alleged that
  during the 2014 Fall Cross Cultural Psychology course, the Respondent told students that certain
  Blacks were “savage” and “barbaric”. Witness 111 alleged that during the 2017 Fall General
  Psychology course, the Respondent stated that Islam was “savage”, and that Jews and Muslims
  were “savage” for circumcising sons. Witness 88 alleged that during the 2017 Fall Cross Cultural
  Psychology course, the Respondent told students that other cultures are “savage” and “barbaric”,
  and that White people never started out that way except the Vikings. During that same course,
  Witness 144 alleged that the Respondent talked about Islam, Saudi Arabia and Afghanistan’s
  culture being “savage” and “barbaric”, and after watching a documentary regarding an
  indigenous tribe in South America, the Respondent commented that the people were “savage”
  and “barbaric”. Witness 140 alleged that during the 2018 Fall Cross Cultural Psychology course,
  he said that different cultures were savages and barbaric, Islam was barbaric, and Blacks were
  more violent. For this same course, Witness 92 alleged that the Respondent referred to Native
  Americans as “savages”. Also, for this same course, Witness 167 recalled the Respondent saying
  that Islam was barbaric. Witness 167, who indicated that she was raised in an Islamic household,
  further shared that the Respondent “tried to use the Quran to say that people who don’t follow
  the religion deserve to be punished. It does contradict what I have learned being raised in an
  Islamic household. I was raised to be loving and accepting of people. While it is nice to get
  converts, we still accept others with different beliefs.” Witness 47 alleged that during the 2020


                                                   145
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 385 of 566 PageID 455




  Spring Cross Cultural Psychology course, the Respondent repeatedly referred to Arabs or
  Muslims as “savage”, “barbaric”, or “barbarians”.

          When asked to respond to the allegation that he stated that other cultures were “savage”
  and “barbaric” and that White people never started out that way with the exception of Vikings,
  the Respondent stated, “That is a gross distortion of what I said. What I have said is that based
  on Spanish chroniclers, when they found Native Americans, they were doing things that
  surprisingly shocked European Americans, such as human sacrifice and torture. All groups
  practice torture and barbaric practices, but Europeans saw human sacrifices as well as the fairly
  extensive nudity or partial nudity and they (Europeans) ended up labelling them as savages or
  barbaric people. That’s the only time I used those terms in my classes.” The Respondent denied
  the remaining allegations.

          Turning to the audio recordings, OIE’s review revealed that during his 2019 Summer
  course, the Respondent told students that some Muslims will pressure a family member who has
  been sexually assaulted to commit suicide and asked, “Is this fucking for real? This is just
  barbaric as shit”. Taking the record as a whole into consideration, including the general
  consistency of the allegations among multiple students over different timeframes (2014, 2017,
  2018 and 2020), the recollection of multiple students in the same course recalling the use of the
  terms “savage” and “barbaric” outside the context provided by the Respondent, the students’ lack
  of motivation to lie, the Respondent’s motive to do so and previous noted inconsistencies in
  testimony, and the audio recording evidence, OIE finds that there is sufficient evidence to
  support finding that the Respondent told students, primarily who were in the Cross Cultural
  Psychology courses, that other cultures were savage and barbaric, including in reference to
  Muslims and Islam. However, there is insufficient evidence to support finding that the
  Respondent told students that White people never started out that way except the Vikings, that
  Blacks were savage and barbaric, and that it was like watching a freak show in Peru because of
  the ways that the Peruvians had sex.

     66. Whether the Respondent told students that Trayvon Martin “was a thug and
         deserved to be killed”.

           Witness 135, who was a student in the Respondent’s 2014 Sexual Behavior course and
  2015 Cross Cultural Psychology course, alleged via email that the Respondent said that Trayvon
  Martin “was a thug and deserved to be killed”. In response to this allegation, the Respondent
  stated, “That’s a distortion of what I said. If the Trayvon Martin incidents comes up once in a
  class, I have told students that putting emotions aside, the reason why Eric Holder, an African
  American Attorney General who investigated George Zimmerman - the reason they could not
  press charges against George Zimmerman was because there was evidence that Trayvon Martin
  initiated a physical attack on George Zimmerman and was banging his head on the concrete, and
  George Zimmerman had a legal right to defend himself and had a legal weapon. Eric Holder
  could not press charges as a result. I mentioned this in response to someone who brought this
  case up. I did not refer to Trayvon Martin as a thug or state that he deserved to be killed.” No
  other students made an allegation of this nature and no statements of this nature were noted in
  the audio recordings reviewed by OIE. Accordingly, taking the record as a whole into



                                                 146
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 386 of 566 PageID 456




  consideration, OIE finds that there is insufficient evidence to support finding that the Respondent
  told students that Trayvon Martin was a thug and deserved to be killed.

     67. Whether the Respondent told students that he was cheating on his wife, who was a
         professor in the department at the time; said that infidelity was “common for
         Hispanic males and they can’t help themselves”; and, referenced men from Central
         America and South America as being “hypersexual” and that he himself, who was
         from this group, was “hypersexual”.

          Witness 37 alleged that during the 2009 Psychology of Prejudice course, the Respondent
  joked that he was cheating on his wife, who was a professor in the department at the time, and
  said that infidelity was “common for Hispanic males and they can’t help themselves”. Witness
  37 further alleged that during this same course, the Respondent referenced men from Central
  America and South America as being “hypersexual” and that he himself, who was from this
  group, was “hypersexual”.

           In response to these allegations, the Respondent stated, “I don’t talk much about my
  personal life and wouldn’t talk about it this way. Of all the ethnic groups that I have covered, the
  one group that I am considered to be an expert on is the Hispanic culture. George Bush Jr.
  commissioned a group of people to come together and discuss how to fortify Hispanic families.
  A lot of my past research focused on Hispanics. I got flown to [Washington] D.C. and
  participated in the discussion on how to fortify Hispanic families. A number of months later I got
  to fly out to San Antonio to participate in a follow up to this conversation. Even though I don't
  have the final word on Hispanics, it’s an area of my expertise. When I discussed Hispanics in
  class, I told the students that there is a much more relaxed attitude in general toward male
  infidelity. To be honest with you, the whole world including Western Europe has less rigid views
  on male infidelity. That’s what I said, not what the student reported.” The Respondent also
  denied both comments related to hypersexual. Taking the record as a whole into consideration,
  although the detailed nature of the allegations lends credibility, in light of the context provided
  by the Respondent and the delay between the incident and reporting, OIE finds that there is
  insufficient evidence that the Respondent told students that he was cheating on his wife, who was
  a professor in the department at the time; said that infidelity was common for Hispanic males and
  they can’t help themselves; and, referenced men from Central America and South America as
  being hypersexual and that he himself, who was from this group, was hypersexual.

     68. Whether the Respondent awarded grades based on race.

          Witness 76, who submitted IL #836 and participated in an OIE interview, alleged that he
  had been a student in the Respondent’s 2015 Spring General Psychology course. He further
  alleged, “Prior to the final exam of an undergraduate psychology class instructed by [the
  Respondent], I mathematically calculated what grade I would need to achieve on the exam to get
  a B. Mathematically it wasn’t possible, even factoring in perfect marks on all ungraded works,
  my final grade would be a C. Following the final exam and end of the semester I noticed my
  reported grade was indeed a B. I didn’t think twice about it. But in light of [the Respondent’s]
  recent remarks [on social media] showing prejudice against students of color it’s become clear to
  me I (a white male) might be the beneficiary of discriminatory behavior that students of color are


                                                  147
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 387 of 566 PageID 457




  not.” To assess this generalized claim, OIE reviewed and analyzed the grades of 1,814 students
  in 12 different classes taught by the Respondent during four different semesters. Based on this
  analysis, OIE found that there was insufficient evidence to support finding that student grades in
  the Respondent’s courses were impacted by their sex or race (separately or in combination). See
  Attachment B OIE Grade Analysis Memo.

  Quid Pro Quo Based on Religion
     69. Whether the Respondent offered extra credit to students who would renounce their
         faith.

           The anonymous reporter in IL#802 alleged that the Respondent “offered extra credit if
  students would renounce their faith in front of the class.” No timeframe was provided for this
  alleged conduct. Similarly, Witness 138 alleged in her IL report (#811) that the Respondent
  “often offered students extra credit for renouncing religious beliefs”. During her OIE interview,
  Witness 138 elaborated and stated that she had heard that someone (unidentified) in one of the
  Respondent’s classes (not Witness 138’s course) was offered extra credit if they would denounce
  their religious beliefs in front of the class. Witness 138 did not know which class nor the identity
  of the student involved. Witness 138 did not witness this, and it did not occur in her class. The
  rumor Witness 138 heard was that a student went up in front of the class and said, “I am now
  atheist and am no longer religious,” and supposedly got extra credit. Witness 233 indicated that
  she also heard a similar rumor, but did not witness this occur or know the identity of the student
  involved. Witness 95 alleged that during the 2018 Fall General Psychology course, the
  Respondent offered extra credit for writing a paper that denounced one’s own religion. Witness
  140 alleged that during the 2018 Fall Cross Cultural Psychology course, the Respondent made a
  joke and said something about if students renounced their faith, he would give them extra points.

         On the other hand, Witness 235, who stated that she was a student in the Respondent’s
  course during the 2008 Spring semester, denied that the Respondent required or encouraged
  students to renounce their faith. Similarly, Witness 4 (2011 Cross Cultural Psychology), Witness
  76 (2015 Spring General Psychology), Witness 160 (2018 Spring General Psychology), Witness
  3 (2018 Fall Sexual Behavior), Witness 167 (2018 Fall Cross Cultural Psychology), Witness 1
  (2019 Spring Cross Cultural Psychology), Witness 110 (2019 Summer Cross Cultural
  Psychology), Witness 104 (2019 Summer Cross Cultural Psychology), Witness 116 (2019
  Summer Cross Cultural Psychology) Witness 5 (2019 Summer Cross Cultural Psychology), and
  Witness 2 (2019 Fall Sexual Behavior) denied that the Respondent required or encouraged
  students to publicly denounce their religion. During OIE’s outreach to more than 300 students,
  none identified an instance in which the Respondent required or offered extra credit if a student
  denounced or renounced their faith. Also, none of the recordings reviewed by OIE captured the
  Respondent offering extra credit to students who denounced or renounced their faith.

           When asked to respond to allegations that he offered extra credit for students to denounce
  their religious beliefs in front of the class, the Respondent stated, “This never happened. Not
  even as a joke. I did not say anything like this to my students.” When asked to respond to
  allegations that he had offered extra credit for students to write a paper that denounced their
  religion, the Respondent replied, “Never. I never did that. Remember, I advocate for everyone to
  believe how they want to believe - freedom of speech and freedom of religion are important. I’m


                                                  148
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 388 of 566 PageID 458




  a double minority and a religious minority. I support each person’s right to believe whatever
  they’d like.”

         Taking the record as a whole into consideration, OIE finds that there is insufficient
  evidence to support finding that the Respondent required or offered extra credit to students to
  renounce or denounce their religious faith.

     70. Whether the Respondent issued exam questions that forced students to select
         statements contrary to their religious beliefs to receive credit.

          The anonymous reporter in IL#802, alleged that during 2012-2013, the Respondent
  “included test questions to force those who believe in a religion to either select his beliefs were
  the correct answer otherwise receive a penalty on the exam.” Witness 50, who submitted IL
  #845 and was a student in the Respondent’s 2014 Spring Cross Cultural Psychology course,
  alleged, “I thought that some of the ways he phrased certain questions regarding religion in his
  tests were designed to anger and upset his religious students, although as it has been quite some
  time I cannot remember the exact phrasing, however.” In response to this allegation, OIE
  reviewed the quiz questions and answers for the Respondent’s courses between 2017 and 2020.
  Therein, OIE located the following questions related to religion:
              • Whether Jesus and Muhammad were well-received by people when they began to
                  proclaim they were “prophets” of God (answer was false);
              • Whether according to Jesus, except in cases of adultery, divorce is not permitted
                  (answer was false);
              • Who Muhammad married (answer was his son’s wife);
              • What animal did Muhammad report that he rode to Jerusalem (choices were
                  donkey, camel, horse with wings, white horse, black horse);
              • What did Lot and his daughters do when living in the mountain in the Sodom and
                  Gomorrah story (answer was engaged in incest);
              • Whether many Muslims throughout the world believe that if any Muslim
                  “defects” from Islam, they should be murdered (answer was true);
              • Various versus in the Quran appear to promote prejudice, or even hatred, toward
                  which group(s) of people (answer was Christians, non-Muslims, and Jews).
  See Quiz Questions and Answers 2017-2020. Also, as set forth in Section VI (Material Facts Not
  in Dispute) above, the Respondent issue the following exam question: According to any
  reasonable and rational person, telling children that someone is watching them 24/7 and knows
  every “move they make” and every thought they have, represents essentially: A. a good moral
  upbringing, B. child abuse, C. parental love, or D. parental protection. Students needed to select
  option “B. child abuse” to receive credit for answering this question correctly. Also, the
  Respondent issued an exam question asking students what Muhammad and Jesus had in
  common. To get credit for a correct answer, the students needed to select the option that stated
  there was no evidence of them being who they claimed to be.

          Upon review, OIE finds that some of the Respondent’s test questions required students to
  select an answer that was contrary to their religious beliefs in order to receive credit for
  answering correctly. For instance, Christians who believe that there is a God watching over


                                                  149
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 389 of 566 PageID 459




  them at all times and believe that it is important to teach their children about God would have to
  select that teaching their faith in this manner to their children is child abuse.

  Comments Related to Validity of Sexual Assault Reports
    71. Whether, during class, the Respondent referenced that sexual assault victims lie
        about their attackers, which inflates sexual assault statistics; that the statistic that
        one in four women are raped was fabricated by feminists as less than 1% of women
        are in fact raped; and, blamed victims for the sexual assault.

          In addition to the above, Witness 37 alleged that during the 2009 Psychology of Prejudice
  course, the Respondent said that women make up the allegation of having been raped because it
  helps them from a virtue perspective. Specifically, rather than admitting to themselves that they
  chose to have sex (which may violate a virtue they hold), they allege that they were raped. An
  anonymous reporter alleged that during one of the Respondent’s 2014 Fall semester courses, the
  Respondent shared “his belief that rape was inherent to human and animal behavior”. See
  Student Google Form – Anonymous. The anonymous reporter in IL #801 alleged that friend who
  took one of the Respondent’s courses during the 2016 Fall semester said the Respondent “made a
  remark in class that blamed rape victims for their assault.” Witness 111 alleged that during the
  2017 Fall General Psychology course, the Respondent stated that women liked to accuse men of
  sexual assault for fun and to ruin their lives. Witness 133 alleged that during the 2018 Fall
  General Psychology course, the Respondent said that women make up stories about sexual
  assault. Witness 95, who also was a student in the same course, alleged that the Respondent told
  students that women claim to have been sexually assaulted or raped to ruin men, and there
  usually is so little evidence to prove the rape. Witness 140 alleged that during the 2018 Fall
  Cross Cultural Psychology course, the Respondent asked, “Do you know how many times
  women lie about sexual assault?”, and then stated that they lied to get attention.

           Similarly, Witness 120, who submitted IL #790 and participated in an OIE interview,
  alleged that she took Respondent’s 2019 Spring Sexual Behavior course wherein the Respondent
  made comments that insinuated that sexual assault victims lie about their attackers, thereby
  causing an inflation of the statistics of sexual assault. Witness 66, who was enrolled in this same
  course, submitted IL #789 wherein she alleged that the Respondent said that “rape is extremely
  rare and that statistics that 1 in 4 women are raped are fabricated by feminists (google ACEs
  study and you’ll find that 1 in 4 PEOPLE experience sexual violence before age 18, let alone
  women and rape in their lifetimes). He had no statistics to back up his statement that less than
  1% of women are raped. He went off on a tangent about how false rape allegations ruin careers
  and how boys have their lives ruined by allegations at universities. He said that men are afraid to
  ask women out now, and opened the floor to men to share about that.” During her OIE interview,
  Witness 66 alleged that the Respondent told students that kissing someone without their consent
  was not an assault, there were so many false rape accusations that plague college campuses, the
  statistic of one in four was just a feminist stunt, Title IX doesn’t let you have a lawyer and
  they’re unfairly treating men accused of sexual assault, less than 1% of people may experience
  sexual assault, and there is an epidemic of men being kicked out of the university because of
  false allegations under Title IX. The Respondent then allegedly opened the floor to male
  students who have said they were afraid to ask women out nowadays since they were afraid of
  being accused of sexual misconduct. Witness 66 also alleged that the Respondent discussed the


                                                  150
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 390 of 566 PageID 460




  arrest of Robert Kraft, NFL Patriots owner, and said that Mr. Kraft had done nothing wrong as it
  was not rape if you had sex with a victim of human trafficking.

          The University also received allegations of a general overall insensitivity to sexual
  assault issues. For example, Witness 106 alleged that during the 2019 Fall Sexual Behavior
  course, “we were speaking about sexual assault. [The Respondent] asked the class their thoughts
  and a girl in my class spoke up about her experience. When she stated that she had been
  assaulted when she was 15, [the Respondent] rolled his eyes, made a face, and made a quick
  remark about it was ‘off topic.’” When asked about this allegation, the Respondent replied, “I
  don't remember that, and if someone were to tell me that in my office or in a class, I would not
  react this way.” Also, Witness 88 alleged that during the 2016 Spring Sexual Behavior course
  when the Respondent showed the Consent (2004) video, he joked, “Oh take me now” or “You
  can have sex with me now”. Witness 100 alleged that in her 2019 Summer course, the Consent
  video was sent to students on the day that Harvey Weinstein was sued for sexual assault. With
  regard to this video, the Respondent denied that he made a joke out of it with comments like “oh
  take me now” or “you can have sex with me now.” Rather, “I told the students that this is the
  way we’re heading.”

          During his OIE interview, when asked to respond to allegations that he said that women
  make up the allegation of having been raped because it helps them from a virtue perspective, the
  Respondent stated, “I think I have had discussions with my students along that line. I think it was
  in my Sexual Behavior courses, but I’m not sure. It’s not like how it was presented though. It
  sounds like I said that I’m claiming people who say they were raped are not being honest, and
  that’s not true. I did say that there are individuals who regret having sex and the way they deal
  with that is to say that they were forced into it. That came up once in the context of a Dear
  Colleague Letter and we had a brief conversation about, that when it came out. I’m sure I
  mentioned that there are individuals who claim they have been sexually assaulted when they
  really just regretted having sex. One student started telling me that she knew someone who was
  raped and it really happened, and I said in front of everyone that she’s talking about something
  that really happened and I’m talking about cases where it didn't happen but it was reported, and
  let’s not conflate the two. That was in response to the Dear Colleague Letter.”

           The Respondent denied that he told students that women liked to accuse men of sexual
  assault for fun and to ruin their lives; denied saying “do you know how many times women lie
  about sexual assault?” and that they lied to get attention; denied saying that less than 1% of
  people may experience sexual assault; denied saying that Robert Kraft did nothing wrong; and
  denied saying that it was not rape if you have sex with a victim of human trafficking. In response
  to the allegation that he said the statistic of one in four women had been sexually assaulted was
  just a feminist stunt, the Respondent stated, “I didn’t say it was a stunt, but that it was conducted
  by a feminist activist.” When asked if he told students that rape was inherent to human and
  animal behavior, the Respondent replied, “I think somewhere in some context, but I don’t
  remember the context or in what class, I said that if we look at the animal world, rape is a part of
  mammals’ behaviors.”

          When asked if he opened the floor to male students who have said that they were afraid
  to ask women out nowadays since they were afraid of being accused of sexual misconduct, the


                                                   151
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 391 of 566 PageID 461




  Respondent replied, “I deny as this is alleged. Rather, this is a reference to an exercise I do in the
  Sexual Behavior class, during which I ask - starting with one of the groups, either men or
  women, and clarify it’s a heterosexual exercise - for those of you who are heterosexual, and I
  assume most of you are based on statistics, I start with one of the groups and say I want to hear
  personally, since I’m so removed from the current dating scene, what the norms are for dating
  these days. I ask if they prefer to have a man initiate a date, and different women debate different
  things. Then I ask the men are you OK with women asking you out for a date or do you feel you
  ought to be the one asking, then they debate. That is pretty much the extent of the exercise. It
  sounds like someone does not recall this exercise well.”

          When asked to respond to the allegations that he said that Title IX doesn’t let you have a
  lawyer and they’re unfairly treating men accused of sexual assault, and that there is an epidemic
  of men being kicked out of the university because of false allegations under Title IX, the
  Respondent replied, “I deny this as I don't know the specifics of Title IX. I do know that males
  accused of sexual assault are not given permission to have a representative on their behalf that is
  able to speak in the process.”

          OIE’s review of the available recordings did not reveal the Respondent having made
  comments of this nature. Taking the record as a whole into consideration, including the
  inconsistency as to the specific statements (women “make up” allegations, women lie to get
  attention, women lie for fun and to ruin men’s lives) and lack of corroboration, OIE finds that
  there is insufficient evidence to support finding that the Respondent blamed victims of sexual
  assault for the assault and said that all sexual assault victims lied about their attackers. However,
  based on the Respondent’s response to the allegations, OIE finds that there is sufficient evidence
  to support finding that the Respondent told his Sexual Behavior students that if we look at the
  animal world, rape is a part of mammals’ behaviors; there are individuals who regret having sex
  and the way they deal with that is to say that they were forced into it; and that a study finding
  that one in four women experienced sexual violence before age 18 was conducted by feminists.
  Lastly, although denied by the Respondent, OIE found the detailed nature of Witness 66’s
  testimony persuasive (particularly when considering her lack of motive to lie, the Respondent’s
  motive to lie, and the Respondent’s other inconsistencies in testimony noted herein), and, thus,
  finds that there is sufficient evidence to support finding that during the 2019 Spring Sexual
  Behavior course, the Respondent criticized the manner in which data had been collected for the
  study (such as counting kissing without consent as an assault) and the study’s conclusion
  (arguing that rather than 25%, the number was more like less than 1%), stated that there were
  many false rape accusations that plagued college campuses and the campuses were unfairly
  treating men accused of sexual assault, and there was an epidemic of men being kicked out of the
  university because of false allegations under Title IX. OIE further finds that there is sufficient
  evidence (for the reasons noted above) that during the 2019 Sexual Behavior course, the
  Respondent referenced the arrest of Robert Kraft, NFL Patriots owner, and said that Mr. Kraft
  had done nothing wrong as it was not rape if you had sex with a victim of human trafficking. 23



  23
    On February 22, 2019, Robert Kraft was arrested for solicitation of prostitution in connection with alleged visits
  to the Orchids of Asia Day Spa located in Jupiter, Florida. In September, 2020, Florida prosecutors dropped the
  charges.

                                                           152
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 392 of 566 PageID 462




     72. Whether, around the time of the Congressional hearings related to Brett Kavanaugh
         being nominated to the U.S. Supreme Court, the Respondent told students that the
         accuser was just imagining things.

          The anonymous reporter in IL #794, who allegedly was a student in one of the
  Respondent’s 2018 courses, alleged that “when the Brett Kavanaugh controversy was going on.
  He came forward alleging the accuser was just imagining things.” A similar allegation was made
  by another anonymous reporter (IL #810) for the same timeframe. When asked about this
  allegation, the Respondent stated, “I never brought that up in my classes.”

          However, OIE’s review of the September 18, 2018 recording of the Respondent’s
  General Psychology course revealed that in response to a student’s question about guided
  therapy to help recover memories, the Respondent stated that the following: “I am going to make
  some vague comments. My colleagues and I are probably divided on this. Some people think
  that memories of trauma can come out later for various reasons, and others in my profession
  think that if someone experiences trauma they can’t get it out of their heads. …. Two pools of
  people – experience trauma and can’t recall it and others that can’t stop thinking about it… So I
  don’t know what the reality is as I don’t do anything with memory. We have a situation right
  now, not sure if you’re aware of it where… and I’m very apolitical, remember I hate all
  politicians, okay so keep that in mind. We have a judge who is trying to become confirmed to
  become the ninth judge on the Supreme Court. How many of you know about this? … I’ve seen
  him on TV and he seems to be a squeaky clean conservative person but a lady has come forward
  that knew him in high school about 35 years ago and reports that (she is in her 50s and so is he)
  that when they were in high school, he sexually assaulted her. And he was drunk and that she
  forgot all about it until 2012 which is um about 30 something years later. She was in couple’s
  therapy and she claims that, as a result of couple’s therapy, she recalled that this guy that is now
  trying to become a judge on the Supreme Court had sexually assaulted her 30 something years
  earlier. So now the politics are going to get involved. … He may not get confirmed… don’t
  really care. Another situation where if you’re claiming something that happened traumatic …
  trauma has come to the surface. Again, I don’t know what the reality is.”

          Taking the record as a whole into consideration, including the anonymity of the two
  reports and the inconsistency between the Respondent’s statement to OIE that Brett Kavanaugh’s
  confirmation hearings (which occurred on September 4-7, 2018) were not referenced in class and
  the class recording, OIE finds that there is sufficient evidence to support finding that in
  September 2018, the Respondent referenced the Brett Kavanaugh’s hearings in his General
  Psychology course during a discussion about therapy, memories, and the impact of trauma.
  However, the record does not support that the Respondent stated that the accuser was just
  imagining things.

     73. Whether, during class, the Respondent told students that Brock Turner got off easy
         because he had so much ahead of him, he had a 4.0 GPA, there was little evidence to
         prove the rape, and it appeared that the victim had been lying.

          Witness 95 alleged that during the 2018 Fall General Psychology course, the Respondent
  stated that Brock Turner (the Stanford swimmer) got off easy because he had so much ahead of


                                                  153
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 393 of 566 PageID 463




  him, he had a 4.0 GPA, there was little evidence to prove the rape, and it appeared that the victim
  had been lying. When asked about this during his OIE interview, the Respondent did not recall
  the Brock Turner case, including after OIE provided a brief summary, and stated, “I just don’t
  know this case, and what this student reported goes way beyond what I know about the case and
  they added some nefarious things.” No other students shared allegations of this nature with OIE.
  Also, OIE’s review of the available recordings related to this course did not reveal statements of
  this nature having been made. Accordingly, taking the record as a whole into consideration, OIE
  finds that there is insufficient evidence to support finding that the Respondent told his 2018 Fall
  General Psychology students that Brock Turner got off easy because he had so much ahead of
  him, he had a 4.0 GPA, there was little evidence to prove the rape, and it appeared that the victim
  had been lying.

  Student’s Sexual Assault Report
     74. Whether in February 2014, Witness 34 disclosed to the Respondent that she had
         been sexually assaulted by one of the Respondent’s teaching assistants, Witness 36.

          The anonymous reporter in IL #844, alleged that a student “was sexually assaulted by a
  TA. When she went to her professor ([the Respondent]) he told her to not report it because she
  would not be believed, and tried to convince her that due to medications she was taking at the
  time she was partially at fault.” The reporter further alleged that following the sexual assault, the
  student “approached [the Respondent] after class to request a discussion on the topic. He initially
  refused to hear her experience, and after her persistence scheduled an office hour meeting to
  discuss. During office hours she told him the story and [the Respondent] told her that she
  shouldn’t file charges and that ‘no one would believe you let him come over just for that.’ He
  also insinuated that due to her taking anxiety medications (benzodiazepines) she should have
  been more ‘on guard.’ His only accommodation was to allow her to take exams in his office
  instead of in class (where the TA would be). Even with this accommodation he scheduled them
  so she had to run into the TA leaving [the Respondent’s] office when she arrived to take the
  exam. … I did not witness [the Respondent’s] exact words, but I met with my friend after the
  meeting and was the one who encouraged her to disregard what he said and still file a report.”

           After a review of University records, OIE was able to determine that this IntegrityLine
  report likely referred to Witness 34, who had been enrolled in the Respondent’s 2012 Spring
  Sexual Behavior and 2014 Spring Cross Cultural Psychology courses. OIE contacted Witness 34
  and she agreed to participate in an interview. Witness 34 stated that in February 2014, she and
  another female student, Witness 35, met with the Respondent and disclosed that they had been
  sexual assaulted by one of his teaching assistants, Witness 36 (“we explain[ed] the whole
  scenario to him”). Specifically, Witness 34 advised the Respondent that on February 14, 2014,
  she had talked with Witness 36 about her disappointment with her boyfriend having to work on
  Valentine’s Day, but she nevertheless planned to bake him a cake. Witness 36 indicated that he
  was disappointed with his recent breakup with his girlfriend. They agreed that Witness 36 could
  come to Witness 34’s apartment to “hang out” while Witness 34 baked the cake. After baking
  the cake, Witness 34 and Witness 36 watched television, and Witness 36 attempted to kiss
  Witness 34 multiple times without consent. Witness 34 told the Respondent that, thereafter, she
  fell asleep on the couch and woke up to Witness 36 running his hands along and in between her
  legs and her butt without her consent.


                                                  154
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 394 of 566 PageID 464




          During his OIE interview, the Respondent denied that Witness 34 told him that she had
  been sexual assaulted by Witness 36 during that initial meeting. Rather, he recalled that “two
  young ladies in general psych came to me on the day of an exam and they told me that they were
  at some gathering - and I don’t remember if it was a party or off or on campus - they told me that
  my undergrad TA sat right next to them, and he started talking to them in a way indicating that
  he wanted to have some romance with them. I asked if he touched them and they both said no, he
  did not. I said I don’t know what I can do about that. I said for today’s test, and this was in a
  large auditorium full of 460 students, that they could sit up front and I would send the TA to the
  back of the classroom to monitor for cheating. I said if they felt he did something to them, they
  could go talk to the Office of Student Conduct. I asked them one more time if he touched them,
  and they said he did not. A day or two later, I got a call from someone in your office or the
  Office of Student Rights and Responsibilities asking what they said and what happened. This
  person said he actually touched them, and I said they did not tell me that and I can only go by
  what they told me. This person said that the two young ladies were afraid of telling me that my
  TA had touched them. This person might have said to me that if someone is sexually assaulted, I
  had to report, and I said I was not aware of this. I never heard anything more about this case. I
  had never been trained in the Clery Act like I have now. One, they told me that he never touched
  them. Two, your office never contacted me again about that. Three, I had never been trained on
  the Clery Act.”

          Although outreach was made to Witness 35, she did not respond or participate in OIE’s
  investigation. However, OIE was able to connect with Witness 171, who appears to have been
  the anonymous reporter in IL #844, and was friends with Witness 34 at the time of the alleged
  report. Witness 171 stated that with regard to the incident between Witness 34 and Witness 36,
  Witness 34 “was uncomfortable going to class, so she went to [the Respondent] to discuss the
  incident and to ask if she could take the exams outside of class since the TA would be present.
  She shared with me that [the Respondent] responded that none of this would hold up in court.
  Her takeaway from the conversation was that [the Respondent] said that she shouldn’t report it to
  the authorities because [the Respondent] did not believe she was assaulted based upon what she
  shared with him. I encouraged her to report regardless, and she did.”

          In addition, Witness 34 provided OIE with a document titled “UCF Timeline” that
  included copies of communications she had with Victim Services, other UCF offices and the
  Respondent in February and March, 2014. Therein, Witness 34 set forth a copy of her February
  28, 2014 message to Victim Services wherein she stated, “The perpetrator is a TA and I was told
  last time that I should meet with my professor to discuss the situation since he is the one who
  hands out and collects my exams and I wanted the professor to be aware. He didn’t respond very
  positively at all (‘I don't understand why you’re telling me this.’ ‘There’s really nothing I can
  do.’ ‘He was probably confused about the situation and thought you wanted it.’ ‘I can only
  hope that in the future you can prevent this from happening again by being more conscientious
  when choosing your friends.’ etc.) Needless to say, I don’t completely feel comfortable in my
  class at the moment because I don’t feel like my professor is on my side at all and now I feel like
  he has a negative attitude about me. I don’t believe that the perpetrator is present in my (fairly
  large) class except on test days, but my professor has already made it clear that he will continue
  to be in the class during our exams, one of which is next Tuesday. Is there any provision for


                                                  155
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 395 of 566 PageID 465




  accommodations in a situation like this where I might be able to take my exam somewhere else if
  I decide that it will make me too uncomfortable?” (Emphasis added.)

          Witness 34 also set forth a copy of her March 11, 2014 email to the Respondent
  reminding him that she had spoken to him “before Spring Break about an issue that I had with
  one of the TAs. Since I knew he would be present in your class during the exams, I’ve been
  working on trying to get an alternative testing area through student disability services.” She
  acknowledged having not been present for the exam scheduled that day and stated that she and
  Victim Services had “determined that it was best for me not to come in contact with that
  individual at all, so one of their representatives will be emailing you soon with more
  information.” Witness 34 then set forth a copy of the Respondent’s response (also dated March
  11, 2014) that stated, “The best way to have handled this is to communicate with me about this
  before the exam, not afterwards. You could have come to my office at 3 p.m. today to have
  taken the test right outside my office. I will work with you on this exam, but please note that the
  way to handle these matters (particularly the situation as I understand it) is to go through the
  professor.” The following day, Witness 34 submitted a report of the sexual assault to Student
  Development and Enrollment Services (SDES).

          Witness 34 further set forth a copy of her March 23, 2014 email to the Office of Student
  Conduct (which OIE confirmed viewing the matter in the Maxient Database). Therein, she
  stated, “[T]he first time that I went to Victim Services, they told me that I needed to bring up the
  issue with my professor since it involves his TA and I turn my exams into him on exam day. I
  went to his office hours and brought along a girl named [Witness 35] as support since she’s also
  filing against the same individual (along with 2 other girls). The professor was [the Respondent],
  a psychology instructor. We brought up the issue and he basically kept asking why we were even
  telling him and saying that he couldn’t do anything about the situation. He asked us for more
  details and then when it came out that we had been friends and he’d been at our houses, he
  sort of rolled his eyes laughed, and acted like of course something would have happened.
  He said the guy must have misinterpreted the situations and thought we’d wanted more.
  We told him that we had been very clear. He said that there was nothing that he could do to
  remove him from the class and that the only way he would do anything was if a police officer
  came straight to him and said that his TA was a criminal, but that from what we were saying, he
  didn’t cross any lines and that the only way we'd have a case would be if we were to ‘fabricate
  information’ to the police, which he ‘wouldn't recommend.’” (Emphasis added.)

          Taking the record as a whole into consideration, including the corroboration provided by
  Witness 171 that close to the time of the conversation between Witness 34 and the Respondent,
  Witness 34 advised him that she had alerted the Respondent to having been sexually assaulted, as
  well as the documentation at the time capturing Witness 34’s detailed description of her
  conversation with the Respondent, OIE finds that there is sufficient evidence that in February
  2014, prior to reporting to SDES, Witness 34 disclosed to the Respondent that she had been
  sexually assaulted by one of his teaching assistants, Witness 36, and the Respondent did not
  report this disclosure to the University.




                                                  156
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 396 of 566 PageID 466




     75. Whether the Respondent asked Witness 34 to provide details about her interactions
         with Witness 36, and then responded by blaming Witness 34 for Witness 36’s
         misinterpretation of the situations and initially refused to assist with limiting
         interactions with Witness 36 for the remainder of the semester.

           Witness 34 alleged that following the disclosure of her sexual assault, the Respondent
  demanded that she provide him with details about the interactions with Witness 36. When she
  told Respondent that she had been friends with Witness 36 and he had been to her house, the
  Respondent allegedly rolled his eyes, laughed and said Witness 36 must have misinterpreted the
  situation and thought that she wanted more. The Respondent then said, “Well, that’s what
  happens when you bring boys to your apartment”. In response to these allegations, the
  Respondent stated, “Those two students said that? … I’m shocked. I could tell they were upset
  about this. I put on my clinical psychologist hat and tried to be very empathic when something
  came up. There is no evidence that this was reported then? This is only happening now? I told
  you I did not report it because they said he didn’t touch them, I hadn’t been trained, and I deny
  that I dismissed them like has been described.”

           Witness 34 further alleged that when she requested assistance with limiting interactions
  with Witness 36, the Respondent said that there was nothing he could do about removing
  Witness 36 from the class, and the only way he would do anything is if a police officer came and
  said that Witness 36 was a criminal. The Respondent further told Witness 34 that Witness 36
  had not crossed the line; that the only way she would have a case against Witness 36 is if she
  fabricated information to the police, which he wouldn’t recommend as she would get in trouble
  for falsifying evidence; and that if she brought her allegations the police, they would have to
  twist around what happened since there was no evidence of the assault. He ended with
  suggesting that they pick better friends moving forward. With regard to these allegations, the
  Respondent denied having made the statements attributed to him and the conversation having
  occurred as described by Witness 34.

          Witness 34 further alleged that the Respondent initially refused to allow her to take his
  exams elsewhere or remove Witness 36 from proctoring the exams. The Respondent told her
  that the best he could do was tell her not to sit on an aisle seat so that Witness 36 did not have to
  hand her anything. Witness 34 stated that she then spoke with UCF’s Office of Student Rights
  and Responsibilities, who contacted the Respondent. Witness 34 alleged that the Respondent
  refused to allow her to use the testing center for exams but allowed her to take the exam in his
  office. When she arrived, the Respondent did not recognize her and then said, “Oh you’re the
  one with an issue with my TA”. When asked about the refusal to use the testing center and
  comment on his arrival to his office, the Respondent stated that he did not remember Witness 34
  taking the exam in his office, and his recollection was telling her to sit in the front “of the huge
  auditorium” while he made sure Witness 36 was in the back.

           In her March 23, 2014 email to the Office of Student Conduct, Witness 34 stated, “the
  first time that I went to Victim Services, they told me that I needed to bring up the issue with my
  professor since it involves his TA and I turn my exams into him on exam day. I went to his office
  hours and brought along a girl named [Witness 35] as support since she’s also filing against the
  same individual (along with 2 other girls). The professor was [the Respondent], a psychology


                                                   157
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 397 of 566 PageID 467




  instructor. We brought up the issue and he basically kept asking why we were even telling him
  and saying that he couldn’t do anything about the situation. He asked us for more details and
  then when it came out that we had been friends and he’d been at our houses, he sort of rolled his
  eyes laughed, and acted like of course something would have happened. He said the guy must
  have misinterpreted the situations and thought we’d wanted more. We told him that we had been
  very clear. He said that there was nothing that he could do to remove him from the class and that
  the only way he would do anything was if a police officer came straight to him and said that his
  TA was a criminal, but that from what we were saying, he didn’t cross any lines and that the only
  way we’d have a case would be if we were to ‘fabricate information’ to the police, which he
  ‘wouldn't recommend.’ We thought that was pretty rude and dismissive from a professor,
  especially one with a psychology background. We made a point to explain that the TA seemed to
  be doing this repeatedly to many females and that our goal was to stop it and he said that he
  hopes that what we get out of this is that it won’t happen again...because hopefully we’ll start
  ‘picking better friends.’ We were very frustrated with this especially, as he seemed to be blaming
  the whole situation on the fact that we were friends with the individual in the beginning. We left
  feeling kind of defeated and upset.”

          As set forth above, although outreach was made to Witness 35, she did not respond or
  participate in OIE’s investigation. However, OIE did speak with Witness 171, who stated that
  Witness 34 told him that after sharing what had occurred with Witness 36 with the Respondent,
  he told her “that none of this would hold up in court” and he “did not believe she was assaulted
  based upon what she shared with him.” Also, documentation around the time of the conversation
  noted Witness 34’s description of the Respondent’s reaction to her disclosure – namely, telling
  Witness 34 that he didn’t understand why she was telling him this, there was nothing he could
  do, Witness 36 was probably confused about the situation and thought she wanted it, her claim
  lacked evidence, he couldn’t remove the TA unless the police instructed him on this, and “I can
  only hope that in the future you can prevent this from happening again by being more
  conscientious when choosing your friends.”

          Taking the record as a whole into consideration, OIE finds that there is sufficient
  evidence to support finding that in February 2014, when Witness 34 disclosed to the Respondent
  that one of his teaching assistants had sexually assaulted her, the Respondent asked why she was
  telling him, asked for details about the incident, denied that the teaching assistant had “crossed
  the line”, said that the teaching assistant must have misinterpreted the situation and thought she
  wanted more, said that the only way she would have a case would be to fabricate information to
  the police (which he didn’t recommend), said that he could “only hope that in the future” she
  could “prevent this from happening again by being more conscientious when choosing” her
  friends, and denied that he could do anything about the situation (such as removing the teaching
  assistant from the class during exams) as the only way he would do anything was if a police
  officer came straight to him and said that his teaching assistant was a criminal. The record
  further supports that, thereafter, the Respondent allowed Witness 34 to make up an exam she
  missed by taking it in his office and when she arrived, he did not recognize her and then said,
  “Oh, you’re the one with the issue with my TA.”




                                                 158
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 398 of 566 PageID 468




  Tenure-Related Comments
     76. Whether the Respondent told students that he could say whatever he wanted in class
         without repercussions because he was tenured.

          Witness 147, who submitted IL #815 and was a student in the Respondent’s 2009 Fall
  Sexual Behavior course and 2010 Fall Cross Cultural Psychology courses, alleged that the
  Respondent used “his tenure like a child, repeatedly chanting, ‘you can’t touch me’.” Witness 37
  alleged that during the 2009 Psychology of Prejudice course, the Respondent often arrived late
  for the course and reminded students that he was tenured so “what are you going to do”. Witness
  91 alleged that during the 2016 Spring Cross Cultural Psychology course, the Respondent told
  students that he couldn’t be touched because he was tenured. Witness 88, who submitted IL #800
  and participated in an OIE interview, alleged that during 2016 Fall Sexual Behavior and 2017
  Spring Cross Cultural Psychology courses, the Respondent “discouraged students from reporting
  him to UCF higher ups because ‘they won’t do anything because I’m tenured’. He presented
  himself as untouchable.” Witness 85 similarly alleged that during the 2016 Fall General
  Psychology, the Respondent brought up being tenured all the time and told students that they
  could complain but he was pretty much “untouchable” because he was tenured. Witness 111
  alleged that during the 2017 Fall General Psychology, the Respondent said that he can’t be
  touched because he’s tenured. Witness 87 alleged that during the 2017 Spring Cross Cultural
  Psychology course, the Respondent said that some students had complained about the way he
  treated them but, “I’m tenured, and you can’t get rid of me.” Similarly, Witness 144 alleged that
  during the 2017 Fall Cross Cultural Psychology course when the Respondent advocated for a
  White history month and students challenged him, the Respondent said the students could
  “complain to whatever office you want, but I am tenured”. Witness 144 further alleged that the
  Respondent mentioned being tenured in “just about every class”.

          In addition, the anonymous reporter in IL #794, who allegedly was a student in one of the
  Respondent’s 2018 courses, stated, “I kept my mouth shut, because [the Respondent] said he
  could say whatever he wanted whenever he wanted because he had tenure”. Witness 160 alleged
  that during the 2018 Spring General Psychology course, the Respondent said that he was tenured
  and “I can do what I want.” Similarly, Witness 172, who was a student in this 2018 Spring
  course, alleged that the Respondent “told class that there were previous complaints filed against
  him but that he was tenured so they couldn’t do anything about it.” Witness 121, Witness 107,
  Witness 133, Witness 95 and Witness 57 (via email) alleged that during the 2018 Fall General
  Psychology course, the Respondent said that UCF was not able to fire him and boasted how UCF
  couldn’t get rid of him and he could say whatever he wanted with no repercussions. Witness 92
  alleged that during the 2018 Fall Cross Cultural Psychology course, the Respondent stated that
  he was tenured so he could say what he wanted. Witness 167, who also was a member of the
  2018 class, alleged that the Respondent made it “a point to tell us how people have tried to report
  him to higher authorities. He basically said there is not anything you can do. He would say that
  the department and the university knew how he teaches and know his teaching methods. He said
  they can’t take action against him because he is tenured faculty. He mentioned how students
  have tried to report him in the past and it won’t work.” Witness 56 alleged that during the 2019
  Spring Cross Cultural Psychology course, the Respondent made his comments about Mary and
  Jesus (as set forth above), showed the class an email he received from a former student about this
  type of conduct, and commented that “if we were offended, we can report it to UCF but added


                                                 159
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 399 of 566 PageID 469




  they can’t do anything about it”. Witness 56 and Witness 117 recalled that the Respondent also
  told students that “the school can’t touch me” and “there is not much the school can do because I
  am tenured”. Witness 98 recalled that during this discussion, the Respondent stated that if UCF
  tried to fire him, they would have to pay a hefty lawsuit.

          Witness 115 recalled that during the 2019 Spring General Psychology course, the
  Respondent said, “I am a fucking tenured professor and nobody can fucking touch me. I dare
  them to even try.” Witness 120 recalled that during the 2019 Spring Sexual Behaviors course, the
  Respondent told the students, “Just try and go tell someone about me – I have tenure, and no one
  can touch me.” Witness 66, who also was a student in this 2019 course, alleged that on the first
  day of class, the Respondent said that people complain about him every year and try to get him
  removed, but that it never works. Witness 53 alleged that during the 2019 Summer Sexual
  Behavior course, the Respondent made a similar statement that tenure protected him from
  repercussions. Witness 116 alleged that during this same course, the Respondent made a
  comment about being tenured while discussing something related to religion. The Respondent
  referenced an old Reddit post by a student who had been upset with him a few years prior, and
  said that people had tried to stop him from talking about certain things, but “I can say these
  things because I have freedom of speech and tenure,” and that the things he said would not get
  him removed from his position. Witness 129 alleged that during the 2020 Spring Personality
  Theory class, the Respondent said he was tenured so he could not get in trouble.

         In contrast, an anonymous reporter, who allegedly was a student in the Respondent’s
  2008 Spring General Psychology course, stated that the Respondent did not make any comments
  about being tenured or untouchable, or that left the impression that complaining about him would
  be a waste of time. See Phone Log 7-22-2020 Witness 235.

          When asked if he talked to his students about being tenured during his courses, the
  Respondent replied, “I do talk about this with the students. I do this to encourage students to say
  anything they want in class. Someone on Twitter, an African American student, said that ‘this
  guy said that in class that because he has tenure, he can rape the students and get away with it.’
  This is one of those occasions where I just couldn’t let it go. Instead of ignoring it, I said, ‘did it
  ever occur to you that I didn’t say such a vile thing?’ She wrote back and said, ‘I don’t care, I’ve
  heard what other students have said.’ I do let students know that I have tenure and that allows me
  to address these controversial issues - or at least I thought until now - and express my beliefs that
  are in data and are not popular in the orthodoxy in higher education and protect me from critique
  from administrators and others. It gives me the freedom to address issues that others don’t want
  to express and to express unpopular views.” The Respondent denied that while discussing tenure,
  he said, “You can’t touch me,” “I’m untouchable” or similar statements. He also denied that he
  told students that if they wanted to reach out to UCF about him, nothing would be done because
  “I am tenured”; denied that he told students that they could “complain to whatever office you
  want, but I am tenured”; denied that he told students that “UCF was not able to fire me, boasted
  how UCF couldn’t get rid of me, and I could say whatever I wanted with no repercussions”;
  denied that he said that if UCF tried to fire him, they would have to pay a hefty lawsuit; and,
  denied that he said, “I am a fucking tenured professor, and nobody can fucking touch me. I dare
  them to even try.” When asked whether when some students complained in class about the way
  he treated them, he replied, “I’m tenured, and you can’t get rid of me”, the Respondent replied,


                                                   160
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 400 of 566 PageID 470




  “I might have said, when this has come up, that it’s hard to get rid of a tenured professor unless
  they do something egregious.”

          With regard to allegations that he showed the students letters of prior students’
  complaints, the Respondent stated, “What I showed students was, and you may recall in 2009 I
  think, I had a student in my large class who stood up and told the whole 450 students, I invite all
  of you in the name of Jesus to ignore this man and not pay attention. I was furious but just told
  him to sit down. I left that day still angry and wrote a letter to my students about religious
  bigotry and the purpose of the university. It got a lot of national attention. In response to this
  incident, which went national and I got interviewed by news agencies, a few people wrote
  negatively to me. One sent a letter that I was going to burn in hell, etc. For a couple of semesters
  after that incident, I read this letter about burning in hell to the class during the first day of the
  semester. When I showed the letter, I said that I would be covering controversial things, and had
  endured the fact that people think I should be punished for my views. That was the purpose of
  sharing the letter. … No other complaints about me like this were shared with students.” See
  Announcement Jan. 2012 Re Religious Bigotry.

          As set forth in Section VI (Material Facts Not in Dispute) above, OIE’s review of the
  2019 Recordings revealed that at one point, a student asked if she could take a picture
  (presumably of his slide) and the Respondent replied in the affirmative stating, “my life is an
  open book”. He then said that he had students at UCF complain, he has gotten investigated, and
  he “laughs the whole way through”. Also, the Respondent stated, “At [the] university, we happen
  to have [a] system called the tenure system, so that once you have tenure, like I have at the
  university, unless I rape you—which I won’t, I promise—the university can’t fire me. They just
  can’t fire me.” On another day when talking about how U.S. universities operated and students
  are customers, the Respondent referenced professors who are not tenured, but how he is tenured
  “which means they can’t fire me unless I do something outrageous”. Similarly, in the August 28,
  2018 General Psychology course, the Respondent told students, “I can say what I said, and that I
  the way it goes. No one cares, UCF will not say a thing to me.”

          Taking the record as a whole into consideration, including the general consistency of
  allegations among multiple students over different timeframes (2009, 2010, 2016, 2017, 2018,
  2019 and 2020), corroboration of allegations within the same courses, and the Respondent’s
  questionable credibility on this point after denying that he referenced rape while discussing
  tenure (which was refuted by the audio recordings), OIE finds that there is sufficient evidence to
  support finding that for multiple years, the Respondent told his students in each of his Sexual
  Behavior, General Psychology and Cross Cultural Psychology courses that he was tenured,
  which meant that he could not be touched, he was untouchable, he could not be fired, he could
  not be gotten rid of, nothing would be done if students complained about him to administrators
  or offices at the University, and he could say what he wanted to say in class without
  repercussions, as well as that other students had complained about him and were unsuccessful
  because of the protections provided by tenure.




                                                   161
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 401 of 566 PageID 471




     77. Whether, during class, the Respondent told students that, due to be tenured, he
         could not be fired unless he raped them.

          Witness 95 and Witness 58 alleged that during the 2018 Fall General Psychology course,
  he told the students that unless he engaged in sexual assault or rape, there was nothing that could
  be done about what he says because he has tenure. The anonymous reporter in IL #832, who
  allegedly was a student in the Respondent’s 2019 Spring Cross Cultural Psychology course,
  stated, “I wanted to report him sooner but he told the class that unless he rapes us that he could
  not be fired so I felt hopeless.” Witness 125 alleged that during the 2019 Summer Cross Cultural
  Psychology course, the Respondent said that he “was tenured, which gave him protections, and
  that the only way he could have his tenure revoked is if he did something like rape a student.”
  Witness 110 and Witness 104, who also were students in the 2019 Summer course, corroborated
  that he made a statement that essentially he could do anything except rape a student and remain
  tenured. Witness 5 stated that the Respondent referenced the attention that he had received in
  2012 related to a letter he sent to students about his discussion pertaining to religion. He then
  stated that in the end, “he had tenure, so they [the University] didn’t do anything. He said the
  department told him, ‘We got your back’, and said ‘unless I hit a kid or something, I’m good.’”
  The Respondent may have referenced rape but Witness 5 was not sure. Similarly, Witness 137,
  who submitted IL #877 and participated in an OIE interview, alleged that during the 2019 Fall
  Cross Cultural Psychology course, the Respondent “discuss[ed] tenured professors and he made
  the statement that he cannot be fired. Several students have tried unsuccessfully. He state[d] ‘I
  cannot be fired, basically I would have to rape one of you to be fired and that’s not happening.’
  He left the students feeling there was no recourse if anyone was in disagreement with his
  discriminatory statement.” Witness 150, who was a student in this same 2019 Fall course, stated
  that the Respondent said “that because he is tenured the university can’t get rid of him unless he
  ‘raped us’. It just felt hopeless at that point.” Witness 173 similarly alleged that the Respondent
  made a statement of this nature.

         When asked to respond to the allegations that he told students that unless he engaged in
  sexual assault or rape, there was nothing that could be done about what he said in class because
  he was tenured, the Respondent replied, “I say unless I do something egregious, but not this.”
  When asked to respond to allegations that during a summer trip to Peru, he said the only way he
  would lose tenure is if he raped a student, the Respondent said, “I deny that completely.”

          As set forth in Section VI (Material Facts Not in Dispute) above, during the 2019
  Summer audio recordings, the Respondent is heard saying, “At [the] university, we happen to
  have [a] system called the tenure system, so that once you have tenure, like I have at the
  university, unless I rape you—which I won’t, I promise—the university can’t fire me. They just
  can’t fire me.”

          Taking the record as a whole into consideration, including the general consistency of
  allegations among multiple students over different timeframes (2018 and 2019), corroboration of
  allegations within the same courses, and the Respondent’s questionable credibility on this point
  after denying that he referenced rape while discussing tenure (which was refuted by the audio
  recordings), OIE finds that there is sufficient evidence to support finding that during 2018 and



                                                  162
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 402 of 566 PageID 472




  2019, the Respondent told his students in each of his General Psychology and Cross Cultural
  Psychology courses that, due to being tenured, he could not be fired unless he raped them.

  Mocking of or Being Condescending Toward Students:
           The record has evidence of students having enjoyed the Respondent’s classes, including
  the content of the course and the manner in which the content was delivered. That said, the
  record also has evidence that at least a portion of students found the Respondent to have been
  disrespectful and condescending towards students throughout his courses and described him as
  not allowing space for debate of the issues he presented, such as rolling his eyes in response to
  students disagreeing with him, laughing at students’ statements, and telling students that they
  were not using their brains or lacked experience to refute the issues he presented. E.g. IL#803
  (anonymous) (when students attempted to refute Respondent’s statements, he seemed “to find
  entertainment in watching students become frustrated and upset”, laughed “at their statements,”
  and did not engage in thoughtful debate); IL #871/#874 (Witness 140) (Respondent “constantly
  made fun” of students); IL #894 (anonymous) (Respondent often insulted, belittled and made fun
  of students that spoke about their religious views); IL #924/925 (anonymous) (laughed at
  student’s questions); Witness 51 Witness Interview Summary (Respondent made fun of
  students); and, Witness 233 Witness Interview Summary (when students countered his opinions
  regarding affirmative action, he said “you’re so young” or “talk to me again after you’ve worked
  in the field for 20 years”). 24 Below, OIE assesses out some of the specific examples of these
  alleged concerns.

          OIE also notes that during his interview, OIE asked the Respondent if when a student
  shared a different viewpoint than him, did he act hostile, laugh, chuckle, cross his arms, roll his
  eyes, put his hand out for students to stop talking, not give students a chance to defend
  themselves or tell the students they were childish, the Respondent replied, “It depends on the
  issue, the comment, the mood of the class - all kinds of things. I am used to those negative
  comments in my student evaluations. All I can say is that I am a blunt person, with a certain
  personality, and you’ve gotten a little taste of it during these interviews. There are some students
  who have an issue with that. I don’t allow my students to proclaim something or pound their
  chest. I tell them they are wasting class time and it’s a large class, so you have to be pithy and
  focused on the evidence. I’m sure those individual students walk away thinking I dismissed them
  and was rude or condescending to them. Those are subjective evaluations of my handling of the
  situation.”

          It is important to note that the audio recordings reviewed by OIE did not support the
  allegations that the Respondent disallowed questions or challenges from students. E.g.
  Recordings – 2019 Summer – 16 (after discussing why he does not believe systemic racism
  exists in the U.S., the Respondent stated, “I am trying to be anti-racist. I wish racism would go
  away,” and then said, “I am going to get off my soap box and will let you tell me how wrong I
  am,” and opened the issue up to class discussion).




   This is not meant to be a full list of where this nature of allegations was made. Rather, these kinds of allegations
  24

  were a common theme throughout the investigation when speaking with many students.

                                                           163
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 403 of 566 PageID 473




     78. Whether the Respondent called students derogatory names such as “stupid”,
         “absolute idiot”, “baby”, “morons”, “idiots”, “weird”, or “jackass”.

          Witness 37 alleged that during the 2009 Psychology of Prejudice course, a Black female
  student shared her personal experiences with racism, and the Respondent told her that she was an
  “absolute idiot” if she believed that her experiences were because she was Black. Witness 37
  further alleged that when students asked him a question about his opinion or made a statement
  that the Respondent disagreed with, he responded by calling them “stupid” or an “idiot”. The
  Respondent also told one of his teaching assistants, “You’re too stupid to answer questions so
  don’t email the students back.” Witness 37 also shared that the Respondent called students who
  advocated for safe space for Black people “idiots” and “crazy”.

          Witness 51 alleged that during the 2012 Fall General Psychology course, when students
  provided their opinions on class discussion, the Respondent told them that their response, idea or
  opinion was “so stupid or silly” or “that they have nothing to base the views on”. Also, when
  Witness 51 needed to take the final exam early to return home due to illness, the Respondent
  allegedly told her she was a “baby” and “physical illness is in your brain”. He then required her
  to take the exam sitting in the front of an upper level Psychology class with approximately 100
  juniors and seniors, and referenced that she “was a baby and wanted to go home early”. Witness
  43 alleged that during the 2014 General Psychology course, the Respondent had an exchange
  with a student that led to the student walking out of class. When the student left, he called the
  student a “jackass”.

          Witness 88, who submitted IL #800 and JKRT report #00047725 and participated in an
  OIE interview, alleged that during the Fall 2016 Sexual Behavior course and 2017 Spring Cross
  Cultural Psychology course, the Respondent “called students ‘idiots’” (including that they were
  “idiots” for having their beliefs) and said that he knew he was doing his “job when people
  leave”. Witness 85 alleged that during the 2016 Fall General Psychology course, the Respondent
  belittled students using the terms “stupid” or “idiotic”. Witness 87 alleged that during the 2017
  Spring Cross Cultural Psychology course, the class, which was approximately nine months after
  the Pulse shooting in Orlando, were discussing the LGBTQ movement. During the class, a
  Muslim female student stood up and discussed support for the LGBTQ community because
  Muslims knew what it felt like to be hated and for people to be hard on you. The Respondent
  allegedly replied that what she said was “dumb”, he is a gay man, “we don’t need anyone’s
  help,” and “who wants hugs from Muslims”. Witness 111 alleged that during the 2017 Fall
  General Psychology course, when students challenged him, he responded that this was an
  example of people being “idiots” or “stupid”. Witness 140 alleged that during the 2018 Cross
  Cultural Psychology course, the Respondent called students “stupid” or “ridiculous” when they
  disagreed with him. Witness 174 stated that during the 2018 Spring Sexual Behavior course, the
  Respondent “bragged” about previously arguing with a female Muslim student leading to her
  leaving the class, and then referred to her as a “dummy”.

          Similarly, Witness 63 alleged that during the 2019 Spring Cross Cultural Psychology
  course, the Respondent told students who shared their ideas that their ideas were “stupid”.
  Witness 63 further alleged that Respondent said, “Put your hand down if you are offended,
  because we are not going to waste class time on you. I am right and you are wrong”. Witness 73


                                                 164
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 404 of 566 PageID 474




  stated that during this same course when people did not agree with his perspective, particularly
  with regard to religion, the Respondent said that their ideas were “stupid”. Witness 52 alleged
  that during that same course, the Respondent showed letters or emails from previous students
  wherein they had complained about his conduct. He then refuted their allegations, and said that
  the students were “morons”, “idiots” and “ignorant”. Witness 117 corroborated that the
  Respondent showed previous students’ emails, and said it was “ridiculous” that the students were
  defending a non-existent God. Witness 115 alleged that during the 2019 Spring General
  Psychology course when students didn’t respond to him, the Respondent mumbled into his
  microphone, “Oh, these are just a bunch of fucking morons”. Witness 131 alleged (via email)
  that during the 2019 Fall Sexual Behavior course, the Respondent called students an “idiot” if
  they disagreed with his opinions.

          In contrast, an anonymous reporter, who alleged having been a student in the
  Respondent’s 2008 Spring General Psychology course, stated that the Respondent did not mock
  students or call them names. Witness 4, who was a student in the Respondent’s 2011 Cross
  Cultural Psychology course, stated that he did not recall the Respondent using any derogatory
  terms at all in class, just the terms “silly” or “ridiculous.” Witness 175, who was enrolled in the
  2018 Spring Sexual Behavior course, stated that the Respondent did not engage in calling
  students derogatory names. Witness 6, who was enrolled in the 2018 Fall Cross Cultural
  Psychology course, stated that the Respondent “didn’t call students stupid and he never implied
  this.” Witness 104 stated that during the 2019 Summer Cross Cultural Psychology course, the
  Respondent did not call his students derogatory names, like moron or idiot, but he did use those
  terms to discuss some of the people that he taught about, like religious figures. Similarly,
  Witness 125 stated that during the 2019 Summer Cross Cultural Psychology and 2020 Spring
  Sexual Behavior courses, the Respondent did not call students any derogatory names or mock
  them. Witness 110, who was enrolled in the 2019 Summer Cross Cultural Psychology, stated that
  the Respondent did not use these terms directed at a specific person. Rather, he said, “You have
  to be a moron to believe …” Witness 116 corroborated that during that same course, the
  Respondent did not call students names, like moron or idiot or anything like that.

          When asked whether he called students derogatory names as alleged, the Respondent
  replied, “No, I would never do that…. I never called students ‘stupid’ or ‘idiot’.” He also denied
  that he said “these are just a bunch of fucking morons” as alleged by Witness 115. With regard
  to the incident described by Witness 37 about calling a Black female an “absolute idiot” when
  she described an experience of discrimination, the Respondent said, “I never did this.” The
  Respondent also denied that he ever called a student “stupid”, “idiot” or something similar when
  they challenged his lectures, and denied telling a teaching assistant, “You’re too stupid to answer
  questions so don’t email the students back.” When asked if he referred to students who
  advocated for a safe space for Black people as “idiots” and “crazy”, the Respondent replied, “No,
  I explained to them how it reflected that they are not into diversity. I did not use those terms
  (idiots or crazy).” With regard to the incident described by Witness 51, the Respondent stated,
  “No, I deny all of that with the exception that I have had students take an exam in a different
  class because of some legitimate reason. I’m pretty rigid about not letting people stray from my
  set exam times. I would’ve made a decision that I rarely make for people.” When asked about the
  incident described by Witness 87 pertaining to the LGBTQ discussion with a female Muslim
  student, the Respondent stated, “This is completely false. To stand in front of an audience and


                                                 165
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 405 of 566 PageID 475




  say what was just reported is so outrageous, especially after the Pulse massacre; surely someone
  would have gone and complained about that if I had done that.”

           With regard to the allegation that he said he knew he was doing his job when people
  leave the class, the Respondent stated, “[I]n these large classes, students come and go for all
  types of reasons, and I’ve already told them on day one that I don’t take attendance, and to
  minimize noise if they have to come in late or leave early. I’m in my own world lecturing and
  not paying attention to what’s on their face if they leave. I can’t imagine I ever said that.” With
  regard to the allegation that he referred to a student as a “jackass” after they walked out of his
  class, the Respondent stated, “This never happened. Respectfully, if I were to tell any student or
  the whole class that they were ‘stupid’ or ‘idiots’ or ‘jackass’, I assure you that students would
  have complained, and there is no evidence that they reported this in the course evaluation
  comments. If I’d said this, others would have complained. I’ve said less things that made
  students go to the chair. If I’d said these more egregious things, I assure you I would have heard
  about it then.”

          Turning to the audio recordings, the Respondent was never heard calling a student or
  referring to a student’s idea as stupid, idiot, baby, morons, idiots, or jackass. As to the term
  “weird”, the only statement heard in the recordings related to the Respondent’s September 4,
  2018 General Psychology class wherein he asked students if they had to give up all their senses
  except one, which one would it be. After students provided some different responses, he replied,
  “You guys are really weird, at least the ones that participated so far.” Taking the record as a
  whole into consideration, including the lack of evidence on the audio recordings, the mixed
  information from student witnesses, the students’ lack of motivation to lie, and the Respondent’s
  motive to lie and inconsistent information during this investigation (see Consistency section),
  OIE finds this to be a close question as to whether there is a preponderance of evidence that the
  Respondent directed derogatory names (such as stupid, moron, idiot or jackass) at students or
  their ideas. Accordingly, OIE finds that the current record is insufficient to support finding that
  the Respondent engaged in this conduct. Notwithstanding, OIE finds that there is sufficient
  evidence to support finding that when Witness 51 needed to take the final exam early to return
  home due to illness, the Respondent told her she was a “baby”, told her that “physical illness is
  in your brain”, required her to take the exam sitting in the front of an upper level Psychology
  class with approximately 100 juniors and seniors, and then referenced that she “was a baby and
  wanted to go home early”. Similarly, OIE finds that there is sufficient evidence to support
  finding that during one of the 2017 Spring Cross Cultural Psychology classes, which was
  approximately nine months after the Pulse shooting in Orlando, the class discussed the LGBTQ
  movement and a Muslim female student discussed support for the LGBTQ community because
  Muslims knew what it felt like to be hated and for people to be hard on you. The Respondent
  then replied that what she said was “dumb”, he is a gay man, “we don’t need anyone’s help,” and
  “who wants hugs from Muslims”.




                                                  166
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 406 of 566 PageID 476




     79. Whether during the 2013 Fall semester when a General Psychology student visited
         him during office hours to discuss an exam, the Respondent “made fun” of her
         answers on the test and told her, “If you can’t even pass this class, you’re not going
         to be smart enough to graduate at UCF, and will eventually fail at life”.

            Witness 70 alleged that she had been a student in the Respondent’s 2013 Fall General
  Psychology course and had visited him during office hours to discuss an exam. At this meeting,
  the Respondent “made fun” of her answers on the test and said, “If you can’t even pass this class,
  you’re not going to be smart enough to graduate at UCF, and will eventually fail at life.” See
  Student Google Form Report. In response to these allegations, the Respondent stated, “I never
  said this. By the way, just for the record, I, for personal reasons, leave my office door wide open,
  and when students close my door, I tell them, ‘no, leave the door open.’” Witness 70 did not
  respond to multiple outreaches from OIE to discuss her allegations. Without any further
  information or witness corroboration, OIE finds that there is insufficient evidence that during the
  2013 Fall semester when a General Psychology student visited him during office hours to discuss
  an exam, the Respondent “made fun” of her answers on the test and told her, “If you can’t even
  pass this class, you’re not going to be smart enough to graduate at UCF, and will eventually fail
  at life”.

     80. Whether, during a Spring 2019 Sexual Behavior class, a female student raised her
         hand while the Respondent was discussing rape allegations at universities, and the
         Respondent yelled at the student, “Can you let me finish? No? You can’t let me
         finish?”; and, when the student lowered her hand, the Respondent said, “Oh did I
         hurt your feelings?” and repeatedly referred to the student’s “hurt feelings” later in
         the class.

          Witness 66, who submitted IL #789 and participated in an OIE interview, alleged that
  during the 2019 Spring Sexual Behavior course – specifically, on February 19, 2019, the class
  was having a discussion regarding sexual assault and Title IX. While the Respondent was
  presenting his lecture, a female student raised her hand. She did not say anything or “make a
  face” when she raised her hand. The Respondent allegedly “screamed” at the student to let him
  finish his sentence. The student’s mouth opened but she did not say anything. He then mocked
  her and said, “Oh, did I hurt your feelings?” The student responded, “I raised my hand. This is a
  class and I’m allowed to raise my hand”. The Respondent then told her to “chill out” and
  referred to her “hurt feelings” later in the class.

         In response to these allegations, the Respondent stated, “I don't know that student’s
  name, but I know who she is. She came to my office and unloaded on me and told me she had
  been sexually abused and she had refused to give me her name. I spoke with a male person in
  your office [OIE] and asked what I needed to do, and no one ever got back to me. As to what
  happened in class, she raised her hand, and I only said, ‘Can you relax/chill out and let me finish
  my sentence first?’” First, OIE notes that this report was received on February 27, 2019, and was
  reviewed by the Title IX Coordinator, who made outreach to and spoke with the Respondent.
  Second, although denied by the Respondent, OIE found the detailed nature of Witness 66’s
  testimony persuasive (particularly when considering her lack of motive to lie, the Respondent’s
  motive to lie, and the Respondent’s other inconsistencies in testimony noted herein), and, thus,


                                                  167
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 407 of 566 PageID 477




  finds that there is sufficient evidence to support finding that on February 19, 2019, the
  Respondent’s Sexual Behavior class had a discussion regarding sexual assault and Title IX.
  While the Respondent was presenting his lecture, Witness 66 raised her hand. The Respondent
  screamed at the student to let him finish his sentence, and then mocked her and said, “Oh, did I
  hurt your feelings?” Witness 66 responded, “I raised my hand. This is a class and I’m allowed to
  raise my hand”. The Respondent then told her to “chill out” and referred to her “hurt feelings”
  later in the class.

     81. Whether, during class, the Respondent mocked a student when she provided an
         example of a religiously charged terrorist attack that was not committed by
         Muslims – namely, in a higher pitched voice said, “Oh look, she was able to answer,
         awe, wow, good for her.”

          The anonymous reporter in IL #832, who alleged they were a student in the Respondent’s
  2019 Spring Cross Cultural Psychology course, alleged that the Respondent stated that “all
  Muslims are terrorists, he backed this claim by saying fundamentalists are all terrorist which is
  not true. Fundamentalism in religion is following religious text as it is written. There is
  fundamentalism is every religion that has a scripture. When I tried to mention this fact [the
  Respondent] told me that I condone terrorism and that I should be ashamed. He then asked me to
  name one religiously charged terrorist attack that wasn’t done by Muslims, so I answered. Being
  Jewish, it is not difficult to think of multiple terror attacks. He then mocked me for answering the
  question he proposed. He made his voice higher pitched and mockingly said ‘Ohhh look she was
  able to answer awwww wooow good for her’.” Witness 150, who was a student in the
  Respondent’s 2019 Fall Cross Cultural Psychology course, alleged that after watching a video
  regarding the Muslim religion and fundamentalism, she stated that there was fundamentalism in
  most religions, and the text allowed for interpretations and different translations. The Respondent
  then allegedly replied, “Oh, so what I’m hearing is that you support terrorism” and asked me to
  name one non-Muslim terrorist attack. Witness 150, who identified as Jewish, responded with
  identifying the New Zealand attack on the synagogue. She alleged that the Respondent then
  mocked her saying, “Oh look, she had an answer, oh wow…”

          In response to these allegations, the Respondent stated, “So, the first half of what you
  said (statement of ‘oh, so what I’m hearing is that you support terrorism’), that is not accurate. I
  deny it. Rather, a student was claiming that White nationalists or White supremacists have
  attacked people more than Muslims in the U.S., and I replied that is not accurate and asked for an
  example. The student mentioned an example, I think it was Dylan, the guy who walked into a
  Black church and started gunning down people, and I said that’s one example, but what is
  another example of a person doing this. I shared that the guy in Las Vegas, there was no
  indication that there was motivation based on race so that’s not an example. That student
  couldn’t give me another example of White nationalists/supremacists’ attacks. That was the end
  of the discussion. I did not mock with ‘oh look, s/he had an answer, oh wow ...’ I assumed that
  the student got mad at me. They were claiming that more White people, in the name of being
  White, killed more people than Muslims. I can only speculate that this student felt humiliated,
  but I am not there to allow inaccurate things to be said. The last part is very personalized, and I
  don’t characterize my correcting people’s inaccurate statements as mocking them, but they may
  characterize it that way.”


                                                  168
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 408 of 566 PageID 478




          Although the specificity of the student’s description of the incident lends credibility to
  the allegation, the Respondent’s specific recollection of the interaction also has credibility.
  Taking the record as a whole into consideration, including that none of the other 21 students
  spoken to from this course corroborated either version of this incident, OIE finds that there is
  insufficient evidence to support finding that during this class discussion, the Respondent mocked
  the student by saying, “Oh look, she had an answer, oh wow…”

  Repeated Use of Profanity:
     82. Whether the Respondent repeatedly used profanity throughout his lectures.

          Witness 158, the Director of the Psychology Advising Center, alleged that some students
  said that the Respondent used foul language and the “F” word “too much” in class leading them
  to withdraw from the course. Witness 88, who was a student in the Respondent’s 2016 Spring
  Sexual Behavior and 2017 Cross Cultural Psychology courses, alleged that the Respondent used
  profanity “all the time in class”, including having used the terms “fucking homosexual” and
  “fucking lesbian”. Witness 111 alleged that during the 2017 General Psychology course, the
  Respondent said “fuck a lot” and recalled that he referred to Peru as a “shithole”. Witness 144
  alleged that during the 2017 Fall Cross Cultural Psychology course, the Respondent used the “F”
  word “every now and then”. Witness 151, one of the Respondent’s GTAs for 2018 Spring Cross
  Cultural Psychology, stated that the Respondent “frequently used profanity. It occurred regularly
  in our conversations in his office and in our conversations in the classroom in front of students –
  it was frequent. One of his favorite words was ‘bullshit,’ which he used very frequently, and also
  ‘bitch’ and ‘fuck’ which he used more occasionally.” Witness 151 also recalled the Respondent
  referring to a female faculty member as a “bitch”. Witness 121 and Witness 95 alleged that
  during the 2018 Fall General Psychology course, the Respondent used profanity but not the “F”
  word. However, with regard to this same course, Witness 107 alleged that the Respondent used
  profanity in the classroom every time the class met, including words like “fuck”, “shit,” and
  “asshole”. Witness 48 who also was enrolled in this same course, the Respondent used profanity
  in class including “shit”, “fuck”, “that’s a bitch” and “stop bitching around”. Witness 140 alleged
  that during the 2018 Fall Cross Cultural Psychology course, the Respondent used the term
  “fucking homosexual”. For the same course, Witness 92 recalled that the Respondent referred to
  Peru as a “shithole”. Witness 78 recalled that during the 2018 Fall Sexual Behavior course, the
  Respondent used the word “fuck”. Witness 81 recalled that during the 2018 Spring semester
  when the Respondent spoke about a Voodoo priest in West Africa, he said that everything the
  priest said was “bullshit” and that he couldn’t believe people actually believe in this.

          Similarly, Witness 115 alleged that during the 2019 Spring General Psychology course,
  the Respondent said “fuck this”, “fuck that” or this “fucking institution” at least twice during
  every class. He also allegedly referenced the Colbourn Hall issue and said, “You should be
  fucking angry at the fucking morons you have leading your university. Speak up! Don’t just sit
  there like fucking morons yourselves without questioning what they are doing.” Witness 41
  recalled that during the 2019 Fall Cross Cultural Psychology course, the Respondent referred to
  the U.S. Supreme Court case involving a bakery that refused to make a wedding cake for a gay
  couple and stated that the bakers were “assholes” and “shitheads”. Witness 2, who was enrolled
  in the 2019 Fall Sexual Behavior course, stated that the Respondent used profanity in class,


                                                 169
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 409 of 566 PageID 479




  which she described as simple cuss words like “F-bombs and stuff like that.” Witness 47 recalled
  that during the 2020 Spring Cross Cultural Psychology course, the Respondent referred to Peru
  as a “shithole”.

          In contrast, Witness 4, who was a student in the 2011 Cross Cultural Psychology course,
  stated that he did not hear the Respondent use profanity. Witness 1, who was a student in the
  Respondent’s 2019 Spring Cross Cultural Psychology course, stated that the Respondent may
  have used some profanity in the classroom but could not recall specific examples. Witness 104,
  who was a student in the Respondent’s 2019 Summer Cross Cultural Psychology course, stated,
  “The only profanity I recall him using was the ‘B-word,’ but it was done in a joking manner
  during a story to make a point, and all the students thought it was funny.” Similarly, Witness
  110, who was in the same course, stated that the Respondent used some profanity during his
  lectures but “it was not overt or excessive. He used profanity to emphasize his point.” Witness 5,
  who also was in the 2019 Summer course, stated that she did not specifically remember the
  Respondent using profanity during lectures. There “might have been a time or two that he
  cursed by accident. We’re in class three hours a day and then taking tours … so it was a more
  personal, friendly environment, more casual.” Witness 3 had a similar experience in the 2018
  Fall Sexual Behavior course.

           During his OIE interview, when asked to respond to the above allegations, including that
  he repeatedly used profanity in class, the Respondent stated, “I’ve never said the first 90% of
  what is alleged, but on occasion I have said the F word. It’s rare, but it does come out every now
  again.” With regard to the Colbourn Hall allegations, the Respondent stated, “I didn’t even
  address the Colbourn Hall issue. I’m not that passionate about what UCF does with its money. I
  deny all of that.” When asked to describe how often he used profanities in the classroom, the
  Respondent stated, “Once in a while. Remember, I’ve been teaching 22 years, over 30,000
  students, and I’ve said a lot. I’ve said those things my entire career, but it’s sporadic and not
  aimed at any student.” When asked what he meant by “sporadic”, the Respondent replied,
  “Maybe once a week, but I don’t keep track.” As to the phrases “that’s a bitch” and “stop
  bitching around”, the Respondent stated, “I don’t say that directed at students, but I’ve said
  sometimes ‘son of a bitch’, and I have on occasion said when people bitch about something, I’ve
  used that phrase.” The Respondent denied that he referred to Peru as a “shithole”, and denied that
  he referred to the bakers as “assholes” and “shitheads”. The Respondent did not recall making
  the statement related to voo doo, but indicated that he would not deny it. OIE notes that the
  Respondent used the phrase “son of a bitch” during his OIE interview when asked to respond to
  the allegation he said, “I am a fucking tenured professor, and nobody can fucking touch me. I
  dare them to even try." In response, the Respondent stated, “What a cocky son of a bitch I would
  be if I said that. I deny this allegation.”

          Turning to the audio recordings available for OIE’s review, during the 2019 Summer
  course, the Respondent told students that he would be talking about multiple groups and that
  “there is good and bad in every group and I treat them all like shit”. Later, when discussing
  practices in Saudi Arabia, he asked, “How on earth can people in the U.S. proclaim that all
  cultures are equally good?” He then responded, “The answer is, they are just fucking crazy”. On
  another day, the Respondent told students that some Muslims will pressure a family member
  who has been sexually assaulted to commit suicide and asked, “Is this fucking for real? This is


                                                 170
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 410 of 566 PageID 480




  just barbaric as shit”. On another day, the Respondent discussed the amenities available at
  American Universities, including fancy apartments, restaurants, stores for shopping and “shit like
  that.” He added, “American students bitch about how much they have to pay in tuition.” Later
  in the discussion, the Respondent stated that those who were not tenured were “kissing your ass”
  by” letting students retake tests, access Power Point slides, and other things. When discussing
  the motivation to believe in religion, the Respondent stated that “life is a bitch and then you die”
  was his motto in life. In another lecture, when discussing the story of Noah’s ark, he referred to
  the individuals on the boat “shoveling shit 24/7”. In another recording, the Respondent discussed
  whether systemic racism existed in the U.S. and noted that if he was at a party, he “wouldn’t be
  saying this shit because it’s upsetting.” In a separate discussion regarding systemic racism, a
  student mentioned Casey Anthony, and the Respondent replied, “I hate that bitch but go ahead.”
  On another day, the Respondent discussed the U.S. Supreme Court case related to bakers that
  refused to make a wedding cake for a gay couple. The Respondent told students that if he had
  encountered such a baker, he would have told the baker, “Sir, you are not invited to the fucking
  wedding or to be a part of the party. You aren’t celebrating shit. Do your job and make the
  cake.” Lastly, when talking about how stereotypes can be negative, positive or neutral, the
  Respondent provided the example of Italians liking pasta and stated, “Because many of you are
  not independent thinkers, you buy into all this bullshit of political correctness.” During the
  Indentured Slaves recording, the Respondent discussed Whites and how there are sub-groups that
  think they are better than other groups of Whites (i.e. California Whites, Southern Whites, etc.)
  and stated, “We humans are a fucked up group. We have a pathological need to see ourselves as
  superior to someone.”

          OIE would note that its review of the audio recordings did not reveal lectures inundated
  with Respondent’s profanity nor would the use of profanity be characterized as infrequent or
  rare. That said, taking the record as a whole into consideration, OIE finds that there is sufficient
  evidence to support finding that the Respondent repeatedly used profanity throughout his course
  lectures, including the words “fuck”, “bitch” and “shit.”

  Misinformation Regarding HPV Vaccine
     83. Whether the Respondent told students to not get the vaccination for HPV.

          Witness 111 alleged that during the 2017 General Psychology course, the Respondent
  told students that they should not get the HPV vaccine and that the vaccine was just a way of
  discouraging sexual activity. In response to this allegation, the Respondent stated, “I recall
  discussing this vaccine. I talked about this during a discussion on STIs at the end of general
  psych and during the sexual behavior course. I told students the pros and cons of getting the
  vaccine. I told the students that the virus infects almost everyone who has ever had sex, it’s
  considered the common cold of STIs, and it won’t cause any problems for 90% of those infected.
  The facts come from the CDC website, and I said that if they are that concerned about getting
  cervical cancer, which is very rare, to get the vaccine but otherwise I don’t think it’s necessary.”

         Witness 120, who submitted IL #790 and participated in an OIE interview, alleged that
  during Spring 2019 Sexual Behavior course, the Respondent encouraged the students “to not get
  a vaccination for HPV (if we hadn’t already) because ‘HPV won’t kill you, you’ll likely never
  have symptoms’”. Witness 120 raised her hand and responded, “Well, you may not know you


                                                  171
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 411 of 566 PageID 481




  have HPV, but it could cause cervical cancer.” He allegedly replied, “Yeah, but you’ll die of old
  age before you ever die of cervical cancer.” Witness 120 noted that it was a slow killing cancer,
  but if you could prevent cancer, why wouldn’t you? She also noted that cervical cancer can cause
  infertility, and having children is important to a lot of people and this could take their options
  away for having children later. The Respondent then said something to the effect of, “Whatever,
  why would anyone want kids anyway?” When asked to respond to these allegations, the
  Respondent stated, “No, I said that about prostate cancer in men (you’ll die of old age before you
  ever die of prostate cancer). If you get cervical cancer, you need to get that addressed, but it is
  slow as it takes 10-20 years for it to kill someone.” When asked about the alleged comment
  about infertility and children, the Respondent replied, “That is total nonsense. I have kids.”

          Although the detailed nature of the two students’ allegations lends credibility to their
  allegations, the Respondent’s response provides a different context. OIE would note that no
  other students identified these discussions as areas of concern nor provided information that
  corroborated either the students’ or Respondent’s version of these discussions. The audio
  recordings reviewed by OIE did not corroborate either version. Accordingly, taking the record as
  a whole into consideration, OIE finds that there is insufficient evidence to support finding that
  the Respondent told students to not get the vaccination for HPV.

  Alleged Bribe:
      84. Whether while traveling out of Peru, where he had been located for the UCF study
          abroad program, the Respondent paid a health clinic representative $17.00 to issue
          a certificate falsely stating that he had received the yellow fever vaccine.

           Witness 80, who had been enrolled in the Respondent’s 2018 Fall Cross Cultural
  Psychology course, vaguely recalled that the Respondent shared an alleged bribery story related
  to Venezuela and that there was a question on the exam related to this. Also, in the Respondent’s
  White Shaming book, he referenced that during his study abroad trip to Peru, he paid a health
  clinic representative in Peru $17 in exchange for a certificate falsely stating that he had received
  the yellow fever vaccine so that he could travel to El Salvador unencumbered. See White
  Shaming, pp. 78-79. Specifically, therein, the Respondent stated, “I’ll disclose another example
  in which I partook in the corruption permeating much of Latin America. In 2011, after having
  lived in El Salvador, I immediately went to Lima, Peru for a month with a group of university
  students (I was leading a study abroad program there). Peru was having a 3-day weekend due to
  their Independence Day celebration and I wanted to take a quick excursion back to El Salvador
  to visit friends. With my plane ticket in hand, an airlines employee at the Lima Airport told me I
  could not fly to any Central American country without showing proof of vaccination against
  yellow fever. I panicked, as I had no such proof (and I had never even been vaccinated against
  yellow fever). After some back-and-forth with that employee, he told me to visit the Health
  Clinic on the Airport premise. I walked in, and being familiar with how things operate in Latin
  America, I audaciously (but with a facade of humility and respect) asked the attending nurse if I
  could pay her 60 soles (the equivalence of $17 U.S. at that time) to provide me with a certificate
  indicating I had received not one, but two doses of the yellow fever vaccine (the vaccine required
  two doses spaced 10 days apart). She said she had to consult with someone about that, and
  returned within minutes with a certificate in hand, willing to pre-date the recording of a vaccine
  I had never received. All for just $17 (to show what a farce all of this was, when I arrived in


                                                  172
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 412 of 566 PageID 482




  San Salvador, El Salvador, I pulled out my vaccination certificate to present to the Immigration
  officer only to be told he didn’t care to see it).” Emphasis added.

           When asked to respond to allegations that he had bribed a health clinic representative to
  travel, the Respondent replied, “That’s a total fabrication and I deny this allegation. In my White
  Shaming book, I discussed the corruption endemic to Latin America. In that anecdote, I shared
  how an airport employee in Peru erroneously informed me, just before I was set to board a plane
  for El Salvador, that I could not travel to any Central American country without proof of a
  yellow fever vaccination. I further shared how I offered a nurse at the airport health clinic the
  equivalent of $17.00 to provide me with a vaccination certificate. I actually had received a
  vaccination shot and never bribed anyone. As further proof of the corruption, I related the fact
  that it appeared that I fell prey to a scam because I was never even required to present the
  certificate to enter El Salvador.”

          In addition to reviewing the Respondent’s White Shaming book, OIE reviewed the audio
  recordings related to his 2019 Summer course (see Recordings – 2019 Summer – 9). During one
  of his classes, the Respondent told the students how when he was teaching his first study abroad
  program in Peru, there was a four day weekend and he didn’t want to stay in Peru. He wanted to
  go back to El Salvador to see his husband so he bought an airline ticket to El Salvador. When he
  arrived at the airport, the “Copa airline person asked for a certificate for vaccination for yellow
  fever” and said that the Central America countries would not allow anyone to fly from South
  America countries without a vaccination certificate because of yellow fever problem in certain
  parts of South America. The Respondent then told the students, “I told him I don’t have that. He
  said well you can’t fly. I asked where can I go quickly in Lima to get that vaccination” as his
  flight was scheduled to leave in two hours. The airline person “said you can’t do that because it’s
  given to you on two separate days – two dosages 10 days apart. I said who can I talk to about
  this. The man replied, ‘I’m the person you need to talk to.’ We argued about whether I needed
  the vaccine. The man said at the end of the Lima airport is a health clinic, go talk to them,
  maybe they can help you. I went to the health clinic, advised that I am about to fly to El Salvador
  and being told that I need a yellow fever vaccination certificate. If I were to give you $17, can
  you give me that certificate? She agreed to give me the vaccination certificate for $17.00, and
  she dated [it] so that I had gotten one dosage 10 days before and the second dose today.
  Then immigration at El Salvador said he didn’t care about seeing the vaccination certificate.”

          During this same recording, the Respondent shared a story about when he was teaching at
  a different university and planned to drive into Mexico, four hours south of Texas. He explained
  that he didn’t know that he needed permission to take his vehicle into Mexico at the time. Once
  they stopped him and asked for his proof of permission, which he did not have, he asked if he
  could “pay a fine here” and admitted that this was a bribe. Rather than saying it’s a bribe (which
  is offensive to the person), he offered to “pay the fine here.” He provided $10 and they let him
  continue on “without that piece of paper.”

         The documentary evidence and audio recordings clearly demonstrate that, while in Peru
  for a UCF study abroad program in 2011, the Respondent paid an individual at a health clinic
  located in the airport in Peru to provide him with a certificate falsely indicating that he had been



                                                   173
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 413 of 566 PageID 483




  vaccinated against yellow fever in exchange for $17.00 so that he could board a plane for a
  personal trip to El Salvador.

  VIII.   FIRST AMENDMENT & ACADEMIC FREEDOM

       A. Respondent’s Twitter Posts & First Amendment

          The First Amendment protects a public employee’s right to speak as a citizen addressing
  matters of public concern as “a citizen who works for the government is nonetheless a citizen.” 25
  The courts have noted that it is their “responsibility” to “ensure that citizens are not deprived of
  fundamental rights by virtue of working for the government.” 26 Courts also have noted that the
  First Amendment reflects our “profound national commitment to the principle that debate on
  public issues should be uninhibited, robust, and wide-open.” 27 “Speech involves a matter of public
  concern when it can fairly be considered to relate to ‘any matter of political, social, or other
  concern to the community.’” 28 The “essential question is whether the speech addressed matters of
  public as opposed to personal interest.” 29 If an employee has not spoken as a citizen on a matter
  of public concern, then there is no First Amendment protection for the speech. 30

          In the present matter, although many of the reports received in this matter pertained to
  sharing negative experiences with the Respondent and requesting his termination, the University
  also received reports acknowledging the importance of First Amendment protections. For
  instance, the anonymous reporter in IL #831 stated, “As a UCF graduate and former employee, I
  want to express my concern and urge that UCF unconditionally support faculty/staff/students in
  their personal lives to be afforded protection under the First Amendment of the U.S. Constitution.
  UCF stands for diversity, this doesn’t mean just skin color, it includes different opinions and
  perspective.” Similarly, the anonymous report in IL #839 alleged that they were a former student
  of the Respondent’s Cross Cultural Psychology course, they believed that the class taught them
  “to learn how to defend what I believe while also being willing to listen to another view point”,
  and, “I do not believe [the Respondent’s] voice should be removed [from] the classroom. [The
  Respondent] isn’t a racist.”

          Witnesses alleged that the Respondent’s Twitter posts were integrated into the course
  curriculum and, accordingly, do not merit First Amendment protection. As set forth above, there
  is insufficient evidence in the current record to support finding that the Respondent required
  students to follow and/or review his Twitter account posts as part of his course curriculums.
  Although he advised students of the existence of his Twitter account, his messages were clear that
  reviewing them was optional. Equally important, no exam questions or classroom assignments
  required students to review the Twitter posts. In other words, the Twitter posts themselves were
  not integrated into the classroom curriculum.

  25
     Garcetti v. Ceballos, 547 U.S. 410, 419 (2006)
  26
     Connick v. Myers, 461 U.S. 138, 147 (1983).
  27
     New York Times Co. v. Sullivan, 376 U.S. 254, 270 (1964).
  28
     Johnson v. Multnomah County, 48 F.3d 420, 422 (9th Cir. 1995) (quoting Connick v. Myers, 461, U.S. 138, 146
  (1983) (whether an employee’s speech addresses a matter of public concern must be determined by the content,
  form and context of a given statement).
  29
     Desrochers v. City of San Bernardino, 572 F.3d 703, 709 (9th Cir. 2009)
  30
     Pickering v. Board of Educ., 391 U.S. 563, 568 (1968).

                                                        174
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 414 of 566 PageID 484




          That said, the question remains whether the content in the Respondent’s Twitter posts are
  subject to review for the hostile environment harassment analysis below or remain protected by
  the First Amendment. This question turns on whether the Twitter posts, however controversial or
  repugnant, addressed a matter of public concern as described in First Amendment jurisprudence.
  OIE’s review of the Respondent’s Twitter posts supports the conclusion that they involve matters
  of public concern and, accordingly, are protected by the First Amendment. It is important to note
  that this question does not turn on whether the Respondent’s posts are offensive as the First
  Amendment protects speech that may be offensive and distasteful to listeners. In other words, the
  “inappropriate or controversial character of a statement is irrelevant to the question of whether it
  deals with a matter of public concern.” 31 OIE would further note that this analysis also does not
  take into consideration the Respondent’s tenure status as that is irrelevant to whether the Twitter
  posts are protected by the First Amendment. This analysis would be applied to any UCF employee
  in this situation, tenured or not. The sole question is whether the posts involve matters of public
  concern. A review of the Twitter posts demonstrates that the Respondent commented on a variety
  of social and political issues, including but not limited to issues related to racial tensions in the
  U.S., sexual harassment in the workplace cases that were receiving national attention, gender
  issues, religious issues, immigration policies, education trends, effectiveness of affirmative action
  programs, and, effectiveness of diversity initiatives. The posts did not focus on a personnel issue
  related to the Respondent’s employment with UCF or a matter of personal interest. Also, the
  manner in which the messages were distributed reinforces the conclusion that the posts addressed
  matters of public concern as they were not distributed to a limited audience, but rather were part
  of a public social media platform unaffiliated with UCF. Accordingly, OIE finds that the
  Respondent’s Twitter posts are subject to First Amendment protection.

           B. Classroom Conduct & Academic Freedom

          In matters involving in-class comments by professors, any analysis of statements that are
  alleged to constitute harassment must consider whether the speech was protected under the
  doctrine of academic freedom. “Academic freedom, though not a specifically enumerated
  constitutional right, long has been viewed as a special concern of the First Amendment.” 32 It
  consists of “the right of an individual faculty member to teach ... without interference from ... the
  university administration, or his fellow faculty members.” 33 That said, it is important to take into
  “account the unique context in which a college professor speaks such that his students are a
  ‘captive audience’ who may find themselves intimidated by the person who has the ability to pass




  31
     Rankin v. McPherson, 483 U.S. 378, 387 (1987).
  32
     University of California Regents v. Bakke, 438 U.S. 265 (1978). See also Sweezy v. New Hampshire, 354 U.S.
  234, 250 (1957) (“The essentiality of freedom in the community of American universities is almost self-evident. …
  To impose any strait jacket upon the intellectual leaders in our colleges and universities would imperil the future of
  our Nation. … Scholarship cannot flourish in an atmosphere of suspicion and distrust. Teachers and students must
  always remain free to inquire, to study and to evaluate, to gain new maturity and understanding; otherwise our
  civilization will stagnate and die.”)
  33
     Dow Chemical Co. v. Allen, 672 F.2d 1262, 1275 (7th Cir. 1982) (citations omitted).

                                                           175
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 415 of 566 PageID 485




  upon them a poor grade.” 34 The “principle of academic freedom under the First Amendment serves
  to protect the utterances in question only if they are germane to course content.” 35

          As part of this investigation, the Respondent shared the UCF Faculty Resolution 2017-
  2018-6 Endorsement of University of Chicago Statement on Freedom of Expression, which was
  approved by the Faculty Senate on January 25, 2018 and approved by the UCF Provost on February
  26, 2018. Specifically, the Respondent highlighted the following language therein: Of course, the
  ideas of different members of the University of Central Florida community will often and quite
  naturally conflict. But it is not the proper role of the University to attempt to shield individuals
  from ideas and opinions they find unwelcome, disagreeable, or even deeply offensive. … The
  University of Central Florida’s fundamental commitment is to the principle that debate or
  deliberation may not be suppressed because the ideas put forth are thought by some or even by
  most members of the University community to be offensive, unwise, immoral, or wrong-headed.
  See Respondent’s Letter to OIE 8-4-20. OIE would note that this resolution also contains the
  following language: Although the University greatly values civility, and although all members of
  the University community share in the responsibility for maintaining a climate of mutual respect,
  concerns about civility and mutual respect can never be used as a justification for closing off
  discussion of ideas, however offensive or disagreeable those ideas may be to some members of
  our community. The freedom to debate and discuss the merits of competing ideas does not, of
  course, mean that individuals may say whatever they wish, wherever they wish. The University of
  Central Florida may restrict expression that violates the law, that falsely defames a specific
  individual, that constitutes a genuine threat or harassment, that unjustifiably invades substantial
  privacy or confidentiality interests, or that is otherwise directly incompatible with the functioning
  of the University.

           During the investigation, OIE received feedback from students similar to what the
  anonymous reporter in IL #828 alleged, which was that the Respondent’s “class wasn’t about
  cross-cultural psychology, superficially it was about him getting off on trashing people, gaslighting
  them about their personal experiences with discrimination and ridiculing their beliefs, but beneath
  that it was about trying to convince, even brainwash us, into believing that racism wasn’t real
  anymore in the U.S.” During his OIE interviews, the Respondent acknowledged that he made
  some of the statements that were attributed to him by witnesses, but explained that these statements
  were relevant to the course content, arose from his efforts to make the subject matter relevant and
  engaging for the students, and constituted protected speech. Thus, before analyzing whether the
  statements established above created a hostile learning environment, OIE must first determine
  which statements were protected expressions of academic freedom and which statements fell
  outside of this protection. To make this determination, OIE must analyze which of the




  34
     Bonnell v. Lorenzo, 241 F.3d 800, 819 (6th Cir. 2001) (quoting Martin v. Parrish, 805 F.2d 583, 585-585 (5th Cir.
  1995)).
  35
     Bonnell v. Lorenzo, 241 F.3d 800, 804 (6th Cir. 2001). (Emphasis added.) In addition to the First Amendment,
  academic freedom is grounded in contract law and the custom of the academy. See, e.g., Greene v. Howard Univ.,
  412 F.2d 1128 (D.C. Cir. 1969) (faculty handbooks and contracts); Browzin v. Catholic Univ. of America, 527 F.2d
  843, 848 n8 (D.C. Cir. 1970) (interpreting academic contracts in light of “widely shared norms in the academic
  community,” such as jointly issued statements by AAUP and higher education organizations on academic freedom).

                                                          176
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 416 of 566 PageID 486




  substantiated or undisputed statements were germane to the content of the Respondent’s courses. 36
  As part of this analysis, OIE examines the age and sophistication of the students, the relationship
  between the teaching method used and a valid educational objective, and the context and manner
  of the presentation. 37

          Guided by this framework, OIE first reviewed the learning objectives set forth in each
  course’s syllabi as well as the Respondent’s descriptions of each learning objectives. Specifically,
  as to the Sexual Behavior course, the Respondent stated, “The goal of the course is to learn more
  about the social aspects of sex from a scientific perspective, with minimal coverage of biology. I
  talk about the social context of relationships, adolescent and adult sexuality, paraphilias and other
  proclivities that fall outside mainstream, and STIs.” As to the learning objectives of the General
  Psychology course, the Respondent stated, “My hands are somewhat tied because I need to cover
  a certain amount of content that one would normally have in such a course as set forth by the
  college; however, I do use my academic freedom to cover cross-cultural issues and human
  sexuality during the last portion of the semester (about three weeks).” When asked about the
  learning objectives of the Theories of Personality course, the Respondent stated, “The course
  primarily covers the salient theories of personality and the theorists that have shaped the practice.
  I add some empirical research that fits with each theory.”

          Lastly, with regard to the learning objectives of the Cross Cultural Psychology course, the
  Respondent stated, “Many people across the country and at UCF would typically teach this course
  from a point of view that minorities are victims of racism and Whites have perpetrated racism,
  which is a very political point of view. I have travelled to many countries and lived in three
  countries, and being that I am data-driven with my teaching, I do not teach the course that way.
  All cultures have their pros and cons, not necessarily in equal amounts, and all ethnic groups have
  their pros and cons. I tell the students that we’ll take a critical look at these issues and most of the
  content I share is neutral. I reserve a portion at the end of each of the four sections
  (Hispanics/Latinos, Native Americans, African/African Americans and Arabs/Muslims) to cover
  challenges and problems that are relatively unique to that group. I try to tie all that information to
  national surveys or data to the best I can. … At the end of the first section [during which
  Respondent has trained students that “scientifically that evidence matters”], I cover religious
  bigotry and religion. … Then I talk about Hispanics, Native Americans, African Americans,
  Whites, White Europeans, and Arabs/Muslims.” When asked why he selected these groups to


  36
     See, e.g., Hardy v. Jefferson Community College, 260 F.3d 671 (6th Cir. 2001) cert. denied, 535 U.S. 970 (2002)
  (“Reasonable school officials should have known that … speech, when it is germane to the classroom subject matter
  and advances an academic message, is protected by the First Amendment.”); Bonnell v. Lorenzo, 241 F.3d 800 (6th
  Cir.), cert. denied, 534 U.S. 951 (2001) (“While a professor’s rights to academic freedom and freedom of expression
  are paramount in the academic setting, they are not absolute to the point of compromising a student’s right to learn in
  a hostile-free environment” and the professor’s vulgar language was “not germane to the subject matter.”) See also
  American Association of University Professors – Academic Freedom of Students and Professors, and Political
  Discrimination.
  37
     See Silva v. University of N.H., 888 F.Supp. 293 (D.N.H. 1994). For example, in a challenge to an English
  professor’s use of sexual analogies in a creative writing class, a court determined that the language was protected by
  academic freedom. In reaching this decision, the court noted that college students were older and sophisticated enough
  to handle such speech, the metaphors were connected to an educational objective trying to convey principles related
  to the subject matter, and the statements were presented in a class lecture in a professionally appropriate manner.


                                                           177
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 417 of 566 PageID 487




  structure this course, the Respondent stated, “These are the groups that are most visible and
  prevalent in our society.”

           Taking the above into consideration, OIE finds that the following statements from the
  Material Facts Not in Dispute section (Section VI) and Disputed Material Facts section of this
  report (Section VII) are protected expressions of academic freedom because they were germane to
  the subject matter of the courses at issue: 38
           •      Disputed Fact No. 10 (story related to Sambia tribe and oral sex)
           •      Disputed Fact No. 12 (nudity in the classroom comment)
           •      Undisputed Fact No. 18 (latest terms of genitals exercise in Sexual Behavior
  course)
           •      Undisputed Fact No. 19 (G-spot comments)
           •      Undisputed Fact No. 21 (comments related to Sambia tribe)
           •      Undisputed Facts Nos. 22-23 (comments related to Hopi tribe)
           •      Undisputed Fact No. 24 (Girls Scouts comment)
           •      Undisputed Fact No. 25 (argument against social construct theory related to gender)
           •      Disputed Fact No. 25 (question regarding all-female construction crew and all-male
  daycare facility)
           •      Undisputed Fact No. 26 (girls and checkbooks comment)
           •      Disputed Fact No. 29 (asking students to participate on LGBTQ+ panel and
  voluntarily share sexual orientation and gender identity)
           •      Undisputed Fact No. 38 (PRIDE parade participant comments)
           •      Undisputed Fact No. 39 (prevalence of discrimination based on sexual orientation
  comments)
           •      Undisputed Fact No. 40 (showing of Consent (2004) video)
           •      Undisputed Fact No. 41 (sexual assault statistics being highly inflated comments)
           •      Undisputed Fact No. 43 (no evidence of God and religion being a mythology
  comments in Cross Cultural Psychology courses)
           •      Undisputed Fact No. 44 (indoctrination comments)
           •      Undisputed Fact No. 45 (2012 letter to Cross Cultural Psychology students)
           •      Undisputed Fact No. 47 (portion of Jan. 10, 2018 message regarding honor killings)
           •      Disputed Fact No. 48 (statistics regarding Muslims and not being a religion of peace
  comments)
           •      Disputed Fact No. 49 (oppression of Muslim women and wearing hijab comments
  in Cross Cultural Psychology classes)
           •      Undisputed Fact No. 49(g) (comments related to missionaries)
           •      Undisputed Fact No. 51 (showing of By the Numbers video)
           •      Disputed Fact No. 55 (use of terms “coon” and “porch monkey”)
           •      Undisputed Fact No. 56 (comments related to Muhammad being a con
  artist/conman, sociopath, psychopath, crackpot and liar)
           •      Undisputed Fact No. 57 (comments related to Jesus being schizophrenic)

  38
    OIE notes that this section does not consider the comments described in Nos. 2-3, 5-11, 14-18, 20, 22-29, 31-32,
  34-44, 46(a), 46(d), 47, 49-56, 62-67, 71-73, 78-79, 81 and 83 of the Disputed Material Facts Section of this report
  because the current record did not substantiate that the comments had occurred as alleged.

                                                           178
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 418 of 566 PageID 488




           •       Undisputed Fact No. 58 (comment that it would be hard to convince him that Islam
  is a religion of peace)
           •       Undisputed Fact No. 59 (November 15, 2018 message related to some Muslim
  women supporting oppression)
           •       Disputed Fact No. 59 (Black privilege comment in Cross Cultural Psychology
  course)
           •       Undisputed Fact No. 60 (the Respondent’s 24-hour challenge)
           •       Disputed Fact No. 60 (statistics regarding education, income and race comments;
  White privilege not being responsible for statistical differences comments; affirmative action
  comments; McWhorter letter)
           •       Undisputed Facts Nos. 61-62 (October 21, 2016 letter to Cross Cultural Psychology
  students)
           •       Disputed Fact No. 61 (lack of systemic racism comments in Cross Cultural
  Psychology course)
           •       Disputed Fact No. 62 (statistics regarding single parent household, crime rate data,
  teenage pregnancy data, and college dropout rate data comments in Cross Cultural Psychology
  course)
           •       Undisputed Fact No. 63 (stereotypes being good, bad and neutral comments)
           •       Undisputed Fact No. 64 (Black people’s historical involvement in the slave trade
  comments)
           •       Disputed Fact No. 64 (Native Americans not being peaceful before Europeans’
  arrival comments)
           •       Undisputed Disputed Fact No. 66 (White History Month should be permitted
  comment)
           •       Undisputed Fact No. 67 (lack of systemic racism and lack of need for affirmative
  action comments)
           •       Undisputed Fact No. 68 (showing of Frederick Wilson video)
           •       Disputed Fact No. 71 (comments regarding rape being a part of mammals’
  behavior, false rape allegations, and prevalence of false accusations against men on college
  campuses; criticism of study regarding prevalence of rape)
           •       Disputed Fact No. 72 (Brett Kavanaugh comments)
           •       Undisputed Fact No. 72 (July 15, 2019 announcement regarding standards and
  Black privilege)
           •       Undisputed Fact No. 73 (comment regarding scholarships)
           •       Undisputed Fact No. 74 (statistics related to Asians and White privilege)
           •       Undisputed Fact No. 75 (discussion regarding a sub-group of Blacks and welfare)
           •       Undisputed Fact No. 76 (Blacks and racism)
           •       Undisputed Fact No. 81 (autism related comments)

          After excluding statements that fell within the protections of academic freedom, OIE
  considers whether the remaining statements relating to protected classes created a hostile learning
  environment for students in the Respondent’s courses because these statements were not germane
  to the subject matter of the courses at issue. Specifically, OIE found the following statements to
  not be protected by academic freedom:
          •      Disputed Fact No. 4 (all men are a little bit gay comment);

                                                  179
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 419 of 566 PageID 489




          •      Disputed Fact No. 13 (hope you’re getting compensated comment to GTA)
          •      Undisputed Facts Nos. 15-16 (nudist beach comments)
          •      Undisputed Fact No. 17 (identity as a gay man previously married to a woman)
          •      Disputed Fact No. 19 (sex is only fun for men and is for men’s pleasure comment)
          •      Undisputed Fact No. 20 (women were like a Ford pickup truck comment)
          •      Disputed Fact No. 21 (women who sleep with a lot of men are my best friends
  comment)
          •      Undisputed No. 21 (semen is high in protein, it’s a protein drink comment)
          •      Undisputed Fact No. 27 (email to GTA regarding compensation comment)
          •      Undisputed Fact No. 28 (likes sex comment)
          •      Undisputed Fact No. 29 (women attracted to those with money comment)
          •      Undisputed Fact No. 30 (gym, piece of meat, and masturbation comments)
          •      Disputed Fact No. 30 (transgender-related comments)
          •      Undisputed Fact No. 31(b) (asked if student had an erection before comment and
  comment regarding getting a boner when antiracist and looking in the mirror)
          •      Undisputed Fact No. 32 (humans have sex with animals comment)
          •      Undisputed Fact No. 33 (25-year-old men not wanting 40-year-old women
  comment; Muhammed being married to an “old hag” comment; and who wants to bang an 80-
  year-old woman comment))
          •      Disputed Fact No. 33 (transgender-related comments)
          •      Undisputed Fact No. 34 (transgender male penis being unattractive comment)
          •      Disputed Fact No. 35 (use of terms “fag” and “faggot”)
          •      Undisputed Fact No. 36 (misgendered LGBTQ+ panelist)
          •      Undisputed Fact No. 43 (believing in a religion is delusional and like believing in
  flying elephants)
          •      Undisputed Fact No. 43 (religion being a mythology comments in General
  Psychology courses)
          •      Disputed Fact No. 46(a) (derogatory names for believers)
          •      Disputed Fact No. 46(b) (believing in God is like believing in fairy tales, purple
  flying elephants and Santa Claus comments; and during a 2019 Fall course, as students left for the
  holiday break, the Respondent said something to the effect of “have a great Christmas. Enjoy
  praying to a fake man who lives in the sky”)
          •      Disputed Fact No. 46(c) (God does not exist comments)
          •      Disputed Fact No. 46(e) (religious upbringing constitutes child abuse comments)
          •      Disputed Fact No. 47 (Virgin Mary comments)
          •      Undisputed Fact No. 48 (Aug. 21, 2018 General Psychology comments regarding
  no heaven, no guy with tail and horns, childish idea, crackpots who run the cult called Islam)
          •      Undisputed Fact No. 49(a)-(g) (religion is make-believe, Catholic church is boring,
  imaginary God, believers are irrational, figment of imagination comments, Allah does not exist,
  religious upbringing is child abuse, teaching religion to children is bizarre, abusive and
  pathological comments)
          •      Disputed Fact No. 49 (oppression of Muslim women and wearing hijab comments
  in General Psychology courses; comment to student that she was brainwashed by religion;
  comment to student that she was wrong about her country of Saudi Arabia; comment to student
  that was wearing a hijab that her religion doesn’t respect her)

                                                 180
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 420 of 566 PageID 490




          •      Undisputed Fact No. 50 (existence of heaven being absurd comment)
          •      Undisputed Fact No. 52 (Islam being a toxic mythology and toxic cult comments)
          •      Undisputed Facts Nos. 53-54 (exam questions regarding religious upbringing being
  child abuse, souls not being real and Jesus and Muhammad not being who they claimed to be)
          •      Undisputed Fact No. 57 (comments that Jesus did not have a virgin birth and did
  not come into the world to die for everyone)
          •      Disputed Fact No. 57 (penis size related to race comments)
          •      Disputed Fact No. 58 (Whites being uncultured and unsophisticated but responsible
  for all modern inventions comments)
          •      Disputed Fact No. 59 (Black privilege comment in General Psychology course)
          •      Disputed Fact No. 61 (lack of systemic racism comments in General Psychology
  course)
          •      Disputed Fact No. 62 (statistics regarding single parent household, crime rate data,
  teenage pregnancy data, and college dropout rate data comments in General Psychology course;
  Blacks should stop having babies and committing crimes comments)
          •      Undisputed Fact No. 65 (a)-(b) (Whites invented far more than any other group,
  White culture brought all of this to the rest of the world, no White history month because it would
  be embarrassing to other races, and whole modern world was created by Whites comments)
          •      Undisputed Fact No. 65(a) (Frederick Jones comment of “not that Black, he’s more
  White than Black”)
          •      Disputed Fact No. 65 (barbaric and savage comments)
          •      Undisputed Fact No. 69 (March 18, 2018 email comments that Whites are
  unsophisticated intellectually speaking and every single modern invention comments)
          •      Undisputed Fact No. 70 (April 4, 2018 email to General Psychology students
  regarding White History Month, orange orangutan v. black chimpanzee comment, political
  correctness, Islam is very misogynistic and very racist and not a religion of peace, African
  American’ murder rate and political correctness)
          •      Disputed Fact No. 70 (exam questions contrary to religious beliefs)
          •      Undisputed Fact No. 71 (announcement regarding Latinx)

          OIE further notes that the following statements also are not protected by academic freedom:
  Undisputed Facts Nos. 10-14 (tenure-related comments); Undisputed Fact No. 31(a) (called
  students weird and asexual during senses activity); Undisputed Fact No. 47 (portion of Jan. 10,
  2018 message commenting on students having only lived a sheltered life); Disputed Fact No. 71
  (Robert Kraft arrest comments); Disputed Fact No. 76 (tenure-related comments); Undisputed Fact
  No. 77 (treat all groups like shit comment); Disputed Fact No. 77 (tenure comment related to rape);
  Undisputed Fact No. 78 (use of profanity); Undisputed Fact No. 29 (blood in the toilet comment);
  Undisputed Fact No. 80 (HPV-related message); Disputed Fact No. 80 (mocking of student that
  raised her hand); and, Disputed Fact No. 82 (use of profanity). Since these comments do not
  constitute protected-class-based statements, they are not included in the discriminatory harassment
  analysis below.




                                                 181
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 421 of 566 PageID 491




  IX.    ANALYSIS RE: DISCRIMINATORY HARASSMENT

           In IntegrityLine #833, the anonymous reporter, who identified as a former teaching
  assistant, alleged that the Respondent preferred male students over female students. In support
  of this allegation, the reporter referenced the Respondent’s rejection of the reporter’s proposed
  dissertation topics. However, the reporter did not identify any comparator evidence to support
  differential treatment related to dissertation topics or any evidence supporting the allegation of
  preference for male students. Based on the lack of details and evidence, as well as the
  anonymity of the reporter, OIE’s investigation of this claim was limited and resulted in there
  being insufficient evidence in the record to support this claim. Throughout OIE’s investigation,
  no other substantiated claims were set forth pertaining to a disparate treatment claim (including
  that the Respondent issued grades based on religion or race). Accordingly, the analysis below is
  limited to analyzing whether the Respondent subjected students to discriminatory harassment
  (hostile environment harassment).

          In analyzing a claim of discriminatory harassment, OIE is guided by UCF Regulation
  3.001 and UCF Policy 2-004.1 which prohibit discriminatory sexual harassment and
  harassment…based upon an individual’s race, … ethnicity, national origin, religion, … sex
  (including gender identity and sexual orientation) … disability…or membership in other
  protected classes set forth in state or federal law that interferes with that individual’s educational
  opportunities, participation in a University program or activity, or receipt of legitimately
  requested services meeting the description of hostile environment harassment. Sexual harassment
  is any unwelcome sexual advances, request for sexual favors, and other unwanted conduct of a
  sexual nature, whether verbal, non-verbal, graphic, or otherwise, when the conditions for hostile
  environment are present.

          Hostile environment harassment is discriminatory harassment that is so severe or
  pervasive that it unreasonably interferes with, limits, deprives, or alters the terms or conditions of
  education (e.g., admission, academic standing, grades, assignment) … or participation in a
  university program or activity (e.g., campus housing), when viewed from both a subjective and
  objective perspective, meaning “that a reasonable person would find hostile or abusive, and one
  that the victim in fact did perceive to be so.” In applying the objective standard, OIE must
  “adopt the perspective of a reasonable person’s reaction to a similar environment under similar
  or like circumstances.” In evaluating whether a hostile environment exists, the university will
  consider the totality of known circumstances, including, but not limited to: 1) the frequency,
  nature and severity of the conduct; 2) Whether the conduct was physically threatening; 3) The
  effect of the conduct on the complainant’s mental or emotional state; 4) Whether the conduct
  was directed at more than one person; 5) Whether the conduct arose in the context of other
  discriminatory conduct or other misconduct; 6) Whether the conduct unreasonably interfered
  with the complainant’s educational or work performance and/or University programs and
  activities; and 7) Whether the conduct implicates concerns related to academic freedom or
  protected speech.

          A hostile environment can be created by pervasive conduct or by a single or isolated
  incident, if sufficiently severe. The more severe the conduct, the less need there is to show a
  repetitive series of incidents to prove a hostile environment, particularly if the conduct is


                                                   182
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 422 of 566 PageID 492




  physical. However, an isolated incident, unless sufficiently serious, does not amount to hostile
  environment harassment. In evaluating the severity and pervasiveness of the conduct on the part
  of the Respondent described in this Investigative Report, OIE must consider all relevant
  circumstances, i.e. “the constellation of surrounding circumstances, expectations and relationship
  which are not fully captured by a simple recitation of the words used or the physical acts
  performed” using “common sense and an appropriate sensitivity to social context” to determine
  “conduct which a reasonable person… would find severely hostile or abusive.”

         Turning to the present matter, the conduct subject to analysis must first be discriminatory,
  meaning that the conduct is biased, negative or derogatory with regard to a protected class.
  Clearly, many of the Respondent’s comments satisfy this definition.

          With regard to evidence of individuals having been subjectively offended, multiple
  students alleged that, due to the impact of the Respondent’s derogatory statements, they dropped
  the Respondent’s class. Others expressed difficulty enduring the course but remained and
  completed the course. Also, many students indicated a hesitancy to participate in class because
  of the Respondent’s classroom conduct. Although the cause of their understandable offense was
  based on a number of comments set forth above that are protected by academic freedom, the
  students also expressed discomfort with the comments outside the protections of academic
  freedom. Accordingly, the record satisfies the requirement that students were subjectively
  offended by the Respondent’s conduct.

          Turning to whether the Respondent’s classroom conduct was severe or pervasive, the
  record here demonstrated that the Respondent made multiple unwelcome comments of a sexual
  nature, such as on at least one occasion told students that all men were a little bit gay because if
  someone was sucking their dicks and they were going to cum and they then realized that it was a
  guy doing the sucking, they would still finish. In one or two semesters during 2018, the
  Respondent joked with his Sexual Behavior students that, “You’re in this class because you
  either want to know more about sex or just like sex. I’m in the category that just likes sex.”
  During his 2018 Fall General Psychology course, the Respondent said to his students, “I work
  out in the gym for different reasons. Postponing death. You young people are there because you
  are a piece of meat trying to put yourself on the meat market. Right? I love it when I see mostly
  guys at the gym working out and looking at themselves in the mirror as they are working out. I
  am tempted to tell them to masturbate in the bathroom with the mirrors.” During this course, the
  Respondent also discussed sensory information and how a smell can trigger thinking about a
  specific person and said to a student, “Really, you haven’t had that experience? Have you even
  had an erection before?” Also, during the 2018 Spring semester, he insinuated to a male GTA
  that he should be compensated with sexual favors by a female GTA when the male GTA covered
  her exam proctoring tasks. The Respondent routinely advised his General Psychology and Cross
  Cultural Psychology students that he visited a beach for nudists in Florida. In this regard, during
  his 2019 Summer course, he told students that he identified as a nudist, being a nudist was “very
  fun” and “liberating”, and he tried to get to Haulover Beach, his favorite hangout, every chance
  he got. He then told a student, “I didn’t mean to get you so excited.” He also made an off-hand
  comment about humans having sex with animals during this course and another offhand
  comment about individuals who are antiracist getting a “boner” when they looked in the mirror.
  During his 2020 Sexual Behavior course, he told students that, biologically, sex was only fun for


                                                  183
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 423 of 566 PageID 493




  men and was only made for a man’s pleasure whereas women were not biologically made to
  enjoy sex as their purpose in sexual relations was impregnation.

          With regard to sex-based comments, on at least one occasion during a 2009 Summer
  course, the Respondent joked with students that most people referred to women who slept with a
  lot of men as whores and sluts, but he just called them his best friends. Also, on at least one
  occasion during the 2015 Fall semester, the Respondent told students that a woman was kind of
  like a Ford pickup truck, built to take a pounding. During his 2019 Summer course, the
  Respondent discussed the reasons why people get married and said, “Or maybe you like them
  because they make a lot of money, you can relate to that ladies? I am talking about heterosexual
  women, not lesbians.” He later commented that a 24-year-old man was unlikely to be
  romantically interested in a 40-year-old woman.

          With regard to gender-identity comments, the Respondent made offensive comments
  related to individuals that are transgender (such as a transgender man is a woman, transgender is
  not a thing, transgender individuals should learn to be the sex they were born with, transgender
  penises are unattractive, and people are only transgender because they want to feel special),
  which were made sporadically during courses in 2005-2006, 2014, 2015, 2018, 2019 and 2020.
  Also, during the 2020 Spring semester, the Respondent misgendered one of the LGBTQ+
  panelists on an exam question. With regard to sexual orientation, from 2016-2019, the
  Respondent used the term “fag” or “faggot” during his courses on a sporadic basis, including
  referring to himself as a “fag.” Although the record indicated that the Respondent discussed his
  sexual orientation with students, OIE did not further analyze herein as his statement of
  identifying as a gay man and having previously been married to a woman is not derogatory.

           With regard to religion, the Respondent regularly shared with his General Psychology
  students that religion was a mythology and there was no evidence of a God. Also, the
  Respondent routinely told students throughout his courses over multiple years that believing in
  religion was delusional and like believing in flying elephants, fairytales, and Santa Claus; stated
  that believing in heaven was absurd; repeatedly made derogatory statements about believers
  being delusional, childish, unintelligent, irrational and ignorant; and, repeatedly told students that
  there was no God, God was not real, God was imaginary, God was a figment of their
  imagination, and God did not exist. He also regularly taught students that having a religious
  upbringing constituted child abuse and designed exam questions so that, in order to receive
  credit, some students had to state things counter to their beliefs such as that a religious
  upbringing constituted child abuse or Jesus and Muhammad were not who they claimed to be.
  On occasion, the Respondent discussed the Virgin Mary and told students that she could not get
  pregnant without sex, got pregnant out of wedlock, and then concocted a story about being
  impregnated divinely so that she was not killed due to the culture at that time regarding
  premarital sex. He also told students that Jesus did not have a virgin birth and did not come into
  the world to die for everyone. During the 2018 Fall General Psychology course, the Respondent
  told students that there was no heaven, mocked the idea of Satan, and referred to the “crackpots
  who run the cult called Islam.” He also referred to Islam as a toxic mythology and toxic cult. At
  the end of the 2019 Fall semester as students were leaving, the Respondent said, “have a great
  Christmas. Enjoy praying to a fake man who lives in the sky.” Moreover, as set forth in detail
  above, the Respondent also directed comments at Muslim women about them being brainwashed


                                                   184
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 424 of 566 PageID 494




  and not wearing their hijab for the reasons they identified. He used the terms “barbaric” and
  “savage” when referring to other cultures, including in reference to Islam, and stated that Islam
  was not a religion of peace.

          With regard to race, during some of the Sexual Behavior, General Psychology and Cross
  Cultural Psychology courses, the Respondent told students that Black men have the biggest
  penises, followed by Whites and Hispanics, followed by Asians. In addition, on at least one
  occasion the Respondent referred to the difference in penis sizes and then high fived a Black
  male student. During his Cross Cultural Psychology courses, the Respondent taught students that
  the majority of White people were pretty uncultured, unsophisticated intellectually and failed to
  graduate from universities despite resources available to them to do so. However, every single
  modern invention that changed life as we know it has been invented by a White person, the
  whole modern world was created by Whites, and that the reason why there is not a White
  heritage month like there is for other races and ethnicities is because when comparing Whites’
  contributions to the world with non-Whites’ contributions to the word, it would be an
  embarrassing discrepancy. The Respondent further told students that minorities should be
  thanking Whites for creating our modern society. During his 2019 Summer course discussion on
  this issue of inventions, the Respondent referred to Frederick Jones, who was a Black inventor,
  and said, “First off he’s not that Black, he’s more White than Black.” Also, following his
  discussion regarding his belief that systemic racism and White privilege did not exist, he told his
  General Psychology students that Blacks should stop having babies and committing crimes.

          Based on the information herein, including the highly offensive and derogatory protected-
  class statements combined, the pattern and frequency of derogatory protected-class statements
  that were outside the protections of academic freedom, and the significant impact this had on
  students, who were a captive audience to the Respondent’s conduct, OIE finds that the
  Respondent’s conduct meets the threshold of pervasive conduct and therefore, constitutes
  discriminatory harassment in violation of UCF’s Nondiscrimination Policy and Regulation.
  Had this conduct fell short of the threshold for discriminatory harassment, it nevertheless would
  have violated UCF’s Code of Conduct as the Respondent’s conduct fell woefully short of UCF’s
  expectations regarding respect, inclusion and professionalism.

  X.     ANALYSIS RE: FAILURE TO REPORT AND APPROPRIATELY RESPOND
         TO STUDENT’S SEXUAL ASSAULT DISCLOSURE

          In analyzing a claim of a failure to report and appropriately respond to a student’s sexual
  assault disclosure, OIE is guided by UCF Regulation 3.001, which was in effect during the
  relevant time period (February 2014), and set forth that an employee “who has actual knowledge
  by … receipt of a complaint of discrimination involving any of those employees he or she
  supervises or over whom he or she has managerial authority, and who does not investigate or
  report the matter to an appropriate university official with authority to take action with regard to
  the matter, shall be subject to disciplinary action up to and including dismissal…” As set forth
  above, OIE found that in February 2014, a student (Witness 34) disclosed to the Respondent that
  she had been sexually assaulted by a male teaching assistant (Witness 36) over whom the
  Respondent exercised managerial authority, and requested accommodations related to an exam.
  It is undisputed that the Respondent failed to report this to any university official with the


                                                  185
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 425 of 566 PageID 495




  authority to take action (either the Title IX Coordinator or the Office of Student Conduct).
  Rather, the Respondent asked Witness 34 why she was telling him about the incident, asked for
  details about the incident, denied that the teaching assistant had “crossed the line” during the
  incident, said that the teaching assistant must have misinterpreted the situation and thought she
  wanted more, said that the only way she would have a case would be to fabricate information to
  the police (which he didn’t recommend), said that he could “only hope that in the future” she
  could “prevent this from happening again by being more conscientious when choosing” her
  friends, and denied that he could do anything about the situation (such as removing the teaching
  assistant from the class during her exams) as the only way he would do anything was if a police
  officer came straight to him and said that his teaching assistant was a criminal.

           During his OIE interview, the Respondent claimed that he “might” not have been aware
  of his reporting obligation until he received a phone call from a person in SDES about Witness
  34 wherein the person “might” have advised him of this reporting obligation. The Respondent
  stated, “I had never been trained in the Clery Act like I have now.” The Respondent further
  stated that the person from SDES indicated that Witness 34 had alleged a sexual assault and had
  been afraid to share this with him. The Respondent claimed that he then replied that he had not
  known that Witness 34 was claiming that she had been touched. First, OIE’s review of SDES’
  file related to this case did not reveal any notes supporting the Respondent’s version of events
  with regard to his communications with the person from SDES. Second, as set forth in detail in
  the disputed facts section of this report, the documentary evidence also does not support that
  Witness 34 chose not to share that she had been sexually assaulted with the Respondent. In fact,
  the evidence demonstrates the opposite in that she shared with the Respondent that she had been
  sexually assaulted by his GTA. Third, the university had notified the Respondent in both October
  2013 and January of 2014 of his “Title IX obligations relating to students who experience sexual
  violence”, offered him a training that covered the definitions of discrimination and his reporting
  obligations, and set forth “Seven Steps to Assist Students” when dealing with harassment
  concerns. See Emails Re UCF Actions to Prevent and Correct Discrimination (10-2013 & 1-
  2014) & 2008 Training. Taking the record as a whole into consideration and the substantiated
  facts found herein, OIE finds that the Respondent violated UCF Regulation 3.001 in February
  2014, when he failed to report, but more importantly, failed to appropriately respond to a
  student’s disclosure of having been sexually assaulted by one of his teaching assistants - namely,
  he attempted to dissuade her from pursuing her allegations against the teaching assistant, placed
  responsibility for the incident on the student, determined that Witness 36 must have
  misinterpreted her actions without speaking with Witness 36, and, rather than providing
  resources to the student, advised her to be “more conscientious when choosing” her friends.

  XI.    ANALYSIS RE: OTHER MISCONDUCT

         A.      Respondent’s Deterrence of Filing Complaints

         As set forth in detail above, OIE found that for multiple years, at the beginning of each of
  his courses, and at multiple other times throughout the Cross Cultural Psychology course, the
  Respondent referenced that he had tenure, which meant that he could not be touched, he was
  untouchable, he could not be fired or gotten rid of, and he could say what he wanted to say in
  class without any repercussions. The Respondent further told his students that previous students


                                                  186
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 426 of 566 PageID 496




  had complained about him and were unsuccessful because he was tenured. During 2018 and
  2019, the Respondent also told his students in his General Psychology and Cross Cultural
  Psychology courses that, due to being tenured, he could not be fired unless he raped them.

          Turning to UCF’s Reporting Misconduct and Protection from Retaliation Policy, No. 2-
  700.1, it is prohibited under this policy for an individual to engage in identifiable actions with the
  intention of preventing or deterring a reasonable person from submitting a report of potential
  misconduct or participating in a misconduct investigation. Throughout OIE’s investigation,
  multiple students indicated that Respondent’s tenure-related statements did in fact deter them
  from sharing their concerns about the Respondent’s classroom conduct with university
  administrators. OIE is not persuaded by the Respondent’s statement that his intent behind
  making the tenure-related statements was to bolster students’ comfort to engage in controversial
  class discussions. Rather, his references to prior unsuccessful student complaints and “laughing
  all the way” through the process clearly demonstrated active discouragement on his part to deter
  students from filing complaints about him. Accordingly, OIE finds that the Respondent violated
  UCF’s Reporting Misconduct and Protection from Retaliation Policy, No. 2-700.1.

         B.      Respondent’s Alleged Unprofessional & Uncivil Classroom Conduct

           As set forth in detail above, the Code of Conduct states that employees are required to
  “treat everyone with respect and dignity …We do not tolerate harassment, mistreatment,
  belittling, harming, or taking advantage of others.” (Respect) “Here at UCF, we treat each other
  with dignity and respect. We embrace, celebrate, and value diversity, equity and inclusion and
  that means that we respect the ideas of others, even when they differ from our own.” (Dignity
  and Respect) The Code of Conduct further states, “We are strongest as an educational institution,
  employer, and community leader when we bring diverse thought and experience to our decision-
  making, teaching, research, and interactions with community members. Accordingly, all
  members of our university community have a responsibility to treat each other with
  consideration and respect.” (Engaging, Exploring, and Advancing an Inclusive Culture)

           In addition to claims of discriminatory behavior and other misconduct allegations
  described above, witnesses alleged that the Respondent engaged in unprofessional and uncivil
  conduct in the classroom. As set forth above, the record supports that the Respondent told
  students that he would be talking about multiple racial, ethnic and religious groups during his
  Cross Cultural Psychology course and that “there is good and bad in every group and I treat them
  all like shit”. Respondent repeatedly used profanity throughout his course lectures, including the
  terms “fuck”, “bitch”, and “shit”. The Respondent also told students in his Sexual Behavior
  courses that the study representing that one in four women experience sexual assault by the age
  of 18 was not an accurate representation of the prevalence of sexual assault and the number was
  more likely less than 1%. He also told students that many women on college campuses were
  making false allegations of rape, which was leading to an epidemic of men being kicked out of
  universities. Shortly after the arrest of Robert Kraft (NFL Patriots owner), the Respondent told
  students that Mr. Kraft had done nothing wrong and it was not rape if someone has sex with a
  victim of human trafficking.




                                                   187
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 427 of 566 PageID 497




           Also, witnesses alleged that the Respondent resorted to “humiliation tactics” if students
  challenged the viewpoints he shared with the class. (See IL #824 (Witness 91)). For instance,
  the anonymous reporter in IL #828 alleged that during 2017 Fall Cross Cultural Psychology
  course, the Respondent was “deliberately combative with students and would then accuse them
  of being too sensitive and immature. Yet it was obvious that his intent wasn’t an adult
  conversation about difficult topics as he would often claim, but instead to ‘trigger’ people with
  not only the content of his statements but the delivery. I have never witnessed a more crass,
  callous and deliberately unprofessional professor.” Similarly, the anonymous reporter in IL #828
  alleged that the Respondent’s “loved to chastise and berate students for being too sensitive to his
  nonsensical and deliberately tactless statements.” Witness 68 (IL #851) stated, “Any time
  someone in the class would oppose what he was saying, he would immediately shut them down
  and act as if they were the ignorant ones … He was not able to have a civil debate with the very
  people he was talking so poorly about without demeaning them, and as a psychology major, I
  find it disgusting that he was not able to understand someone else’s standpoint. It was not an
  effective form of education.” Witness 38 (IL #838) alleged that there “were several times in class
  [the Respondent] would voice his biased opinions without being open to healthy discussions with
  other students. There was one student in our class who would disagree with him and he would
  belittle and embarrass her for speaking up.” Similarly, the anonymous reporter in IL #820 stated,
  “As a result of his insults to the gender, sex, religion and race, I decided to withdraw myself
  from the course. It was not a healthy environment. It never allowed for respectful debates or a
  learning environment.” Similarly, Witness 50 (IL #845) stated that the Respondent “was
  consistently rude towards his students. He says he encourages dialogue and challenges people,
  but anyone who disagreed was basically told in front of the entire class of 400+ people that they
  were wrong, and closed minded.” See also IL #872 (anonymous) (Respondent “uses his position
  of power to berate and abuse students’ beliefs” and “chooses to invalidate rather than empower
  students”). Similarly, Witness 167 stated that there “were students who disagreed and tried to
  comment but he would respond by laughing them off and basically telling them that they don’t
  know what they are talking about. He would say things like, ‘I don’t have time for this’, ‘it
  doesn’t matter’, ‘provide evidence of this’ or ‘I am going to move on’ and he would do so. His
  responses were, like, almost pretentious.”

           In contrast, the University also received positive feedback regarding the manner and
  content of the Respondent’s courses. For instance, Witness 104 stated, “Overall, I think that [the
  Respondent] is a very nice individual. He’s knowledgeable, and I enjoyed both classes and
  learned a lot in them. His Cross-Cultural Psychology class challenged me in a way – a good way
  – that no other Psychology class did. [The Respondent] gave us a lot of hard numbers and
  statistics that most people don’t realize, and he made us think out of the box. He’s a great
  professor, but his Twitter is unfortunate.” Witness 235 stated that she “appreciated him
  encouraging students to get outside of what celebrities, etc. would tell you to think or the media
  tells you to think. You might only be hearing one side. I appreciated his teaching style. You
  should not be offended by this teaching style. All of this is just a character assassination
  attempt.” Also, Witness 106 stated, “In terms of my personal experience, I have seen other
  people insinuate that the opinions reflected upon [the Respondent’s] Twitter effected his class
  and their grades. I want to say that in my experience, his online opinions were not expressed
  blatantly throughout his class. Regardless, students’ grades were not impacted by [the
  Respondent’s] views or opinions as a student’s overall grade was based strictly upon exams


                                                 188
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 428 of 566 PageID 498




  administered over scantron. There were no other graded assignments or activities that could have
  been influenced in this regard.”

           In his OIE interview, the Respondent stated, “If you look at the student comments, about
  80% are all positive, and 10-20% are negative. Of the negative comments, they are not the
  egregious one that we are discussing. They are things like I am rude, that I shut students down,
  that I am opinionated, etc. I get their point, but you also need to understand that my class is not a
  class where we’re going to have a group therapy session or sit around and talk about how we
  feel. If they have a point they can back up with facts or logic, I give them time. If they present
  their own opinions or feelings, I say to them, ‘Stop.’ I’m sure that hurts their feelings. I think
  people walk away feeling shut down, which is why they report this. My class is not a free-for-all
  where people get to say what they want to say. I will give them due time if they have evidence. I
  don’t tell them to shut up, but I tell them they can express their sentiment, but they have no data,
  so we move on.”

           Witnesses also alleged that the Respondent utilized the classroom more as a space to air
  his personal opinions rather than a place of learning. OIE’s review of audio recordings of his
  Cross Cultural Psychology classes captured the Respondent talking about poor White parents
  who don’t use their money for intellectual outings, and instead use the money for a TV, cell
  phones, and gas to go fishing. Later in the class, the Respondent shared his view that prostitution
  should be legal (see – Recordings – 2019 Summer - 20190101013334-015). In another lecture,
  the Respondent talked about corruption existing all over the world, and how “anyone who wants
  to be a leader is a magnet for psychopaths.” He referenced Barack Obama who people think “is a
  really nice guy” but who was part of the corrupt system. He then told the students that, within
  two weeks of leaving office, Obama received $400,000 for a 50-minute speech on Wall Street,
  which he insinuated was a payout that they held onto until he left office because if he took the
  check while still serving as President, the corruption would be “obvious”. He stated, “All
  politicians do it but it’s such corruption how they enrich themselves right after they get out of
  office. Because while they are in office, they are doing things that favor corporations, the
  pharmaceutical industry, the oil industry, lottie dottie da. And if the industries paid them while
  they were in office, it’s total corruption and they’d be arrested so they wait until after they leave
  office and then they go give a little presentation and they get a big check.” (See – Recordings -
  Summer 2019 Recording – 9). During this same class, the Respondent shared his opinion that
  Obama discontinued the wet foot dry foot policy for Cubans two weeks before he left office
  “because he was mad at Hispanics in Florida for voting for Trump rather than Hillary.” He then
  stated that Obama wanted to “castigate” and “punish” Hispanics. When a student asked, “With
  the Obama thing, are you just assuming that he’s pissed, I’m just asking, is that your personal
  assumption?” The Respondent replied, “You’re correct.” Following this class, the Respondent
  sent an announcement to his students that said, “I’ve tried to state whenever relevant when some
  idea is (was) my opinion. Today, a student pointed out that the idea that ‘Obama was pissed and
  wanted to punish Floridian Cubans’ was my opinion. She was correct, and I applaud her
  willingness to single me out on that (I hate her guts, but I applaud her HA HA HA HA HA). Just
  kidding about the guts part� … I will step up my efforts to make disclaimers when I present
  my educated opinions (most of my opinions are not simply pulled out of my @#$%! On the spur
  of the moment…” See Announcement, July 22, 2019, titled “Opinions v. data…”


                                                   189
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 429 of 566 PageID 499




          In another recording (see – Recordings – 2019 Summer – 5), the Respondent referenced
  the lack of criticism of Martin Luther King and said, “The dude was a horn dog—he slept with
  everyone he could get his hands on”.

          Some witnesses alleged that the Respondent provided misinformation during his courses
  (e.g. Witness 66 Interview Summary). OIE’s review of the 2019 Summer recordings captured an
  example of this. Therein, the Respondent discussed Trump’s Muslim ban related to immigration
  and how “many Muslims come from cultures that have values which are in conflict with our
  modern liberal values.” He stated that, unlike many Muslim countries, in the U.S. there is
  freedom of speech, an ability to access pornography, an ability to purchase alcohol and
  cigarettes, an ability to visit nude beaches as recreational places and women are permitted to
  vote, drive, work and have abortions. He then stated, “I used to be able to say that female
  circumcision is illegal in the United States, but now it is legal.” However, this is not an accurate
  representation of the law as female circumcisions is illegal in 39 of the 50 states. 39 Also, the
  Respondent went on and said, “So that is the case of female circumcision in the U.S. because a
  federal judge decided that that is part of their religion and they should be able to do that if they
  want to. I am opposed to male circumcision. I wish they would make that illegal too.” (See
  Recording – 2019 Summer – 13).

         Taking the record as a whole into consideration, OIE finds that the Respondent violated
  the Code of Conduct with regard expectations of professionalism, including those set forth in the
  Code’s sections designated as Respect, Dignity and Respect, and Engaging, Exploring, and
  Advancing an Inclusive Culture.

           C.       Providing False Information During a University Investigation

          As set forth in detail above, during OIE’s investigation, OIE identified instances wherein
  the documentary or audio evidence clearly conflicted with what the Respondent had represented
  to OIE. Specifically, the Respondent provided false information with regard to the tenure-related
  comment about the university being unable to fire him unless he raped a student, denied having
  bribed a health clinic representative while in Peru for UCF’s study abroad program, denied
  having told students that God did not exist, denied having told students that minorities never
  invented anything that impacted society, denied that he ever used the term “Black privilege” with
  his students, denied that he told a male GTA that he hoped the female GTA “was compensating
  him but that is none of my business”, denied ever using the term “faggot” in class, denied
  discussing the sexual assault allegations against Brett Kavanaugh and related congressional
  hearings, and denied ever discussing cerebral cortices during his class lectures. Turning to UCF’s
  Reporting Misconduct and Protection from Retaliation Policy, No. 2-700.1, employees are
  required to provide truthful information during university investigations as “providing false
  information in an [university] investigation could result in disciplinary action up to and including

  39
     It appears that the Respondent was referring to the Female Genital Mutilation Act (1996), which made performing
  FGM on anyone under age 18 a felony in the U.S. In 2018, the act was stuck down as unconstitutional by a U.S.
  federal district judge in Michigan, who argued that the federal government did not have authority to enact legislation
  outside the “Interstate commerce” clause. As part of the ruling, the judge ordered that charges be dropped against
  eight people that had performed FGM. The Department of Justice decided not to appeal the ruling; however, the US
  House of Representatives has appealed it.

                                                           190
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 430 of 566 PageID 500




  termination.” Accordingly, in light of the false information provided, OIE finds that the
  Respondent violated UCF’s Reporting Misconduct and Protection from Retaliation Policy, No.
  2-700.1 and Code of Conduct (Honesty and Integrity).

         D.      Bribe of Health Care Clinic Representative

          As set forth in detail above, during OIE’s investigation, OIE found that while in Peru for
  a UCF study abroad program in 2011, airport personnel instructed the Respondent that
  regulations prohibited him from traveling from Peru to El Salvador without a yellow fever
  vaccination certificate. The Respondent then paid $17.00 to an individual at a health clinic
  located in the airport in Peru to provide him with a certificate falsely indicating that he had been
  vaccinated so that he could board a plane for his personal trip to El Salvador.

           Per the university’s Code of Conduct, employees are required “to comply with all
  applicable laws, regulations, and policies” to ensure “that all of our decisions are legal and
  ethically sound.” (Responsibility and Accountability) Also, “[t]hrough our international
  partnerships and study abroad programs, some of our actions and activities will be subject to the
  laws of other countries. In addition to following the Employee Code of Conduct, we are required
  to know and follow these laws.” (Complying with laws of other countries). Furthermore, “[e]ach
  of us has an obligation to comply with the U.S. Foreign Corrupt Practices Act and all country-
  specific anti-bribery and anticorruption laws. These laws generally state that you may not give,
  promise, or offer anything of value, no matter how small, to anyone for the purpose of
  improperly influencing a decision, securing an advantage, avoiding a disadvantage, or obtaining
  or retaining business.” (Anti-corruption and Bribery) Although the Code of Conduct was first
  issued by the University in 2017, these ethical obligations were captured by other applicable
  provisions, including the 2010-2012 UCF BOT-UFF Collective Bargaining Agreement –
  namely, Article 5.3(a)(responsibility of employee to “observe and uphold the ethical standards of
  their disciplines in the pursuit and communication of scientific and scholarly knowledge); Article
  5.3(f) (responsibility of employee to “observe the regulations of the University, provided they do
  not contravene the provisions of this Agreement”); and, Article 5.3(g) (responsibility of
  employee to “be forthright and honest in the pursuit and communication of scientific and
  scholarly knowledge”). Based on the current record, OIE finds that the Respondent violated the
  2010-2012 UCF BOT-UFF Collective Bargaining Agreement when he bribed a health clinic
  representative to provide him with a falsified yellow fever vaccination certificate in 2011.

         E.      Respondent & White Shaming Book

          During the course of OIE’s investigation, it was confirmed that during the summer of
  2019, the Respondent requested a Graduate Teaching Assistant assigned to his Sexual Behavior
  course to perform a research project related to the book he later authored titled White Shaming.
  In March 2019, December 2019 and March 2020, the Respondent also distributed
  announcements regarding his book using UCF resources (i.e. Canvas) to current and former
  students. In the December 2019 and March 2020 messages, the Respondent provided details on
  how students could purchase a copy of the book. OIE finds that both matters were resolved at
  the time by the Chair of the Department and no further action is required.



                                                   191
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 431 of 566 PageID 501




          In addition, during the course of OIE’s investigation, witnesses alleged that the
  Respondent had assigned his book White Shaming as required reading material for the courses
  and was keeping those related profits. It is undisputed that the Respondent required students in
  his 2019 Fall Cross Cultural Psychology course and 2020 Spring Cross Cultural Psychology
  course to read White Shaming as part of the course materials. It also is undisputed that the
  Respondent completed the required AA-21 form disclosing this activity, which was reviewed
  and approved by UCF. The Respondent, who represented that he recently donated proceeds to
  St. Jude and Make a Wish, has complied with the requirements set forth in university regulation
  and procedures. Accordingly, no further action is required at this time.

         F.      Respondent’s Alleged Performance as an Instructor

          In addition to the above, the university received reports regarding the Respondent’s
  overall performance as an instructor. Below is a summary of these allegations but no further
  analysis will be provided by OIE as that is outside the scope of OIE’s role. The appropriate
  content and structure of courses is within the authority of faculty, the Department, College and
  Provost. However, this information is being captured herein to alert management of the
  remaining concerns receiving during the investigation that have not been addressed above.

           Some witnesses alleged that the Respondent failed to teach appropriate content for the
  General Psychology and Cross Cultural Psychology courses or give any context or in-depth
  review of the information presented (particularly with regard to the statistics related to race and
  religion). For instance, the anonymous reporter in IL #924/925 alleged that while the
  Respondent taught Cross-Cultural Psychology, “it felt like the material had more to do with
  statistics on what race participated in what more (such as attend college, or teen pregnancy, etc.)
  rather than the actual psychological aspect. Second, none of his class material contained any
  history.” Witness 47 alleged that the Respondent based “his curriculum on racial groups in the
  US, rather than cultural groups as they course indicates (Cross-cultural psychology). … [The
  Respondent] [d]id not teach anything about cultures throughout the entirety of the Cross-Cultural
  psychology course.” See also IL #809 (Witness 49) (“information we learned was HIS opinion
  on the matter, not the scientific specifics”).

          Similarly, Witness 122 (IL #877) alleged that the Respondent “taught us that certain
  stereotypes (whether based in race, gender, creed, etc.) are not harmful. The problem is that they
  most certainly are. His argument was that ‘Italians like spaghetti’ or ‘black people are good at
  basketball’ isn’t harmful since it isn’t the same as ‘black people are rapists.’ However,
  stereotypes are bad because they create a divide and barrier between people. They prevent people
  from getting to know an individual personally because they base their knowledge on stereotypes.
  An Italian with a gluten allergy doesn’t necessarily like spaghetti. A black software engineer
  isn’t necessarily good at basketball. I could go on forever, but my point is that by assuming these
  things about these people, we ignore the individual’s value. We also uphold a system of racism
  and prejudice by permitting the spread and belief in stereotypes, whether or not [the Respondent]
  believes they are harmful or not. He’s a terrible educator spreading misinformation based in his
  own racism and prejudice.”




                                                  192
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 432 of 566 PageID 502




             Witness 66 alleged that during the 2019 Spring Sexual Behavior course, the Respondent
  minimized the harm caused by child sexual abuse. In support of this allegation, Witness 66
  explained that when the Respondent talked about the age of consent, he talked about age of
  consent around the world, how it’s much lower in other parts of the world, and how one is not a
  pedophile if one has sex with teenagers because of their sexual maturity. He then cited a study
  “that was bad”. Witness 66 indicated that the Respondent “said it was censored, but if you look
  at it, it is not methodologically sound and was over 20 years old”. Also, it only sampled college
  students (those who are most traumatized may never get to college), and only looked at victims
  whose abuser was more than five years older than them. When asked to respond to these
  allegations, the Respondent stated, “I don’t minimize or maximize the effect of childhood sexual
  abuse. … What I do in class is that I go over the age of consent around the world and tell the
  students that the age of consent varies by state even. I have told my students that the idea of
  when an ‘adult’ can have sexual relations with a ‘minor’ seems to be somewhat arbitrary because
  of all these different ages. I explained that the word ‘pedophilia’ does not refer to an adult having
  sex with a teenager, but rather that term means someone having sex with a prepubescent child. I
  also have shared multiple studies that have shown that there are variables that influence to what
  extent someone would be adversely affected by childhood sexual misuse or abuse. … I explained
  that it’s impacted by variables such as the relationship the perpetrator has with the minor,
  whether they are family or a stranger, whether the perpetrator is threatening - that alone is
  traumatizing - and the child’s resiliency (such as when a family loses a whole house when it
  burns down; and one kid is fine while the other is devastated). … Then I shared an APA journal
  article that detailed how 20,000 college students reported that when they were a minor, they had
  some kind of sexual contact with an adult. There were two major findings in the article. One is
  that the majority felt like the incident did not have much of an impact on them, the other is that
  women on average reported being more adversely harmed than the men. So, I shared that with
  the students, then I said that three years later the public learned of the study and they went crazy
  … and denounced them [the researchers] all for political reasons.”

          Witness also alleged that the Respondent’s exams asked about irrelevant material rather
  than the pertinent subject matter of the course, and were poorly structured for the courses. For
  instance, the anonymous reporter in IL #794 alleged that “test questions were absurd and
  incredibly specific. In one of his 10 question exams, he asked what a lady in one of the 3 movies
  he showed us was eating in a food court.” Similarly, the anonymous reporter in IL #801 alleged
  that “[h]is tests didn’t make sense. They were mainly statistics that proved his points and his
  comments. The questions were too specific and random that it made no sense.” See also IL #802
  (anonymous) (Respondent “would tailor tests and class room participation to support his
  agenda”); IL #810 (anonymous) (test questions asked about irrelevant details from videos); IL
  #845 (Witness 50)(Respondent’s “tests were poorly structured - 5 20 question tests for the
  entirety of the grade. I don’t think that getting 1 question wrong should = 1% of a grade”); IL
  #894 (anonymous) (Respondent “would put a lot of questions that were completely unrelated to
  the course material, such as specifics about his personal experiences traveling in different
  countries”); IL #881 (Witness 83) (Respondent “also made exams difficult by not giving clear
  instruction of what students needed to know”).




                                                  193
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 433 of 566 PageID 503




  XI:    PRIOR COMPLAINTS & UNIVERSITY RESPONSE

           In addition to the concerns noted above, the university received multiple reports alleging
  that it was well-known among students that the Respondent made discriminatory statements
  during his courses, which deterred students from taking the Respondent’s courses. Specifically,
  the university received the following anonymous reports: IL #792 (student reported that they
  never took Respondent’s courses because other students had shared that he made discriminatory
  statements); IL #798 (student knew he had discriminatory views way before the Twitter posts
  and “strayed from taking his classes because of it”; further stated that it was well known among
  students that he was discriminatory so students strayed from taking his class); and, IL #858
  (student knew he had these [racially discriminatory] views and strayed from taking his classes
  because of it; it was indeed well known among students that he had these views and many
  students strayed from taking the classes he taught because of it). Similarly, Witness 177 (IL
  #855) alleged that the Respondent “has had a problematic and racist history at the school for as
  long as I attended the school 2011-2017 and perhaps even longer. [T]here have been a variety of
  comments made to myself and my friends included about refraining to take courses offered by
  [the Respondent] being that I, and my friends, are people of color. We had been warned in taking
  his courses for the sheer fact that we would not be treated equally to how white students and we
  would be talked down to and disrespected constantly.”

          Equally important, in multiple reports, individuals alleged that complaints had previously
  been submitted to the University regarding the Respondent’s classroom conduct, the response to
  the complaints had been ineffective, and this ineffectiveness deterred individuals from reporting
  further misconduct. For instance, the University received multiple reports from anonymous
  individuals alleging that prior complaints had been submitted and ignored – specifically, IL #769
  (Respondent “had complaints made against him before”), IL #787 (“This is not the first time it
  happens (there have been past complaints I believe)”), IL #796 (“hateful conduct was reported
  on” the 2017 Fall General Psychology student evaluation form, “but was either ignored or never
  read”), IL #803 (“It has been brought to UCF's attention that [Respondent] is disrespectful to his
  students many times, and they have done nothing about it. This has been said by [Respondent]
  himself, who gloated to my class that students have tried to get him fired before but UCF ignores
  it and allows him to continue teaching there), IL #817 (students “complained about [the
  Respondent] to administration, which made [the Respondent] apologize by email about the
  statements he said, but [the Respondent] has continued to say his statements), IL #823 (“He has
  been reported multiple times and nothing has happened.”), IL #833 (former teaching assistant
  spoke “to other professors who’s seen him be inappropriate and unprofessional but because of
  his status as a professor they decided to ignore it”), and IL #883 (student shared concerns with a
  former Assistant Director of OIE in 2016/2017). OIE would note that the Respondent’s student
  evaluations set forth mixed reviews regarding his performance, and included concerns related to
  discriminatory comments.

          Similarly, Witness 68 (IL #851) alleged, “I know for a fact other people did report him
  back in 2016 and it probably wasn’t the first time, and yet nothing has been done to correct it,
  why is that?” Witness 85 alleged that several student athletes had complained during the 2016
  Fall semester to two academic advisors, but no tangible action was taken except that student
  athletes avoided registering for the Respondent’s classes. Witness 87 alleged that a student spoke


                                                  194
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 434 of 566 PageID 504




  with the Psychology Department’s advisors about the Respondent during the 2017 summer, and
  the advisors responded, “We know that students don’t like him, but he’s tenured so we really
  can’t do anything.” Witness 4 told OIE, “I knew that some students that every semester would
  file complaints, because he told me from time to time that there was ‘another’ complaint that had
  been filed. He was accustomed to getting complaints, usually from Christians. He’s extremely,
  extremely opinionated.”

          Witness 129 posted a message on Facebook along with a link to a change.org petition
  demanding the Respondent’s termination wherein she stated, “For those of you that are
  impressed by the universities prompt public response to this, it is simply for show. I have photos
  of emails i have sent out and received from UCF admin stating that there was no discrimination
  evident, and no harm done, my concerns and worries were dismissed. Only now is it being
  considered after things were made public. But, plot twist, UCF has been receiving complaints for
  nearly a decade over this man and nothing has been done. He has physically grabbed girls, has
  forced them to watch pornography for lectures, has humiliated students for being committed to
  their beliefs and not cowering to his. Don’t for a second think this is any different unless we
  apply the utmost pressure to this situation. Attached is the petition.” In addition to the Facebook
  message, it appears that Witness 129 submitted IL#862 anonymously wherein she alleged that
  the Respondent was dismissive of a doctor’s note and related information that she had provided.
  She further alleged that she had spoken with the department chair about the issue, and
  “NOTHING WAS DONE.” She further alleged that she had “written documentation of no
  discrimination being evident.”

          OIE reviewed the grade appeal documentation submitted by Witness 129. Although she
  checked the box titled “alleged lowering of grades for non-academic reasons including
  discrimination”, the narrative document accompanying her appeal did not include any statement
  that she or other students had been subjected to discrimination. Instead, she made allegations
  related to the Respondent’s attitude and style of communications, bias that students were
  cheating, and lack of empathy under COVID 19. Accordingly, since the appeal did not include
  discrimination concerns, the department correctly moved forward with assessing the appeal
  rather than forwarding it for OIE’s review. See Student Grade Appeal, Student Grade Appeal –
  Administrator Email, and Student Grade Appeal – Chair Decision. Although OIE acknowledges
  that the grade appeal decision referred to there being no evidence of discrimination, since the
  appeal was determined to not be a discrimination case, it would be preferable to not have such
  language in the final decision. That said, OIE acknowledges that the “other reasons” basis for an
  appeal is combined with the discrimination basis for an appeal on the grade appeal form, and
  likely led to the language having been included therein. To reduce confusion moving forward,
  OIE will work with the appropriate university officials to make these separate grounds for appeal
  on the form.

          Notwithstanding, based on the other allegations referenced in the Facebook post, OIE
  contacted Witness 129 for an interview. During her OIE interview, Witness 129 described her
  experience in the Respondent’s 2019 Spring Personality Theory and Research course. When
  asked if the Respondent ever directed hostile or discriminatory statements in the classroom,
  Witness 129 responded, “Not that I remember. … My main concern wasn’t the racial comments
  that were made on Twitter. My main concern was [the Respondent’s] response to COVID.”


                                                  195
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 435 of 566 PageID 505




  When asked about the allegation that the Respondent “physically grabbed girls”, Witness 129
  stated that she had seen this allegation in a tweet wherein someone alleged that a female student
  had to leave class due to a doctor’s appointment, and the Respondent grabbed her by the arm
  demanding to know why she was leaving. Other than this tweet, no other evidence in support of
  this allegation was provided by the more than 300 individuals that communicated with OIE.
  Accordingly, OIE finds that there is insufficient evidence to support finding that the Respondent
  physically grabbed any student. When asked about the allegation that the Respondent forced
  students to watch pornography, Witness 129 stated that other unidentified students had shared
  this and she believed that the pornography was shown in the Respondent’s Cross Cultural
  Psychology course. However, the record in this matter demonstrates that pornography was only
  shown during the Respondent’s Sexual Behavior courses, which is germane to the subject matter
  of that course, and thus, not a violation of University policy.

          In addition, Witness 66, who submitted IL #789, participated in an OIE interview, and
  was a student in the Respondent’s 2019 Spring Sexual Behavior course, alleged that “[a]t the end
  of the semester (May 2019), I complained about everything to an administrator in the
  department. Not long before, he direct messaged us through either UCF email or Webcourses
  (can’t remember which) to follow him on Twitter and included his username. I cited his racist
  tweets in my complaint more than a year ago. I was told that nothing would be done because the
  university protects his free speech above all else”. During her OIE interview, Witness 66
  indicated that she had provided a verbal report to Witness 178 (Associate Chair for Instruction &
  Students, Director of the Bachelor’s in Psychology Program) wherein she shared her concerns
  that the Respondent provided misinformation about childhood sexual abuse, the prevalence of
  rape, college campuses being plagued with false accusations of sexual assault, and human
  trafficking, and failed to discuss consent despite it being a sexual behavior course. Witness 66
  believed that the Respondent was propagating the myth that sexual assault allegations are
  generally false. Witness 66 stated that when she shared this information, Witness 178 took
  notes, said she would pass the concerns onto Witness 154, advised her that the Respondent had
  “academic freedom and freedom of speech, plus twenty years of experience, he could say what
  he wanted and teach what he wanted”, and asked if she wanted to submit her concerns to the
  Title IX office (OIE). Witness 66 declined as she “didn’t feel like [she] had enough of a case.”

          When OIE spoke with Witness 178, she acknowledged that students had brought
  concerns about the Respondent to her attention, which she stated were “usually based on a class
  conversation where something he said bothered them”, and that he had made “comments about
  women or comments about religion” that bothered them. Witness 178 stated that the students
  “usually just say, he said something in class that I did not care for. They’ve never asked to
  formally file a complaint. They would come to my office hours and throw out a general concern,
  and most don’t share their names. When I would ask if they wanted to file a complaint, they
  would say no.” OIE also spoke with Witness 154, who had been Chair of the Department of
  Psychology since August 2017. Witness 154 indicated that, prior to June 4, 2020, during his
  time as Chair, he was “never advised of any students complaining that [the Respondent]
  subjected them or others to discrimination.” He further stated that he “was never advised of
  concerns that [the Respondent] was engaging in racist, homophobic, sexist, anti-Semitic, or any
  other ---ist or ---phobic discriminatory behavior. … June 4, 2020 was the first time I became
  aware of discrimination concerns related to [the Respondent].”


                                                 196
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 436 of 566 PageID 506




           In addition to speaking with the individuals above, OIE reviewed university records
  related to prior complaints about the Respondent. This review demonstrated the following:
  • In July 2006, the Respondent’s supervisor (Witness 179) issued a written reprimand to the
      Respondent for failing to be physically present to perform his duties as Clinical Director of
      Training and instructor of record for a General Psychology course during the 2006 Summer
      session, and assigning his course duties to a graduate assistant in his absence.
  • In August 2006, the Respondent’s supervisor (Witness 179) issued a letter of instruction to
      the Respondent for violating IRB protocols by asking students under the age of 18 to obtain a
      letter from their parents granting them approval to participate in experiments, and then show
      the letter to the experimenter in the studies in which they wished to participate. The
      Respondent was instructed that, moving forward, he was to instruct students under the age of
      18 that separate parental approval is required for each experiment in which they participate.
  • In December 2006, two students (one identified and one unidentified) reported that the
      Respondent “bashed Christianity” multiple times in the classroom, which led to one of the
      students withdrawing from the Respondent’s course. The report was shared with various
      administrators at that time. It appears that the Chair spoke with the Respondent regarding the
      concerns raised, and the Respondent explained that he lectured on the psychological needs
      underlying religious beliefs and the lack of evidence supporting many religious beliefs. No
      disciplinary action was taken at that time. During his OIE interview, the Respondent
      indicated that he did not recall the 2006 complaint and noted that the phrase “bashing” is
      someone’s “subjective view of the situation. What I call offering a critical analysis of
      religion, including Christianity, a believer is likely to interpret as me bashing Christianity.”
  • In August 2012, the university was alerted to an email that the Respondent sent to the
      students of his Cross-Cultural Psychology course following a January 2012 class discussion
      regarding religious bigotry that got posted to Reddit in August. See Announcement Jan. 2012
      Re Religious Bigotry. Both the then-Chair (Witness 152) and then-Provost (Witness 153)
      supported the Respondent’s response and took no disciplinary action. Witness 152 said in an
      e-mail, “I view [the Respondent’s] discussion as protected by the fundamental principles of
      academic freedom. I am encouraged by the worldwide positive response to his letter, because
      if critical thinking and debate were not permitted in our public universities, I believe the
      future of all human rights would be at risk.” Witness 153 said in an e-mail that the university
      encouraged faculty members to have classroom discussions that help students think critically
      and, “We also hope our students will arrive at their own opinions based on those thought-
      provoking discussions.”
  • In September 2013, a student reported to the former Director of OIE (formerly named Equal
      Opportunity and Affirmative Action Programs Office; Witness 180) that the Respondent
      made inappropriate comments of a sexual nature. Specifically, the student reported that on
      the first or second day of class, after discussing gay men, anal sex, and safe sex, he stated,
      “Technically, abstinence is the best protection, but who’s going to do that. We like sex, or
      okay, I like sex.” He then shared that he had been married, was divorced, and now had a
      sexual partner. Also, during the first week of class, some students in the back of the room
      were having trouble hearing him, so they requested that the Respondent raise the microphone
      higher to his mouth. He allegedly then responded, “But I don't like having something so close
      to my mouth because then I can’t suck.” In a later class, the student reported that there was a
      discussion “on sensory information, so he asked if one could give up all their senses but one,

                                                  197
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 437 of 566 PageID 507




      which one would it be. Every student that raised their hand and told their honest opinion, he
      ridiculed, except one girl who said she would give up every sense but touch, for sex. He gave
      her a high five. One girl said she would give up everything but taste. When he asked her
      why, she said it was because she liked food. He said, ‘I would ask you to stand up so we
      could take a look at you (he was referring to her weight), but I won’t.’ Then after he had
      finished asking the class their opinions, he said he was between sight and touch, but he was
      leaning more towards touch because he liked sex. He said he didn’t particularly care who it
      was with or what they looked like; they could wear a paper bag over their heads for all he
      cared.” The student also reported that the Respondent frequently used profanity in the class,
      including “son of a bitch, shit and ass”. Based on the limited nature of the conduct reported,
      OIE referred the matter to the Respondent’s supervisor at the time (Witness 152), who agreed
      to work with Witness 178 on how to address this with the Respondent. Neither the
      Respondent nor Witness 178 had a recollection of this complaint or a follow up.
  •   In November 2016, a student reported to the former Interim Director of OIE (formerly named
      Equal Opportunity and Affirmative Action Programs Office; Witness 181) that the
      Respondent had sent a discriminatory message to students. See Announcement Oct. 21, 2016
      Re System Racism. Witness 181 met with the Respondent individually to discuss the
      concerns raised and his course objectives. Witness 181 then met with students in the
      Respondent’s 2016 Fall Cross Cultural Psychology class to discuss that concerns had been
      raised. Thereafter, Witness 181 was a guest speaker during one of the Respondent’s 2017
      Fall classes. When OIE spoke with Witness 154, he indicated that he had observed one of the
      Respondent’s Cross Cultural Psychology classes during the 2017 Fall semester in which the
      Respondent and a Civil Rights attorney presented opposing views on topics of religion and
      race. It is believed that Witness 181 was the attorney that presented. Witness 154 stated that
      the presentation was professional and appropriate, and that he was not aware that the
      presentation had been arranged in connection with a prior student complaint. During his OIE
      interview, the Respondent stated, “OIE investigated me in 2016 because a group of students
      complained, I presume, about racism. OIE sent an attorney to investigate me, and OIE sent
      the attorney to my class, who interviewed all my students, interviewed me, and reviewed all
      my material, and dismissed the case in 15 minutes. I asked her (the attorney) what the
      students were complaining about, and she said they simply didn’t like my views.” The record
      does not contain any formal OIE finding or there having been any discipline issued to the
      Respondent as a result of the report.
  •   In May 2019, Student Accessibility Services (SAS) alerted OIE that they were getting some
      resistance from the Respondent with allowing a student, Witness 44, to attend the 2019 study
      abroad trip to Peru because she had disclosed having previously been diagnosed with bipolar
      disorder. OIE advised SAS that the student could not be prohibited from attending based on
      assumptions about her medical condition. SAS and the Respondent discussed the concerns
      and developed a plan thereby allowing the student to attend the program in Peru.
  •   As set forth in detail above, in December 2019, OIE received a report related to the
      Respondent’s Twitter posts. Although OIE did not contact the Respondent as part of this
      review, he learned of the report. Witness 154 stated that in December 2019, he was alerted by
      UCF’s Communications and Marketing Department and the Provost’s Office that the
      university had been contacted by media regarding comments that the Respondent had made
      on his personal Twitter account. Thereafter, Witness 154 was advised that although the
      views did not represent the university’s position, no further university action was being taken

                                                  198
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 438 of 566 PageID 508




     as this was the Respondent’s personal account. Witness 154 then advised the Respondent
     about what had occurred and the Respondent “responded positively about the university’s
     support for free speech protected by the First Amendment.” Following OIE’s review, the
     matter was initially closed in January 2020 and was re-opened on June 4, 2020.

          The record demonstrates that students had the perception that multiple complaints were
  submitted and had not been addressed effectively by the university. Part of that perception was
  created by the Respondent delivering the message during his courses that there had been
  complaints against him, but nothing came of them because the university can’t fire him due to
  his tenure. Part of that perception was created by noting their concerns in the student evaluations
  on the understandable assumption that they would be reviewed and acted upon. Taking the
  record as a whole into consideration, OIE found that the record did not support that management
  or central University offices had been notified of the full nature and scope of the allegations
  against the Respondent until June, 2020. Nevertheless, OIE reviewed the current reporting
  options and messaging regarding how to report concerns of this nature, including the University-
  wide Let’s Be Clear campaign and website related to reporting sex-based and sexual harassment
  concerns, the University-wide Speak Up campaign related to reporting any concerns of
  misconduct via the IntegrityLine, the required trainings provided to students that cover how to
  report concerns of discrimination (Let’s Be Clear training), and the information related to how to
  report provided to students during their orientations. Based on this review, OIE recommends that
  the university continue the current University-wide messaging and providing the available
  reporting avenues to students. That said, based on the information related to students’
  discussions with academic advisors, OIE recommends that additional training be provided to
  academic advisors regarding how to respond to and how to report concerns of this nature.

  XII:   OIE FINDINGS

         After carefully reviewing the testimonial and documentary evidence and in light of the
  evidentiary principles discussed in this report, OIE makes the following findings:

          1.       OIE finds that the Respondent violated the University’s Non-Discrimination
  Regulation UCF 3.001 and Prohibition of Discrimination, Harassment and Related
  Interpersonal Violence Policy UCF 2-004.1 as his conduct created a hostile learning
  environment for students.
          2.       OIE finds that the Respondent violated UCF Regulation 3.001 Non-
  Discrimination; Affirmative Action Programs when in February 2014, he failed to report and
  appropriately respond to a student’s disclosure of having been sexually assaulted by one of his
  teaching assistants, including that he attempted to dissuade her from pursuing her allegations
  against the teaching assistant, and, rather than providing resources to the student, advised her to
  be “more conscientious when choosing” her friends.
          3.       OIE finds that the Respondent violated the University’s Reporting Misconduct
  and Protection from Retaliation Policy, No. 2-700.1 by deterring students from filing complaints
  related to his classroom conduct.
          4.       OIE finds that the Respondent violated UCF’s Reporting Misconduct and
  Protection from Retaliation Policy, No. 2-700.1 and Code of Conduct (Honesty and Integrity) by
  providing false information during OIE’s investigation.


                                                  199
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 439 of 566 PageID 509




          5.      OIE finds that the Respondent’s classroom conduct also violated the University’s
  Code of Conduct.
          6.      OIE finds that the Respondent violated the 2010-2012 UCF BOT-UFF Collective
  Bargaining Agreement when he paid bribed a health clinic representative to provide him with a
  falsified yellow fever vaccination certificate in 2011.

          OIE would remind all parties of their obligation pursuant to the University’s Reporting
  Misconduct and Protection from Retaliation Policy and Nondiscrimination Policy, which strictly
  prohibit retaliation “against anyone who, in good faith, reports misconduct, or who participates
  in an investigation of misconduct.”

                   APPENDIX: MATERIALLY RELEVANT DOCUMENTS

          Although the Appendix’ list of evidentiary material is typically set forth in detail in this
  section of OIE’s Investigative Report, due to the length of the Appendix in this matter
  (approximately 10 pages), this summary has been set forth in Attachment C.




                                                   200
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 440 of 566 PageID 510




            ATTACHMENT
                 A
                SECTION III: OIE INVESTIGATION




                                       201
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 441 of 566 PageID 511




  III.   OIE INVESTIGATION

          1.      From June 4, 2020 through August 2020, OIE received reports from multiple
  sources (including phone calls, emails, IntegrityLine reports, Just Knights Response Team
  (JKRT) reports, and Office of Student Conduct reports) wherein individuals alleged that the
  Respondent, an Associate Professor in the Department of Psychology, had subjected students to
  discriminatory harassment in the classroom based on race, ethnicity, national origin, sex, sexual
  orientation, gender identity, disability, and religion; subjected students to sexual harassment;
  subjected students to quid pro quo harassment based on religion; engaged in unprofessional
  conduct; and, failed to appropriately report and respond to a student’s disclosure of a sexual
  assault to the University. Some reports indicated support for the Respondent and denied
  misconduct in the classroom, while others shared their reactions to the Respondent’s social
  media activity and did not identify specific classroom or workplace misconduct. Specifically,
  OIE initially reviewed approximately 400 hundred emails, over 100 IntegrityLine reports, 10 Just
  Knights Response Team reports, and two Office of Student Conduct reports related to the
  Respondent.

          2.      As part of OIE’s procedures, on June 4-5, 2020, OIE obtained class roster data
  pertaining to the prior two years of courses taught by the Respondent, and assigned class rosters
  to investigators to make outreach to a portion of students in each course inquiring whether they
  had experienced or witnessed discrimination in the classroom, and to describe their experiences
  in the Respondent’s classroom. Specifically, OIE made outreach to students in the following
  courses taught by the Respondent: Honors Thesis; Cross Cultural Psychology; Sexual Behavior;
  and Personality Theory and Research.

         3.       Also, on June 4, 2020:
                  a.      OIE requested the identities and contact information of the former
  Graduate Assistants/Teaching Assistants that were assigned to work with the Respondent during
  the prior two years. That same day, the Psychology Department provided the requested data. On
  June 7, 2020, this list was assigned to an investigator to make outreach to the students.
                  b.      OIE requested copies of the Respondent’s Performance Evaluations and
  Student Evaluation of Instructor Summaries for the previous five years, as well as any complaint
  and disciplinary history related to the Respondent. That same day, the Psychology Department
  and Academic Affairs provided the requested data.
                  c.      OIE requested copies of the Respondent’s class exams and grading keys
  related to his UCF courses for the last two years. The data was provided on June 8, 2020.
                  d.      OIE sent an email to Witness 115, who had advised President’s Office
  personnel that she previously had been a student in the Respondent’s course and had concerns,
  and requested her to participate in a substantive interview. That same day, Witness 115
  participated in a substantive interview. Witness 115 was informed of her rights and options as a
  witness in this matter, and Witness 115 was afforded an opportunity to review her statement.
  After making minor changes, Witness 115 signed and submitted her statement to OIE on June
  11, 2020.
                  e.      OIE made outreach to Witness 135, who had contacted the President,
  Academic Services and the College of Sciences regarding the Respondent. Witness 135



                                                 202
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 442 of 566 PageID 512




  responded via email on July 5, 2020 indicating interest in making an appointment with OIE but
  did not respond to OIE’s subsequent attempts to schedule an interview.

         4.      On June 5, 2020:
                 a.    OIE began an in-depth review of social media connected to the
  Respondent.
                  b.      OIE observed students’ and employees’ participation in UCF’s Virtual
  Conversation about Race and Unity. Based on the information provided, an investigator was
  assigned to make outreach to some of the participants.
                  c.      OIE requested that the Registrar’s Office gather the following data for the
  prior two years: the identities and dates of each course taught by the Respondent; course
  enrollment number on the first day of each course; course enrollment number on the last day of
  each course; and, whether the withdrawal/dropout rate was consistent with other comparable
  psychology courses. The Registrar’s Office provided this data on June 8, 2020.
                  d.      OIE began gathering data related to grades assigned by the Respondent
  and students’ demographics for the 2019 Fall semester and 2020 Spring semester. Data was
  gathered to determine whether there were any statistical patterns based on sex and/or race.
                  e.      OIE made outreach to Witness 66, who contacted the President and UCF’s
  Board of Trustees about the Respondent and submitted an IntegrityLine report, and invited her to
  participate in a substantive interview. On June 8, 2020, Witness 66 was provided with her rights
  and options as a witness in this matter and participated in a substantive interview. On June 9,
  2020, Witness 66 was afforded an opportunity to review her statement and she provided an
  addendum to her statement.
                  f.      OIE made outreach to Witness 173, who had shared concerns about the
  Respondent during a June 4, 2020 student forum, and invited her to participate in a substantive
  interview. OIE made additional outreach to Witness 173 on June 9 and June 24, 2020. Witness
  173 did not respond to OIE’s outreach.
                  g.      OIE made outreach to Witness 53, who had shared concerns about the
  Respondent with Faculty Excellence, and invited her to participate in a substantive interview,
  which was scheduled for June 8, 2020. Witness 53 indicated that her roommate, Witness 100,
  would be present. On June 8, 2020, Witness 53 requested to reschedule her interview for June
  10, 2020. On June 10, 2020, Witness 53 and Witness 100 called to reschedule their meeting to
  June 12, 2020. On June 12, 2020, Witness 100 contacted OIE to reschedule their meeting to June
  15, 2020. Witness 100 and Witness 53 participated in a substantive interview on June 15, 2020.
  Both were provided with their rights and options as witnesses in this matter. Both were provided
  with an opportunity to review their statement on June 18, 2020. Neither responded to OIE’s
  request to review their statements, and their unsigned statements were adopted into the record.
  However, both subsequently provided additional documentation to OIE on June 22, July 14,
  August 4 and August 5, 2020, including audio recordings of class lectures. Witness 53 contacted
  OIE on July 30, 2020 by email for a status update regarding the investigation and to provide
  additional information obtained from their Google form (this information was provided on
  August 4 and 5). OIE called Witness 53 and Witness 100 to provide this update. In response to
  this phone call, wherein Witness 53 expressed that she wanted to interview with OIE separately
  regarding her concerns about Respondent, OIE contacted Witness 53 on July 31, 2020 by email
  and offered multiple available times to meet. Witness 53 was unresponsive to this outreach and
  no additional interview was conducted.


                                                  203
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 443 of 566 PageID 513




                h.     On this date, witnesses provided OIE with a list of named individuals with
  concerns about the Respondent and a list of anonymous reports that they received in response to
  a Google form they posted online. 40

          5.      Between June 5, 2020 and June 26, 2020, OIE made outreach to all twenty-three
  graduate and undergraduate teaching assistants previously identified as having been assigned to
  the Respondent during the prior two years to request information about their experience in that
  role. The following thirteen individuals responded to OIE’s outreach.
                  a.      On June 5, 2020, OIE made outreach to Witness 233, who also had sent an
  email to the President and the Office of Diversity and Inclusion (ODI) about concerns related to
  the Respondent. OIE invited Witness 233 to participate in a substantive interview. On June 8,
  2020, Witness 233 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. On June 9, 2020, Witness 233 was afforded an
  opportunity to review her statement. On June 11, 2010, Witness 233 signed her statement.
                  b.       On June 5, 2020, OIE made outreach to Witness 150, who also had
  contacted the College of Sciences and UCER about the Respondent, and invited her to
  participate in a substantive interview. On June 10, 2020, Witness 150 was provided with her
  rights and options as a witness in this matter and participated in a substantive interview. On June
  22, 2020, Witness 150 was afforded an opportunity to review her statement. On June 27, 2020,
  Witness 150 signed her statement
                  c.      On June 9, 2020, OIE made outreach to Witness 45, who also had
  submitted an IntegrityLine report regarding the Respondent, and invited her to participate in a
  substantive interview. On June 10, 2020, Witness 45 was provided with her rights and options as
  a witness in this matter and participated in a substantive interview. Witness 45 was afforded an
  opportunity to review her statement. On July 21, 2020, Witness 45 signed her statement.
                  d.      On June 11, 2020, OIE made outreach to Witness 168 and invited her to
  participate in a substantive interview. On June 12, 2020, Witness 168 was provided with her
  rights and options as a witness in this matter and participated in a substantive interview. Witness
  168 was provided with an opportunity to review her statement. Witness 168 did not respond, and
  her unsigned statement was adopted into the record.
                  e.      On June 19, 2020, OIE made outreach to Witness 1 and invited him to
  participate in a substantive interview. Witness 1 participated in a telephone call with OIE on
  June 24, 2020. This information was captured in OIE’s phone log and incorporated into the
  record.
                  f.      On June 19, 2020, OIE made outreach to Witness 182 and invited him to
  participate in a substantive interview. On June 24, 2020, Witness 182 participated in a telephone
  call with OIE. This information was captured in OIE’s phone log and incorporated into the
  record.



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    On June 9, 2020, these witnesses created a Google form called “Report UCF Professor [Respondent]” and this
  form was published in a Knight News article and on Twitter. The form, which will hereinafter be referred to as the
  Student Google Form, was designed to provide concerned individuals with an avenue to report their concerns
  directly to these witnesses rather than the University. These witnesses, in turn, agreed to relay the information
  provide by others to OIE. These witnesses provided two lists based upon responses they received – a list of
  anonymous (unnamed by request) reports and a list of named individuals with concerns. These lists were initially
  provided to OIE on June 15, 2020.

                                                          204
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 444 of 566 PageID 514




                  g.      On June 23, 2020, OIE made outreach to Witness 183 and invited her to
  participate in a substantive interview. That same day, Witness 183 participated in a telephone
  call with OIE but she did not have detailed information to contribute to this matter.
                  h.      On June 25, 2020, OIE made outreach to Witness 184, Witness 185,
  Witness 186, Witness 110 and Witness 2, and invited them to participate in a substantive
  interview. That same day, Witness 184, Witness 185, Witness 110 and Witness 2 participated in
  separate telephone calls with OIE. On June 26, 2020, Witness 186 participated in a telephone call
  with OIE. This information was captured in OIE’s phone logs and incorporated into the record.
                  i.      On June 26, 2020, OIE made outreach to Witness 3 and invited her to
  participate in a substantive interview. That same day, Witness 3 participated in a telephone call
  with OIE. This information was captured in OIE’s phone log and incorporated into the record.

          6.     On June 6, 2020, OIE made outreach to Witness 164, who submitted an
  IntegrityLine report of concerns regarding the Respondent, and invited her to participate in a
  substantive interview. On June 9, 2020, Dr. Witness 164 was provided with her rights and
  options as a witness in this matter and participated in a substantive interview. That same day,
  Witness 164 was afforded an opportunity to review her statement. On June 25, 2020, Witness
  164 signed her statement.

         7.       On June 7, 2020:
                  a.      OIE requested copies of the Respondent’s class Announcements for the
  last three years. The requested data was provided on June 8, 2020.
                  b.     OIE requested documentation from the Psychology Department pertaining
  to the Respondent allegedly issuing a written apology to students. That same day, the
  Department responded to OIE’s request.

         8.      Between June 8, 2020 and June 10, 2020, OIE contacted 6 students in the
  Respondent’s Summer 2018 Cross Cultural Psychology Class to request information about their
  experience in the course. Two (2) students responded to OIE’s outreach, and neither could
  remember any misconduct during the course.

           9.     Between June 8, 2020 and June 10, 2020, OIE contacted fourteen (14) students in
  the Respondent’s Fall 2019 Personality Theory and Research Class to request information about
  their experience in the course. Nine (9) responded to OIE’s outreach. Of the students who
  responded, seven (7) indicated that they had observed some negative conduct in the course, one
  (1) just referred to the Respondent’s email about the term “Latinx”, and one (1) provided detailed
  information about her experience, which is set forth in an interview summary (Witness 162).
  With the exception of Witness 162, most of the information provided by the students was
  generalized recollections.

         10.     Between June 8, 2020 and June 11, 2020, OIE contacted thirteen (13) students in
  the Respondent’s Spring 2020 Sexual Behaviors course to request information about their
  experience in the course. Eleven (11) students responded to OIE’s outreach. Of the eleven
  students, seven (7) provided detailed information about their experience that is summarized in a
  witness statement (see Witness 39, Witness 71, Witness 101, Witness 187, Witness 109, Witness



                                                 205
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 445 of 566 PageID 515




  132, Witness 134 interview summaries) and four (4) indicated that they did not have any
  concerns with how the course was conducted but did not have detailed information to provide.

         11.      On June 8, 2020:
                  a.      OIE made outreach to Witness 188, Witness 189, and Witness 190
  regarding their concerns expressed during UCF’s June 5, 2020 Virtual Conversation about Race
  and Unity. Witness 188, Witness 189 and Witness 190 advised OIE that they had no direct
  information related to this investigation and declined to provide the identities of students who
  they believed had relevant information. Accordingly, summary interview statements were not
  prepared for the record.
                  b.       OIE made outreach to Witness 191, who participated during UCF’s June
  5, 2020 Virtual Conversation about Race and Unity, and invited her to participate in a
  substantive interview. On June 9, 2020, Witness 191 spoke with OIE but indicated that she had
  no direct relevant information related to this investigation. Accordingly, a summary interview
  statement was not prepared for the record.
                  c.      OIE made outreach to Witness 192 and Witness 193, who participated
  during UCF’s June 5, 2020 Virtual Conversation about Race and Unity, and left voicemails for
  each of them. On July 14, 2020, OIE attempted to contact Witness 192 and Witness 193 again.
  Witness 192 spoke with OIE but indicated that he had no direct information related to this
  investigation. Accordingly, a summary interview statement was not prepared for the record. On
  July 20, 2020, OIE sent an email to Witness 193 requesting to speak with her. Witness 193 did
  not respond to OIE’s outreach.
                  d.      OIE made outreach to Witness 194, who participated during UCF’s June
  5, 2020 Virtual Conversation about Race and Unity. On June 12, 2020, Witness 194 provided
  information related to the Respondent’s study abroad program including student applications and
  survey responses by students who completed the 2019 program. However, he did not provide
  direct information about his experiences. Accordingly, a summary interview statement was not
  prepared for the record.
                  e.        OIE made outreach to Witness 120, who had submitted an IntegrityLine
  report and email to the College of Sciences regarding concerns with the Respondent. OIE
  invited Witness 120 to participate in a substantive interview. This same day, Witness 120
  contacted OIE to ask to schedule an interview for later the same week, and available times were
  provided. Witness 120 participated in a substantive interview on June 18, 2020 and was provided
  with her rights and options prior to participating. On June 18, 2020, Witness 120 was provided
  with an opportunity to review her statement and on this same day, Witness 120 signed her
  statement.
                  f.      OIE made outreach to Witness 177, who submitted an IntegrityLine report
  regarding the Respondent. OIE made outreach first by phone and then by email. OIE made
  outreach to Witness 177 again on June 18, 2020. On June 20, 2020, Witness 177 replied
  indicating that she did not wish to participate further.
                  g.      OIE made outreach to Witness 38, who had submitted an IntegrityLine
  report regarding the Respondent. Witness 38 responded on June 9, 2020, indicating her
  willingness to participate as a witness, if needed. However, Witness 38 did not reply further to
  OIE outreach attempting to schedule her interview.
                  h.      OIE made outreach to Witness 39, Witness 14, and Witness 71, who were
  identified in class rosters. OIE invited each student to participate in a substantive interview on


                                                 206
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 446 of 566 PageID 516




  this same date. All three students were provided with their rights and options as a witness in this
  matter and participated in separate substantive interviews. On this same date, all three students
  were afforded an opportunity to review their respective statements. On this same date, Witness
  14 reviewed and provided an addendum to her statement. Witness 39 and Witness 71 did not
  respond to OIE, and their unsigned statements were adopted into the record.
                  i.      OIE made outreach to Witness 176, who had sent an email to ODI
  regarding a student’s experience with the Respondent and invited her to participate in a
  substantive interview. On June 11, 2020, Witness 176 was provided with her rights and options
  as a witness in this matter and participated in a substantive interview. On June 11, 2020, Witness
  176 was afforded an opportunity to review her statement. Witness 176 did not respond, and her
  unsigned statement was adopted into the record.
                  j.      OIE made outreach to Witness 195, who had contacted the College of
  Sciences regarding the Respondent, and invited her to participate in a substantive interview. OIE
  made additional outreach to Witness 195 on June 11, 2020. Witness 195 did not respond to
  OIE’s requests for a substantive interview.
                  k.      OIE made outreach to Witness 67, who had contacted the President,
  College of Sciences and Risk Management regarding the Respondent. OIE invited Witness 67 to
  participate in a substantive interview. OIE made additional outreach to Witness 67 on June 11,
  2020. Witness 67 did not respond to OIE’s requests for a substantive interview.
                  l.      OIE made outreach to Witness 196, who contacted the President and ODI
  regarding the Respondent, and invited her to participate in a substantive interview. On June 11,
  2020, Witness 196 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. On June 11, 2020, Witness 196 was afforded an
  opportunity to review her statement. On June 11, 2020, Witness 196 signed her statement.
                  m.      OIE made outreach to Witness 114, who contacted the President, Provost
  and College of Sciences regarding the Respondent, and invited her to participate in a substantive
  interview. OIE made additional outreach to Witness 114 on June 11 and 19, 2020. Witness 114
  did not respond to OIE’s outreach.
                  n.      OIE made outreach to Witness 37, who contacted OIE and ODI regarding
  the Respondent, and invited her to participate in a substantive interview. After not receiving a
  response, OIE followed up on June 11, 2020. Witness 37 responded and agreed to participate in
  a substantive interview. On June 15, 2020, Witness 37 was provided with her rights and options
  as a witness in this matter and participated in a substantive interview. That same day, Witness
  37 was afforded an opportunity to review her statement. Witness 37 did not respond, and her
  unsigned statement was adopted into the record.
                  o.      OIE made outreach to Witness 49, who submitted an IntegrityLine report
  regarding the Respondent, and invited her to participate in a substantive interview. On June 9,
  2020, Witness 49 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. On June 9, 2020, Witness 49 was afforded an
  opportunity to review her statement, and signed her statement.
                  p.       OIE made outreach to Witness 111, who had reported concerns about the
  Respondent to the media, and invited her to participate in a substantive interview. On June 10,
  2020, Witness 111 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. On June 10, 2020, Witness 111 was afforded an
  opportunity to review her statement. On June 11, 2020, Witness 111 signed her statement.



                                                 207
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 447 of 566 PageID 517




                  q.       OIE made outreach to Witness 82, who submitted an IntegrityLine report
  regarding the Respondent, and invited her to participate in a substantive interview. On June 10,
  2020, Witness 82 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. On June 15, 2020, Witness 82 was afforded an
  opportunity to review her statement. On June 23, 2020, Witness 82 signed her statement.
                  r.      OIE made outreach to Witness 144, who contacted Human Resources
  regarding the Respondent, and invited her to participate in a substantive interview. On June 9,
  2020, Witness 144 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. On June 9, 2020, Witness 144 was afforded an
  opportunity to review her statement. On June 10, 2020, Witness 144 signed her statement.
                  s.      OIE made outreach to Witness 197, who submitted an IntegrityLine report
  alleging that her former co-worker had complained to her about the Respondent’s classroom
  conduct. OIE invited Witness 197 to provide OIE with her former coworker’s name and contact
  information. On June 30, 2020, Witness 197 informed OIE that she had been unable to reach her
  former coworker and did not want to give OIE her name without first obtaining permission from
  the former coworker.
                  t.       OIE made outreach to Witness 198, who contacted the Department of
  Psychology regarding his brother’s experiences in the Respondent’s class. On June 8, 2020 and
  June 23, 2020, OIE reached out to Witness 198 and requested that he provide OIE with his
  brother’s contact information or that he ask his brother to contact OIE. Witness 198 did not
  respond to OIE’s requests.
                  u.       OIE made outreach to Witness 102, who submitted an IntegrityLine
  report regarding the Respondent, and invited him to participate in a substantive interview. OIE
  made a second outreach on June 23, 2020. Witness 102 did not respond to OIE’s outreaches.
                  v.       OIE made outreach to Witness 199, who was identified on a class roster
  and initially agreed to participate in an OIE substantive interview, which was scheduled for June
  12, 2020. Witness 199 did not participate in her interview as scheduled. OIE made additional
  outreach to Witness 199 on June 12, 2020 and June 19, 2020, but Witness 199 did not respond to
  OIE’s requests for a substantive interview.
                  w.      OIE made outreach to Witness 118, who had contacted the College of
  Sciences about the Respondent, and invited her to participate in a substantive interview. On June
  18, 2020, OIE made a second outreach. Witness 118 did not respond to OIE’s outreaches.
                  x.      OIE made outreach by phone to Witness 147, who submitted an
  IntegrityLine report regarding the Respondent, and invited him to participate in a substantive
  interview. Witness 147 did not respond to OIE’s outreach.
                  y.      OIE reviewed university grant funding records and determined that no
  federal agencies with reporting requirements regarding sexual and discriminatory harassment
  provided funding to the Respondent as an investigator or key personnel.

          12.     Between June 8 and June 30, 2020, OIE contacted 90 students in the
  Respondent’s 2018 Fall General Psychology course to request information about their experience
  in the course. Forty-four (44) students responded to OIE’s outreach. Of the forty-four (44)
  individuals that responded, five (5) could not recall their experience in the class, twenty-six (26)
  indicated that they did not have any concerns with how the course was conducted but did not
  have detailed information to provide, seven (7) provided detailed information about their
  experience that is summarized in a witness statement (see Witness 58, Witness 95, Witness 107,


                                                  208
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 448 of 566 PageID 518




  Witness 121, Witness 133 Interview Summaries, and Witness 48, Witness 200 Phone Log
  Summaries), and six (6) indicated they had negative experiences in the course but could not
  provide detailed information.

           13.    Between June 9, 2020 and July 7, 2020, OIE contacted 22 students in the
  Respondent’s online 2018 Summer Sexual Behaviors course to request information about their
  experience in the course. Eleven (11) students responded to OIE’s outreach. Of the eleven
  students, six (6) indicated that they did not have any concerns with how the course was
  conducted but did not have detailed information to provide, four (4) indicated that they could not
  recall their experience in the class, and one (1) indicated that they had a negative experience in
  the class but could not provide detailed information.

          14.     Between June 9, 2020 and June 24, 2020, OIE contacted 61 students in the
  Respondent’s 2018 Spring Cross Cultural Psychology class. Of the 20 students that responded to
  OIE’s outreach, one (1) student could not recall the class, eight (8) students responded that they
  did not have any concerns or detailed information to share, and eleven (11) students responded
  that they had concerns with how the course was conducted. Of these eleven students, two
  indicated that they could provide detailed information and would participate in a further
  interview on a different date. Witness 234’s interview was scheduled for June 12, 2020, but
  Witness 234 did not respond to OIE contact. The second student, Witness 103, participated in an
  interview on June 18, 2020 (see interview summary).

         15.      On June 9, 2020:
                  a.      OIE conducted a substantive interview with Witness 170, Witness 84, and
  Witness 137, who each submitted IntegrityLine reports related to the Respondent. All three
  students were provided with their rights and options as a witness in this matter and participated
  in a substantive interview. On this same date, Witness 170 and Witness 84 were afforded an
  opportunity to review their respective statements. Witness 137 was afforded an opportunity to
  review her statement on June 10, 2020. Witness 170 provided OIE with a syllabus for the
  Respondent’s Fall 2016 Cross-cultural Psychology course. Witness 137 stated that she would
  provide audio recordings of the Respondent’s course lectures from Fall 2019. Also on June 10,
  2020, Witness 170 provided an addendum to his statement, and Witness 137 signed her
  statement. Witness 84 did not respond, and her unsigned statement was adopted into the record.
                  b.       OIE made outreach to Witness 89, who contacted the College of Sciences
  about the Respondent, and invited her to participate in a substantive interview. OIE made
  additional outreach to Witness 89 on June 11 and 19, 2020. Witness 89 did not respond to OIE’s
  outreach.
                  c.      OIE made outreach to Witness 145, who contacted the President and
  College of Sciences regarding the Respondent, and invited her to participate in a substantive
  interview. On June 12, 2020, Witness 145 was provided with her rights and options as a witness
  in this matter and participated in a substantive interview. That same day, Witness 145 was
  afforded an opportunity to review her statement. On June 15, 2020, Witness 145 signed her
  statement.
                  d.      OIE made outreach to Witness 107, who was identified on a class roster,
  and invited him to participate in a substantive interview. On June 18, 2020, Witness 107 was
  provided with his rights and options as a witness in this matter and participated in a substantive

                                                 209
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 449 of 566 PageID 519




  interview. On June 19, 2020, Witness 107 was afforded an opportunity to review his statement.
  Witness 107 did not respond, and his unsigned statement was adopted into the record.
                  e.      OIE made outreach to Witness 88, who submitted an IntegrityLine report
  and Just Knights Response Team report regarding the Respondent, and invited her to participate
  in a substantive interview. On June 10, 2020, Witness 88 was provided with her rights and
  options as a witness in this matter and participated in a substantive interview. On June 15, 2020,
  Witness 88 was afforded an opportunity to review her statement. Witness 88 did not respond,
  and her unsigned statement was adopted into the record.
                  f.      OIE made outreach to Witness 140, who submitted an IntegrityLine report
  regarding the Respondent, and invited him to participate in a substantive interview. On June 11,
  2020, Witness 140 was provided with his rights and options as a witness in this matter and
  participated in a substantive interview. On June 15, 2020, Witness 140 was afforded an
  opportunity to review his statement and signed it on June 16, 2020.
                  g.      OIE made outreach to Witness 92, who submitted an IntegrityLine report
  regarding the Respondent, and invited her to participate in a substantive interview. On June 11,
  2020, Witness 92 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. On June 16, 2020, Witness 92 was afforded an
  opportunity to review her statement and she signed her statement on June 17, 2020.
                  h.      OIE requested that the Department Chair provide contact information
  related to employees who worked closely with the Respondent. That same day, the Chair
  responded with the requested information.
                  i.      OIE made outreach to Witness 101, who was identified on a class roster,
  and invited her to participate in a substantive interview. On this same date, Witness 101 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On this same date, Witness 101 was afforded an opportunity to review her statement.
  Witness 101 did not respond, and her unsigned statement was adopted into the record.
                  j.      OIE made outreach to Witness 162, who was identified on a class roster,
  and invited her to participate in an interview. On June 12, 2020, Witness 162 was provided with
  her rights and options as a witness in this matter and participated in a substantive interview. On
  June 15, 2020, Witness 162 was afforded an opportunity to review her statement and
  subsequently signed her statement on June 18, 2020 with a minor edit.
                  k.      OIE made outreach to Witness 58, who was identified on a class roster,
  and invited her to participate in a substantive interview. On June 19, 2020, Witness 58 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. Witness 58 was provided with an opportunity to review her statement. On June 25,
  2020, Witness 58 signed her witness statement.

         16.      On June 10, 2020:
                  a.      OIE made outreach to Witness 201, who reported concerns about the
  Respondent to the media, and invited him to participate in a substantive interview. On June 21,
  2020, Witness 201 was provided with his rights and options as a witness in this matter and
  participated in a substantive interview. On June 24, 2020, Witness 201 was provided with an
  opportunity to review his statement. Witness 201 did not respond, and his unsigned statement
  was adopted into the record.
                  b.      OIE made outreach to Witness 202, who submitted an IntegrityLine report
  regarding the Respondent, and invited her to participate in a substantive interview. On June 10,


                                                 210
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 450 of 566 PageID 520




  2020, Witness 202 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. At that time, it was determined that Witness 202 had
  inadvertently identified the incorrect person as the Respondent. Witness 202 had not taken a
  course with the Respondent in this matter.
                   c.     OIE made outreach to Witness 203, who sent an email to the Provost
  regarding the Respondent, and invited him to participate in a substantive interview. OIE made
  additional outreaches to Witness 203 on June 12, 2020 and June 13, 2020. Witness 203 did not
  respond to OIE’s outreach.
                   d.     OIE made outreach to Witness 54, who submitted an IntegrityLine report
  regarding the Respondent, and invited her to participate in a substantive interview. On June 10,
  2020, Witness 54 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. On June 15, 2020, Witness 54 was afforded an
  opportunity to review her statement. On June 18, 2020, an addendum was completed. On June
  18, 2020, Witness 54 advised OIE that she was unable to sign the statement and addendum but
  reported that both were accurate and complete. Accordingly, her unsigned statement was
  adopted into the record.
                   e.     OIE made outreach to Witness 187 (who was identified on a class roster),
  Witness 132 (who contacted the President and JKRT) and Witness 109 (who was identified on a
  class roster), and invited each of them to participate in a substantive interview. On this same
  date, all three students were provided with their rights and options as a witnesses in this matter
  and participated in separate substantive interviews. On this same date, Witness 187 and Witness
  109 were afforded an opportunity to review their statements. On June 11, 2020, Witness 132 was
  afforded the opportunity to review his statement. All three students did not respond, and their
  unsigned statements were adopted into the record.

         17.      June 11, 2020:
                  a.      OIE made outreach to Witness 130, who was identified by another witness
  (Witness 196) as having information relevant to the investigation, and invited her to participate
  in a substantive interview. Witness 130 did not respond to OIE’s outreach.
                  b.      OIE made outreach to Witness 85, who was identified by another witness
  (Witness 196) as having information relevant to the investigation, and invited her to participate
  in a substantive interview. On June 16, 2020, Witness 85 was provided with her rights and
  options as a witness in this matter and participated in a substantive interview. On August 4,
  2020, Witness 85 was afforded an opportunity to review her statement. On October 30, 2020,
  Witness 85 signed her statement.
                  c.      OIE made outreach to Witness 87, who was identified by another witness
  (Witness 196) as having information relevant to the investigation, and invited her to participate
  in a substantive interview. On June 15, 2020, Witness 87 was provided with her rights and
  options as a witness in this matter and participated in a substantive interview. On July 23, 2020,
  Witness 87 was afforded an opportunity to review her statement. Witness 87 did not respond,
  and her unsigned statement was adopted into the record.
                  d.      OIE made outreach to Witness 60, who had contacted the Provost, and
  invited her to participate in a substantive interview. Witness 60 did not respond to OIE’s
  outreach.
                  e.      OIE made outreach to Witness 178, who was identified as the
  Respondent’s coworker, and invited her to participate in a substantive interview. Witness 178


                                                 211
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 451 of 566 PageID 521




  participated in an interview that same day. Witness 178 was provided with her rights and options
  as a witness in this matter. On June 12, 2020, Witness 178 was afforded an opportunity to review
  her statement. Witness 178 did not respond, and her unsigned statement was adopted into the
  record.
                  f.       OIE made outreach to Witness 75, who submitted an IntegrityLine report
  regarding the Respondent, and invited her to participate in a substantive interview. On June 12,
  2020, Witness 75 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. On June 24, 2020, Witness 75 was afforded an
  opportunity to review her statement. Witness 75 did not respond, and her unsigned statement
  was adopted into the record.
                  g.       OIE made outreach to Witness 68, who submitted an IntegrityLine report
  regarding the Respondent, and invited her to participate in a substantive interview. OIE made
  additional outreach to Witness 68 on June 12, 2020 and June 15, 2020. Witness 68 did not
  respond to OIE’s requests.
                  h.        OIE made outreach to Witness 91, who submitted an IntegrityLine
  report regarding the Respondent, and invited her to participate in a substantive interview. On
  June 18, 2020, Witness 91 was provided with her rights and options as a witness in this matter
  and participated in a substantive interview. On June 24, 2020, Witness 91 was afforded an
  opportunity to review her statement. Witness 91 did not respond, and her unsigned statement
  was adopted into the record.
                  i.      OIE made outreach to Witness 134, who was identified on a class roster,
  and invited her to participate in a substantive interview. On this same date, Witness 134 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On June 15, 2020, Witness 134 was afforded an opportunity to review her statement.
  Witness 134 did not respond, and her unsigned statement was adopted into the record.
                  j.      OIE made outreach to Witness 124, who contacted the College of Sciences
  about the Respondent. On June 15, 2020, Witness 124 spoke with OIE about her experience in
  the Respondent’s General Psychology course. Witness 124 did not have detailed information to
  contribute to this matter.

         18.      On June 12, 2020:
                  a.      OIE made outreach to Witness 86, who participated during UCF’s June 5,
  2020 Virtual Conversation about Race and Unity, and invited her to participate in a substantive
  interview. On June 16, 2020, Witness 86 was provided with her rights and options as a witness in
  this matter and participated in a substantive interview. On June 18, 2020, Witness 86 was
  afforded an opportunity to review her statement. That same day, Witness 86 affirmed the
  accuracy of her statement (other than “typos”) via email.
                  b.      OIE made outreach to Witness 204, who participated during UCF’s June
  5, 2020 Virtual Conversation about Race and Unity, and invited her to participate in a
  substantive interview. That same day, Witness 204 was provided with her rights and options as a
  witness in this matter and participated in a substantive interview. Witness 204 expressed general
  concerns regarding her experience at UCF, which were unrelated to the present matter.
  Accordingly, a summary interview statement was not prepared for the record.
                  c.      OIE made outreach to Witness 129, who expressed concerns regarding the
  Respondent on social media, and invited her to participate in a substantive interview. That same
  day, Witness 129 was provided with her rights and options as a witness in this matter and


                                                 212
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 452 of 566 PageID 522




  participated in a substantive interview. That same day, Witness 129 was afforded an opportunity
  to review her statement. Witness 129 did not respond, and her unsigned statement was adopted
  into the record.
                  d.      OIE made outreach to Witness 138, who submitted an IntegrityLine report
  regarding the Respondent, and invited her to participate in a substantive interview. On June 12,
  2020, Witness 138 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. On June 15, 2020, Witness 138 was afforded an
  opportunity to review her statement. Witness 138 did not respond, and her unsigned statement
  was adopted into the record.
                  e.       OIE made outreach to Witness 65, who contacted the College of Sciences
  Academic Services about the Respondent, and invited her to participate in a substantive
  interview. OIE made additional outreaches to Witness 65 on June 16, 2020 and June 30, 2020.
  Witness 65 responded on July 1, 2020 and advised that she did not wish to be interviewed
  regarding this matter.
                  f.       OIE made outreach to Witness 139, who contacted the College of
  Sciences, and invited her to participate in a substantive interview. OIE made additional
  outreaches to Witness 139 on June 16, 2020 and June 23, 2020. On June 23, 2020, Witness 139
  contacted OIE and explained that she changed her mind and did not wish to be interviewed or
  provide a statement.

          19.     Between June 15, 2020 and July 21, 2020, OIE contacted 37 students in the
  Respondent’s 2018 Spring Sexual Behavior course to request information about their experience
  in the course. Twenty-one (21) students responded to OIE’s outreach. Of the 21 students, two
  declined to participate, three (3) provided detailed information about their experience that is
  summarized in a witness statement (see Witness 46, Witness 78 and Witness 81 interview
  summaries), six (6) indicated that they did not have any concerns with how the course was
  conducted but did not have detailed information to provide, and ten (10) indicated that they had a
  negative experience in the class but did not have detailed information to provide.

         20.      On June 15, 2020:
                  a.      OIE made outreach to Witness 158 and Witness 43, who the Psychology
  Department identified as both having experience working with the Respondent, and invited them
  to participate in a substantive interview. On June 17, 2020, both were provided with their rights
  and options as a witness in this matter and both participated in separate substantive interviews.
  On June 18, 2020, Witness 158 and Witness 43 were afforded an opportunity to review their
  respective statements. On June 18, 2020, Witness 158 signed her statement with notations. On
  June 19, 2020, Witness 43 signed her statement with minor corrections.
                  b.      OIE made outreach to Witness 46, who was identified on a class roster,
  and invited him to participate in a substantive interview. On this same date, Witness 46 was
  provided with his rights and options as a witness in this matter and participated in a substantive
  interview. On this same date, Witness 46 was afforded an opportunity to review his statement.
  Witness 46 did not respond, and his unsigned statement was adopted into the record.
                  c.       OIE made outreach to Witness 103, who had been identified in a class
  roster, and invited her to participate in an interview. On June 18, 2020, Witness 103 was
  provided with her rights and options as a witness in this matter and participated in a substantive



                                                 213
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 453 of 566 PageID 523




  interview. On July 16, 2020, Witness 103 was afforded the opportunity to review her statement.
  Witness 103 did not respond, and her unsigned statement was adopted into the record.

         21.     On June 16, 2020:
                 a.       Between June 16, 2020 and July 24, 2020, OIE contacted 40 students in
  the Respondent’s 2019 Spring Cross Cultural Psychology course to request information about
  their experience in the course. Twenty-one (21) students responded to OIE’s outreach. Of the 21
  individuals, four (4) students declined to participate in the investigation, three (3) students
  tentatively scheduled to speak with OIE but were unresponsive to OIE’s subsequent follow-up
  outreach efforts, five (5) students indicated that they did not have any concerns with how the
  course was conducted and did not have detailed information to provide, and nine (9) students
  provided detailed information about their experience that is summarized in witness statements
  (see statements summaries of Witness 52, Witness 56, Witness 63, Witness 62, Witness 64,
  Witness 9, Witness 73, Witness 98 and Witness 117).

                  b.      OIE made outreach to Witness 56, who was identified on a class roster,
  and invited her to participate in a substantive interview. On June 19, 2020, Witness 56 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On June 25, 2020, Witness 56 was afforded an opportunity to review her statement.
  On July 2, 2020, Witness 56 responded indicating that she approved of the accuracy of the
  statement.
                  c.      OIE made outreach to Witness 63, who was identified on a class roster,
  and invited her to participate in a substantive interview. On June 17, 2020, Witness 63 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On June 26, 2020, Witness 63 was afforded an opportunity to review her statement.
  On July 3, 2020, Witness 63 responded indicating that she was unable to sign the statement but
  advised that she approved of the accuracy of the statement.
                  d.       OIE made outreach to Witness 62, who was identified on a class roster,
  and invited her to participate in a substantive interview. On June 17, 2020, Witness 62 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On June 25, 2020, Witness 62 was afforded an opportunity to review her statement.
  On June 29, 2020, Witness 62 signed her statement.
                  e.      OIE made outreach to Witness 64, who was identified on a class roster,
  and invited her to participate in a substantive interview. On June 23, 2020, Witness 64 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On June 24, 2020, Witness 64 was afforded an opportunity to review her statement.
  On June 25, 2020, Witness 64 signed her statement.
                  f.      OIE made outreach to Witness 9, who was identified on a class roster, and
  invited her to participate in a substantive interview. On June 18, 2020, Witness 9 was provided
  with her rights and options as a witness in this matter and participated in a substantive interview.
  On June 25, 2020, Witness 9 was afforded an opportunity to review her statement. Witness 9 did
  not respond, and her unsigned statement was adopted into the record.
                  g.       OIE made outreach to Witness 73, who was identified on a class roster,
  and invited him to participate in a substantive interview. On June 18, 2020, Witness 73 was
  provided with his rights and options as a witness in this matter and participated in a substantive



                                                  214
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 454 of 566 PageID 524




  interview. On June 25, 2020, Witness 73 was afforded an opportunity to review his statement.
  Witness 73 did not respond, and his unsigned statement was adopted into the record.
                  h.       OIE made outreach to Witness 117, who was identified on a class roster,
  and invited her to participate in a substantive interview. On June 16, 2020, Witness 117 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On June 26, 2020, Witness 117 was afforded an opportunity to review her statement.
  On June 28, 2020, Witness 117 signed her statement.
                  i.       OIE made outreach to Witness 126, who submitted an IntegrityLine
  report regarding the Respondent, and invited her to participate in a substantive interview. On
  June 18, 2020, Witness 126 was provided with her rights and options as a witness in this matter
  and participated in a substantive interview. On June 18, 2020, Witness 126 was afforded an
  opportunity to review her statement. On June 26, 2020, Witness 126 signed her statement.
                  j.      OIE made outreach to Witness 122, who submitted an IntegrityLine report
  regarding the Respondent, and invited him to participate in a substantive interview. On June 19,
  2020, Witness 122 was provided with his rights and options as a witness in this matter and
  participated in a substantive interview. On June 23, 2020, Witness 122 was afforded an
  opportunity to review his statement. On June 23, 2020, Witness 122 signed his statement.
                  k.      OIE made outreach to Witness 95, who was identified in a class roster,
  and invited her to participate in a substantive interview. On June 18, 2020, Witness 95 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On June 22, 2020 and June 29, 2020, Witness 95 was afforded an opportunity to
  review her statement. Witness 95 did not respond, and her unsigned statement was adopted into
  the record.
                  l.       OIE made outreach to Witness 133, who was identified on a class roster,
  and invited him to participate in a substantive interview. On June 23, 2020, Witness 133 was
  provided with his rights and options as a witness in this matter and participated in a substantive
  interview. On June 24, 2020 and July 13, 2020, Witness 133 was afforded an opportunity to
  review his statement. Witness 133 did not respond, and his unsigned statement was adopted into
  the record.
                  m.      OIE made outreach to Witness 123, who posted comments about the
  Respondent to a Change.org petition, and invited her to participate in a substantive interview.
  OIE made a second outreach to Witness 123 on June 23, 2020. Witness 123 did not respond to
  OIE’s outreach.
                  n.      OIE made outreach to Witness 127, who posted comments about the
  Respondent to a Change.org petition, and invited her to participate in a substantive interview.
  Witness 127 did not respond to OIE’s outreach.
                  o.      OIE made outreach to Witness 108, who contacted the College of
  Sciences, and invited him to participate in a substantive interview. On June 25, 2020, Witness
  108 was provided with his rights and options as a witness in this matter and participated in a
  substantive interview. On July 29, 2020, Witness 108 was afforded an opportunity to review his
  statement. Witness 108 did not respond, and his unsigned statement was adopted into the record.
                  p.      OIE made outreach to Witness 52, who was identified on a class roster,
  and invited her to participate in a substantive interview. On July 14, 2020, Witness 52 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On July 17, 2020, Witness 52 was afforded an opportunity to review her statement.
  Witness 52 did not respond, and her unsigned statement was adopted into the record.


                                                 215
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 455 of 566 PageID 525




                  q.     OIE made outreach to Witness 131, who contacted OIE about the
  Respondent, and invited her to participate in a substantive interview. Witness 131 did not
  respond to OIE’s outreach.
                  r.     OIE made outreach to Witness 78, who was identified on a class roster,
  and invited him to participate in a substantive interview. On this same date, Witness 78 was
  provided with his rights and options as a witness in this matter and participated in a substantive
  interview. On July 14, 2020, Witness 78 was afforded an opportunity to review his statement.
  Witness 78 did not respond, and his unsigned statement was adopted into the record.
                  s.     OIE made outreach to Witness 159, who responded to the Student Google
  Form, and invited her to participate in a substantive interview. On June 18, 2020, Witness 159
  participated in a phone call with OIE but did not have substantive information to contribute to
  this matter. Accordingly, a summary interview statement was not prepared for the record.
                  t.      OIE made outreach to Witness 51, who was identified by another witness
  (Witness 100) as having relevant information. Witness 51 participated in a phone call with OIE
  but did not have detailed information to contribute to this matter at that time. On June 17, 2020,
  OIE followed up with Witness 51, provided with her rights and options as a witness in this
  matter. Witness 51 chose to participate in a substantive interview. On June 20, 2020, Witness
  51 was afforded an opportunity to review her statement. Witness 51 did not respond, and her
  unsigned statement was adopted into the record. On June 30, 2020, OIE made a follow up
  outreach to Witness 51 regarding her Student Google Form submission. OIE made additional
  outreaches to Witness 51 on July 14, 2020 and July 15, 2020, but Witness 51 did not respond.
                  u.      OIE made outreach to Witness 205, who contacted OIE about the
  Respondent, and invited her to participate in a substantive interview. OIE made additional
  outreach on June 19, 2020. Witness 205 did not respond to OIE’s outreach.
                  v.     OIE made outreach to Witness 163, who had contacted ODI about her
  partner’s experience with the Respondent, and invited her to participate in a substantive
  interview. On June 30, 2020, Witness 163 participated in a telephone call with OIE. This
  information was captured in OIE’s phone log and incorporated into the record.

         22.     On June 17, 2020, OIE made outreach to Witness 206, who responded to the
  Student Google Form, and invited her to participate in a substantive interview. On June 30,
  2020, OIE made a second outreach to Witness 206. On June 30, 2020, Witness 206 responded
  and declined to be interviewed.

         23.       On June 18, 2020:
                  a.     OIE made outreach to Witness 93, who had responded to the Student
  Google Form, and invited her to participate in a substantive interview. On June 30, 2020,
  Witness 93 participated in a phone call with OIE but did not have detailed information to
  contribute to this matter.
                  b.     OIE made outreach to Witness 121, who was identified on a class roster,
  and invited him to participate in a substantive interview. That same day, Witness 121 was
  provided with his rights and options as a witness in this matter and participated in a substantive
  interview. On July 20, 2020, Witness 121 was afforded the opportunity to review his statement.
  Witness 121 did not respond, and his unsigned statement was adopted into the record.
                  c.      OIE made outreach to Witness 207, who had responded to the Student
  Google Form, and invited her to participate in a substantive interview. On June 26, 2020, OIE


                                                  216
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 456 of 566 PageID 526




  made additional outreach to Witness 207 via telephone and left a voicemail. Witness 207 did not
  respond to OIE’s outreach.
                 d.      OIE made outreach to Witness 57, who contacted OIE about the
  Respondent. On June 24, 2020, Witness 57 denied witnessing the Respondent engage in
  discrimination against or singling out students and did not have further detailed information to
  provide.

         24.     On June 19, 2020:
                 a.       OIE made outreach to Witness 47, who had provided information
  regarding the Respondent to the JKRT, and invited her to participate in a substantive interview.
  On June 23, 2020, Witness 47 was provided with her rights and options as a witness in this
  matter and participated in a substantive interview. On June 24, 2020, Witness 47 was afforded an
  opportunity to review her statement. Witness 47 affirmed her statement, with minor corrections,
  on June 29, 2020. Witness 47 also provided a copy of White Shaming to OIE for review.
                 b.       OIE made outreach to Witness 183, who was identified on a class roster,
  and invited her to participate in a substantive interview. On June 23, 2020, Witness 183 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On July 23, 2020, Witness 183 was afforded an opportunity to review her statement.
  On July 23, 2020, Witness 183 signed her statement.

         25.      On June 22, 2020:
                  a.      OIE made outreach to Witness 136, who had contacted Human Resources
  regarding the Respondent, and invited her to participate in a substantive interview. On June 22,
  2020, Witness 136 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. Witness 136 had taken Respondent’s class during the
  summer of 2005-06 and did not recall many of the specific statements made by Respondent.
  Accordingly, a summary interview statement was not prepared for the record.
                  b.      OIE made outreach to Witness 48, who was identified on a class roster,
  and invited him to participate in a substantive interview. On June 22, 2020, Witness 48
  participated in a telephone call with OIE. This information was captured in OIE’s phone log and
  incorporated into the record.

      26. On June 24, 2020:
                  a.      OIE made outreach to Witness 83, who submitted an IntegrityLine report
  regarding the Respondent, and invited her to participate in a substantive interview. On June 25,
  2020, Witness 83 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. On June 29, 2020, Witness 83 was afforded an
  opportunity to review her statement. On June 30, 2020, Witness 83 signed her statement.
                  b.      OIE made outreach to Witness 59, who contacted the President regarding
  the Respondent, and invited her to participate in a substantive interview. On June 25, 2020,
  Witness 59 was provided with her rights and options as a witness in this matter. Witness 59
  declined to participate in a substantive interview with OIE but agreed to provide information to
  OIE regarding transcripts of some of Respondent’s class lectures obtained as part of her
  approved accommodations from Student Accessibility Services (SAS). On June 25, 2020, OIE
  obtained and reviewed two SAS transcripts related to the Respondent’s General Psychology
  course, which met on Tuesdays from 6:00 PM to 08:50 PM – namely, the transcripts for classes


                                                 217
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 457 of 566 PageID 527




  held on August 21, 2018 and August 28, 2018. SAS also advised that they did not have the
  transcripts for the remaining classes that semester.
                   c.      OIE made outreach to Witness 42, who had contacted the President
  regarding the Respondent, and invited him to participate in a substantive interview. On June 30,
  2020, OIE made additional outreach to Witness 42. On July 1, 2020, Witness 42 was provided
  with his rights and options as a witness in this matter and participated in a substantive interview.
  On July 1, 2020, Witness 42 was afforded an opportunity to review his statement. On July 7,
  2020, Witness 42 signed his statement.
                   d.      OIE made outreach to Witness 128, who had contacted the Provost
  regarding the Respondent, and invited her to participate in a substantive interview. OIE made a
  second outreach on June 30, 2020. Witness 128 did not respond to OIE’s outreaches.
                   e.      OIE made outreach to Witness 149, who had contacted the College of
  Sciences, and invited her to participate in a substantive interview. OIE made a second outreach
  on June 30, 2020. Witness 149 did not respond to OIE’s outreaches until November 18, 2020.
  On November 30, December 1 and 2, 2020, OIE invited Witness 149 to participate in a
  substantive interview and thereafter did not hear further from Witness 149 regarding her
  participation in a substantive interview.
                   f.      OIE made outreach to Witness 208, who had contacted ODI, and invited
  her to participate in a substantive interview. OIE made additional outreach on June 29, 2020.
  Witness 208 did not respond to OIE’s outreaches.
                   g.      OIE made outreach to Witness 4, who had contacted the President,
  Provost and College of Sciences regarding the Respondent, and invited him to participate in a
  substantive interview. On June 26, 2020, Witness 4 participated in a telephone call with OIE.
  This information was captured in OIE’s phone log and incorporated into the record.
                   h.      OIE made outreach to Witness 76, who submitted an IntegrityLine report
  regarding the Respondent, and invited her to participate in a substantive interview. On July
  1010, Witness 76 participated in a telephone call with OIE. This information was captured in
  OIE’s phone log and incorporated into the record.

          27.    Between June 24, 2020 and July 6, 2020, OIE made outreach to ten (10) students
  in the Respondent’s Summer 2019 Cross-Cultural Psychology Class to request information about
  their experience in the course. Four (4) students responded to OIE’s outreach and each provided
  detailed information about their experience that is summarized in a witness statement or phone
  log (see Witness 5, Witness 104, Witness 110, and Witness 125 Witness Statements or OIE
  Phone Logs) 41.

          28.     Between June 25, 2020 and July 1, 2020, OIE contacted thirty-four (34) students
  in the Respondent’s 2019 Fall Cross Cultural Psychology course to request information about
  their experience in the course. Nineteen (19) students responded to OIE’s outreach. Of the 19
  students, four (4) declined to participate, five (5) indicated that they had a negative experience
  but did not have detailed information to provide, and ten (10) indicated that they did not have
  any concerns with how the course was conducted but did not have detailed information to
  provide.


  41
    Witness 110 was contacted by OIE as part of OIE’s outreach to prior GTAs, as well as having been enrolled in the
  2019 Summer Cross Cultural Psychology course.

                                                         218
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 458 of 566 PageID 528




         29.    On June 25, 2020, OIE made outreach to Witness 70, who had responded to the
  Student Google Form, and invited her to participate in a substantive interview. OIE made a
  second outreach on June 30, 2020 and a third outreach on July 2, 2020. Witness 70 did not
  respond to OIE’s outreach.

         30.     On June 26, 2020:
                 a.     OIE made outreach to Witness 44, who had submitted an email to
  PsychologyFeedback@ucf.edu about the Respondent, and invited her to participate in a
  substantive interview. OIE made a second outreach on June 30, 2020 and a third outreach on
  July 2, 2020. Witness 44 responded and declined to be interviewed.
                 b.     OIE attempted to make outreach to Witness 209, who had responded to
  the Student Google Form. However, OIE was unable to locate a working phone number or email
  address to make contact.

         31.      On June 29, 2020:
                  a.      OIE made outreach to Witness 34, whose experience was referenced in an
  anonymous IntegrityLine report, and invited her to participate in a substantive interview. On July
  2, 2020, Witness 34 was provided with her rights and options as a witness in this matter and
  participated in a substantive interview. Witness 34 was provided with her statement for review
  on the same day. On July 10, 2020, Witness 34 affirmed her statement via email and provided a
  timeline of events regarding her interactions with the Respondent and other UCF offices.
                  b.      OIE made outreach to Witness 35. Witness 35 did not respond to OIE’s
  outreach.

         32.     On June 30, 2020:
                 a.       OIE made outreach to Witness 146, who had contacted the President
  regarding the Respondent, and invited her to participate in a substantive interview. OIE made
  additional outreaches to Witness 146 on July 2, 2020 and July 8, 2020. Witness 146 did not
  respond to OIE’s outreach.
                 b.       OIE made outreach to Witness 69, who had contacted ODI and the
  President’s Office regarding the Respondent, and invited her to participate in a substantive
  interview. On July 2, 2020, OIE made a second outreach to Witness 69. On July 9, 2020,
  Witness 69 was provided with her rights and options as a witness in this matter and participated
  in a substantive interview. On July 11, 2020, Witness 69 was afforded an opportunity to review
  her statement. Witness 69 submitted clarifications to the statement on July 17, 2020, which have
  been adopted into the record.
                 c.       OIE made outreach to Witness 18, who had responded to the Student
  Google Form, and invited her to participate in a substantive interview. On July 2, 2020, OIE
  made second outreach to Witness 18. That same day, Witness 18 was provided with her rights
  and options as a witness in this matter and participated in a substantive interview. On July 11,
  2020, Witness 18 was afforded an opportunity to review her statement. Witness 18 did not
  respond, and her unsigned statement was adopted into the record.
                 d.       OIE made outreach to Witness 210, who had responded to the Student
  Google Form, and invited her to participate in a substantive interview. Witness 210 declined to
  be interviewed.



                                                 219
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 459 of 566 PageID 529




                 e.      OIE made outreach to Witness 77, who had responded to the Student
  Google Form, and invited her to participate in a substantive interview. OIE made additional
  outreaches on July 2, 2020 and July 8, 2020. Witness 77 did not respond to OIE’s outreach.
                 f.      OIE made outreach to Witness 211, who submitted an IntegrityLine report
  regarding the Respondent, and invited her to participate in a substantive interview. OIE made
  additional outreaches on July 2, 2020 and July 8, 2020. Witness 211 did not respond to OIE’s
  outreach.
                 g.      OIE made outreach to Witness 212, who had contacted the President
  regarding the Respondent, and invited him to participate in a substantive interview. OIE made a
  second outreach to Witness 212 on July 2, 2020. Witness 212 did not respond to OIE’s outreach.

         33.      On July 2, 2020:
                  a.      OIE made outreach to Witness 40, who had been identified on a class
  roster, and invited him to participate in a substantive interview. On July 8, 2020, Witness 40 was
  provided with his rights and options as a witness in this matter and participated in a substantive
  interview. Witness 40 took Respondent’s class during the spring of 2018 and did not recall
  many of the specific statements made by Respondent. This information was captured in OIE’s
  phone log and incorporated into the record.
                  b.      OIE made outreach to Witness 169, who had been identified on a class
  roster, and invited her to participate in an interview. On July 8, 2020, Witness 169 was provided
  with her rights and options as a witness in this matter and participated in a substantive interview.
  On July 17, 2020, Witness 169 was afforded the opportunity to review her statement. Witness
  169 did not respond, and her unsigned statement was adopted into the record.
                  c.      OIE made outreach to Witness 98, who had been identified on a class
  roster, and invited her to participate in a substantive interview. On July 7, 2020, Witness 98 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On July 24, 2020, Witness 98 was afforded an opportunity to review her statement.
  Witness 98 did not respond, and her unsigned statement was adopted into the record.
                  d.      OIE made outreach to Witness 160, who had been identified on a class
  roster, and invited him to participate in a substantive interview. On July 8-9, 2020, Witness 160
  participated in telephone calls with OIE. This information was captured in OIE’s phone log and
  incorporated into the record.

          34.     Between July 2 and July 10, 2020, OIE contacted 36 students in Respondent’s
  2018 Spring General Psychology course to request information about their experience in the
  course. Twenty (20) students responded to OIE’s outreach. Of the twenty (20) individuals that
  responded, one (1) could not recall their experience in the class, thirteen (13) indicated they did
  not have any concerns with how the course was conducted but did not have detailed information
  to provide, three (3) provided detailed information about their experience that is summarized in a
  witness statement (see Witness 169 Interview Summary, Witness 40 and Witness 160 Phone Log
  Summaries), and three (3) indicated that they had a negative experience in the course but could
  not provide detailed information.

         35.   On July 6, 2020:
               a.       OIE made outreach to Witness 41, who was identified as a prior GTA for
  the Respondent, and invited him to participate in a substantive interview. Witness 41


                                                  220
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 460 of 566 PageID 530




  participated in a telephone call with OIE on July 14, 2020. This information was captured in
  OIE’s phone log and incorporated into the record.
                  b.      OIE made outreach to Witness 213, who was identified on a class roster,
  and invited her to participate in a substantive interview. OIE made additional outreach to
  Witness 213 on July 9, 2020. Witness 213 did not respond to OIE’s outreach.
                  c.      OIE made outreach to Witness 72, who was identified on a class roster,
  and invited her to participate in a substantive interview. On July 14, 2020, OIE made additional
  outreach to Witness 72. Witness 72 did not respond to OIE’s outreach.
                  d.      OIE made outreach to Witness 5, who was identified on a class roster, and
  invited her to participate in a substantive interview, which was initially scheduled for July 14,
  2020 but had to be postponed. On September 8, 2020, Witness 5 participated in a telephone call
  with OIE. This information was captured in OIE’s phone log and incorporated into the record.
                  e.      OIE made outreach to Witness 125, who was identified on a class roster,
  and invited her to participate in a substantive interview. On July 10, 2020, OIE made additional
  outreach to Witness 125. On July 28, 2020, Witness 125 was provided with her rights and
  options as a witness in this matter and participated in a substantive interview. On August 14,
  2020, Witness 125 was afforded an opportunity to review her statement, and she provided
  corrections and clarifications. On September 2, 2020, Witness 125 was afforded an opportunity
  to review a revised witness statement, and she provided additional clarifications. On September
  14, 2020, Witness 125 was afforded an opportunity to review a second revised witness statement.
  On September 14, 2020, Witness 125 signed her statement.
                  f.      OIE made outreach to Witness 116, who was identified on a class roster,
  and invited her to participate in a substantive interview. On July 9, 2020, Witness 116 was
  provided with her rights and options as a witness in this matter and participated in a substantive
  interview. On August 13, 2020, Witness 116 was afforded an opportunity to review her
  statement. On October 28, 2020, Witness 116 signed her statement.
                  g.      OIE made outreach to Witness 104, who was identified on a class roster,
  and invited her to participate in a substantive interview. On July 13, 2020, Witness 104 was
  provided with here rights and options as a witness in this matter and participated in a substantive
  interview. On August 13, 2020, Witness 104 was afforded an opportunity to review her
  statement. On August 17, 2020, Witness 104 signed her statement.

          36.    Between July 6, 2020 to July 15, 2020, OIE contacted 31 students in the
  Respondent’s 2019 Spring General Psychology class to request information about their
  experience in the course. Of the eight (8) students that responded to OIE’s outreach, two (2) had
  no information to share, one (1) student responded positively about her experience, and five (5)
  indicated having a negative experience. Of the six students that recalled their experience, most
  could not provide detailed information.

           37.    On July 7, 2020, OIE made outreach to Witness 55, who was identified on a class
  roster, and invited him to participate in an interview. Witness 55 was provided with his rights
  and options as a witness in this matter and participated in a substantive interview. On July 20,
  2020, Witness 55 was afforded the opportunity to review his statement. Witness 55 did not
  respond, and his unsigned statement was adopted into the record.




                                                 221
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 461 of 566 PageID 531




          38.    Between July 7 and July 22, 2020, OIE transcribed three (3) recordings of lectures
  that Respondent gave during the summer of 2019 while teaching in Peru (lectures 3, 4, and 5).
  During this time, OIE transcribed three (3) recordings of lectures that Respondent gave during
  his online Spring 2020 course (lecture regarding Arab and Muslim Americans, parts 1, 2, and 3).

         39.     On July 8, 2020, OIE made outreach to Witness 97, who had contacted the
  College of Sciences, and invited her to participate in a substantive interview. On July 14, 2020,
  OIE made a second outreach. On August 7, 2020, Witness 97 was provided with her rights and
  options as a witness in this matter and participated in a substantive interview. On August 11,
  2020, Witness 97 was afforded an opportunity to review her statement. Rather than sign her
  statement, Witness 97 submitted an addendum to her statement to be incorporated into the
  record. Her unsigned statement and addendum were adopted into the record.

          40.      Between July 9 and July 15, 2020, OIE made outreach to 18 students in
  Respondent’s 2020 Spring Personality Theory & Research course to request information about
  their experience in the course. Thirteen (13) students responded to OIE’s outreach. Of the
  thirteen (13) individuals, twelve (12) indicated that they did not have any concerns with how the
  course was conducted, and one (1) indicated that they had a negative experience. The
  individuals did not have detailed information to provide.

         41.      On July 10, 2020, OIE made outreach to Witness 214, who had contacted the
  President regarding the Respondent, and invited him to participate in a substantive interview.
  OIE made additional outreach to Witness 214 on July 13, 2020. Witness 214 did not respond to
  OIE’s outreach.

          42.     On July 13, 2020, OIE obtained a series of messages posted by Witness 100 on
  Twitter. This thread included additional documentation regarding the Respondent’s syllabus,
  textbook requirement, and comparisons between the Respondent’s assertions on Twitter and in
  his textbook with other data points.

         43.     On July 14, 2020:
                 a.     OIE made outreach to Witness 113, who had contacted the Provost
  regarding the Respondent, and invited him to participate in a substantive interview. On July 20,
  2020, OIE made a second outreach to Witness 113. On August 6, 2020, Witness 113 was
  provided with his rights and options as a witness in this matter and participated in a substantive
  interview. On August 7, 2020, Witness 113 was afforded an opportunity to review his statement.
  On August 11, 2020, Witness 113 signed his statement.
                 b.     OIE made outreach to Witness 148, who had contacted the Board of
  Trustees regarding the Respondent, and invited him to participate in a substantive interview. On
  July 20, 200, OIE made a second outreach to Witness 148. Witness 148 did not respond to
  OIE’s outreach.
                 c.     OIE made outreach to Witness 61 and Witness 74, who had contacted the
  President regarding the Respondent, and invited them to participate in a substantive interview.
  On July 14, 2020, Witness 74 requested dates to schedule an interview. On July 15, 2020, OIE
  provided dates to schedule but did not receive a response. On July 20, 2020, OIE emailed
  Witness 74 again but did not receive a response. On July 20, 2020, Witness 61 scheduled an

                                                 222
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 462 of 566 PageID 532




  interview for July 28, 2020. On July 28, 2020, Witness 61 was provided with her rights and
  options as a witness in this matter and participated in a substantive interview. That same day,
  Witness 61 was afforded the opportunity to review her statement. Witness 61 did not respond,
  and her unsigned statement was adopted into the record.

          44.     Between July 15 and July 31, 2020, OIE transcribed five (5) recordings of
  lectures that Respondent gave during the summer of 2019 while teaching in Peru (lectures 6, 7,
  8, 12, and 13).

          45.     Between July 16, 2020 and July 22, 2020, OIE contacted 21students in
  Respondent’s 2018 Fall Sexual Behavior Class to request information about their experience in
  the course. Eleven (11) students responded to OIE’s outreach. Of the eleven (11) individuals,
  nine (9) indicated that they did not have any concerns with how the course was conducted and
  two (2) indicated that they had a negative experience in the course. However, detailed
  information could not be provided.

          46.     Between July 16, 2020 and July 22, 2020, OIE contacted 23 students from
  Respondent’s 2019 Fall Sexual Behavior course to request information about their experience in
  the course. Eleven (11) students responded to OIE’s outreach. Of the eleven (11) individuals,
  nine (9) indicated that they did not have any concerns with how the course and two (2) indicated
  that they had a negative experience in the course. However, detailed information could not be
  provided.

          47.     On July 16, 2020, OIE made outreach to Witness 79, who responded to the
  Student Google Form, and invited him to participate in a substantive interview. On August 13,
  2020, Witness 79 was provided with his rights and options as a witness in this matter and
  participated in a substantive interview. On August 13, 2020, Witness 79 was afforded an
  opportunity to review his statement. Witness 79 did not respond, and his unsigned statement was
  adopted into the record.

         48.     On July 17, 2020, OIE issued a Notice of Investigation to the Respondent.

          49.     On July 20, 2020, OIE made outreach to Witness 119, who had contacted OIE
  about the Respondent, and invited him to participate in a substantive interview. On July 23,
  2020, Witness 119 was provided with his rights and options as a witness in this matter and
  participated in a substantive interviewed. On July 27, 2020, Witness 119 was afforded an
  opportunity to review his statement. Witness 119 provided OIE with a signed statement on
  August 12, 2020.

          50.     On July 21, 2020, OIE made outreach to Witness 81, who was identified on a
  class roster, and invited her to participate in a substantive interview. That same day, Witness 81
  was provided with her rights and options as a witness in this matter, participated in a substantive
  interview, and was afforded the opportunity to review her statement. On July 23, 2020, Witness
  81 provided OIE with clarifications which were adopted into the record.




                                                  223
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 463 of 566 PageID 533




          51.     Between July 22 and August 11, 2020, OIE transcribed four (4) recordings of
  lectures that Respondent gave during Cross Cultural Psychology in 2019 (lectures 5, 8, 15, 16).

          52.     Between July 22 and August 11, 2020, OIE transcribed three (3) recordings of
  lectures that Respondent gave during the summer of 2019 while teaching in Peru (lectures 9, 10,
  and 11).

          53.     On July 23, 2020, Witness 105, who had contacted OIE about the Respondent,
  and invited him to participate in a substantive interview. That same day, Witness 105 was
  provided with his rights and options as a witness in this matter, participated in a substantive
  interview, was afforded the opportunity to review his statement, and subsequently provided a
  signed edited statement to OIE.

          54.     On July 27, 2020 OIE contacted eighteen (18) students in the Respondent’s 2019
  Spring Sexual Behavior course to request information about their experience in the course. Of
  the ten (10) students that responded, nine (9) recalled generalized experiences of the Respondent
  being dismissive of students and stating that he was tenured. The remaining student reported a
  positive experience but could understand how others might have been impacted.

          55.    Between July 31, 2020 and August 4, 2020, OIE contacted 40 students in the
  Respondent’s 2018 Fall Cross Cultural Psychology course to request information about their
  experience in the course. Thirteen (13) students responded to OIE’s outreach. Of the 13
  individuals, one (1) student declined to participate, two (2) students tentatively scheduled to
  speak with OIE but were unresponsive to OIE’s subsequent follow-up outreach efforts, two (2)
  students indicated that they did not have any concerns with how the course was conducted but
  did not have detailed information to provide, four (4) students indicated they had concerns but
  did not have detailed information to provide, and four (4) provided detailed information about
  their experience that is summarized in witness statements (see statements summaries of Witness
  215, Witness 216, Witness 80, Witness 167).

         56.     On July 31, 2020:
                 a.       OIE made outreach to Witness 80, who was identified on a class roster,
  and invited him to participate in a substantive interview. On August 3, 2020, Witness 80 was
  provided with his rights and options as a witness in this matter and participated in a substantive
  interview. On August 4, 2020, Witness 80 was afforded an opportunity to review his statement.
  Witness 80 did not respond, and his unsigned statement was adopted into the record.
                 b.       OIE made outreach to Witness 216, who was identified in a class roster,
  and invited him to participate in a substantive interview. On August 3, 2020, Witness 216 was
  provided with his rights and options as a witness in this matter and participated in a substantive
  interview. On August 4, 2020, Witness 216 was afforded an opportunity to review his statement.
  On August 6, 2020, Witness 216 signed his statement.
                 c.       OIE made outreach to Witness 167, who was identified on a class roster,
  and invited her to participate in a substantive interview. On August 4, 2020, OIE made
  additional outreach to Witness 167. On August 13, 2020, Witness 167 was provided with her
  rights and options as a witness in this matter and participated in a substantive interview. On


                                                 224
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 464 of 566 PageID 534




  August 14, 2020, Witness 167 was afforded an opportunity to review her statement. On August
  17, 2020, Witness 167 sent a response via email affirming her statement.
                  d.     OIE made outreach to Witness 215, who had been identified on a class
  roster, and invited him to participate in a substantive interview. On August 3, 2020, OIE made
  additional outreach to Witness 215. On August 13, 2020, Witness 215 was provided with his
  rights and options as a witness in this matter and participated in a substantive interview. On
  August 18, 2020, Witness 215 was afforded an opportunity to review his statement. Witness 215
  did not respond, and his unsigned statement was adopted into the record.

         57.      Between July 31, 2020 and August 6, 2020, OIE contacted 28 students in the
  Respondent’s 2019 Summer Sexual Behavior course to request information about their
  experience in the course. Thirteen (13) students responded to OIE’s outreach. Of the 13
  individuals, two (2) students tentatively scheduled to speak with OIE but were unresponsive to
  OIE’s subsequent follow-up outreach efforts, six (6) students indicated that they did not have any
  concerns with how the course was conducted but did not have detailed information to provide,
  two (2) students indicated they had concerns but did not have detailed information to provide,
  and three (3) students could not recall their experiences in the class.

          58.     On August 5, 2020, OIE made outreach to Witness 106, who was identified on a
  class roster, and invited her to participate in a substantive interview. On August 12, 2020,
  Witness 106 was provided with her rights and options as a witness in this matter and participated
  in a substantive interview. On August 14, 2020, Witness 106 was afforded an opportunity to
  review her statement. On August 14, 2020, Witness 106 signed her statement.

         59.      On August 21, 2020, OIE made outreach to Witness 154. On August 25, 2020,
  OIE invited Witness 154 to participate in a substantive interview. Witness 154 was provided
  with his rights and options as a witness in this matter and participated in a substantive interview.
  That same day, Witness 154 was afforded the opportunity to review his statement. On
  September 15, 2020, Witness 154 supplemented and signed his statement.

          60.    Throughout September through December, 2020, OIE continued its review of the
  evidence in the record, including but not limited to the review of multiple class recordings
  totaling approximately 37 hours (2018 General Psychology classes on September 4 & 18, 2018,
  October 9 & 23, 2018, and November 6, 13 & 27, 2018, Indentured Slaves recording, Arabid
  Diaspora recording, 2019 Peru recordings) and verification of witnesses’ enrollment in the
  Respondent’s courses, as well as OIE’s preparation of the lengthy OIE Investigation Report and
  assembly of its related Appendix materials.

          61.    On December 7, 2020, OIE made outreach to Witness 151. On December 8,
  2020, OIE invited Witness 151 to participate in a substantive interview, was provided with his
  rights and options as a witness in this matter, and participated in a substantive interview. On
  December 15, 2020, Witness 151 signed his statement.

          62.     On December 7, 2020, OIE contacted Faculty Excellence to determine whether
  UCF maintained any records related to the identities of the presenters or attendees at new faculty
  orientation in 2006 and 2007. On that same date, OIE contacted Student Accessibility Services

                                                  225
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 465 of 566 PageID 535




  and requested a copy of any records pertaining to implementation of accommodations for
  Witness 82 in the Respondent’s 2014 course. On December 8, 2020, Faculty Excellence and
  SAS responded to OIE’s requests and provided relevant information.

        63.     On December 13, 2020, OIE requested three documents from CDL related to the
  Respondent’s courses – namely, two course syllabi and one extra-credit questionnaire. The
  documentation was provided to OIE the next day.

          64.    On December 14, 2020, OIE made outreach to Witness 217, Witness 218, and
  Witness 219, who were identified by Witness 158 as possibly having relevant information, and
  invited them to participate in a substantive interview. Witness 218 agreed to participate. On
  December 16, 2020, Witness 218 was provided with her rights and options as a witness in this
  matter, and participated in a substantive interview. That same day, Witness 218 was afforded the
  opportunity to review her statement and subsequently signed her statement. On December 15,
  2020, Witness 217 declined to participate in a substantive interview with OIE. Witness 219 did
  not respond to OIE’s outreach.

         65.     On December 16, 2020, OIE made outreach to Witness 171, who was identified
  by Witness 151 as possibly having relevant information and invited him to participate in a
  substantive interview. Witness 171 agreed to participate. On December 18, 2020, Witness 171
  was provided with his rights and options as a witness in this matter, and participated in a
  substantive interview. That same day, Witness 171 was afforded the opportunity to review his
  statement and did not respond prior to issuance of this report. Accordingly, his unsigned
  statement was adopted into the record.




                                                226
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 466 of 566 PageID 536




            ATTACHMENT
                 B
                          OIE GRADE
                     ANALYSIS MEMORANDUM




                                       227
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 467 of 566 PageID 537




  Office of Institutional Equity
  12701 Scholarship Drive, Suite 101
  Orlando, FL 32816-0030


                                               MEMORANDUM
  To:           Nancy Myers, Director, Office of Institutional Equity

  From:         OIE EEO Investigator

  Date:         August 12, 2020

  Re:      OIE File No. 2019-01225 – Grade Analysis
  _________________________________________________________________

  I.         Summary

  To determine whether there was an indication that student grades in the Respondent’s classes were
  impacted by their membership in certain protected classifications, 42 I reviewed and analyzed the
  grades of 1,814 students in 12 different classes taught by the Respondent during four different
  semesters. I also interviewed 11 Graduate Teaching Assistants (GTA) for the Respondent, with at
  least one GTA from each class taught by the Respondent during the last 5 semesters during which
  he used a GTA.

  Based on this analysis of student grades and the GTA interviews, I find that there is insufficient
  evidence to indicate that student grades in the Respondent’s classes were impacted by their sex or
  race (separately or in combination).

  II.        Methodology

  My grade analysis was based on records provided by the Registrar’s Office containing the name,
  sex, race, and final grade of each student in the following classes taught by the Respondent:

        1.   Cross-Cultural Psychology: Spring 2018, Fall 2018, Fall 2019, Spring 2020
        2.   Sexual Behavior: Spring 2018, Fall 2018, Fall 2019, Spring 2020
        3.   General Psychology: Spring 2018, Fall 2018
        4.   Personality Theory and Research: Fall 2019, Spring 2020


  42
    Although UCF’s policies prohibit discrimination based on a wide variety of protected classifications, the University
  does not actively track student membership in most of those classifications, such as religion, non-religion, gender
  identity or expression, sexual orientation, etc. Accordingly, my analysis was focused on sex and race (separately and
  in combination), which are classifications regularly maintained in the University’s records.

                                                           228
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 468 of 566 PageID 538




  In addition, for each student who received a failing grade in or withdrew from the Respondent’s
  class, I reviewed the grades/withdrawal status for that student for all other classes during the same
  semester that they received a failing grade in or withdrew from the Respondent’s class. Similarly,
  I spot checked the overall semester performance for other students where I believed it would be
  helpful to my understanding of the issues.

  The GTAs were asked to describe their duties, including their participation in the grading process.
  The GTAs provided a consistent description of a grading process where the Respondent took no
  active role. According to these interviews, student grades were based on a set number of exams
  (usually 4) plus an optional extra credit assignment. According to the interviews, students in each
  class took their exams on scantrons, with no free response section. At the end of the exam, the
  GTA would either take the scantrons from the classroom or pick them up in the Respondent’s
  office, run them through the grading machine, and enter the grades in Webcourses. The extra
  credit assignment for each class was to prepare a three-page paper on any topic related to the
  course, so long as it was based on research material outside of the required class material.
  According to the interviews, the Respondent instructed the GTAs to provide full credit to any
  student who completed the assignment, without concern for the quality of the content. Several
  GTAs described being instructed by the Respondent to provide one extra credit point per page
  completed, up to three extra credit points.

  III.     Key Data Points and Limitations

               a. Analysis based on student sex

  Total students: 1814
          - female students: 1183 (65.2%)
          - male students:   631 (34.8%)

  Students withdrawing: 43 111
         - female students: 74 (66.6%)
         - male students:      37 (33.3%)

  Total number of A grades: 384
         - female students: 274 (71.4%)
         - male students: 110 (28.6%)

  Total number of F grades: 96 44
         - female students: 61 (63.6%)

  43
    The data reviewed included information on students being marked as withdrawing from the class, but it did not
  include students who left the class during the add/drop period.

  44
     72 of the 96 students receiving a grade of F in [the Respondent’s] class received multiple grades of F, U, NC, W, or
  D in that same semester. The remaining 24 students were well-distributed in terms of sex and race. I therefore
  concluded that receiving an F in [the Respondent’s] class was a better indicator that the student experienced academic
  distress during that semester than it was an indicator of whether disparate treatment occurred. Accordingly, grades of
  F were not included when analyzing GPA performance based on sex and race (separately or in combination).


                                                           229
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 469 of 566 PageID 539




          - male students: 35 (36.5%)
  With regard to GPA, female students received incrementally higher grades (on average 0.32 grade
  points) in 11 of the 12 classes analyzed, with the greatest differential being 0.6 grade points in
  Sexual Behavior Spring 2020. See chart below for additional details.


                                                       GPA by sex
    4

   3.5

    3

   2.5

    2

   1.5

    1

   0.5

    0
         CC - SP18 GP - SP18 SB - SP18 CC - F18 GP - F18 SB - F18 CC - F19 SB - F19 PT - F19 CC - SP20 SB - SP20 PT - SP20

                                     Class average         Female average          Male average



               b. Analysis based on student race

  The overall distribution of grades by race showed fluid change between classes, with no clear
  patterns emerging suggestive of differential treatment based on race.

  Several different race populations had an insufficient number of students in a given class to enable
  meaningful or statistically significant comparison. For example, there was never more than 1
  Native American/Pacific Islander in a class and there was an average of 1.67 students who did not
  specify a race. Accordingly, those two populations are not represented in the chart below. Further,
  with regard to the students who identified as Asian or Multi-Racial and received a grade, there
  were five or fewer members of that group in a majority of the classes analyzed.

  It was noted that Black/African American students, as a group, scored slightly lower than White
  students, as a group, in every class that was analyzed, but given the small number of Black/African
  American students in many classes, the differential could not be determined to be statistically
  significant. It was also noted that in many classes, the percentage of Black/African American
  students receiving an A was equivalent to the percentage of White students receiving an A. For
  example, in Cross Cultural Psychology Fall 2018, 22.7% of Black/African American students
  received an A while 22.4% of White students did, and in General Psychology Fall 2018 24.2% of
  Black/African American students received an A while 24.5% of White students did.




                                                            230
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 470 of 566 PageID 540




                                                        GPA by race
   4.5
    4
   3.5
    3
   2.5
    2
   1.5
    1
   0.5
    0
         CC - SP18 GP - SP18 SB - SP18 CC - F18 GP - F18 SB - F18 CC - F19 SB - F19 PT - F19 CC - SP20 SB - SP20 PT - SP20

                          Asian           Black/AA        Hispanic/Latino         Multi-Racial           White



                c. Analysis based on student sex and race

  The overall distribution of grades by sex and race also showed fluid change between classes, with
  no clear patterns emerging suggestive of differential treatment based on sex and race. The small
  number of students in particular groups discussed above with respect to race was magnified when
  further analyzing groups by combining sex and race. In many classes, there were only 1-3
  members of a given sex/race group, and in several instances, there was not a single member of a
  particular sex/race group. For example, there were no students who identified as Asian males who
  received a grade in Sexual Behavior in three of the four semesters examined.


                                                 GPA by sex and race
   4.5
    4
   3.5
    3
   2.5
    2
   1.5
    1
   0.5
    0
         CC - SP18 GP - SP18 SB - SP18 CC - F18 GP - F18 SB - F18 CC - F19 SB - F19 PT - F19 CC - SP20 SB - SP20 PT - SP20

                      Asian F                 Asian M                Black/AA F                  Black/AA M
                      Hispanic/Latino F       Hispanic/Latino M      Multi-Racial F              Multi-Racial M
                      White F                 White M


                                                             231
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 471 of 566 PageID 541




  IV.    Conclusion


  For the reasons discussed above, I find that there is insufficient evidence to indicate that student
  grades in the Respondent’s classes were impacted by their sex or race (separately or in
  combination).




                                                  232
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 472 of 566 PageID 542




            ATTACHMENT
                 C
              APPENDIX: DOCUMENTS REVIEWED
                 DURING OIE INVESTIGATION




                                       233
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 473 of 566 PageID 543




                   APPENDIX: MATERIALLY RELEVANT DOCUMENTS

         Numerous documents were submitted by the witnesses and Respondent, as well as
  gathered by OIE, during this investigation. OIE is limiting this list to those documents that were
  materially relevant to the allegations involved.

  Witness/Party Statements:
     1. June 4, 2020, OIE Interview Statement of Witness 115
     2. June 8, 2020, OIE Interview Statement of Witness 66
     3. June 8, 2020, OIE Interview Statement of Witness 233
     4. June 8, 2020, OIE Interview Statement of Witness 14
     5. June 8, 2020, OIE Interview Statement of Witness 71
     6. June 8, 2020, OIE Interview Statement of Witness 39
     7. June 9, 2020, OIE Interview Statement of Witness 164
     8. June 9, 2020, OIE Interview Statement of Witness 137
     9. June 9, 2020, OIE Interview Statement of Witness 144
     10. June 9, 2020, OIE Interview Statement of Witness 49
     11. June 9, 2020, OIE Interview Statement & Addendum of Witness 170
     12. June 9, 2020, OIE Interview Statement of Witness 84
     13. June 9, 2020, OIE Interview Statement of Witness 101
     14. June 10, 2020, OIE Interview Statement of Witness 45
     15. June 10, 2020, OIE Interview Statement of Witness 88
     16. June 10, 2020, OIE Interview Statement of Witness 150
     17. June 10, 2020, OIE Interview Statement of Witness 82
     18. June 10, 2020, OIE Interview Statement of Witness 54
     19. June 10, 2020, OIE Interview Statement of Witness 111
     20. June 10, 2020, OIE Interview Statement of Witness 132
     21. June 10, 2020, OIE Interview Statement of Witness 109
     22. June 10, 2020, OIE Interview Statement of Witness 187
     23. June 11, 2020, OIE Interview Statement of Witness 178
     24. June 11, 2020, OIE Interview Statement of Witness 58
     25. June 11, 2020, OIE Interview Statement of Witness 176
     26. June 11, 2020, OIE Interview Statement of Witness 92
     27. June 11, 2020, OIE Interview Statement of Witness 134
     28. June 11, 2020, OIE Interview Statement of Witness 140
     29. June 11, 2020, OIE Interview Statement of Witness 196
     30. June 12, 2020, OIE Interview Statement of Witness 162
     31. June 12, 2020, OIE Interview Statement of Witness 168
     32. June 12, 2020, OIE Interview Statement of Witness 129
     33. June 12, 2020, OIE Interview Statement of Witness 138
     34. June 12, 2020, OIE Interview Statement of Witness 75
     35. June 12, 2020, OIE Interview Statement of Witness 145
     36. June 15, 2020, OIE Interview Statement of Witness 46
     37. June 15, 2020, OIE Interview Statement of Witness 53 & Witness 100
     38. June 15, 2020, OIE Interview Statement of Witness 37
     39. June 15, 2020, OIE Interview Statement of Witness 87


                                                  234
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 474 of 566 PageID 544




       40. June 16, 2020, OIE Interview Statement of Witness 117
       41. June 16, 2020, OIE Interview Statement of Witness 86
       42. June 16, 2020, OIE Interview Statement of Witness 85
       43. June 17, 2020 OIE Interview Statement of Witness 62
       44. June 17, 2020, OIE Interview Statement of Witness 63
       45. June 17, 2020, OIE Interview Statement of Witness 158
       46. June 17, 2020, OIE Interview Statement of Witness 43
       47. June 18, 2020, OIE Interview Statement of Witness 54
       48. June 18, 2020, OIE Interview Statement of Witness 95
       49. June 18, 2020, OIE Interview Statement of Witness 9
       50. June 18, 2020, OIE Interview Statement of Witness 73
       51. June 18, 2020, OIE Interview Statement of Witness 91
       52. June 18, 2020, OIE Interview Statement of Witness 107
       53. June 18, 2020, OIE Interview Statement of Witness 120
       54. June 18, 2020, OIE Interview Statement of Witness 126
       55. June 18, 2020, OIE Interview Statement of Witness 121 45
       56. June 19, 2020, OIE Interview Statement of Witness 56
       57. June 19, 2020, OIE Interview Statement of Witness 122
       58. June 22, 2020, OIE Interview Statement of Witness 201
       59. June 23, 2020, OIE Interview Statement of Witness 133
       60. June 23, 2020, OIE Interview Statement of Witness 64
       61. June 23, 2020, OIE Interview Statement of Witness 47
       62. June 23, 2020, OIE Interview Statement of Witness 183
       63. June 25, 2020, OIE Interview Statement of Witness 83
       64. June 25, 2020, OIE Interview Statement of Witness 108
       65. July 1, 2020, OIE Interview Statement of Witness 42
       66. July 2, 2020, OIE Interview Statement of Witness 34
       67. July 2, 2020, OIE Interview Statement of Witness 18
       68. July 7, 2020, OIE Interview Statement of Witness 55
       69. July 7, 2020, OIE Interview Statement of Witness 98
       70. July 8, 2020, OIE Interview Statement of Witness 169
       71. July 9, 2020, OIE Interview Statement of Witness 69 & July 17, 2020 Addendum
       72. July 9, 2020, OIE Interview Statement of Witness 116
       73. July 13, 2020, OIE Interview Statement of Witness 104
       74. July 14, 2020, OIE Interview Statement of Witness 52
       75. July 17, 2020, OIE Interview Statement of Witness 51
       76. July 21, 2020, OIE Interview Statement of Witness 81 & Addendum
       77. July 23, 2020, OIE Interview Statement of Witness 119
       78. July 23, 2020, OIE Interview Statement of Witness 105
       79. July 28, 2020, OIE Interview Statement of Witness 125
       80. July 28, 2020, OIE Interview Statement of Witness 61
       81. August 3, 2020, OIE Interview Statement of Witness 80
       82. August 6, 2020, OIE Interview Statement of Witness 113
       83. August 6, 2020, OIE Interview Statement of Witness 216

  45
    This statement was inadvertently titled “Witness Statement of Witness 55” but captured the information provided
  by Witness 121 and is titled as such in the Appendix documents.

                                                         235
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 475 of 566 PageID 545




     84. August 7, 2020, OIE Interview Statement and August 20, 2020 Addendum of Witness 97
     85. August 7, 2020 and August 14, 2020, OIE Interview Statements of the Respondent &
         August 24, 2020 Addendum
     86. August 12, 2020, OIE Interview Statement of Witness 106
     87. August 13, 2020, OIE Interview Statement of Witness 215
     88. August 13, 2020, OIE Interview Statement of Witness 167
     89. August 13, 2020, OIE Interview Statement of Witness 79
     90. August 25, 2020, OIE Interview Statement of Witness 154
     91. December 8, 2020, OIE Interview Statement of Witness 151
     92. December 16, 2020, OIE Interview Statement of Witness 218
     93. December 18, 2020, OIE Interview Statement of Witness 171

  OIE Phone Logs:
     94. Phone Log 6-4-2020 3:01 PM
     95. Phone Log 6-5-2020 Witness 53
     96. Phone Log 6-8-2020 Witness 100
     97. Phone Log 6-9-2020 Witness 49
     98. Phone Log 6-9-2020 Witness 144
     99. Phone Log 6-10-2020 Witness 82
     100.      Phone Log 6-10-2020 Witness 88
     101.      Phone Log 6-10-2020 Witness 100
     102.      Phone Log 6-10-2020 Witness 111
     103.      Phone Log 6-11-2020 Witness 92
     104.      Phone Log 6-11-2020 Witness 196
     105.      Phone Log 6-11-2020 Witness 140
     106.      Phone Log 6-11-2020 Witness 176
     107.      Phone Log 6-12-2020 Witness 168
     108.      Phone Log 6-12-2020 Witness 145
     109.      Phone Log 6-17-2020 Witness 206
     110.      Phone Log 6-18-2020 Witness 95
     111.      Phone Log 6-18-2020 Witness 126
     112.      Phone Log 6-19-2020 Witness 122
     113.      Phone Log 6-22-2020 Witness 136
     114.      Phone Log 6-22-2020 Witness 48
     115.      Phone Log 6-23-2020 Witness 133
     116.      Phone Log 6-24-2020 Witness 1
     117.      Phone Log 6-24-2020 Witness 182
     118.      Phone Log 6-25-2020 Witness 2
     119.      Phone Log 6-25-2020 Witness 185
     120.      Phone Log 6-25-2020 Witness 110
     121.      Phone Log 6-25-2020 Witness 83
     122.      Phone Log 6-25-2020 Witness 184
     123.      Phone Log 6-25-2020 Witness 59
     124.      Phone Log 6-26-2020 Witness 4
     125.      Phone Log 6-26-2020 Witness 3
     126.      Phone Log 6-26-2020 Witness 186


                                             236
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 476 of 566 PageID 546




     127.       Phone Log 6-29-2020 Witness 34 Parent
     128.       Phone Log 6-30-2020 Witness 163
     129.       Phone Log 7-1-2020 Witness 42
     130.       Phone Log 7-8-2020 Witness 40
     131.       Phone Log 7-8-2020 Witness 160
     132.       Phone Log 7-10-2020 Witness 76
     133.       Phone Log 7-14-2020 Witness 41
     134.       Phone Log 7-22-2020 Witness 235
     135.       Phone Log 7-30-2020 Witness 220
     136.       Phone Log 7-30-2020 Witness 53 & Witness 100
     137.       Phone Log 7-30-2020 Witness 5
     138.       Phone Log 7-31-2020 Witness 221
     139.       Phone Log 7-31-2020 Witness 222
     140.       Phone Log 7-31-2020 Witness 223
     141.       Phone Log 7-31-2020 Witness 224
     142.       Phone Log 7-31-2020 Witness 225
     143.       Phone Log 7-31-2020 Witness 226
     144.       Phone Log 7-31-2020 Witness 227
     145.       Phone Log 8-3-2020 Witness 6
     146.       Phone Log 8-4-2020 Witness 7
     147.       Phone Log 8-11-2020 Witness 228

  OIE Climate Checks:
     148.      OIE Outreaches (Individual & 2019 Spring CCP Climate Check Notes)
     149.      OIE Climate Check Notes (2018 Spring Sexual Behavior, 2018 Summer Sexual
               Behavior, 2019 Fall Cross Cultural Psychology, 2020 Spring Sexual Behavior)
     150.      OIE Climate Check Notes (2019 Fall Sexual Behavior)
     151.      OIE Climate Check Notes (2018 Fall Sexual Behavior)
     152.      OIE Climate Check Notes (2020 Spring Personality Theory)
     153.      OIE Climate Check Notes (2018 Spring General Psychology)
     154.      OIE Climate Check Notes (2018 Fall General Psychology)
     155.      OIE Climate Check Notes (2019 Fall Sexual Behavior)
     156.      OIE Climate Check Notes (2019 Summer Sexual Behavior)
     157.      OIE Climate Check Notes (2019 Sexual Behavior)

  IntegrityLine Reports:
      158.       IntegrityLine #768 (June 4, 2020)
      159.       IntegrityLine #769 (June 4, 2020)
      160.       IntegrityLine #770 (June 4, 2020)
      161.       IntegrityLine #771 (June 4, 2020)
      162.       IntegrityLine #772 (June 4, 2020)
      163.       IntegrityLine #774 (June 4, 2020)
      164.       IntegrityLine #775 (June 4, 2020)
      165.       IntegrityLine #776 (June 4, 2020)
      166.       IntegrityLine #777 (June 4, 2020)
      167.       IntegrityLine #778 (June 4, 2020)


                                                237
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 477 of 566 PageID 547




     168.     IntegrityLine #779 (June 4, 2020)
     169.     IntegrityLine #780 (June 4, 2020)
     170.     IntegrityLine #781 (June 4, 2020)
     171.     IntegrityLine #782 (June 4, 2020)
     172.     IntegrityLine #783 (June 4, 2020)
     173.     IntegrityLine #784 (June 4, 2020)
     174.     IntegrityLine #785 (June 4, 2020)
     175.     IntegrityLine #786 (June 4, 2020)
     176.     IntegrityLine #787 (June 4, 2020)
     177.     IntegrityLine #788 (June 4, 2020)
     178.     IntegrityLine #789 (June 4, 2020)
     179.     IntegrityLine #790 (June 4, 2020)
     180.     IntegrityLine #791 (June 4, 2020)
     181.     IntegrityLine #792 (June 4, 2020)
     182.     IntegrityLine #794 (June 4, 2020)
     183.     IntegrityLine #795 (June 4, 2020)
     184.     IntegrityLine #796 (June 4, 2020)
     185.     IntegrityLine #797 (June 4, 2020)
     186.     IntegrityLine #798 (June 4, 2020)
     187.     IntegrityLine #799 (June 4, 2020)
     188.     IntegrityLine #800 (June 4, 2020)
     189.     IntegrityLine #801 (June 4, 2020)
     190.     IntegrityLine #802 (June 4, 2020)
     191.     IntegrityLine #803 (June 4, 2020)
     192.     IntegrityLine #804 (June 4, 2020)
     193.     IntegrityLine #805 (June 5, 2020)
     194.     IntegrityLine #806 (June 5, 2020)
     195.     IntegrityLine #807 (June 5, 2020)
     196.     IntegrityLine #809 (June 5, 2020)
     197.     IntegrityLine #810 (June 5, 2020)
     198.     IntegrityLine #811 (June 5, 2020)
     199.     IntegrityLine #813 (June 5, 2020)
     200.     IntegrityLine #814 (June 5, 2020)
     201.     IntegrityLine #815 (June 5, 2020)
     202.     IntegrityLine #817 (June 5, 2020)
     203.     IntegrityLine #818 (June 5, 2020)
     204.     IntegrityLine #819 (June 5, 2020)
     205.     IntegrityLine #820 (June 5, 2020)
     206.     IntegrityLine #821 (June 5, 2020)
     207.     IntegrityLine #822 (June 5, 2020)
     208.     IntegrityLine #823 (June 5, 2020)
     209.     IntegrityLine #824 (June 5, 2020)
     210.     IntegrityLine #825 (June 5, 2020)
     211.     IntegrityLine #826 (June 5, 2020)
     212.     IntegrityLine #827 (June 5, 2020)
     213.     IntegrityLine #828 (June 5, 2020)


                                             238
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 478 of 566 PageID 548




       214.        IntegrityLine #829 (June 5, 2020)
       215.        IntegrityLine #830 (June 5, 2020)
       216.        IntegrityLine #831 (June 5, 2020)
       217.        IntegrityLine #832 (June 5, 2020)
       218.        IntegrityLine #833 (June 5, 2020)
       219.        IntegrityLine #834 (June 5, 2020)
       220.        IntegrityLine #836 (June 5, 2020)
       221.        IntegrityLine #837 (June 5, 2020)
       222.        IntegrityLine #838 (June 5, 2020)
       223.        IntegrityLine #839 (June 5, 2020)
       224.        IntegrityLine #840 (June 5, 2020)
       225.        IntegrityLine #841 (June 5, 2020)
       226.        IntegrityLine #842 (June 5, 2020)
       227.        IntegrityLine #843 (June 5, 2020)
       228.        IntegrityLine #844 (June 5, 2020)
       229.        IntegrityLine #845 (June 5, 2020)
       230.        IntegrityLine #847 (June 5, 2020)
       231.        IntegrityLine #849 (June 5, 2020)
       232.        IntegrityLine #850 (June 5, 2020)
       233.        IntegrityLine #851 (June 5, 2020)
       234.        IntegrityLine #852 (June 5, 2020)
       235.        IntegrityLine #853 (June 5, 2020)
       236.        IntegrityLine #855 (June 5, 2020)
       237.        IntegrityLine #856 (June 5, 2020) 46
       238.        IntegrityLine #858 (June 5, 2020)
       239.        IntegrityLine #859 (June 5, 2020)
       240.        IntegrityLine #862 (June 6, 2020)
       241.        IntegrityLine #863 (June 6, 2020)
       242.        IntegrityLine #864 (June 6, 2020)
       243.        IntegrityLine #865 (June 6, 2020)
       244.        IntegrityLine #866 (June 6, 2020)
       245.        IntegrityLine #868 (June 6, 2020)
       246.        IntegrityLine #869 (June 6, 2020)
       247.        IntegrityLine #870 (June 6, 2020)
       248.        IntegrityLine #871 (June 6, 2020)
       249.        IntegrityLine #872 (June 6, 2020)
       250.        IntegrityLine #873 (June 6, 2020)
       251.        IntegrityLine #874 (June 6, 2020)
       252.        IntegrityLine #875 (June 7, 2020)
       253.        IntegrityLine #877 (June 8, 2020)
       254.        IntegrityLine #878 (June 8, 2020)
       255.        IntegrityLine #880 (June 8, 2020)
       256.        IntegrityLine #881 (June 8, 2020)
       257.        IntegrityLine #883 (June 9, 2020)

  46
    Although the Respondent was identified as the individual who allegedly engaged in misconduct in this
  IntegrityLine report, the reporter later clarified that her allegations pertained to another individual.

                                                          239
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 479 of 566 PageID 549




     258.       IntegrityLine #886 (June 9, 2020)
     259.       IntegrityLine #894 (June 11, 2020)
     260.       IntegrityLine #902 (June 12, 2020)
     261.       IntegrityLine #904 (June 12, 2020)
     262.       IntegrityLine #924 (June 18, 2020)
     263.       IntegrityLine #925 (June 18, 2020)
     264.       IntegrityLine #943 (June 25, 2020)
     265.       IntegrityLine #970 (July 19, 2020)
     266.       IntegrityLine #976 (July 22, 2020)

  Just Knights Response Team Reports:
      267.      JKRT Report, #00047696 (June 3, 2020) (Witness 229)
      268.      JKRT Report, #00047703 (June 4, 2020)
      269.      JKRT Report, #00047706 (June 4, 2020) (Witness 230)
      270.      JKRT Report, #00047707 (June 4, 2020) (Witness 47)
      271.      JKRT Report, #00047712 (June 4, 2020) (Witness 231)
      272.      JKRT Report, #00047713 (June 4, 2020)
      273.      JKRT Report, #00047716 (June 4, 2020)
      274.      JKRT Report, #00047719 (June 4, 2020)
      275.      JKRT Report, #00047725 (June 4, 2020) (Witness 88)
      276.      JKRT Report, #00048928 (September 1, 2020)

  Office of Student Conduct Incident Reports:
      277.       Office of Student Conduct Incident Report, #00047701 (June 4, 2020)
      278.       Office of Student Conduct Incident Report, #00047709 (June 4, 2020)

  Initial Communications from Community Regarding Respondent:
      279.     Reports of Personal Experiences (58 Emails, 6 Audio Voicemails, 1 President’s
               Office Excel Sheet Summary List, 4 Social Media Posts, and Witness 100 Twitter
               7-13-2020)
      280.     Reports of Reactions to Social Media (314 Emails)
      281.     Student Google Form – Anonymous
      282.     Student Google Form – With Names
      283.     Equity & Inclusion Forum – OIE Emails
      284.     Equity & Inclusion Forum (CC Transcript Inclusion Conversation Zoom) (text)
      285.     Equity & Inclusion Forum Q&A Report (excel)
      286.     Change Org Petition titled “Diversity, Equity, Justice and Inclusion
               #UCFfirehim”
      287.     Change Org Petition Email (Witness 123 & Witness 127)

  Respondent’s Communications to Students:
     288.       Announcement Re Headlines & Race
     289.       Announcement Re CNN Letter Re Native Americans & Respondent’s Response
                Letter
     290.       January, 2012 Email to “Cross-Cultural students” (Re Religious Bigotry)



                                               240
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 480 of 566 PageID 550




     291.      Announcement, September 20, to Sexual Behavior students, titled “Follow up to
               Gender and Biology Discussion”
     292.      Announcement, Jan 7 titled “Quick follow up” re Religious Discussions
     293.      Announcement, Jan 16 Re Yellow Hammer Article
     294.      Announcement, October 23, 2013 Re Religion & Rape
     295.      Announcement, October 21, 2016 Re Lack of Systemic Racism
     296.      Announcement, January 10, 2018 Re Honor Killings
     297.      Announcement, February 19, 2018 Re Invitation for LGBTQ Panel
     298.      Announcement, March 18, 2018 Re White Accomplishments
     299.      Announcement, March 18, 2018 Re Letter to John McWhorter
     300.      Announcement, March 18, 2018 Re Letter to John McWhorter Attachment
     301.      Announcement, April 4, 2018 Re Political Correctness
     302.      Announcement, April 28, 2018 Message to Witness 151 & Witness 45
     303.      Announcement, April 29, 2018 Message to Witness 151 & Witness 45
     304.      Announcement, Nov. 15, 2018 Re PEW data & Muslim Women
     305.      Announcement, Nov. 15, 2018 Letter Re PEW data & Muslim Women
     306.      Announcement, Jan. 7, 2020 titled “Follow me on Twitter (optional, of course)”
     307.      Announcement, March 11, 2019, titled “Follow me on Twitter”
     308.      Announcement - Twitter
     309.      Announcement, July 15, 2019 Re Judging Past with Contemporary Standards &
               Black Privilege Reference
     310.      Announcement, July 22, 2019, titled “Opinions v. data…”
     311.      Announcement, September 12, 2019 Re Religion
     312.      Announcement, October 26, 2019, titled “re: Latinx” (1)
     313.      Announcement, October 26, 2019, titled “re: Latinx” (2)
     314.      Announcement, October 26, 2019, titled “re: Latinx” (3)
     315.      Announcements, December 10, 2019, March 7, 2020, March 16, 2020 Re Book
               Assignment
     316.      Email, January 28, 2020, titled “Follow up to Gender and Biology Discussion:
               SOP2772-20Spring 0001”
     317.      Emails, March 13, 2020 (Re Book Promotion)
     318.      Undated message, titled “Potentially bad items on Exam 3…”
     319.      Email, March 31, 2020, titled “Exam 3 updates: SOP2772-20Spring 0001”
               (Exam & Apology)
     320.      Announcement, April 6, 2020 Re Free Speech & Muslims
     321.      Announcement, April 8, 2020, titled “Important Youtube to watch” (By the
               Numbers video)
     322.      Email, April 14, 2020, titled “Follow up on HPV, Vaccines, and Cancer:
               SOP2772-20Spring 0001”
     323.      Course Announcements 2017-2020

  Respondent’s Course Recordings & Materials:
     324.       Recordings – 20190101013334-015
     325.       Recordings – 20190101013334-015 Review
     326.       Recordings – 20190106023050-016
     327.       Recordings – 20190106023050-016 Review

                                              241
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 481 of 566 PageID 551




     328.     Recordings – 20190910163446-005
     329.     Recordings – 20190910163446-005 Review
     330.     Recordings – 20190912163436-008
     331.     Recordings – 20190912163436-008 Review
     332.     Recordings – Arabid Diaspora
     333.     Recordings – Gen Psych 8-21-2018 SAS Transcript
     334.     Recordings – Gen Psych 8-28-2018
     335.     Recordings – Gen Psych 8-28-2018 SAS Transcript
     336.     Recordings – Gen Psych 9-4-2018
     337.     Recordings – Gen Psych 9-4-2018 (2)
     338.     Recordings – Gen Psych 9-18-2018 (2)
     339.     Recordings – Gen Psych 9-18-2018 (3)
     340.     Recordings – Gen Psych 10-9-2018
     341.     Recordings – Gen Psych 10-23-2018
     342.     Recordings – Gen Psych 11-6-2018
     343.     Recordings – Gen Psych 11-13-2018
     344.     Recordings – Gen Psych 11-27-2018
     345.     Recordings – Indentured Slaves
     346.     Recordings – Peru – Summer 2019 - 3
     347.     Recordings – Peru - Summer 2019 - 3 Review
     348.     Recordings – Peru – Summer 2019 - 4
     349.     Recordings – Peru - Summer 2019 - 4 Review
     350.     Recordings – Peru – Summer 2019 - 5
     351.     Recordings – Peru - Summer 2019 - 5 Review
     352.     Recordings – Peru – Summer 2019 -6
     353.     Recordings – Peru - Summer 2019 - 6 Review
     354.     Recordings – Peru – Summer 2019 - 7
     355.     Recordings – Peru - Summer 2019 -7 Review
     356.     Recordings – Peru – Summer 2019 – 8
     357.     Recordings - Peru - Summer 2019 -8 Review
     358.     Recordings – Peru – Summer 2019 -9
     359.     Recordings – Peru - Summer 2019 -9 Review
     360.     Recordings – Peru – Summer 2019 - 10
     361.     Recordings – Peru - Summer 2019 - 10 Review
     362.     Recordings – Peru – Summer 2019 – 11
     363.     Recordings – Peru – Summer 2019 – 11 Review
     364.     Recordings – Peru – Summer 2019 - 12
     365.     Recordings – Peru - Summer 2019 - 12 Review
     366.     Recordings – Peru – Summer 2019 - 13
     367.     Recordings – Peru - Summer 2019 - 13 Review
     368.     Recordings – Spring 2020 Arab and Muslim Americans Lecture 1
     369.     Recordings - Spring 2020 Arab and Muslim Americans Lecture 1 Review
     370.     Recordings – Spring 2020 Arab and Muslim Americans Lecture 2
     371.     Recordings - Spring 2020 Arab and Muslim Americans Lecture 2 Review
     372.     Recordings – Spring 2020 Arab and Muslim Americans Lecture 3
     373.     Recordings - Spring 2020 Arab and Muslim Americans Lecture 3 Review


                                           242
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 482 of 566 PageID 552




     374.       Summary of Video By the Numbers – The Untold Story - Muslims
     375.       Power Point White Americans
     376.       Power Point Arab & Muslim Americans Lecture 1
     377.       Power Point Arab & Muslim Americans Lecture 2
     378.       Power Point Arab & Muslim Americans Lecture 3
     379.       Consent (2004) Video
     380.       Fredrick Wilson II 2014 Video
     381.       A copy of the book White Shaming, written by the Respondent
     382.       Syllabus for Cross Cultural Psychology 2016 Fall
     383.       Syllabus for Cross Cultural Psychology 2018 Spring
     384.       Syllabus for Cross Cultural Psychology 2019 Summer
     385.       Syllabus for Cross Cultural Psychology 2019 Fall
     386.       Syllabus for Cross Cultural Psychology 2020 Spring
     387.       Syllabus for Sexual Behavior 2020 Spring
     388.       Syllabus for General Psychology 2017 Fall
     389.       Syllabus for General Psychology 2018 Spring
     390.       Syllabus for Personality Theory & Research 2020 Spring
     391.       Quiz Questions & Answers 2017-2020
     392.       Respondent’s August 14, 2020 Email to OIE Re Exam Questions
     393.       Power Point African – African (Black) American
     394.       Power Point White – White American

  Respondent’s Evaluations and Student Evaluation of Instructor Summaries:
     395.       Respondent’s Annual Evaluation 2014-2015
     396.       Respondent’s Annual Evaluation 2015-2016
     397.       Respondent’s Annual Evaluation 2016-2017
     398.       Respondent’s Annual Evaluation 2017-2018
     399.       Respondent’s Annual Evaluation 2018-2019
     400.       Notifications of TIP Awards 2003 & 2009
     401.       Notification of TIP Award 2015
     402.       Respondent’s Student Eval 2015 Summer
     403.       Respondent’s Student Evaluation 2015 Fall
     404.       Respondent’s Student Evaluation 2016 Spring
     405.       Respondent’s Student Evaluation 2016 Summer
     406.       Respondent’s Student Evaluation 2016 Fall
     407.       Respondent’s Student Evaluation 2017 Spring
     408.       Respondent’s Student Evaluation 2017 Summer
     409.       Respondent’s Student Evaluation 2017 Fall
     410.       Respondent’s Student Evaluation 2018 Spring
     411.       Respondent’s Student Evaluation 2018 Summer
     412.       Respondent’s Student Evaluation 2018 Fall
     413.       Respondent’s Student Evaluation 2019 Spring
     414.       Respondent’s Student Evaluation 2019 Summer
     415.       Respondent’s Student Evaluation 2019 Fall
     416.       Respondent’s Student Evaluation 2020 Spring
     417.       Respondent’s Evaluation from Witness 232 3-21-2019

                                              243
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 483 of 566 PageID 553




     418.     UCF Student Abroad Return Survey 2019 Summer
     419.     Respondent’s Discipline History
     420.     Email Re Allegation of Respondent Apology

  Other:
     421.     Respondent’s Twitter Page
     422.     Respondent’s Twitter Posts
     423.     Respondent 2018 Spring Schedule
     424.     Respondent 2018 Summer Schedule
     425.     Respondent 2018 Fall Schedule
     426.     OIE Grade Analysis Memorandum
     427.     Inside Higher Education 2012 Article
     428.     Email August 13, 2020 Re Witness Name Recognized from Witness List
              Provided to Respondent
     429.     Email March 13, 2020 Respondent & Dept Chair Re Book Outreaches
     430.     Agenda 2006 New Faculty Orientation
     431.     Agenda 2007 New Faculty Orientation
     432.     2007 New Faculty Orientation Participants
     433.     Course Drop Comparison Data
     434.     Witness 34 UCF Timeline
     435.     Witness 34 SDES Correspondence
     436.     Respondent’s Letter to OIE 8-4-20
     437.     UCF Faculty Senate Resolution about Free Speech (2017-2018)
     438.     Facebook Post by Student (redacted) (7-16-20)
     439.     Student Grade Appeal
     440.     Student Grade Appeal – Administrator Email (5-2020)
     441.     Student Grade Appeal – Chair Decision
     442.     Email Re UCF Actions to Prevent and Correct Discrimination (1-27-2014) &
              2018 Training
     443.     Rate My Professor Reviews
     444.     Student Grade Data
     445.     Witness 100 Transcript Notes & Responses to Recordings




                                           244
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 484 of 566 PageID 554




                          EXHIBIT X
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 485 of 566 PageID 555
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 486 of 566 PageID 556




                          EXHIBIT Y
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 487 of 566 PageID 557




BIAS RESPONSE TEAM
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 488 of 566 PageID 558




               The mission of FIRE is to defend and sustain individual rights at
               America’s colleges and universities. These rights include freedom of
               speech, legal equality, due process, religious liberty, and sanctity of
               conscience—the essential qualities of individual liberty and dignity.
               FIRE’s core mission is to protect the unprotected and to educate the
               public and communities of concerned Americans about the threats to
               these rights on our campuses and about the means to preserve them.




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Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 489 of 566 PageID 559




                                                                      TABLE OF CONTENTS
                                                                                          	  
                                                                                          	  
                                                                                          	  
  	  




           4    EXECUTIVE SUMMARY

           6    METHODOLOGY

           7    FINDINGS

           9    DISCUSSION
                 9   WHY BIAS RESPONSE TEAMS EXIST
                10 HOW MANY BIAS RESPONSE TEAMS EXIST

                12 WIDELY DEFINING “BIAS”

                15 EXAMPLES OF REPORTED INCIDENTS

                19 WHO SERVES ON THE BIAS RESPONSE TEAM: THE SPEECH POLICE

                20 THE RISK OF FIRST AMENDMENT LAWSUITS

                23 A LACK OF TRAINING ON FREEDOM OF SPEECH

                24 HOW SOME UNIVERSITIES ARE RESISTING TRANSPARENCY

                26 NORMATIVE CRITICISMS OF BIAS RESPONSE TEAMS

                28 STRIKING A BALANCE


           29   APPENDICES
                29 APPENDIX A: CATEGORIES OF BIAS

                31 APPENDIX B: INSTITUTIONS WITH BIAS REPORTING SYSTEMS




  	  
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 490 of 566 PageID 560


      EXECUTIVE SUMMARY
      	  

      Over the past several years, the Foundation for              purpose of such teams is to deter and
      Individual Rights in Education (FIRE) has                    respond to controversies that might
      received an increasing number of reports that                embarrass the institution.
      colleges and universities are inviting students to       •   Fewer than a third of teams included
      anonymously        report       offensive,     yet           faculty members, whose absence
      constitutionally     protected,      speech     to           diminishes the likelihood that the team
      administrators and law enforcement through so-               will have a meaningful understanding of
      called “Bias Response Teams.” These teams                    academic freedom.
      monitor and investigate student and faculty
      speech, directing the attention of law               Teams tend to cast a wide net when defining
      enforcement       and       student        conduct   “bias.” Almost all use categories widely found in
      administrators towards the expression of             discrimination statutes (race, sex, sexual
      students and faculty members.                        orientation, etc.), while others investigate bias
                                                           against obscure categories, such as “smoker
      To better understand this phenomenon, FIRE           status,” “shape,” and “intellectual perspective.” A
      gathered data throughout 2016 on every bias          significant    minority       include    political
      reporting system we could locate. FIRE sought to     affiliation or speech as a potential bias,
      determine who reviews the reports, what              inviting reports of and investigations into
      categories of bias they are charged with             political speech by law enforcement and
      addressing, and whether the institution              student conduct administrators .
      acknowledges that the system generates a
      tension with free speech and academic freedom. In responding to reports regarding this wide
                                                         array of protected expression, administrators are
      FIRE discovered and surveyed 231 Bias frequently armed with vague or overly broad
      Response Teams at public and private rules granting them leeway to impose sanctions
      institutions during 2016. The expression of at for speech they dislike. In December 2016, FIRE
      least 2.84 million American students is found that some 92.4% of the 449 schools
      subject to review by Bias Response Teams. While surveyed for our annual speech code report
      most students in higher education do not yet maintain policies that either clearly and
      appear to be subject to bias reporting systems, we substantially restrict speech, or can otherwise be
      believe that the number of Bias Response Teams interpreted to punish protected speech. At such
      is growing rapidly.                                schools, a Bias Response Team’s practice of
                                                         broadly defining and identifying “bias” may
      The composition of Bias Response Teams is not expose a wide range of protected speech to
      always made public. About 28% did not reveal the punishment. Even where schools purport only to
      names or rules of any team members. Of those provide “education” to the offending speaker,
      whose membership FIRE could ascertain:             instead of formal punitive sanctions (such as
                                                         suspension or expulsion), this response is often
           •   42% report speech to members of law undertaken by student conduct administrators,
               enforcement or campus security officers, not educators, and more closely resembles a
               even though the teams deliberately reprimand.
               solicit reports of a wide variety of non-
               criminal speech and activity.             There is an unavoidable tension between
           •   12% of teams include at least one promoting free speech and academic freedom
               administrator dedicated to media and working to combat the presence of “bias”
               relations, suggesting that part of the (however defined) on campus. Yet only 84



4     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 491 of 566 PageID 561


                                                                             EXECUTIVE SUMMARY
                                                                                                         	  
                                                                                                         	  
  (50.6%) of the teams surveyed acknowledged      students and offering resources to those who
  a tension with freedom of speech , freedom of   encounter meaningful difficulties in their lives
  inquiry, or academic freedom on their websites  on campus, the posture taken by many Bias
  or in their policies.                           Response Teams is all too likely to create
                                                  profound risks to freedom of expression, freedom
  FIRE also used public records requests to of association, and academic freedom on campus.
  discover the reports made at some institutions,
  how the schools responded to those reports, and       a




  the teams’ policies and training. Many
  institutions complied with these requests.
  Others stonewalled, hid records, deleted
  websites, or demanded thousands of dollars to
  view records, claiming that knowing how Bias
  Response Teams operate is not in the public
  interest.

  Further, how universities respond to bias reports
  may expose them to First Amendment lawsuits.
  Individual team members risk being held
  personally liable for violating constitutional
  rights in some circumstances. They may not even
  be aware of where the lines are drawn. FIRE
  found little evidence that Bias Response Teams
  are trained on First Amendment issues.

  Bias Response Teams, when armed with open-
  ended definitions of “bias,” staffed by law
  enforcement        and      student     conduct
  administrators, and left without training on
  freedom of expression, represent an emerging
  risk to free and open discourse on campus and in
  the classroom. Bias Response Teams create—
  indeed, they are intended to create—a chilling
  effect on campus expression. Even if a Bias
  Response Team does not have the power to take
  punitive action, the prospect of an official
  investigation may make students and faculty
  more cautious about what opinions they dare to
  express.

  Beyond First Amendment concerns, encouraging
  students and faculty to anonymously report one
  another to administrators for subversive or
  offensive views is illiberal, and antithetical to a
  campus open to the free exchange of ideas. While
  universities should certainly be listening to their



                                             2017 SURVEY OF BIAS REPORTING SYSTEMS IN HIGHER EDUCATION	        5
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 492 of 566 PageID 562


      METHODOLOGY
      	  

      W HA T IS A B IA S R E P OR T IN G S Y S T E M ?                         in FIRE’s own Spotlight database,2 to identify
                                                                               leading institutions in the United States. We then
      In order to distinguish bias reporting systems                           reviewed each school’s website and Google
      from other speech codes, and to identify systems                         presence, searching for references to bias
      that may not be explicitly identified as a “bias                         reporting systems. To locate other systems, we
      reporting” system,1 FIRE applied a three-part                            searched for reporting forms provided by
      definition. Where it was unclear whether a                               Maxient and other companies known to host
      particular element was met, we used our best                             reporting forms. The location process also
      judgment. Links to the websites of all Bias                              utilized Google alerts and media reports
      Response Teams are provided in Appendix B so                             concerning bias reporting systems.
      that the reader may form his or her own opinion.
                                                        Once the institutions were identified, FIRE
      FIRE defines a bias reporting system as any monitored each Bias Response Team page for
      system identified as such, or that provides:      changes in text—a practice we will continue in
                                                        order to observe whether, or how, institutions
          (1)   a formal or explicit process for or     change their systems over time.3
                solicitation of
          (2)   reports from students, faculty,         FIRE also reviewed the public-facing websites of
                staff, or the community                 reporting systems to identify relevant policies,
          (3)   concerning offensive conduct or         definitions, forms, and other information. We
                speech that is protected by the         recorded the definitions of “bias” in both policies
                First Amendment or principles of        and reporting forms, which often differed from
                expressive or academic freedom.         one another, to determine the categories of bias
                                                        defined by each institution.
      Under FIRE’s definition, a school policy or
      reporting system limited to criminal offenses Finally, we utilized public records requests at
      involving hate or bias does not constitute a bias some institutions to uncover the types of reports
      reporting system.                                 being made and how the Bias Response Teams
                                                        acted in response to each submission.
      L OC A T IN G A N D OB S E R V IN G B IA S
      R E P OR T IN G S Y S T E M S                     A N OT E A B OU T L IM IT A T ION S

      FIRE relied on a number of methods to locate                             This survey documents how Bias Response
      bias reporting systems, including mining schools’                        Teams operate and who serves on them. Given
      websites for information, using tools to monitor                         the number of higher education institutions in
      websites for changes, and issuing public records                         the United States, this survey was not intended
      requests to collect additional information.                              to identify the rate at which institutions have
                                                                               adopted such systems.
      We first gathered state-by-state lists of public
      and private institutions on Wikipedia, as well as


      1
        For simplicity’s sake, this report uses the phrase “Bias Response      don’t tell them the truth about how they’ve taken them away.
      Team” broadly to encompass both the teams and the reporting              Spotlight is available at https://www.thefire.org/spotlight.
                                                                               3
      systems, even if there is no dedicated, independent team in place.         In doing so, we have observed a number of institutions delete,
      2
        FIRE’s Spotlight database is a collection of policies at over 400 of   modify, or hide their bias reporting systems following media
      our nation’s biggest and most prestigious universities, collected in     criticism or public records requests.	  
      an effort to document institutions that ignore students’ rights, or



6     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 493 of 566 PageID 563

                                                                                                                FINDINGS
  	  
                                         BIAS REPORTING SYSTEMS ARE WIDESPREAD

  During the course of 2016, at least 231 Bias Response Teams were publicized on American university
  or college campuses. 143 are at public institutions and 88 are at private institutions.4 At least 2.84
  million students are enrolled in these schools.

  Of the 471 institutions catalogued in FIRE’s Spotlight database, 181 (or 38.4%) maintain bias
  reporting systems. The committees that administer these systems are known by a variety of names,
  usually a variation on “Bias Response Team.” Some schools do not provide an independent “team,”
  instead channeling reports directly to existing offices or departments, including law enforcement or
  security, human resources departments, or campus housing authorities.

                       CASTING A WIDE NET: WHAT CATEGORIES OF “BIAS” ARE REPORTED?

  IMMUTABLE CHARACTERISTICS AND OTHER CATEGORIES OF BIAS

  The most common categories of bias reports solicited5 come from federal and state laws governing
  educational and employment discrimination. Every system surveyed invites reports of bias
  concerning race or religion, and most invite reports concerning sex, sexual orientation, gender
  identity or expression, age, disability, and so on. Some are unusual, such as bias against “behavior”
  (Macalester College ), which appears to define criticism of behavior of any kind as “bias.”

  POLITICAL AND SOCIAL BELIEFS

  Some systems define “bias incidents” to include expressions of bias against political and social
  affiliations. 14% of institutions include “political affiliation” among their categories of bias. Still
  others include bias against similar categories such as “intellectual perspective” (University of
  Central Arkansas ), “political expression” (Dartmouth ), or “political belief” (University of
  Kentucky ). It is critical to note that by soliciting reports of speech that is biased against political
  views, universities are expressly requesting that their students report one another to the authorities
  for expressing divergent political views.

  DEFINITIONS OF “ BIAS INCIDENTS” BROADLY ENCOMPASS SPEECH

  Bias reporting systems raise free speech concerns because they solicit reports of legal, protected
  speech and expression in addition to unprotected conduct such as actionable discrimination or
  harassment. The definitions often explicitly state that students should report speech protected by
  the First Amendment.

  Many policies include catch-all categories of bias—e.g., “other” biases. In such cases, the definition of
  a bias incident encompasses not only protected speech, but also any speech that offends anyone for
  any reason. The net effect is that broad definitions of “bias” invite reports of any offensive speech,
  whether or not it is tethered to a discernable form of bias, thereby inviting scrutiny of student
  activists, organizations, and faculty engaged in political advocacy, debate, or academic inquiry. For
  examples of reported political expression, see the Discussion section at page 15.

  4
         For a list of schools with bias reporting systems observed in FIRE’s survey, see Appendix B .
  5
         For a list of the categories of bias observed in FIRE’s survey, see Appendix A .



                                                                 2017 SURVEY OF BIAS REPORTING SYSTEMS IN HIGHER EDUCATION	     7
    Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 494 of 566 PageID 564


      FINDINGS
      	  

                         WHO’S ON A BIAS RESPONSE TEAM? OFTEN, LAW ENFORCEMENT

      FIRE was unable to determine the makeup of every Bias Response Team. Of the 166 teams whose
      composition FIRE could determine, almost half include law enforcement (“speech police,” in a quite
      literal sense) and more than half include what appear to be student conduct administrators. Only
      27% include faculty members, reducing the likelihood that a Bias Response Team will have members
      likely to recognize issues of academic freedom. And 12% contain public relations administrators,
      raising the possibility that a team’s decisions, including about whether to seek discipline for those
      displaying “bias,” may be made on the basis of an institution’s desire to avoid public embarrassment.
      Both common sense and FIRE’s extensive experience suggest that public and donor relations can be
      significant factors driving universities’ decisions.

                                                            All institutions (166)              Public (104)         Private (62)

                Law Enforcement 6                           42% (70)                            41% (43)             43% (27)

                Student Conduct 7                           63% (105)                           56% (59)             74% (46)

                Public or Media Relations                   12% (21)                            14% (15)             9.7% (6)

                Faculty                                     27% (45)                            24% (25)             32% (20)

                Students                                    21% (35)                            18% (19)             26% (16)




                       ACKNOWLEDGING A TENSION WITH FREEDOM OF EXPRESSION AND
                        ACADEMIC FREEDOM, BUT PROVIDING LITTLE (IF ANY) TRAINING

      84 institutions (50.6%) acknowledged freedom of speech, freedom of inquiry, or academic freedom
      in the descriptions or policies of their Bias Response Teams. Of these, 50 are public and 34 are
      private.

      However, despite professing a dedication to free expression and academic freedom, few schools
      provide meaningful training to Bias Response Teams on recognizing these issues. Public records
      requests issued to dozens of schools have revealed only one Bias Response Team, at Louisiana State
      University, that offered any substantial training whatsoever on First Amendment concerns.




      6
       “Law enforcement” includes campus police departments and their equivalents at private schools.
      7
       Determining whether an administrator serving on a Bias Response Team is responsible for implementing disciplinary procedures can
      be difficult. FIRE views the inquiry from the student’s perspective: What will a reasonable student perceive the administrator’s role or
      authority to be? This number excludes administrators affiliated with diversity offices and includes administrators affiliated with dean of
      students’ offices, absent specific information concerning an administrator’s responsibilities or authority.



8     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 495 of 566 PageID 565

                                                                                                                        DISCUSSION
  	  
  W HY DO B IA S R E S P ON S E T E A M S E X IS T ?                     any kind, to scrutinize activism, debate, and
                                                                         political speech regarding every ideology and
  University administrators receive many                                 viewpoint. Yet the essential elements of free
  complaints about criminal conduct on campus.                           discourse, whether on campus or off, require that
  They also learn of students who encounter                              people have right to offend or to cause conflict
  “offensive” but legally protected speech or                            through speech.10
  expression.8 A proper response to these
  incidents would involve prompt, fair, and                              Other factors may also contribute to a
  impartial discipline for instances of physical                         university’s decision to implement a Bias
  misconduct, true threats, and harassment, while                        Response Team, such as:
  fostering an environment in which offensive
  speech would be answered with more speech.                                  •   In a b i l i t y t o i m p l e m e n t s p e e c h c o d e s .
                                                                                  FIRE has seen a continuous, nine-year
  Campuses with Bias Response Teams have                                          decline in the maintenance of speech
  chosen to go further, often deploying                                           codes that prohibit speech,11 and courts
  administrators to conduct an “investigation” of                                 routinely strike down speech codes at
  the incident and, if the “respondent” is found                                  public universities on First Amendment
  “guilty,” summon them for a “hearing” or an                                     grounds.12 In fact, some bias reporting
  “educational” discussion, which may more                                        systems,             such         as         L ongw ood
  closely resemble a reprimand than an                                            Univ er s it y’s ,           have         cited         the
  enlightening exchange of views.                                                 unconstitutionality of speech codes as a
                                                                                  reason for their existence.13
  Such procedures risk becoming tools not only for
  imposing some form of political or intellectual                             •   T h e        low          c os t      of     expa nding
  orthodoxy, but also for policing politeness or                                  e m p l o y m e n t -b a s e d                     a nt i-
  civility.9   They    invite   law-enforcement                                   d i s c r i m i n a t i o n s y s t e m s . A university
  authorities and administrators, who are likely to                               cannot function as a true “marketplace
  be wary of expression that can cause conflict of                                of ideas” if campus expression is as

  8                                                                      11
    Eugene Volokh, No, It’s Not Constitutional for the University of       Spotlight on Speech Codes 2017, FOUND. FOR INDIVIDUAL RIGHTS
  Oklahoma to Expel Students for Racist Speech, WASH. POST, Mar.         IN EDUC., available at https://d28htnjz2elwuj.cloudfront.net/wp-
  10, 2015, https://www.washingtonpost.com/news/volokh-                  content/uploads/2016/12/12115009/SCR_2017_Full-
  conspiracy/wp/2015/03/10/no-a-public-university-may-not-               Cover_Revised.pdf.
                                                                         12
  expel-students-for-racist-speech; see also Susan Svrluga, Student         McCauley v. Univ. of the V.I., 618 F.3d 232 (3d Cir. 2010);
  Arrested After Wearing Gorilla Mask, Handing Out Bananas at            DeJohn v. Temple Univ., 537 F.3d 301 (3d Cir. 2008); Dambrot v.
  Black Lives Matter Protest, WASH. POST, Sept. 29, 2016,                Cent. Mich. Univ., 55 F.3d 1177 (6th Cir. 1995); Univ. of Cincinnati
  https://www.washingtonpost.com/news/grade-                             Chapter of Young Ams. for Liberty v. Williams, 2012 U.S. Dist.
  point/wp/2016/09/29/student-arrested- after-wearing- gorilla-          LEXIS 80967 (S.D. Ohio Jun. 12, 2012); Smith v. Tarrant Cty. Coll.
  mask-handing- out-bananas- at-black- lives-matter- protest.            Dist., 694 F. Supp. 2d 610 (N.D. Tex. 2010); Coll. Republicans at
  9
    See, e.g., José A. Cabranes, If Colleges Keep Killing Academic       S.F. St. Univ. v. Reed, 523 F. Supp. 2d 1005 (N.D. Cal. 2007);
  Freedom, Civilization Will Die, Too, WASH. POST, Jan. 10, 2017,        Roberts v. Haragan, 346 F. Supp. 2d 853 (N.D. Tex. 2004); Bair v.
  https://www.washingtonpost.com/opinions/if-colleges-keep-              Shippensburg Univ., 280 F. Supp. 2d 357 (M.D. Pa. 2003); Booher
  killing-academic-freedom-civilization-will-die-                        v. N. Ky. Univ. Bd. of Regents, No. 2:96-CV-135, 1998 U.S. Dist.
  too/2017/01/10/74b6fcc2-d2c3-11e6-9cb0-                                LEXIS 11404 (E.D. Ky. July 21, 1998); Corry v. Leland Stanford
  54ab630851e8_story.html (Judge on the U.S. Court of Appeals for        Junior Univ., No. 740309, slip op. (Cal. Super. Ct. Feb. 27, 1995);
  the 2nd Circuit arguing that Bias Response Teams indicate that         UWM Post, Inc. v. Bd. of Regents of the Univ. of Wis., 774 F. Supp.
  “campus administrators have morphed into civility police.”).           1163 (E.D. Wisc. 1991); Doe v. Univ. of Mich., 721 F. Supp. 852 (E.D.
  10
     For example, in overturning a man’s conviction for wearing a        Mich. 1989).
                                                                         13
  jacket reading “Fuck the Draft” in a courthouse hallway, the              Bias & Hate Incidents, LONGWOOD UNIV., archived on June 14,
  Supreme Court noted that “the State has no right to cleanse public     2016 and available at http://archive.is/uUQic; see also, No Hate
  debate to the point where it is grammatically palatable to the most    Initiative, MIAMI UNIV., archived on Dec. 15, 2005 and available at
  squeamish among us,” and that words can serve an “emotive              http://web.archive.org/web/20051215002453/http://www.miam
  function” and are “often chosen as much for their emotive as their     i.muohio.edu/documents_and_policies/nohate/index.cfm#hc9
  cognitive force.” Cohen v. California, 403 U.S. 15, 25-26 (1971). In   (noting that “[e]very college hate speech code reviewed in the
  other words, words chosen because they convey hostility or             federal courts has been struck down”).
  incivility are as deserving of protection as calm, polite debate.



                                                                                                  2017 BIAS RESPONSE TEAM REPORT	                 9
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 496 of 566 PageID 566


       DISCUSSION
       	  
                   highly regulated as expression among                              the various recent demands from
                   employees in business corporations.                               students across the country, few have
                   Borrowing well-developed and widely                               involved    requests     for     reporting
                   available corporate procedures is a                               systems,17 and one institution’s audit
                   tempting shortcut. For as little as                               suggested that students are unfamiliar
                   $8,600, schools can create reporting                              with the term “bias incident.”18
                   forms derived from existing systems
                   used by employers to permit employees                   Whatever their motivations, universities
                   to report employment-based sexual                       implementing Bias Response Teams have cast a
                   harassment.14 But using the tools of                    wide net, inviting reports of any offensive
                   corporate anti-discrimination systems—                  speech, on virtually any topic, for any reason.
                   perhaps even those used internally                      The result is that speech on political and social
                   among their own employees—to solicit                    subjects, which is likely (and may be intended) to
                   bias reports from and about the larger                  offend, gets reported to law enforcement and
                   campus community sets colleges on a                     student conduct administrators, and bias
                   collision course with free discourse.                   reporting systems serve to “alert administrators
                                                                           to specific individuals … who would benefit most
              •   A v o i d i n g p u b l i c c o n t r o v e r s y . By   from diversity inclusion training.”19 This
                  learning of events and disputes quickly,                 institutionalizes surveillance of activists of all
                  public          and        media            relations    political persuasions, exposes universities (and
                  administrators can attempt to frame the                  their administrators) to the prospect of costly
                  institution’s response in the media. At                  First Amendment claims, and encourages an
                  the U n i v e r s i t y o f N e w M e x i c o , for      illiberal culture of anonymously reporting
                  example, administrators pushed to                        students or faculty for subversive or offensive
                  release a statement “rather than waiting                 speech—on hundreds of campuses across the
                  for the media to get ahold of” flyers                    country.
                  criticizing UNM’s logo (which involves a
                  conquistador) that were reported to the
                  Bias Response Team.15 Some 12% of Bias                   B IA S R E S P ON S E T E A M S A R E FOU N D ON
                  Response Teams include media relations                   HU N DR E DS OF A M E R IC A N C OL L E GE
                  administrators.                                          CA M P USES

              •   S t u d e n t d e m a n d . Certain student              In early 2016, when Appalachian State
                  groups have called upon administrators                   University explored a proposal to create a Bias
                  to implement bias reporting systems.16                   Response Team, administrators wanted to see
                  But this seems to be relatively rare: Of                 what other schools were doing. They didn’t have

       14                                                                  17
          Statement of Work, ETHICSPOINT, July 12, 2010, produced to the      See, e.g., The Demands, WETHEPROTESTERS, available at
       Foundation for Individual Rights in Education by the University     http://www.thedemands.org (last visited Jan. 9, 2017) (tracking
       of California Office of the President in response to a public       demands of student protesters across the country).
                                                                           18
       records request, available at                                          COLGATE UNIVERSITY ADVISORY COMMITTEE ON CAMPUS
       https://www.documentcloud.org/documents/3418749-                    SECURITY, ACCS COMPLIANCE REPORT 2014-15 (2015), available at
       University-of-California-EthicsPoint-Statement.html.                https://www.documentcloud.org/documents/3234248-Colgate-
       15
          See, emails and photos produced to the Foundation for            Advisory-Committee-on-Campus-Security.html.
                                                                           19
       Individual Rights in Education by the University of New Mexico         Liz Fonseca & John Tannous, PROMOTING DIVERSITY AND
       in response to a public records request, available at               INCLUSION IN THE CLASSROOM: STRATEGIES TO FOSTER INCLUSIVE
       https://www.documentcloud.org/documents/3234845-                    ACADEMIC ENVIRONMENTS AT LARGE RESEARCH UNIVERSITIES,
       University-of-New-Mexico-What-Indians-Report.html.                  EDUCATION ADVISORY BOARD (2013), available at
       16
          See, e.g., Black Student Union, BSU Calls for Action, THE        https://www.mga.edu/student-
       TOWERLIGHT, Apr. 18, 2016, http://thetowerlight.com/bsu-calls-      affairs/docs/Promoting_Diversity_and_Inclusion_in_Classrooms.
       for-action.                                                         pdf.



10     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 497 of 566 PageID 567

                                                                                                                       DISCUSSION
  	  
  to look far; one said she was “hard pressed to find                     University of Oregon ’s team is currently
  a school without” a Bias Response Team.20                               known as the “Bias Education and Response
  Boston College’s student government described                           Team,”24 and the University of North
  them as “ubiquitous.”21                                                 Carolina at Asheville ’s team is the “Bias
                                                                          Incident Response Team.”25 While most team
  To a certain extent, FIRE found this to be true.                        names appear to include some variation on “Bias
  According to publicly available records, there                          Response Team,” some do not. Arizona State
  were at least 231 Bias Response Teams                                   University previously hosted a “Campus
  publicized by four-year or post-graduate                                Environment Team,”26 and Illinois State
  institutions during 2016. Of these, 143 were at                         University currently utilizes an “Inclusive
  public institutions, all of which are bound by the                      Community Response Team.”27 The University
  First Amendment, while 88 were at private                               of Central Florida ’s “Just Knights Response
  institutions, most of which advertise or commit                         Team” reflects the name of its athletic teams.28
  to respecting students’ freedom of expression                           And some institutions do not have a separate
  and freedom of academic inquiry in official                             team for bias reports, instead relying on existing
  policy. At a conservative estimate,22 at least 2.84                     offices or departments. Some direct reports to
  million American students are subject to often-                         police departments,29 various deans30 or human
  anonymous reporting systems monitored by                                resources offices,31 or housing authorities.32
  administrators and police officers.23 But while
  Bias Response Teams are in use at hundreds of                           To better understand these report-and-
  institutions, and appear to be growing in                               response systems, and to distinguish them from
  number, it does not appear that they can yet be                         other types of speech codes, FIRE views “Bias
  found on a majority of campuses.                                        Response Teams” as identified as such or
                                                                          generally adhering to three criteria:
  The names and acronyms used for bias reporting
  systems vary from campus to campus. The

  20                                                                      27
     Email from Bindu Jayne, Assoc. Vice Chancellor for Equity,              Division of Student Affairs, Inclusive Community Response
  Diversity & Compliance, Appalachian State Univ. (Feb. 4, 2016),         Team, ILLINOIS STATE UNIV.,
  available at                                                            http://studentaffairs.illinoisstate.edu/who/diversity/icrt (last
  https://www.documentcloud.org/documents/3233900-                        visited Jan. 1., 2017).
                                                                          28
  Appalachian-State-University-Email-Re-Forming.html.                        Just Knights Response Team, UNIV. OF CENT. FLA.,
  21
     Boston College UGBC Student Assembly, A Resolution                   http://jkrt.sdes.ucf.edu/bias (last visited Jan. 1, 2017).
                                                                          29
  Concerning Bias Incidents, available at                                    See, e.g., USM Public Safety Anonymous Crime Reporting Form,
  https://www.documentcloud.org/documents/3233930-Boston-                 UNIV. OF SOUTHERN MAINE, https://usm.maine.edu/police/usm-
  College-UGBC-Resolution-Concerning-Bias.html.                           public-safety-anonymous-crime-reporting-form (last visited Jan.
  22
     This estimate assumes that each bias reporting system applies        2, 2017) (form for reporting “Bias/hate activity” to campus
  only to (1) undergraduate students, unless it is expressly dedicated    police); Human Dignity – Reporting Process, DEPAUL UNIV.,
  to a graduate program or campus; (2) at the primary or main             http://dignity.depaul.edu/report.html (last visited Jan. 2, 2017)
  campus, unless it is expressly dedicated to a particular campus. It     (“any victim” of a “Bias Incident […] must report the incident to
  does not include faculty, staff, or (for the most part) post-graduate   the Public Safety Office” in order to be investigated).
                                                                          30
  students or undergraduate students at satellite campuses.                  See, e.g., Office of Student Conduct, PENSACOLA STATE COLLEGE,
  23
     Enrollment statistics were calculated using data from the            http://www.pensacolastate.edu/studentconduct (last visited Jan.
  Integrated Postsecondary Education Data System, which is                2, 2017) (directing reports of bias incidents to the Office of
  compiled by the U.S. Department of Education’s National Center          Student Conduct); Report an Incident, BOWLING GREEN STATE
  for Education Statistics. About IPEDS, NATIONAL CENTER FOR              UNIV., https://www.bgsu.edu/dean-of-students/student-
  EDUCATION STATISTICS,                                                   conduct/report-an-incident.html (last visited Jan. 2, 2017)
  https://nces.ed.gov/ipeds/Home/AboutIPEDS (last visited Jan. 8,         (directing reports to the Office of the Dean of Students).
                                                                          31
  2017).                                                                     See, e.g., Bias Incident Report Form, WASH. STATE UNIV.,
  24
     Office of the Dean of Students, Bias Education and Response          http://public.wsu.edu/~hrd/programs/hbreport.pdf (last visited
  Team, UNIV. OF OREGON, http://dos.uoregon.edu/bias (last visited        Jan. 2, 2017) (directing reporting party to forward the form to the
  Jan. 1, 2017).                                                          Human Relations and Diversity office).
  25                                                                      32
     Bias Incident Response Team (BIRT), UNIV. OF N.C.,                      See, e.g., Bias Protocol & Illinois Intervenes, UNIV. OF ILL. AT
  https://msp.unca.edu/bias-incident-response-team-birt (last             URBANA-CHAMPAIGN, http://housing.illinois.edu/living-
  visited Jan. 2, 2017).                                                  options/why-housing/inclusive-communities/bias-protocol (last
  26
     ALLAN MICHAEL HOFFMAN ET AL., VIOLENCE ON CAMPUS:                    visited Jan. 2, 2017) (directing reports to a “Residential Life
  DEFINING THE PROBLEMS, STRATEGIES FOR ACTION, 300 (1998).               professional”).



                                                             2017 SURVEY OF BIAS REPORTING SYSTEMS IN HIGHER EDUCATION	                        11
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 498 of 566 PageID 568


       DISCUSSION
       	  
              (1)   a formal or explicit process for or                     student was aware that they could file bias
                    solicitation of                                         reports online, most had never heard the phrase
              (2)   reports from students, faculty,                         “bias incident” before, and the majority had
                    staff, or the community                                 “incorrect interpretations” about its meaning.35
              (3)   concerning offensive conduct or
                    speech that is protected by the                         Broad applications of the term can diminish
                    First Amendment or principles of                        serious misconduct by equating political
                    expressive       or      academic                       squabbles and caustic speech with violent
                    freedom.33                                              criminal conduct. For example, The New York
                                                                            Times was widely and credibly criticized36 for an
       These criteria are designed to include systems                       article37 noting that “[b]ias incidents on both
       that invite reports of protected speech without                      sides have been reported” at the U n i v e r s i t y o f
       specifically labeling it as “bias,” while                            M i c h i g a n , with one student alleging38 that she
       distinguishing speech codes unaccompanied by                         had been “threatened with being lit on fire
       formal or explicit policies for reporting such                       because she wore a hijab.” The article continued:
       incidents.                                                           “Other students were accused of being racist for
                                                                            supporting Mr. Trump … .”39

       C A S T IN G A W IDE N E T FOR B IA S                                Such political criticism can hardly be placed
       IN C IDE N T S                                                       under the same umbrella as true threats of
                                                                            violence. Yet this is precisely what many bias
       What constitutes a “bias incident” varies widely                     reporting systems do. Schools largely define bias
       from campus to campus. As the U n i v e r s i t y o f                incidents to encompass more than hate crimes
       W e s t F l o r i d a puts it, defining the term                     or actionable conduct. Hate crimes—criminal
       “seem[s] like a murky ground to traverse.”34                         conduct undertaken on the basis of a protected
                                                                            characteristic of the victim, which is not
       Even the use of the term “bias incident”                             protected by the First Amendment40—are
       engenders debate and confusion. In a February                        always bias incidents. “Bias incidents,” however,
       2015 audit of C o l g a t e U n i v e r s i t y ’s bias              include speech or expressive conduct that is not
       reporting system, a campus committee reported                        necessarily criminal or in violation of applicable
       that, although the sample size was small, no                         policy.

       33
          The U.S. Department of Justice employed a similar definition of   PM),
       “bias incident” in a 2001 report: “acts of prejudice that are not    http://twitter.com/JessicaValenti/status/806971007307280384.
                                                                            37
       accompanied by violence, the threat of violence, property damage,       Anemona Hartocollis, On Campus, Trump Fans Say They Need
       or other illegal conduct.” U.S. DEPT. OF JUSTICE BUREAU OF           ‘Safe Spaces’, N.Y. TIMES, Dec. 8, 2016,
       JUSTICE ASSISTANCE, HATE CRIMES ON CAMPUS: THE PROBLEM AND           http://www.nytimes.com/2016/12/08/us/politics/political-
       EFFORTS TO CONFRONT IT 5 (Oct. 2001), available at                   divide-on-campuses-hardens-after-trumps-victory.html.
                                                                            38
       https://www.ncjrs.gov/pdffiles1/bja/187249.pdf.                         Police later alleged that the report was false. John Counts, U-M
       34
          What is Bias?, UNIV. OF WEST FLA., http://uwf.edu/offices/bias-   Student’s Claim of Threat for Wearing Hijab Is False, Police Say,
       response/what-is-bias (last visited Jan. 5, 2017).                   MLive.com, Dec. 21, 2016, http://www.mlive.com/news/ann-
       35
          COLGATE UNIVERSITY ADVISORY COMMITTEE ON CAMPUS                   arbor/index.ssf/2016/12/police_say_no_evidence_muslim.html.
       SECURITY, ACCS COMPLIANCE REPORT 2014-15 (2015), available at        While some reports of bias incidents, as with any type of report to
       https://www.documentcloud.org/documents/3234248-Colgate-             authorities, may be false, there is no shortage of true threats (if
       Advisory-Committee-on-Campus-Security.html.                          not acts) of violence similar to that alleged at the University of
       36
          See, e.g., John K. Wilson, Safe Spaces for Conservatives: Why     Michigan.
                                                                            39
       Being Called a Racist Is Not a Bias Incident, ACADEME BLOG, Dec.        Erik Wemple, New York Times Deserts ‘Both Sides’ Language in
       11, 2016, https://academeblog.org/2016/12/11/safe-spaces-for-        Story on Campus Trump Supporters, WASH. POST, Dec. 9, 2016,
       conservatives-why-being-called-a-racist-is-not-a-bias-incident;      https://www.washingtonpost.com/blogs/erik-
       see also, Andre Segura (@andresegura), TWITTER (Dec. 8, 2016,        wemple/wp/2016/12/09/new-york-times-deserts-both-sides-
       5:01 PM),                                                            language-in-story-on-campus-trump-
       http://twitter.com/andresegura/status/806982019674677248;            supporters/?utm_term=.341a5dd304a5.
                                                                            40
       Jessica Valenti (@JessicaValenti), TWITTER (Dec. 8, 2016, 4:17          Wisconsin v. Mitchell, 508 U.S. 476, 484-490 (1993).



12     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 499 of 566 PageID 569

                                                                                                                        DISCUSSION
  	  
                                                                          protected by the First Amendment unless it falls
  Take, for example, the University of Northern                           within certain narrow exceptions carved out by
  Iowa ’s definition:41                                                   the Supreme Court: incitement to immediate
                                                                          violence;     so-called     “fighting     words”;
         A bias-related incident is any word or                           harassment44; true threats and intimidation;
         action directed toward an individual                             obscenity; child pornography; and defamation.
         or group based upon actual or                                    Speech is not unprotected simply because it is
         perceived identity characteristics or                            offensive,45 insulting,46 causes anger,47 or is
         background of a group or person that is                          viewed as prejudiced or as “hate speech.”48 If the
         harmful or hurtful. Some bias-related                            speech in question does not fall within one of the
         incidents may be contrary to law or                              listed exceptions, it most likely is protected
         policy, while some may be speech                                 speech.49
         protected by the First Amendment of
         the Constitution of the United States.                           Most reporting systems are predicated on
                                                                          specific, enumerated characteristics. Of the
  W estern W ashington University ’s definition                           systems identified by FIRE, 199 (or 86%)
  extends to “demonstrations” of bias, including                          explicitly set forth these characteristics. Among
  “language, words, signs, symbols, threats, or                           them, the categories vary widely on different
  actions that could potentially cause alarm,                             campuses. Each of these teams solicits reports
  anger, or fear in others[.]”42 Moreover, the                            about bias against race or religion, and all but
  existence of a bias incident under the policy                           one explicitly solicit reports about disability or
  turns entirely on whether the complainant                               sexual orientation.50 There is less agreement on
  subjectively perceived the incident to be                               more specific categories. For example, while
  motivated by bias, rather than on the intent of                         94.5% seek reports of bias based on national
  the speaker.43                                                          origin or nationality, only 14.1% explicitly seek
                                                                          reports of bias against immigration or
  In targeting speech that may cause “alarm,                              citizenship status.
  anger, or fear,” or that might otherwise offend on
  the basis of a proscribed subject, universities                         Some categories of “bias” are peculiar. For
  expressly set their sights on constitutionally                          example, the University of Kentucky permits
  protected speech. All speech is presumptively

  41                                                                      47
     Bias Response Protocol, UNIV. N. IOWA, https://uni.edu/brt/bias-        Terminiello v. Chicago, 337 U.S. 1, 4 (1949) (A “function of free
  response-protocol#overlay-context=bias-response-protocol (last          speech under our system of government is to invite dispute. It
  visited Jan. 5, 2017).                                                  may indeed best serve its high purpose when it induces a
  42
     Bias Incident Reporting Form, WESTERN WASH. UNIV.,                   condition of unrest, creates dissatisfaction with conditions as they
  http://www.wwu.edu/eoo/bias-incident-response.shtml (last               are, or even stirs people to anger.”).
                                                                          48
  visited Jan. 5, 2017).                                                     Eugene Volokh, No, There’s No “Hate Speech” Exception to the
  43
     See, e.g., Florida State University Bias Incident Response System,   First Amendment, WASH. POST., May 7, 2015,
  FLA. STATE UNIV., http://thecenter.fsu.edu/article/florida-state-       https://www.washingtonpost.com/news/volokh-
  university-bias-incident-response-system (last visited Jan. 5,          conspiracy/wp/2015/05/07/no-theres-no-hate-speech-
  2017) (“An incident of bias may occur whether the act is                exception-to-the-first-amendment/?utm_term=.2cca993394b8.
                                                                          49
  intentional or unintentional”).                                            For a more in-depth discussion of the application of the First
  44
     For more on the application of peer harassment law on campus,        Amendment to public universities, and of the principles of
  see Azhar Majeed, The Misapplication of Peer Harassment Law on          freedom of speech to the private institutions that promise it, see
  College and University Campuses and the Loss of Student Speech          FIRE’s Spotlight on Speech Codes 2017, supra note 11, available at
  Rights, 35 J.C. & U.L. 385 (2009), available at                         https://d28htnjz2elwuj.cloudfront.net/wp-
  https://ssrn.com/abstract=1400300.	  	                                content/uploads/2016/12/12115009/SCR_2017_Full-
  45
     Texas v. Johnson, 491 U.S. 397, 414 (1989) (“If there is a bedrock   Cover_Revised.pdf#page=10.
                                                                          50
  principle underlying the First Amendment, it is that the                   The anomaly, at Baylor University, appears to be the result of a
  government may not prohibit the expression of an idea simply            lack of effort to promulgate a complete definition, providing that
  because society finds the idea itself offensive or disagreeable.”).     bias incidents relate to “race, nationality, religion, gender, age,
  46
     Boos v. Barry, 485 U.S. 312, 322 (1988) (First Amendment             etc.” Bias Motivated Incident Support Team, BAYLOR UNIV.,
  protects “insulting, and even outrageous, speech”).                     http://www.baylor.edu/student_life/index.php?id=85780 (last
                                                                          visited Jan. 5, 2017).



                                                             2017 SURVEY OF BIAS REPORTING SYSTEMS IN HIGHER EDUCATION	                         13
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 500 of 566 PageID 570


       DISCUSSION
       	  
       reports of bias against “smoker status,”51                                  •   Examples of bias incidents at W i l l i a m s
       perhaps as a result of borrowing language from a                                C o l l e g e include “comments on social
       state    law        concerning      employment                                  media about someone’s … political
       discrimination against tobacco users.52                                         affiliations/beliefs.”56 This definition
                                                                                       could include any response to any
       There is also significant divergence when it                                    political view posted on social media, or
       comes to reporting bias based on political                                      even simple criticism of elected officials.
       affiliation, views, or conduct. Worryingly, 21% of
       public institutions seek out reports of bias on the                         •   The U n i v e r s i t y o f C o l o r a d o included
       basis of political affiliation, as opposed to 2.6% of                           both “political philosophy” and “political
       private institutions. Among them, concerns                                      affiliation” as protected classes.57 (It has
       regarding bias against political and social views                               since shut down its Bias Response
       vary:                                                                           Team.)

              •   D a r t m o u t h C o l l e g e lists “political                 •   The U n i v e r s i t y of    K e n t u c k y ’s
                  expression” as a potential motivation on                             definition targets, in part, bias against a
                  its reporting form53 and defines bias to                             person for his or her “political belief.”58
                  include “[t]reating someone negatively
                  because of their actual or perceived ….                     Other systems invite reports of even broader
                  [p]olitical or social affiliation.”54 This                  ranges of criticism and discussion:
                  broad wording could encompass voting
                  against a person for campus political                            •   M a c a l e s t e r C o l l e g e ’s now-deleted
                  offices or simply criticizing their                                  definition included “bias against another
                  political                               speech.                      person based on … his or her
                                                                                       membership in a group … or an
              •   The U n i v e r s i t y o f N o r t h C a r o l i n a a t            individual’s particular characteristics,
                  C h a r l o t t e includes “[p]olitical beliefs”                     r o l e , or b e h a v i o r .”59 This definition
                  in its definition of bias, and provides the                          could apply to almost any criticism of
                  following example: “Drawing pictures or                              anyone.
                  cartoons that belittle someone because
                  of their beliefs … or political                                  •   Both S y r a c u s e            Univ er s it y     and
                  affiliation.”55 This would apply to                                  L o n g w o o d U n i v e r s i t y list political and
                  virtually all political cartoons.                                    “social affiliation” as unacceptable
                                                                                       grounds for bias.60 It is nearly impossible


       51                                                                     56
          Bias Incident Report Form, UNIV. OF KY.,                               Questions about Bias and Bias Reporting, WILLIAMS COLLEGE,
       https://docs.google.com/forms/d/e/1FAIpQLSezIXDEHHU1RX-                http://speakup.williams.edu/faq (last visited Jan. 6, 2017).
                                                                              57
       sldceuBDcZioM4buVea9F2CJmaatW61-nDA/viewform (last                        Definitions, UNIV. OF COLO., archived on July 25, 2016 and
       visited Jan. 5, 2017).                                                 available at http://archive.is/hR0ps.
       52                                                                     58
          Unlawful discrimination by employers – Difference in health            Bias Incident Report Form, UNIV. OF KY.,
       plan contribution rates for smokers and nonsmokers and benefits        https://docs.google.com/forms/d/e/1FAIpQLSezIXDEHHU1RX-
       for smoking cessation program participants excepted, KY. REV.          sldceuBDcZioM4buVea9F2CJmaatW61-nDA/viewform (last
       STAT. § 344.040.                                                       visited Jan. 5, 2017).
       53                                                                     59
          Bias Incident Reporting Form, DARTMOUTH COLLEGE,                       What is a bias-related incident?, MACALESTER COLLEGE, archived
       http://www.dartmouth.edu/~opal/act (last visited Jan. 5, 2017).        on Sept. 12, 2016 and available at http://archive.is/27e8C
       54
          Achieving Community Together (A.C.T.) Program, DARTMOUTH            (emphasis added).
                                                                              60
       COLLEGE, http://www.dartmouth.edu/~opal/act (last visited Jan.            What is bias?, SYRACUSE UNIV.,
       5, 2017).                                                              http://www.syracuse.edu/currentstudents/stopbias/whatisbias.h
       55
          What is Bias, UNIV. N.C. BIAS ASSESSMENT AND RESOURCE TEAM,         tml (last visited Jan. 5, 2017); What is Bias?, LONGWOOD UNIV.,
       http://unccdso.uncc.edu/org/biasassessmentandresourceteam14            http://www.longwood.edu/diversity/experiencing-bias/what-is-
       5871/What_Is_Bias (last visited Jan. 31, 2017).                        bias (last visited Jan. 5, 2017).



14     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 501 of 566 PageID 571

                                                                                                                     DISCUSSION
  	  
              to discern a meaningful limit to this                             Trump supporters by drawing penises
              category.                                                         next to them. Yet another report
                                                                                complained that a pro-Trump student
  Some of these examples are likely the result of                               organization was using chalk to write
  definitions borrowed from state employment                                    “hate speech” in support of Trump.61
  discrimination statutes. Yet asking students to
  report one another for broadly defined bias                                   Another series of reports was filed
  against their voluntary political or social                                   against a student activist on several
  affiliation invites surveillance of and intrusion                             grounds: tweeting that she “hate[s]
  into political speech, subjecting it to the scrutiny                          white men”; “refus[ing] to support all
  of administrators and police.                                                 students if a student fits the certain
                                                                                stereotype      of  a     white    male”;
                                                                                “display[ing] disturbing apathy [and]
  E X A M P L E S OF R E P OR T E D IN C IDE N T S :                            ignorance      and    bitterness”;    and
  C A U GHT IN A W IDE N E T , U N IV E R S IT IE S                             “express[ing] profound disregard for the
  E N T A N GL E T HE M S E L V E S IN T O                                      lives of students based on race and
  R E FE R E E IN G P OL IT IC A L S P E E C H                                  gender and for [police] officers based on
                                                                                their careers.”62
  It is not mere speculation that core political
  speech, academic discourse, and outspoken                                •   T e x a s T e c h U n i v e r s i t y : The Black
  activists are likely to become the subjects of bias                          Student Union (BSU) was reported to
  incident reports. FIRE used public records                                   administrators for tweeting “All lives
  requests, reviewed similar requests by media                                 don’t matter... White lives don’t matter…
  outlets, and examined the sparse public                                      Blue         lives        don’t           matter…
  disclosures by Bias Response Teams to discern                                #BlackLivesMatter.” The complainant
  what gets reported.                                                          wanted the BSU characterized as a “Hate
                                                                               Group” and complained that the student
  The reports we reviewed, which often fail to                                 chapter of the College Democrats
  disclose what action (if any) was undertaken in                              planned to release a statement in
  response, span the ideological spectrum:                                     support of BSU.63

         •   A p p a l a c h i a n S t a t e U n i v e r s i t y : A       •   U n i v e r s i t y o f C a l i f o r n i a , S a n D i e g o
             student filed a report regarding the 2016                         (UCSD): A student humor publication,
             presidential election, claiming to be                             The Koala, lost its student funding after
             “offended by the politically biased                               satirizing “safe spaces” on campus.64
             slander that is chalked up everywhere                             Spurred by bias incident reports,
             reading ‘TRUMP IS A RACIST’” and                                  specifically one calling on UCSD to “stop
             describing the “slander” as “unlawful.”                           funding” The Koala, administrators
             Another report stated that supporters of                          asked the university’s lawyer to “think
             then-candidate Bernie Sanders were                                creatively” about how to address the
             “destroying” messages chalked by                                  newspaper, which they felt “crosse[d]

  61
     Spreadsheet of Incidents Reported, APPALACHIAN STATE UNIV.,       request, available at
  produced to the Foundation for Individual Rights in Education in     https://www.documentcloud.org/documents/3255186-Texas-
  response to a public records request, available at                   Tech-BSA-Black-Lives-Matter-tweet.html.
                                                                       64
  http://www.documentcloud.org/document/3255183-                          Adam Steinbaugh, As ‘The Koala’ Files Lawsuit Against
  Appalachian-State-University-Bias-Incident.html.                     University of California, San Diego, Public Records Reveal
  62
     APPALACHIAN STATE UNIV., supra note 61.                           Administration’s Censorship, NEWSDESK, June 1, 2016,
  63
     Texas Tech University Campus Climate & Incident Reporting         https://www.thefire.org/as-the-koala-files-lawsuit-against-
  Form Submitted on July 14, 2016, produced to the Foundation for      university-of-california-san-diego-public-records-reveal-
  Individual Rights in Education in response to a public records       administrations-censorship/.



                                                                                               2017 BIAS RESPONSE TEAM REPORT	                15
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 502 of 566 PageID 572


       DISCUSSION
       	  
                   the ‘free speech’ line.”65 It didn’t, and The                       concessions from a UNC administrator
                   Koala is suing UCSD with the assistance                             that the Bias Response Team’s efforts
                   of the ACLU of Southern California.66                               may have been improper in some cases.72
                                                                                       UNC subsequently shuttered its Bias
              •   J o h n C a r r o l l U n i v e r s i t y : A summary                Response Team.73
                  report recounted that an “[a]nonymous
                  student reported that [the] African-                            •   U n i v e r s i t y o f O r e g o n : The Bias
                  American Alliance’s student protest was                             Response Team intervened to explain
                  making           white            students        feel              “community               standards        and
                  uncomfortable.”67                                                   expectations” when students had the
                                                                                      audacity to “express[] anger about
              •   U n i v e r s i t y o f N o r t h e r n C o l o r a d o             oppression.”74 In a separate incident, the
                  (UNC):             Two     professors           were                Bias Response Team intervened with the
                  investigated for encouraging students to                            reporter and editor of a student
                  debate gay and transgender rights in                                newspaper after an anonymous report
                  class—including one professor who was                               that the “newspaper gave less press
                  responding to a student’s comments on                               coverage to trans students and students
                  the issue and encouraging his students to                           of color.”75
                  confront            arguments          they      find
                  uncomfortable.68             Other          reports             •   U n i v e r s i t y o f M i c h i g a n : A snow
                  indicated that students were ordered to                             sculpture perceived to be a “snow penis”
                  remove a Confederate flag from their                                was reported.76
                  dormitory room because it might offend
                  someone.69 These disclosures spurred                            •   C o n n e c t i c u t C o l l e g e : Pro-Palestinian
                  letters of inquiry from two state                                   students were reported over flyers
                  senators,70 a condemnation from the                                 mimicking Israeli eviction notices to
                  Denver Post editorial board,71 and                                  Palestinians, sparking an investigation
       65                                                                    70
          Email from Becky Pettit, Univ. of Cal. San Diego Vice Chancellor      Tyler Silvy, Sen. John Cooke Rips University of Northern
       for Equity, Diversity, and Inclusion, to Daniel Park, Univ. of Cal.   Colorado in Scathing Letter, GREELEY TRIBUNE, July 2, 2016,
       San Diego Chief Campus Counsel, Nov. 13, 2016, available at           http://www.greeleytribune.com/news/local/sen-john-cooke-
       https://d28htnjz2elwuj.cloudfront.net/wp-                             rips-university-of-northern-colorado-in-scathing-letter/.
                                                                             71
       content/uploads/2016/06/01095740/Koala-v-UCSD_Public-                    Denver Post Editorial Board, UNC’s Weak-Kneed Commitment
       Records-and-Bias-Incident-Reports.pdf#page=8.                         to Free Speech, DENVER POST, July 5, 2016,
       66
          Defending Freedom of Speech for Everyone, ACLU Sues UCSD to        http://www.denverpost.com/2016/07/05/uncs-weak-kneed-
       Enforce First Amendment Rights of the Student Press, AM. CIVIL        commitment-to-free-speech/.
                                                                             72
       LIBERTIES UNION OF SAN DIEGO, May 31, 2016,                              Alex Morey, Facing More Troubling Details and Public Outcry,
       https://www.aclusandiego.org/defending-freedom-speech-                Northern Colorado Vows to Reconsider Bias Response Team,
       everyone-aclu-sues-ucsd-enforce-first-amendment-rights-               NEWSDESK, June 27, 2016, https://www.thefire.org/facing-more-
       student-press/.                                                       troubling-details-and-public-outcry-northern-colorado-vows-to-
       67
          JOHN CARROLL UNIV., INTERIM REPORT ON BIAS REPORTING               reconsider-bias-response-team/.
                                                                             73
       SYSTEM SUMMER-FALL 2015 4 (2015) available at                            Adam Steinbaugh, University of Northern Colorado to End ‘Bias
       http://webmedia.jcu.edu/bias/files/2016/02/Bias-Reports-Fall-         Response Team,’ But What Next?, NEWSDESK, Sept. 9, 2016,
       2015-web-rev.-2.24.2016.pdf.                                          https://www.thefire.org/university-of-northern-colorado-to-
       68
          Adam Steinbaugh & Alex Morey, Professor Investigated for           end-bias-response-team-but-what-next/.
                                                                             74
       Discussing Conflicting Viewpoints, ‘The Coddling of The American         Conor Friedersdorf (@conor64), TWITTER (May 14, 2016, 12:29
       Mind’, NEWSDESK, June 20, 2016,                                       PM), https://twitter.com/conor64/status/731521764912730112.
                                                                             75
       https://www.thefire.org/professor-investigated-for-discussing-           UNIVERSITY OF OREGON BIAS RESPONSE TEAM, ANNUAL REPORT
       conflicting-viewpoints-the-coddling-of-the-american-mind/.            2014-2015 10 (2015), archived at
       69
          Tyler Silvy, University of Northern Colorado’s Handling of         http://web.archive.org/web/20151015075754/http://uodos.uoreg
       Speech Deemed Offensive Raises Questions, Concerns, GREELEY           on.edu/Portals/0/BRT/Annual%20Report%202014-2015.pdf.
                                                                             76
       TRIBUNE, June 28, 2016,                                                  Erin Dunne, Snow Penis Reported as Bias-Incident, MICH.
       http://www.greeleytribune.com/news/local/university-of-               REVIEW, Feb. 25, 2016, http://www.michiganreview.com/snow-
       northern-colorados-handling-of-speech-deemed-offensive-               penis-reported-as-bias-incident/.
       raises-questions-concerns/.



16     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 503 of 566 PageID 573

                                                                                                                    DISCUSSION
  	  
             by a dean.77 The college’s response led to                           to human resources administrators, who
             students occupying the president’s                                   discussed freedom of speech policies
             office, inquiring “about the differential                            with the complainant.83
             treatment of alleged bias incidents on
             campus, particularly why some bias                                   In a separate instance, an anonymous
             incidents       warrant        all-campus                            person reported the student government
             communications and administrative                                    for participating in efforts to encourage
             actions while others do not.”78                                      Cornell to become a sanctuary campus.84

         •   C o l b y C o l l e g e : Logs of bias incident                 •   O h i o S t a t e U n i v e r s i t y : A group of
             reports—which are now hidden from                                   students was reported for sharing
             public view79—show one student                                      memes comparing Hillary Clinton to
             reported for claiming that a student                                Adolf Hitler in a “political discussion,”
             group was racist against white people,                              resulting in a housing employee holding
             while another was reported for using the                            a “mandatory floor meeting about
             phrase “on the other hand,” which was                               triggering events.”85
             perceived as ableist.80
                                                                                  Another      student     called     upon
         •   U n i v e r s i t y o f N e w M e x i c o (UNM): A                   administrators to compel the College
             student member of the College                                        Democrats to allow anyone to attend
             Republicans             was     reported      and                    their meetings after the Democrats had
             investigated by the office of the dean of                            asked the student to leave, believing him
             students for criticizing a student and her                           to be a member of the College
             organization by name81 during a public                               Republicans sent to observe the
             debate over whether UNM should cut                                   meeting.86
             ties with Chick-fil-A.82
                                                                                  Yet another student reported a chalk
         •   C o r n e l l U n i v e r s i t y : A professor was                  message stating “Build the Wall,” which
             reported for speaking at a rally as a                                the student wanted “erased”; the student
             private citizen and referring to police as                           also requested “a clear message from the
             “terrorists.” The complaint was referred

  77
     Lea Speyer, Anti-Israel Students at Connecticut College ‘Occupy’   https://www.abqjournal.com/173096/unm-board-chick-fil-a-to-
  Office of School President in Protest Over Investigation of Mock      stay.html; Chick-fil-A to Stay on UNM Campus, KOAT-TV, Feb. 27,
  Eviction Notices, ALGEMEINER, May 16, 2016,                           2013, https://www.youtube.com/watch?v=LYUCfnstTro.
                                                                        83
  https://www.algemeiner.com/2016/05/16/anti-israel-students-              Bias Incident Summaries: July 1 – August 31, 2016, CORNELL
  at-connecticut-college-occupy-office-of-school-president-in-          UNIV.,
  protest-over-investigation-of-mock-eviction-notices/.                 http://diversity.cornell.edu/sites/default/files/documents/Aug2
  78
     Why We’re Here, OCCUPY FANNING, May 13, 2016,                      016_Incident%20Summaries.pdf.
                                                                        84
  http://occupyfanning2.blogspot.com/2016/05/why-were-                     Bias Incident Summaries: July 1 – November 30, 2016, CORNELL
  here.html.                                                            UNIV.,
  79
     Colby College’s bias incident policy earned that institution the   http://diversity.cornell.edu/sites/default/files/documents/Nov2
  dubious honor of being FIRE’s July 2016 Speech Code of the            016_Incident%20Summaries.pdf.
                                                                        85
  Month. Samantha Harris, Speech Code of the Month: Colby College,         Bias incident report dated Oct. 23, 2015, OHIO STATE UNIV.,
  NEWSDESK, July 20, 2016, https://www.thefire.org/speech-code-         produced to the Foundation for Individual Rights in Education in
  of-the-month-colby-college/.                                          response to a public records request, available at
  80
     Bias Incident Log, COLBY COLLEGE, archived on July 23, 2016        https://www.documentcloud.org/documents/3255200-Ohio-
  and available at http://archive.is/wRwfw.                             State-University-Bias-Assessment-and.html. How OSU
  81
     University of New Mexico Hate/Bias Incident Reporting Form,        responded to these reports is unclear, as OSU declined to produce
  Feb. 27, 2013, produced to the Foundation for Individual Rights in    “voluminous” records relating to its responses.
                                                                        86
  Education in response to a public records request, available at          Bias incident report dated Feb. 1, 2016, OHIO STATE UNIV.,
  https://www.documentcloud.org/documents/3234843-                      produced to the Foundation for Individual Rights in Education in
  University-of-New-Mexico-Chick-Fil-a-Report.html.                     response to a public records request, available at
  82
     Astrid Galvin, UNM Board: Chick-fil-A to Stay, ALBUQUERQUE         https://www.documentcloud.org/documents/3418811-Ohio-
  JOURNAL, Feb. 27, 2013,                                               State-University-College-Democrats-Report.html. 	  



                                                                                               2017 BIAS RESPONSE TEAM REPORT	             17
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 504 of 566 PageID 574


       DISCUSSION
       	  
                    university that this type of hate speech                                     dressing up as the “Three Blind Mice” for
                    will not be allowed.”87                                                      Halloween, which the complainant
                                                                                                 feared might offend others who might
                    (OSU’s police chief, in an article posted                                    believe the costumes were making fun of
                    on OSU’s Bias Assessment and Response                                        disabilities.93
                    Team’s website, recommends that
                    students who are “verbally insulted or                                  •   C a s e W e s t e r n R e s e r v e U n i v e r s i t y
                    confronted by someone with whom you                                         (CWRU): A professor was reported for a
                    strongly disagree” should “not engage in                                    writing assignment that challenged
                    debate.”)88                                                                 students to “[w]rite about a gay child
                                                                                                being kicked out of their house, and
              •   U n i v e r s i t y o f T e x a s a t A u s t i n :89 The                     make the audience feel sorry for the
                  Campus Climate Response Team                                                  person kicking them out.”94
                  (CCRT) fielded dozens of reports about a
                  conservative student group’s protest of                                        Another CWRU professor was reported
                  affirmative action in the form of an                                           because, among other things, students
                  “affirmative action bake sale.”90 94% of                                       were “required to read plays with racist
                  the reports sought disciplinary action.                                        depictions of First Nations people.”95
                  Administrators met with the student
                  group following the reports and                                                A third CWRU professor was reported
                  acknowledged in an open letter that it                                         for asking students who were neither
                  was the student group’s “right to” engage                                      citizens nor permanent residents to
                  in the protest.91 The CCRT’s annual                                            raise their hands, then pointing out that
                  report also disclosed that “[f]aculty and                                      they could be sued anywhere.96 This
                  student commentary in the classroom                                            appears to have been an exercise in
                  perceived as derogatory and insensitive”                                       explaining residency and venue during a
                  was an example of the “types of                                                law school course on civil procedure.97
                  incidents” reported to the CCRT.92
                                                                                                 There is no public indication as to
              •   U n i v e r s i t y o f W i s c o n s i n —P l a t t e v i l l e :             whether CWRU intervened in any of
                  Documents acquired by Heat Street                                              these cases.
                  showed that students were reported for

       87                                                                              91
          Bias incident report dated Apr. 18, 2016, OHIO STATE UNIV.,                     Statement From Dr. Gregory Vincent About the Young
       produced to the Foundation for Individual Rights in Education in                Conservatives of Texas’s Bake Sale, UNIV. OF TEXAS AT AUSTIN,
       response to a public records request, available at                              Sept. 27, 2013,
       https://www.documentcloud.org/documents/3418842-Ohio-                           http://diversity.utexas.edu/news/2013/09/27/statement-from-
       State-University-Build-the-Wall-Report.html.                                    dr-gregory-vincent-about-the-young-conservatives-of-texass-
       88
          Paul S. Denton, How OSU Police Respond to Incidents of Bias or               bake-sale/.
                                                                                       92
       Intimidation, OHIO STATE UNIV.,                                                    UNIVERSITY OF TEXAS AT AUSTIN CAMPUS CLIMATE RESPONSE
       http://studentlife.osu.edu/bias/pdfs/how-osu-police-respond-to-                 TEAM, supra note 90 at p. 15.
                                                                                       93
       incidents-of-bias-or-intimidation.pdf (last visited Jan. 31, 2017);                Jillian Kay Melchior, ‘Bias Incident Team’: Students’ Three Blind
       see also, Bias Response Tools, OHIO STATE UNIV.,                                Mice Halloween Costume ‘Makes Fun of a Disability’, HEAT
       http://studentlife.osu.edu/bias/bias-response-tools.aspx (last                  STREET, Aug. 3, 2016, https://heatst.com/culture-wars/bias-
       visited Jan. 6, 2017) (linking to Chief Denton’s article as one of its          incident-team-students-three-blind-mice-halloween-costume-
       “bias response tools”).                                                         makes-fun-of-a-disability/.
       89                                                                              94
          UT Austin asked FIRE to pay $2,437.20 for records relating to                   Bias Reporting System (BRS), CASE WESTERN RESERVE UNIV.,
       how its CCRT responded, although other Texas institutions                       archived on Sept. 12, 2016 at http://archive.is/kpceX.
                                                                                       95
       provided such records at no cost. We declined.                                     Id.
       90                                                                              96
          UNIVERSITY OF TEXAS AT AUSTIN CAMPUS CLIMATE RESPONSE                           Id.
                                                                                       97
       TEAM, CAMPUS CLIMATE TREND REPORT, 2013-2014 20 (2014),                            28 U.S.C. § 1391 (2011).
       available at
       http://utexas.app.box.com/s/88ccrqlayd41b1nzqjos7z3izkrepol3.



18     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 505 of 566 PageID 575

                                                                                                                        DISCUSSION
  	  
  To be sure, Bias Response Teams also field a                          Some 42% of Bias Response Teams include
  number of reports of conduct not protected by                         police or security officials. By including police
  the First Amendment. For example, many                                and student conduct administrators on their
  reports involve vandalism, assault, or true                           Bias Response Teams, schools send a message to
  threats motivated by bias. These, however, are                        students that undercuts claims of respect for
  acts that may be reported to existing resources,                      freedom of expression: If you say something that
  such as student conduct administrators or police                      offends someone, you may (or in some cases will)
  departments. Schools could also invite students                       be investigated by police. Their inclusion can
  to report unlawful conduct using online                               also lead universities to use police to investigate
  reporting systems, or even to a team set aside to                     offensive speech or anonymous speakers.102 For
  address unlawful conduct motivated by bias. But                       example, at E v e r g r e e n S t a t e C o l l e g e ,
  schools are implementing broad definitions of                         administrators responded to anonymous flyers
  “bias” to expressly invite reports of protected                       critical of, among other things, Black Lives
  speech, including a broad range of political                          Matter, by emailing students:103
  speech, and they often do so without any training
  on First Amendment rights.                                                   The College wants to identify the
                                                                               individual(s) engaged in posting and
                                                                               distributing these flyers. If you have
  W HO S C R U T IN IZ E S T HE S P E E C H?                                   any information about who may be
  P OL IC E , C ON DU C T A DM IN IS T R A T O R S ,                           doing this, it is critical that you contact
  A N D M E DIA R E L A T ION S S T A FF                                       Police Services or provide information
                                                                               anonymously using the online
  Having cast a wide net, who reviews the reported                             incident report form.
  speech? Bias Response Teams are often
  populated by police and student conduct                               Including student conduct administrators, as do
  administrators. They also include, to a lesser                        approximately 63% of Bias Response Teams,
  extent, media relations administrators, faculty                       also sends a chilling message. Students
  members, and students.                                                summoned to meet with a member of the office
                                                                        of the dean of students are likely to view the
  Some institutions, including the U n i v e r s i t y o f              meeting not as educational, but as punitive. Even
  W es t         F l o r i d a 98 and M o n t a n a      St a t e       when the intention is not punitive,
  U n i v e r s i t y ,99 embed police or security officials            administrators are likely to approach “offensive”
  within their Bias Response Teams. Others, such                        speech or sharp disagreement from a conflict-
  as the U n i v e r s i t y o f M o n t a n a 100 and D e P a u l      resolution perspective. This approach may
  U n i v e r s i t y ,101 direct reports straight to police or         conflict with a student speaker’s purpose; many
  security officers.                                                    use speech to heighten or clarify conflict and
                                                                        disagreement in order to further their message.



  98                                                                    101
     About Us, UNIV. OF WEST FLA., http://uwf.edu/offices/bias-             Reporting Process, DEPAUL UNIV.,
  response/about-us (last visited Jan. 9, 2017) (including Chief of     http://dignity.depaul.edu/report.html (last visited Jan. 9, 2017)
  University Police on its Bias Response Team).                         (directing reports to the DePaul Public Safety Office).
  99                                                                    102
     Bias Incident Response Team, MONT. STATE UNIV.,                        The First Amendment protects anonymous speech and
  http://www.montana.edu/biasreporting/BIRT.html (last visited          association. See, e.g., Talley v. California, 362 U.S. 334, 357 (1960)
  Jan. 9, 2017) (Bias Incident Response Team includes a                 (anonymous pamphleteering), NAACP v. Alabama, 357 U.S. 449,
  “representative from the Montana State University Police              462 (1958) (anonymous association).
                                                                        103
  Department”).                                                             Bias Related Incident – April 19 Flyers, EVERGREEN STATE
  100
      Hate Crime Form, UNIV. OF MONT.,                                  COLLEGE, Apr. 19, 2016, produced to the Foundation for
  http://www.umt.edu/police/Police/Hate%20Crime%20Form.ph               Individual Rights in Education in response to a public records
  p (last visited Jan. 9, 2017) (Police department soliciting reports   request and available at
  of bias incidents, including “Leafleting” and the use of slurs).      https://www.documentcloud.org/documents/3418430-
                                                                        Evergreen-State-College-April-19-2016-Flyers.html.	  	  



                                                                                                 2017 BIAS RESPONSE TEAM REPORT	                19
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 506 of 566 PageID 576


       DISCUSSION
       	  
       Including media relations administrators is also                 offensive speech, as well as principles of
       concerning, because it suggests that a school’s                  academic freedom. That may explain why the
       decision to respond to offensive speech may be                   U n i v e r s i t y o f N o r t h e r n C o l o r a d o ’s Bias
       driven by the potential impact to the school’s                   Response Team warned at least one professor
       reputation. Where this is the case, it undermines                that he could face lengthy, intrusive
       the notion implicitly underlying Bias Response                   investigations for permitting students to debate
       Teams that universities are primarily concerned                  controversial issues in class.105
       with providing a safe environment.

       And there is reason to be concerned that                         B IA S R E S P ON S E T E A M S M A Y E X P OS E
       universities’ responses may be driven by a desire                U N IV E R S IT IE S T O FIR S T A M E N DM E N T
       to manage the institutions’ reputation at the                    L A W S U IT S
       expense of protecting freedom of expression. At
       the U n i v e r s i t y o f N e w M e x i c o , administrators   To date, FIRE is aware of no legal challenges to a
       wanted to rush to release a statement from the                   bias reporting system. It’s unclear whether a
                                                  Office of the         legal challenge could be mounted by a student or
                                                  President “rather     faculty member based on the mere existence of
                                                  than waiting for      such a system. However, each time a Bias
                                                  the media to get      Response Team embarks upon an investigation
                                                  ahold of” flyers      or intervention with the reported person, it risks
                                                  critical of the       exposing the institution and its administrators
                                                  university’s logo,    to claims under the First Amendment.
                                                  which included
                                                        conquistadors   That a university provides a mechanism for
                                                  but not Native        community members to share information
       Americans.104 These flyers were perceived by the                 concerning offensive speech may not, alone,
       Bias Response Team as a threat to Native                         amount to a justiciable First Amendment
       Americans because the mock logo incorporated                     controversy. In Laird v. Tatum (1972), the
       skulls and bones underneath the feet of                          Supreme Court of the United States held that the
       conquistadors—a rather obvious criticism of the                  “mere existence” of broad, intelligence-
       treatment of Native Americans in the New                         gathering programs does not, “without more,”
       Mexico area. Ultimately, it was faculty members                  impermissibly chill speech.106
       on the Diversity Council who placed the flyers in
       context. Without their intervention, it is                       The First Amendment, however, does not simply
       possible that administrators who erroneously                     restrict the government from expressly
       viewed the flyers as threatening could have                      penalizing or prohibiting speech. It also
       continued their investigation and initiated                      prohibits “adverse government action against an
       charges.                                                         individual because of First Amendment
                                                                        freedoms.”107 When universities depart from the
       In other words, the lack of faculty or student                   Laird baseline by mounting investigations or
       membership may deprive Bias Response Teams                       interventions with offending speakers, they
       of valuable insight into instances of purportedly                expose themselves to the possibility of a First

       104                                                              105
          See emails and photos produced to the Foundation for              Jillian Kay Melchior, Colorado ‘Bias Response Team’
       Individual Rights in Education by the University of New Mexico   Threatened Prof to Change His Lessons, HEAT STREET, July 5, 2016,
       in response to a public records request, available at            https://heatst.com/culture-wars/bias-response-team-
       https://www.documentcloud.org/documents/3234845-                 threatened-prof-with-title-ix-vii-probe/.
                                                                        106
       University-of-New-Mexico-What-Indians-Report.html.                   Laird v. Tatum, 408 U.S. 1, 10 (1972).
                                                                        107
                                                                            Izen v. Catalina, 398 F.3d 363, 367 (5th Cir. 2005).



20     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 507 of 566 PageID 577

                                                                                                                        DISCUSSION
  	  
  Amendment retaliation claim. This exposure                             the institution, or to provide resources to a
  isn’t limited to legal action against the                              complaining student, these goals are
  university; because many First Amendment                               unobjectionable on First Amendment grounds.
  principles are so well established under the law,                      But the reality is that Bias Response Teams are
  members of a Bias Response Team risk being                             generally intended to deter offensive speech and
  held personally liable for their actions in some                       conduct. Their goal is to chill speech that the
  circumstances.                                                         institution or its constituents find offensive or
                                                                         unkind.111
  To mount a First Amendment retaliation claim,
  for example, an aggrieved party must                                   When Bias Response Teams intervene directly
  demonstrate three things: “first, that his speech                      with the reported student, the risk of exposing
  or act was constitutionally protected; second,                         the university to First Amendment claims
  that the defendant's retaliatory conduct                               increases. Bias Response Teams often submit
  adversely affected the protected speech; and                           speech to the review of police and campus
  third, that there is a causal connection between                       conduct administrators, who launch an
  the retaliatory actions and the adverse effect on                      “investigation”112 or bring “charges”113 against
  speech.”108 Whether government conduct has an                          the “respondent,”114 who may be summoned for
  adverse effect is determined by an objective                           a “hearing”115 and found “guilty”116 or be
  standard: if the retaliatory conduct “would likely                     provided with an “educational”117 reprimand—
  deter ‘a person of ordinary firmness’ from the                         or, in the case of L o n g w o o d U n i v e r s i t y ,
  exercise of First Amendment rights.”109 The                            “education sanctions.”118 This is the language of
  retaliatory conduct need not be successful, as                         punitive systems, not educators, and it is likely
  the cause of action is intended to address                             to be perceived as such by students and by
  “conduct that tends to chill [speech], not just                        courts. Simply calling a quasi-punitive response
  conduct that freezes it completely.”110                                system “educational” doesn’t make it so. After
                                                                         all, many institutions already describe at least
  To the extent that Bias Response Teams are used                        some of their punitive measures as “educational”
  to better understand students’ perspectives, to                        in nature.119
  prepare general programming to constituents of

  108
      Bennett v. Hendrix, 423 F.3d 1247, 1250 (11th Cir. 2005).          motivated incidents and the Tolerance Program and will give
  109
      Id.                                                                her/him the opportunity to respond to the report.”).
  110                                                                    115
      Constantine v. Rectors & Visitors of George Mason Univ., 411           See, e.g., Student Reporting of Bias-Related Incidents, supra note
  F.3d 474, 500 (4th Cir. 2005) (emphasis in original).                  113 (describing a “hearing with the Student Conduct
  111
      Rio Fernandes, In a Charged Climate, Colleges Adopt Bias-          Administrator”).
                                                                         116
  Response Teams, CHRON. OF HIGHER EDUC., Feb. 1, 2016,                      See, e.g., Difference Between a Hate Crime and a Bias Incident,
  http://www.chronicle.com/article/In-a-Charged-Climate-                 DAVIDSON COLLEGE, http://www.davidson.edu/student-
  Colleges/235120 (describing how Ohio State University formed a         life/multicultural-life/hate-crime-and-bias-incidents (last visited
  bias response team because “they needed a proactive means to           Jan. 30, 2017) (“Professors who make pejorative comments or
  prevent occurrences of offensive speech”).                             stereotypes about a protected class of people … are also guilty of
  112
      See, e.g., Discrimination Cases, Fall 2015, UNIV. OF CAL. DAVIS,   commiting [sic] a bias incident.”).
                                                                         117
  http://reporthateandbias.ucdavis.edu/fall_2015.html (last visited          See, e.g., Bias and Discrimination Response Protocol, COLUMBIA
  Jan. 30, 2017) (“Offensive classroom comments, course content”         COLLEGE, https://www.cc-
  resulted in an “Investigation”).                                       seas.columbia.edu/studentlife/bias/protocol (last visited Jan. 30,
  113
      See, e.g., Student Reporting of Bias-Related Incidents, STATE      2017) (“Columbia College and Columbia Engineering students
  UNIV. OF N.Y. GENESEO,                                                 involved in perpetrating a hate crime/ bias incident will be subject
  https://www.geneseo.edu/diversity/procedures (last visited Jan.        to an educational and/or disciplinary process determined by
  30, 2017) (in a “Level I” incident, “the accused student is made       Judicial Affairs.”).
                                                                         118
  aware of the charges and has a hearing with the Student Conduct            Bias & Hate Incidents, LONGWOOD UNIV.,
  Administrator”).                                                       http://www.longwood.edu/diversity/experiencing-bias/bias--
  114
      See, e.g., Tolerance Program Annual Report: 2014-2015, UNIV. OF    hate-incidents (last visited Jan. 9, 2017).
                                                                         119
  ILL. AT URBANA-CHAMPAIGN, at 4, available at                               See, e.g., Missouri State University, which promises not to
  http://www.conflictresolution.illinois.edu/tolerance/downloads/        “discipline” through its Bias Response Team, but instead “provide
  toleranceReport_1415.pdf (“If a meeting with the respondent(s)         educational opportunities for those engaging in speech contrary
  occurs, the assigned [Bias Incident Investigation Team] member         to … values [of diversity and inclusion.]” Its Code of Conduct,
  will provide her/him with general information about bias-              however, is also “intended to be educational in nature[.]” If



                                                                                                  2017 BIAS RESPONSE TEAM REPORT	                21
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 508 of 566 PageID 578


       DISCUSSION
       	  
       Even the public pronouncement that an                                         and that no one has been prosecuted
       investigation is underway—particularly when                                   for their possession or sale. But though
       conducted by law enforcement—can itself have a                                the Commission is limited to informal
       chilling effect.120 While universities need not                               sanctions—the threat of invoking legal
       remain silent about offensive speech, going                                   sanctions and other means of
       “beyond simple vocal condemnation” and                                        coercion,        persuasion,         and
       implying that particular instances of protected                               intimidation—the       record      amply
       speech may be punished can amount to a                                        demonstrates that the Commission
       violation of the First Amendment.121                                          deliberately set about to achieve the
                                                                                     suppression of publications deemed
       The Supreme Court’s perspective in Bantam                                     “objectionable” and succeeded in its
       Books, Inc. v. Sullivan (1963) is instructive.                                aim. We are not the first court to look
       There, the state of Rhode Island established a                                through forms to the substance and
       commission whose goal was to, among other                                     recognize that informal censorship
       things, “educate the public” about books and                                  may sufficiently inhibit the circulation
       printed materials it viewed as obscene, acting as                             of publications … .
       a gatekeeper to “investigate and recommend the
       prosecution” of persons found to be distributing                        Bias Response Teams are arguably quite
       obscene     materials.122    The    commission                          comparable to the Rhode Island commission
       promulgated       lists   of     “objectionable”                        discussed in Bantam Books. While they might
       publications to police departments and, when                            protest that they are intended not to punish
       booksellers      were      reportedly     selling                       speech but to discourage speech contrary to the
       objectionable material, the commission sent                             values of the institution, even if that speech is
       them notices suggesting that the commission                             protected,    Bias    Response      Teams    are
       had the power to recommend prosecution if                               nevertheless intended to chill speech. By using
       materials were found to be obscene.123 The                              the language, tools, and administrators
       Supreme Court held that the commission’s claim                          associated with disciplinary systems, Bias
       that it simply “exhort[ed]” publishers to avoid                         Response Teams risk being perceived as
       distributing obscenity, and could not itself                            intimidating, not educating. While some
       punish booksellers, was “untenable”:124                                 systems strike an appropriate balance by, among
                                                                               other things, limiting their definitions of
              It is true that [the] books have                                 reportable conduct to speech unprotected by the
              not been seized or banned by the State,                          First Amendment,125 the vast majority do not.

       discipline can be described as educational, then an “educational”       freedom of political association, and freedom of communication
       response which is mandatory or lacks substance may be perceived         of ideas, particularly in the academic community.”); see also
       as disciplinary. Cf. Bias Response Team, MO. STATE UNIV.,               Coszalter v. City of Salem, 320 F.3d 968, 976 (9th Cir. 2003) (an
       https://www.missouristate.edu/dos/268885.htm (last visited Jan.         “unwarranted disciplinary investigation” alone amounted to an
       11, 2017); Code of Student Rights and Responsibilities, MO. STATE       adverse employment action in a First Amendment retaliation
       UNIV.,                                                                  case).
                                                                               121
       https://www.missouristate.edu/policy/G5_01_StudentRightsand                 Levin v. Harleston, 966 F.2d 85, 89-90 (2d Cir. 1992); but see
       Responsibilities.htm (last visited Jan. 11, 2017).                      Stolle v. Kent State Univ., 610 Fed. App’x 476, 482-83 (6th Cir.
       120
           See generally Adam Steinbaugh, The Chilling Effect of               2015) (faculty member verbally reprimanded for sending letter to
       Investigations, NEWSDESK, May 11, 2016,                                 legislator on university letterhead in violation of policy amounted
       https://www.thefire.org/the-chilling-effect-of-investigations/;         to “de minimus” act insufficient to deter person of ordinary
       see also Sweezy v. New Hampshire, 354 U.S. 234, 245 (1957)              firmness from First Amendment activities).
                                                                               122
       (“There is no doubt that legislative investigations, whether on a           Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 59-60 (1963).
                                                                               123
       federal or state level, are capable of encroaching upon the                 Id. at 62-63.
                                                                               124
       constitutional liberties of individuals. It is particularly important       Id. at 66-67 (footnotes omitted).
                                                                               125
       that the exercise of the power of compulsory process be carefully           See, e.g., Azhar Majeed, UW-Madison Demonstrates What a
       circumscribed when the investigative process tends to impinge           ‘Green Light’ Definition of a Bias Incident Looks Like, NEWSDESK,
       upon such highly sensitive areas as freedom of speech or press,         Oct. 6, 2016, https://www.thefire.org/uw-madison-demonstrates-



22     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 509 of 566 PageID 579

                                                                                                                      DISCUSSION
  	  

  The prospect of a retaliation claim should alarm                      DESPITE ACKNOW LEDGING FIRST
  colleges and universities. The central question of                    AMENDMENT TENSIONS, UNIVERSITIES
  such a claim—whether the conduct would deter                          PROVIDE LITTLE IF ANY TRAINING
  a person of ordinary firmness from continuing to
  speak—is fact-based, meaning it’s unlikely to be                      The First Amendment issues faced by Bias
  resolved before summary judgment, increasing                          Response Teams are complex, nuanced, and
  universities’ legal exposure.126 Additionally,                        fraught with potential pitfalls that may lead
  many of the scattered decisions on what meets                         public institutions into costly lawsuits. Leaving
  the “ordinary firmness” test are based in the                         aside legal risks, Bias Response Teams also risk
  context of government employment, where the                           conflicting with essential principles of academic
  government’s interest is given substantially                          freedom, freedom of expression, and freedom of
  more weight, than in the context of retaliation                       inquiry. Yet despite these risks, few Bias
  against a non-employee.127                                            Response Teams receive meaningful training, if
                                                                        any, on the contours of these issues.
  This is not to say that universities must refrain
  from criticizing or condemning offensive                              Of institutions surveyed, 84              (50.6%)
  conduct or speech. Criticism is not censorship,                       acknowledge a tension with freedom of speech,
  whether it is broadcast to the student body or                        freedom of inquiry, or academic freedom on
  public at large or instead sent directly to a                         their websites or in their policies. Of these, 50
  student. University officials retain their own                        are public institutions and 34 are private.
  First Amendment right to contribute to
  discourse on campus and can do so without                             While    Bias    Response      Team      training
  creating a substantial risk of a First Amendment                      requirements and materials were not part of
  retaliation claim.128 The tools universities                          FIRE’s survey, FIRE has utilized state public
  deploy in response to speech, how they are                            records requests to explore the types of training
  deployed, and how universities describe these                         required of members of Bias Response Teams.
  systems to students matter.                                           Although FIRE has issued or reviewed dozens of
                                                                        public records requests to universities seeking
  Finally, because universities often keep opaque                       training materials distributed to Bias Response
  records documenting their interventions with                          Teams, we’ve only seen materials from one
  reported     speakers     (discussed      below),                     school, Louisiana State University , that
  universities have a diminished ability to argue                       provided substantive training on First
  that such interventions provided meaningful                           Amendment issues.129
  education, as opposed to a chilling instruction to
  stop speaking.

  what-a-green-light-definition-of-a-bias-incident-looks-like           information to defend itself against any criticism by the dean was
  (definition of bias incidents consistent with standard for peer-on-   a reservation of “their own first amendment right to speak out,”
  peer hostile environment harassment standard in an educational        and the subjective chill resulting was insufficient to establish a
  setting, as set forth in Davis v. Monroe County Bd. of Educ., 526     justiciable controversy); see also, Nunez v. City of Los Angeles,
  U.S. 629, 651 (1999)).                                                147 F.3d 867, 875 (9th Cir. 1998) (concluding in the employment
  126
      Thompson v. Ohio State Univ., 990 F. Supp. 2d 801, 809 (S.D.      context that merely being “bad-mouthed and verbally threatened”
  Ohio) (retaliation claim against professor proper where the           by supervisors was insufficient, and that it “would be the height of
  professor allegedly filed charges against a student in retaliation    irony, indeed, if mere speech, in response to speech, could
  for criticism of a colleague, as issue of whether an action is        constitute a First Amendment violation”); but see De Leon v.
  sufficient to deter a person of ordinary firmness) (citing            Little, 1999 U.S. Dist. LEXIS 23091, at *13-14 (D. Conn. Sept. 29,
  Wurzelbacher v. Jones-Kelley, 675 F.3d 580, 584 (6th Cir. 2012)).     1999) (criticizing Nunez as inconsistent with Supreme Court
  127
      See generally Kinney v. Weaver, 367 F.3d 337, 358-60 (5th Cir.    precedent in that threats of dismissal can support First
  2004) (noting that First Amendment analyses proceed on a              Amendment retaliation claims).
                                                                        129
  “spectrum”).                                                              FIRE is currently sponsoring a First Amendment lawsuit
  128
      See, e.g., Samad v. Jenkens, 845 F.2d 660, 663 (6th Cir. 1988)    against Louisiana State University over its treatment of a former
  (university’s statement to outgoing dean that it would release



                                                            2017 SURVEY OF BIAS REPORTING SYSTEMS IN HIGHER EDUCATION	                        23
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 510 of 566 PageID 580


       DISCUSSION
       	  
       Other institutions, despite acknowledging that                       “consequences” for bias incidents, asserted that
       identifying First Amendment issues can be                            there are “no laws for bias incidents” and that
       nuanced, do not appear to provide training. For                      the team doesn’t “get the firm backing through
       example, the U n i v e r s i t y o f C a l i f o r n i a , S a n     law or the institution in general about these
       D i e g o (U C S D ) notes on its website that “[i]ssues             topics.”133  A    contemporaneous       training
       pertaining to freedom of speech and expression                       slideshow indicated that Bias Response Team
       can be very complicated and confusing.”130 The                       members would be trained on “legal issues”
       university’s definition of “bias incidents”                          without elaboration.134 None of the materials
       likewise observes that the “protection of                            provided to FIRE indicate that any training on
       freedom of expression, including controversial                       First Amendment issues was provided.
       speech and sometimes even offensive or hurtful
       words, is vital to a community of teachers and
       learners” and that some “acts of bias may either                     A R E S IS T A N C E T O T R A N S P A R E N C Y
       not be severe enough to violate policy or be
       protected expressions of speech.”131 Yet despite                     With few exceptions, Bias Response Teams
       freedom of expression being both “complicated”                       suffer from a lack of transparency, and
       and “vital,” the University of California’s Office                   universities are too often willing to stonewall
       of the President, responding on UCSD’s behalf to                     public records requests concerning their teams.
       a public records request issued by FIRE, did not                     While protecting the privacy of both reporting
       produce any training materials relating to the                       and reported parties is important, this hesitance
       First Amendment at UCSD.                                             to engage in meaningful transparency is
                                                                            worrisome. The ways in which universities
       Another school, L o n g w o o d U n i v e r s i t y ,                respond to offensive speech and discrimination
       claimed as recently as August 2016 that because                      are of particular public concern,135 and doing so
       universities could not impose “campus judicial                       without being transparent, or being selectively
       codes that include specific prohibitions related                     transparent,136 risks being seen as an effort to
       to bias and hate” under the First Amendment, it                      hide incidents from the community.
       instead “train[s] board members to identify bias-
       related behavior and include appropriate                             Approximately 28% of institutions with bias
       education sanctions when a student is found                          reporting systems do not even disclose who
       responsible.”132 An August 2016 “Bias Response                       reviews the reports. If universities are unwilling
       Team Training” memorandum, in discussing                             to publicly identify who is responsible for

       faculty member, Teresa Buchanan, but the case does not involve       Education in response to a public records request, available at
       the school’s Bias Response Team.                                     https://www.documentcloud.org/documents/3288824-
                                                                            Longwood-University-Bias-Response-Team-Training.html.	  	  
       130
           Freedom of Speech and Expression at UC San Diego, UNIV. CAL.,
                                                                            135
       SAN DIEGO, https://students.ucsd.edu/student-                            See, e.g., Black Student Union, BSU Calls for Action, THE
       life/diversity/expression (last visited Dec. 29, 2016).              TOWERLIGHT, Apr. 18, 2016, http://thetowerlight.com/bsu-calls-
       131
           Frequently Asked Questions, UNIV. CAL., SAN DIEGO OFFICE FOR     for-action (student group, “disheartened by the lack of
       THE PREVENTION OF HARASSMENT & DISCRIMINATION,                       communication and transparency” concerning a student’s
       http://ophd.ucsd.edu/faq/index.html#What-are-bias-incidents?         conduct, calls upon administrators to take acts “to ensure that
       (last visited Dec. 29, 2016).                                        hate bias on this campus is heavily policed, reported, and made
       132
           Bias & Hate Incidents, LONGWOOD UNIV., archived on Aug. 26,      transparent”).
                                                                            136
       2016 and available at                                                    See, e.g., Lea Speyer, Anti-Israel Students at Connecticut College
       http://web.archive.org/web/20160826220917/http://www.longw           ‘Occupy’ Office of School President in Protest Over Investigation of
       ood.edu/diversity/45365.htm.                                         Mock Eviction Notices, THE ALGEMEINER, May 16, 2016,
       133
           Bias Response Team Training (Handout), LONGWOOD UNIV.,           http://www.algemeiner.com/2016/05/16/anti-israel-students-at-
       Aug. 11, 2016, produced to the Foundation for Individual Rights in   connecticut-college-occupy-office-of-school-president-in-
       Education in response to a public records request, available at      protest-over-investigation-of-mock-eviction-notices (students
       https://www.documentcloud.org/documents/3288823-                     protest, in part, over mass email concerning political protest
       Longwood-University-Bias-Response-Team-Training.html.                labeled as a bias incident, when other bias incidents weren’t
       134
           Bias Response Team Training (Slideshow), LONGWOOD UNIV.,         similarly announced).
       Aug. 11, 2016, produced to the Foundation for Individual Rights in



24     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 511 of 566 PageID 581

                                                                                                                          DISCUSSION
  	  
  reviewing and responding to reports, then                                complaints; and the composition, policies, and
  students, faculty, and the public will be hindered                       training of their Bias Response Teams. While
  in holding public servants accountable.                                  most complied with both the letter and spirit of
  Similarly, a refusal to identify Bias Response                           the law,141 a number have resisted. Ominously,
  Team members does not instill confidence that                            even where schools produce records, those
  schools take complaints seriously by devoting                            records often fail to substantially document the
  capable people to overseeing them.                                       actions the university took in response to the
                                                                           report, instead stating that the respondent was
  And while many Bias Response Teams purport                               provided with “education.” This does not inspire
  to exist for the purpose of keeping statistics, the                      confidence that the response was meaningful
  statistics themselves are rarely published. The                          education, as opposed to a reprimand.
  U n i v e r s i t y o f C a l i f o r n i a , for example,
  developed its multi-campus reporting system in                           Justice Louis Brandeis famously opined that
  2010 with the “[p]rimary purpose” of “statistical                        sunlight was the best of disinfectants.142 But a
  reporting,”137 yet it appears to have never                              popular tactic of sunshine-shy administrators is
  published statistics. The University of California                       the employment of hefty fees to locate and
  Office of the President, in response to a public                         redact public records, notwithstanding open
  records request for all statistics,138 only provided                     records laws encouraging universities to reduce
  statistics last compiled in 2012 and apparently                          or waive fees when releasing documents that
  never published.139 Some institutions publish                            would serve the public interest. The U n i v e r s i t y
  statistics on periodic bases, with varying degrees                       o f N o r t h e r n C o l o r a d o attempted to charge
  of transparency. And while the Clery Act                                 FIRE hundreds of dollars for records eventually
  requires federally funded institutions to publish                        obtained by a media outlet, Heat Street, which
  statistics concerning hate crimes,140 most                               revealed that UNC’s Bias Response Team had
  schools define “bias incident” more broadly than                         discouraged professors from discussing subjects
  criminal acts. In any event, most institutions                           of debate raging in legislatures and the media.143
  publish neither statistics nor reports.                                  That blast of sunlight caused UNC to shutter its
                                                                           Bias Response Team.144
  FIRE has utilized public records requests under
  state law—similar to requests pursuant to the                            Similarly, the U n i v e r s i t y o f O r e g o n concluded
  federal Freedom of Information Act—to ask                                that releasing its records would not be in the
  dozens of schools to produce records relating to                         public interest,145 demanding that FIRE pay
  complaints; how they responded to those

  137                                                                      141
      Meg Carter & Jerlena Griffin-Desta, Campus Climate Project               Evergreen State College merits an honorable mention, having
  Requirements, UNIV. OF CAL., June 16, 2010, produced to the              produced over seven thousand pages of thorough records on a
  Foundation for Individual Rights in Education in response to a           timely basis, in a response to a records request by FIRE. Contrast
  public records request and available at                                  this with the University of California, which produced scant
  https://www.documentcloud.org/documents/3288857-                         records after months of delay and obfuscation.
                                                                           142
  University-of-California-Campus-Climate-Project.html.                        Louis D. Brandeis, Other People’s Money, HARPER’S WEEKLY,
  138
      California Public Records Act Request from Adam Steinbaugh           Dec. 20, 1913, at 92.
                                                                           143
  to the University of California Office of the President, Apr. 8, 2016,       Jillian Kay Melchior, Colorado ‘Bias Response Team’
  available at                                                             Threatened Prof to Change His Lessons, HEAT STREET, July 5, 2016,
  https://www.documentcloud.org/documents/3288861-2016-04-                 https://heatst.com/culture-wars/bias-response-team-
  08-Public-Records-Request-to-the.html.                                   threatened-prof-with-title-ix-vii-probe/.
  139                                                                      144
      Update on Universitywide Campus Climate Incidents Reporting              Adam Steinbaugh, University of Northern Colorado to End ‘Bias
  System, UNIV. OF CAL. ETHICS, COMPLIANCE AND AUDIT SERVICES,             Response Team,’ But What Next?, NEWSDESK, Sept. 9, 2016,
  Feb. 7, 2012, produced to the Foundation for Individual Rights in        https://www.thefire.org/university-of-northern-colorado-to-
  Education in response to a public records request and available at       end-bias-response-team-but-what-next/.
                                                                           145
  https://www.documentcloud.org/documents/3288860-                             See In Defense of Animals v. Oregon Health Sciences
  University-of-California-Feb-7-2012-Update-on.html.                      University, 112 P.3d 336, 354 (Or. Ct. App. 2004) (agencies may
  140
      Institutional Security Policies and Crime Statistics, 34 C.F.R.      reduce or waive fees if it determines that the records relate to a
  § 668.46(c)(1)(iii).                                                     matter which “affects the community or society as a whole, in
                                                                           contrast to a concern or interest of a private individual or entity”).



                                                                                                    2017 BIAS RESPONSE TEAM REPORT	                25
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 512 of 566 PageID 582


       DISCUSSION
       	  
       $1,483.30 to review its team’s records.146 The                     names—a task somehow accomplished without
       university’s steadfast refusal to acknowledge the                  complaint by dozens of other schools, many of
       public interest was plainly belied by criticism by                 which boast far fewer resources than the
       national media outlets,147 which spurred a                         University of California system.
       faculty inquiry into the team’s activities. When
       the records were eventually produced, Oregon
       was unable to locate records of some incidents,                    N OR M A T IV E C R IT IC IS M S OF B IA S
       including one pilloried in the media.148                           R E SP ONSE T E A M S

       Other institutions have been quick to delete or                    Given that reported incidents of perceived “bias”
       hide once-public websites documenting bias                         run the ideological gamut, subjecting campus
       incidents following public criticism. C o l b y                    speech     to   review     by     conflict-averse
       C o l l e g e placed its log of bias incidents behind a            administrators runs the risk of chilling speech
       password-protected field after it was publicly                     from any and every perspective. This illiberal
       criticized.149 So, too, did S k i d m o r e C o l l e g e .150     approach invites administrative intervention
       More alarmingly, several institutions responded                    whenever there are impolite words or
       to FIRE’s public records requests by initially                     disagreement of any sort. College campuses
       claiming that there were no records to produce.                    must remain open for vehement disagreement
       When FIRE issued additional requests seeking                       and impolite rhetoric lest they invite
       records of what efforts the school made to search                  administrators to limit speech and debate.
       for records, the originally-requested records
       were suddenly located and produced. This                           This view is not FIRE’s alone. Writing in the New
       suggests a certain lack of good faith from these                   Republic, Carleton College professors Jeffrey
       institutions in following their legal obligations.                 Aaron Snyder and Amna Khalid aptly observed
                                                                          the limitations of Bias Response Teams and their
       Other institutions found more creative ways to                     potential chilling effects on academic discourse
       stonewall. The U n i v e r s i t y o f C a l i f o r n i a ’s      and campus speech:
       Office of the President (UCOP), for example,
       intervened to respond on behalf of its subsidiary                        We do not want our campuses overrun
       campuses after FIRE issued records requests to                           with eager “see something, say
       each campus about its processes. Months later,                           something” “student informants.” Far
       UCOP professed that it would be too difficult for                        from empowering students with the
       the central office to locate records of how its                          requisite skills for having difficult
       campuses responded to reported incidents.                                conversations,        bias     response
       UCOP also refused to produce records of any                              initiatives, as a Boston College student
       reported incident whatsoever, claiming that it                           asserted, encourage “students to ask
       would be too difficult to redact students’                               the administration to solve problems

       146                                                                148
           Adam Steinbaugh, University of Oregon on ‘Bias Response            Conor Friedersdorf (@conor64), TWITTER (May 14, 2016, 12:29
       Team’: Nothing to See Here, NEWSDESK, May 27, 2016,                PM), https://twitter.com/conor64/status/731521764912730112.
                                                                          149
       https://www.thefire.org/university-of-oregon-on-bias-response-         Samantha Harris, Speech Code of the Month: Colby College,
       team-nothing-to-see-here/.                                         NEWSDESK, July 20, 2016, https://www.thefire.org/speech-code-
       147
           See, e.g., Catherine Rampell, College Students Run Crying to   of-the-month-colby-college/; Robby Soave, Saying ‘On the Other
       Daddy Administrator, WASH. POST, May 19, 2016,                     Hand’ Got a Student Reported to the Campus Bias Police, REASON,
       https://www.washingtonpost.com/opinions/college-students-          June 22, 2016, http://reason.com/blog/2016/06/22/saying-on-
       run-crying-to-daddy-administrator/2016/05/19/61b53f54-1deb-        the-other-hand-got-a-student-r.
                                                                          150
       11e6-9c81-4be1c14fb8c8_story.html?utm_term=.f2f5652cd55c;              Blake Neff, Skidmore College: ‘Make America Great Again’ Is A
       see also, e.g., Robby Soave, The University of Oregon’s Thought    ‘Racialized Attack’, THE DAILY CALLER, July 1, 2016,
       Police Investigate Students for Saying Anything, REASON, May 10,   http://dailycaller.com/2016/07/01/skidmore-college-maka-
       2016, http://reason.com/blog/2016/05/10/the-university-of-         america-great-again-is-a-racialized-attack/.
       oregons-thought-police.



26     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 513 of 566 PageID 583

                                                                                                                  DISCUSSION
  	  
         instead of solving them amongst                                     If a person is able to report a peer,
         themselves.”                                                        professor, supervisor, or other
                                                                             community member for “speech code
         [...]                                                               violations,” and particularly if those
                                                                             reports result in punitive action
         Let us be clear: Bias and
                                                                             toward the offender, the system could
         discrimination are real and pressing
                                                                             shut down, rather than open up,
         concerns on campuses across the
                                                                             critically important dialogue. On a
         country. There must be channels for
                                                                             university campus with an implicit
         students, especially those from
                                                                             commitment to the free exchange of
         historically         underrepresented
                                                                             ideas, such a result must be considered
         populations, to communicate their
                                                                             unacceptable.
         concerns to administrators and their
         peers. Institutions need to keep on top
                                                                       Other institutions have recognized these risks.
         of “campus climate” concerns through
                                                                       In August 2016, the U n i v e r s i t y o f I o w a
         surveys      and      community-wide
                                                                       scrapped a planned Bias Response Team,
         discussions. But to institute a formal
                                                                       observing a “high failure rate in the [teams] at
         body that assesses the merits of bias
                                                                       other institutions” as they became “almost
         incident complaints is profoundly
                                                                       punitive in nature,” rendering them “scolding
         misguided.
                                                                       panels.” Although the University of Iowa’s
         [...]                                                         planned team did not involve a punitive
                                                                       component, the type of response undertaken by
         BRTs will result in a troubling silence:                      other BRTs “accomplishes nothing,” said one
         Students, staff, and faculty will be                          administrator.154
         afraid to speak their minds, and
         individuals or groups will be able to                         As academic freedom expert Donald Downs,
         leverage bias reporting policies to shut                      professor of political science, law, and
         down     unpopular       or   minority                        journalism at the University of Wisconsin—
                     151
         viewpoints.                                                   Madison, observed, Bias Response Teams
                                                                       attempt to strike a difficult balance: 155
  At J o h n C a r r o l l U n i v e r s i t y , a private, Catholic
  institution, Bias Response Team administrators                             In some telling respects, some of these
  acknowledged that critiques concerning                                     new policies [including Bias Response
  freedom of speech “must be taken seriously.”152                            Teams] do not overtly call for
  Troubled both by the potential for “malicious-                             censorship, as the old speech codes
  anonymous” abuse of the ability to anonymously                             did. Rather, they are meant to
  report others and by the possibility that the                              “educate” the academic community
  system might have a chilling effect on speech,                             about the negative impact that certain
  the university’s annual report observed:153                                types of speech can have. Such
                                                                             educational schemes can be consistent
                                                                             with the goals of higher education if

  151                                                                  154
      Jeffrey Aaron Snyder & Amna Khalid, The Rise of “Bias                Jeff Charis-Carlson, University of Iowa Changing Course on
  Response Teams” on Campus, THE NEW REPUBLIC, Mar. 30, 2016,          Bias Response Team, IOWA CITY PRESS-CITIZEN, Aug. 18, 2016,
  https://newrepublic.com/article/132195/rise-bias-response-           http://www.press-citizen.com/story/news/education/university-
  teams-campus.                                                        of-iowa/2016/08/18/university-iowa-changing-course-bias-
  152
      JOHN CARROLL UNIVERSITY, BIAS REPORTS 2014-2015, available       response-team/88962048.
                                                                       155
  at http://webmedia.jcu.edu/diversity/files/2015/12/2014-2015-            Donald Downs, The Good, the Less-Good, and the Path Forward:
  Bias-Report-web-version.pdf.                                         Thoughts on FIRE’s Annual Report, OPEN INQUIRY PROJECT, Jan.
  153
      Id.                                                              4, 2017, http://openinquiryproject.org/blog/thoughts-on-fires-
                                                                       annual-report/.



                                                                                              2017 BIAS RESPONSE TEAM REPORT	            27
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 514 of 566 PageID 584


       DISCUSSION
       	  
              done right and in the right spirit.                       When setting parameters for their teams and
              There is nothing intrinsically wrong                      implementing responses, universities must be
              with educating students and others                        cognizant of the risks created by broad
              about the potential impacts of speech,                    definitions, anonymous reporting systems,
              so long as such educational endeavors                     unclear policies, and lack of training, and must
              are not smokescreens for informal or                      take steps to minimize or eliminate these risks.
              formal ideological bullying. However,                     While some Bias Response Teams have
              given the climates on many campuses                       demonstrated familiarity with freedom of
              today, such educational efforts too                       speech in their responses to reports of offensive
              often amount to speech codes in                           speech, such actions are too often not the result
              disguise. The new policies may not be                     of effective training and policies.
              overt speech codes, but they can
              accomplish censorship by other                            If bias reporting systems are to exist on
              means.                                                    campuses, they should describe reportable
                                                                        situations narrowly, excluding protected speech,
                                                                        or at the very least avoid characterizing the
       S T R IK IN G A B A L A N C E                                    teams and their responses in ways that convey a
                                                                        punitive message. Universities should also
       It is understandable that universities wish to                   recognize that even narrow definitions of bias
       monitor the climate for students on their                        are likely to result in reports of protected speech,
       campuses and to have support systems in place                    and provide accurate and impartial training to
       for students who, for one reason or another, may                 Bias Response Team members so that they are
       be struggling to feel at home on campus. But it                  able to identify protected speech.
       does not follow from these precepts that
       universities must effectively establish a                        Universities would do best to focus on how they
       surveillance state on campus where students                      can help the reporting student, not on the
       and faculty must guard their every utterance for                 reported speaker. Unless a community member
       fear of being reported to and investigated by the                has engaged in conduct unprotected by the First
       administration.                                                  Amendment or academic freedom, any
                                                                        institutional response to bias should avoid
       While not every Bias Response Team                               uninvited intervention with the speaker and
       impermissibly limits protected speech, the                       instead focus on providing resources to the
       reality is that it is extremely difficult to have a              reporting student. In doing so, they will help
       system in place for the reporting of protected                   encourage all community members to express
       speech without creating a risk that speech and                   themselves and participate in the marketplace of
       expression on campus will be chilled as a result.                ideas that our nation’s colleges and universities
       As lawyer, writer, and former FIRE President                     are uniquely suited to provide.
       David French wrote, universities with Bias
       Response Teams are playing a “dangerous
       constitutional game” by not explicitly
       prohibiting protected speech but creating a
       “process-is-punishment”        mechanism       that
       deters people from speaking out.156


       156
          David French, Campus Ideologues Double Down on                http://www.nationalreview.com/corner/430750/campus-
       Censorship—Beware the ‘Bias Response Team,’ NAT’L REVIEW, Feb.   ideologues-bias-response-teams-first-amendment.
       3, 2016,



28     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 515 of 566 PageID 585

                                                           APPENDIX A: CATEGORIES OF BIAS
  	  
  The following is the percentage of schools that promulgate the following categories of bias:

  Race and Culture                                   Ability, Disability, Health, or Physical
   Race: 100%                                        Attributes Unrelated to Race or Gender
   National Origin or Nationality: 94.5%              Disability: 99%
   Ethnicity or Ethnic Origin: 73%                    Age: 81.4%
   Color: 60.3%                                       Genetic Information: 19%
   Ancestry: 25.6%                                    Pregnancy: 15%
   Immigration Status or Citizenship: 14.1%           Mental Health: 7%
   Language or Accent: 2%                             Physical Appearance: 7%
   Culture: 2%                                        Medical Condition: 5%
   Geographic Origin: 1%                              Size: 2.5%
   Anti-Semitism: 0.50% (U. Vermont)                  Height: 2%
   Place of Birth: 0.50% (Middlebury)                 Weight: 2%
                                                      Shape: 0.50% (U. Northern Colorado)
  Religion or Existential Beliefs                     Atypical Heredity: 0.50% (Rutgers)
   Religion or Spiritual Beliefs: 100%                Cellular Blood Trait: 0.50% (Rutgers)
   Creed: 22%                                         Positive HIV-Related Blood Test Results:
   Spirituality: 0.50% (Middlebury)                       0.50% (Middlebury)
                                                      Intellectual Ability: 0.50% (Clemson)
  Sex, Gender, and Sexuality                          Emotional Ability: 0.50% (Clemson)
   Sexual Orientation: 99.5%                          Smoker Status: 0.50% (U. Kentucky)
   Gender Identity or Expression: 81%
   Gender: 61%                                       Views and Beliefs
   Sex: 41.2%                                         Political Affiliation: 14%
                                                      Membership Affiliation: 3.5%
  Military Service                                    Group Affiliation: 1.5%
   Veteran Status: 60%                                Intellectual Perspective: 0.50% (U. Central
   Military Status: 9%                                    Arkansas)
   National Guard Status: 0.50% (SUNY                 Participation in Lawful, Off-Campus Activity:
       Potsdam)                                           0.50% (North Dakota State U.)
                                                      Role: 0.50% (Macalester College)
  Family and Relationships                            Political Expression: 0.50% (Dartmouth)
   Marital Status: 36.2%                              Religious Expression: 0.50% (Dartmouth)
   Familial or Parental Status: 7%                    Social Affiliation: 1% (Syracuse, Longwood U.)
   Victim of Domestic Violence: 1%                    Social Standing: 0.50% (UNC Charlotte)
   Relationship Status: 0.50% (U. Nebraska—           Belief System: 0.50% (UNC Charlotte)
        Omaha)                                        Political Belief: 1% (U. Kentucky, U. Central
   Civil Union Status: 0.50% (Rutgers)                    Arkansas)
   Domestic Partnership: 0.50% (Rutgers)
   Spousal Relationship to Current Employee:         Income, Housing, and W elfare
        0.50% (N. Dakota State U.)                     Socioeconomic Status: 23.6%
   Childbirth: 0.50% (Grinnell College)                Public Assistance Status: 1.5%
                                                       Homelessness: 1 %
  Ex-Offender Status: 4%




                                            2017 SURVEY OF BIAS REPORTING SYSTEMS IN HIGHER EDUCATION	     29
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 516 of 566 PageID 586


       APPENDIX A: CATEGORIES OF BIAS
       	  

       M i s c e l l a n e o u s C a t e g o r i e s o f B i a s 157
        Anti-Semitism: University of Vermont
        Atypical Heredity: Rutgers University
        Behavior: Macalester College
        Belief System: University of North Carolina, Charlotte
        Cellular Blood Trait: Rutgers University
        Characteristics: Macalester College
        Childbirth: Grinnell College
        Cultural: University of Wisconsin, Madison
        Emotional Ability: Clemson
        Intellectual Ability: Clemson
        Intellectual Perspective: University of Central Arkansas
        Major of Study: Missouri University of Science and Technology
        National Guard Status: SUNY Potsdam
        Participation in Lawful, Off-Campus Activity: North Dakota State University
        Place of Birth: Middlebury College
        Political Belief: University of Central Arkansas, University of Kentucky
        Political Expression: Dartmouth
        Positive HIV-Related Blood Test Results: Middlebury College
        Religious Expression: Dartmouth
        Role: Macalester College
        Shape: University of Northern Colorado
        Smoker Status: University of Kentucky
        Social Affiliation: Syracuse University, Longwood University
        Social Standing: University of North Carolina, Charlotte
        Spirituality: Middlebury College
        Spousal Relationship to Current Employee: North Dakota State University
        Victim of Domestic Violence: SUNY Potsdam, University of Denver




       157
              These categories of bias are unique to only one or two institutions. Some are identified in subcategories above and repeated here.



30     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 517 of 566 PageID 587

           APPENDIX B: INSTITUTIONS WITH OBSERVED BIAS REPORTING SYSTEMS
  	  

  A la b a m a                                Connec t i c u t
    University of Alabama at Birmingham        Central Connecticut State University
                                               Connecticut College
  A la s k a                                   Trinity College
    None observed                              University of Connecticut
                                               University of New Haven
  A r i z ona
    Arizona State University                  Dela w a r e
    Northern Arizona University                None observed
    University of Arizona
                                              Flor i d a
  A r k a ns a s                                Florida International University
    University of Central Arkansas              Florida State University
                                                Pensacola State College
  Ca li f or ni a                               Stetson University
   California Polytechnic State University,     University of Central Florida
          San Luis Obispo                       University of Florida
   California State Polytechnic Institute,      University of West Florida
          Pomona
   California State University, Chico         Ge or gi a
   Humboldt State University                   Armstrong State University
   Loyola Marymount University                 Emory University
   Occidental College                          Georgia Southern University
   Pepperdine University                       Kennesaw State University
   Pomona College
   Sonoma State University                    Ha w a i i
   University of California, Berkeley          None observed
   University of California, Los Angeles
   University of California, Davis            Id a h o
   University of California, Irvine             Boise State University
   University of California, Merced
   University of California, Riverside        Il l i n oi s
   University of California, San Diego           DePaul University
   University of California, San Francisco       Illinois State University
   University of California, Santa Barbara       Loyola University Chicago
   University of California, Santa Cruz          Northeastern Illinois University
   University of Southern California             Northern Illinois University
   University of the Pacific                     Northwestern University
   Whittier College                              Saint Xavier University
                                                 University of Chicago
  Color a d o                                    University of Illinois at Urbana—
   Colorado State University                           Champaign
   University of Colorado at Boulder
   University of Denver                       In d i a n a
   University of Northern Colorado              Ball State University
                                                DePauw University
                                                Indiana University—Bloomington
                                                Purdue University


                                                             2017 BIAS RESPONSE TEAM REPORT	     31
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 518 of 566 PageID 588

       APPENDIX B: INSTITUTIONS WITH OBSERVED BIAS REPORTING SYSTEMS
       	  
       	  
                                                       	  
       Iowa                                            	  

         Coe College                                   Minnesota
         Grinnell College                               Carleton Collegei
         University of Northern Iowa                    Hamline University
                                                        Macalester College
       Kansas                                           Minnesota State University, Mankato
        Kansas State University                         University of Minnesota—Morris
                                                        University of Minnesota—Twin Cities
       Kentucky
        Georgetown College                             Mississippi
        Kentucky State University                       University of Mississippi
        University of Kentucky
        University of Louisville                       Missouri
                                                        Missouri State University
       Louisiana                                        Missouri University of Science and
        Louisiana State University—Baton Rouge           Technology
        Tulane University                               Saint Louis University
                                                        Southeast Missouri State University
       Maine                                            University of Central Missouri
        Bates College                                   University of Missouri—Columbia
        Bowdoin College                                 Washington University in St. Louis
        Colby College
        University of Southern Maine                   Montana
                                                        Montana State University
       Maryland                                         University of Montana
        St. Mary’s College of Maryland
        Towson University                              Nebraska
                                                        University of Nebraska—Lincoln
       Massachusetts                                    University of Nebraska—Omaha
        Babson College                                  University of Nebraska Medical Center
        Boston College
        Clark University                               Nevada
        Emerson College                                 None observed
        Framingham State University
        Harvard University                             New Hampshire
        Mount Holyoke College                           Dartmouth College
        Northeastern University                         Plymouth State University
        Smith College                                   University of New Hampshire
        Tufts University
        University of Massachusetts Amherst            New J ersey
        Williams College                                Montclair State University
                                                        Rowan University
       Michigan                                         Rutgers University
        Grand Valley State University                   The College of New Jersey
        Michigan State University
        University of Michigan—Ann Arbor               New Mexico
       	                                               University of New Mexico



32     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 519 of 566 PageID 589

           APPENDIX B: INSTITUTIONS WITH OBSERVED BIAS REPORTING SYSTEMS
  	  
  New Y or k                                 Oh io
   Alfred University                          Bowling Green State University
   Bard College                               Case Western Reserve University
   Buffalo State College                      John Carroll University
   Colgate University                         Kenyon College
   Columbia University                        Miami University of Ohio
   Cornell University                         The Ohio State University
   Empire State College                       University of Cincinnati
   Fordham University                         Wright State University
   Hamilton College
   Le Moyne College                          Ok la h om a
   New York University                        University of Oklahoma
   Skidmore College
   SUNY Binghamton                           Or egon
   SUNY Buffalo                               Lewis & Clark College
   SUNY Cobleskill                            Oregon Institute of Technology
   SUNY Cortland                              Oregon State University
   SUNY Fredonia                              Portland State University
   SUNY Geneseo                               Reed College
   SUNY New Paltz                             Southern Oregon University
   SUNY Old Westbury                          University of Oregon
   SUNY Oneonta
   SUNY Oswego                               P enns y lv a nia
   SUNY Potsdam                                Albright College
   Syracuse University                         Allegheny College
   Union College                               Bryn Mawr College
   University of Rochester                     Bucknell University
   Vassar College                              Dickinson College
                                               Gettysburg College
  Nor t h Ca r oli na                          Lafayette College
   Appalachian State University                Lehigh University
   Davidson College                            Muhlenberg College
   Duke University                             Pennsylvania State University—
   Elon University                              University Park
   Fayetteville State University               Swarthmore College
   North Carolina State University—Raleigh     University of Pittsburgh
   University of North Carolina, Asheville     Villanova University
   University of North Carolina, Charlotte     West Chester University of Pennsylvania
   Wake Forest University                      Widener University
   Western Carolina State University
                                             R h od e Is la n d
  Nor t h Da k ot a                            Providence College
   North Dakota State University               Rhode Island College
   Valley City State University                University of Rhode Island




                                                            2017 BIAS RESPONSE TEAM REPORT	     33
     Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 520 of 566 PageID 590

       APPENDIX B: INSTITUTIONS WITH OBSERVED BIAS REPORTING SYSTEMS
       	  
       	  
       South Carolina                                                  W ashington, D.C.
        Clemson University                                              Georgetown University
        Furman University
        University of South Carolina
        Winthrop University                                            W est Virginia
                                                                          None observed
       South Dakota
          None observed                                                W isconsin
                                                                        Marquette University
       Tennessee                                                        St. Norbert College
        Sewanee, The University of the South                            University of Wisconsin—Eau Claire
        University of Tennessee, Knoxville                              University of Wisconsin—Green Bay
                                                                        University of Wisconsin—La Crosse
       Texas                                                            University of Wisconsin—Madison
        Baylor University                                               University of Wisconsin—Milwaukee
        Southern Methodist University                                   University of Wisconsin—Oshkosh
        Texas A&M University—College Station                            University of Wisconsin—Platteville
        Texas Tech University                                           University of Wisconsin—River Falls
        University of Texas at Austin                                   University of Wisconsin—Stevens Point
                                                                        University of Wisconsin—Stout
       Utah                                                             University of Wisconsin—Whitewater
        University of Utah
                                                                       W yoming
       Vermont                                                            None observed
        Middlebury College
        University of Vermont

       Virginia
        George Mason University
        Longwood University
        University of Mary Washington
        University of Richmond
        University of Virginia
        Virginia Commonwealth University
        Virginia Polytechnic Institute
          and State University

       W ashington
        Central Washington University
        Evergreen State College
        Washington State University
        Western Washington University
        Whitman College


       i
        Correction: Carleton College was included due to a             has been updated to reflect minor changes in figures impacted
       misinterpretation of a proposed policy found on its website.    by the removal of Carleton College, but no findings were
       FIRE has since been informed that the proposal was rejected     significantly impacted.
       and was not implemented, and we regret the error. This report




34     FOUNDATION FOR INDIVIDUAL RIGHTS IN EDUCATION
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 521 of 566 PageID 591




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Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 522 of 566 PageID 592




                          EXHIBIT Z
University of Iowa changing
 Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 523 of 566 PageID 593




course on bias response
team
Citing concerns about the possible impact on academic
freedom, the University of Iowa's chief diversity officer said
Thursday that her office no longer is planning to develop
a bias assessment and response team on campus.

In January, UI Chief Diversity Officer Georgina Dodge
proposed such a team at UI — which would be known by
the acronym BART — to address complaints of racial or
other bias on campus concerning incidents that “skirt the
line between a policy violation or even a crime.”

Dodge said UI officials remain committed to developing a
centralized resource for students experiencing bias on
campus, but that team no longer will be based on the BART
model.

"After working thoughtfully and carefully on how to develop
such a team here, we came to conclusion that how we
initially had envisioned the BART might not be effective,"
she said.

Over the past eight months, she said, bias response
teams    at other
 Case 6:21-cv-00313-GAP-GJK Document 3-1   Filed 02/22/21 Page 524 of 566 PageID 594

institutions have become
more punitive in their
focus and overreached
their authority and good
intentions.

"There has been a high
failure rate in the BARTs
at other institutions," she
said. "By that I mean we
are seeing the way in
which they are not
meeting the needs of
any of the parties
involved. ... Frankly, the
(word) BART has become a bit tainted because of the
actions that these people have taken."

PAST COVERAGE:

Free speech advocates raise concerns about UI bias team
UI expects to create bias response team this semester

Dodge specifically pointed to concerns at the University of
Northern Colorado, in which the bias response team
recently received criticism nationally for overreaching its
authority and improperly instructing professors to avoid
controversial      subjects.
 Case 6:21-cv-00313-GAP-GJK Document 3-1   Filed 02/22/21 Page 525 of 566 PageID 595


"One of the things that we've seen at many schools is that
the BARTs have become almost punitive in nature," she said.
"When we are dealing with incidents that do not rise to the
level of a policy violation, how you are going
penalize someone is a big question."

The initial plans for a BART at UI called for the team serving
only as a means of identifying and assessing questionable
incidents in a more timely fashion. There were no plans to
include any disciplinary components.

Dodge said some of the BARTs across the nation
have begun to sound more like "scolding panels."

"That's not what we want," she said. "That accomplishes
nothing."

Initial plans were to have BART in place by the end of the
spring semester. Those plans were pushed back until the
end of the summer.

Dodge said she hopes to work with the UI Student
Government and the UI Office of Student Life to have a new,
as-of-yet unnamed team named in place by the end of the
fall semester.

"(Our goal remains) to ensure that there is a well known and
safe  place in which anyone
 Case 6:21-cv-00313-GAP-GJK Documentwho  is subjected
                                    3-1 Filed 02/22/21 Page to
                                                            526 biased
                                                                of 566 PageID 596

treatment can go to find resources and to get help in
coping," she said.

The final version is likely to resemble UI's Office of the
Sexual Misconduct Response Coordinator in terms of
providing a centralized structure for addressing student
concerns, Dodge said. It also is likely to be housed in the
Center for Diversity and Enrichment because "that's a venue
that the students already use."

"Other than that, everything else is up in the air," she said.

Over the past two years, there have been repeated calls
from students for UI to create a bias assessment team —
especially after a visiting UI art professor displayed a
controversial KKK-effigy on the Pentacrest. Although the
artist said the unauthorized sculpture was intended to raise
awareness of ongoing racial violence in the U.S., many
students viewed the sculpture as a threat.

The December 2014 incident — which violated no university
policy other than the unauthorized use of the Pentacrest —
sparked a campuswide debate over the conflicts between
the university’s commitment to academic freedom and its
responsibility to create a safe and inclusive environment for
all students.
Free   speech advocates
 Case 6:21-cv-00313-GAP-GJK    have3-1said
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                                                                of 566 PageID

be wary” about UI making plans for a bias response team,
but described such policies as being “not impermissible” as
long as they are not tied in any way to disciplinary action.

Reach Jeff Charis-Carlson at jcharisc@press-citizen.com or
319-887-5435. Follow him on Twitter at @jeffcharis.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 528 of 566 PageID 598




                        EXHIBIT AA
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 529 of 566 PageID 599




  OPERATIONAL EXCELLENCE AND ASSESSMENT SUPPORT                        JUNE 2020
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 530 of 566 PageID 600
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                            ii




                      EXECUTIVE SUMMARY FOR STUDENT SURVEY

  Most important findings from the 2020 Campus Climate Survey for students:


  Survey administration: Campus Climate Surveys, LLC administered three Viewfinder®
  Campus Climate Survey instruments to faculty and administrators, staff members, and students
  in spring 2020. Of the 64,928 students invited to participate, 1,207 responded to the survey
  (response rate: 1.9%). Majority (76%) of the student respondents indicated that they were
  pursuing a bachelor’s degree, while 13% indicated they were pursuing a master’s degree and
  10% a doctoral degree. Majority of the student respondents (79%) indicated that they were
  enrolled full-time (over 12 hours). Almost two in three respondents were female (62%) and
  more than quarter of the respondents (30%) self-identified as students of color. One in three
  student respondents (33%) were not employed, 31% were employed 1-20 hours per week, and
  36% were employed more than 20 hours per week.


  Analysis and Limitations: Data analysis was conducted and reported separately for the
  different stakeholder groups. An empirical approach was designed by Operational Excellence
  and Assessment Support (OEAS) where multiple criteria were applied. Criteria used to identify
  key findings included the following: a) Chi-square group difference statistical tests for the
  following groups – gender, number of hours of employed, student level & classification, and
  student of color and b) thresholds for percent positive, negative, “I don’t know,” and “not
  applicable” responses on survey items.


  Please note that caution must be exercised when drawing inferences as the response rate for
  the student survey is not adequate. It is not representative to generalize to the overall UCF
  student population. Additionally, it is important to note that the conclusions in this report are
  based solely on univariate and bivariate analyses.


  Overall learning experience: An overwhelming majority of student respondents indicated that
  they were satisfied with the quality of the education (80%) and with the faculty (78%1: c). More
  than five in six (85%1: c) student respondents “agreed” or “strongly agreed” that the faculty
  create a safe and welcoming environment for everyone in the classroom and classroom




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 531 of 566 PageID 601
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                        iii




  experiences at UCF promote students from all backgrounds to interact together (84%1:b).
  Students noted they received support for advancement and success in their classes (70%), yet
  nearly two in three (65%) students indicated that “the process by which my voice can be heard
  is effective.” Lower percentages of respondents endorsed positively that the courses they took
  fostered an appreciation for diversity (56%) or that their current degree program included
  sufficient content on diversity related issues (58%1: a,c). However, it should be noted that most
  student respondents would recommend UCF to high school students (82%) as well as someone
  considering transferring from another college (81%).


  Campus diversity: More than four in five student respondents (81%1:a,d) endorsed that campus
  diversity and inclusion is “very important” or “somewhat important” to the campus leadership.
  About two in three (>66%) student respondents indicated that UCF is “very welcoming” or
  “welcoming” to the following groups – Caucasian/Whites (positive: 81%; negative: 2%1:a,b,c),
  Women (positive: 79%; negative: 3%1: a,b,c), First-generation students (positive: 69%; negative:
  3%1: a,b,c,d), and LGBTQIA+ people (positive: 67%; negative: 2%1:b,c). About two out of three
  student respondents (67%1: a,b,c,d) indicated UCF promotes racial/cultural interaction between
  different groups “very well” or “somewhat,” while about one in nine (11%1: a,b,c,d) indicated “not
  very well” or “not at all.”


  Personal experiences of discrimination, bias, or harassment: Majority of student
  respondents (56%) know where to report incidents of discrimination, bias, or harassment at
  UCF. Almost four in five (78%) respondents agreed or strongly agreed they know how to
  support someone who shared with them their experience of sexual or relationship violence.
  More than one in two (54%1: a,b) respondents endorsed that they have not witnessed or
  experienced any of the following: illegal activity, bullying, discrimination, bias, harassment,
  relationship or sexual violence, stalking, or retaliation. However, respondents also reported to
  have witnessed or experienced illegal activity (19%1: a,b,d), discrimination/bias/harassment based
  on political views/affiliations (16%1: a), bullying (14%), discrimination/bias/harassment based on
  religion (13%1: c), discrimination/bias/harassment based on lack of English language proficiency
  (13%1: b), discrimination/bias/harassment based on race/ethnicity (13%1: d),
  discrimination/bias/harassment based on gender (11%), or sexual harassment (10%).




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 532 of 566 PageID 602
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                        iv




  Safety on campus and in the surrounding community: An overwhelming majority of student
  respondents endorsed positively (“agree” or “strongly agree”) that they feel safe on campus
  (positive: 85%; negative: 6%1: b,d) while the student respondents endorsed lower positive rates
  for the survey item: “my family feels I am safe on campus” (positive: 76%; negative: 5%1: a,b,c,d).
  Similarly, two in three student respondents endorsed positively (“agree” or “strongly agree”) that
  they feel safe off campus (positive: 68%; negative: 15%1: a,b,c,) while the student respondents
  endorsed lower positive rates for the survey item: “my family feels I am safe off campus”
  (positive: 61%; negative: 15%1: a,b,c,d).


           At least three in four student respondents indicated the following safety measures must
  exist to feel safe: a) parking lot lighting (83%1: a,c,d); b) street lighting (82%1: a,c,d); c) walkway
  lighting (81%1: a,d); d) ability to anonymously report concerns about a student or employee
  (someone who may be suicidal, mentally unstable, engaged in an illegal activity, etc.) (81%1: a);
  and e) emergency call boxes (77%1: a).




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 533 of 566 PageID 603
                                                                                                                                       1




                                                      INTRODUCTION

              The Interim Chief Equity, Inclusion and Diversity Officer contracted with Viewfinder®
  Campus Climate Surveys, LLC to conduct three (faculty and administrators, staff members, and
  students) Campus Climate Surveys in spring 2020 to inform strategic planning. Operational
  Excellence and Assessment Support (OEAS) was contacted by Dr. S. Kent Butler, Interim Chief
  Equity, Inclusion and Diversity Officer, in May 2020 to assist with the analysis and summary of
  the findings gleaned from the Campus Climate Surveys.



                                                      METHODOLOGY

  Survey Instruments, Administration, and Data Sources
              Campus Climate Surveys, LLC administered three Viewfinder® Campus Climate Survey
  instruments to faculty and administrators, staff members, and students in spring 2020. A total of
  64,928 students were invited to participate in the Campus Climate Survey study through eight
  email invitations during the period February 24, 2020 to March 16, 2020. Campus Climate
  Surveys, LLC provided three SPSS data files and frequency reports as well as the final survey
  instruments.


  Demographics and Respondent Characteristics
          Of the 64,928 students invited to participate, 1,207 responded to the survey (response
  rate: 1.9%). The characteristics and demographics of the students who responded to the survey
  items are summarized below:

  •      Student level: 906 (76%) student respondents indicated they were pursuing a bachelor’s
         degree, 156 (13%) were pursuing a master’s degree, and 116 (10%) a doctoral degree.
         There were 15 student respondents who indicated they were pursuing an associate degree
         (1%).




      Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
      student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 534 of 566 PageID 604
      2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                        2




  •      Student classification: 147 (16%) student respondents were in their first year in college,
         166 (18%) in their second year, 307 (33%) in their third year, 230 (25%) in their fourth year,
         and 84 (9%) in their fifth year or beyond.

  •      Student type: 950 (79%) student respondents self-identified as being enrolled full-time
         (over 12 hours), 268 (22%) self-identified as part-time, 278 (23%) responded as first-
         generation students (neither parent has a four-year degree), 279 (23%) as transfer students,
         248 (21%) as commuter students, and 191 (16%) indicated they are Pell grant recipients.

  •      Gender: Of the respondents who answered this survey item, 603 (62%) indicated female,
         325 (33%) indicated male, 18 (2%) identified as non-binary/nonconforming, 9 (<1%)
         identified as transgender man, 5 (<1%) identified as transgender woman, and 24 (2%)
         preferred not to answer.

  •      Number of Hours Employed: 320 (33%) student respondents said they were not employed
         during the academic year. However, most students worked while in school as follows: 85
         (9%) worked 1-10 hours per week, 214 (22%) 11-20 worked hours per week, 138 (14%)
         worked 21-30 hours per week, 125 (13%) worked 31-40 hours per week, and 88 (9%)
         worked 41 hours or more per week.

  •      Military Veterans and Disability: 38 (3%) respondents identified as military veterans while
         106 (9%) self-identified as having a disability.

  •      LGBTQIA+: 205 (18%) respondents self-identified within the LGBTQIA+ community.

  •      Student of Color: 336 (30%) respondents self-identified as a student of color.

  •      International student: 69 (6%) of the respondents were an international student.


  Analysis Strategy and Limitations
              Data analysis was conducted and reported separately for the different stakeholder groups.
  An empirical approach was designed by Operational Excellence and Assessment Support (OEAS)
  where multiple criteria were applied. Criteria used to identify key findings included the following: a)
  Chi-square group difference statistical tests for the following groups – gender, number of hours
  employed, student level & classification, and student of color and b) thresholds for percent positive,
  negative, do not know and not applicable responses on survey items. Findings were flagged that
  reached a certain critical threshold for negative responses (depending on the survey item, above
  20%) and the aggregate of “I don’t know” and “not applicable” response categories (depending on
  the survey item, above 20%). Positive responses at or above 66% were also flagged for examination
  using this threshold analysis approach.




      Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
      student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 535 of 566 PageID 605
      2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                        3




              For identifying statistical differences, Chi-square tests of independence were performed, at
  95% confidence level, for the four groups – gender, number of hours employed, student level &
  classification, and student of color – where enough counts and responses by all levels were
  available. Group membership used for Chi-square tests were self-reported by student respondents
  as follows:


  •      Gender [female (n = 603), male (n = 325), and undisclosed (n = 261)]

  •      Number of Hours Employed [not employed (n = 320), 1-20 hours per week (n = 299), more
         than 20 hours per week (n = 351)]

  •      Student Level and Classification [pursuing a bachelor’s degree in their first or second year
         (n = 292), pursuing a bachelor’s degree in their third year or beyond (n = 610), and pursuing
         a master’s or doctoral degree (n = 272)]

  •      Student of Color [yes (n = 336) and no (n = 776)]


         Statistical differences between groups are noted throughout the document using a superscript “1”
  with the group(s) that were significant: a) by gender; b) by number of hours employed; c) by student
  level and classification; and d) by student of color.



  Limitations
              Please note that caution must be exercised when drawing inferences as the response
  rate for the student survey is not adequate. It is not representative to generalize to the overall
  UCF student population. Additionally, it is important to note that the conclusions in this report
  are based solely on univariate and bivariate analyses.




      Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
      student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 536 of 566 PageID 606
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                        4




                         OVERALL LEARNING EXPERIENCE AT UCF

           An overwhelming majority of student respondents indicated that they were satisfied with
  the quality of the education (80%) and with the faculty (78%1: c) at UCF. Similar positive
  sentiments (“agree” or “strongly agree”) were found for other items in this survey section: a) “I
  would recommend my campus to high school students” (positive: 82%; negative: 8%1: c); b) “I
  would recommend my campus to someone considering transferring from another college”
  (positive: 81%; negative: 9%1: c); and c) “Support for my advancement and success is evident in
  my classes” (positive: 70%; negative: 14%). More than five in six (85%1: c) student respondents
  “agreed” or “strongly agreed” that the faculty create a safe and welcoming environment for
  everyone in the classroom and classroom experiences at UCF promote students from all
  backgrounds to interact together (84%1:b). Also, three in four (76%1: c,d) student respondents
  endorsed positively to the survey item: “I feel safe among other students expressing my views
  and opinions in the classroom.”
           Almost three in four student
  respondents disagreed or strongly disagreed
  (note: disagreement is a positive response)
  that: “This is a hostile study/living
  environment” (74%1: b,c) and “I want to leave
  this campus” (73%1: b,c). However, only
  44%1:a,c agreed or strongly agreed that “there
  is a great sense of belonging,” while 23%
  “disagreed” or “strongly disagreed” and 29%
  “did not know”.
           In contrast, a notable portion of student respondents had a negative opinion (“disagreed”
  or “strongly disagreed”) about the following items related to their overall learning experience: a)
  “Courses I have taken actively foster an appreciation for diversity” (positive: 56%; negative:
  16%1: a); b) “My current degree program includes sufficient content on diversity related issues”
  (positive: 58%; negative: 19%1: a,c); c) “The process by which my voice can be heard is effective”
  (positive: 43%; negative: 19%1: a,b); d) “Our school puts too much emphasis on diversity.”
  (positive: 22%; negative: 57%1: a,c,d ); e) “Leaders are held to appropriate measures of
  accountability and responsibility for campus climate” (positive: 41%; negative: 14%1: a,c); f)
  “Public announcements regarding internal communications and practices are honest and




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 537 of 566 PageID 607
    2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                       5




  truthful” (positive: 60%; negative: 9%1: a,c); and g) “Multiculturalism is a core value of our
  institution’s mission” (positive: 65%; negative: 8%1: a).
              Correspondingly, almost one in four
  student respondents endorsed “I don’t know” for
  the following survey items: a) “Courses I have
  taken actively foster an appreciation for diversity”
  (21%1: a); b) “Public announcements regarding
  internal communications and practices are
  honest and truthful” (29%1: a,c); c) “The process by
  which my voice can be heard is effective” (34%1:
  a,b
     ); d) “Leaders are held to appropriate measures
  of accountability and responsibility for campus
  climate” (40%1: a, c); e) “Faculty accept my points
  of view even if they disagree with them” (27%1:
  b,c,d
        ); f) “Multiculturalism is a core value of our institution’s mission” (23%1: a); g) “Our school
  engages with external communities to understand their interests and responds to their needs”
  (36%1: a,c,d).
              More than one in three student respondents “disagreed” or “strongly disagreed” (note
  disagreement is a positive response) with the statements: a) “My academic workload is too
  heavy” (32%1: a) and b) “There are too many expectations of me” (41%1: a). Further, more than
  one in two (51%) student respondents disagreed or strongly disagreed that their school/life
  balance is perfect and one in three (33%1: a) endorsed that there were too many expectations of
  them (agree/strongly agree). About 12%1: b,c of the student respondents reported that they would
  like to leave the campus, whereas 10%1: b,c endorsed “I don’t know” to that item. Almost half the
  student respondents endorsed “I don’t know” or “not applicable” to survey items designed to
  gauge their interest in: a) “A certificate program that focuses on diversity related issues (51%1:
  a,b,d
          ) and b) “A minor that focuses on diversity related issues?” (55%1: a,d).




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 538 of 566 PageID 608
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                        6




                                                        WHY UCF?

           Geographic location (74%: b,c) and distance from home (76%: 1:b,c) were endorsed by
  three in four student respondents as “very important” or “somewhat important” reasons for
  choosing to attend UCF. About nine in ten student respondents rated the following items as
  important for choosing UCF: a) “Offers program or degree in my field of interest” (92%1: a); b)
  “Academic reputation” (88%1: a,c); and c) “Cost of attendance” (86%1: a,c ). Almost two in three
  student respondents identified internship opportunities (66%1: a,b,c) and post-graduation job
  placement rates (62%1: a,b,c) as the reasons for attending UCF.
           Almost half the student respondents identified student diversity (53%1:a,c,d), campus
                                                       commitment to diversity (54%1: a,c,d), and faculty diversity
                                                        (44%1: a,b,c,d) as being “very important” or “somewhat
                                                        important” reasons for attending UCF, along with
                                                        receiving a scholarship (47%1: b,c,d) and research
                                                        opportunities (45%1: b,c). Also, about one in three
                                                        student respondents identified community service
                                                        opportunities (33%1: a,b,c,d), clubs/organizations of
                                                        interest (34%1: b,c), and work-study opportunities
                                                        (38%1:b,c,d) as important reasons for choosing UCF.




                                      STUDENT OUTREACH AT UCF

           About two in three student respondents endorsed positively (“very satisfied” or
  “satisfied”) to the following survey items: a) “faculty office hours” ,(73%1:d); b) “easy
  communication with faculty” (76%1:a); c) “accessible academic advisors” (64%1:a,b,c,d); d)
  “knowledgeable academic advisors” (62%1:a,b,c,d); e) “free tutoring support” (63%1:c); and f)
  “community service opportunities” (61%1:c). About one in five student respondents endorsed
  negatively (“somewhat dissatisfied” or “very dissatisfied” to the following survey items: a)
  “accessible academic advisors” (20%1:a,b,c,d); b) “knowledgeable academic advisors”
  (21%1:a,b,c,d); c) “need-based scholarships” (18%1:a,c,d); d) “merit-based scholarships” (18%1:b,c);
  and e) “knowledgeable career advisors/staff” (15%1:a,c,d).




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 539 of 566 PageID 609
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                        7




                                               CAMPUS DIVERSITY

           The campus diversity section focused on the following aspects: a) how welcoming UCF
  is to different groups; b) level of interactions among racial/ethnic groups; c) how well UCF
  promotes racial/cultural interactions between different groups; d) campus diversity training; and
  e) the importance of diversity and inclusion to campus leadership.




  How welcoming UCF is to different groups of people: The question on the survey was:
  “Q29: How welcoming is our campus to different groups?” The response categories were: “very
  welcoming,” “somewhat welcoming,” “I don’t know,” “not very welcoming,” “not at all welcoming,”
  and “ I don’t know” (inadvertently listed twice on the survey instrument). The responses “very
  welcoming” and “somewhat welcoming” were considered positive sentiments and “not very
  welcoming” and “not at all welcoming” were considered negative.
           About two in three (>66%) student respondents endorsed positive responses for the
  following groups – Caucasian/Whites (positive: 81%; negative: 2%1:a,b,c), Women (positive: 79%;
  negative: 3%1: a,b,c), and First-generation students (positive: 69%; negative: 3%1: a,b,c,d), and
  LGBTQIA+ people (positive: 67%; negative: 2%1:b,c). However, there were several stakeholder
  groups that respondents felt were not welcomed at the same high rates. These groups were –
  Hispanic/Latinos (positive: 65%; negative: 2%1: c,d), Military and Veterans (positive: 63%;
  negative: 2%), African Americans (positive: 62%; negative: 2%1: a,c,d), People with Disabilities
  (positive: 62%; negative: 5%1: b,c,d), International students and employees (positive: 62%;
  negative: 3%1: a,b,c,d), Asian Americans (positive: 60%; negative: 2%1: a,d), People from the Middle
  East (positive: 55%; negative: 4%1: a,b,c,d),
  Muslims (positive: 53%; negative: 4%1: a,b,c,d),
  and Undocumented students (positive: 32%;
  negative: 4%1: c).
           It should be noted that, on average,
  more than one in three (37%) respondents
  gave an answer of “I don’t know” to how
  welcoming UCF is to other groups of people.
  However, statistical differences were found
  across groups by gender, number of hours of
  employed, student level & classification, and student of color at UCF. This suggests that




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 540 of 566 PageID 610
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                        8




  different groups of student respondents have differing impressions about how welcoming UCF is
  to others.




  Level of interactions among racial/ethnic groups: The question on the survey was: “Q30:
  How would you categorize the level of interactions among racial/ethnic groups?” The response
  categories were: “very integrated,” “somewhat integrated,” “neutral,” “not very integrated,” “not
  at all integrated,” and “I don’t know”. A majority of student respondents endorsed their
  interactions, irrespective of the type, were positive (“very integrated” and “somewhat integrated):
                                                                          on campus (73%1: b,c,d); in residence halls
                                                                          (42% 1: a,b,c); in campus dining areas
                                                                          (46%1: a,c); during student activities on
                                                                          campus (61%1: b,c,d); and during sporting
                                                                          events on campus (56%1: a,c,d). On
                                                                          average, about four in ten student
                                                                          respondents endorsed “I don’t know” or
                                                                          “not applicable” to survey items related to
                                                                          interaction among racial/ethnic groups for
  different campus experiences. Items with significantly large “not applicable” responses were as
  follows: “in residence halls” (46%); “in campus dining areas” (41%); “during sporting events on
  campus” (32%); and “during student activities on campus” (25%). Only a small proportion of
  students endorsed negatively to these survey items.




  How well UCF promotes racial/cultural interaction between different groups: The question
  on the survey was: “Q31: How well does our institution promote racial/cultural interaction
  between different groups?” The response categories were: “very well,” “somewhat,” “not very
  well,” “not at all,” and “I don’t know.” About two out of three student respondents (67%1: a,b,c,d)
  indicated UCF promotes racial/cultural interaction between different groups “very well” or
  “somewhat,” while about one in nine (11%1: a,b,c,d) indicated “not very well” or “not at all.” More
  than one in five (22%1: a,b,c,d) reported “I don’t know” on this item.




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 541 of 566 PageID 611
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                        9




  Campus diversity training: The question on the survey was: “Q28: The following groups
  should be required to participate in mandatory diversity training.” The response categories were:
  “strongly agree,” “agree,” “I don’t know,” “disagree,” “strongly disagree,” and “not applicable.”
  About four in five student respondents indicated that the following stakeholders should be
  required to participate in mandatory diversity training: campus police (85%1: a,d), administrative
  leadership (82%1: a,b,d), faculty (81%1: a,d); residence assistants (81%1: a,b,d), and board of trustees
  (80%1: a,b,d).




  Importance of diversity and inclusion to
  campus leadership: For the survey item: “Q32:
  How important, in your opinion, is diversity and
  inclusion to the campus leadership?” More than
  four in five student respondents (81%1:a,d)
  endorsed that it is “very important” or
  “somewhat important,” while a little less than
  one in eight students (12%1:a,d) endorsed
  negatively “not that important” or “not at all
  important” to the survey item.




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 542 of 566 PageID 612
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                       10




  PERSONAL EXPERIENCES OF DISCRIMINATION/BIAS/HARASSMENT

           The personal experiences of discrimination, bias, or harassment section consisted of
  questions focused on the following aspects: a) if the respondent has witnessed or experienced
  discrimination, bias, or harassment; b) who caused the offense; c) if the offense was reported;
  d) the result of the incidence if it was reported; e) sexual and relationship violence; f) perceived
  support if they or someone they know experience sexual or relationship violence; and g) the
  university’s preventative measures.




                                                          Experienced discrimination, bias, or harassment:
                                                          The question on the survey was: “Q38: Have you
                                                          experienced/witnessed any of the following while at
                                                          our institution? Check all that apply.” More than half
                                                          (54%1: a,b) of the respondents endorsed that they have
                                                          not witnessed or experienced any of the following:
                                                          illegal activity, bullying, discrimination, bias,
                                                          harassment, relationship or sexual violence, stalking,
                                                          or retaliation.
                                                                   However, respondents also reported to have
  witnessed or experienced illegal activity (19%1: a,b,d), discrimination/bias/harassment based on
  political views/affiliations (16%1: a), bullying (14%), discrimination/bias/harassment based on
  religion (13%1: c), discrimination/bias/harassment based on lack of English language proficiency
  (13%1: b), discrimination/bias/harassment based on race/ethnicity (13%1: d),
  discrimination/bias/harassment based on gender (11%), and sexual harassment (10%).
           The top groups reported by student respondents to have caused the offense of
  discrimination, bias, or harassment were as follows: other students (80%1:b,c), faculty members
  (27%1: b,c), or persons unaffiliated with UCF (22%). Although a majority of respondents (56%)
  knew where to report the incident at UCF, less than one in seven (15%) reported the incident(s).
  When the incident was reported, it was typically reported to a faculty member (40%), campus
  police (35%), or a friend (24%). In other instances, the incident was reported to the counseling
  center (13%), the Office of Student Rights and Responsibilities (including Student Care Services
  and Office of Student Conduct) (13%), or a family member (11%). It is important to note that




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 543 of 566 PageID 613
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                       11




  these endorsements were not unique as the same incident could have been reported to multiple
  entities.
           Of the 59 student respondents who submitted written discrimination/ bias/harassment
  complaints over the past two years, 33% reported that their complaint was taken seriously while
  another 33% reported that their complaint was addressed but not resolved to their satisfaction.
  Nearly one third of the respondents (30%) indicated that nothing was done after their complaint
  was reported while 6% indicated the complaint was resolved to their satisfaction. About one in
  eight (12%) indicated that criminal action was taken based on their reporting.
           Reasons shared by respondents for not reporting the incident(s) included: a) I decided it
  wasn’t important enough (54%1: a,b,c); b) not sure if anything would happen (46%); c) there was
  not enough evidence (36%); d) the respondent did not think the school would support them
  (22%1: b,c); e) there was no witness (19%); f) the respondent feared retaliation (17%1:c); and g)
  the respondent felt embarrassed (10%).




  Sexual or Relationship Violence: The
  question on the survey was: “Q35: To
  what extent do you agree or disagree
  with the following statements regarding
  perceived University responsiveness?”
  The response categories were:
  “strongly agree,” “agree,” “I don’t know,”
  “disagree,” “strongly disagree.”
           Almost four in five (75%1: c) student respondents endorsed positive responses (“agree” or
  “strongly agree”) to the statement “UCF would take a report of sexual or relationship violence
  seriously,” while about 7%1: c endorsed negative responses (“disagree” or “strongly disagree”).
  About seven in ten students endorsed positively (“strongly agree” or “agree”) that UCF would
  maintain their privacy (70%1: a,b,c) or would take steps to protect their safety (71%1: a,c) if they
  were to file a report regarding sexual or relationship violence.
           Similarly, 68%1: c and 57% responded positively to the statements, “I know how to
  contact confidential resources on campus” and “I know how to request an investigation
  regarding sexual or relationship violence,” respectively, while 14%1: c and 19% endorsed
  negatively. One in two respondents (50%) responded “I don’t know” when asked if, “students




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 544 of 566 PageID 614
    2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                      12




  who file reports of sexual or relationship violence are treated fairly during an investigation.”




  Perceived student support if they or
  someone they know experienced
  sexual or relationship violence: The
  question on the survey was: “Q36: To
  what extent do you agree or disagree with
  the following statements regarding
  student support?” The response
  categories were: “strongly agree,” “agree,”
  “I don’t know,” “disagree,” “strongly
  disagree.” More than three in four (78%)
  student respondents endorsed positively (“agree” or “strongly agree”) to the statement – “I
  would know how to support someone who shared with me that they experienced sexual or
  relationship violence” while about 8% endorsed negatively (“disagree” or “strongly disagree”).
  More than half (53%) of the respondents also positively endorsed (“agree” or “strongly agree”)
  the following statement – “My peers would know how to support someone who shared with me
  [sic. them] that they experienced sexual or relationship violence.” Similarly, two in three (66%1:
  a,d
        ) student respondents disagreed or strongly disagreed that their peers would label them as a
  troublemaker if they were to file a report regarding sexual or relationship violence.
             Majority of student respondents endorsed positive responses (“agree” or “strongly
  agree”) to the following survey items: a) “I have received information from UCF (e.g. orientation
  session, email, poster, written notice) regarding the University's prohibition of sexual and
  relationship violence” (81%1: a,c) and b) “I am aware of the resources available to me if I were
  impacted by sexual or relationship violence” (72%1: c). Though, 47%1: c endorsed positively
  (“agree” or “strongly agree”) that the University regularly hosts workshops on sexual or
  relationship violence, 46%1: c endorsed “I don’t know.” While about one in four (23%1: b,c) have
  attended a workshop on sexual or relationship violence on campus, nearly two in three (65%1:
  b,c
    ) student respondents have not.
          SAFETY ON CAMPUS AND IN THE SURROUNDING COMMUNITY

  Feeling Safe: The question on the survey was: “Q45: To what extent do you agree or disagree
  with the following statements about safety on/off campus? The response categories were:




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 545 of 566 PageID 615
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                       13




  “strongly agree,” “agree,” “I don’t know,” “disagree,” “strongly disagree,” and “not applicable.” An
  overwhelming majority of student respondents endorsed positively (“agree” or “strongly agree”)
  that they feel safe on campus (positive: 85%; negative: 6%1: b,d) while the student respondents
  endorsed lower positive rates for the survey item: “my family feels I am safe on campus”
  (positive: 76%; negative: 5%1: a,b,c,d). Similarly, two in three student respondents endorsed
  positively (“agree” or “strongly agree”) that they feel safe off campus (positive: 68%; negative:
  15%1: a,b,c,) while the student respondents endorsed lower positive rates for the survey item: “my
  family feels I am safe off campus” (positive: 61%; negative: 15%1: a,b,c,d). Notably, more than one
  in three respondents indicated “I don’t know” to the items “students are supportive of other
  students who have experienced incidences of physical confrontation” (34%1: c) and “students are
  supportive of other students who have experienced incidences of emotional confrontation
  (discrimination, sexual harassment, bullying)” (28%1: b,c).




  Campus police: The question on the survey
  was: “Q28: The following groups should be
  required to participate in mandatory diversity
  training.” A vast majority (85%1: a,d) of the student
  respondents affirmed that the “campus police
  should be required to participate in mandatory
  diversity training”. Similar sentiments were
  captured in “Q46: To what extent do you agree
  or disagree with the following statements
  regarding campus police?" The response
  categories were: “strongly agree,” “agree,” “I
  don’t know,” “disagree,” “strongly disagree,” and
  “not applicable.” Student respondents agreed or
  strongly agreed that the “campus police should be required to participate in ongoing diversity
  training” (81%1: a,d).




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 546 of 566 PageID 616
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                       14




           Additionally, about half the student respondents agreed or strongly agreed that “campus
  police are qualified/trained to deal with all aspects of diversity” (49%1: a) and “campus police
  should be reflective of the diversity of
  our students” (76%1: a,d). More than
  one in three (37% 1: a) endorsed “I
  don’t know” to the following survey
  item: “Campus police are
  qualified/trained to deal with all
  aspects of diversity.” Almost one in
  ten student respondents endorsed
  that the campus police were not
  qualified/trained to deal with all
  aspects of diversity (9% 1: a).




  Improving safety on campus: The question on the survey was: “Q47: Which of the following
  safety measures must exist on campus in order for you to feel safe? Check all that apply.” More
  than two in three (>67%) student respondents endorsed the following safety measures must
  exist to feel safe: a) parking lot lighting (83%1: a,c,d); b) street lighting (82%1: a,c,d); c) walkway
  lighting (81%1: a,d); d) ability to anonymously report concerns about a student or employee
  (someone who may be suicidal, mentally unstable, engaged in an illegal activity, etc.) (81%1: a);
  e) emergency call boxes (77%1: a); f) maintenance of improperly working safety items (lightbulbs
  that are out, call boxes not working, etc.) (71%1: d); g) interior lighting in campus buildings after
  dark (71%1: a,d); h) surveillance cameras (69%1:a); and i) quick response by administration to
  campus emergencies (68%1: a,d).




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 547 of 566 PageID 617
   2020 CLIMATE SURVEY: KEY FINDINGS FROM STUDENT SURVEY                                                                       15




                  RELIGION/NON-RELIGION/SPIRITUAL AFFILIATION

            The question on the survey was “Q17: To what extent do you agree or disagree with
  the following statement related to Religion.” The response categories were: “strongly agree,”
  “agree,” “I don’t know,” “disagree,” “strongly disagree,” and “not applicable.” While 62%1:b,c and
  63%1: c of student respondents endorsed positive responses (“strongly agree” or “agree”) to the
  items “I can openly express my religious/spiritual beliefs on campus” and “in the surrounding
  community,” respectively, about 10%1:b,c and 7%1: c of the respondents endorsed negative
  responses (“disagree” or “strongly disagree”), respectively. About one in five respondents
  reported “I don’t know” when asked if their religious/spiritual beliefs are treated with respect by
  specific groups such as administrators (23%1: b,c); staff (22%1: c); faculty (21%1: c), and other
  students (19%1: b,c).


                                     POLITICAL AND WORLDVIEWS

           The question on the survey was: “Q18: To what extent do you agree or disagree with the
  following statement related to Political and World Views.” While 59%1: a,b,c,d of the student
  respondents endorsed positive responses (“agree” or “strongly agree”) to the statement, “I can
  openly express my political views/worldviews on campus,” about 17% of the respondents
  endorsed negative responses (“disagree” or “strongly disagree”). Similar patterns could be
  found for the item, “I can openly express my political views/worldviews in the surrounding
  community” (positive: 57%; negative: 19%1: a,c).


                                                                                A little more than half (>50%) of
                                                                     student respondents also positively endorsed
                                                                     (“agree” or “strongly agree”) that their political
                                                                     views/worldviews are treated with respect by
                                                                     various stakeholders: a) faculty (57%1: a,c,d); b)
                                                                     students (56%1: a,c,d); c) staff (54%1: a,c), and d)
                                                                     administrators (52%1: a,c). Other items in this
                                                                     survey section had high endorsements of “I
                                                                     don’t know.” These items were that “my
  political views/worldviews are treated with respect by”: a) administrators (29%1: a,c); b) staff
  (28%1: a,c); c) faculty (24%1: a,c,d); and d) students (20%1: a,c,d).




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 548 of 566 PageID 618




   Chi-square test of independence to detect statistical differences with 95% confidence by gender a, number of hours employed b,
   student level and classification c, student of color d.
Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 549 of 566 PageID 619




                        EXHIBIT BB
                                        Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 550 of 566 PageID 620
                                                                                                                            Search UCF


 Just Knights                  Student Development                                                                                                 !
 Response Team                 and Enrollment Services


 HOME        WHO WE ARE          WHAT WE COVER                 REPORT INJUSTICE                  RESOURCES              CONTACT




Bias-Related Incident Report
What can you do if you experience acts of bias or hate?
Report the incident to the Just Knight Response Team (JKRT). This team was created to help individuals who have been impacted by hate
or bias-related incidents. Please take
the time to complete this form to the best of your ability. The team makes a strong attempt to follow up on all reports within 48 hours.

This website has a variety of links and resources available for your use. Whatever your reasons are for visiting this site, we hope that you
leave with the sense that the University of Central Florida is committed to creating an open and welcoming environment for all people, all
races and cultures.




JKRT Intake Form




UPCOMING EVENTS                                     PAGE NAVIGATION                                                            CONTACT US



  FEB      FreshU                                   HOME                                                                       Just Knights
                                                                                                                               Response Team
 22        Kitchen Virt                             WHO WE ARE


                                                    WHAT WE COVER
                                                                                                                                "   407-823-1535

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                                                                                                                               #    JKRT@UCF.EDU

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           RECREATION AND
                                                    RESOURCES

           WELLNESS CENTER:
           PATIO                                    CONTACT




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Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 551 of 566 PageID 621




                        EXHIBIT CC
The Rise of “Bias Response
 Case 6:21-cv-00313-GAP-GJK Document 3-1 Filed 02/22/21 Page 552 of 566 PageID 622




Teams” on Campus
Colleges across America are creating
shadowy groups to handle complaints. Will
they end up muzzling students instead?
Amna Khalid March 30, 2016

“Trump 2016.” After this message was scrawled in chalk
across the Emory University campus earlier this month,
some 40 students met with President James Wagner to
express their “fear” and “frustration,” insisting that
“Trump’s platform and his values undermine Emory’s values
[of] diversity and inclusivity.” Wagner reassured the
students that the university would review the footage from
security cameras to identify the culprit. “If they’re students,”
he said, “they will go through the conduct violation
process.” In a subsequent campus-wide email, Wagner
declared that Emory’s “commitment to respect, civility, and
inclusion calls us to provide a safe environment.” He also
emphasized that the school would make “immediate
refinements” to the “procedural deficiencies” of its “bias
incident and response process.”

Bias incident reporting is not unique to Emory. More than
100
 Case colleges     and universities
      6:21-cv-00313-GAP-GJK            have
                            Document 3-1       Bias Response
                                         Filed 02/22/21              Teams,
                                                        Page 553 of 566 PageID 623

which aim to foster “a safe and inclusive environment” by
providing “advocacy and support to anyone on campus who
has experienced, or been a witness of, an incident of bias or
discrimination.” These teams have multiple missions,
including educational “prevention,” investigating alleged
bias incidents, disciplining offenders, and organizing
“coping events” after such incidents. Depending on the
campus, these teams are known as BRTs, BARTs, BERTs or
BIRTs. Students and faculty occasionally serve on BRTs, but
they are largely composed of administrators, with sizable
representation from Residential Life and Dean of Students
offices. As committees with unelected members that meet
behind closed doors, they lack both transparency and
accountability.


    BRTs are rapidly becoming part of the
    institutional machinery of higher
    education, but have yet to face any real
    scrutiny.

BRTs are rapidly becoming part of the institutional
machinery of higher education, but have yet to face any real
scrutiny. As Carleton College faculty members committed to
“rigorous studies in the liberal arts disciplines” and the
vitality of diverse campus communities, we believe that the
proliferation     of BRTs is
 Case 6:21-cv-00313-GAP-GJK   a grave
                            Document 3-1 mistake.
                                         Filed 02/22/21They   degrade
                                                        Page 554 of 566 PageID 624

education by encouraging silence instead of dialogue, the
fragmentation of campuses into groups of like-minded
people, and the deliberate avoidance of many of the most
important—and controversial—topics across all academic
disciplines. They are inherently anti-intellectual enterprises,
fundamentally at odds with the mission of higher education.
And ultimately they will undermine a bedrock principle of
the modern university: that more diversity leads to better
learning.

New year, new adminstration sale:
3 months for $5Subscribe


The dramatic diversification of the student body is one of
the most significant trends in higher education over the past
half-century. Circa 1965, about 94 percent of the nation’s
college students were white and 61 percent were men;
today, those figures have fallen to 59 percent and 43
percent, respectively.

That shift was encouraged by the pivotal 1978 Supreme
Court decision on affirmative action, Regents of the
University of California v. Bakke, a 5-4 ruling that banned
racial quotas for college admissions but deemed it
permissible to include race as one of a broad “array of
qualifications and characteristics” in a “highly
individualized,      holisticDocument
 Case 6:21-cv-00313-GAP-GJK   review3-1ofFiled
                                          each     applicant’s
                                               02/22/21 Page 555 of file.” (This
                                                                    566 PageID 625

is the policy under consideration in Fisher v. University of
Texas.) In his majority opinion, Justice Lewis Powell rejected
the social justice rationale for affirmative action but
endorsed the diversity rationale, asserting that an otherwise
qualified student “with a particular background—whether it
be ethnic, geographic, culturally advantaged or
disadvantaged” may bring “outlooks and ideas” that enrich
“the atmosphere of speculation, experiment and creation”
on campus.

Colleges and universities promote the benefits of a
multicultural student body, calling diversity “a defining
institutional value” that adds “depth, richness and
excitement” to campus life. There has always been tension,
though, between the rhetoric and the reality of diversity on
college campuses—between the slogans that celebrate
“differences” and how these differences really shape
campus life. If the photographs of smiling students in
college catalogs depict a multicultural utopia, the groups of
students sitting in the cafeteria often tell a different story.
Admissions officers would have you believe that campus life
is a bubble, sealed off from the social inequities of the “real
world” such as racism, sexism and homophobia. The news
proves otherwise, whether it be the University of Oklahoma
fraternity members singing a racist song or the explosion of
student protests this past fall.
From    an administrative
 Case 6:21-cv-00313-GAP-GJK   point3-1of Filed
                            Document     view,     there
                                               02/22/21   is 556
                                                        Page a pressing
                                                                 of 566 PageID 626

need to more effectively “manage” campus diversity, and
BRTs are at the heart of this effort. (Ohio State University
founded one of the first in 2007 after “racist letters” were
distributed to students through campus mail. Most are only
a few years old.) Public relations, not surprisingly, have
spurred the growth of BRTs, with “institutional reputation”
and the desire to “reassure campus communities that
administrators [are] addressing bias” as main concerns.

Definitions of bias incidents vary by campus but have the
following key features: They encompass “any behavior or
action directed towards an individual or group based upon
actual or perceived identity characteristics.” These
characteristics include “race, color, ethnicity, social class,
national origin, religion, sexual orientation, gender identity
and/or expression, age, marital status, veteran status, and
physical and mental health”—sometimes even “height” and
“weight.”

New year, new adminstration sale:
3 months for $5Subscribe


    Last month, at the University of Michigan,
    a hall director reported a “phallic snow
    object.”
ACase
   bias  incident can occur
      6:21-cv-00313-GAP-GJK      “whether
                            Document            the act
                                     3-1 Filed 02/22/21   is 557
                                                        Page intentional
                                                                 of 566 PageIDor
                                                                               627

unintentional,” meaning that “microaggressions” (subtle,
often unintended slights) are squarely within bias incident
territory. All “verbal, written or physical” conduct is fair
game, whether it transpires in actual spaces such as
cafeterias and classrooms or in the endless virtual world of
social media. Examples include “symbols, language and
imagery objectifying women” (University of Utah); “name
calling,” “avoiding or excluding others” and “making
comments on social media about someone’s political
affiliations/beliefs,” (Syracuse); “I don’t see skin color,” “I
was joking. Don’t take things so seriously,” and “Thanks,
Sweetie.” (University of Oregon). Given the expansive
definitions of bias incidents, it is no surprise that some
dubious complaints are filed: Last month, at the University
of Michigan, a hall director reported a “phallic snow object.”
“It is the height of privilege and entitlement to be
obsessively concerned with utterly inconsequential events
such as this,” a member of the university’s residential staff
said.

Anyone can report a “bias incident,” including “faculty, staff,
students, as well as parents, alumni and visitors to campus.”
Reporters may be “victims,” “witnesses” or even “third
parties”—and they may choose to remain anonymous. That
opens the door to hoaxes. Indeed, more than 20 percent of
all the bias incident reports filed at one university during a
single   academic year Document
 Case 6:21-cv-00313-GAP-GJK were “pranks,”     the investigation
                                  3-1 Filed 02/22/21                   of 628
                                                     Page 558 of 566 PageID

which “occupied a great deal of time and attention for
multiple staff members and senior level administrators.”

We do not want our campuses overrun with eager “see
something, say something” “student informants.” Far from
empowering students with the requisite skills for having
difficult conversations, bias response initiatives, as a Boston
College student asserted, encourage “students to ask the
administration to solve problems instead of solving them
amongst themselves.” At University of California, Santa
Cruz, a student filed a bias incident complaint that a single
poster advertising a college “mafia” game was “extremely
offensive to me as an Italian American woman” and “could
result in harassment of Italian American students on
campus”; the poster was removed. As the aforementioned
Boston College student lamented, BRTs create “a false, and
dangerous impression that the administration can/should
police speech on campus to ensure everyone is
‘comfortable.’”

“Police” is an apt word. A vice chancellor at University of
California, Santa Barbara encouraged students to report
“hate crimes or bias incidents” to the campus police
department and the Office of Judicial Affairs. (Santa Clara
University even instructed students to call 911 if a “bias
incident is in progress or just occurred,” a policy
subsequently        revised.)
 Case 6:21-cv-00313-GAP-GJK   A study
                            Document     based
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interviews with BRT members representing 17 colleges and
universities found they devoted more time to “punishing and
condemning the perpetrators of specific acts” than to
community-wide education. A criminal justice framework
informs much of the work done by BRTs, with terms such as
“victim,” “perpetrator” and “offender” being used.
Punishment was swift indeed in the recent “ethnic
stereotyping” brouhaha at Bowdoin, where students who
hosted a “fiesta” featuring tequila and mini-sombreros were
forced to move out of their room, placed on social
probation, and required to complete future educational
programming. The college president described the party as
an “act of bias.”


Let us be clear: Bias and discrimination are real and
pressing concerns on campuses across the country. There
must be channels for students, especially those from
historically underrepresented populations, to communicate
their concerns to administrators and their peers. Institutions
need to keep on top of “campus climate” concerns through
surveys and community-wide discussions. But to institute a
formal body that assesses the merits of bias incident
complaints is profoundly misguided. They run counter to the
basic conviction that we learn best through experimental
trial-and-error: changing our minds voluntarily, not because
we  are
 Case     told to. Nothing
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the fear of causing offense. “How are students supposed to
feel empowered to share their honest opinions on social
issues,” a student at UC Santa Barbara asked about the
campus’ BRT, “when they run the risk of being accused of
‘undermining our culture of inclusivity?’”

Peer learning, the hallmark of a residential liberal arts
campus, is immeasurably better when students are not
mirror images of one another. But diversity works its magic
only through meaningful contact between people with
varying “identity characteristics.” Contact, by definition, will
sometimes lead to conflict. Imagine a conversation between
an evangelical student and a gay student on same-sex
marriage, or a discussion about U.S. drone policy between a
dove and a hawk. Such conversations are invaluable. But
without the space to debate and argue, students won’t ever
be forced to confront the underlying assumptions framing
their worldviews. BRTs threaten to drive students into their
own corners with peers who look and think like them,
reducing the potency of diversity to a glib slogan on
admissions brochures.

In addition to threatening the vitality of informal peer
learning, BRTs pose a threat to the basic integrity of
classroom teaching. Among the most frequently reported
bias incidents are classroom comments perceived as
“derogatory”       or “insensitive.”
 Case 6:21-cv-00313-GAP-GJK Document 3-1Apart   from flagging
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intentionally fraudulent reports, BRTs rarely determine that
a particular complaint does not qualify as a “bias incident.”
At the very least, then, “accused” professors will need to
have a “professional development” conversation with a BRT
member as a result. At the most extreme, they may find
themselves in the position of University of Colorado,
Boulder sociologist Patricia Adler, who faced pressure to
resign after some students complained about a prostitution
lecture she regularly delivered. Faculty, of course, are not
paragons of virtue and will no doubt sometimes make
obtuse comments, but BRTs will prevent us from doing our
jobs the best way we know how.


    Much of what we teach and how we teach
    could come under fire with BRTs in place.

Much of what we teach and how we teach could come
under fire with BRTs in place. They would, for instance,
undermine co-author Amna’s strategic use of provocation, a
pedagogical device that yields some of the best educational
moments in her course. In a class on women in South Asia,
Amna screens the controversial film Bandit Queen—a biopic
of Phoolan Devi, a low-caste woman who endured extreme
sexual violence, ultimately becoming a Robin Hood-esque
outlaw. Amna uses the film knowing that students will be
outraged       by both the Document
  Case 6:21-cv-00313-GAP-GJK content3-1and
                                        Filedthe   director’s
                                              02/22/21 Page 562 ofapproach.
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Students’ strong reactions, in fact, lay the necessary
groundwork for a critical discussion about the politics of
representation. Does the film exploit—or challenge—
stereotypical depictions of “third-world” women? Is there a
limit to artistic license when a creative work is presented as
a true story?

The advent of academic tracking in the early twentieth-
century is a key topic in co-author Jeff’s field, the history of
American education. It requires a close look at Stanford
University psychologist Lewis Terman (1877-1956), chief
architect of the first intelligence tests used to place
students in different educational programs (college prep,
vocational ed. and the like). Terman was a card-carrying
eugenicist who believed that “racial differences in general
intelligence” could not be “wiped out by any scheme of
mental culture.” “Mexicans,” “Indians” and “negroes,”
according to Terman, were innately “dull,” destined to be the
“world’s hewers of wood and drawers of water.” When
students engage with Terman’s work, they begin to
understand how powerful social currents such as racism,
Social Darwinism, and anti-immigration sentiment informed
IQ testing, academic tracking, and the shape of the modern
high school.

More broadly, this example speaks to the kind of imaginative
critical  analysis essential
 Case 6:21-cv-00313-GAP-GJK     to history
                            Document            as a discipline.
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                                                        Page 563 of 566    have
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to contemplate and discuss how it is possible that people in
the past held views we find morally reprehensible today, an
undertaking rife with “bias incident” pitfalls. Just imagine
tentative answers to the following question: Why do you
think Terman and other highly educated people of his
generation found racial hierarchies so attractive? We would
not feel comfortable posing questions like this knowing that
one student’s response might result in a bias incident
complaint from a peer. This would only ramp up the all-too-
common student fear of saying “the wrong thing.”

Bias reporting policies blur the all-important distinction
between articulating a position and endorsing it—a
distinction many no longer see. At Dartmouth, student
activists demanded that the college ban from campus the
use of “any racially-charged term” such as “illegal
immigrants.” Similarly, the BRT at Oregon suggests faculty
add the following “classroom behavior” statement to their
syllabi: “no racist, ableist, transphobic, xenophobic,
chauvinistic or otherwise derogatory comments will be
allowed.”

A recent draft report on Title IX by the American Association
of University Professors concludes that universities
sometimes “overreach and seek to punish protected
academic speech” in adjudicating sexual harassment
charges.     There is “a tendency,”
 Case 6:21-cv-00313-GAP-GJK               for 02/22/21
                            Document 3-1 Filed example,Page “to
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academic discussion of sex and sexuality as contributing to
a hostile environment.” Consider too last year’s controversy
at the University of Minnesota over a poster advertising a
panel discussion about free speech, which featured a
Charlie Hebdo cover illustration of the Prophet Muhammad.
In response to a petition signed by over 300 people
condemning the “blasphemous” use of the image, the
university’s Equal Opportunity and Affirmative Action office
held a formal investigation and concluded that “university
members should condemn insults made to a religious
community in the name of free speech.”

Bias reporting puts at undue risk those of us who teach in
the humanities and social sciences, fields that explicitly
address “identity characteristics” such as race, social class,
and sexual orientation. In an Inside Higher Ed piece on the
flaws of trigger warnings, seven humanities professors
maintain that “faculty of color, queer faculty, and faculty
teaching in gender/sexuality studies, critical race theory,
and the visual/performing arts will likely be disproportionate
targets of student complaints about triggering, as the
material these faculty members teach is by its nature
unsettling.” The same could be said about the faculty most
likely to be subject to bias incident complaints. At a
community college in Minnesota three years ago, a female
African American professor was reprimanded by the
administration       for “offending”
 Case 6:21-cv-00313-GAP-GJK Document 3-1 three    whitePage
                                          Filed 02/22/21 male
                                                            565 students
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during a discussion of “structural racism” in a
communications course. With BRTs in place, white students
will be more likely to file complaints against faculty of color
as well as students of color for “offensive” remarks and
actions. There is a real danger that these policies will
boomerang to harm the very groups they were intended to
protect. (This, for example, is a recent BRT complaint from
John Carroll University: “Anonymous student reported that
African-American Alliance’s student protest was making
white students feel uncomfortable.”)

At the University of Richmond in the spring of 2008, a black
doll was found hanging from a noose in a campus theater,
with a note that read, “Art is dead. Long live art.” In the
aftermath of this incident, Glyn Hughes—sociologist and
administrator—led the effort to create a BRT and formulate
the university’s “bias incident protocol.” As chair of the
Richmond BRT, Hughes mediated bias incidents on campus,
while also closely following national BRT policies and trends.
In a candid essay, Hughes explained how he became
increasingly skeptical of BRTs overwhelming public relations
function. Incidents were presented as “scandals,” isolated
instances of “hatred or ignorance” perpetrated by bad
apples, he wrote. Through BRTs, campus communities
could profess that everybody was “shocked” and
congratulate themselves on taking a righteous stand, all the
while   ignoring institutionalized
 Case 6:21-cv-00313-GAP-GJK Document 3-1 prejudice
                                         Filed 02/22/21 and
                                                         Page discrimination.
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Hughes’s damning conclusion: “diversity and social justice
efforts” such as BRTs too often “reproduce rather than
challenge systemic inequities.”

BRTs are fatally flawed. Adjudicating “he said, she said”
incidents is a logistical nightmare, if not downright
impossible for thinly stretched administrators. There will no
doubt be examples of injustice where the “accused” are
investigated—even penalized—over paltry evidence, or
where the discipline meted out is far too harsh for the
alleged “crime.” What’s more, BRTs will result in a troubling
silence: Students, staff, and faculty will be afraid to speak
their minds, and individuals or groups will be able to
leverage bias reporting policies to shut down unpopular or
minority viewpoints. BRTs will substitute diktats for debate
when what we need most is constant, frank conversation.
By almost any measure, colleges and universities are more
diverse today than they have ever been, and that’s the
paradox: BRTs will turn the genuine, transformative
educational power of diverse voices into a farce.

Correction: A previous version of this article incorrectly
stated that Glyn Hughes is an administrator in the University
of Richmond’s Office of Multicultural Affairs. He is the
director of the school’s Common Ground initiative.
